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                       Exhibit A1
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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

                                          )
 QORVO, INC.                              )
                                          )
                         Plaintiff,       ) C.A. No. 21-1417-JPM
                                          )
                   v.                     )
                                          )
 AKOUSTIS TECHNOLOGIES, INC. and          )
 AKOUSTIS, INC.                           )
                                          )
                         Defendants.      )
                                          )
                                          )

  INITIAL CLAIM CONSTRUCTION DECLARATION OF JOHN C. BRAVMAN, PH.D.
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 I.     INTRODUCTION

        1.         My name is John C. Bravman, Ph.D. I am the President of, and a Professor of

 Electrical Engineering at, Bucknell University. As described in §VII, I am an expert in the area

 of, among other things, integrated circuit processing and structures, thin film materials

 processing and analysis, microelectronics packaging, and microstructural and mechanical

 properties of materials and structures.

        2.         I have been retained by Qorvo, Inc. (“Qorvo”) to serve as a technical expert

 witness in this matter. For my time in connection with the preparation of this declaration I am

 being compensated at my standard rate for this type of consulting activity at $650/hour. My

 compensation is in no way contingent on the results of this proceeding or the opinions that I

 express herein.

        3.         In this report I give my opinions as to how a person of ordinary skill in the art, at

 the time of their respective inventions, (“POSITA”; see definition in §III) would have understood

 certain terms or phrases in the claims of U.S. Patent Nos. 9,735,755 (the “’755 Patent”) and

 10,256,786 (the “’786 Patent”). I provide technical bases for these opinions as appropriate.

        4.         I am not an attorney. In forming my opinions in this Declaration, I applied the

 relevant legal principles provided to me by counsel as discussed in §VI.

        5.         I have considered information from various sources and relied upon my

 experience and background in forming my opinions. I have reviewed and considered the ’755

 Patent and the ’786 Patent, their respective file histories, the constructions proposed by the

 parties, the extrinsic evidence identified by the parties, and any other documents I reference in

 this Declaration.




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        6.      This Declaration contains statements of my opinions formed to date and the bases

 and reasons for those opinions. I may offer additional opinions based on further review of

 materials in this matter and/or further positions advanced by Defendants Akoustis Technologies,

 Inc. and Akoustis, Inc. (“Akoustis”), or any expert witness retained thereby. I make this

 Declaration based upon my own personal knowledge and, if called upon to testify, would testify

 competently to the matters contained herein.

 II.    GENERAL TECHNOLOGY OVERVIEW

        7.      Both the ’755 Patent and the ’786 Patent relate to structural features of Bulk

 Acoustic Wave (“BAW”) resonators. BAW resonators are used for many different applications,

 including in wireless communications to remove irrelevant signals.

        8.      A BAW resonator is an electromechanical device in which a standing acoustic

 wave is generated by an electrical signal in a piezoelectric material. In a simple configuration, a

 BAW resonator includes a piezoelectric material (e.g., quartz, AlN, or ZnO) sandwiched

 between two metallic electrodes, such as shown in the diagram below.




        9.      In this example, the top and bottom electrodes excite acoustic waves in the

 piezoelectric layer, which are reflected from the top and bottom surfaces to form a standing




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 acoustic wave. The frequency at which resonance occurs is determined by the physical

 parameters of the piezoelectric layer and electrodes.

        10.     At the high frequencies in which BAW filters are effective, the piezoelectric layer

 must be only micrometers thick, requiring the resonator structure to be made using thin-film

 deposition and micro-machining on a carrier substrate.

        11.     In addition to the electrodes and piezoelectric layer, BAW resonators also utilize

 supporting structure intended to prevent the generated waves from escaping. The type of

 supporting structure divides BAW resonators into two categories, solidly mounted resonator

 BAW (or BAW-SMR) or a film bulk acoustic resonator (or FBAR). Simplified examples of

 these two constructions are shown below.




        12.     In FBAR devices, the air/crystal interface on both faces of the resonator ensures

 that the main acoustic wave of interest is appropriately trapped. In BAW-SMR, Bragg reflectors

 underneath the resonator effectively trap the wave of interest.

 III.   PERSON OF ORDINARY SKILL IN THE ART (“POSITA”)

        13.     In determining the characteristics of a hypothetical POSITA of the ’755 Patent

 and the ’786 Patent at the time of their respective inventions, I considered several things,

 including various prior art techniques relating to thin film devices, such as BAW resonators and

 other closely-related technologies, the types of problems that such techniques gave rise to, and


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 the rapidity with which innovations were made. I also considered the sophistication of the

 technologies involved, and the educational background and experience of those actively working

 in the field at the time. I also considered the level of education that would have been necessary

 to understand the ’755 Patent and ’786 Patent. Finally, I placed myself back in the relevant

 period of time and considered the engineers that I have worked with and trained in thin film

 technologies.

        14.      I came to the conclusion that a POSITA of the ’755 Patent would have had at least

 a bachelor’s degree, or the equivalent degree, in electrical engineering, materials science,

 physics, or a related field, and 3-5 years of experience in the research, design, or development of

 thin film devices, or equivalent experience. A person with more education and less experience

 may also meet this standard.

        15.      I came to the conclusion that a POSITA of the ’786 Patent would also have had at

 least a bachelor’s degree, or the equivalent degree, in electrical engineering, materials science,

 physics, or a related field, and 3-5 years of experience in the research, design, or development of

 thin film devices, or equivalent experience. A person with more education and less experience

 may also meet this standard.

        16.      I believe that I am at least a POSITA in the context of the ’755 Patent and the

 ’786 Patent and, furthermore, I have supervised or trained those who were also POSITAs.

 Moreover, I qualified as a POSITA as of the time of the invention of the claims of the ’755

 Patent and the ’786 Patent. Accordingly, I believe that I am qualified to opine from the

 perspective of a POSITA as to both patents.




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 IV.     THE ’755 PATENT

         A.      The ’755 Patent’s Disclosure

         17.     A POSITA would have understood the ’755 Patent to be directed to structural

 configurations of BAW resonators that improve the confinement of mechanical energy therein.

 See, e.g., ’755 Patent, 1:14-17.

         18.     As shown in the sections below, the Parties disagree on the meanings of several

 terms in the claims of the ’755 Patent. I have considered the proposed constructions in view of

 the ’755 Patent, its related provisional application (U.S. Provisional Application No.

 62/207,702), and the ’755 Patent’s file history, all of which I understand to be part of the

 intrinsic record.

         19.     It is my opinion that the intrinsic record is sufficient for a POSITA to understand

 the disputed terms, and that the disputed terms are used according to their plain and ordinary

 meaning (e.g., the intrinsic record does not use the disputed terms differently from their normal

 usage in the art).

         20.     I have also considered the extrinsic evidence cited by the Parties as relevant to the

 identified terms. Based on my current understanding, it is my opinion that it is unnecessary to

 resort to extrinsic evidence to understand the disputed terms.

         21.     My conclusions as to the disputed terms of the ’755 Patent follow.

         B.      “Active Region” / “Outer Region”

  Qorvo’s Proposed Construction                      Akoustis’ Proposed Construction
  Plain and Ordinary Meaning. If a                   Active region: That region of the device
  construction is necessary, “active region” is      where motional current density is generated
  the region of the BAW resonator that is            through the piezoelectric layer.
  electrically driven to provide the resonator
  functionality.



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  Qorvo’s Proposed Construction                       Akoustis’ Proposed Construction
  Plain and Ordinary Meaning. “Outer region”          Outer region: defined as that region outside
  is the region of the BAW resonator that is not      the active region.
  electrically driven.

        22.     As shown above, the parties dispute the meaning of “active region” and “outer

 region” in the claims of the ’755 Patent. It is my opinion that Qorvo’s constructions are correct,

 for at least the following reasons.

        23.     Looking first at the intrinsic record, “active region” and “outer region” are used

 throughout the claims of the ’755 Patent. For example, claim 1 of the ’755 Patent recites the

 following (with instances of “active region and “outer region” bolded and italicized):

        1. A Bulk Acoustic Wave (BAW) resonator, comprising:
        a piezoelectric layer;
        a first electrode on a first surface of the piezoelectric layer;
        a second electrode on a second surface of the piezoelectric layer opposite the first
        electrode on the first surface of the piezoelectric layer;
        a passivation layer on a surface of the second electrode opposite the piezoelectric
        layer within an active region of the BAW resonator, the passivation layer having
        a thickness (TPA) within the active region of the BAW resonator; and
        one or more material layers on the second surface of the piezoelectric layer
        adjacent to the second electrode in an outer region of the BAW resonator, the
        outer region of the BAW resonator being a region outside of the active region of
        the BAW resonator and the one or more material layers having a thickness that is
        n times the thickness (TPA) of the passivation layer within the active region,
        wherein:
        n is a value other than 1; and
        n is within a range of values for which a density of mechanical energy in the
        outer region of the BAW resonator is reduced as compared to a density of
        mechanical energy in the outer region of the BAW resonator when n is equal to
        1.

        24.     While the language of claim 1 recites that the “active region” includes a

 “passivation layer having a thickness (TPA),” it does not further describe what an “active region”

 is (independent claims 9, 10, and 11 include similar language). Dependent claims 4, 5, and 7


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 further recite that a “border ring” may be arranged “around a periphery of the active region,” but

 also do not further describe the “active region” (claims 13, 14, and 16 include similar language).

        25.     The language of claim 1 does specify that the “outer region of the BAW resonator

 [is] a region outside of the active region of the BAW resonator,” and that the “outer region”

 includes “one or more material layers” (independent claims 9, 10, and 11 include similar

 language).

        26.     Turning to the specification of the ’755 Patent, “active region” and “outer region”

 are used throughout. See, e.g., ’755 Patent, Abstract; 1:51-2:3; 2:4-13; 2:14-26; 2:30-51; 2:52-

 56; 2:57-61; 2:62-65; 2:66-3:5; 3:6-24; 3:28-46; 5:5-23; 5:58-6:5; 6:6-25; 6:26-31; 6:42-63; 7:1-

 33; 7:34-53; 7:58-8:16; 8:17-30; 8:36-61; 9:4-20; FIGS. 1-5E.

        27.     The first time “active region” and “outer region” are found in the ’755 Patent’s

 specification (’755 Patent, 1:51-2:3), the specification provides a specific description of those

 terms, as shown by the bolded and italicized language in the following reproduction of this

 portion of the specification:

        In operation, acoustic waves in the piezoelectric layer 12 within an active region
        34 of the BAW resonator 10 are excited by an electrical signal applied to the
        bottom and top electrodes 14 and 16. The active region 34 is the region of the
        BAW resonator 10 that is electrically driven. In other words, the active region 34
        is the region of the BAW resonator 10 consisting of, in this example, the bottom
        electrode 14, the top electrode 16, the portion of the piezoelectric layer 12
        between the bottom and top electrodes 14 and 16, and the portion of the reflector
        18 below the bottom electrode 14. Conversely, an outer region 36 of the BAW
        resonator 10 is a region of the BAW resonator 10 that is not electrically driven
        (i.e., the area outside of the active region 34). The frequency at which resonance
        of the acoustic waves occurs is a function of the thickness of the piezoelectric
        layer 12 and the mass of the bottom and top electrodes 14 and 16. At high
        frequencies (e.g., greater than 1.5 GHz), the thickness of the piezoelectric layer 12
        is only micrometers thick and, as such, the BAW resonator 10 is fabricated using
        thin-film techniques.




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        28.     “Active region” and “outer region” are used throughout the remainder of the

 specification and figures to describe portions of BAW resonators in this context.

        29.     The prosecution history of the ’755 Patent does not address these terms or utilize

 them differently from that discussed above.

        30.     Based on the above, a POSITA would have understood “active region” and “outer

 region” as proposed by Qorvo.

        31.     A POSITA would not have understood “active region” and “outer region” as

 proposed by Akoustis. Regarding “active region,” the ’755 Patent does not describe this region

 in terms of “motional current density,” and Akoustis has not explained why a POSITA would

 have imported such a requirement. Regarding “outer region,” Akoustis’ proposed construction is

 redundant to the claim language and thus unnecessary. I reserve my right to further address

 Akoustis’ proposed construction on rebuttal.

        32.     I have reviewed the extrinsic evidence identified by the parties. My review

 indicates that “active region” and “outer region” are used in the ’755 Patent in the same way they

 are used in the art and according to Qorvo’s proposed constructions. The extrinsic evidence does

 not dictate a construction different from that indicated by the intrinsic record.

        C.    “A Density Of Mechanical Energy In The Outer Region Of The BAW
        Resonator Is Reduced As Compared To A Density Of Mechanical Energy In The
        Outer Region Of The BAW Resonator When N Is Equal To 1”

  Qorvo’s Proposed Construction                      Akoustis’ Proposed Construction
  Plain and Ordinary Meaning. If a                   The density of mechanical energy means a
  construction for “density of mechanical            total density over the full volume of the outer
  energy” is needed, it means the amount of          region, or otherwise indefinite.
  mechanical energy from acoustic waves
  leaked from the active region.




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        33.     As shown above, the parties dispute the meaning of “density of mechanical

 energy” in the above claim elements of the ’755 Patent. Based on my review of the intrinsic

 record and identified extrinsic evidence, it is my opinion that Qorvo’s construction is correct.

        34.     Looking at the intrinsic record, “density of mechanical energy” is found in

 independent claims 1 and 11 of the ’755 Patent. For example, claim 1 of the ’755 Patent recites

 the following (with instances of “density of mechanical energy” bolded and italicized):

        1. A Bulk Acoustic Wave (BAW) resonator, comprising:
        a piezoelectric layer;
        a first electrode on a first surface of the piezoelectric layer;
        a second electrode on a second surface of the piezoelectric layer opposite the first
        electrode on the first surface of the piezoelectric layer;
        a passivation layer on a surface of the second electrode opposite the piezoelectric
        layer within an active region of the BAW resonator, the passivation layer having a
        thickness (TPA) within the active region of the BAW resonator; and
        one or more material layers on the second surface of the piezoelectric layer
        adjacent to the second electrode in an outer region of the BAW resonator, the
        outer region of the BAW resonator being a region outside of the active region of
        the BAW resonator and the one or more material layers having a thickness that is
        n times the thickness (TPA) of the passivation layer within the active region,
        wherein:
        n is a value other than 1; and
        n is within a range of values for which a density of mechanical energy in the
        outer region of the BAW resonator is reduced as compared to a density of
        mechanical energy in the outer region of the BAW resonator when n is equal to
        1.

        35.     As understood in context, the claim specifies that an amount of mechanical

 energy created by the claimed construction and leaked to the outer region is reduced as compared

 to a prior art construction. This concept is described throughout the ’755 Patent’s specification,

 such as at 2:4-26, reproduced below (with relevant language bolded and italicized):

        Ideally, in order to achieve a high Q value, the mechanical energy should be
        contained, or trapped, within the active region 34 of the BAW resonator 10. The
        reflector 18 operates to prevent acoustic waves from leaking longitudinally, or


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        vertically, from the BAW resonator 10 into the substrate (not shown, but below
        the reflector 18). Notably, in a Film Bulk Acoustic Resonator (FBAR) type BAW
        resonator, an air cavity is used instead of the reflector 18, where the air cavity
        likewise prevents acoustic waves from escaping into the substrate.
        While the reflector 18 (or air cavity for a FBAR type BAW resonator) confines
        mechanical energy within the active region 34 of the BAW resonator 10 in the
        longitudinal, or vertical, direction, a substantial amount of mechanical energy
        still leaks laterally from the active region 34 of the BAW resonator 10 into the
        outer region 36 of the BAW resonator 10 and then down into the substrate, as
        illustrated FIG. 1B. This lateral leakage of mechanical energy at the boundaries
        of the BAW resonator 10 degrades the Q of the BAW resonator 10. As such, there
        is a need for systems and methods for mitigating the loss of mechanical energy
        through lateral dispersion into the outer region 36 of the BAW resonator 10.

        36.     The ’755 Patent at 2:30-51 provides the following additional description (with

 relevant language bolded and italicized):

        Embodiments of a Bulk Acoustic Wave (BAW) resonator in which an outer
        region of the BAW resonator is engineered in such a manner that lateral leakage
        of mechanical energy from an active region of the BAW resonator is reduced,
        and methods of fabrication thereof, are disclosed. In some embodiments, a BAW
        resonator includes a piezoelectric layer, a first electrode on a first surface of the
        piezoelectric layer, a second electrode on a second surface of the piezoelectric
        layer opposite the first electrode on the first surface of the piezoelectric layer, and
        a passivation layer on a surface of the second electrode opposite the piezoelectric
        layer, the passivation layer having a thickness (TPA). The BAW resonator also
        includes a material on the second surface of the piezoelectric layer adjacent to the
        second electrode in an outer region of the BAW resonator. The outer region of the
        BAW resonator is a region outside of an active region of the BAW resonator. The
        additional material has a thickness that is n times the thickness (TPA) of the
        passivation layer, wherein n is a value other than 1. In this manner, lateral leakage
        of the mechanical energy from the active region of the BAW resonator into the
        outer region of the BAW resonator can be reduced.
        In some embodiments, n is within a range of values for which a density of
        mechanical energy in the outer region of the BAW resonator is reduced as
        compared to a density of mechanical energy in the outer region of the BAW
        resonator when n is equal to 1.

        37.     The ’755 Patent at 5:5-23 provides the following additional description (with

 relevant language bolded and italicized):

        Embodiments of a Bulk Acoustic Wave (BAW) resonator in which an outer
        region of the BAW resonator is engineered in such a manner that lateral leakage
        of mechanical energy from an active region of the BAW resonator is reduced,

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           and methods of fabrication thereof, are disclosed. In general, in some
           embodiments, a thickness of a material in the outer region of the BAW resonator
           is such that the outer region of the BAW resonator is acoustically matched to the
           active region of the BAW resonator in such a manner that wavelengths that cause
           the lateral leakage of mechanical energy are not excited in the active region. As a
           result, there is no leakage of wavelengths excited in the active region into
           oscillation modes in the outer region. In other words, the thickness of the material
           in the outer region of the BAW resonator is selected such that the extinction
           coefficient (i.e., the rate of exponential decay for evanescent waves) associated
           with the exponential decay in the outer region and the imaginary part of the lateral
           dispersion in the outer region are changed in such a manner that lateral leakage is
           reduced.

           38.    Finally, the ’755 Patent at 6:26-631 provides the following additional description

 (with relevant language bolded and italicized):

           As illustrated in FIG. 3A, during operation, the reference BAW resonator 38 of
           FIG. 2A exhibits a significant amount of lateral leakage of mechanical energy
           from the active region 62 into the outer region 64. This lateral leakage, or lack of
           lateral confinement, degrades the quality factor (Q) of the reference BAW
           resonator 38.
           FIG. 2B illustrates a BAW resonator 66 with improved lateral confinement (i.e.,
           reduced lateral leakage) of mechanical energy according to some embodiments of
           the present disclosure. In this example, the BAW resonator 66 includes a
           piezoelectric layer 68 (which is sometimes referred to as a piezoelectric plate),
           bottom and top electrodes 70 and 72, a reflector 74 including layers 76, 78, 80,
           82, and 84, and a BO ring 86, which are exactly the same as the corresponding
           components of the reference BAW resonator 38 and, as such, their details are not
           repeated.
           Lastly, the BAW resonator 66 includes a passivation layer 88 on the surface of the
           BAW resonator 66 over both an active region 90 and an outer region 92 of the
           BAW resonator 66. Within the active region 90, the passivation layer 88 is
           exactly the same as the passivation layer 60 of the reference BAW resonator 38.
           Within the active region 90, the passivation layer 88 has a thickness (TPA), which
           is equal to that of the passivation layer 60 of the reference BAW resonator 38.
           However, in the outer region 92, the passivation layer 60 has a thickness of
           n×TPA, where n≠1 (i.e., the thicknesses of the passivation layers 60 and 88 in the
           outer regions 64 and 92 of the reference BAW resonator 38 and the BAW
           resonator 66, respectively, are not the same). The value of n is in a range that
           reduces the lateral leakage of mechanical energy from the active region 90 of the
           BAW resonator 66 into the outer region 92 as compared to that of the reference
           BAW resonator 38 of FIG. 2A. This reduction of lateral leakage is illustrated in

 1
     See also ’755 Patent, Abstract; 1:14-18; 2:52-56; 2:57-61; 5:5-23; 6:26-31; 7:1-33; and 8:36-61.

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        FIG. 3B, where FIGS. 3A and 3B are graphical illustrations of the results of a
        simulation of the density of mechanical energy throughout the structures of the
        reference BAW resonator 38 and the BAW resonator 66, respectively.

        39.     FIGS. 3A and 3B identified in the above passage show the following:




        40.     The ’755 Patent also describes these Figures as “illustrat[ing] the reduced lateral

 leakage of the BAW resonator of FIG. 2B as compared to the reference BAW resonator of FIG.

 2A, for one example implementation.” ’755 Patent, 4:1-4.

        41.     Thus, the specification repeatedly indicates that the amount of mechanical energy

 created by the inventive structural configuration and leaked to the outer region is reduced as

 compared to a prior art configuration. While the claims and specification (sometimes) use the

 word “density” to describe the relative amounts, a POSITA reading the intrinsic record in its

 entirety would not have understood “density” in the ’755 Patent to require a specific

 mathematical or dimensional relationship. Rather, a POSITA reading the ’755 Patent would

 have understood “density” to be used in a broader sense and recognizing general and/or localized

 mechanical energy reduction, such as is shown in the comparison images of FIGS. 3A and 3B.

        42.     The prosecution history of the ’755 Patent does not address this term or utilize it

 differently from that discussed above.


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        43.     Based on the above, a POSITA would have understood “density of mechanical

 energy” as proposed by Qorvo.

        44.     A POSITA would not have understood “density of mechanical energy” as

 proposed by Akoustis. Akoustis’ proposed construction (as best understood) imports volumetric

 requirements that would not be considered necessary by a POSITA. The intrinsic record does

 not dictate or support Akoustis’ proposed construction. I reserve my right to further address

 Akoustis’ proposed construction on rebuttal.

        45.     I have reviewed the extrinsic evidence identified by the parties. My review

 indicates that “density of mechanical energy” is used in the ’755 Patent in the same way it is

 used in the art and according to Qorvo’s proposed constructions. The extrinsic evidence does not

 dictate a construction different from that indicated by the intrinsic record.

 D.     “Acoustically Matched In Such A Manner That One Or More Wavelengths That
        Cause Energy Leakage Into The Outer Region Are Not Excited In The Active
        Region”

  Qorvo’s Proposed Construction                      Akoustis’ Proposed Construction
  Plain and Ordinary Meaning. If a                   “[A]re not excited” means that the
  construction for “are not excited” is needed, it   wavelengths do not exist in the whole volume
  means “are not substantively created”              of the active region, or otherwise indefinite.

        46.     As shown above, the parties dispute the meaning of “are not excited” in the above

 element of the claims of the ’755 Patent. Based on my review of the intrinsic record and

 identified extrinsic evidence, it is my opinion that Qorvo’s construction is correct.

        47.     Looking first at the intrinsic record, “are not excited” is used in independent

 claims 9 and 10, and dependent claims 3 and 12, of the ’755 Patent. For example, independent

 claim 9 recites the following (with instances of “are not excited” bolded and italicized):

        9. A BAW resonator comprising:
        a piezoelectric layer;

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        a first electrode on a first surface of the piezoelectric layer;
        a second electrode on a second surface of the piezoelectric layer opposite the first
        electrode on the first surface of the piezoelectric layer;
        a passivation layer on a surface of the second electrode opposite the piezoelectric
        layer within an active region of the BAW resonator, the passivation layer having a
        thickness (TPA) within the active region of the BAW resonator; and
        one or more material layers on the second surface of the piezoelectric layer
        adjacent to the second electrode in an outer region of the BAW resonator, the
        outer region of the BAW resonator being a region outside of the active region of
        the BAW resonator and the one or more material layers having a thickness that is
        n times the thickness (TPA) of the passivation layer within the active region,
        wherein:
        n is a value other than 1; and
        n is such that the outer region of the BAW resonator and the active region of the
        BAW resonator are acoustically matched in such a manner that one or more
        wavelengths that cause energy leakage into the outer region are not excited in the
        active region.

        48.     As understood in context, the claim specifies that particular wavelengths are not

 substantively excited (e.g., not excited enough to cause energy leakage) in the active region as a

 result of the claimed construction. The concept of excitation/non-excitation of waves is

 described in various portions of the ’755 Patent, such as at 1:51-2:3, reproduced below (with

 relevant language bolded and italicized):

        In operation, acoustic waves in the piezoelectric layer 12 within an active region
        34 of the BAW resonator 10 are excited by an electrical signal applied to the
        bottom and top electrodes 14 and 16. The active region 34 is the region of the
        BAW resonator 10 that is electrically driven. In other words, the active region 34
        is the region of the BAW resonator 10 consisting of, in this example, the bottom
        electrode 14, the top electrode 16, the portion of the piezoelectric layer 12
        between the bottom and top electrodes 14 and 16, and the portion of the reflector
        18 below the bottom electrode 14. Conversely, an outer region 36 of the BAW
        resonator 10 is a region of the BAW resonator 10 that is not electrically driven
        (i.e., the area outside of the active region 34).

        49.     The ’755 Patent at 2:52-56 provides the following additional description (with

 relevant language bolded and italicized):




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        In some embodiments, n is such that the outer region of the BAW resonator and
        the active region of the BAW resonator are acoustically matched in such a manner
        that one or more wavelengths that cause energy leakage into the outer region are
        not excited in the active region.

        50.     Finally, the ’755 Patent at 5:5-232 provides the following additional description

 (with relevant language bolded and italicized):

        Embodiments of a Bulk Acoustic Wave (BAW) resonator in which an outer
        region of the BAW resonator is engineered in such a manner that lateral leakage
        of mechanical energy from an active region of the BAW resonator is reduced, and
        methods of fabrication thereof, are disclosed. In general, in some embodiments, a
        thickness of a material in the outer region of the BAW resonator is such that the
        outer region of the BAW resonator is acoustically matched to the active region of
        the BAW resonator in such a manner that wavelengths that cause the lateral
        leakage of mechanical energy are not excited in the active region. As a result,
        there is no leakage of wavelengths excited in the active region into oscillation
        modes in the outer region. In other words, the thickness of the material in the
        outer region of the BAW resonator is selected such that the extinction coefficient
        (i.e., the rate of exponential decay for evanescent waves) associated with the
        exponential decay in the outer region and the imaginary part of the lateral
        dispersion in the outer region are changed in such a manner that lateral leakage is
        reduced.

        51.     A reading of the intrinsic record in its entirety indicates that the recited non-

 excitation relates to reducing the lateral leakage of mechanical energy into the outer region,

 which is discussed with regard to the previous element. To do so, the intrinsic record indicates

 that “are not excited” means that the particular wavelengths that cause the lateral leakage are not

 excited enough (e.g., substantively excited) to result in energy leakage from the active region to

 the outer region as a result of the claimed construction. In other words, excitations of one or

 more wavelengths that don’t cause leakage (e.g., minor or transient excitations) may occur

 within the scope of the claim.




 2
  See also ’755 Patent, Abstract; 1:14-18; 2:4-13; 2:14-26; 2:30-51; 2:57-61; 6:26-31; 6:32-41;
 6:42-63; 7:1-33; 8:36-61.

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        52.     The prosecution history of the ’755 Patent does not address this term or utilize it

 differently from that discussed above.

        53.     Based on the above, a POSITA would have understood “are not excited” as

 proposed by Qorvo.

        54.     A POSITA would not have understood “are not excited” as proposed by Akoustis.

 Akoustis’ proposed construction (as best understood) imports unnecessarily restrictive language

 that is not supported by the intrinsic record as understood by a POSITA. I reserve my right to

 further address Akoustis’ proposed construction on rebuttal.

        55.     I have reviewed the extrinsic evidence identified by the parties. My review

 indicates that “are not excited” is used in the ’755 Patent in the same way it is used in the art and

 according to Qorvo’s proposed constructions. The extrinsic evidence does not dictate a

 construction different from that indicated by the intrinsic record.

 V.     THE ’786 PATENT

        A.      The ’786 Patent’s Disclosure

        56.     A POSITA would have understood the ’786 Patent to be directed to BAW

 resonators using single crystal piezoelectric layers. See, e.g., ’786 Patent, 1:40-52, 2:10-28.

        57.     I have reviewed the ’786 Patent, its related provisional application (U.S.

 Provisional Application No. 62/360,904; “the ’904 Provisional”), and the ’786 Patent’s file

 history, all of which I understand to be part of the intrinsic record.

        58.     It is my opinion that the intrinsic record is sufficient for a POSITA to understand

 the disputed term below. I have also considered the extrinsic evidence cited by the Parties as

 relevant to the identified term. Based on my current understanding, it is my opinion that it is

 unnecessary to resort to extrinsic evidence to understand the disputed term.



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         B.      “Piezoelectric Layer”

  Qorvo’s Proposed Construction                     Akoustis’ Proposed Construction
  A layer of piezoelectric material having single A layer of piezoelectric material having single
  crystal structure.                              or multiple crystal structure.

         59.     As shown above, the parties dispute whether the “piezoelectric layer” of

 independent claims 1, 8, 12, 16 of the ’786 Patent is a “single crystal structure” as Qorvo

 proposes, or a “single or multiple crystal structure,” as Akoustis proposes.

         60.     Based on my review of these documents, it is my opinion that Qorvo’s

 construction is correct, i.e., a POSITA would have understood that the “piezoelectric layer” of

 independent claims 1, 8, 12, 16 of the ’786 Patent is a “a layer of piezoelectric material having

 single crystal structure.”

         61.     Looking first at the claims of the ’786 Patent, “piezoelectric layer” is found only

 in independent claims 1, 8, 12, 16. As a matter of example, I reproduce below independent claim

 1 with the instances of “piezoelectric layer” bolded and italicized.

         1. A communication filter device comprising:
         a piezoelectric substrate having a substrate surface region, the piezoelectric
         substrate having a piezoelectric layer formed overlying a thinned seed substrate;
         a topside metal electrode formed overlying a portion of the substrate surface
         region;
         a topside micro-trench formed within a portion of the piezoelectric layer;
         one or more bond pads formed overlying one or more portions of the piezoelectric
         layer;
         a topside metal having a topside metal plug formed within the topside micro-
         trench and electrically coupled to at least one of the bond pads;
         a first backside trench formed within the thinned seed substrate and underlying
         the topside metal electrode;
         a second backside trench formed within the thinned seed substrate and underlying
         the topside micro-trench;




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        a backside metal electrode formed underlying one or more portions of the thinned
        seed substrate, within the first backside trench, and underlying the topside metal
        electrode; and
        a backside metal plug formed underlying one or more portions of the thinned seed
        substrate, within the second backside trench, and underlying the topside micro-
        trench, the backside metal plug being electrically coupled to the topside metal
        plug and the backside metal electrode, wherein the topside micro-trench, the
        topside metal plug, the second backside trench, and the backside metal plug form
        a micro-via.

        62.     Independent claims 1, 8, 12, and 16 do not otherwise describe the structure or

 composition of the “piezoelectric layer[s].” Nor does “piezoelectric layer” appear in any

 dependent claim. Thus, a POSITA would have reviewed the remaining intrinsic record to

 understand the meaning of “piezoelectric layer.”

        63.     The first description of the alleged invention of the ’786 Patent in the intrinsic

 record is found in the ’904 Provisional, which indicates the following:




 ’904 Provisional, p. 13.

        64.     Thus, from the very beginning, the focus of the alleged invention of the ’786

 Patent was on “single crystal piezoelectric” layers.

        65.     This focus was maintained in the ’786 Patent itself. First, as shown below, the

 ’786 Patent is titled “Communication Filter Using Single Crystal Acoustic Resonator Devices.”

 ’786 Patent, cover page and col.1:1-3 (emphasis added).



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           66.    Second, the first sentence of the ’786 Patent’s Abstract indicates the patent is

 directed to “[a] communication system using a single crystal acoustic resonator device.” ’786

 Patent, Abstract (emphasis added).

           67.    Third, the “Brief Summary of the Invention” section of the ’786 Patent confirms it

 is directed to a single crystal piezoelectric layer. For example, 1:40-52 indicates (emphasis

 added):

           The present invention relates generally to electronic devices. More particularly,
           the present invention provides techniques related to bulk acoustic wave resonator
           devices, single crystal bulk acoustic wave resonator devices, single crystal filter
           and resonator devices, and the like. Merely by way of example, the invention has
           been applied to a single crystal resonator device for a communication device,
           mobile device, computing device, among others.
           In an example, the present invention provides a communication system using a
           single crystal acoustic resonator device. The device includes a piezoelectric
           substrate with a piezoelectric layer formed overlying a thinned seed substrate. A
           topside metal electrode is formed overlying the substrate …
                                                   ***
           One or more benefits are achieved over pre-existing techniques using the
           invention. In particular, the present device can be manufactured in a relatively
           simple and cost effective manner while using conventional materials and/or
           methods according to one of ordinary skill in the art. Using the present method,
           one can create a reliable single crystal based acoustic filter or resonator using
           multiple ways of three-dimensional stacking through a wafer level process. Such
           single crystal acoustic resonators enable high bandwidth-low loss filters in a
           miniature form factor, and such filters or resonators can be implemented in an RF
           filter device, an RF filter system, or the like. In an example, this communication
           filter can be a miniature filter configured for use in a 2496-2690 MHz wireless
           frequency spectrum. This filter can operate concurrently with adjacent 2.4 GHz
           bands including Wi-Fi, WLAN, Bluetooth, ISM, and the like. Depending upon the
           embodiment, one or more of these benefits may be achieved.

           68.    While the above passage provides some broadening language, a POSITA would

 understand it, read as a whole, as indicating that the invention is to a single crystal piezoelectric

 layer. In particular, the benefits of the invention are all characterized in relation to the single

 crystal nature of the piezoelectric layer.



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        69.     Turning next to the “Detailed Description of the Invention” section of the ’786

 Patent, this section again emphasizes the invention is directed to a single crystal piezoelectric

 layer. For example, 3:45-4:2 indicates the following:

         The present invention relates generally to electronic devices. More particularly,
        the present invention provides techniques related to bulk acoustic wave resonator
        devices, single crystal bulk acoustic wave resonator devices, single crystal filter
        and resonator devices, and the like. Merely by way of example, the invention has
        been applied to a single crystal resonator device for a communication device,
        mobile device, computing device, among others.

        FIG. 1A is a simplified diagram illustrating an acoustic resonator device 101
        having topside interconnections according to an example of the present invention.
        As shown, device 101 includes a thinned seed substrate 112 with an overlying
        single crystal piezoelectric layer 120, which has a micro-via 129. The micro-via
        129 can include a topside micro-trench 121, a topside metal plug 146, a backside
        trench 114, and a backside metal plug 147. Although device 101 is depicted with
        a single micro-via 129, device 101 may have multiple micro-vias. A topside metal
        electrode 130 is formed overlying the piezoelectric layer 120. A top cap structure
        is bonded to the piezoelectric layer 120. This top cap structure includes an
        interposer substrate 119 with one or more through-vias 151 that are connected to
        one or more top bond pads 143, one or more bond pads 144, and topside metal
        145 with topside metal plug 146. Solder balls 170 are electrically coupled to the
        one or more top bond pads 143.

        70.     The ’786 Patent reinforces that the piezoelectric layer 120 is single crystal

 multiple times. See 4:49-54, 5:4-10, 5:32-39, 6:46-50. No embodiment using a polycrystalline

 piezoelectric layer is described. Thus, like the “Brief Summary of the Invention” section above,

 a POSITA would have understood these portions, when read as a whole, to indicate that the

 invention is to a single crystal piezoelectric layer.

        71.     Still further, the ’786 Patent indicates that

        According to an example, the present invention includes a method for forming a
        piezoelectric layer to fabricate an acoustic resonator device. More specifically, the
        present method includes forming a single crystal material to be used to fabricate
        the acoustic resonator device. By modifying the strain state of the III-Nitride (III-
        N) crystal lattice, the present method can change the piezoelectric properties of
        the single crystal material to adjust the acoustic properties of subsequent devices
        fabricated from this material. In a specific example, the method for forming the


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        strained single crystal material can include modification of growth conditions of
        individual layers by employing one or a combination of the following parameters;
        gas phase reactant ratios, growth pressure, growth temperature, and introduction
        of impurities.

        In an example, the single crystal material is grown epitaxially upon a substrate.
        Methods for growing the single crystal material can include metal-organic
        chemical vapor deposition (MOCVD), molecular beam epitaxy (MBE), hydride
        vapor phase epitaxy (HVPE), atomic layer deposition (ALD), or the like. Various
        process conditions can be selectively varied to change the piezoelectric properties
        of the single crystal material. These process conditions can include temperature,
        pressure, layer thickness, gas phase ratios, and the like. For example, the
        temperature conditions for films containing aluminum (Al) and gallium (Ga) and
        their alloys can range from about 800 to about 1500 degrees Celsius. The
        temperature conditions for films containing Al, Ga, and indium (In) and their
        alloys can range from about 600 to about 1000 degrees Celsius. In another
        example, the pressure conditions for films containing Al, Ga, and In and their
        alloys can range from about 1E-4 Torr to about 900 Torr.

        72.     The above passages explain how to form the inventive piezoelectric layer only as

 a single crystal layer. There is no indication in the ’786 Patent as to how a polycrystalline

 piezoelectric layer would be formed according to the (alleged) invention of the ’786 Patent.

        73.     Still further, at 11:31-12:25, the ’786 Patent provides an exemplary

 communication system using filters according to the (alleged) invention of the ’786 Patent. In

 this example, the ’786 Patent emphasizes that “one or more single crystal acoustic resonators”

 are used. ’786 Patent, 12:6-8.

        74.     Finally, at 13:50-67, the ’786 Patent characterizes the benefits of the (alleged)

 invention solely in the context of single crystal piezoelectric layers.

        One or more benefits are achieved over pre-existing techniques using the
        invention. In particular, the present device can be manufactured in a relatively
        simple and cost effective manner while using conventional materials and/or
        methods according to one of ordinary skill in the art. Using the present method,
        one can create a reliable single crystal based acoustic filter or resonator using
        multiple ways of three-dimensional stacking through a wafer level process. Such
        single crystal acoustic resonators enable high bandwidth-low loss filters in a
        miniature form factor, and such filters or resonators can be implemented in an RF
        filter device, an RF filter system, or the like. In an example, this communication


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         filter can be a miniature filter configured for use in a 2496-2690 MHz wireless
         frequency spectrum. This filter can operate concurrently with adjacent 2.4 GHz
         bands including Wi-Fi, WLAN, Bluetooth, ISM, and the like. Depending upon the
         embodiment, one or more of these benefits may be achieved.

         75.     In view of the above, a POSITA would recognize that the ’786 Patent clearly and

 repeatedly explains that its invention is a single crystal piezoelectric layer, repeatedly describes

 the benefits of its invention as being related to the single crystal piezoelectric layer, and only

 provides embodiments using a single crystal piezoelectric layer. There is no indication in the

 ’786 Patent that a polycrystalline piezoelectric layer could be used or could provide the alleged

 benefits of the (alleged) invention.

         76.     It is my understanding that, when a patentee uses a claim term throughout the

 entire patent specification, in a manner consistent with only a single meaning, he has defined that

 term by implication. Here, the specification of the ’786 Patent makes it clear that the ’786 Patent

 is directed to single crystal “piezoelectric layers.”

         77.     The prosecution history of the ’786 Patent does not address this term or utilize it

 differently from that discussed above.

         78.     Based on the above, a POSITA would have understood “piezoelectric layer” as

 proposed by Qorvo.

         79.     A POSITA would not have understood “piezoelectric layer” as proposed by

 Akoustis. There is simply no support in the ’786 Patent for a polycrystalline piezoelectric layer.

 I reserve my right to further address Akoustis’ proposed construction on rebuttal.

         80.     I have reviewed the extrinsic evidence identified by the parties. The extrinsic

 evidence does not dictate a construction different from that indicated by the intrinsic record.




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 VI.     LEGAL STANDARDS

         81.     In forming my opinions in this Declaration, I applied the following legal

 principles.

         82.     I understand that, to determine how a person of ordinary skill would have

 understood a claim term, one should look to sources available at the time of the alleged invention

 that show what a person of ordinary skill in the art would have understood the disputed claim

 language to mean. It is my understanding that this may include what is called “intrinsic”

 evidence as well as “extrinsic” evidence.

         83.     I understand that, in construing a claim term, one should primarily rely on

 intrinsic patent evidence, which includes the words of the claims themselves, the remainder of

 the patent specification, and the prosecution history. I understand that extrinsic evidence, which

 is evidence external to the patent and the prosecution history, may also be useful in interpreting

 patent claims when the intrinsic evidence itself is insufficient. I understand that extrinsic

 evidence may include principles, concepts, terms, and other resources available to those of

 ordinary skill in the art at the time of the invention.

         84.     I understand that words or terms should be given their ordinary and accepted

 meaning unless it appears that the inventors were using them to mean something else or

 something more specific. I understand that to determine whether a term has special meaning, the

 claims, the patent specification, and the prosecution history are particularly important, and may

 show that the inventor gave a term a particular definition or intentionally disclaimed, disavowed,

 or surrendered claim scope.

         85.     I understand that the claims of a patent define the scope of the rights conferred by

 the patent. I understand that, because the claims point out and distinctly claim the subject matter



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 which the inventors regard as their invention, claim construction analysis must begin with and is

 focused on the claim language itself. I understand that the context of the term within the claim

 as well as other claims of the patent can inform the meaning of a claim term. For example,

 because claim terms are normally used consistently throughout the patent, how a term is used in

 one claim can often inform the meaning of the same term in other claims. Differences among

 claims or claim terms can also be a useful guide in understanding the meaning of particular claim

 terms.

          86.   I understand that a claim term should be construed not only in the context of the

 particular claim in which the disputed term appears, but in the context of the entire patent,

 including the entire specification. I understand that because the specification is a primary basis

 for construing the claims, a correct construction must align with the specification.

          87.   I understand that the prosecution history of the patent as well as art incorporated

 by reference or otherwise cited during the prosecution history are also highly relevant in

 construing claim terms. For instance, art cited by or incorporated by reference may indicate how

 the inventor and others of skill in the art at the time of the invention understood certain terms and

 concepts. Additionally, the prosecution history may show that the inventors disclaimed or

 disavowed claim scope, or further explained the meaning of a claim term.

          88.   With regard to extrinsic evidence, I understand that all evidence external to the

 patent and prosecution history, including expert and inventor testimony, dictionaries, and learned

 treatises, can also be considered. For example, technical dictionaries may indicate how one of

 skill in the art used or understood the claim terms. However, I understand that extrinsic evidence

 is considered to be less reliable than intrinsic evidence, and for that reason is generally given less

 weight than intrinsic evidence.



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 VII.   BACKGROUND AND QUALIFICATIONS

        89.     This section contains a summary of my educational background, career history,

 publications, and other relevant qualifications. My full curriculum vitae is attached as Appendix

 A to this declaration.

        90.     I have a Ph.D. in Materials Science and Engineering from Stanford University. I

 have taught a wide variety of courses at the undergraduate and graduate level in material science

 and engineering including coursework in the areas of materials analysis and crystallography. I

 am a member of many professional societies, including the Materials Research Society, the

 Institute of Electrical and Electronic Engineers, the American Society of Metals, the Microscopy

 Society of America, and the American Physical Society. I was heavily involved with the

 Materials Research Society for more than 20 years, including service as its President in 1994.

        91.     My work as a researcher and consultant has included thin film materials

 processing and analysis. I have worked for more than 35 years in the areas of thin film materials

 processing and analysis. Much of my work has involved analyzing properties and structures of

 electronic components. I led investigations involving polycrystalline silicon, and a variety of

 oxide and nitride dielectrics. I also led investigations in mechanical behaviors of many different

 electrical components focusing on the relationship between microstructures of each materials,

 processing and manufacturing of each electrical components, and its electrical and physical

 properties.

        92.     I have previously testified as an expert witness. My full curriculum vitae, attached

 as Appendix A to this declaration, includes a list of those matters within the last four years.

        93.     I have no financial interest in Qorvo or the ’755 Patent or ’786 Patent.




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 VIII. RESERVATION OF RIGHTS

        94.    My opinions are based upon the information that I have considered to date. I

 reserve the right to supplement my opinions in the future to respond to any arguments raised by

 Akoustis or its expert and to take into account new information that becomes available to me.

        95.    I declare that all statements made herein of my knowledge are true, and that all

 statements made on information and belief are believed to be true, and that these statements were

 made with the knowledge that willful false statements and the like so made are punishable by

 fine or imprisonment, or both, under Section 1001 of Title 18 of the United States Code.


 Executed on July 11, 2022.




                                                 John C. Bravman




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                      APPENDIX A
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                                          – John C. Bravman –
                 President, and Professor of Electrical Engineering, Bucknell University
                            Chairman of the Board, Geisinger Health System
        Bing Centennial Professor Emeritus, Materials Science & Engineering, Stanford University
                    Freeman–Thornton Vice Provost, Emeritus, Stanford University
                         103 University Avenue, Lewisburg, Pennsylvania 17837


 Research Interests & Expertise
 •   Integrated circuit process technology               •   High spatial resolution materials analysis
 •   IC failure processes and phenomena                  •   Microelectronic packaging
 •   Mechanical behavior of thin films                   •   Superconductivity

 Education
 1975 – 1979         B.S., Materials Science and Engineering, Stanford University
 1979 – 1984         M.S., Ph.D., Materials Science and Engineering, Stanford University


 Professional Career
 1979 – 1984         Research Engineer, Fairchild Semiconductor Research Laboratory, Palo Alto, CA
 1985 – 1991         Assistant Professor, Materials Science & Engineering, Stanford University
 1991 – 1995         Associate Professor, Materials Science & Engineering, Stanford University
 1991 – 1995         Associate Chairman, Materials Science & Engineering, Stanford University
 1992 – 1993         Associate Dean, School of Engineering, Stanford University
 1993 – 2001         Senior Associate Dean, School of Engineering, Stanford University
 1995 – 1997         Professor, Dept. of Materials Science & Engineering, Stanford University
 1997 – 2010         Bing Centennial Professor, Materials Science & Engineering, Stanford University
 1996 – 1999         Chairman, Dept. of Materials Science & Engineering, Stanford University
 1998 – 1999         Director, Center for Materials Research, Stanford University
 1999 – 2010         Founder and Dean of the Freshman/Sophomore College, Stanford University
 1999 – 2010         Freeman Thornton Vice Provost for Undergraduate Education, Stanford Univ.
 2001                Interim Vice Provost for Student Affairs, Stanford University
 2001 – 2010         Professor, by courtesy, Electrical Engineering, Stanford University
 2010 – present      Bing Centennial Professor of Materials Science and Freeman Thornton Vice
                         Provost for Undergraduate Education, Emeritus, Stanford University
 2010 – present      President, and Professor of Electrical Engineering, Bucknell University
 2012 – present      Board of Directors, Geisinger Health System; Chairman, 2017 – present

 Honors and Awards
 1987                School of Engineering Distinguished Advisor Award, Stanford University
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 1988               Excellence in Teaching Award, Society of Black Scientists & Engineers
 1989               Walter J. Gores Award for Excellence in Teaching, Stanford University’s highest
                            award for teaching
 1990               Tau Beta Pi Engineering Honor Society Award for Excellence in Undergraduate
                            Engineering Teaching, Stanford University
 1991               Bradley Stoughton Award, ASM International, a national teaching award for sci-
                            entists under the age of 35.
 1992 – 1995        Bing Teaching Fellow, Stanford University
 1992               Excellence in Teaching Award, Society of Women Engineers, Stanford Univ.
 1994               President, Materials Research Society
 1995 – 1997        University Fellow, Stanford University
 1997               Bing Centennial Professor, Stanford University
 2001               Stanford Associates Award for Service to the Alumni Association
 2004               Woody White Award, Materials Research Society
 2010               Kenneth M. Cuthbertson Award for Exceptional Service, Stanford University’s
                            highest award for contributions to the university.
 2022               Modern Healthcare’s Excellence in Healthcare Governance Class of 2022

 External Service and Scholarly Activities
 1986 – 1987        Symposium Organizer, 1987 Fall Meeting of the Materials Research Society;
                           “Workshop on Specimen Preparation for Transmission Electron Micros-
                           copy of Materials”
 1987 – 1988        Symposium Organizer, 1988 Fall Meeting of the Materials Research Society;
                           “Thin Films: Stresses and Mechanical Properties”
 1988 – 1989        Organizing Committee, International Conference on Materials and Mechanisms
                           of Superconductivity – High Temperature Superconductivity
 1988 – 1989        Symposium Organizer, 1989 Meeting of the Electron Microscopy Society of
                           America: “Structure and Reactivity of Metal – Semiconductor Interfaces”
 1989 – 1990        Conference Chairman, 1990 Spring Meeting of the Materials Research Society
 1989 – 1990        Symposium Organizer, 1990 Spring Meeting of the Materials Research Society:
                           “Laser Ablation for Thin Film Synthesis”
 1989 – 1990        Symposium Organizer, 1990 Spring Meeting of the Materials Research Society:
                           “Frontiers of Materials Science”
 1990 – 1991        Symposium Organizer, 1991 Fall Meeting of the Materials Research Society;
                           “Thin Films: Stresses and Mechanical Properties III”
 1990 – 1991        Symposium Organizer, 1991 Fall Meeting of the Materials Research Society;
                           “Workshop on Specimen Preparation for Transmission Electron Micros-
                           copy of Materials III”
 1991 – 1993        Council Member, Materials Research Society
 1991 – 1992        Symposium Organizer, 1992 Spring Meeting of the Materials Research Society:
                           “Structure and Defects in Electronic Oxides”
 1991 – 1996        Technical Editorial Board, Materials Research Society Bulletin

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 1992             Second Vice President, Materials Research Society
 1992 – 1998      Editorial Board, Annual Reviews of Materials Science
 1992             Guest Editor, July 1992 Issue of the Materials Research Society Bulletin; “Me-
                          chanical Properties of Thin Film Materials”
 1993             First Vice President, Materials Research Society
 1993 – 1995      Selection Committee, Bradley Stoughton Award, ASM International
 1993, 2001       Member, National Advisory Board, Materials Science & Technology Programs,
                          Sandia National Laboratories
 1994             President, Materials Research Society
 1994 – 1995      Conference Organizer, 3rd International Workshop on Stress Induced Phenom-
                          ena, Stanford, CA
 1995 – 1998      Solid States Sciences Committee of the National Research Council
 1996 – 1999      Awards Committee, ASM International
 1996 – 1999      Chair, Program Development Subcommittee, Materials Research Society
 1996 – 1999      Member, Electronics and Photonics Program National Advisory Board, Sandia
                          National Laboratories
 1997 – 1998      Symposium Organizer, 1998 Spring Meeting of the Materials Research Society,
                          “Materials Reliability in Microelectronics VIII”
 1997 – 1998      Conference Organizer, 15th Biennial Conference on National Materials Policy,
                          Washington, D.C.
 1998 – 1999      Program Committee, 5th International Workshop on Stress Induced Phenomena,
                          Stuttgart, Germany
 1998 – 1999      Chair, Long Range Planning Committee, Materials Research Society
 1998 – 2001      Member, Editorial Board, Applied Physics Reviews
 1998 – 2006      Associate Editor, Annual Reviews of Materials Science
 2000 – 2004      Chair, Program Committee, Materials Research Society
 2001             Member, Middle States Association Accreditation Review Panel, Cornell
 2001             Member, Middle States Association Accreditation Review Panel, University of
                          Pennsylvania
 2002 – 2008      Visiting Committee, Massachusetts Institute of Technology
 2002 – 2006      Member, Director’s Review Board, Chemistry and Materials Science, Lawrence
                          Livermore National Laboratory.
 2005 – 2009      Board of Directors, LEAD Program for Underserved Youth
 2006 – 2010      Member, Advisory Board, Journal of Engineering Education
 2010 – 2013      Member, Board of Directors, Council of Higher Education Accreditation
 2010 – present   Member, Selection Committee for the Clare Booth Luce Awards, Henry Luce
                          Foundation
 2011 – 2012      Chair, Publications Review Committee, Materials Research Society
 2012 – 2013      Chair, Middle States Association Accreditation Review Panel, Marist College
 2012 – present   Member, Board of Directors, Geisinger Health Systems Foundations

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 2015 – 2016        Chair, Middle States Association Accreditation Review Panel, United States Na-
                            val Academy
 2017 – 2018        Chair, Middle States Association Accreditation Review Panel, Colgate University

 Stanford University Service
 1986 – 2010        Freshman Advisor
 1991 – 1992        Deans’ Advisory Group, Libraries & Information Resources
 1991               Faculty Advisor, Freshman Alcohol Responsibility & Management Program
 1991 – 1995        Committee on Residential Computing
 1991 – 1997        Steering Committee, Continuing Education Program
 1992               Faculty Expenditure Certification Process Task Force
 1992 – 1995        Faculty Resident Fellow, Yost House Undergraduate Residence
 1992               Search Committee, Director of Environmental Health and Safety
 1992 – 1996        Chair, University Committee on Health and Safety
 1993 – 1999        Chair, C-AAA Subcommittee on University and Departmental Honors
 1993               Search Committee, Director of Residential Education
 1993 – 1997        Faculty Senate of the Academic Council
 1993 – 1999        Steering Committee, Center for Teaching and Learning
 1993 – 1994        President’s Commission on Undergraduate Education at Stanford;
                     Chair of Subcommittee on Technology in Teaching and Learning
 1993 – 1995        C-ASIS Subcom. on Distributed Information & Computing Environment
 1994 – 1995        President’s Commission on Technology in Teaching and Learning
 1994 – 1997        Board of Directors, Faculty Club
 1994 – 2003        C–AAA Subcommittee on Academic Standing
 1995 – 2004        Faculty Member, Stanford Sophomore College
 1995               Search Committee, Dean of Students
 1995 – 1996        Faculty Senate Committee on Committees
 1995 – 1997        Design Committee for Cultures, Ideas & Values Program
 1996               Search Committee, Director of Career Planning and Placement Center
 1996 – 1998        Stanford University Board of Trustees Committee on Development
 1996 – 1999        Writing Advisory Board
 1996 – 2010        University Undergraduate Advisory Council
 1996 – 1997        Residences Task Force
 1996 – 1999        Executive Committee, Center for Materials Research
 1997               Search Committee, Dean of Admissions & Financial Aid
 1997 – 1999        Residence Programs Implementation Group
 1998 – 2001        Stanford University Board of Trustees Committee on Nominations
 1998 – 1999        Director, Center for Materials Research
 1999               Elected Chair, Faculty Senate of the Academic Council
 1999 – 2010        Dean of the Freshman/Sophomore College
 1999 – 2010        Freeman–Thornton Vice Provost for Undergraduate Education
 2000               Co–Chair, Search Committee, Dean of Admissions & Financial Aid
 2000 – 2001        Provost’s Task Force, University Needs Assessment
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 2000 – 2003       Strategic Planning Board, Cantor Center for the Visual Arts
 2001              Search Committee, Dean of Humanities and Sciences
 2001              Chair, Search Committee, Vice Provost for Student Affairs
 2001              Interim Vice Provost for Student Affairs
 2004 – 2005       Co–Chair, Search Committee, Dean of Admissions & Financial Aid
 2004 – 2007       Dean of Potter College
 2005 – 2006       Search Committee, Director of Athletics
 2006              Co–Chair, Stanford Task Force Evaluating Education in the Residences
 2006 – 2007       Search Committee, University Registrar
 2006 – 2010       Co–Chair, WASC Reaccreditation Steering Committee

 Stanford School of Engineering Service
 1986 – 1990       EE–ICL Faculty Search Committees (Silicon Processing; Sensors)
 1986 – 1992       Radiation Safety Committee
 1987 – 1992       School of Engineering Committee on Computers
 1991 – 2001       Member of Undergraduate Council
 1991 – 2006       Faculty Advisor, Tau Beta Pi Engineering Honor Society
 1992 – 1993       MSE–EE Faculty Search Committee (Magnetic Materials & Devices)
 1992 – 1994       MSE–Chem. E. Faculty Search Committee (Comput. Materials Science)
 1992 – 1993       Associate Dean for Undergraduate Affairs
 1992 – 2009       Faculty Advisor, Stanford Solar Car Project
 1993 – 2001       Senior Associate Dean for Student Affairs


 Stanford Departmental Service
 1986 – 1987       Student Faculty Liaison Committee, Dept. of Materials Science
 1986 – 1987       Industrial Affiliates Program Committee, Dept. of Materials Science
 1986 – 1990       Advanced Degree Committee, Dept. of Materials Science
 1986 – 1990       Curriculum Committee, Dept. of Materials Science
 1986 – 1991       Project Director, X–ray Diffraction Lab., Dept. of Materials Science
 1986 – 1991       Chair, Computer Committee, Dept. of Materials Science
 1987 – 1991       Chair, Space and Building Committee, Dept. of Materials Science
 1990 – 1995       Chair, Financial Aids Committee, Dept. of Materials Science
 1991 – 1995       Associate Chairman, Dept. of Materials Science and Engineering
 1996 – 1999       Chairman, Department of Materials Science & Engineering

 Referee
    Journals       Journal of Applied Physics, Applied Physics Letters, Journal of Materials Science,
                   Journal of the Electrochemical Society, Physical Review B, IEEE Electron De-
                   vice Letters, Journal of Materials Research, Physical Review Letters, Journal of
                   Engineering Education



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    Agencies       National Science Foundation, Electric Power Research Institute, Air Force Of-
                   fice of Scientific Research, Department of Energy, Army Research Labs, Science
                   and Engineering Research Council (Singapore)


 Professional Society Memberships

 American Physical Society                              American Society of Metals
 Materials Research Society                             The Metallurgical Society of AIME
 Microscopy Society of America                          Institute of Electrical & Electronic Engi-
 neers

 Patents

 “Drug Delivery Systems using Mesoporous Oxide Films,” Dimitrios Pantelidis and John C. Bravman,
 US Patent 7,981,441, issued July 19, 2011.

  “Bioactive Material Delivery Systems Comprising Sol-Gel Compositions,” Dimitrios Pantelidis,
 John C. Bravman, Jonathan Rothbard, and Richard Klein, US Patent 8,097,269, issued January 17,
 2012.


 Consulting Activities – Technical Advisory
 1985 – 1987       Fairchild Semiconductor, Palo Alto, CA. (technical consulting)
 1986 – 1992       National Semiconductor, Santa Clara, CA. (technical consulting)
 1987 – 1990       Intel Corporation, Santa Clara, CA. (technical consulting)
 1992 – 2000       Mayfield Fund, Menlo Park, CA. (technical consulting)
 1994 – 2002       Chair, National Advisory Board, Materials Science & Technology Programs, San-
                            dia National Laboratories
 1998 – 2003       Mohr, Davidow, Menlo Park, CA. (technical consulting)
 2001 – 2005       Reflectivity, Inc., Sunnyvale, CA. (technical consulting)
 2003 – 2007       Applied Plasma Lab, Inc., Santa Clara, CA. (Board of Directors)
 2004 – 2010       Medlogics, Santa Rosa, CA. (technical consulting)
 2005 – 2007       Sharefare, Los Altos, CA. (Technical Advisory Board)
 2006 – 2008       HSH Nordbank, New York, NY. (technical due diligence)
 2007              Virgin Fuels, London, U.K. (technical due diligence)




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 Consulting Activities – Intellectual Property, Trade Secret, Product Liability

 1999 – 2000        Robins, Kaplan, Miller and Ciresi
                    • for Raychem; patent litigation, consultant, 1999 – 2000. [completed]

 2001 – present     Perkins Coie
                    • for Semitool in Semitool vs. Applied Materials, Novellus, and Ebara; patent
                      litigation, testifying witness, 2001 – 2004. [Case CV 01-1066-BR (Applied Ma-
                      terials), [Case CV 01-874-BR (Novellus), Case CV 01-873-BR (Ebara); US
                      District Court, District of Oregon.] [completed]
                    • for Semitool in Semitool vs. DMS; patent litigation, testifying witness, 2004 –
                      2005. [Case 01–1391 WHA; US District Court, Northern District of Califor-
                      nia, San Francisco Division; filed April 9, 2001] [completed]
                    • for Micron in Ohmi vs. Intel, IBM, Samsung and Micron; patent litigation,
                      testifying witness, 2006 – 2007. [Case 2–05–CV–209; US District Court, East-
                      ern District of Texas, Marshall Division; filed June 2, 2005.] [completed]
                    • for On Semiconductor in On Semiconductor vs. Hynix Semiconductor,
                      Elpida Memory, Nanya Technology, and Hittite Microwave; patent litigation,
                      testifying witness, 2010. [Case 6–09-CV–390; United States District Court for
                      the Eastern District Of Texas.] [completed]
                    • for Intel in Semcon Tech LLC vs. Intel Corporation; patent litigation, testify-
                      ing witness, 2012 – 2013. [Case 12-531-RGA; United States District Court for
                      Delaware.] [completed]
                    • for Intel, Global Foundries, and Micron in Intel Corporation, Global Found-
                      ries U.S., Inc., and Micron Technology, Inc., Petitioners, vs. Daniel L. Flamm;
                      IPR Petitions on U.S Patent RE40,264; 2016-2018. [completed]
                    • for STMicroelectronics, in Ocean Semiconductor LLC vs. STMicroelectron-
                      ics, Inc., patent litigation, testifying witness, 2021 – present. [Case 6:20-cv-
                      01215-ADA, W.D. Texas.] *

 2003 – 2020        Kirkland & Ellis
                    • for Honeywell Electronic Materials; patent litigation; consultant, 2003. [com-
                      pleted]
                    • for Samsung in Ohmi vs. Intel, IBM, Samsung and Micron; patent litigation;
                      testifying witness, 2006 – 2007. [Case 2–05–CV–209; US District Court, East-
                      ern District of Texas, Marshall Division; filed June 2, 2005.] [completed]
                    • for Samsung in Samsung vs. Matsushita; patent litigation; testifying witness,
                      2006 – 2007. [Case 6:06-CV-154 LED; US District Court, Eastern District of
                      Texas, Tyler Division; filed September 15, 2005.] [completed]
                    • for Agere Systems in Agere vs. Atmel; patent litigation; testifying witness,
                      2006. [Case 02–CV–864; US District Court, Eastern District of Pennsylvania]
                      [completed]
                    • for Samsung in On Semiconductor vs. Samsung; patent litigation; testifying
                      witness, 2008 – 2009 [Case 07–449 (JJF); US District Court, District of Dela-
                      ware]; and in Samsung vs. On Semiconductor; patent litigation; testifying wit-
                      ness, 2008 – 2009 [Case 06–720 (JJF); US District Court, District of Dela-
                      ware]. [completed]



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                • for Samsung in Spansion vs. Samsung; patent litigation; testifying witness,
                  2009 [Investigation 337–TA–664; US International Trade Commission, Wash-
                  ington D.C.] [completed]
                • for Samsung in Spansion vs. Samsung; patent litigation; testifying witness,
                  2010 – 2011 [Case 08–855 (SLR); US District Court, District of Delaware].
                  [completed]
                • for Samsung in Spansion vs. Samsung; patent litigation; testifying witness,
                  2011 – 2012 [Case No. 3:10-CV-685 (WMC); US District Court, Western Dis-
                  trict of Wisconsin]. [completed]
                • for Intel in IP Bridge vs. Intel, Petitioners; IPR Petitions on U.S Patents
                  6346736, 6424041, 6709950, 6967409, 7417289, 7893501; 2017–2019. [com-
                  pleted]
                • for Intel, Acer, ASUSTeK, Lenovo, and Micro-Star International, in Tela In-
                  novations, Inc. vs. Intel, Acer, ASUSTeK, Lenovo, and Micro-Star Interna-
                  tional; patent litigation; testifying witness, 2019–2020 [Case 337-TA-1148; US
                  International Trade Commission, Washington D.C.] [completed]

 2003           McDermott, Will & Emery
                • for Motorola/Freescale in Motorola vs. Analog Devices; patent litigation, tes-
                  tifying witness, 2003. [Case 1:03-CV-0131; US District Court, Eastern District
                  of Texas, Beaumont Division; filed March 4, 2003.] [completed]

 2003 – 2004    Jones Day
                • for Motorola/Freescale in Motorola vs. Analog Devices; patent litigation, tes-
                   tifying witness, 2003 – 2004. [Case 1:03-CV-0131; US District Court, Eastern
                   District of Texas, Beaumont Division; filed March 4, 2003.] [completed]

 2004 – 2005    Heller Erhman White & McAuliffe
                • for Fujitsu in Fujitsu vs. Sumitomo, Amkor, and Cirrus Logic; product liabil-
                  ity, testifying witness, 2004 – 2005. [Case 1-03-CV-009885; Superior Court of
                  the State of California, County of Santa Clara; filed November 25, 2003.] [com-
                  pleted]
                • for Western Digital in Reiber et al. vs. Western Digital et al., patent litigation,
                  testifying witness, 2008. [Investigation No. 337-TA-616.] [completed]

 2004 – 2005    Paul, Hastings, Janofsky & Walker
                • for SMIC in TSMC vs. SMIC; trade secrets, consultant, 2004 – 2005. [Case C-
                  03-5761 MMC; US District Court, Northern District of California.] [completed]

 2005 – 2006    Townsend and Townsend and Crew
                • for Hynix in Toshiba vs. Hynix; patent litigation, testifying witness, 2005 –
                  2006. [Case 3:04-CV-04708 VRW; US District Court, Northern District of
                  California; filed September 1, 2006.] [completed]

 2005 – 2007    Keker and Van Nest
                • for Intel in Ohmi vs. Intel, Samsung and Micron; patent litigation, testifying
                  witness, 2005 – 2007. [Case 2–05CV–209; US District Court, Eastern District
                  of Texas, Marshall Division; filed June 2, 2005.] [completed]


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                  • for Sputtered Films Inc. in SFI vs. Advanced Modular Sputtering; trade secret
                    litigation, consultant, 2006. [Case 0113-2336; Superior Court of the State of
                    California, Anacapa Division; filed December 23, 2003.] [completed]

 2005 – present   Fish and Richardson
                  • for Hynix in Toshiba vs. Hynix; patent litigation, testifying witness, 2005 –
                     2006. [Investigation 337–TA–552; US International Trade Commission,
                     Washington D.C.] [completed]
                  • for Metconnex in JDS Uniphase vs. Metconnex; patent litigation, consultant,
                     2005 – 2006. [Case 05-5371-AG(SS); US District Court, Central District of
                     California, Southern Division; filed July 25, 2005.] [completed]
                  • for Hynix in Toshiba vs. Hynix; patent litigation, testifying witness, 2007 –
                     2008. [Investigation 337–TA–592; US International Trade Commission,
                     Washington D.C.] [completed]
                  • for Samsung in Renesas vs. Samsung; patent litigation, testifying witness, 2007
                     – 2008. [Investigation 337–TA–595; US International Trade Commission,
                     Washington D.C.] [completed]
                  • for Applied Materials, in Applied Materials vs. SSC, patent litigation, testifying
                     witness, 2007 – 2008 [completed]
                  • for Samsung in Spansion vs. Samsung; patent litigation, testifying witness,
                     2010 – 2011. [Investigation 337–TA–735; US International Trade Commis-
                     sion, Washington D.C.] [completed]
                  • for Invensense in STMicroelectronics vs. Invensense; patent litigation, testify-
                     ing witness, 2013 – 2014. [Case CV 12-02475 (JSW), US District Court,
                     Northern District of California, San Francisco Division.] [completed]
                  • for Macronix in Spansion vs. Macronix; patent litigation, testifying witness,
                     2014 – 2015. [Investigation 337–TA–916; US International Trade Commis-
                     sion, Washington D.C.] [completed]
                  • for Samsung in KIPB LLC vs. Samsung; patent litigation, testifying witness,
                     2020 – present. [Case No. 2:19-cv-00056-JRG-RSP; US District Court, East-
                     ern District of Texas, Marshall Division.] [completed]
                  • for General Motors LLC, Volkswagen AG and Volkswagen Group of Amer-
                     ica, Inc., and Bayerische Motoren Werke AG and BMW of North America,
                     LLC, in Arigna vs. General Motors LLC, Volkswagen AG and Volkswagen
                     Group of America, Inc., and Bayerische Motoren Werke AG and BMW of
                     North America, LLC; testifying witness, 2021 – present, [International Trade
                     Commission, Investigation No. 337-TA-1267]. *

 2006 – 2014      Irell & Manella
                  • for Tessera in Tessera, Inc. vs. Amkor; patent litigation, testifying witness,
                     2006 – 2008. [International Court of Arbitration of The International Cham-
                     ber of Commerce] [completed]
                  • for Tessera in Tessera, Inc. vs. Advanced Micro Devices, Inc., Spansion Inc.,
                     Spansion Technology Inc., Spansion LLC, Advanced Semiconductor Engi-
                     neering, Inc., ASE (US) Inc., ChipMOS Technologies Inc., ChipMOS USA
                     Inc., Siliconware Precision Industries Co. Ltd, Siliconware USA Inc.,
                     STMicroelectronics N.V. STMicroelectronics, Inc., STATSChipPac Ltd.,
                     STATSChipPac, Inc., STATSChipPac (BVI) Limited; patent litigation, testify-
                     ing witness, 2006 – 2008. [Case 4:05-CV-04063 CW); US District Court,

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                      Northern District of California; filed January 31, 2006 (Second Amended
                      Complaint).] [completed]
                  •   for Chi Mei Optoelectronics in LG Display vs. Chi Mei Optoelectronics; pa-
                      tent litigation, testifying witness, 2009 – 2011. [Case 06-726, 07-357, 08-355
                      (D. Dell); US District Court, Delaware.] [completed]
                  •   for Tessera in Tessera, Inc. vs. Amkor; patent litigation, testifying witness,
                      2010 – 2011. [International Court of Arbitration of The International Cham-
                      ber of Commerce] [completed]
                  •   for Tessera in Tessera, Inc. vs. Sony Corporation, 2012 – 2013. [Case 5:11-CV-
                      04399-EJD, US District Court, Northern District of California.] [completed]
                  •   for Tessera in Power Technology Inc. vs. Tessera, Inc. 2012 – 2014. [Case
                      4:10-CV-00945-CW, US District Court, Northern District of California.] [com-
                      pleted]
                  •   for Tessera in Tessera vs. UTAC, 2015 – 16, patent litigation, testifying wit-
                      ness. [completed]

 2006 – present   Sheppard, Mullin, Richter, & Hampton
                  • for Northrup Grumman; contract dispute, consultant, 2006 – 2010. [completed]
                  • for Qorvo, in Qorvo vs. Akoustis, Inc.; patent litigation, testifying witness,
                    2022 – present. [Case 21-cv-01417, District of Delaware.] *

 2006 – 2007      Foley & Lardner
                  • for Schlumberger Technology Corporation in Memory Corporation vs. Ken-
                    tucky Oil Technology N.V., Peter Besselink, Memory Metals Holland, B.V.,
                    and Kentucky Oil Technology N.V. vs. Memry Corporation and Schlum-
                    berger Technology Corporation; trade secrets, consultant, 2006 – 2008. [Case
                    04–CV–03843 RMW (HRL); US District Court, Northern District of Califor-
                    nia.] [completed]

 2007 – 2009      Baker Botts
                  • for Agere in Agere vs. Sony; patent litigation, testifying witness, 2007 – 2009.
                    [Case 2:06–CV–00079 (TJW); US District Court, Eastern District of Texas,
                    Marshall Division.] [completed]
                  • for Samsung in Samsung vs. Pioneer Corporation; patent litigation, testifying
                    witness, 2007 – 2008. [Case 2:06–CV–384 (DF); US District Court, Eastern
                    District of Texas, Marshall Division.] [completed]

 2007 – 2008      Wolf, Greenfield & Sacks
                  • for Nanya Technology Corporation in Fujitsu vs. Nanya; patent litigation, tes-
                    tifying witness, 2007 – 2008. [Case 4:06-CV-06-06613 (CW); US District
                    Court, Northern District of California, Oakland Division.] [completed]

 2008 – 2009      Quinn Emanuel Urquhart Oliver & Hedges
                  • for Samsung in Samsung vs. SanDisk; patent litigation, testifying witness, 2008
                    – 2009. [completed]

 2008 – 2021      Winston & Strawn
                  • for S.O.I.TEC Silicon on Insulator Technologies in S.O.I.TEC Silicon on In-
                    sulator Technologies vs. MEMC Electronic Materials; patent litigation,

                                                                                                       10
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                  testifying witness, 2008 – present. [Case 1:08-cv-292-SLR; US District Court,
                  District of Delaware.] [completed]
                • for Corning, testifying witness, 2019–2021. [completed]

 2009 – 2011    Lerner, David, Littenberg, Krumholz & Mentlik
                • for Tessera in Tessera vs. ST Microelectronics; patent re–examination, con-
                  sulting expert, 2009 – 2011. [completed]

 2009 – 2013    Morrison & Foerster
                • for Advanced Microfabrication Equipment in Applied Materials vs. Advanced
                  Microfabrication Equipment; patent litigation, testifying witness, 2009. [Case
                  C07–05248 JW (PVT), US District Court, North. District of California, San
                  Jose Division.] [completed]
                • for Invensas in STMicroelectronics vs. Invensas; patent litigation, testifying
                  witness, 2013 – 2014. [Case CV 12-02475 (JSW), US District Court, Northern
                  District of California, San Francisco Division.] [completed]

 2009           Sidley Austin
                • for Samsung in Samsung vs. Pioneer Corporation; patent litigation, testifying
                   witness, 2009. [Case 2:06–CV–384 (DF); US District Court, Eastern District
                   of Texas, Marshall Division.] [completed]

 2009           Thompson & Knight
                • for LSI in Qimonda vs. LSI; patent litigation, testifying witness, 2009. [Investi-
                  gation 337–TA–665; US International Trade Commission, Washington D.C.]
                  [completed]

 2009           O’Melveny & Myers
                • for Samsung in Semiconductor Energy Laboratory vs. Samsung; patent litiga-
                  tion, testifying witness, 2009 – 2010. [Case 3:09–CV–0001; US District Court,
                  Western District of Wisconsin.] [completed]



 2010 – 2011    Farella, Braun & Martell
                • for Volterra Semiconductor in Volterra vs. Infineon Technologies; patent liti-
                  gation, testifying witness, 2010 – 2011. [Case No. CV-08-5129 (JCS); US Dis-
                  trict Court, Northern District of California, San Francisco Division.] [completed]

 2011           Faegre & Benson
                • for CoorsTek in CoorsTek vs. Reiber & Reiber; patent litigation, testifying wit-
                  ness, 2011. [Case 08-CV-1133-KMT-CBS; US District Court, District of Colo-
                  rado.] [completed]


 2012 – 2021    WilmerHale
                • for Apple, Intel, and Hewlett-Packard, in X2Y Attenuators LLC v. Apple, In-
                  tel and Hewlett-Packard, patent litigation, testifying witness, 2012. [ITC Inves-
                  tigation No. 337-781.] [completed]

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                • for Intel, in Zond LLC v. Intel, patent litigation, testifying witness, 2013 –
                  2014. [Case No. CV-1:13-11570-JLT; US District Court.] [completed]
                • for Gillette, in Gillette v. Zond, LLC, testifying witness, 2015. [Patent
                  8,125,155; Case Nos. IPR 2014–00477 and 00479.] [completed]
                • for Gillette, in Gillette v. Zond, LLC, testifying witness, 2015. [Patent
                  6,896,775; Case Nos. IPR 2014-00578 and 00604.] [completed]
                • for Gillette, in Gillette v. Zond, LLC, testifying witness, 2015. [Patent
                  6,896,773; Case Nos. IPR 2014-00580 and 00726.] [completed]
                • for Gillette and TSMC, in Gillette, Fujitsu Semiconductor Limited, Advanced
                  Micro Devices, Renesas Electronics Corporation, Renesas Electronics Amer-
                  ica, Global Foundries U.S., Global Foundries Dresden Module One LLC &
                  Co. KG, Global Foundries Dresden Module Two LLC & Co. KG, Toshiba
                  America Electronic Components, Toshiba America, Toshiba America Infor-
                  mation Systems, and Toshiba Corporation v. Zond, LLC, testifying witness,
                  2015. [Patent 7,808,184 ; Case Nos. IPR 2014-00799 and 00803.] [completed]
                • for Apple in Apple vs. Ericsson; patent litigation, 2015. [ITC Investigation No.
                  337-953.] [completed]
                • for Intel in DSS vs. Intel Corporation; patent litigation, 2015. [Case No. CV-
                  6:15-130; US District Court.] [completed]
                • for Intel in DSS vs. Intel Corporation; patent litigation, 2015. [Patent
                  5,965,924: Case Nos. IPR 2015-TBD and Patent 6,784,552: Case Nos. IPR
                  2015-TBD.] [completed]
                • For Intel in VLSI Technology vs. Intel, Petitioners; IPR Petitions on U.S Pa-
                  tents 7709303, 8268672; 2017 – 2019. [completed]

 2015           Latham & Watkins
                • for NVIDIA, in Samsung v. NVIDIA, patent litigation, testifying witness,
                   2015. [Case No. CV-3:14-757; US District Court.] [completed]

 2015 – 2016    Troutman Sanders
                • for Soitec in Silicon Genesis vs. Soitec; patent litigation, testifying witness,
                  2015-16. [Investigation 337–TA–966; US International Trade Com., Washing-
                  ton D.C.] [completed]

 2016 – 2020    Covington
                • for Tessera, in Tessera vs. Broadcom; patent litigation, testifying witness,
                  2016-17 [Investigation 337–TA–1010; US International Trade Com., Wash-
                  ington D.C.] [completed]
                • for Hanwha Q CELLS in Hanwha Q Cells vs. JinkoSolar Holding Co., Ltd.,
                  JinkoSolar (U.S.) Inc., Jinko Solar (U.S.) Industries Inc., Jinko Solar Co., Ltd.,
                  Zhejiang Jinko Solar Co., Ltd., Jinko Solar Technology Sdn. Bhd., LONGi
                  Green Energy Technology Co., Ltd., LONGi Solar Technology Co., Ltd.,
                  LONGi (H.K.) Trading Ltd., LONGi (Kuching) Sdn. Bhd., Taizhou LONGi
                  Solar Technology Ltd., Zhejiang LONGi Solar Technology Ltd., Hefei
                  LONGi Solar Technology Ltd., LONGi Solar Technology (U.S.) Inc., REC
                  Solar Holdings AS, REC Solar Pte. Ltd. and REC Americas, LLC; patent liti-
                  gation, testifying witness, 2019 [Investigation 337–TA–1151; US International
                  Trade Com., Washington D.C.] [completed]


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                    • for Invensas Corporation and Tessera Advanced Technologies, Inc., in In-
                      vensas Corporation and Tessera Advanced Technologies vs. NVIDIA Corpo-
                      ration; patent litigation, testifying witness, 2019-2020 [Case No. 1:19-cv-
                      00861; US District Court] [completed]
                    • for Samsung Display Co., Inter Partes Review of Certain AUO Patents. *

 2018 – 2021        Mintz Levin
                    • for Innovative Foundry Technologies, consulting expert. [ ITC investigation
                       337-TA-1149] [completed]

 2019 – 2021        Orrick
                    • for Micron Technology, Inc., in North Star Innovations, Inc. vs. Micron
                      Technology, Inc., patent litigation, testifying witness, 2019–present. [Case No.
                      17-cv-506-LPS-CJB; US District Court.] [completed]
                    • for Micron Technology, Inc., in Lone Star Innovations LLC, Inc. vs. Micron
                      Technology, Inc., patent litigation, testifying witness, 2019–present. [Case No.
                      3:17-cv-05458-WHA; US District Court.] [completed]

 2019 – 2021        Steptoe & Johnson
                    • for Chilisin Electronics Corp., in Cyntec Company, Ltd. v. Chilisin Electron-
                       ics Corp, Inc., patent litigation, testifying witness, 2019–2021. [Case No.: 4:18-
                       cv-00939-PJH; US District Court.] [completed]

 2014 – present     Desmarais
                    • for Round Rock Research LLC, in Round Rock Research LLC v. SanDisk
                      Corporation; consulting expert. 2014–15. [completed]
                    • for Apple, in nCAP Licensing, LLC, nCAP Telecommunications LLC, nCAP
                      Medical, LLC v. Apple Inc, consulting expert. [No.: 2:17-cv-00905-HCN-
                      CMR]. [completed]
                    • for Samsung Electronics Ltd. et al., in Samsung Electronics Ltd. et al. v.
                      Trenchant Blade Technologies LLC, Inter Partes Review; testifying witness,
                      2020–2021. [completed]
                    • for Samsung in Demaray LLC v. Samsung Electronics Co., Ltd. et al., 6:20-cv-
                      00636; testifying witness. 2020–present. *

 2021 – present     Finnegan
                    • for General Motors LLC, Volkswagen AG and Volkswagen Group of Amer-
                       ica, Inc., and Bayerische Motoren Werke AG and BMW of North America,
                       LLC, in Arigna v. General Motors LLC, Volkswagen AG and Volkswagen
                       Group of America, Inc., and Bayerische Motoren Werke AG and BMW of
                       North America, LLC; testifying witness, 2021 – present, [International Trade
                       Commission, Investigation No. 337-TA-1267]. *


 Note: The designation “[completed]” at the end of an entry indicates that Dr. Bravman’s involvement
 in the matter has ended no later than the publication date of this document. Matters indicated with a
 * remain active as of that date.

 Doctoral Students of Prof. John C. Bravman

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      Name                          Dissertation Title                         Completion Date
 1. David C. Paine        A Microstructural Study of LPCVD                        September
 1988
                          Tungsten Thin Films for Use as a
                          Contact Material to Silicon.
 2. Ming Bing Chang       Deep Level Related Studies in GaAs                      October
 1989
                          with the Constant Capacitance Voltage
                          Transient Technique.
 3. Soonil Hong           Free Standing Multilayer Thin Film                      December
 1990
                          Microstructures for Electronic Systems.
 4.   Bruce M. Lairson    Critical Currents and Flux Creep in                     August 1991
                          YBa2Cu3O7–d Superconducting Thin Films.
 5.   Paul L. Meissner   Barrier Height Reduction and Interface                   August 1991
                         Chemistry in Pd–Ge Based Contacts to GaAs.
 6. Ramnath Venkatraman Plasticity and Flow Stresses in Al Thin                   May 1992
                         Films on Silicon.
 7. Stephen K. Streiffer Nucleation and Growth of YBa2Cu3O7–d                     November
 1992
                         Films on Lattice–Matched and Mismatched
                         Substrates.
 8. Paul R. Besser       X–ray Determination of Thermal Strains,                  August 1993
                         Stresses, and Relaxation in Passivated Al
                         Lines During Thermal Cycling
 9. Thomas N. Marieb     In-Situ Observations of Void Nucleation and              January 1994
                         Growth in Passivated Metal Lines
 10. Richard Vinci       Thermal Stresses and Strains in Copper                   August 1994
                         Films and Interconnect Structures
 11. Cynthia Lee         Diffusion of Implanted Dopants                           December
 1994
                         in GaAs/AlGaAs.
 12. Eden Zielinski      The Influence of Strain Energy on Abnormal               August 1995
                         Grain Growth in Copper Thin Films
 13. Yaser M. Haddara     Transient Diffusion of Dopants in Gallium Arsenide      March 1997

 14. Charlie Yu           High Temperature Mechanical Properties                  August 1997
                          of Thin Films used in VLSI Fabrication
 15. Samantha Lee         The Effects of Passivation on Electromigration          August 1998
                          Behavior in Aluminum Interconnects
 16. Jonathan Doan        In–Situ Studies of Electromigration in Thin Films       December
 1998

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 17. Guido Cornella          Monotonic and Cyclic Testing of Thin Film Materials    December
 1998

 18. Seok Hee Lee            Electromigration in Cu Thin Films                      December
 2000



 19. Nicole Meier            Electromigration in Cu Thin Films                      March 2002

 20. Dimitrios Pantelidis    Mechanisms of Adhesion of Organic/Inorganic InterfacesJune 2003
                             Reinforced by Silane Coupling Agents and
                             Self-Assembling Mesoporous Oxide Thin Films
 21. Ping Zhang              Thin Film Mechanical Behavior                         May 2003

 22. Bryan Valek             Thin Film Mechanical Behavior                          March 2003

 23. Maura Jenkins           Selection and Use of Silane Adhesion Promoters         June 2003
                             in Microelectronic Packaging
 24. Gaurav Verma            Laser Silicidation for Deep Submicron MOSFETs          August 2003



 Invited Presentations at Conferences, Workshops, etc.

 1.   March 1985             “High Resolution Microstructural Studies of VLSI Interfaces,” Elec-
                             tronic Materials Symposium, Northern California Section, AIME, Santa
                             Clara, CA.
 2.   October 1985           “Microstructural Characterization of LPCVD Tungsten Interfaces,” Sec-
                             ond Annual Workshop on Tungsten & Other Refractory Metals, Albu-
                             querque, NM.
 3.   January 1986           “High Resolution Microstructural Studies of Semiconductor Materials,”
                             1986 Annual Meeting of the Society of Photo–Optical Instrumentation
                             Engineers, Los Angeles, CA.
 4.   February 1987          “High Resolution Microstructural Studies of Semiconductor Materials,”
                             Golden Gate Materials Technology Conference, San Francisco, CA.
 5.   June, 1987             “Structural Characterization of Silicon – LPCVD Tungsten Interfaces,”
                             13th Western Regional Meeting for Electron Microscopy and Mi-
                             crobeam Analysis, Concord, CA.
 6.   July 1987              “TEM Studies of Semiconductor Materials,” Annual Meeting of the In-
                             ternational Metallographic Society, Monterey, CA.



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 7.   September 1987    “Synthesis and Properties of Superconducting Parasites,” Regional
                        Meeting of the Materials Research Society, Univ. of Washington, Seattle,
                        WA.
 8.   January 1988      “TEM Studies of VLSI Materials,” Northern California American Vac-
                        uum Society Thin Film Microanalysis Seminar, San Jose, CA.
 9.   January 1988      “Synthesis and Properties of Superconducting Perovskites,” 1988 An-
                        nual Meeting of The Metallurgical Society, Phoenix, AZ.
 10. April 1988         “Morphology and Microstructure of LPCVD Tungsten Films,” 1988
                        Spring Meeting of the Materials Research Society, Reno, NV.
 11. September 1989     “High Resolution Electron Microscopy of Semiconductor Interfaces,”
                        12th Brazilian Congress on Electron Microscopy, Rio de Janeiro, Brazil.
 12. April 1990         “Beam Deflection Techniques for Studying Thin Film Mechanical Be-
                        havior,” 1990 Spring Meeting of the Materials Research Society, San
                        Francisco, CA.
 13. June, 1991         “Mechanical Testing of Thin Films,” 6th International Conference on
                        Solid State Sensors and Actuators,” San Francisco, CA.
 14. November 1991      “Mechanical Properties of Thin Film Aluminum,” American Vacuum
                        Society Annual Meeting, Seattle, WA.
 15. March 1992         “Mechanical Testing of Thin Film Media,” The Metallurgical Society An-
                        nual Meeting, San Diego, CA.
 16. April 1992         “Mechanical Testing of Thin Film Materials,” 1992 Spring Meeting of
                        the Materials Research Society, San Francisco, CA.
 17. March 1993         “X-ray Determination of Strains, Stresses and Relaxation in Intercon-
                        nection Metallizations,” Second International Workshop on Stress In-
                        duced Phenomena in Metallizations, Austin, TX.
 18. June 1994          “Microstructure and Stresses in Sputtered Copper Films,” Symposium
                        on Micromechanisms in Stressed Conductor Lines and Thin Films,
                        Ringberg, Germany.
 19. December 1994      “In-situ Electromigration Testing of Aluminum Metallizations,” 1994
                        Fall Meeting of the Materials Research Society, Boston, MA.
 20. April 1995         “Development of High Voltage SEM for In-situ Electromigration Test-
                        ing,” 1995 Spring Meeting of the Materials Research Society, San Fran-
                        cisco, CA.
 21. May 1995           “Development of High Voltage SEM for In-situ Electromigration Test-
                        ing,” 1995 Meeting, European Materials Research Society, Strasbourg,
                        France.
 22. September 1998     “In–Situ High Voltage Scanning Electron Microscopy for Electromigra-
                        tion Studies,” 14th Quadrennial International Conference on Electron
                        Microscopy, Cancun, Mexico.


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 23. June 2001                “Micromechanical Testing of Free-Standing Thin Films for MEMS Ap-
                              plications,” 2001 Mechanics and Materials Conference, San Diego. (Key-
                              note)
 24. June 2001                “In–Situ Dynamic Studies of Electromigration in Copper Metalliza-
                              tions,” 2001 Mechanics and Materials Conference, San Diego. (Keynote)
 25. December 2001            “Micromechanical Testing of Free-Standing Thin Films for MEMS Ap-
                              plications,” 2001 Fall Meeting of the Materials Research Society, Boston,
                              MA.


 Invited Presentations at Universities, Corporations, etc.

 26. December 1984            “Transmission Electron Microscopy of Semiconductor Materials,” De-
                              partment of Materials Science, Oregon Graduate Center.
 27. January 1985             “Transmission Electron Microscopy of VLSI Interfaces,” Rockwell In-
                              ternational, Semiconductor Products Division, Los Angeles, CA.
 28. January 1985             “Transmission Electron Microscopy: A Tool for VLSI Research,”
                              Hewlett Packard Research Laboratories, Palo Alto, CA.
 29. March 1985               “Morphological Aspects of Silicon – Silicon Dioxide VLSI Interfaces,”
                              Texas Instruments Central Research Laboratories, Dallas, TX.
 30. October 1987             “Transmission Electron Microscopy of Thin Films and Interfaces,” De-
                              partment of Materials Science and Mineral Engineering, Univ. of Cali-
                              fornia at Berkeley.
 31. May 1988                 “Progress and Prospects in High Temperature Superconductors,”
                              Raychem Corporation, Redwood City, CA.
 32. June 1988                “An Assessment of LPCVD Tungsten for VLSI Metallizations,” Xerox
                              Corp., Palo Alto Research Center, Palo Alto, CA.
 33. April 1989               “Transmission Electron Microscopy: A Tool for VLSI Research,” Na-
                              tional Semiconductor Corporation, Santa Clara, CA.
 34. September 1989           “Mechanical Properties of Thin Film Materials,” 12th Brazilian Congress
                              on Electron Microscopy, Rio de Janeiro, Brazil.
 35. October 1989             “Mechanical Properties of Thin Film Materials,” Motorola Corporation,
                              Phoenix, AZ.
 36. February 1991            “Microstructural Studies of Y–Ba–Cu–O High Tc Thin Films,” 1991
                              Stanford Symposium on Applications of Contemporary Electron Mi-
                              croscopy, Stanford, CA.
 37. May 1991                 “Mechanical Testing Techniques for Thin Film Structures,” Microelec-
                              tronics Center of North Carolina, Research Triangle Park, NC.
 38. September 1991           “Processing and Structure of Y–Ba–Cu–O High Tc Thin Films,” Physi-
                              cal Sciences Colloquium, IBM Almaden Research Center, San Jose, CA.

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 39. November 1991      “Mechanical Properties of Thin Films,” Department Colloquium, Mate-
                        rials Science and Engineering, U. C. Berkeley.
 40. March 1992         “Mechanical Testing of Thin Film Media,” Department Colloquium,
                        Materials Science and Engineering, University of Southern California,
                        Los Angeles, CA.
 41. November 1992      “Mechanical Testing Techniques for Thin Film Structures,” Opening
                        Dedication Ceremony, Max Planck Institüt, Stuttgart, Germany.
 42. November 1992      “Micron–Scale Mechanical Testing of Films and Layered Media,” Open-
                        ing Dedication Ceremony, Max Planck Institüt für Metallforschung;
                        Stuttgart, Germany.
 43. September 1993     “Modern Techniques for Surface and Interface Analysis,” National De-
                        fense Academy, Japan.
 44. October 1993       “X-ray Methods for Determining Strains and Stresses in Thin Films and
                        Interconnection Lines,” AFOSR Workshop on Stress and Reliability in
                        Thin Film and Optical Materials, The Aerospace Corporation, Los An-
                        geles, CA.
 45. October 1995       “Development of High Voltage SEM for In-situ Electromigration Test-
                        ing,” University of California at Los Angeles.
 46. November 1996      “Development of High Voltage SEM for In-situ Electromigration Test-
                        ing,” University of Michigan at Ann Arbor.
 47. August, 1997       “How to be an Effective Engineering Educator,” Linkoping University,
                        Sweden
 48. August 1997        “How to be an Effective Engineering Educator,” Upsala University,
                        Sweden
 49. August 1997        High Voltage Scanning Electron Microscopy for In-situ Electromigra-
                        tion Testing,” Royal Institute of Technology, Sweden
 50. November 1997      High Voltage Scanning Electron Microscopy for In-situ Electromigra-
                        tion Testing,” Georgia Institute of Technology.
 51. February 1998      “The Future of Engineering Education at Major Research Universities:
                        Course Correction or New Paradigm?” Symposium on Engineering Ed-
                        ucation for the 21st Century, Nagoya, Japan.
 52. March 1998         “Quantitative Assessments of Electromigration Lifetime,” Lehigh Uni-
                        versity
 53. November 1998      “A New Method for Studying Electromigration in IC Interconnects,”
                        Lawrence Berkeley Laboratory, Advanced Light Source Colloquium Se-
                        ries.




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 Publications (approximately 4500 citations; h-index ~ 40)

 Archival Refereed Journals

 1.     “TEM Studies of the Polycrystalline Silicon – Silicon Dioxide Interface,” J.C. Bravman and R.
       Sinclair, Thin Solid Films, 104, 153–61 (1983).
 2.    “Observation of Rapid Field Aided Diffusion of Silver in Metal Oxide Semiconductor Struc-
       tures,” J.D. McBrayer, R.M. Swanson, T.W. Sigmon and J.C. Bravman, Applied Physics Letters,
       43, 653–54 (1983).
 3.    “The Preparation of Cross–section Specimens for Transmission Electron Microscopy,” J.C.
       Bravman and R. Sinclair, Journal of Electron Microscopy Technique, 1, 52–61 (1984).
 4.    “Structure and Morphology of Polycrystalline Silicon – Single Crystal Silicon Interfaces,” J.C.
       Bravman, G.L. Patton and J.D. Plummer, Journal of Applied Physics, 57, 2279–82 (1985).
 5.    “Physics, Technology and Modeling of Polysilicon Emitter Contacts for VLSI Bipolar Transis-
       tors,” G.L. Patton, J.C. Bravman and J.D. Plummer, IEEE Transactions on Electron Devices,
       ED–33, 1754–68 (1986).
 6.    “Damage Calculation and Measurement for GaAs Amorphized by Si–Implantation,” W.G.
       Opyd, J.F. Gibbons, J.C. Bravman and M.A. Parker, Applied Physics Letters, 49, 974–976
       (1986).
 7.    “Observations of Beta–tungsten deposited by Low Pressure Chemical Vapor Deposition,” D.
       C. Paine, J.C. Bravman and C. Y. Yang, Applied Physics Letters, 50, 498–500 (1987).
 8.    “The Mechanical Deflection of Cantilever Microbeams: A New Technique for Testing the Me-
       chanical Properties of Thin Films,” T. P. Weihs, S. Hong, J.C. Bravman and W.D. Nix, Journal
       of Materials Research, 3, 931–942 (1988)
 9.    “Molecular Beam Epitaxy of Layered Dy–Ba–Cu–O Compounds,” D. G. Schlom, J. N. Eck-
       stein, E. S. Hellman, S.K. Streiffer, J. S. Harris, M. R. Beasley, J.C. Bravman, T. H. Geballe, C.
       Webb, K. von Dessonneck and F. Turner, Applied Physics Letters, 53, 1660–1662. (1988).
 10.   “Microstructural Characterization of YBa2Cu3O7–d Thin Films on SrTiO3 Using Four Axis
       X–ray Diffraction,” J. Sizemore, R. Barton, A. Marshall and J.C. Bravman, IEEE Transactions
       on Magnetics, 25 (2), 2245-2249 (1989).
 11.   “Determination of High Field Enhanced Emission Rates with the Constant Capacitance–Volt-
       age Transient Technique,” M.B. Chang, H. Tomokage, J.J. Shiau, R. H. Bube, and J.C. Bravman,
       Journal of Applied Physics, 65, 2734–2738 (1989).
 12.   “Phase Characterization of Dysprosium Barium Copper Oxide Thin Films Grown on Strontium
       Titanate by Molecular Beam Epitaxy,” E. S. Hellman, D. G. Schlom, A. F. Marshall, S.K.
       Streiffer, J. S. Harris, M. R. Beasley, J.C. Bravman and T. H. Geballe, Journal of Materials Re-
       search, 4, 476–95 (1989).
 13.   “Elimination of Current Dissipation in High Transition Temperature Superconductors,” J.Z.
       Sun, B. Lairson, C.B. Eom, J.C. Bravman and T.H. Geballe, Science, 247, 307–309 (1990).
 14.   “Microwave Properties of Highly Oriented YBa2Cu3O7– Thin films,” A. Inam, X.D. Wu, L.
       Nazar, M.S. Hegde. C.T. Rogers, T. Venkatesan, R.W. Simon, K. Daly, H. Padamsee, J.
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       Kirchgessner, D. Moffat, D. Rubin, Q.S. Shu, D, Kalolitis, A. Fathy, V. Pendrick, R. Brown, B.
       Brycki, E. Belohoubek, L. Drabeck, G. Gruner, R. Hammond, F. Gamble, B.M. Lairson and
       J.C. Bravman, Applied Physics Letters, 56, 1178–80 (1990).
 15.   “Reduction of Magnetization Decay Rate in High Tc Superconductors,” B. Lairson, J.Z. Sun,
       J.C. Bravman and T.H. Geballe, Physical Review B, 42, 1008–1011 (1990).
 16.   “Measuring Stiffnesses and Residual Stresses of Silicon Nitride Thin Films,” S. Hong, T.P.
       Weihs, J.C. Bravman and W.D. Nix, Journal of Electronic Materials, 19, 903–909 (1990).
 17.   “Molecular Beam Epitaxial Growth of Layered Bi–Sr–Ca–Cu–O Compounds,” D. G. Schlom,
       A. F. Marshall, J.T. Sizemore, Z.J.Chen, J. N. Eckstein, I. Bozovic, K.E. von Dessonneck, J.S.
       Harris and J.C. Bravman, Journal of Crystal Growth, 102, 361–375 (1990).
 18.   “Mechanical Properties and Microstructural Characterization of Al–0.5% Cu Thin Films,” R.
       Venkatraman, J.C. Bravman, P.W. Davies, P.A. Flinn, D.B. Fraser and W.D. Nix, Journal of
       Electronic Materials, 19, 1231–7 (1990).
 19.   “The Microstructure of Fe and Ag Thin Films Grown by Molecular Beam Epitaxy on GaAs
       (001),” C.J. Chien, R.F.C. Farrow and J.C. Bravman, Journal of Applied Physics, 68, 4343–5
       (1990).
 20.   “Vortex Pinning by Twin Boundaries in YBa2Cu3O7–d Thin Films,” B.M. Lairson,
       S.K. Streiffer and J.C. Bravman, Physical Review B, 42, 10067–74 (1990).
 21.   “Magnetic ordering in strain-controlled epitaxial rare-earth films,” R. F. C. Farrow, S. S. P. Par-
       kin, W. Bennett, A. Segmuller, J. Chien, and J. C. Bravman, Journal of Applied Physics, 67, 5733
       (1990).
 22.   “Growth of YBa2Cu3O7–d Thin Films on Vicinal MgO Surfaces,” S.K. Streiffer, B.M. Lairson
       and J.C. Bravman, Applied Physics Letters, 57, 2501–3 (1990).
 23.   “Synthesis and Properties of YBa2Cu3O7–d Thin Films Grown In–Situ by 90˚ Off–Axis Single
       Magnetron Sputtering,” C.B. Eom, J.Z. Sun, S.K. Streiffer, A.F. Marshall, B.M. Lairson, K.
       Yamamoto, S.M. Anlage, J.C. Bravman, T. H. Geballe, S.S. Laderman and R. C. Taber, Physica
       C, 171, 354–82 (1990).
 24.   “Role of Atomic Oxygen produced by ECR Plasma in the Oxidation of YBa2Cu3O7–d Thin
       Films studied by In–situ Resistivity Measurements,” K. Yamamoto, B.M. Lairson, C.B. Eom, R.
       H. Hammond, J.C. Bravman and T.H. Geballe, Applied Physics Letters, 57, 1936–8 (1990).
 25.   “Thermal Activation of Vortex Motion in YBa2Cu3O7–d Films at Low Temperatures,” B.M.
       Lairson, J.Z. Sun, T.H. Geballe, M. R. Beasley and J.C. Bravman, Physical Review B, 43, 10405–
       12 (1991).
 26.   “Magnetic Relaxation, J–E Characteristics and Possible Dissipation Mechanisms for High Tc
       Superconducting Films of YBa2Cu3O7–d,” J.Z. Sun, C.B. Eom, B.M. Lairson, J.C. Bravman
       and T. H. Geballe, Physical Review B, 43, 3002–8 (1991).
 27.   “Oxidation Kinetics of YBa2Cu3O7–d Thin Films in the Presence of Atomic Oxygen and Mo-
       lecular Oxygen by In–situ Resistivity Measurements,” K. Yamamoto, B.M. Lairson, J.C.
       Bravman and T.H. Geballe, Journal of Applied Physics, 69, 7189–7201 (1991).
 28.   “Microstructure of Ultrathin Films of YBa2Cu3O7–d on MgO,” S.K. Streiffer, B.M. Lairson,
       C.B. Eom, J.C. Bravman and T. H. Geballe, Physical Review B, 43, 13007–13018 (1991).

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 29.   “Thickness Dependence of the Twin Density in YBa2Cu3O7–d Thin Films Sputtered onto
       MgO Substrates,” S.K. Streiffer, E.M. Zielinski, B.M. Lairson, and J.C. Bravman, Applied Phys-
       ics Letters, 58, 2171–3 (1991).
 30.   “The Effect of Laser Reflowing on the Variation of Stress with Thermal Cycling in Aluminum
       Thin Films,” R. Venkatraman, S. Chen and J.C. Bravman, Journal of Vacuum Science and Tech-
       nology A, 9, 2536–42 (1991).
 31.   “Separation of Film Thickness and Grain Boundary Strengthening Effects in Al Thin Films on
       Si,” R. Venkatraman and J.C. Bravman, Journal of Materials Research, 7, 2040–2048 (1992).
 32.   “Limits on the use of tunneling to describe the Pd--Ge ohmic contact to GaAs,” A. Herrera-
       Gómez, P. L. Meissner, J. C. Bravman and W. E. Spicer, Journal of Vacuum Science and Tech-
       nology A, 10, 1029 (1992).
 33.   “Nucleation and Growth Mechanisms of a,b–Axis Oriented YBa2Cu3O7–d Films on LaAlO3,”
       S.K. Streiffer, B.M. Lairson, E.M. Zielinski, and J.C. Bravman, Physical Review B, 47, 11431-38
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 34.   “Finite–Element Modeling and X–ray Determination of Stress in Passivated Al Lines During
       Thermal Cycling,” P.R. Besser, A. Sauter–Mack, D. Fraser, and J.C. Bravman, Journal of the
       Electrochemical Society, 140, 1769–73 (1993).
 35.   “An X-ray Method for Direct Determination of the Stress State and Strain Relaxation in Micro–
       scale Passivated Metallization Lines During Thermal Cycling,” P.R. Besser, S. Brennan, and J.C.
       Bravman, Journal of Materials Research, 9, 13–24 (1994).
 36.   “Elastic Strain Gradients and X-ray Line Broadening Effects as a Function of Temperature in
       Aluminum Thin Films on Silicon,” R. Venkatraman, P.R. Besser, S. Brennan and J.C. Bravman,
       Journal of Materials Research, 9, 328-35 (1994).
 37.   “Understanding and Electrochemical Control of YBa2Cu3O7–x Thin Film Epitaxy on Yttrium
       Stabilized Zirconia,” J.L. MacManus–Driscoll, T.H. Geballe, and J.C. Bravman, Journal of Ap-
       plied Physics, 75, 412-422 (1994).
 38.   “Effect of Ion Energy on the Diffusion of Si Implanted into GaAs,” C.C. Lee, M.D. Deal, K.S.
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       2249 (1994).
 39.   “Eliminating Dopant Diffusion after Ion Implantation by Surface Etching,” C.C. Lee, M. E.
       Deal and J.C. Bravman, Applied Physics Letters, 64, 3302-3304 (1994).
 40.   “Observation of Voids Induced by Mechanical Stress and Electromigration in Passivated Al
       Lines Deposited at Different Purity Levels,” T. Marieb, J.C. Bravman, P. Flinn, D. S. Gardner,
       and M. Madden, Applied Physics Letters, 64, 2424-6 (1994).
 41.   “The Effects of Silver and Lead on the Phase Stability of the Bi–2212 and Bi–2223 Phases
       Above and Below the Solidus Temperature,” J.L. MacManus–Driscoll, J.C. Bravman, R. J. Sa-
       voy, G. Gorman and R.B. Beyers, Journal of the American Ceramic Society, 77, 2305-13 (1994).
 42.   “Effects of Barrier Layer and Annealing on Abnormal Grain Growth in Copper Thin Films,”
       E.M. Zielinski, R.P. Vinci, and J.C. Bravman, Journal of Applied Physics, 76, 4516-23 (1994).




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 43.   “Studies of Structural Disorder in ReBa2Cu3O7–x Thin Films as a Function of Rare Earth Ionic
       Radius and Film Deposition Conditions,” J.L. MacManus–Driscoll, J.A. Alonso, P. Wang, T.H.
       Geballe and J.C. Bravman, Physica C, 232, 288-308 (1994).
 44.   “Phase Equilibria and Melt Processing of Bi2Sr2Ca1Cu2O8+x Tapes at Reduced Oxygen Partial
       Pressures, J.L. MacManus–Driscoll, P. Wang, J.C. Bravman and R.B. Beyers, Applied Physics
       Letters, 65, 2872–4 (1994).
 45.   “The Influence of Strain Energy on Abnormal Grain Growth in Copper Thin Films,” E.M.
       Zielinski, R.P. Vinci, and J.C. Bravman, Applied Physics Letters, 67, 1078 - 1080 (1995).
 46.   “Transport Characterization of Calcium-Doped YBCO Thin Films,” J.T. Kucera and J.C.
       Bravman, Physical Review B, 51, 8582-90 (1995).
 47.   “Thermal Strain and Stress in Copper Thin Films,” R.P. Vinci, E.M. Zielinski, J.C. Bravman,
       Thin Solid Films, 262, 142-153 (1995).(Invited Review)
 48.   “Effects of Barrier Layer and Processing Conditions on Thin Film Cu Microstructure.” E.M.
       Zielinski, R.P. Vinci, J.C. Bravman, Journal of Electronic Materials, 24, 1485-1492 (1995).
 49.   “Observations of Electromigration Induced Void Nucleation and Growth in Polycrystalline and
       Near-bamboo Passivated Al Lines,” T. Marieb, P. Flinn, J.C. Bravman, D. Gardner, M. Madden,
       Journal of Applied Physics, 78, 1026–32 (1995).
 50.   “Diffusion of Implanted Be in AlxGa1-xAs as a Function of Al Concentration and Anneal Tem-
       perature,” C.C. Lee, M. Deal and J.C. Bravman, Applied Physics Letters, 66, 355-7 (1995).
 51.   “Phase Equilibria in the Y-Ba-Cu-O System and Melt Processing of Ag Clad Y1Ba2Cu3O7-x
       Tapes at Reduced Oxygen Partial Pressures,” J.L MacManus–Driscoll, J.C. Bravman and R.B.
       Beyers, Physica C, 241, 401-13 (1995).
 52.   “Pseudo-Quaternary Phase Relations Near Bi2Sr2Ca1Cu2O8+x in Reduced Oxygen Pres-
       sures,” J.L MacManus–Driscoll, J.C. Bravman and R.B. Beyers, Physica C, 251, 71-88 (1995).
 53.   “Modeling Diffusion in Gallium Arsenide: Recent Work,” Y.M. Haddara, C.C. Lee, J.C. Hu,
       M.D. Deal & J.C. Bravman, MRS Bulletin, 20, #4, 41-50 (1995).
 54.   “Measurement and Interpretation of Strain Relaxation in Passivated Al–0.5%Cu Lines,” P.R.
       Besser, T.N. Marieb, P.A. Flinn, and J.C. Bravman, Journal of Materials Research, 11, 184–193
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 55.   “The Effect of Encapsulant Material on the Diffusion of Beryllium in Molecular Beam Epitax-
       ially Grown Gallium Arsenide,” Y.M. Haddara, M.D. Deal and J.C. Bravman, Applied Physics
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 56.   “An Analysis Technique for Extraction of Thin Film Stresses from X-ray Data,” G. Cornella,
       S.H. Lee, W.D. Nix, and J.C. Bravman, Applied Physics Letters, 71, 2949-52 (1997).
 57.   “Transient Diffusion of Beryllium and Silicon in Gallium Arsenide,” Y. Haddara and J.C.
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                        Exhibit A2
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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

                                          )
  QORVO, INC.                             )
                                          )
                         Plaintiff,       ) C.A. No. 21-1417-JPM
                                          )
                   v.                     )
                                          )
  AKOUSTIS TECHNOLOGIES, INC. and         )
  AKOUSTIS, INC.                          )
                                          )
                          Defendants.     )
                                          )
                                          )

                REBUTTAL CLAIM CONSTRUCTION DECLARATION
                        OF JOHN C. BRAVMAN, PH.D.
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 I.     INTRODUCTION

        1.      My name is John C. Bravman, Ph.D. I am the President of, and a Professor of

 Electrical Engineering at, Bucknell University, as described in my July 11, 2022 Initial Claim

 Construction Declaration (“Initial Declaration”). I am an expert in the area of, among other

 things, integrated circuit processing and structures, thin film materials processing and analysis,

 microelectronics packaging, and microstructural and mechanical properties of materials and

 structures.

        2.      I have prepared this Declaration as an expert witness retained by Qorvo, Inc.

 (“Qorvo”). As mentioned above, I previously prepared the Initial Declaration, the opinions from

 which I incorporate herein. In this Declaration, I give additional opinions in response to the

 opinions and arguments presented by the July 11, 2022 Initial Claim Construction Expert Report

 and Declaration by Dr. Clark Nguyen (“Nguyen Declaration”). I provide technical bases for

 these opinions below.

        3.      This Declaration contains statements of my opinions formed to date and the bases

 and reasons for those opinions. I may offer additional opinions based on further review of

 materials in this matter and/or further positions advanced by Defendants Akoustis Technologies,

 Inc. and Akoustis, Inc. (collectively, “Akoustis”), Dr. Nguyen, or any other expert witness

 retained by Akoustis. I make this Declaration based upon my own personal knowledge and

 information that I have reviewed as referenced herein or in my Initial Declaration, and, if called

 upon to testify, would testify competently to the matters contained herein.

 II.    PERSON OF ORDINARY SKILL IN THE ART (“POSITA”)

        4.      In my Initial Declaration, I came to the conclusion that a POSITA of the ’755

 Patent and the ’786 Patent would have had at least a bachelor’s degree, or the equivalent degree,
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 in electrical engineering, materials science, physics, or a related field, and three to five years of

 experience in the research, design, or development of thin film devices, or equivalent experience.

 Initial Declaration at 4. A person with more education and less experience may also meet this

 standard.

        5.      In the Nguyen Declaration, Dr. Nguyen states that a POSITA for the ’755 Patent

 and ’786 Patent “would have had an undergraduate degree in electrical engineering with two to

 four years of experience in the technical field, or a master's degree in electrical engineering with

 one to two years of experience in the field; or an equivalent combination of education and

 experience.” Nguyen Declaration at 9.

        6.      The substantive difference between Dr. Nguyen’s definition and mine relates to a

 POSITA’s possible undergraduate degrees. It is my opinion that any of the undergraduate

 programs identified in my definition of a POSITA would have provided the requisite technical

 background for a POSITA. In fact, it is my opinion that—when it comes to thin film device

 design—engineers/scientists with materials science, mechanical engineering (a “related field”),

 and/or physics backgrounds are generally better equipped to understand the implications of

 structural and material design choices in thin film devices than those with solely electrical

 engineering backgrounds. The fundamental tenet of materials science, for instance, links

 material properties and performance—in isolation and within a system—to how each material

 has been processed and to how each material is structured at the atomic level and above. These

 are the core concepts that need understanding to understand the ’755 Patent. Thus, I maintain

 my opinion as to the definition of a POSITA is correct.




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 III.      THE ’755 PATENT

           A.     “Active Region” / “Outer Region”

  Qorvo’s Proposed Construction                       Akoustis’ Proposed Construction
  Plain and Ordinary Meaning. If a                    Active region: That region of the device
  construction is necessary, “active region” is       where motional current density is generated
  the region of the BAW resonator that is             through the piezoelectric layer.
  electrically driven to provide the resonator
  functionality.
  Plain and Ordinary Meaning. “Outer region”          Outer region: defined as that region outside
  is the region of the BAW resonator that is not      the active region.
  electrically driven.

           7.     It is my understanding that, in construing claim terms, one should primarily rely

 on intrinsic patent evidence, which includes the words of the claims themselves, the patent

 specification, and the prosecution history.

           8.     In my Initial Declaration, I reviewed the intrinsic record related to the ’755 Patent

 and came to the conclusion that Qorvo’s proposed constructions for “active region” and “outer

 region” are correct.

           9.     In particular, I highlighted the following portion of the specification of the ’755

 Patent:

           In operation, acoustic waves in the piezoelectric layer 12 within an active region
           34 of the BAW resonator 10 are excited by an electrical signal applied to the
           bottom and top electrodes 14 and 16. The active region 34 is the region of the
           BAW resonator 10 that is electrically driven. In other words, the active region 34
           is the region of the BAW resonator 10 consisting of, in this example, the bottom
           electrode 14, the top electrode 16, the portion of the piezoelectric layer 12
           between the bottom and top electrodes 14 and 16, and the portion of the reflector
           18 below the bottom electrode 14. Conversely, an outer region 36 of the BAW
           resonator 10 is a region of the BAW resonator 10 that is not electrically driven
           (i.e., the area outside of the active region 34). The frequency at which resonance
           of the acoustic waves occurs is a function of the thickness of the piezoelectric
           layer 12 and the mass of the bottom and top electrodes 14 and 16. At high
           frequencies (e.g., greater than 1.5 GHz), the thickness of the piezoelectric layer 12
           is only micrometers thick and, as such, the BAW resonator 10 is fabricated using
           thin-film techniques.
                                                 PAGE 3
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 ’755 Patent, 1:51-2:3.

        10.     In addition to the portions of the specification I identified in my Initial

 Declaration, the ’755 Patent’s Figures also repeatedly label the “active region” and “outer

 region” of exemplary embodiments (see reference numerals 62 and 90 for “active region” and

 numerals 64 and 92 for “outer region”), as shown in FIGS. 2A and 2B, below.




        11.     Based on the intrinsic record, including those portions identified in my Initial

 Declaration and above, a POSITA would have understood “active region” and “outer region” to

 be used in the ’755 Patent to provide appropriate context for the location of particular layers

 (e.g., passivation and material layers) and analysis of certain characteristics (e.g., density of

 mechanical energy and wavelength excitation).

        12.     Based on the descriptions of “active region” and “outer region” in the patent

 specification as reproduced above, along with their usage in the claims and throughout the

 remainder of the intrinsic record, such as in the above Figures, it remains my opinion that a

 POSITA would have understood these terms to be used in the patent as proposed by Qorvo.
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         13.     My analysis above and in my Initial Declaration is primarily based on the

 intrinsic record.

         14.     In contrast, the Nguyen Declaration does not cite a single portion of the intrinsic

 record to support Akoustis’ construction of “active region” and “outer region.” Instead, it relies

 only on extrinsic evidence, including unsupported opinions as to what a “skilled artisan”

 (apparently untethered to the timeframe of the invention) would be “interested in” (Nguyen

 Declaration at 11-12) and various extrinsic evidence (Nguyen Declaration at 12-15).

         15.     It is my understanding that extrinsic evidence is considered less reliable than

 intrinsic evidence, and for that reason is generally given less weight than intrinsic evidence.

         16.     More importantly, the intrinsic record does not mention “motional current” at all.

 Thus, a POSITA would not have understood “active region” and “outer region” in the ’755

 Patent to be defined based on “motional current.” Nor would a POSITA have considered it

 necessary to define “active region” and “outer region” based on “motional current” to understand

 other features of the ’755 Patent, for example, the location of particular layers (e.g., passivation

 and material layers) and analysis of certain characteristics (e.g., density of mechanical energy

 and wavelength excitation).

         17.     Turning to the extrinsic evidence, “active region” and “outer region” are used in

 the ’755 Patent in the same manner they are commonly used in the art. See, e.g., Hashimoto at

 42-43, 71-74, 80-87, 102, 145, 205, 208, 211, 214; see also, e.g., U.S. Patent Nos. 7,795,781, at

 3:22-38; 8,999,187, at 2:14-16, 4:23-30, 5:56-60; 9,197,185, at 7:40-43; 9,689,765, at 23:4-18;

 10,778,186, at FIGS. 2a, 5b. Each describes an active region/area as being defined by particular

 electrode and piezoelectric layer arrangements that allow the region to be electrically driven. Id.

 This fully supports Qorvo’s construction.


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        18.     Additionally, I performed a Google Patents search for documents mentioning

 “BAW Filter”/ “BAW Resonator,” “active region”/“active area”/“active portion,” and “motional

 current” to confirm my understanding.1 I did not find a document that describes an “active

 region” in the context of “motional current density” as asserted by Akoustis and Dr. Nguyen.

 This further shows that Akoustis’ construction was not commonly used in the art.

        19.     I have also reviewed the extrinsic evidence identified by Dr. Nguyen on pages 13-

 15 of the Nguyen Declaration. This extrinsic evidence is not drawn from treatises, textbooks, or

 other more general sources. Rather, each is a research paper directed to narrow topics such as

 particular resonator constructions and circuit analyses. While the references discuss the

 (uncontroversial) concept of motional current being present in an active region, including as part

 of a resonator’s equivalent circuit, the descriptions of active regions and motional current in

 these papers is focused on the narrow scope of the underlying research topics. None of the

 references provide particular evidence (other than the opinions of the authors) that “active

 region” and “outer region” are inextricably defined in the art in terms of motional current—

 particularly in comparison to my search described above. None of the papers even mention the

 concept of “motional current density,” which is the basis of Akoustis’ construction.

        20.     Moreover, while a POSITA would have recognized that motional current does

 have some relationship with active regions of devices, a POSITA seeking to understand the ’755

 Patent would not have considered it necessary to define “active region” and “outer region” by

 using the concept of motional current, as narrowly defining the regions in this context is not




 1
  https://patents.google.com/?q=%22BAW+filter%22,%22BAW+resonator%22&q=%22active+r
 egion%22,%22active+area%22,%22active+portion%22&q=%22motional+current%22&before=
 priority:20150820&num=100 (last visited July 28, 2022).
                                           PAGE 6
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 necessary to understand the invention. In other words, while in some applications or designs a

 “skilled artisan” may be “interested in” motional current in a resonator, a POSITA would have

 understood that such a level of granularity is unnecessary in the context of the ’755 Patent.

 Moreover, even if a POSITA would have been motivated to review extrinsic sources, the

 POSITA would not have imported the concept of “motional current” into the definition, at least

 because it is not needed to understand the scope of the subject matter of the ’755 Patent, and is

 therefore unnecessary to add.

        21.     In view of the above, a POSITA would not have considered it necessary to look to

 extrinsic evidence to understand “active region” and “outer region” in the context of the ’755

 Patent as these terms are easily understood based on the intrinsic record. Thus, the extrinsic

 evidence does not dictate a construction different from that indicated by the intrinsic record.

        22.     Finally, turning to Dr. Nguyen’s comments on pages 11-12 of the Nguyen

 Declaration, Dr. Nguyen first asserts that a:

        … skilled artisan designing a resonator is interested in what the effect of that
        resonator will be on an input signal, which is determined by the resonator’s
        equivalent circuit, generally based on an LCR and associated elements to model
        things like multiple ports (where transformers are often used) or parasitic paths
        and losses (where extra branches with resistors and capacitors might be used).
        Thus, the key concern is that part of the device that generates motional current
        density through the piezoelectric layer.

 Nguyen Declaration at 11.

        23.     Whether or not a designer would have been “interested” in motional current

 density for certain performance aspects of a resonator is not the relevant question for the present

 claim construction analysis. Rather, the relevant question is what would “active region” and

 “outer region” mean to a POSITA in the context of the ’755 Patent. Dr. Nguyen’s comments

 above are therefore not on point.


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        24.        Dr. Nguyen next asserts:

        I disagree with Qorvo’s suggested plain and ordinary meaning of “active region”
        as the region of the BAW resonator that is electrically driven to provide the
        resonator functionality or active region. First, the phrase “to provide the resonator
        functionality” is vague, as functionality could mean many things, such as
        generating motional current or presenting a specific impedance or realizing a
        specific equivalent circuit, or all of these combined.

 Nguyen Declaration at 11-12.

        25.        I disagree that the following highlighted portion of Qorvo’s definition of “active

 region” (i.e., “the region of the BAW resonator that is electrically driven to provide the

 resonator functionality”) is vague. A POSITA reviewing the intrinsic record would have

 understood that the function of the resonator is to provide a desired filtering function. ’755

 Patent, 1:20-34. The ’755 Patent indicates that this is done by exciting acoustic waves in a

 piezoelectric layer in an active region by applying an electrical signal to top and bottom

 electrodes, which is electrically driving the active region. Id., 1:51-61. The filtering function is

 the sole focus of the BAW resonator in the ’755 Patent. As such, a POSITA would not have

 understood the minor component functions identified by Dr. Nguyen as “the resonator

 functionality.”

        26.        Dr. Nguyen next asserts:

        Second, while the ‘755 specification uses the same language electrically driven
        language to describe the active region (1:55), the term “electrically driven” is not
        a well-defined term in the art as it could mean many things and could lead to an
        erroneous understanding of the scope of the claim limitation. “Electrically driven”
        does not describe to what degree any particular voltage is applied, nor to any
        specific effect of such voltage. For example, electrically driven could mean the
        piezoelectric is driven to vibration; or that a non-motional current is driven to
        flow through the capacitance between two conductive plates; or that a suspended
        piezoelectric layer (as in an FBAR) is driven into a flexural mode (which is not
        the mode of interest). The main problem with a definition that just focuses on the
        drive input is that it is not enough to identify the active device. One can drive
        anything, including things that are not the device, so specifying the drive only
        does not specify the active device. Rather, one must specify the result of driving

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         (i.e., the output, in this case the motional current, which together with the input
         voltage in turn specifies the equivalent circuit) to isolate the actual device.

 Nguyen Declaration at 12.

         27.      I disagree that “electrically driven” is unclear or not known in the art. See, e.g.,

 Hashimoto at 4, 6, 14, 38, 39, 56, 187, 201; see also, e.g., Akoustis’ Exs. B03 at [0005]; B05 at

 2; B08 at 461; B09 at 1414; B10 at 851; B15 at 3; B16 at 218; B17 at 1415. As shown in these

 references, electrically driving a circuit is a basic concept that would have been well-known to

 and understood by a POSITA.

         28.      I also disagree that “‘[e]lectrically driven’ does not describe to what degree any

 particular voltage is applied, nor to any specific effect of such voltage.” First of all, this position

 ignores the actual language of Qorvo’s proposed construction (“the region of the BAW resonator

 that is electrically driven to provide the resonator functionality”). In other words, a POSITA

 would have understood, in the context of the ’755 Patent, that the electrically driven region is

 what provides the resonator functionality (e.g., as discussed above, the desired filtering

 function). Further, a POSITA would not have understood the electrically driven language to be

 referring merely to the component effects identified by Dr. Nguyen. Rather, a POSITA would

 have understood the “electrically driven” to be related to the ultimate purpose of the resonator—

 its filter functionality.

         29.      For at least the foregoing reasons, I agree that Qorvo’s proposed constructions for

 “active region” and “outer region” are correct.




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        B.    “A Density Of Mechanical Energy In The Outer Region Of The BAW
        Resonator Is Reduced As Compared To A Density Of Mechanical Energy In The
        Outer Region Of The BAW Resonator When N Is Equal To 1”

  Qorvo’s Proposed Construction                     Akoustis’ Proposed Construction
  Plain and Ordinary Meaning. If a                  The density of mechanical energy means a
  construction for “density of mechanical           total density over the full volume of the outer
  energy” is needed, it means the amount of         region, or otherwise indefinite.
  mechanical energy from acoustic waves
  leaked from the active region.

        30.     As discussed above, it is my understanding that, in construing claim terms, one

 should primarily rely on the intrinsic record.

        31.     In my Initial Declaration, I reviewed the intrinsic record related to the ’755 Patent

 and came to the conclusion that Qorvo’s proposed construction for “density of mechanical

 energy” is correct.

        32.     In particular, I highlighted the various explanations in the ’755 Patent’s

 specification of what is being reduced (e.g., what is the “density of mechanical energy”) when N

 is not equal to 1. What is clear from the specification (and claims) when read as a whole is that

 the invention is directed to reducing the amount of mechanical energy—created by the claimed

 structure—“leaked” from the active region.

        33.     For example, as described in the ’755 Patent at 6:26-63 (with relevant language

 bolded and italicized):

        As illustrated in FIG. 3A, during operation, the reference BAW resonator 38 of
        FIG. 2A exhibits a significant amount of lateral leakage of mechanical energy
        from the active region 62 into the outer region 64. This lateral leakage, or lack of
        lateral confinement, degrades the quality factor (Q) of the reference BAW
        resonator 38.
        FIG. 2B illustrates a BAW resonator 66 with improved lateral confinement (i.e.,
        reduced lateral leakage) of mechanical energy according to some embodiments of
        the present disclosure. In this example, the BAW resonator 66 includes a
        piezoelectric layer 68 (which is sometimes referred to as a piezoelectric plate),
        bottom and top electrodes 70 and 72, a reflector 74 including layers 76, 78, 80,
                                              PAGE 10
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         82, and 84, and a BO ring 86, which are exactly the same as the corresponding
         components of the reference BAW resonator 38 and, as such, their details are not
         repeated.
         Lastly, the BAW resonator 66 includes a passivation layer 88 on the surface of the
         BAW resonator 66 over both an active region 90 and an outer region 92 of the
         BAW resonator 66. Within the active region 90, the passivation layer 88 is
         exactly the same as the passivation layer 60 of the reference BAW resonator 38.
         Within the active region 90, the passivation layer 88 has a thickness (TPA), which
         is equal to that of the passivation layer 60 of the reference BAW resonator 38.
         However, in the outer region 92, the passivation layer 60 has a thickness of
         n×TPA, where n≠1 (i.e., the thicknesses of the passivation layers 60 and 88 in the
         outer regions 64 and 92 of the reference BAW resonator 38 and the BAW
         resonator 66, respectively, are not the same). The value of n is in a range that
         reduces the lateral leakage of mechanical energy from the active region 90 of the
         BAW resonator 66 into the outer region 92 as compared to that of the reference
         BAW resonator 38 of FIG. 2A. This reduction of lateral leakage is illustrated in
         FIG. 3B, where FIGS. 3A and 3B are graphical illustrations of the results of a
         simulation of the density of mechanical energy throughout the structures of the
         reference BAW resonator 38 and the BAW resonator 66, respectively.

         34.    FIGS. 3A and 3B identified above are also described by the ’755 Patent as

  “illustrat[ing] the reduced lateral leakage of the BAW resonator of FIG. 2B as compared to the

  reference BAW resonator of FIG. 2A, for one example implementation” (’755 Patent, 4:1-4).

  FIGS. 3A and 3B are reproduced below:




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         35.     As such, a POSITA reading the intrinsic record as a whole would have understood

  “density” in the ’755 Patent to describe the relative amounts of mechanical energy at issue. In

  particular, a POSITA reading the ’755 Patent would have understood reduced “density” of

  mechanical energy to be used in a broad sense that refers to the overall and/or localized

  mechanical energy reduction in the outer region. An example of such an understanding is shown

  in the intrinsic record—the comparison images of FIGS. 3A and 3B, which illustrates both

  overall and localized reduction in mechanical energy density in an outer region by using the

  inventive relationship.

         36.     Thus, the meaning of “density of mechanical energy” that is in harmony with the

  intrinsic record is an “amount of mechanical energy from acoustic waves leaked from the active

  region,” as Qorvo proposes. To the extent a POSITA would have found it necessary to append a

  particular “density” explanation to the definition for added context (which is not necessary), a

  POSITA would have added “measured over a volume of the outer region,” such that the

  definition would read “amount of mechanical energy from acoustic waves leaked from the active

  region, measured over a volume of the outer region.”

         37.     In other words, the intrinsic record does not support limiting “density of

  mechanical energy” to only the particular density calculation proposed by Akoustis involving

  determining an undefined “full volume of the outer region” and then an undefined “total density”

  over that volume. These parameters are not found in the intrinsic record. When combined, the

  phrase is itself very confusing and highly redundant. For example, it is unclear what Akoustis or

  Dr. Nguyen means by “total” in the phrase “total density,” particularly where Akoustis’

  construction includes the phrase “full volume of the outer region.” As described above, what is




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  important to the claimed invention is simply that there be a reduced lateral leakage of mechanical

  energy, which is what is explicitly shown in, for example, FIG. 3B as compared to FIG. 3A.

          38.     Moreover, Akoustis’ proposed construction does not actually define “density.”

  Rather, it adds language (i.e., “a total density over the full volume of the outer region”) to the

  element in question without actually explaining what is meant by “density,” “total density,” and

  “full volume” in the context of the ’755 Patent. I have been informed that defining a term using

  the term itself is a disfavored manner of construing claim terms.

          39.     In sum, based on the descriptions of “mechanical energy” and “density of

  mechanical energy” in the portion of the specification reproduced above, along with its usage in

  the claims and throughout the remainder of the intrinsic record, such as in the above Figures, it is

  my opinion that a POSITA would have understood “density of mechanical energy” as proposed

  by Qorvo.

          40.     My analysis above and in my Initial Declaration is primarily based on the

  intrinsic record.

          41.     In contrast, the Nguyen Declaration does not cite a single portion of the intrinsic

  record to support Akoustis’ construction of “density of mechanical energy.” Instead, it relies

  only on extrinsic evidence, including unsupported opinions as to what a person of skill would be

  “concerned about” in resonator design (Nguyen Declaration at 16) and various extrinsic evidence

  (Nguyen Declaration at 17-18).

          42.     It is my understanding that extrinsic evidence is considered less reliable than

  intrinsic evidence, and for that reason is generally given less weight than intrinsic evidence.

          43.     As with the previous terms, Dr. Nguyen’s extrinsic evidence is not drawn from

  treatises, textbooks, or other more general sources. Again, Dr. Nguyen relies on research papers


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  directed to narrow topics. Dr. Nguyen cites these references not to identify definitions for

  “density of mechanical energy,” but to support his argument (discussed below) that it is energy

  loss that matters in resonator design. While energy loss is important, the documents do not

  address the relevant question here—what is the meaning of the phrase “a density of mechanical

  energy in the outer region of the BAW resonator is reduced as compared to a density of

  mechanical energy in the outer region of the BAW resonator when n is equal to 1” in the context

  of the ’755 Patent.

         44.     Turning to Dr. Nguyen’s comments on pages 16-17 of the Nguyen Declaration,

  Dr. Nguyen first asserts:

         What a person skilled in the art is mainly concerned about is how much total
         energy is lost to the surroundings of the device. For a miniature device like a
         BAW or micromechanical resonator, the surrounding is generally the substrate on
         which the device is fabricated. Energy lost to the substrate—which can be waves
         going into the substrate that experience dissipation in the substrate (or its mounts,
         adhesives, etc.)—that does not return to the resonator is energy lost, so lowers the
         quality factor Q, a very important filter or oscillator design parameter. What
         matters is the total energy lost to all of the surroundings, i.e., strain energy
         dissipation in a large area around the resonator, not just some small region(s).

  Nguyen Declaration at 16.

         45.     What a designer would have been “mainly concerned” about as to certain

  performance aspects of a resonator is not the relevant question for the present claim construction

  analysis. Rather, the relevant question is what would “density of mechanical energy” mean as

  used in the disputed claim term to a POSITA in the context of the ’755 Patent. Dr. Nguyen’s

  comments above are therefore not on point.

         46.     Dr. Nguyen next asserts:

         The Akoustis construction is necessary because the patent claim language
         "density of mechanical energy in the outer region" opens too wide a possibility of
         regions where density can be determined. For example, in a typical scenario, there
         could be a small region outside the device active region where the energy density

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         is higher than when n=1 and at the same time another small region where the
         energy density is lower than when n=1. The fact that there is a region where the
         energy density is lower does not necessarily mean the total energy lost is lower. In
         other words, it is possible that even where total energy in the outer region has
         increased, there can be a particular point where there is a reduction in energy
         density.

  Nguyen Declaration at 16-17.

         47.     I disagree with Dr. Nguyen’s above analysis. First, it appears Dr. Nguyen’s

  primary complaint about the claim language is its breadth. But I have been informed that a claim

  does not need construction simply because it is broad. Second, a POSITA would not have

  understood the claimed invention to cover de minimus differences in “densities of mechanical

  energy” (e.g., Dr. Nguyen’s “small regions” or “point”) resulting from the claimed construction.

  Third, for at least the reasons discussed above, the intrinsic record supports an understanding of

  the claimed invention as including both localized and overall reduction in mechanical energy

  density in an outer region by using the inventive relationship (e.g., compare FIGS. 3A with 3B).

         48.     Dr. Nguyen next asserts:

         Only the total energy over the full volume can provide useful information
         regarding the effectiveness of any structure intended to reduce energy losses from
         the active device. A more accurate measure of the total energy lost that removes
         some of the ambiguity of location and region and still captures the use of energy
         density in the claim is to get the energy density (or average energy density) over
         the entire outer region, which is the Akoustis construction. Because limiting the
         region to the outer region of the device still does not quite capture all the energy
         lost, a yet more accurate and useful measure would be the energy density in the
         entire region outside the active region (not just the outer region of the device).

  Nguyen Declaration at 17.

         49.     I disagree with Dr. Nguyen’s above analysis. Dr. Nguyen appears to be focused

  on limiting the definition to metrics that define the “effectiveness of the any structure intended to

  reduce energy losses from the active device.” But Dr. Nguyen does not explain how this concept

  is relevant to understanding “density of mechanical energy” in the context of the ’755 Patent. As

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  described above, the purpose of “density of mechanical energy” in the claims is not necessarily

  to measure specific values of “energy losses,” but is used as a comparative (e.g., the “density of

  mechanical energy” in the outer region when using the claimed inventive structure versus when

  the inventive structure is not used) to describe the inventive structure. As such, a POSITA

  reading the ’755 Patent would have understood “density of mechanical energy” as comparing the

  amount of mechanical energy in the two configurations—not limited to measuring specific

  values of “energy losses.”

         50.     Dr. Nguyen also asserts:

         Qorvo's proposed construction as "the amount of mechanical energy from
         acoustic waves leaked from the active region" uses the term "leaked", which does
         not necessarily mean the same as "lost". A "leaked" amount of energy can be
         reflected and returned to the active region, in which case it is not "lost". What is
         important here is what energy is lost. Because it does not use the words "total
         amount", it also leaves open the flawed notion that the amount of energy can be
         measured at any finite point in space or in time, and not as it relates to the total
         energy over the full volume of the outer region. In this regard, an amount leaked
         could refer to an amount of energy at a particular point in space, or at a particular
         point in time.

  Nguyen Declaration at 16-17.

         51.     I disagree with Dr. Nguyen’s above analysis. Dr. Nguyen is again focused on

  measurements of “lost” energy, stating “what is important here is what energy is lost.” As stated

  above, energy loss is important, but again, this is not the focus of the claimed invention. The

  ’755 Patent clearly and repeatedly indicates that its concern is lateral energy leakage (repeatedly

  using forms of “leak” to describe the issue), and uses “density of mechanical energy” in a

  comparative manner as discussed above.

         52.     Lastly, Dr. Nguyen also asserts:

         Qorvo's proposal leaves out entirely the concept of “energy density,” instead
         referring to an amount of energy. An energy density is defined as an amount of
         energy per unit volume, just as an object's density is its mass per unit volume.

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         That is, energy density requires a defined volume over which the “amount” of
         energy is measured, and any amount without an associated volume cannot be an
         “energy density.” I believe such a construction would be fundamentally flawed
         for the above reasons and incorrect (or not true to the original claim) in the sense
         that it does not capture the concept of density.

  Nguyen Declaration at 16-17.

         53.     I disagree with Dr. Nguyen’s above analysis. First, as discussed above, Akoustis’

  construction fails to explain what is meant by “density” in context of the ’755 Patent, as it uses

  “density” in its definition. On the other hand, the term “amount of energy” in Qorvo’s

  construction includes “energy density”; that is, “energy density” corresponds to an “amount of

  energy” when comparing the amount of energy leaked to a certain region when the extent of that

  region is not varied. Second, Dr. Nguyen continues to ignore the intrinsic record in the entirety.

  The Nguyen Declaration does not cite a single part of the intrinsic record to support Akoustis’

  construction of “density.” Rather, it is carefully drafted to limit “density of mechanical energy”

  to only the particular density calculation proposed by Akoustis. Interestingly, none of Akoustis’

  proposed parameters used to define “density of mechanical energy” are found in the intrinsic

  record. Again, the ’755 Patent clearly and repeatedly indicates that its concern is amount of

  lateral energy leakage (repeatedly using forms of “leak” to describe the issue), and uses “density

  of mechanical energy” in a comparative manner as discussed above—not limited to specific

  values using specific metrics.

         54.     For at least the foregoing reasons, I agree that Qorvo’s proposed construction for

  “density of mechanical energy” is correct.




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  C.        “Acoustically Matched In Such A Manner That One Or More Wavelengths That
            Cause Energy Leakage Into The Outer Region Are Not Excited In The Active
            Region”

   Qorvo’s Proposed Construction                       Akoustis’ Proposed Construction
   Plain and Ordinary Meaning. If a                    “[A]re not excited” means that the
   construction for “are not excited” is needed, it    wavelengths do not exist in the whole volume
   means “are not substantively created.”              of the active region, or otherwise indefinite.

            55.    As discussed above, it is my understanding that, in construing claim terms, one

  should primarily rely on intrinsic patent evidence.

            56.    In my Initial Declaration, I reviewed the intrinsic record related to the ’755 Patent

  and came to the conclusion that Qorvo’s proposed construction of “are not excited” is correct.

            57.    In particular, I highlighted the following portion of the specification of the ’755

  Patent:

            Embodiments of a Bulk Acoustic Wave (BAW) resonator in which an outer
            region of the BAW resonator is engineered in such a manner that lateral leakage
            of mechanical energy from an active region of the BAW resonator is reduced, and
            methods of fabrication thereof, are disclosed. In general, in some embodiments, a
            thickness of a material in the outer region of the BAW resonator is such that the
            outer region of the BAW resonator is acoustically matched to the active region of
            the BAW resonator in such a manner that wavelengths that cause the lateral
            leakage of mechanical energy are not excited in the active region. As a result,
            there is no leakage of wavelengths excited in the active region into oscillation
            modes in the outer region. In other words, the thickness of the material in the
            outer region of the BAW resonator is selected such that the extinction coefficient
            (i.e., the rate of exponential decay for evanescent waves) associated with the
            exponential decay in the outer region and the imaginary part of the lateral
            dispersion in the outer region are changed in such a manner that lateral leakage is
            reduced.

  ’755 Patent at 5:5-23 (emphasis added).

            58.    Based on the intrinsic record, including those portions identified in my Initial

  Declaration and above, a POSITA would have understood “are not excited” to mean that the

  particular wavelengths that cause the lateral leakage are not excited enough (e.g., substantively


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  excited) to result in energy leakage from the active region to the outer region as a result of the

  claimed construction. In other words, excitations of one or more wavelengths that don’t cause

  leakage (e.g., minor or transient excitations) may occur within the scope of the claim.

          59.     The intrinsic record does not support limiting “are not excited” to the extent

  advanced by Akoustis’ proposed construction—“the wavelengths do not exist in the whole

  volume of the active region.” Such a restriction is found nowhere in the intrinsic record. As

  described above, including with respect to the previously discussed term (“density of mechanical

  energy”), what is important to the claimed invention is that there be a reduced lateral leakage of

  mechanical energy, which is what is shown in, for example, FIG. 3B as compared to FIG. 3A.

  To do so, the ’755 Patent (and claimed invention) specifies that the resonator is constructed so as

  not to excite particular wavelengths such that energy leakage results. A POSITA would have

  understood that it is the leakage that matters, and therefore that non-substantive excitations of

  wavelengths in the active region that don’t result in energy leakage are not prohibited.

          60.     Indeed, as Dr. Nguyen recognizes in the Nguyen Declaration, the proposition

  underlying Akoustis’ construction (that “are not excited” means that the wavelengths do not exist

  in the whole volume of the active region) is not scientifically realistic. Nguyen Declaration at

  20. Absent specific descriptions in the ’755 Patent that it was the inventors’ intent to limit their

  invention in such a manner, a POSITA would not have understood “are not excited” in the

  manner proposed by Akoustis.

          61.     My analysis above and in my Initial Declaration is primarily based on the

  intrinsic record.

          62.     In contrast, the Nguyen Declaration does not cite a single part of the intrinsic

  record to support Akoustis’ construction of “are not excited.” Instead, it relies only on extrinsic


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  evidence, including various extrinsic documents (Nguyen Declaration at 18-19) and unsupported

  opinions as to how a person of skill would understand this term (Nguyen Declaration at 19-20).

         63.     It is my understanding, however, that extrinsic evidence is considered less reliable

  than intrinsic evidence, and for that reason is generally given less weight than intrinsic evidence.

         64.     As with the previous terms, Dr. Nguyen’s extrinsic evidence is not drawn from

  treatises, textbooks, or other more general sources. Again, Dr. Nguyen relies on a research paper

  directed to a narrow topic. Moreover, he cites these references not to identify definitions for “are

  not excited,” but to discuss the meaning of a different term, “suppression.” The document does

  not address the relevant question here—what “are not excited” means.

         65.     Finally, turning to Dr. Nguyen’s comments on pages 18-20 of the Nguyen

  Declaration, Dr. Nguyen first asserts:

         In relevant technical literature, when something is “not excited”, it is non-existent,
         as opposed to something that is “reduced”, which one skilled in the art interprets
         as "reduced but not eliminated completely." (See '755 Patent, 2:33, 51, 54; 3:65;
         4:1, 5:8, 23, 25; 6:33; 7:8, 16, 50; 9:49, 11:36). When used in the literature,
         absolute terms and phrases like “not excited” are interpreted as such. One
         example is the Pauli exclusion principle, which Physics LibreTexts quotes as
         "The Pauli exclusion principle says that no two electrons can have the same set of
         quantum numbers; that is, no two electrons can be in the same state. This
         exclusion limits the number of electrons in atomic shells and subshells.

  Nguyen Declaration at 19.

         66.     Although Dr. Nguyen identifies “relevant technical literature,” he cites only one

  example related to the Pauli exclusion principle. He does not explain how the Pauli exclusion

  principle—a principle of atomic physics that speaks to the quantum numbers assigned to each

  electron within an atom—would compel a POSITA to adopt Akoustis’ proposed construction

  here, rather than the construction supported by the intrinsic record proposed by Qorvo.

  Moreover, while some literature may use “are not excited” in the manner suggested by Dr.


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  Nguyen, that is not a universally accepted meaning in the art, which is apparent by the lack of

  evidence identified by Dr. Nguyen. In any event, how some extrinsic sources may use “are not

  excited” is not necessarily relevant to construing “are not excited” in the context of the ’755

  Patent.

            67.    Finally, Dr. Nguyen asserts:

            Here, "not excited" is interpreted as absolute. It does not mean "a little bit" or
            "tiny" or "a reduced amount", or "suppressed" but rather "none at all." This is why
            I cannot agree with Qorvo's proposed construction of "not excited" as meaning
            "are not substantively created." That definition is inconsistent with the plain
            meaning of "not excited" and would be viewed as ambiguously indefinite
            compared to the term "reduced" used throughout the '755 Patent specification. If
            the inventors intended to mean suppressed or greatly reduced, those are the
            appropriate terms to express as much in the context of this invention. Qorvo's
            notion that "not excited" means not "substantially" excited is adding an adjective
            not present and not clear or evident to a person of ordinary skill in the art absent
            some supporting intrinsic evidence that the inventors were acting as their own
            lexicographer. I do not see any such support in the specification (compare "755,
            Patent, 2:61, 5:15, 7:5) or the prosecution history. Nor can I glean from the
            specification what level of presence of such wavelengths would correspond to a
            substantial amount vs. an insubstantial amount, while it is straightforward to
            discern the difference between present and not present. I also consider Qorvo's
            proposed construction to be indefinite because, as described above, it fails to
            inform, with reasonable certainty, those skilled in the art about the scope of the
            invention.
            I also disagree with any notion that the inability to ever achieve a total absence of
            the wavelengths in the whole volume of the active region justifies Qorvo's
            proposed construction. The fact that the inventors used the term throughout the
            specification absent any suggestion of a more scientifically realistic meaning does
            not change the plain and ordinary meaning that "not existing" means not at all.

  Nguyen Declaration at 16-17.

            68.    Dr. Nguyen’s argument here is illogical. First, for at least the reasons above,

  there is no support in the intrinsic record or the cited extrinsic evidence for Akoustis’

  construction that “not excited” means “none at all.” In fact, Dr. Nguyen admits that Akoustis’

  construction is not “scientifically realistic” but asserts it must somehow apply because he sees no

  indication in the ’755 Patent that the inventors did not intend such a scientifically unrealistic
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  construction to apply. But it is my understanding that patents are written for POSITAs. Thus,

  without some indication in the specification that the inventors were applying a scientifically

  unrealistic definition for aspects of their invention, a POSITA would not interpret the patent in a

  scientifically unreasonable manner. In other words, Dr. Nguyen’s analysis is backwards—a

  POSITA would interpret a patent in a scientifically reasonable manner absent an express reason

  not to. Dr. Nguyen has not identified any reason to depart from a scientifically reasonable

  understanding here.

         69.     As for Dr. Nguyen’s assertion that Qorvo’s construction is somehow indefinite, I

  disagree. A POSITA would be aware of how to identify non-substantive waves in an active

  region—such as those that do not result in energy leakage.

         70.     For at least the foregoing reasons, I agree that Qorvo’s proposed construction for

  “are not excited” is correct.

  IV.    THE ’786 PATENT

         A.      “Piezoelectric Layer”

   Qorvo’s Proposed Construction                     Akoustis’ Proposed Construction
   A layer of piezoelectric material having single A layer of piezoelectric material having single
   crystal structure.                              or multiple crystal structure.

         71.     In my Initial Declaration, I reviewed the intrinsic record related to the ’786 Patent

  and came to the conclusion that Qorvo’s proposed construction is correct.

         72.     In particular, I highlighted the clear and repeated description of the “piezoelectric

  layer” in the ’786 Patent as having a single crystal structure and my understanding that, when a

  patentee uses a claim term in a manner consistent with only a single meaning, the patentee has

  defined the term as such.



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         73.     I have reviewed Dr. Nguyen’s arguments in the Nguyen Declaration that the

  “piezoelectric layer” of the ’786 Patent may have a “single or multiple crystal structure.” I

  disagree with each.

         74.     First, Dr. Nguyen asserts:

         [I]ndependent claim 1 does not include the term "single-crystal" at all to define or
         describe the piezoelectric layer material. Rather, the single-crystal limitation is
         found, as an optional feature, of dependent claim 2, unrelated to the piezoelectric
         layer ('786 Patent, 14:62-64): "The device of claim 1 wherein the seed substrate
         includes silicon, silicon carbide, aluminum oxide, or single crystal aluminum
         gallium nitride materials." This informs me that the inventors knew when to use
         the single-crystal modifier if intended to further limit a limitation (like the seed
         substrate) consistent with embodiments described in the specification. Moreover,
         the "single-crystal" term is not in any independent claims of the '786 Patent
         describing the piezoelectric layer.

  Nguyen Declaration at 21-22.

         75.     I disagree that the lack of a “single crystal” descriptor for “piezoelectric layer” in

  claim 1 is determinative here. As I explained in my Initial Declaration, a POSITA would have

  understood “piezoelectric layer” based on the intrinsic record as a whole, and that the intrinsic

  record as a whole points to only one understanding—that the “piezoelectric layer” of claim 1 is a

  “single crystal piezoelectric layer.”

         76.     I also disagree that the use of “single crystal aluminum gallium nitride materials”

  in claim 2 for the “seed substrate” is at all instructive as to the meaning of “piezoelectric layer.”

  The “seed substrate” and “piezoelectric layer” are different elements of the claims, and they are

  different components of a resonator. Neither should be conflated with the other. Indeed,

  “piezoelectric layer” must be interpreted according to the repeated, clear and consistent

  descriptions throughout the intrinsic record, namely, that it is of a single crystal construction.

  Tellingly, the ’786 Patent claims priority to U.S. provisional application number 62/360,904,

  which only includes a disclosure of a resonator with a single crystal piezoelectric layer. If the

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  inventors had intended the claims to cover polycrystalline piezoelectric layers contrary to the

  descriptions throughout the intrinsic record, they would have specified in the claims that the

  piezoelectric layer was either single crystal or polycrystalline. They did not, either in the claims

  or specification. Thus, a POSITA would have recognized that the piezoelectric layer is limited to

  the single crystal construction repeatedly discussed in the ’786 Patent.

          77.     Dr. Nguyen further asserts:

          In my opinion, the specification makes clear to a person of ordinary skill in the art
          that any reference to a single-crystal embodiment should not be viewed as
          limiting the scope or meaning of any claim that does not also specifically identify
          the piezoelectric layer as single-crystal. In fact, the prosecution history supports
          the notion that the inventors and the Patent Office did not view the term as limited
          to single crystal because there is no mention that the claim is so limited. The
          disputed term can refer to either a polycrystalline material or a single-crystal
          material.

  Nguyen Declaration at 22.

          78.     I disagree. In contrast to the detailed analysis of the intrinsic record provided in

  my Initial Declaration, Dr. Nguyen’s opinion here is conclusory and fails to cite to any portion

  of the intrinsic record.

          79.     I have also reviewed the extrinsic evidence cited by Dr. Nguyen. But the papers

  cited by Dr. Nguyen do not shed any light on how “piezoelectric layer” is used in the ’786

  Patent. Just because other resonator configurations use polycrystalline piezoelectric layers does

  not mean that was what the inventors intended in the ’786 Patent.

          80.     For at least the foregoing reasons, I agree that Qorvo’s proposed construction for

  “piezoelectric layer” is correct.




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  V.     RESERVATION OF RIGHTS

         81.    My opinions are based upon the information that I have considered to date. I

  reserve the right to supplement my opinions in the future to respond to any arguments raised by

  Akoustis or Dr. Nguyen and to take into account new information that becomes available to me.

         82.    I declare that all statements made herein of my knowledge are true, and that all

  statements made on information and belief are believed to be true, and that these statements were

  made with the knowledge that willful false statements and the like so made are punishable by

  fine or imprisonment, or both, under Section 1001 of Title 18 of the United States Code.


  Executed on July 29, 2022




                                                   John C. Bravman




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                                   CERTIFICATE OF SERVICE

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                        Exhibit A3
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                   RF Bulk Acoustic Wave Filters
                       for Communications
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               RF Bulk Acoustic Wave Filters
                   for Communications

                             Ken-ya Hashimoto

                                   Editor




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     Background and History
           Ken Lakin




     1.1   BAW Technology Background

           The purpose of this chapter is to give a brief history of the development of BAW
           technology which is covered in technical detail in later chapters of this book. First it
           is necessary to define what the BAW technology is and then put the history in that
           context. For the purposes of this book, BAW history is interesting not so much as
           who did what when (that will be apparent from numerous references) but how other
           technologies were drawn upon to make the development of the modern thin film
           BAW technology possible. Microelectronics has played a key role over the years by
           providing materials-processing techniques previously unavailable. Review papers
           give an overview of thin film resonator technology 11-51.


           1.1.1   Basic Definitions
           The term bulk acoustic wave (BAW) refers to primary acoustic waves that propaga-
           tion in the bulk of a material whose dimensions are infinite and wherein the wave
           occupies all of that volume. There are three possible propagation modes called the
           normal modes of the material. Those modes are well understood for a large number
           of materials whose elastic properties are known. In more practical terms, a wave in
           a finite three- dimensional region can only approximate the propagation character-
           istics of an infinite region. The first approximation required to support a BAW is
           that the lateral extent of the medium is much larger than the wavelength and
           cross-section of the wave. The practical definition of BAWis imprecise and depends
           on what artifacts crop up due to the finiteness of the beam. For example, a beam
           starting out as being of comparable dimensions to the wavelength would appear as
           a point source and spread widely, due to diffraction, but could be described as some
           complex linear combination of the normal modes. The second approximation is
           that the lateral extent of the wave, and therefore of the medium, is such that the
           wave is primarily one-dimensional but with some residual effects due to lateral
           finiteness. In the direction of propagation the material extent may be very finite,
           such as a half-wavelength thick for a resonator. Yet in such a case, dimensions will
           appear large in the direction of propagation because the wave bounces within the
           resonator between parallel surfaces maintaining its characteristics as if propagating
           over considerable distance. Typical average lateral dimensions might be
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         approximately 100 times the wavelength for resonators in filters designed for
         50-ohm source and load impedances.
              Whereas finiteness is a distortion imposed on BAW, other modes of propagation
         are uniquely tied to the finiteness of a structure. For example, waves can propagate
         along and be guided by a surface or at an interface. The most notable being the solid
         to air interface that supports surface acoustic waves (SAWs). A feature of waves is
         that they tend to be guided by regions of slower velocity and lower energy density. If
         there is a lateral deformation at or very near a surface, the material can expand per-
         pendicular to the force (Poisson effect) out into the air region. That added degree of
         freedom makes the surface appear mechanically softer and as a result the SAW is
         confined to the surface. In the case of SAWs the material region must be just a half
         space with the relevant approximation that the material is sufficiently thick that the
         wave does not exist at any other surfaces.
              If the material region is formed as a plate with two parallel surfaces, but large in
         lateral extent, then another set of waves, plate waves (PW), can propagate along the
         parallel boundaries of the plate. These waves are most pronounced when the thick-
         ness of the plate is comparable to the propagation wavelength. It turns out that such
         a geometrical constraint is met by a typical BAW resonator. Further, plate waves can
         he generated in BAW resonators and can plague high-performance BAW resonators
         with parasitic resonances.
              Other modes of propagation are possible in the typical BA W structural approxi-
         mation but PW are the most pronounced.
              Since a resonator can be though of as a confinement structure for a wave bounc-
         ing between reflecting surfaces, it is only a manner of properly generating and con-
         fining a wave to make a useful resonator. Two issues then emerge. First, how to
         generate the wave, and second how to confine the wave so that most of the energy is
         stored with a minimum amount of energy loss except on a controlled basis.


         1.1.2   Role of Piezoelectric Materials
         The most straight forward method of generating an acoustic wave is to use a piezo-
         electric material. The piezoelectric direct and inverse effects are described in general
         by the equations,

                                           T = cS - eE                                       (1.1)

                                           D = eS +EE                                        (1.2)

             Here (1. 1) is Hook's law of elasticity, Tis stress (force per unit area), Sis strain,
         e is the piezoelectric coefficient, c is mechanical stiffness, f is permittivity, and E is
         the electric field. The second equation shows the contribution of mechanical strain
         to electric charge generation and displacement current. Accordingly, mechanical
         deformations and electric properties are piezoelectrically coupled.
              As will be shown in subsequent chapters, the strength of the piezoelectric cou-
         pling determines the bandwidth of filters and the mechanical losses in the material
         will determine resonator Q and accordingly filter insertion loss.
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         nators (OMR). A small change in frequency can cause the resonance to shift up or
         down one mode number and many resonances can exist over the bandwidth of the
         transducer. The frequency spacing is the reciprocal of the round-trip time of a
         propagating wave.
              In Figure 1.1 (d) the lateral field resonator is designed to keep electrodes out of
         the resonator by exciting the piezoelectric plate with fringing electrical fields that are
         mostly parallel to the plate surface. Resonance is established between two
         unelectroded surfaces.
              Historically, resonators (called crystals then and today) of the type in Figure
         l.l(c) were used until the early 1950s. With the need for smaller resonators and the
         availability of metal plating techniques, crystals of the form in Figure l.l(a) were
         produced in ever decreasing sizes. The configuration in Figure 1.1 (b) was limited to
         transducers for delay lines and other applications. Transducer bonding techniques
         were not advanced enough to support low-loss transduction although some metal-
         lurgical techniques showed some promise in special applications. It was the need for
         BAW delay-line transducers at high frequencies that led to the development of piezo-
         electric thin film deposition [6]. And, it was not until the introduction of thin film
         deposition did the composite configuration show some promise as a resonator. The
         air gap and lateral field resonators have a modern day application in quartz crystals
         for low-aging applications where metal electrodes would have detrimental effects,
         or for microwave resonators where acoustic losses in the electrodes are excessive.


         1.1.4   Comparisons with SAW and Plate Wave Resonators
         It is apparent from the discussion above that an acoustic resonator can be formed by
         a transduction means and mechanical boundaries that confine the energy. As intro-
         duced above, there are other waves that exist at boundaries such as SAWs and PWs.
               Figure 1.2 shows the cross-section of a SAW transducer wherein the thickness of
         the substrate is much larger than the wavelength of the SAW. Here spatially periodic




                                                          (a)




                                                            (b)
         Figure 1.2  SAW transducer and resonator. (a) Side view showing driven electrodes and reflectors.
         (b) Top view of transducer and resonator. In practice there are many more pairs of transducer elec-
         trodes and more reflector stripes on both sides of the transducer.
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    6                                                                             Background and History




                                                              (a)


                             150
                             120
                              90            Electrodes
                    V,

                    E
                     2
                    .....     60
                     V,
                     0)
                    C         30
                    <(
                     Q)-
                    "O
                               0
                     :::J
                    .-:=     -30
                    Q.
                     E       -60
                    <(

                             -90
                            -120
                            -150
                                   2   22      42        62
                                                               \J   82    102   122      142
                                                    Horizontal Distance

                                                              (b)
         Figure 1.3 Plate wave excitation and trapped energy. (a) Cross-section showing top and bottom
         electrode stripes used to excite the plate wave. The electrodes are normally comparable to the
         principal wavelength in the lateral propagation direction and longer in the depth direction of the
         figure by many times the plate thickness. (b) Calculation of wave amplitude in the vicinity of the
         electrode showing that energy is actually trapped.




              These various forms of resonators may occur by deliberate design or as an arti-
         fact in some other more desired resonator. They have also appeared in one form or
         another in the field of MEM devices.
              Figure 1.5 suggests a possible implementation in thin film form of a piezoelectric
         bimorph cantilever beam resonator designed to operate in a flexure mode. A voltage
         applied to the top piezoelectric plate can excite a length extension strain that causes
         the beam to bend. The bending of the lower beam is detected by the piezoelectric and
         generates an output voltage. Although useful in low-frequency resonators and fil-
         ters, the driven flexure vibration can possibly occur in high-frequency BAW devices
         as a parasitic effect.
              Figure 1.6 gives a pictorial summary of frequency ranges for different modes of
         vibration resonators over a range of plate thicknesses. BA W modes for longitudinal
         and shear waves are higher in frequency because the material structure is stiffer for
         those modes and frequency is simply inversely proportional to thickness.
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          tion. The problem of material Q surfaced again, and in the extreme, when films
          were applied to thin film BAW resonators where most of the energy is in the film.
          Films good enough for SAW were not good enough for BAW resonators. AlN films
          grown by high-temperature organometallic chemical vapor deposition for SAW
          devices were of the required quality but lacked a viable means of putting an
          electrode under the resonator.
              Significant advances have been made in sputter film deposition as will be
          detailed in a later chapter.


    1.5   Multidimensional Effects

          All structures actually fabricated are of course three dimensional, and it is only a
          matter of the degree of multidimensionality that affects device performance. The
          most important issue with BAW resonators is the generation of plate wave modes
          that can be seen as spurious responses in the normal resonator response.
               Figure 1.12 illustrates the physics of the problem. In Figure 1.12(a) a simple res-
          onator having electrodes and a lateral dimension comparable to the piezoelectric
          plate thickness is shown. Assuming a simple longitudinal mode-thickness excitation.
          vertical deformation causes a lateral detormation through the natural Poisson cou-
          pling. This coupling causes lateral vibrations in additional to thickness vibration in
          time harmonic excitation. In Figure 1.12(6), the plate is assumed to be much larger
          in lateral extent. Thus when volume element A is subjected to excitation its lateral
          deformation is canceled by the like lateral deformation of adjacent cells C and B.
          The result is a one-dimensional deformation locally.
               End cell D is also driven to a thickness deformation but in this case there is no
          adjacent cell on the left-hand side to cancel the lateral deformation in that direction.
          Accordingly, volume element D generates vertical and horizontal deformations
          capable of exciting lateral wave propagation in the plate.
               Once excited at the plate edges, plate waves will propagate throughout the plate
          reflecting off any material or electrical discontinuity. The energy contained in the
          lateral wave will be dependent on the strength of the excitation. Most important is
          the ratio of plate wave energy to that in the primary thickness mode. In the small res-
          onator case of Figure l .12(a), there is no real distinction between the two excitations
          because the deformations are so tightly coupled and occupy the same volume. In the
          extended resonator of Figure 1.12(6), the internal volume elements driven in the
          thickness mode will have an associated energy larger than the plate wave in approxi-
          mate proportion to the width-to-thickness ratio of the resonator.
               In Figure 1.12(c) the plate wave problem is cast in a format closer to the thin film
          BAW case. Here the piezoelectric plate is assumed to be of a lateral extent larger
          than the electroded region, or more pertinent, the overlap of the electroded region.


             D         •-ID__.i_ _ c_lA_I_B_ _ _ ~--'-'-1_D....I _1c.;. .I....A.....I....B.....1__~
                                                            I


               w                     ~                                       w
          Figure 1.12 Resonator geometry for describing plate wave excitation. (a) Resonator having com-
          parable lateral and thickness dimensions, (b) large lateral-to-thickness dimensions, and (c) part of
          an extended plate.
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     38                                                                           Resonator and Filter Topologies




                                                 A            B            C      D
                                         ,...

                                     E          XlA         X2B            XlC    X2D




                                     F          X2A         XlB            X2C    XlD



          Figure 2.20 Lattice filter. The upper-circuit diagram gives the general circuit of a two-section
          4-pole ladder filter. The lower drawing is a topside view of the filter as laid out for a thin film reso-
          nator fabrication. The resonator and electrode designations can be used to correlate the circuit dia-
          gram with the layout.




          2.6.1   Stacked Crystal Filter
          One of the primary thickness-mode-coupled resonators is the stacked crystal filter
          (SCF) (Figure 2.21 [22-26]). The SCF is composed of multilayers of piezoelectric
          and metal layers, as shown in Figure 2.21(a) for a one-pole filter and in Figure
          2.21(6) for a two-pole filter. Because one transducer is located directly on top of the
          other, there is little or no impediment for the sound generated by one resonator
          propagating between the two transducers. A voltage applied between electrode 2
          and the ground drives the top transducer. The wave that is generated in the top




                                                       Reflector Layers or Air
                                                                    (a)

                                                     GND.                  2




                                                        Reflector Layers or Air
                                                                     (b)

          Figure 2.21 Cross-sectional views of a simple SCF. In (a) is shown two piezoelectric layers with
          intervening electrodes for a single section one-pole filter, and in (b) two sections are connected
          electrically in series to form a two-pole filter.
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    2.6   Acoustically Coupled Filters                                                               39


            transducer propagates through the structure and reflects off the bottom of the bot-
            tom transducer. Thus, the acoustic region established between outer reflecting sur-
            faces of the two transducers forms a resonator. In the SCF then, one transducer
            drives the resonant structure and the other extracts energy from the resonator. The
            limited frequency range of the externally loaded resonator is the basis of the filter
            response.
                Figure 2.21 also shows the electrical shielding between input and output pro-
            vided by the ground plane.
                The lowest order resonance, as shown in Figure 2.22, is for a half-wavelength
            across the entire structure or an approximate quarter-wavelength across each piezo-
            electric region, and will be denoted as mode 1. Although transduction is not the
            most efficient when there is only a quarter-wavelength across the piezoelectric, the
            structure is nevertheless resonant and a filter response is obtained. The most effi-
            cient transduction, and hence the greatest effective electrical coupling to the exter-
            nal circuit occurs at the second overtone, mode 2, where there is a half-wavelength
            across each transducer. The next major response is at the third overtone, mode 3,
            and coupling is inefficient because each transducer is operating at three-fourths
            wavelength. Taken together, these resonances have the effect of placing adjacent
            spurs at the half- and three-halves frequency around the most efficient transduction
            frequency. The response of the mode 2 SCF can be improved by fabricating in the
            SMR format on a limited bandwidth reflector array to effectively attenuate the
            mode 1 and mode 3 frequency responses, as implied by Figure 2.10.
                It is useful to compare filters designed for mode 1 and for mode 2 resonant
            structures. Figure 2.23(6) shows in dashed lines an SCF designed for the mode 2
            optimal coupling case. Here the SMR format is used to limit the mode 1 and mode 3
            responses that occur relatively near-in and would otherwise severely limit the
            out-of-band rejection. Also, on the plot is a mode 1 filter centered on the frequency
            of the mode 2 filter. The mode 2 filter is on a nine-layer reflector stack of AlN and
            SiO 2 whereas the mode 1 filter has the simpler air reflector structure. Clearly, the
            mode 1 filter has higher ultimate rejection over most of the range shown than does
            the mode 2 filter, Figure 2.23(6). The overtones for the mode 1 filter occur at higher
            frequencies far removed and there is no need for the SMR reflector's rejection
            characteristics.
                Table 2.1 gives the data for the two cases. For the chosen example, the elec-
            trodes are Al, the piezoelectric is AlN, and two sections are connected in series to


                                              -10

                                              -20

                                     ID -30
                                         "O
                                     ...: --40
                                     N
                                     C/l -50

                                              -60

                                              -70

                                                    900      1300    1700      2100   2500
                                                          Fr equenc !l , MHz

             Figure 2.22   Modeled response of an SCF showing the three principal resonance modes.
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   42                                                                                  Resonator and Filter Topologies



         Figure 2.25 the lightly shaded areas are acoustically active as defined by the overlap
         of the 1/0 electrodes with the ground plane. The bottom floater electrode is denoted
         by d, e, f and is rectangular with no cutouts. Over the floater electrode is a piezoelec-
         tric layer and on top of that is the ground plane. Consider the overlap of electrode b
         with the ground plane the excitation region and note that the ground plane is cutout
         for out-feeds a and h. The wave generated propagates to the bottom piezoelectric
         and a voltage is generated at electrode d against ground. Thus, electrode d and b
         must line up very closely to avoid a parasitic resonator. For example, if 1/0 electrode
         a was over ground (no cutout in the ground plane) a resonator would be formed
         between there and the bottom of the lower piezoelectric. Likewise, when electrode e
         transfers current to the right-hand side resonator there must not be a parasitic reso-
         nator formed with the ground plane in the gap region between electrodes b and g.
         Therefore, the ground plane must have a rectangular cutout corresponding to the
         gap between band g. Note that in Figure 2.25(a) the line to denote the cross-section
         is irregular shaped to better show the electrode overlaps.
              The ground contact for the device is shown in Figure 2.25(a) as being on just one
         side of the device but in practice it should be on both sides. Better 1/0 isolation is
         obtained when capacitance between input and output is at a minimum, which is not
         hard to achieve at the die level.


         2.6.2   Coupled Resonator Filter
         The SCP discussed above is effectively a single resonator with an arrangement for
         sampling the energy within the resonator. The resonator either operates in mode 1



                                 Bottom                                            C
                                 Floating
                                Electrode--------..._, - - - - - -
                                                   I




                                                                           d,e,f
                                                       Ground Plane Openings--~

                                                                     (a)

                                        a



                                                                                              C
                                             C


                                                       d             e




                                                                     (b)

         Figure 2.25 Stacked crystal filter layout. (a) Top view of the layout, and (b) the side view. The lightly
         shaded areas are acoustically active. (Note in part (a) the shift in the cross-section indicator line.)
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   2.6   Acoustically Coupled Filters                                                                           43


           without optimal electrical to acoustical coupling or in mode 2 which is an overtone.
           In both cases the effective K 2 is limited resulting in narrower bandwidth than that
           obtained with a ladder filter. The limited bandwidth of the SCF can be overcome by
           reducing the coupling between the vertically disposed transducers in such a way that
           they begin to act as independent resonators rather than as a single resonator. The
           resulting configuration is called a coupled resonator filter (CRF) (Figure 2.26) to
           distinguish it from the SCF [27, 28]. In this case it is appropriate to blur the distinc-
           tion between transducer and resonator because the resonators (transducers) are suf-
           ficiently decoupled that they can be properly called resonators. However, keep in
           mind that the bottom of the top resonator is at a plane that is 180° of phase down
           from the top reflecting surface, and that plane may or may not represent an actual
           material boundary.
                In Figure 2.26(a) the acoustically active region defined by electrode overlaps is
           indicated between the vertical dashed lines. The bottom electrode is patterned such
           that it is brought out from under the acoustically active region for eventual contact-
           ing. Above the bottom piezoelectric is another electrode that too must be brought
           out for contact. Next, formed in sequence, are an acoustic isolation region, on top
           of that another electrode, a top piezoelectric layer, and finally the top electrode. As
           in the SCF, layout must he such as to avoid unwanted parasitic resonators.
                In Figure 2.26(6) two sections of CRF are connected in senes to produce a
           4-pole filter. This arrangement allows the lower two electrodes to float and there-


                            ),                          2                  2'                    l'
                                                        ,r'\                                    ,r----,
                            y                                              '1/'
                                                                                                r
                                                                                        ~·~
                                                                                                          I



                                                Reflector Layers or Air
                                                               (a)
                                                       l'              2                   2'
                                        r-,,
                                                      ,"




                                                 Reflector Layers or Air
                                                               (b)
           Figure 2.26 Cross-sectional view of a CRF. In (a) a single section CRF is shown, and in (b) two
           sections are connected in series electrically and in a form that allows the input and output to be
           independent.
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   BAW Device Basics
        Jyrki Kaitila




        In this book we make the definition that the thin film bulk acoustic wave (BAW) res-
        onator is a piezoelectric device. This means that the electromechanical conversion is
        based on the piezoelectric effect. In the literature some other classes of devices, such
        as CMUTs (capacitive micromachined ultrasonic transducers), are also sometimes
        called BAW devices, but here we will reserve the term exclusively for the use given
        above.
             Piezoelectric effect is an ability of a material to convert electrical energy into
        mechanical energy and vice versa. Most materials exhibiting this property are crys-
        talline. However all crystalline materials are not piezoelectric: the criterion is the
        lack of center of symmetry. This is essential as the mechanism of piezoelectricity is
        hased on spatial separation of positive and negative electrical charges under applied
        stress. Thin film piezoelectric materials will be discussed in detail in Chapter 7.
             Properties of crystalline materials are inherently complex and they are even
        more so when it comes to the piezoelectric phenomena. In this chapter we will make
        no attempt to explain the detailed workings of piezoelectricity. What will be
        attempted is to give an overview of the relevant topics associated with design and
        analysis of thin film BAWs.
             Some of the models that we will use are very simple; someone understanding the
        real complexity of the covered issues would probably term them naive. We accept
        this possible criticism, but take the practical view: even if the models and analysis
        lack ultimate precision, they nevertheless can explain general behavior of real
        devices with reasonable accuracy, at least qualitatively. Ultimately designing and
        manufacturing devices is an engineering art. We are extremely pleased if we can
        bring any insights into how a practitioner can identify the phenomena described in
        the following pages and apply the solutions offered to the benefit of his devices.
             This chapter is about resonators. Resonators form part of many different sys-
        tems: The thin film BAW technology has started out with filters. However, other
        applications such as oscillators and various kinds of sensors are being envisioned.
        The basic three parameters that a designer is interested in are usually sufficient
        effective coupling coefficient, high Q-values, and operation free of spurious reso-
        nances (remember the discussion in Section 1.5). This does not mean that all these
        are the most important parameters for a given application; neither does it mean that
        there would not be any other considerations to be taken into account. It all depends
        on the specifications of the task at hand. The first two sections of this chapter will




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        material). For rather weak piezoelectrics, like AlN or ZnO, the two coupling con-
        stants are approximately equal, Kt2 ""K 2 • The static capacitance C0 , given by the
        familiar expression
                                                    5
                                                   £ A
                                                C =-                                          (3.21)
                                                   0           2d

        Note that the factor 2 appearing in the denominator is the consequence of defining
        the thickness as 2d. In most other works the thickness of the plate is given as d, but in
        order to keep the definition of plate thickness constant throughout this chapter we
        have opted to use this one.
             The resonant frequencies are obtained from (3.19). The antiresonances (or par-
        allel resonances) are obtained when Z ➔        (or when the admittance Y = 1/Z = 0.
                                                                     00


        This gives

                                                         :re
                                  kd=(2n+1)·-,                      n=0,1,2, ...              (3.22)
                                                         2

        Using (3.13) this becomes

                                                    TC         VD
                            w
                                a,n
                                      = (2n + 1) · --
                                                   2 d
                                                      · ~ , n = 0, l, 2, ...                  (3.23)


            The resonant frequencies wr,n are obtained from solution Z = 0 of (3.19). They
        are therefore obtained from



                                                                                              (3.24)
                                             :re . _!I)_, -            K2t
                                              2 wa,0


        where we utilized vD/d solved from (3.22) for the lowest antiresonance frequency
        wa,o·
              It is interesting to note the apparent similarity, but the subtle difference between
        (3.1) and (3.23). The first one was obtained by simple reasoning without very much
        hard physics involved. It describes resonances in a purely mechanical system, which
        means it is a plate-and-hammer model. That is: what waves would be observed if we
        simply hit the plate with a hammer (assuming that the hammer really is a wide-fre-
        quency band stimulus). On the other hand, (3.23) was derived based on the piezo-
        electric phenomenon. The difference between the obtained resonances is that the
        antisymmetric modes present in the purely mechanical treatment are missing from
        the piezoelectric driven case. This agrees with intuition: the antisymmetric modes
        are not excited because the constant external electric field cannot drive them. This
        symmetry argument will be used in the later sections when effective coupling
        coefficient and spurious modes are analyzed.
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   4.2   Fabrication of BAW Devices                                                               97


   4.2    Fabrication of BAW Devices

           It is remarkable that BAW or FBAR used to be a topic of intense R&D, mostly in
           companies not being main players in surface acoustic wave filters. The schematic
           cross-section of an FBAR or BAW-SMR device looks very similar to thin-film
           capacitors or micromachined pressure sensors; things the semiconductor industry
           has been doing for two decades. So it is no surprise that semiconductor companies
           have been the first to successfully demonstrate the mass-manufacturing of BAW
           devices [8, 9].
                There are several aspects why BAW manufacturing in a semiconductor fab can
           make sense:

                • The tools and processes available today for semiconductor device manufac-
                  turing have reached a very high level in both process quality (e.g., film thick-
                  ness uniformity and stability) as well as process cost (e.g., throughput, mean
                  time between failure).
                • The couse of the same equipment for other products besides BAW typically
                  enables lower manufacturing cost due to optimized utilization and shared
                  depreciation.
                • A third motivation could be the option for monolithic integration of micro-
                  electronics and bulk acoustic wave devices. This topic is discussed separately
                  in Chapter 9.


           4.2. l    Material Selection
           The selection of the "right materials" is one of the key elements for fabrication of
           high-performance BAW devices. "Right" in this case means the optimum selection
           with regards to electrical properties (e.g., sheet resistance), acoustic properties (e.g.,
           acoustic impedance, material quality factor, temperature behavior, roughness) and
           other properties (e.g., thermal conductivity, moisture stability). Beside these funda-
           mental material properties, manufacturability (e.g., homogeneity and repeatability
           of film properties) also is an important selection criterion. We will discuss the mate-
           rials most commonly used in BAW manufacturing in this section.
                The acoustic impedance can be calculated from the product of acoustic velocity
           and mass density (Section 3.2). Figure 4.1 illustrates these two material properties
           for some typical semiconductor device materials and some other materials for com-
           parison. It should be noted that not all of the shown materials have high acoustic
           quality factor, especially the "soft" materials with low acoustic velocity typically
           have also low Q.

            Metals
            For electrode layers the thickness is typically much less than the skin depth at the
            relevant frequency. As a consequence the electrode resistance is higher than desired.
            BAW people are facing the dilemma that good acoustic materials are usually lousy
            conductors while the best conductors have excessive material damping and would
            create acoustic losses.
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             25




             20:




              5
                                                                            ~d




              0
                  ,0
                      Rubber
                                                                  0 \J__)
                  0                       5 000                         10 000                   15 000
                                                  Acoustic Velocity [mis]

       Figure 4.1   Acoustic velocity, density, and acoustic impedance (size of the bullets) for various
       materials. Materials with thick lines are most common materials in integrated circuit fabrication.



           • Aluminum (Al) is typically used in form of aluminum alloys as AlCu, AlSiCu
             with electrical and mechanical properties very close to pure Al. It has a favor-
             able electrical conductivity (see Chapter 7). However, due to its low acoustic
             impedance and the subsequently lower achievable bandwidth compared to
             high acoustic impedance materials such as tungsten and molybdenum, Al is
             not commonly used as electrode material for BAW devices.
           • Tungsten (W) in contrast to Al has a very high acoustic impedance and is
             therefore an excellent candidate as part of an acoustic mirror in a SMR-type
             BAW resonator [1, 10], and as an electrode material (see also Chapter 7). In
             semiconductor device manufacturing, tungsten is mainly used as via fill in
             between metal layers. The respective processes (typically CVD deposition) are
             therefore optimized for good step coverage whereas for a BAW device, optimi-
             zation for thickness uniformity and residual stress is of higher importance.
           • Copper (Cu) has approximately 1.5 times better conductivity compared to
             aluminum and is therefore increasingly used for interconnect layers. However,
             process complexity and process cost are significantly higher than for Al. It
             requires diffusion barrier layers and equipment dedication to prevent transis-
             tor device contamination by copper diffusion into the silicon. The acoustic
             impedance of Cu is very similar and acoustic Q-value is even worse than alu-
             minum, which makes it also an unfavorable material for BAW electrodes.
           • Titanium (Ti) and Titanium nitride (TiN) are common diffusion barriers and
             liners for CVD-W layers in IC manufacturing. As Ti has higher resistivity than
             Al but similar acoustic impedance, it is typically not used in a BAW device for
             other purposes than these two.
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   4.2   Fabrication of BAW Devices                                                            99


               • Tantalum (Ta) is used pure or in form as nitride, silicide, or oxide in semicon-
                 ductor device manufacturing. Typically, these layers are used as thin diffusion
                 barrier layers (e.g,. for Cu interconnects). Tantalumpentoxide is a high-k
                 dielectric and has been used as part of an acoustic mirror in a SMR-type BAW
                  [11).
               • Molybdenum (Mo) has an electrical conductivity similar to tungsten, but a
                 slightly lower acoustic impedance. It is therefore also commonly used as elec-
                 trode material for BAW resonators. It is a reasonable compromise for FBAR
                 but for BAW-SMR it will increases resonator size and will lower the k;11 as
                 compared to a tungsten electrode, in particular when used as a bottom elec-
                 trode.
               • Potential alternatives for electrode materials have been proposed which
                 include iridium [12] and ruthenium [13]. Those materials may be difficult to
                 introduce but they could allow improving electrode resistance somewhat. Lit-
                 tle data is available about research on metal alloys showing improved resis-
                 tance and acoustical parameters but this is a field of great potential.

           Semiconductors and Dielectrics

                • Silicon (Si) as the most important material of integrated circuits 1s typically
                  not an essential part of BAW devices. It can be used for micromachining thin
                  membranes either by bulk or surface micromachining [14, 15); otherwise, it
                  serves just as a carrier substrate for SMR-type BAW devices. In the latter case,
                  high-resistive (undoped) silicon should be used in order to minimize electrical
                  losses. Compared to other substrates it has some proven advantages: Beside
                  cost and availability aspects, silicon is mechanically very robust which eases
                  handling during processing and assembly. Singulation of silicon wafers to
                  individual dies also is a process available at every semiconductor device
                  manufacturer.
                • Silicon oxide (Si OJ actually has multiple interesting properties for BAW
                  devices: It has low acoustic impedance, which makes it a good candidate to he
                  part of an acoustic mirror in SMR-type BAW devices. Also, its temperature
                  behavior is inverted to most other layers [3]: With increasing temperature,
                  Si0 2 exhibits an increase of Young's modulus together with a rather small
                  thermal expansion, which leads to an overall decrease in acoustic delay. It can
                  therefore be used to reduce (or even fully compensate) the temperature
                  dependence of BAW devices.
                • Silicon nitride (SiN) has a similar mass density but higher acoustic velocity
                  than Si0 2 • However, the difference in acoustic impedance is not large enough
                  to build good acoustic reflectors from a SiN/Si0 2 multilayer stack. For mem-
                  brane-type resonators, SiN layers are sometimes used as supporting mem-
                  brane [16). Additionally, like in semiconductor manufacturing, SiN can be
                  used as a passivation layer.
                • Another promising material under evaluation is silicon-oxy-carbide (SiOC,
                  also called silicon carb-oxide). SiOC is a popular material in CMOS where it
                  is used as "low-k" intermetal dielectric to reduce capacitive parasitics. SiOC
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             can be deposited by fairly conventional PE-CVD tools. The tricky thing about
             SiOC is that its material parameters can vary significantly and are more diffi-
             cult to control than for SiO 2 • Acoustic losses in SiOC seem to be significantly
             higher than in SiOz- A concern is also that SiOC is mechanically less robust
             and it can introduce roughness which could harm the quality of subsequent
             layers.
           • Another group of materials with very low acoustic impedance are polymers.
             Polymers with sufficient temperature stability exist and are under evaluation
             as acoustic layers. Typically, these polymers are spin coated, baked, and cured
             at elevated temperatures in order to cross-link all active chains. Polymers
             exhibit strong material damping and are not well suited to be placed into
             regions with high mechanical energy density but they can be a good solution
             for reflector layers deep down in the stack. Another consideration when using
             polymers is that the acoustic velocity is very low, and as a consequence the lay-
             ers need to be very thin. Many of the other layers in BAW exhibit large stress
             which means that the polymer needs to have excellent adhesion to layers
             below and above or else delamination will be an issue.

       Piezoelectric Layers

           • From the material perspective, aluminum nitride is the preferred piezo mate-
             rial for integration in a semiconductor fab environment. As discussed in Chap-
             ter 7, it can be deposited with high quality on W, Mo, and Al electrodes. It has
             been so far the only piezoelectric film material that has proven
             manufacturability in terms of stable and reproducible film quality in high-vol-
             ume production [5, 17]. There are no contamination concerns. As a positive
             side effect, AlN is an excellent heat conductor, which helps to improve device
             reliability at high power levels.

       Other Processes Besides Film Deposition

           • The lithography requirements for BAW devices are less demanding than for
             most semiconductor devices. The minimum feature size is typically much
             larger than 1 µm; however, overlay accuracy may be critical in some cases to
             minimize appearance of unwanted acoustic side-modes. Therefore, the use of
             a step and repeat system (which costs multiple million dollars each) is pre-
             ferred over contact lithography systems.
           • Etching processes for BAW need to be developed such that overetch into criti-
             cal layers is minimized. Regardless if wet or dry etching is used it is important
             to choose etch processes which are either highly selective or allow use of
             end-point detection systems in modern dry-etch tools. Very often additional
             layers have to be introduced to achieve a robust etch stop. It is also important
             to be cautious with chemical cleaning processes which are very common after
             any kind of dry-etch to remove residues created at the sidewalls of the etch
             profiles and photoresist. In many cases the cleaning procedures will show
             more metal removal than can be tolerated.
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   4.2   Fabrication of BAW Devices                                                                           101


                • As discussed in Chapter 7, chemical mechanical polishing (CMP) to improve
                  surface smoothness and planarity can have positive impact on BAW device
                  performance. CMP processes for polishing tungsten and SiO 2 are extensively
                  used in microelectronics fabrication to minimize surface topology. When
                  using these CMP processes for BAW fabrication, particular attention should
                  be given to the prevention of dishing effects in the active resonator stack, as
                  any nonuniformity over the resonator area would degrade the quality of
                  acoustic resonance.


           4.2.2    Fabrication of SMR Resonators and Filters
           In this section we will briefly describe a typical process flow for SMR-type resona-
           tors and filters. Starting with a high-resistive substrate, first the mirror is fabricated
           by deposition of alternating low and high acoustic impedance layers. In the case that
           metallic layers are used in the acoustic mirror, those have to be patterned in order to
           minimize parasitic coupling in between adjacent resonators. The construction of
           such a mirror can either be mesa type [as shown in Figure 4.2(a)] or-for example,
           by using CMP processes-fully planarized [see Figure 4.2(6)].
                Following to the fabrication of the acoustic mirror, the two most critical layers
           in BA W manufacturing are deposited and patterned: the bottom electrode and the
           piezolayer. The challenges regarding the bottom electrode are manifold: First, the
           film microstructure (e.g., roughness) may have significant impact on the quality of
           the piezolayer deposited on it (see also Chapter 7). Second, the topology before the
           deposition of the piezolayer should be minimized as piezolayer growth can be dis-
           turbed in a way that a fold develops [as indicated in Figure 4.3(a)J, which can nega-
           tively affect the device performance (e.g., ESD robustness, as discussed in Section
           4.1.8). The challenges of depositing high-quality piezolayers are discussed in
           Chapter 7.
                In the case that an electrical connection of bottom and top electrode is needed
           (which is the case for a single resonator, but not mandatory for all filter designs), the
           piezolayer has to be patterned as well. Subsequently, the top electrode can be depos-
           ited and patterned. Figure 4.4 shows the cross-section of a single resonator after
           completion of these process steps.
                The figures do not include the "detuning layer," which is needed in a filter
           device to put the shunt resonators to a lower frequency than the series resonators.
           This layer is typically placed either below the bottom electrode or on top of the top
           electrode. Also not included is the patterning of border rings at the edge of the reso-




                                     (a)                                          (b)
           Figure 4.2 Cross-section of an acoustic mirror having two metallic layers (e.g., W) with high
           acoustic impedance and three dielectric layers (e.g., SiO 2 ) having low acoustic impedance. (a)
           Mesa configuration, and (b) planarized configuration.
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     7.2   Methods of Deposition of Piezoelectric Films                                           187


             usually result in more compressive AlN films. Breaking films into multiple steps
             have been reported [23) to modify film stress.
                 PZT deposition by sputtering is a lot more complex than either AlN or ZnO
             depositions. RF diode deposition of PZT is an extremely slow process when depos-
             ited in the commercially available equipment, resulting in deposition rates of 50 to
             100 A/min. Conventional RF magnetron processes can achieve up to 500 A/min
             deposition rates by employing an appropriate array of magnets, but it is very diffi-
             cult to get correct stoicheometry from a given target over the entire target life
             because of the different yield level of the lead, zirconium, and titanium at different
             voltages [24). It is also important to have the right mixture of argon and oxygen to
             maintain desired ratio of the materials in PZT. Because PZT is a dielectric, it does
             not lend itself to either DC or AC magnetron deposition techniques commonly used
             for either AlN or ZnO. An interesting deposition method designed to circumvent
             these issues is described in [25). Using a hallow cathode effect with high-rate gas
             flow, deposition rates of up to 2,500 A/min were demonstrated. Authors claim films
             as thick as 16 µm were deposited with excellent film characteristics in only ninety
             minutes. Typically, hollow cathode consists of a cylindrically shaped target
             arranged perpendicular to the substrate. Very high plasma density creates high ero-
             sion rate of the material from the target. Argon and oxygen flowing through the
             center of the target carry target material to the wafer. In PZT deposition, target is
             composed of the individual rings of lead zirconium, and titanium. In order to obtain
             the desired ratio in the PZT material, the size of the target rings is adjusted to obtain
             appropriate composition on the surface of the substrate. Temperatures of 550°C to
             650°C as well as a small amount of the substrate bias are used to obtain dense,
             highly oriented PZT. This approach demonstrates a path forward for a PVD deposi-
             tion of PZT at high deposition rates with good control over the stoichiometry of the
             PZT. Unfortunately, this system is in the experimental stages and no commercially
             proven equipment is available on the market.
                  Sputter deposition from ceramic AlN or ZnO targets can be accomplished only
             in the RF-deposition mode. This is due to a need to couple between backing plate
             and the insulating target. In order to accomplish this, higher frequency is required.
             Unfortunately deposition rate from the ceramic are an order of magnitude slower
             that either AC or pulsed-DC deposition. For this reason, as well as cost and diffi-
             culty of making a ceramic target, this technique did not find a wide commercial
             application.


             7.2.3    Electron Cyclotron Resonance Deposition
             Electron cyclotron resonance (ECR) has been used to deposit AlN [6) and ZnO
             films of high quality. Typically, argon/nitrogen mixture is used with aluminum
             target. A magnetic field of about 875G is driven at 2.45 GHz. The advantage of the
             technique is that it allows a nearly epitaxial film deposition at temperatures
             below 300°C. The disadvantage of ECR is that because deposition rate tends to be
             low there are no high-volume, low-cost, production machines available on the
             market. Most work reported in the literature is from universities and R&D
             laboratories.
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     8.3   Laser Interferometry                                                                    201


                  A somewhat more robust method for determining metal layer thickness is X-ray
             fluorescence measurements. This method basically "counts" the number of atoms
             in the thin film by irradiating a predefined spot on the wafer with a relatively mono-
             chromatic X-ray beam tuned to a low-energy electronic level of the metal under
             investigation. The fluorescence signal from the recombination is directly propor-
             tional to the number of atoms in the irradiated spot (at least until the thickness of
             the layer is smaller than the attenuation length of the X-rays). A drawback of this
             method is-similar to the four-point probe-that it can basically just be applied to
             unpatterned layers. It is therefore only suited for process monitoring.
                  Again, an economic method that can as well be used for productive wafer moni-
             toring is the above-mentioned weighing of the wafers.


     8.3    Laser Interferometry

             8.3.1    Introduction
             Electrical measurements are an important source to gain hints and clues about the
             mechanism and the basic behavior of the acoustic waves in thin film layer stacks.
             Nevertheless, without a possibility to observe the mechanical behavior (at least at
             the surface), it would be almost impossible to find out why the behavior of a certain
             resonator deviates from theory.
                  A reason for such deviations is the imperfect layer deposition, with respect to
             layer quality, structure, and thickness. And even if the stack composition happens to
             be perfectly known, there are usually a few not so well-known numbers in the mate-
             rial parameters.
                  Now, the most important detail which can be obtained by such measurements
             might be the dispersion relation of a certain layer stack. To be able to predict the
             mechanical and electrical response of a resonator it is necessary to know about the
             dispersion of the three mainly involved regions on top and around the device. A
             method to calculate the dispersion relation of a certain stack from laser
             interferometric measurements has been first developed and demonstrated by one of
             the authors in [5-7], and since been used and adapted by many others [8, 9].
                  Besides the resolution of the dispersion type, a useful application of optical mea-
             surements is the investigation of side resonances (e.g., from the leads or the pad
             areas). The setup briefly described in the next section, which has been developed by
             one of the authors during his Master's thesis, allows us to take a closer look at the
             vibration of relatively small details. Due to its very high lateral resolution, the vibra-
             tion of resonator parts like the border ring area (usually 1 to 10 micrometers) can be
             studied accurately. A more accurate description of the setup can be found in [5-7].
                  Other setups, allowing for comparable data acquisition capabilities can be
             found in [8, 9].


             8.3.2    Measurement Setup
             The setup is fundamentally based on a modified Mach-Zehnder interferometer; a
             sketch of this construction can be seen in Figure 8.1. While the device under test
             (DUT) is driven by a signal source, the whole area of interest is scanned by the laser.
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                         Exhibit A4
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                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                              )
                 QORVO, INC.,                                 )
                                                              )
                      Plaintiff,                              )
                                                              )
                              v.                              )   C.A. No. 21-1417-JPM
                                                              )
                 AKOUSTIS TECHNOLOGIES, INC. and              )
                 AKOUSTIS, INC.,                              )
                                                              )
                      Defendants.                             )



                             INITIAL CLAIM CONSTRUCTION EXPERT REPORT AND
                                    DECLARATION BY DR. CLARK NGUYEN

            I.       INTRODUCTION

                     Pursuant to
                     Pursuant to the
                                 the Court's
                                     Court’s Scheduling Order and
                                             Scheduling Order and the
                                                                  the Local Patent Rule
                                                                      Local Patent Rule 4.3 for the Western

            District of
            District of Tennessee (“LPRs” or
                        Tennessee ("LPRs" or "Local
                                             “Local Patent
                                                    Patent Rules"),
                                                           Rules”), Defendants Akoustis Technologies, Inc.

            and Akoustis,
            and Akoustis, Inc. (collectively, "Defendants"
                          Inc. (collectively, “Defendants” or
                                                           or "Akoustis")
                                                              “Akoustis”) hereby
                                                                          hereby submit
                                                                                 submit the Expert Report

                                                (“Dr. Nguyen")
            and Declaration of Dr. Clark Nguyen ("Dr. Nguyen”) in support of
                                                               in support of Akoustis'
                                                                             Akoustis’ Preliminary Claim

                                                    as to
            Construction and Evidence under LPR 4.2 as to United
                                                          United States Patent Nos.
                                                                 States Patent Nos. 7,522,018 (the "'018
                                                                                    7,522,018 (the “’018

            Patent”) and
            Patent") and 9,735,755 (the "'755
                         9,735,755 (the “’755 Patent")
                                              Patent”) (collectively,
                                                       (collectively, the
                                                                      the "Asserted
                                                                          “Asserted Patents"
                                                                                    Patents” or
                                                                                             or "Patents-in-
                                                                                                “Patents-in-

            Suit”).                                                                 of the
            Suit"). Qorvo asserts that Akoustis infringes claims 1-6, 10, and 12-14 of the ’018 Patent and
                                                                                           '018 Patent and

                              and 18
            claims 1-7, 9-16, and 18 of
                                     of the
                                        the ’755 Patent (collectively,
                                            '755 Patent (collectively, the
                                                                       the "Asserted
                                                                           “Asserted Claims").
                                                                                     Claims”). Qorvo also

            alleges that Akoustis falsely marks its accused RF filter products as practicing U.S. Patent No.

            10,256,786 (`the
            10,256,786 (‘the ’786 Patent’).
                             '786 Patent').

                     This report is based on information currently available to Akoustis and Dr. Nguyen. The

            parties have not completed discovery and Akoustis has not yet received any Qorvo expert report

            relating to claim construction. Akoustis and Dr. Nguyen therefore reserves the right to revise,
                                                            1

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                                                     report supporting
            supplement, amend, or subtract from this report supporting Akoustis'
                                                                       Akoustis’ proposed
                                                                                 proposed construction

                                           Qorvo’s own expert report to the extent one is provided.
            based on further discovery and Qorvo's

            Inclusion or omission in the report of terms, constructions, or supporting evidence is not an

            admission that any particular claim term is definite or otherwise in compliance with 35 U.S.C. §

            112. Akoustis does not contend that any claim term is properly construed as means-plus-

            function under 35 U.S.C. § 112(6) or 35 U.S.C. § 112(f) and the parties have agreed that the

            asserted claims
            asserted claims of
                            of the
                               the ’018 Patent do
                                   '018 Patent do not
                                                  not require
                                                      require construction
                                                              construction to
                                                                           to resolve any presently
                                                                              resolve any presently known
                                                                                                    known

                             terms’ plain and ordinary meaning.
            dispute over the terms'

                     The information set forth in this report is provided without waiving: (1) the right to object

            to the use of any statement for any purpose, in this action or any other, on the grounds of

            privilege, relevance, materiality, or any other appropriate grounds; (2) the right to object to any

            request involving or relating to the subject matter of the statements herein; (3) the right to revise,

            correct, supplement, or clarify any of the statements provided below at any time, including at

                                 Akoustis’ claims or defenses in this litigation.
            trial; or (4) any of Akoustis'

                     I, Dr. Clark Nguyen, offer the following as my expert report and declaration relating to

            the proposed preliminary claim construction of disputed claim terms in the above-entitled matter.

            II.      QUALIFICATIONS OF DR. NGUYEN

                     I am currently the Conexant Distinguished Professor in Electrical Engineering and

            Computer Sciences
            Computer          at the
                     Sciences at the University
                                     University of
                                                of California
                                                   California at
                                                              at Berkeley
                                                                 Berkeley ("U.C.
                                                                          (“U.C. Berkeley"),
                                                                                 Berkeley”), a co-Director

            and former Executive Director of the Berkeley Sensor & Actuator Center, and the Chair of

            Electrical Engineering in the Department of Electrical Engineering & Computer Sciences at UC

            Berkeley. I have over three decades of experience in Microelectromechanical systems

            (“MEMS”) technology.
            ("MEMS") technology. My
                                 My areas
                                    areas of
                                          of expertise
                                             expertise include
                                                       include integrated micromechanical signal
                                                               integrated micromechanical signal


                                                               2

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            processors and integrated sensors, merged circuit/micromechanical technologies, RF

            communications, integrated circuit design and technology, and short- and long-term stability in

            micromechanical devices.

                     My educational background includes a Ph.D. in Electrical Engineering and Computer

            Sciences in 1994, a M.S. in Electrical Engineering and Computer Sciences in 1991, and a B.S. in

            Electrical Engineering and Computer Sciences in 1988, all at U.C. Berkeley.

                     I have been a Full Professor of the Electrical Engineering and Computer Sciences

            Department at U.C. Berkeley from July 2006 until the present. Before that, I worked at the

            Department of Electrical Engineering and Computer Science at the University of Michigan as an

            Assistant Professor from 1995 to 2001, an Associate Professor from 2001 to 2006, and a Full

            Professor up until mid-2006 when I took the professorship position at U.C. Berkeley.

                     I have regularly taught electrical engineering courses at the graduate level. These courses

            have included silicon MEMS resonators and related devices, which are reflected in my

            curriculum vitae. A current copy of my curriculum vitae is attached to this declaration as

            Exhibit A.

                     My research focuses on MEMS, including integrated micromechanical signal processors

            and sensors, merged transistor/MEMS circuit design, merged circuit/micromechanical

            technologies, RF communication architectures, and integrated circuit design and technology. My

            research group at U.C. Berkeley is presently investigating extension of the frequency range of

            micromechanical signal processors (filters and oscillators) into the X-Band range, developing

            merged circuit/microstructure technologies, studying physical phenomena that influence the

            frequency stability of micro- and nano-scale mechanical resonators, exploring novel

            architectures for single-chip transceivers for military and commercial applications using MEMS


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            technologies, generating circuit models and developing automatic generation codes for

            mechanical signal processor design, and designing and implementing novel, completely

            monolithic integrated sensors.

                     I am perhaps best recognized as a pioneer of vibrating RF MEMS technology, whose

            research results include (i) the first VHF micromechanical filter and mixer-filter devices; (ii) the

            first medium-scale integrated (MSI) micromechanical signal processing circuits; (iii) the first

            micromechanical power amplifier and converter, (iv) the first ultra-low power MEMS-based

            wireless communication transceivers, (v) the first micromechanical free-free beam and contour-

            mode disk
            mode disk and
                      and ring
                          ring resonators
                               resonators with
                                          with Q's
                                               Q’s exceeding
                                                   exceeding 42,000
                                                             42,000 at
                                                                    at frequencies up to
                                                                       frequencies up to 33 GHz—still
                                                                                            GHz—still the

                            Q’s of
            highest on-chip Q's of any
                                   any room
                                       room temperature
                                            temperature device
                                                        device at
                                                               at this
                                                                  this frequency;
                                                                       frequency; and
                                                                                  and (vi)
                                                                                      (vi) oscillator
                                                                                           oscillator circuits
                                                                                                      circuits

            referenced to wine-glass disk resonator arrays that achieve phase noise performance

            commensurate with smartphone reference oscillator specifications.

                     In 2001, I founded Discera, Inc., a company aimed at commercializing communication

            products based upon MEMS technology, with an initial focus on the very vibrating

            micromechanical resonators pioneered by my research in past years. I served as Vice President

            and Chief Science & Technology Officer of Discera from 2001 to mid-2002. Discera shipped

            more than 1 million MEMS-based oscillators per month up until late 2013, when it was acquired

            by Micrel, itself absorbed by Microchip, who continues to sell these MEMS oscillators to this

            day.

                     In mid-2002, I joined the Microsystems Technology Office (MTO) of the Defense

            Advanced Research Projects Agency (DARPA) in Arlington, Virginia, where I served as a

            Program Manager in MEMS technology. At DARPA, from mid-2002 through 2005, I created

            and managed a diverse set of programs that included MEMS, Micro Power Generation (MPG),


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            Chip-Scale Atomic Clock (CSAC), MEMS Exchange (MX), Harsh Environment Robust

            Micromechanical Technology (HERMIT), Micro Gas Analyzers (MGA), Radio Isotope

            Micropower Sources (RIMS), RF MEMS Improvement (RFMIP), Navigation-Grade Integrated

            Micro Gyroscopes (NGIMG), and Micro Cryogenic Coolers (MCC).

                     I have received numerous awards and recognition for my contributions to MEMS (among

            other things), which are reflected in my curriculum vitae, including the 1938E Award for

            Research and Teaching Excellence from the University of Michigan in 1998, the University of

            Michigan EECS Departmental Achievement Award in 1999, the Ruth and Joel Spira Award for

            Outstanding Teaching
            Outstanding          in 2000,
                        Teaching in 2000, the
                                          the University
                                              University of
                                                         of Michigan's
                                                            Michigan’s 2001
                                                                       2001 Henry
                                                                            Henry Russel
                                                                                  Russel Award,
                                                                                         Award, the
                                                                                                the U.C.
                                                                                                    U.C.

            Berkeley EECS Department EE Outstanding Teaching Award in 2013, the 2006 Cady Award

            from the IEEE UFFC society, and the 2017 IEEE Robert Bosch Micro and Nano Electro

            Mechanical Systems Award.

                     In addition, I am the author of numerous publications, which are reflected in my

            curriculum vitae. My publication accolades include the 2007 IEEE Transactions on Ultrasonics,

            Ferroelectrics, and Frequency Control Best Paper Award, the 2005 IEEE International Solid-

            State Circuits Conference Jack Raper Award for Outstanding Technology Directions, the Best

            Invited Paper Award at the 2004 IEEE Custom Integrated Circuits Conference, the 2004 DARPA

            Tech Best Technical Presentation Award, and together with my students, numerous Best Paper

            Awards at prestigious conferences that include the IEEE International Frequency Control

            Symposium, the IEEE International Microelectromechanical Systems Conference, the IEEE

            International Electron Devices Meeting, and the International Conference on Solid-State Sensors,

            Actuators, and Microsystems (Transducers).

                     I am a Fellow of the IEEE and served as President of the IEEE Ultrasonics,


                                                             5

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            Ferroelectrics, and Frequency Control (UFFC) Society from 2016-2017, its Junior Past-President

            from 2018-2019, and its Senior Past-President from 2020-2021. I presently serve as the President

            of the IEEE MEMS Technical Community, which intends to transition to an IEEE Council in the

            near future.

                     I have over 30 pending and granted U.S. patents in MEMS and related technology, which

            are also reflected in my curriculum vitae.

                                             (“Akoustis”), Pillsbury
                     On behalf of Defendants ("Akoustis"), Pillsbury Winthrop Shaw Pittman LLP has

                                                                                            the ’755
            retained me as an expert witness to analyze claim construction issues involving the      Patent,
                                                                                                '755 Patent,

            and ’786
            and      Patent asserted
                '786 Patent asserted by
                                     by Plaintiff
                                        Plaintiff ("Qorvo")
                                                  (“Qorvo”) in this lawsuit.
                                                            in this lawsuit. II have reviewed the
                                                                                have reviewed the patent
                                                                                                  patent and
                                                                                                         and its
                                                                                                             its

            prosecution history with the goal of determining how one of ordinary skill in the art at the time

            of the claimed invention would have interpreted the terms and phrases that are in dispute in this

            lawsuit. II have
            lawsuit.         also reviewed
                        have also reviewed the
                                           the parties'
                                               parties’ Preliminary Claim Construction and Supporting

            Materials pursuant to LPR 4.3 and the Scheduling Order.

                                                                                                  Akoustis’
                     My opinions expressed in this declaration are for the purpose explaining why Akoustis'

            proposed claim constructions are consistent with how a person of ordinary skill in the art would

            have understood those terms or phrases in the context of the claims, specification, and the

            prosecution file
            prosecution      history of
                        file history of the
                                        the ’755 and ’786
                                            '755 and '786 Patents. I have formulated and provided my

            opinions in reliance upon my technical experience, knowledge, and expertise in RF filter

            technology in general, and RF filter resonators in particular.

                     I am currently being compensated by Akoustis for my work done on this case at a rate of

            $700 per hour. My compensation does not in any way depend on the content of my analysis,

            testimony, report(s), or the outcome of this proceeding.




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            III.     CLAIM CONSTRUCTION IN GENERAL

                     I am not an attorney and will not be addressing legal arguments. I will, however, provide

                                     on whether
            my analysis and opinions on whether the
                                                the parties'
                                                    parties’ proposed
                                                             proposed constructions
                                                                      constructions are
                                                                                    are consistent
                                                                                        consistent with
                                                                                                   with the
                                                                                                        the

            understanding of one skilled in the art from a technical perspective in light of the intrinsic record

            and any extrinsic record detailed herein. My understanding of the meaning of the disputed claim

            terms as understood by a person of ordinary skill in the art at the time the invention was made is

            further based on my understanding of the legal principles of claim construction detailed herein as

            explained by counsel.

                    “It is a bedrock principle of patent law that the claims of a patent define the invention to
                    "It

            which the patentee is entitled the right to exclude.”
                                                        exclude." Phillips v. AWH
                                                                              AWH Corp., 415 F.3d 1303, 1312

                                                                 “[T]he words of a claim are generally given
            (Fed. Cir. 2005) (internal quotation marks omitted). "[T]he

            their ordinary and customary meaning . . . [which is] the meaning that the term would have to a

            person of ordinary skill in the art in question at the time of the invention, i.e., as of the effective

                                      application.” Id. at 1312-13 (internal citations and quotation marks
            filing date of the patent application."

                      “[T]he ordinary meaning of a claim term is its meaning to the ordinary artisan after
            omitted). "[T]he

            reading the entire patent."
                               patent.” Id. at 1321 (internal quotation marks omitted). The patent specification

            “is always highly relevant to the claim construction analysis. Usually, it is dispositive; it is the
            "is

            single best guide to the meaning of a disputed term."
                                                           term.” Vitronics
                                                                  Vitronics Corp. v. Conceptronic, Inc., 90

            F.3d 1576, 1582 (Fed. Cir. 1996).

                           “the claims themselves provide substantial guidance as to the meaning of particular
                     While "the

                  terms,” the context of the surrounding words of the claim also must be considered. Phillips,
            claim terms,"

                                           “[o]ther claims of the patent in question, both asserted and
            415 F.3d at 1314. Furthermore, "[o]ther

            unasserted, can also be valuable sources of enlightenment . . . [b]ecause claim terms are normally


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                                             patent.” Id. (internal citation omitted). It is likewise true that
            used consistently throughout the patent."

            “[d]ifferences among claims can also be a useful guide. . . . For example, the presence of a
            "[d]ifferences

            dependent claim that adds a particular limitation gives rise to a presumption that the limitation in

            question is not present in the independent claim.”
                                                       claim." Id. at 1314-15 (internal citation omitted). The

                              also "reveal
            specification may also “reveal a special definition given to a claim term by the patentee that differs

            from the meaning it would otherwise possess. In such cases, the inventor’s              governs.”
                                                                            inventor's lexicography governs."

            Id. at 1316.

                                                       “the prosecution history can often inform the meaning of
                     In addition to the specification, "the

            the claim language by demonstrating how the inventor understood the invention and whether the

            inventor limited the invention in the course of prosecution, making the claim scope narrower than

                                                                “the district court will need to look beyond the
                               be.” Id. at 1317. In some cases, "the
            it would otherwise be."

            patent’s intrinsic evidence and to consult extrinsic evidence in order to understand, for example,
            patent's

            the background science or the meaning of a term in the relevant art during the relevant time

                                                                                                “[t]he
            period.” Teva Pharm. USA, Inc. v. Sandoz, Inc., 135 S.Ct. 831, 841 (2015). Finally, "[t]he
            period."

            construction that stays true to the claim language and most naturally aligns with the patent's
                                                                                                  patent’s

            description of the invention will be, in the end, the correct construction.”
                                                                          construction." Renishaw PLC v.

                    Societa’ per
            Marposs Societa' per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998).

                     A claim is invalid for indefiniteness if its language, when read in light of the specification

            and the
            and the prosecution
                    prosecution history,
                                history, "fail[s]
                                         “fail[s] to
                                                  to inform,
                                                     inform, with
                                                             with reasonable
                                                                  reasonable certainty,
                                                                             certainty, those
                                                                                        those skilled
                                                                                              skilled in the art
                                                                                                      in the art

            about the
            about the scope
                      scope of
                            of the
                               the invention."
                                   invention.” Nautilus, Inc. v. Biosig Instruments, Inc. (Nautilus II), 572 U.S.

                                              Prior to
            898, 134 S.Ct. 2120, 2124 (2014). Prior to the
                                                       the Supreme Court’s decision in Nautilus II, a claim
                                                           Supreme Court's

            was indefinite
            was            when it
                indefinite when it was
                                   was "insolubly
                                       “insolubly ambiguous"
                                                  ambiguous” or
                                                             or "not
                                                                “not amenable
                                                                     amenable to
                                                                              to construction."
                                                                                 construction.” Biosig

            Instruments, Inc. v. Nautilus, Inc., 783 F.3d 1374, 1378 (Fed. Cir. 2015). In Nautilus II, the


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            Supreme Court observed that §112, ¶2 (now §112(b)) requires “a delicate
                                                               requires "a delicate balance."
                                                                                    balance.” 134
                                                                                              134 S.Ct. at
                                                                                                  S.Ct. at

            2128. The Court explained that a patent must be precise enough to afford clear notice of what is

            claimed, thereby
            claimed, thereby "appris[ing]
                             “appris[ing] the
                                          the public
                                              public of
                                                     of what
                                                        what is
                                                             is still
                                                                still open
                                                                      open to
                                                                           to them.
                                                                              them. Otherwise, there would be a

            zone of uncertainty which enterprise and experimentation may enter only at the risk of

            infringement claims."
            infringement claims.” Id. at 2129 (internal quotation marks and citations omitted); Chef
                                                                                                Chef America,

                                                                            (“This court, however, repeatedly
            Inc. v. Lamb-Weston, Inc., 358 F.3d 1371, 1374 (Fed. Cir. 2004) ("This

            and consistently has recognized that courts may not redraft claims, whether to make them operable

                                validity.”).
            or to sustain their validity.").

            IV.      LEVEL OF ORDINARY SKILL IN THE ART

                     The
                     The ’755 and ’786
                         '755 and '786 Patents concern BAW resonators as used in certain RF filters. Based

            on the complexity of the technology, one of ordinary skill in the art during the time period in

            question would have had an undergraduate degree in electrical engineering with two to four

            years of
            years of experience
                     experience in
                                in the
                                   the technical
                                       technical field, or aa master's
                                                 field, or    master’s degree
                                                                       degree in electrical engineering with one

            to two years of experience in the field; or an equivalent combination of education and

            experience. I base this on my experience working with those skilled in the art in the relevant

            technology, my years of experience teaching those subjects, and curriculum development and

            administration during my teaching career.

            V.       THE '755
                     THE ’755 PATENT

                     A.      Background

                     The
                     The ’755 Patent, entitled
                         '755 Patent, entitled "BAW
                                               “BAW resonator having lateral energy confinement and

                                   thereof,” relates
            methods of fabrication thereof,"         to embodiments
                                             relates to embodiments of a Bulk Acoustic Wave (BAW)

            resonator in which an outer region of the BAW resonator is engineered such that lateral leakage

            of mechanical energy from an active region of the BAW resonator is reduced or otherwise not

            excited. In some embodiments, a BAW resonator includes a piezoelectric layer, a first electrode
                                                        9

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            on a first surface of the piezoelectric layer, a second electrode on a second surface of the

            piezoelectric layer opposite the first electrode, and a passivation layer on a surface of the second

            electrode opposite the piezoelectric layer, the passivation layer having a thickness (TPA).
                                                                                                 (TPA). The

            BAW resonator also includes a material on the second surface of the piezoelectric layer adjacent

            to the second electrode in an outer region of the BAW resonator. The additional material has a

            thickness that is n times the thickness (T PA) of the passivation layer, where n is greater or less
                                                    (TPA)

            than 1.

                      Mechanical and acoustic resonators (FBARs and SMRs are BAW resonators) are used in

            circuit design to harness the equivalent electrical circuit they provide, which commonly

            manifests around an LCR circuit that derives from the motional current induced through the

            device by inputs across its electrodes (e.g., voltage inputs). An LCR circuit, sometimes

            interchangeably referred to as an RLC circuit, is a resonant circuit, which can be characterized in

            terms of its inductance (L), capacitance (C) and resistance (R). Such circuits are commonly used

            in applications such as filters for use in radio frequency (RF) communications.

                      The motional current is the current generated by motion of the mechanical resonator that

            flows from one electrode to the other. A circuit designer who designs filters, oscillators, or other

            applications using such resonators recognizes that the motional inductance Lx,
                                                                                       Lx, motional

                        Cx,
            capacitance C x, and motional resistance Rx
                                                     Rx govern important parameters impacting the design of

            the resonator, such as the center frequency (fo= 1/(2𝜋√𝐿𝑥,C,c)),
                                                        (f0= 1/(2n-   𝐶𝑥 )), the quality factor (Q =fo/(3dB-
                                                                                                     f0/(3dB-

                                                                                                      2
                                                     (= f0/Q), and the electromechanical coupling (k
            down bandwidth)), the 3dB-down bandwidth (=fo/Q),                                        t ~
                                                                                                  (1Q2  —

            C x/Co), where C
            Cx/C0),        Coo is the static electrode overlap capacitance. Because the motional current

            ultimately flows from one electrode to the other, the regions of the electrodes that generate

            motional current by inducing motion of the mechanical resonator define the active area of the


                                                              10

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            device.

                      B.      “Active Region"
                              "Active Region” and
                                              and "Outer
                                                  “Outer Region"
                                                         Region” [all
                                                                 [all asserted claims]
                                                                      asserted claims]

                  Akoustis's preliminary construction
                  Akoustis’s preliminary                              Qorvo’s preliminary
                                                                      Qorvo's preliminary construction

              Active region: That region of the device          Plain and ordinary meaning (POM). If a
              where motional current density is generated       construction is necessary,
              through the piezoelectric layer.                  “active region"
                                                                "active region” is  the region
                                                                                 is the region of
                                                                                               of the
                                                                                                  the BAW
                                                                                                      BAW
                                                                resonator that is electrically driven to provide
              Outer region: defined as that region outside      the resonator functionality
              the active region.
                                                                “outer region”
                                                                "outer          is the
                                                                       region" is  the region of the BAW
                                                                resonator that is not electrically driven.


                               offers the
                      Akoustis offers the proposed
                                          proposed construction of "active
                                                   construction of “active region” as "that
                                                                           region" as “that region of the device

                                                                                    layer." II agree
            where a motional current density is generated through the piezoelectric layer.”    agree with
                                                                                                     with

            Akoustis’ construction of
            Akoustis'              of "active
                                      “active region"
                                              region” as the plain and ordinary meaning as understood by

            one of ordinary skill in the art at the time of the invention in view of the intrinsic evidence for the

            reasons described above relating to motional current of an acoustic resonator. In this regard, as

            noted above, the skilled artisan designing a resonator is interested in what the effect of that

            resonator will
            resonator will be
                           be on
                              on an
                                 an input
                                    input signal,
                                          signal, which
                                                  which is determined by
                                                        is determined by the
                                                                         the resonator's
                                                                             resonator’s equivalent circuit,
                                                                                         equivalent circuit,

            generally based on an LCR and associated elements to model things like multiple ports (where

            transformers are often used) or parasitic paths and losses (where extra branches with resistors

            and capacitors might be used). Thus, the key concern is that part of the device that generates

            motional current density through the piezoelectric layer. II disagree
                                                                         disagree with
                                                                                  with Qorvo's
                                                                                       Qorvo’s suggested
                                                                                               suggested plain
                                                                                                         plain

                                    “active region"
            and ordinary meaning of "active region” as the region of the BAW resonator that is electrically

                                                                                              “to provide the
            driven to provide the resonator functionality or active region. First, the phrase "to

                      functionality” is vague, as functionality could mean many things, such as generating
            resonator functionality"

            motional current or presenting a specific impedance or realizing a specific equivalent circuit, or


                                                              11

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            all of these combined. Second, while the ’755
                                                     '755 specification uses the same language electrically

                                                                  the term
            driven language to describe the active region (1:55), the term "electrically
                                                                           “electrically driven” is not
                                                                                         driven" is not aa well-

            defined term in the art as it could mean many things and could lead to an erroneous

                                                                “Electrically driven”
            understanding of the scope of the claim limitation. "Electrically         does not
                                                                              driven" does not describe
                                                                                               describe to
                                                                                                        to

            what degree any particular voltage is applied, nor to any specific effect of such voltage. For

            example, electrically driven could mean the piezoelectric is driven to vibration; or that a non-

            motional current is driven to flow through the capacitance between two conductive plates; or that

            a suspended piezoelectric layer (as in an FBAR) is driven into a flexural mode (which is not the

            mode of interest). The main problem with a definition that just focuses on the drive input is that

            it is not enough to identify the active device. One can drive anything, including things that are

            not the device, so specifying the drive only does not specify the active device. Rather, one must

            specify the result of driving (i.e., the output, in this case the motional current, which together

            with the input voltage in turn specifies the equivalent circuit) to isolate the actual device.

                     The words "electrically
                     The words “electrically driven"
                                             driven” do
                                                     do not
                                                        not specify
                                                            specify the
                                                                    the result of the
                                                                        result of the driving that identifies
                                                                                      driving that identifies the
                                                                                                              the

            ultimate function of the device. Instead, to be more precise, I believe the construction offered by

                                     defines an
            Akoustis more accurately defines an "active
                                                “active region"
                                                        region” as
                                                                as the
                                                                   the "region
                                                                       “region …where
                                                                               ...where aa motional current

            density is generated"
                       generated” through the piezoelectric layer as described above and as further supported

                         evidence.1 II also
            by extrinsic evidence.1    also consider
                                            consider Qorvo's
                                                     Qorvo’s proposed
                                                             proposed construction
                                                                      construction to
                                                                                   to be
                                                                                      be indefinite
                                                                                         indefinite because,
                                                                                                    because,

            as described above, it fails to inform, with reasonable certainty, those skilled in the art about the

            scope of the invention.

                             1.      Extrinsic
                                     Extrinsic Evidence Supporting Akoustis'
                                               Evidence Supporting Akoustis’ Construction
                                                                             Construction



            1
                                                 Akoustis’ proposed
            1 For the same reasons, I agree with Akoustis' proposed construction
                                                                    construction of
                                                                                 of "outer
                                                                                    “outer region"
                                                                                           region” over
            Qorvo’s construction
            Qorvo's construction that
                                 that also
                                      also includes
                                           includes the
                                                    the "electrically
                                                        “electrically driven"
                                                                      driven” proposed construction.
                                                            12

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                                   extrinsic evidence
                     The following extrinsic          further supports
                                             evidence further supports Akoustis'
                                                                       Akoustis’ proposed
                                                                                 proposed plain and ordinary

                    of "active
            meaning of “active region"
                               region” as
                                       as used
                                          used in
                                               in the
                                                  the ’755
                                                      '755 claims:
                                                           claims:

                     R. A. Johnson, Mechanical Filters in Electronics. New York: John Wiley & Sons, 1983.

                    •                                                                      kt2 (which the text
                         pg. 29: Equation (2.10) provides an explicit relationship between Ict2
                                    2
                               kem2)) and the motional inductance Li
                         calls Ice.                               L1 and static inductance Lo
                                                                                           Lo for a
                         magnetostrictively transduced resonator, showing how motional quantities (in this
                         case motional voltage) universally determine the motional equivalent circuit of a
                         mechanical or acoustic resonator, whether the transducer is piezoelectric,
                         magnetostrictive, capacitive, etc. …
                                                            ...

                    •   pg. 30: Equation (2.12) provides an explicit relationship between Ict2kt2 (which the text
                                    2
                               kem2)
                         calls Ice.   ) and the motional capacitance C
                                                                     Ci1 and electrode overlap capacitance CCoo for a
                         piezoelectrically transduced resonator. Here, Robert Johnson uses the mobility
                         analogy, which is the dual of the current analogy (that others use, including myself),
                         where the ratio of C    1/Co is inverted.
                                                Ci/C0

                   R. J.
                   R.    Besson, "A
                      J. Besson, “A new
                                     new electrodeless  resonator design,"
                                          electrodeless resonator design,” Proceedings,
                                                                           Proceedings, 31st
                                                                                        31st Annual
                                                                                             Annual Symp.
                                                                                                    Symp.
            on Freq. Control, Atlantic City, New Jersey, June 1-3, 1977, pp. 147-152.

                    •   pp. 148:
                         pp. 148: "The
                                   “The active
                                         active part
                                                part of
                                                     of the
                                                        the crystal
                                                            crystal is connected to
                                                                    is connected to the
                                                                                    the dormant
                                                                                        dormant part
                                                                                                  part by
                                                                                                       by little
                                                                                                          little
                         quartz "bridges"
                         quartz  “bridges” …”
                                            ..." indicates the region that is considered active is different from
                         the regions considered dormant, even though the electrode also goes over the dormant
                         parts. The regions are different because the structure in the active region is able to
                         vibrate at the desired resonance frequency, and thus generate motional current that
                         supports the desired equivalent circuit; whereas that in the dormant region does not
                         vibrate at this frequency, so does not provide the desired motional current nor the
                         desired equivalent circuit. This even though voltages applied by the metal (i.e.,
                         electrode) in the dormant region can drive that region, just not with the desired
                         output. This is an example where the output, i.e., motional current in a small specific
                         frequency range, is imperative to identifying the active device (region).

                    •   pp. 150-151: Fig. 2 and Fig. 3 depict a quartz resonator in which the transducer
                         electrodes D1 and D2 do not touch the quartz, yet still define the region where the
                         motional current
                         motional          of interest
                                   current of interest is generated and
                                                       is generated and therefore
                                                                         therefore the
                                                                                   the active
                                                                                       active "part"
                                                                                              “part” or
                                                                                                     or "region".
                                                                                                        “region”.
                         Note that regions where the metal touches the quartz (which is a piezoelectric
                         material) on the outer skirts of the structure beyond the bridges are not considered the
                         active region because they do not move at the frequency of the intended resonator, so
                         do not produce motional current at the intended frequency, i.e., do not produce the
                         intended equivalent circuit. Because the quartz is much thinner there, these regions
                         would produce motional current at a very different (larger) frequency that would be
                         out of the bandwidth of the intended resonator.



                                                               13

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                                                    “Capacitive-piezoelectric transducers for high-Q
                  L.-W. Hung and C. T.-C. Nguyen, "Capacitive-piezoelectric
            micromechanical MN
            micromechanical  AlN resonators,"
                                 resonators,” IEEE/ASME
                                              IEEE/ASME J.  Microelectromech. Syst.,
                                                         J. Microelectromech.           vol. 24,
                                                                                 Syst., vol. 24, no.
                                                                                                 no. 2,
                                                                                                     2, pp.
                                                                                                        pp.
            458-473, April 2015.

                    •   Pg. 459, col. 1: Fig. 1 provides another micro-scale example of how it is motional
                         current that defines the active region, not the just the electrical drive voltage and its
                         placements. Here, the piezoelectric structure is ring-shaped with a left-side electrode
                         and a right-side electrode. In the figure, the left-side electrode receives the excitation
                         voltage, while the right side merely sources the output motional current. Motional
                         current also flows between the electrodes on the left side. The main point here is that
                         the right side is also considered part of the active device—in this case a two-port
                         device—yet it receives no electrical drive voltage. Clearly, it is the motional current
                         or the response of the device that most correctly defines the device. i.e., a drive
                         voltage or force is not even needed to call an area an active region and whether the
                         electrode even touches the piezoelectric or not is immaterial. This figure further
                         shows how proximity of the drive electrode does not matter much. Specifically, Fig.
                         1(a) shows how one can make a device where the electrode touches the piezoelectric
                         layer, but one can also make a useful (and superior from a Q perspective) device by
                         lifting the electrodes so they do not touch the piezoelectric layer, as done in Fig. 1(b).
                         Here, if the gaps between the electrodes and piezoelectric layer are small enough, the
                         electric fields in the piezoelectric layer can still be strong enough to induce
                         substantial motion and substantial motional current induced by the reverse-
                         piezoelectric effect. The motional current across the electrodes defines the equivalent
                         motional LCR circuit in Fig. 2 on pg. 461 for the device, and thus, defines its
                         performance and utility in an actual filter, oscillator, etc., circuit. (Note how when I
                         write "LCR
                         write  “LCR circuit”
                                       circuit" II do
                                                   do not
                                                      not mean
                                                          mean just
                                                               just the
                                                                    the L, C, and R, but rather include all other
                         elements in the Fig. 2 circuit.) In both devices, the overlapping top and bottom
                         electrode regions close enough to, but not necessarily touching, the device generate
                         enough motional current to define the LCR circuit, and thus, to define the active
                         device regions.

                    •   pg. 463,
                         pg. 463, col.  2: Fig.
                                   col. 2: Fig. 6
                                                6 shows
                                                  shows the
                                                          the use
                                                              use of
                                                                  of the
                                                                     the "m"
                                                                         “m” subscript
                                                                             subscript to
                                                                                       to emphasize  that the
                                                                                          emphasize that  the
                         elements in
                         elements   in the
                                       the circuit
                                           circuit (that
                                                   (that govern
                                                         govern resonator  performance) are
                                                                 resonator performance)   are "motional",
                                                                                              “motional”, meaning
                                                                                                          meaning
                         they derive from electrical current that in turn derives from the motion of the
                         resonator. This emphasizes how it is the motional current that defines the active
                         region. Note that this motional current and the motional elements in the equivalent
                         circuit all derive from motion of the resonant structure. In fact, electrical current and
                         mechanical velocity are often interchangeable in these electromechanical equivalent
                         circuits. However, from a practical perspective for a designer skilled in the art, it is
                         the motional current that is the important and useful output. In many cases, it is the
                         relationship between the motional current and the input (voltage) that is important, as
                         this is ultimately what defines an equivalent circuit.

                   G. Piazza,
                   G. Piazza, P.J.
                              P.J. Stephanou,  and A.
                                   Stephanou, and  A. P.
                                                      P. Pisano,
                                                         Pisano, "Piezoelectric
                                                                 “Piezoelectric aluminum
                                                                                aluminum nitride
                                                                                           nitride vibrating
                                                                                                   vibrating
                          MEMS resonators,"
            contour-mode MEMS      resonators,” IEEE/ASME
                                                IEEE/ASME J.    Microelectromech. Syst.,
                                                             J. Microelectromech.         vol. 15,
                                                                                   Syst., vol. 15, no.
                                                                                                   no. 6, pp.
                                                                                                       6, pp.
            1406-1418, Dec. 2006.

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                    •    pg. 1407, col. 2: Equation (7) and the associated text provides another example of the
                          use of
                          use of "m"
                                 “m” for  “motional” in
                                      for "motional" in the
                                                        the equivalent
                                                            equivalent Butterworth
                                                                       Butterworth Van
                                                                                     Van Dyke
                                                                                          Dyke circuit
                                                                                                circuit for
                                                                                                        for aa
                          piezoelectric resonator, which in turn equates the active region of the device to that
                          which generates the motional current, in this case for a lateral MN
                                                                                           AlN resonator (which
                          operates like an FBAR, but the piezoelectric moves laterally). This further attests to
                          how universal is the concept of the motional current governing the equivalent circuit
                          and therefore the active portion of the device.

                                                              Nguyen, "A
                    M. Akgul, L. Wu, Z. Ren, and C. T.-C. Nguyen,       “A negative-capacitance
                                                                           negative-capacitance equivalent
                                                                         micromechanical resonators,"
            circuit model for parallel-plate capacitive-gap-transduced micromechanical    resonators,” IEEE
                                                                                                       IEEE
            Trans. Ultrason., Ferroelect., Freq. Contr., vo. 61, no. 5, pp.849-869, May 2014.

                    •    pg. 850, col. 2: Fig. 2 and 3 together show yet again how the motional current defines
                          the active regions of a mechanical resonator device by governing the equivalent LCR
                          circuit and
                          circuit and encouraging   the use
                                      encouraging the   use of
                                                            of "x"
                                                               “x” subscripts
                                                                    subscripts for
                                                                               for the
                                                                                   the elements. Here, "x"
                                                                                       elements. Here, “x” is
                                                                                                           is aa
                          commonly used variable for displacement (i.e., motion) and further emphasizes how
                          the motional current governs the active region of the device, in this case for a
                          capacitively transduced resonator. The fact that this concept is also used for
                          capacitively transduced (or electrostatically transduced) resonators further attests the
                          universality of this definition for the active region, as governed by the LCR equivalent
                          circuit.

                     U. S. Patent US 2014/0159548

                    •    Sheet 2, Fig. 1B: Here, the active region includes the regions where layer 145 (which
                          can be a dielectric) sits between the piezoelectric and the top electrode, attesting to
                          the fact that the electrode metal need not touch the piezoelectric to be included in the
                          active region. Rather, as long as motional current flows through that region from the
                          top to the bottom electrode, this is part of the active region.

                     C.      “[A] density
                             "[A]         of mechanical
                                  density of mechanical energy
                                                        energy in the outer
                                                               in the outer region”
                                                                            region" [claims 1, 11]

                  Akoustis’s preliminary
                  Akoustis's preliminary construction
                                         construction                  Qorvo’s preliminary
                                                                       Qorvo's preliminary construction
                                                                                           construction

                   “density of mechanical energy"
              The "density                  energy” means a                                 “density of
                                                                 POM. If a construction for "density of
              total density over the full volume of the outer    mechanical energy”
                                                                 mechanical          is needed,
                                                                            energy" is  needed, it
                                                                                                it means
                                                                                                   means the
              region, or otherwise indefinite.                   amount of mechanical energy from acoustic
                                                                 waves leaked from the active region.

                                                        “a density
                     Akoustis’ proposed construction of "a
                     Akoustis'                             density of
                                                                   of mechanical
                                                                      mechanical energy
                                                                                 energy in the outer
                                                                                        in the outer region"
                                                                                                     region”

               “the density of mechanical energy means a total density over the full volume of the outer
            is "the

            region, or
            region, or otherwise
                       otherwise indefinite.”
                                 indefinite." I agree with that proposed construction as the plain and


                                                                15

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            ordinary meaning as understood by one of ordinary skill in the art for the reasons that follow.

            What a person skilled in the art is mainly concerned about is how much total energy is lost to the

            surroundings of the device. For a miniature device like a BAW or micromechanical resonator,

            the surrounding is generally the substrate on which the device is fabricated. Energy lost to the

            substrate—which can be waves going into the substrate that experience dissipation in the

            substrate (or its mounts, adhesives, etc.)—that does not return to the resonator is energy lost, so

            lowers the quality factor Q, a very important filter or oscillator design parameter. What matters is

            the total energy lost to all of the surroundings, i.e., strain energy dissipation in a large area

            around the resonator, not just some small region(s).

                                                                                              “density of
                     The Akoustis construction is necessary because the patent claim language "density of

            mechanical energy
            mechanical energy in
                              in the
                                 the outer
                                     outer region"
                                           region” opens
                                                   opens too
                                                         too wide
                                                             wide aa possibility
                                                                     possibility of
                                                                                 of regions
                                                                                    regions where
                                                                                            where density
                                                                                                  density can
                                                                                                          can

            be determined. For example, in a typical scenario, there could be a small region outside the

            device active region where the energy density is higher than when n=1 and at the same time

            another small region where the energy density is lower than when n=1. The fact that there is a

            region where the energy density is lower does not necessarily mean the total energy lost is lower.

            In other words, it is possible that even where total energy in the outer region has increased, there

            can be a particular point where there is a reduction in energy density. Only the total energy over

            the full volume can provide useful information regarding the effectiveness of any structure

            intended to reduce energy losses from the active device. A more accurate measure of the total

            energy lost that removes some of the ambiguity of location and region and still captures the use

            of energy density in the claim is to get the energy density (or average energy density) over the

            entire outer region, which is the Akoustis construction. Because limiting the region to the outer

            region of the device still does not quite capture all the energy lost, a yet more accurate and useful


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            measure would be the energy density in the entire region outside the active region (not just the

                                                        the patent
            outer region of the device). Unfortunately, the patent claim
                                                                   claim limits the region
                                                                         limits the region to
                                                                                           to the
                                                                                              the "outer
                                                                                                  “outer region

            of the
            of the BAW
                   BAW resonator”,
                       resonator", which is not entirely definite in my opinion, so flawed. One could argue

            that this claim should never have been allowed.

                     Qorvo’s proposed
                     Qorvo's proposed construction
                                      construction as
                                                   as "the
                                                      “the amount of mechanical energy from acoustic waves

            leaked from the active region" uses the
                                   region” uses the term
                                                    term "leaked",
                                                         “leaked”, which
                                                                   which does
                                                                         does not
                                                                              not necessarily
                                                                                  necessarily mean
                                                                                              mean the
                                                                                                   the same
                                                                                                       same

            as "lost".
            as “lost”. A
                       A "leaked"
                         “leaked” amount
                                  amount of
                                         of energy
                                            energy can
                                                   can be
                                                       be reflected
                                                          reflected and
                                                                    and returned to the
                                                                        returned to the active
                                                                                        active region,
                                                                                               region, in
                                                                                                       in

            which case
            which case it is not
                       it is not "lost".
                                 “lost”. What
                                         What is
                                              is important here is
                                                 important here is what
                                                                   what energy
                                                                        energy is
                                                                               is lost. Because it does not use

            the words
            the words "total
                      “total amount",
                             amount”, it
                                      it also
                                         also leaves open the flawed notion that the amount of energy can be

            measured at any finite point in space or in time, and not as it relates to the total energy over the

            full volume of the outer region. In this regard, an amount leaked could refer to an amount of

                                   point in
            energy at a particular point in space,
                                            space, or
                                                   or at
                                                      at aa particular
                                                            particular point
                                                                       point in
                                                                             in time.
                                                                                time. Furthermore,
                                                                                      Furthermore, Qorvo's
                                                                                                   Qorvo’s

            proposal leaves
            proposal        out entirely
                     leaves out entirely the
                                         the concept
                                             concept of
                                                     of "energy
                                                        “energy density,"
                                                                density,” instead
                                                                          instead referring to an
                                                                                  referring to an amount of

                                                                                                 an object's
            energy. An energy density is defined as an amount of energy per unit volume, just as an object’s

            density is its mass per unit volume. That is, energy density requires a defined volume over

            which the
            which the "amount"
                      “amount” of
                               of energy
                                  energy is
                                         is measured,
                                            measured, and
                                                      and any
                                                          any amount
                                                              amount without
                                                                     without an
                                                                             an associated
                                                                                associated volume
                                                                                           volume

            cannot be
            cannot be an
                      an "energy
                         “energy density."
                                 density.” I believe such a construction would be fundamentally flawed for

            the above reasons and incorrect (or not true to the original claim) in the sense that it does not

            capture the concept of density.

                             1.      Extrinsic
                                     Extrinsic Evidence Supporting Akoustis'
                                               Evidence Supporting Akoustis’ Construction
                                                                             Construction

                                                              supports Akoustis'
                     The following extrinsic evidence further supports Akoustis’ proposed
                                                                                 proposed plain
                                                                                          plain and
                                                                                                and ordinary
                                                                                                    ordinary

            meaning of
            meaning of "density
                       “density of mechanical energy” as used
                                              energy" as used in the ’755
                                                              in the '755 claims:
                                                                          claims:

                  Bindel, D. S., Quevy, E., Koyama, Govindjee, S., Demmel, J. W., and R. T. Howe,
            “Anchor loss
            "Anchor loss simulation
                         simulation in
                                    in resonators,"
                                       resonators,” Tech. Digest, 18th
                                                    Tech. Digest, 18th IEEE Int. Conf. on Micro Electro
            Mechanical Systems, Jan. 30 —– Feb. 3, 2005, pp. 133-136.
                                                           17

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                    •    pg. 134,
                          pg. 134, col. 2: "The
                                   col. 2: “The bending
                                                 bending motion
                                                          motion of
                                                                 of the
                                                                    the mode
                                                                         mode along
                                                                               along with
                                                                                     with the
                                                                                            the Poisson
                                                                                                Poisson effect
                                                                                                         effect
                          induces a vertical motion in the stem which pumps displacement waves into the
                                     where they
                          substrate, where  they carry
                                                 carry away
                                                        away the
                                                             the energy
                                                                 energy of
                                                                         of the
                                                                            the resonance."
                                                                                resonance.” This   passage (as
                                                                                              This passage  (as well
                                                                                                                well
                          as the whole paper) clearly indicates that it is energy lost to the substrate that matters.
                          Their use of a perfectly matched layer (PML) in simulation to capture all energy lost
                          from the resonator into the substrate and surroundings indicates that it is all the
                          energy lost to the infinite surroundings that matters to one skilled in the art.


                                                     Nguyen, "VHF
                   K. Wang, A.-C. Wong, and C. T.-C. Nguyen, “VHF free-free
                                                                   free-free beam high-Q
                            resonators,” IEEEMSME
            micromechanical resonators," IEEE/ASME J. Microelectromech. Syst., vol. 9, no. 3, pp. 347-360,
            Sept. 2000.

                    •    pg. 1,
                          pg. 1, abstract:
                                 abstract: "The
                                           “The microresonators
                                                 microresonators feature
                                                                 feature torsional-mode
                                                                         torsional-mode support springs that
                          effectively isolate the resonator beam from its anchors via quarter-wavelength
                          impedance transformations, minimizing anchor dissipation and allowing these
                                                         with high
                          resonators to achieve high-Q with   high stiffness
                                                                   stiffness in
                                                                             in the
                                                                                the VHF
                                                                                    VHF frequency   range.” This
                                                                                        frequency range."    This
                          paper describes quarter-wavelength resonator support design methods to suppress
                          anchor loss, which is loss to the substrate. Again, what matters is loss to the infinite
                          surroundings around the resonator, not just some small region.

                                              Nguyen, "Higher-mode
                   M. U. Demirci and C. T.-C. Nguyen,   “Higher-mode free-free beam micromechanical
            resonators,” Proceedings, 2003 IEEE Int. Frequency Control Symposium, Tampa, Florida, May
            resonators,"
            5-8, 2003, pp. 810-818.

                    •    pg. 816,
                          pg. 816, col. 1: "The
                                   col. 1: “The observance
                                                 observance of slightly higher Q in the second mode design than
                          the fundamental seems to be tied to the use of fewer support beams in the former,
                          which suggests that vibrational energy losses to the substrate can be minimized by
                                                                                         paths.” This provides
                          using fewer supports, hence, providing fewer energy-loss paths."
                          additional evidence that it is loss to the substate or to the infinite surroundings that
                          matters. All the strain energy losses are generally integrated over a much larger
                          region surrounding a resonator to determine its Q.

                     D.      “[A]re not
                             "[A]re     excited” [claims 3, 9, 10, 12]
                                    not excited"

                  Akoustis’s preliminary
                  Akoustis's preliminary construction
                                         construction                   Qorvo’s preliminary
                                                                        Qorvo's preliminary construction
                                                                                            construction

              “[A]re not
              "[A]re  not excited"
                          excited” means
                                    means that
                                           that the
                                                the                                            “are not
                                                                   POM. If a construction for "are  not excited”
                                                                                                        excited" is
                                                                                                                 is
              wavelengths do not exist in the whole volume         needed, it
                                                                   needed,     means "are
                                                                            it means “are not
                                                                                          not substantively
              of the active region, or otherwise indefinite.       created”
                                                                   created"


                              offers the
                     Akoustis offers the proposed
                                         proposed construction of "are
                                                  construction of “are not
                                                                       not excited"
                                                                           excited” as
                                                                                    as "the
                                                                                       “the wavelengths do not

                                                    region.” II agree
            exist in the whole volume of the active region."    agree with
                                                                      with that
                                                                           that proposed
                                                                                proposed construction
                                                                                         construction as
                                                                                                      as the
                                                                                                         the

                                                                18

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            plain and ordinary meaning as understood by one of ordinary skill in the art for the reasons that

            follow. In relevant technical literature, when something
                                          literature, when something is “not excited",
                                                                     is "not excited”, it
                                                                                       it is
                                                                                          is non-existent,
                                                                                             non-existent, as

                       something that
            opposed to something that is “reduced”, which
                                      is "reduced", which one
                                                          one skilled
                                                              skilled in the art
                                                                      in the art interprets as "reduced
                                                                                 interprets as “reduced but
                                                                                                        but

                           completely.” (See ’755
            not eliminated completely."           Patent, 2:33,
                                             '755 Patent, 2:33, 51,
                                                                51, 54; 3:65; 4:1,
                                                                    54; 3:65; 4:1, 5:8,
                                                                                   5:8, 23,
                                                                                        23, 25;
                                                                                            25; 6:33;
                                                                                                6:33; 7:8, 16,
                                                                                                      7:8, 16,

                                                                                      like "not
            50; 9:49, 11:36). When used in the literature, absolute terms and phrases like “not excited"
                                                                                                excited” are
                                                                                                         are

            interpreted as such. One example is the Pauli exclusion principle, which Physics LibreTexts

            quotes as
            quotes as "The
                      “The Pauli
                           Pauli exclusion principle says
                                 exclusion principle says that
                                                          that no
                                                               no two
                                                                  two electrons can have
                                                                      electrons can have the
                                                                                         the same
                                                                                             same set
                                                                                                  set of
                                                                                                      of

            quantum numbers; that is, no two electrons can be in the same state. This exclusion limits the

            number of
            number of electrons
                      electrons in
                                in atomic
                                   atomic shells
                                          shells and subshells.”2
                                                 and subshells."2

                     Here, "not
                     Here, “not excited"
                                excited” is
                                         is interpreted as absolute.
                                            interpreted as absolute. It does not
                                                                     It does not mean
                                                                                 mean "a
                                                                                      “a little bit” or
                                                                                         little bit" or "tiny"
                                                                                                        “tiny” or
                                                                                                               or

            “a reduced
            "a         amount”, or
               reduced amount", or "suppressed"
                                   “suppressed” but rather "none
                                                           “none at all."
                                                                    all.” This is why I cannot agree with

            Qorvo’s proposed
            Qorvo's proposed construction
                             construction of
                                          of "not
                                             “not excited"
                                                  excited” as
                                                           as meaning
                                                              meaning "are
                                                                      “are not
                                                                           not substantively
                                                                               substantively created."
                                                                                             created.” That
                                                                                                       That

                                                plain meaning
            definition is inconsistent with the plain meaning of
                                                              of "not
                                                                 “not excited” and would
                                                                      excited" and would be
                                                                                         be viewed
                                                                                            viewed as
                                                                                                   as

                                            to the
            ambiguously indefinite compared to the term
                                                   term "reduced"
                                                        “reduced” used
                                                                  used throughout
                                                                       throughout the
                                                                                  the ’755 Patent
                                                                                      '755 Patent

            specification. If the inventors intended to mean suppressed or greatly reduced, those are the

            appropriate terms
            appropriate terms to
                              to express
                                 express as
                                         as much
                                            much in
                                                 in the
                                                    the context
                                                        context of
                                                                of this
                                                                   this invention. Qorvo’s notion
                                                                        invention. Qorvo's notion that
                                                                                                  that "not
                                                                                                       “not

            excited” means
            excited" means not
                           not "substantially"
                               “substantially” excited
                                               excited is adding an
                                                       is adding an adjective
                                                                    adjective not
                                                                              not present
                                                                                  present and
                                                                                          and not
                                                                                              not clear or
                                                                                                  clear or

            evident to a person of ordinary skill in the art absent some supporting intrinsic evidence that the

            inventors were acting as their own lexicographer. I do not see any such support in the

                                   ‘’755, Patent,
            specification (compare "755,  Patent, 2:61, 5:15, 7:5) or the prosecution history. Nor can I glean



            2
            2 Pauli Exclusion Principle - Chemistry LibreTexts -
            ttps://chem.libretexts.org/Bookshelves/Physical_and_Theoretical_Chemistry_Textbook_Maps/S
            upplemental_Modules_(Physical_and_Theoretical_Chemistry)/Electronic_Structure_of_Atoms_
            upplemental_Modules_(Physical_and_Theoretical_Chemistry)/Electronic_Structure_of    Atoms_
            and_Molecules/Electronic_Configurations/Pauli_Exclusion_Principle (reviewed July 11, 2022).
                                                           19

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            from the specification what level of presence of such wavelengths would correspond to a

            substantial amount vs. an insubstantial amount, while it is straightforward to discern the

            difference between present and not present. II also
                                                           also consider Qorvo’s proposed
                                                                consider Qorvo's proposed construction to be
                                                                                          construction to be

            indefinite because, as described above, it fails to inform, with reasonable certainty, those skilled

            in the art about the scope of the invention.

                     I also disagree with any notion that the inability to ever achieve a total absence of the

            wavelengths in
            wavelengths in the
                           the whole
                               whole volume
                                     volume of
                                            of the
                                               the active
                                                   active region justifies Qorvo's
                                                          region justifies Qorvo’s proposed
                                                                                   proposed construction.
                                                                                            construction.

            The fact that the inventors used the term throughout the specification absent any suggestion of a

                                                                                                      “not
            more scientifically realistic meaning does not change the plain and ordinary meaning that "not

            existing” means not at all.
            existing"

                             1.      Extrinsic
                                     Extrinsic Evidence Supporting Akoustis'
                                               Evidence Supporting Akoustis’ Construction
                                                                             Construction

                     The scientific literature is also filled with less absolute descriptions of things, where

            words like
            words      “reduced” or
                  like "reduced" or "suppress"
                                    “suppress” might
                                               might be
                                                     be used.
                                                        used. By way of example only, I offer the

            following:

                                                        Nguyen, "RF
                    M. Akgul, A. Ozgurluk, and C. T.-C. Nguyen,  “RF channel-select
                                                                      channel-select micromechanical disk
            filters—part II: demonstration,” IEEE Trans. Ultrason., Ferroelect., Freq. Contr., vol. 66, no. 1,
                         II: demonstration,"
            pp.218-235, Jan. 2019, DOI: 10.1109/TUFFC.2018.2883296.

                    •                      “Suppression of
                         Pg. 232, col.1-2: "Suppression    of spurious
                                                              spurious modes
                                                                       modes often
                                                                                often requires
                                                                                      requires creative
                                                                                                creative solutions
                                                                                                         solutions
                         that are not easily designable and that often result in unique geometries, e.g., the
                         polygons of FBAR filter design [22]. Interestingly, the micromechanical filter design
                         herein suffers much less from these issues, as shown in Fig. 21, which presents the
                         terminated spectrum for the filter in Fig. 14 over a 100-MHz wide span, showing no
                         strong spurious
                         strong  spurious modes."
                                           modes.” Note
                                                    Note how
                                                          how this
                                                               this passage
                                                                    passage is
                                                                             is careful
                                                                                careful to
                                                                                        to use
                                                                                           use the
                                                                                               the word
                                                                                                   word
                         “suppression” to
                         "suppression"   to indicate
                                            indicate that
                                                     that the
                                                          the spurious modes are not necessarily eliminated, but
                         rather are suppressed or reduced to very small magnitudes. In addition, the phrase at
                         the end
                         the      “showing no
                             end "showing    no strong
                                                strong spurious
                                                       spurious modes"
                                                                 modes” isis careful
                                                                             careful to
                                                                                     to include  the word
                                                                                        include the  word "strong"
                                                                                                            “strong”
                                                               meaning. If
                         so that it maintains a non-absolute meaning.       the word   “strong”  were  left out,
                                                                         If the word "strong" were left out, thenthen
                         the phrase
                         the phrase "showing
                                     “showing nono spurious
                                                   spurious modes"
                                                              modes” would
                                                                      would mean
                                                                              mean that
                                                                                    that there
                                                                                         there are
                                                                                               are no
                                                                                                   no spurious
                                                                                                       spurious
                         modes, i.e., none at all or zero energy in spurious modes, which is not the statement
                         this paper would want to make. Leaving out the  the word
                                                                              word "strong"
                                                                                    “strong” would
                                                                                              would have
                                                                                                      have made
                                                                                                            made the
                                                                                                                   the
                         statement false. Keeping it in makes it true.

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            VI.      THE '786
                     THE ’786 PATENT
                              PATENT

                     A.      Background

                     The
                     The ’786 Patent, entitled
                         '786 Patent, entitled "Communication
                                               “Communication filter using single crystal acoustic resonator

            devices,” relates generally to electronic devices. More particularly, the invention described in
            devices,"

            this patent provides techniques related to bulk acoustic wave resonator devices, single crystal

            bulk acoustic wave resonator devices, single crystal filter and resonator devices, and the like.

            Merely by way of
                          of example the invention is described as applied to a single crystal resonator

            device for a communication device, mobile device, computing device, among others. ’786
                                                                                              '786

            Patent: 1:40-50; 3:45-52; 14:24-31, 62-64. Nowhere in the specification or the prosecution

                                                                “piezoelectric layer"
            history do the inventors disclaim a polycrystalline "piezoelectric layer” as
                                                                                      as used
                                                                                         used in
                                                                                              in claim
                                                                                                 claim 1.
                                                                                                       1.

            Likewise, nowhere in the specification do the inventors act as their own lexicographer by

            describing or defining the piezoelectric layer of the claimed invention as limited only to single-

            crystal materials. For that reason, I believe the correct construction is the plain and ordinary

            meaning as understood by one of ordinary skill in the art at the time of the invention.

                     B.      “piezoelectric layer”
                             "piezoelectric        [claim 1]
                                            layer" [claim 1]

                  Akoustis’s preliminary construction
                  Akoustis's                                          Qorvo’s preliminary
                                                                      Qorvo's preliminary construction
                                                                                          construction

              A layer of piezoelectric material having single A layer of piezoelectric
              or multiple crystal structure.                  material having single crystal structure.


                     I understand that Qorvo asserts that Akoustis falsely identifies its RF filter products as

                                                by marking
            including single-crystal-technology by marking datasheets with the
                                                           datasheets with the ’786 Patent number.
                                                                               '786 Patent number. But

            independent claim
            independent claim 11 does not include
                                 does not include the
                                                  the term
                                                      term "single-crystal"
                                                           “single-crystal” at
                                                                            at all
                                                                               all to define or describe the

            piezoelectric layer material. Rather, the single-crystal limitation is found, as an optional feature,

            of dependent claim 2, unrelated to the piezoelectric layer ('786 Patent, 14:62-64): "The
                                                                       (’786 Patent,            “The device


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            of claim 1 wherein the seed substrate includes silicon, silicon carbide, aluminum oxide, or single

                                             materials.” This informs me that the inventors knew when to
            crystal aluminum gallium nitride materials."

            use the single-crystal modifier if intended to further limit a limitation (like the seed substrate)

                                                                        Moreover, the
            consistent with embodiments described in the specification. Moreover, the "single-crystal"
                                                                                      “single-crystal” term
                                                                                                       term

            is not
            is not in any independent
                   in any independent claims
                                      claims of
                                             of the
                                                the ’786 Patent describing the piezoelectric layer. In my
                                                    '786 Patent

            opinion, the specification makes clear to a person of ordinary skill in the art that any reference to

            a single-crystal embodiment should not be viewed as limiting the scope or meaning of any claim

            that does not also specifically identify the piezoelectric layer as single-crystal. In fact, the

            prosecution history supports the notion that the inventors and the Patent Office did not view the

            term as limited to single crystal because there is no mention that the claim is so limited. The

            disputed term can refer to either a polycrystalline material or a single-crystal material.

                              offers the
                     Akoustis offers the proposed
                                         proposed construction of "piezoelectric
                                                  construction of “piezoelectric layer" as "a
                                                                                 layer” as “a layer of

                                                                     structure.” II agree
            piezoelectric material having single or multiple crystal structure."    agree with
                                                                                          with that
                                                                                               that proposed
                                                                                                    proposed

            construction as the plain and ordinary meaning as understood by one of ordinary skill in the art

                                   For the
            for the above reasons. For the same
                                           same reasons,
                                                reasons, II do
                                                            do not
                                                               not agree
                                                                   agree with
                                                                         with Qorvo's
                                                                              Qorvo’s proposed
                                                                                      proposed construction
                                                                                               construction

            that improperly seeks to limit the term to only single crystal materials.

                             1.      Extrinsic
                                     Extrinsic Evidence Supporting Akoustis'
                                               Evidence Supporting Akoustis’ Construction
                                                                             Construction

                                                             materials can
                     Both polycrystalline and single-crystal materials can be
                                                                           be called
                                                                              called "piezoelectric
                                                                                     “piezoelectric materials"
                                                                                                    materials”

            or "piezoelectric
            or “piezoelectric layers” in technical literature.
                              layers" in                       Thus, "piezoelectric
                                                   literature. Thus, “piezoelectric layer"
                                                                                    layer” is
                                                                                           is not
                                                                                              not specific
                                                                                                  specific to one

            or the other and a person of ordinary skill in the art would not read the claim term as limited

            based on the specification or prosecution history. There are many examples in the literature that

            also support the Akoustis construction, so I will just point out one here.

                   G. Piazza,
                   G. Piazza, P.J.
                              P.J. Stephanou,  and A.
                                   Stephanou, and  A. P.
                                                      P. Pisano,
                                                         Pisano, "Piezoelectric
                                                                 “Piezoelectric aluminum
                                                                                aluminum nitride vibrating
                         MEMS resonators,"
           contour-mode MEMS     resonators,” IEEEMSME
                                              IEEE/ASME J. Microelectromech. Syst., vol. 15, no. 6, pp.
           1406-1418, Dec. 2006.
                                                            22

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                    •   pg. 1406,
                         pg. 1406, Title:
                                   Title: The  title includes
                                           The title includes "Piezoelectric
                                                                “Piezoelectric Aluminum
                                                                                Aluminum Nitride",
                                                                                            Nitride”, where
                                                                                                      where the
                                                                                                            the
                         aluminum nitride in this paper is a polycrystalline material. This confirms that
                         “piezoelectric” is
                         "piezoelectric"  is used
                                             used to
                                                   to refer
                                                      refer to
                                                            to aa polycrystalline
                                                                  polycrystalline material.
                                                                                  material.

                    •   pg. 1406,
                         pg. 1406, col. 2: "Piezoelectric
                                   col. 2: “Piezoelectric materials
                                                           materials such
                                                                     such as
                                                                          as aluminum
                                                                             aluminum nitride
                                                                                       nitride or
                                                                                               or quartz"
                                                                                                  quartz” is
                                                                                                          is aa
                         good example
                         good  example of
                                        of aa single
                                              single sentence
                                                     sentence where
                                                              where "piezoelectric
                                                                     “piezoelectric materials"
                                                                                    materials” refers
                                                                                               refers to
                                                                                                      to both
                                                                                                         both aa
                         polycrystalline material (the aluminum nitride of this paper) and a crystalline material
                         (quartz).


            VII.     CONCLUSION

                     While the opinions set forth in this report are complete, I reserve the right to supplement

           this report and any of the opinions expressed herein, should I receive additional information or

           evidence that is relevant to those opinions between now and the time that I testify at deposition or

           trial. Moreover, I reserve the right to serve one or more additional expert reports in this litigation

           if requested to do so, and I reserve the right to supplement the opinions set forth herein as part of

           such additional expert reports in order to account for additional information or evidence that is

           learned or developed before any such additional report is prepared.



                     I declare under penalty of perjury under the laws of the United States of America and the

           State of California that the foregoing is true and correct to the best of my knowledge and

           information.



           Dated July 11, 2022                               Respectfully submitted,



                                                             By: _____________________________
                                                                    Clark Nguyen, PhD.




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   Dated: July 11, 2022
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     and Akoustis, Inc.




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                          Exhibit
                          Exhibit A
                                  A
               CURRICULUM
               CURRICULUM VITAE
                             VITAE
         INITIAL CLAIM
         INITIAL  CLAIM CONSTRUCTION
                         CONSTRUCTION
       EXPERT
       EXPERT REPORT
               REPORT AND
                        AND DECLARATION
                            DECLARATION
             BY
             BY DR.
                 DR. CLARK
                     CLARK NGUYEN
                            NGUYEN
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                                                           c!^!jÿYElectrical
                                                                          &ZV[ZÿYEngineering
                                                                                             '#['&&['#ÿand'\ÿW         ]U$V&ÿ^Sciences,
                                                                                                                      Computer           Z[&'Z&_ÿ̀University
                                                                                                                                                        a'[b&_[V%ÿWofXÿ         [
                                                                                                                                                                               Cali-
                                                           Xfornia,
                                                             W'[ÿ̀c&          &&%ÿ̀gÿ
                                                                          Berkeley,          CA h     ed*+!ÿ
                                                                                                   94720.
  OQMuJÿwofÿExpertise:
  Areas            sMQvKJMRÿ[    MicroZWÿ&electromechanical
                                                   &ZVW]&Zz'[Zÿ_systems,            %_V&]_ÿ̀[including
                                                                                                        'Z$\['#ÿ[integrated
                                                                                                                       'V&#V&\ÿ][         ZW]&Zz'[Zÿ_signal
                                                                                                                                       micromechanical                 [#'ÿUpro-W
      Zcessors
         &__W_ÿand'\ÿ[integrated
                              'V&#V&\ÿ_sensors,  &'_W_ÿ̀]merged      &#&\ÿZcircuit/micromechanical
                                                                                       [Z$[V)][ZW]&Zz'[ZÿVtechnologies,  &Zz'WW#[&_ÿ̀RFnÿZcommunications,
                                                                                                                                                            W]]$'[ZV[W'_ÿ̀
         'V&#V&\ÿZcircuit
      [integrated          [Z$[Vÿ\design
                                       &_[#'ÿand'\ÿVtechnology,
                                                              &Zz'WW#%ÿ̀_short-       zWVÿand'\ÿlong-term
                                                                                                        W'#V&]ÿ_stability
                                                                                                                        Vr[[V%ÿ[in'ÿ][    ZW]&Zz'[Zÿ\devices
                                                                                                                                        micromechanical                 &b[Z&_ÿ
  HKwQuRÿ
  Biography:
      yProf.
           WX!ÿ    ÿ!
                   Clark   T.-C. !ÿNguyen
                                     "#$%&'ÿreceived    &Z&[b&\ÿVthez&ÿc!          ^!ÿ̀!
                                                                                B.S.,         ^!ÿ̀and'\ÿyPh.D.
                                                                                          M.S.,              z!T!ÿ\degrees
                                                                                                                     &#&&_ÿXfromW]ÿVthez&ÿa'       [b&_[V%ÿWofXÿ
                                                                                                                                                University                 [XW'[ÿ
                                                                                                                                                                       California
      atVÿc&     &&%ÿ[in'ÿi1989,
            Berkeley              hhÿ̀i1991,
                                           hhiÿ̀and'\ÿi1994,   hheÿ̀respectively,
                                                                             &_U&ZV[b&%ÿ̀allÿ[in'ÿYElectrical
                                                                                                              &ZV[ZÿY'     #['&&['#ÿand'\ÿComputer
                                                                                                                          Engineering                    W]U$V&ÿ^Sciences.
                                                                                                                                                                          Z[&'Z&_!ÿ
              hh(ÿ̀zhe&ÿjoined
      In'ÿi1995,           W['&\ÿVthez&ÿXfaculty
                                                 Z$V%ÿWofXÿVthez&ÿUniversity
                                                                           a'[b&_[V%ÿWofXÿ[            Zz[#'ÿ̀g'
                                                                                                     Michigan,      Ann'   ÿg   rWÿ̀z
                                                                                                                            Arbor,       where&&ÿzhe&ÿwas_ ÿa ÿyProfessor
                                                                                                                                                                      WX&__Wÿ[in'ÿ
      Vthez&ÿT&     UV]&'VÿWofXÿY
              Department                  &ZV[ZÿY'
                                       Electrical               #['&&['#ÿand'\ÿW
                                                            Engineering                          ]U$V&ÿ^Science
                                                                                            Computer            Z[&'Z&ÿup$Uÿuntil
                                                                                                                               $'V[ÿ][    \*++m!ÿIn'ÿ*2006,
                                                                                                                                       mid-2006.               ++mÿ̀zhe&ÿjoined
                                                                                                                                                                             W['&\ÿ
                 Z$V%ÿWofXÿVthez&ÿa'
      Vthez&ÿXfaculty                      [b&_[V%ÿWofXÿ
                                      University                         [XW'[ÿatVÿc&
                                                                   California                    &&%ÿ̀where
                                                                                             Berkeley,           z&&ÿzhe&ÿ[is_ÿUpresently
                                                                                                                                   &_&'V%ÿa ÿyProfessor
                                                                                                                                                       WX&__Wÿ[in'ÿVthez&ÿT&   De-
      UV]&'VÿWofXÿYElectrical
      partment                &ZV[ZÿY'           #['&&['#ÿand'\ÿW
                                                Engineering                             ]U$V&ÿ^Sciences.
                                                                                   Computer            Z[&'Z&_!ÿnFrom W]ÿi1995hh(ÿVtoWÿi1997,
                                                                                                                                             hhdÿ̀zhe&ÿ was_  ÿa ÿ]&   ]r&ÿWofXÿ
                                                                                                                                                                     member
      theÿNational
              ¡ÿ¢           £¤¥¦ÿand§ÿ¨Space
                              Aeronautics                        ©¥ÿ¢§            ª¦£ÿ«(NASA)’s
                                                                             Administration                ¢¨¢¬­¦ÿNew    ®ÿ¯        ¡¡ ¤ªÿ°Integrated
                                                                                                                                  Millennium               ±£§ÿ²Product£§¤¥ÿ
      T&     b&WU]&'Vÿ&
       Development             Team ]ÿWon'ÿW          ]]$'[ZV[W'_ÿ̀z
                                                  Communications,                          [Zzÿroadmapped
                                                                                       which      W\]UU&\ÿXfuture    $V$&ÿZcommunications
                                                                                                                                 W]]$'[ZV[W'_ÿVtechnologies&Zz'WW#[&_ÿXforWÿ
      "g^gÿuse$_&ÿ[into'VWÿVthez&ÿVturn
      NASA                                 $'ÿWofXÿVthez&ÿZcentury. &'V$%!ÿf[       His_ ÿresearch
                                                                                              &_&Zzÿ[interests
                                                                                                             'V&&_V_ÿXfocus
                                                                                                                          WZ$_ÿ$upon  UW'ÿ][  microZWÿ&electromechanical
                                                                                                                                                          &ZVW]&Zz'[Zÿ
      _systems
         %_V&]_ÿk(MEMS), Y^lÿ̀[including
                                         'Z$\['#ÿ[integrated 'V&#V&\ÿ][              ZW]&Zz'[Zÿ_signal
                                                                                   micromechanical               [#'ÿUprocessors
                                                                                                                           WZ&__W_ÿand'\ÿ_sensors,&'_W_ÿ̀]merged &#&\ÿVtran-
                                                                                                                                                                                '
      _sistor/MEMS
         [_VW)Y^ÿZcircuit      [Z$[Vÿ\design,
                                                &_[#'ÿ̀]&        #&\ÿZcircuit/micromechanical
                                                             merged            [Z$[V)][ZW]&Zz'[ZÿVtechnologies,   &Zz'WW#[&_ÿ̀n      RF ÿ   Zcommunication
                                                                                                                                                     W]]$'[ZV[W'ÿarchi-      Zz[
         &ZV$&_ÿ̀and'\ÿ[integrated
      Vtectures,               'V&#V&\ÿZcircuit    [Z$[Vÿ\design&_[#'ÿand'\ÿVtechnology.
                                                                                         &Zz'WW#%!ÿyProf.     WX!ÿNguyen
                                                                                                                    "#$%&'ÿ[is_ÿperhapsU&zU_ÿbest   r&_Vÿrecognized
                                                                                                                                                             &ZW#'[&\ÿas_ÿa ÿ
      U[W'&&ÿWofXÿbvibrating
      pioneer               [rV['#ÿn   RF ÿ     Y^
                                                   MEMS ÿ        Vtechnology,
                                                                    &Zz'WW#%ÿ̀z              W_&ÿresearch
                                                                                           whose        &_&Zzÿresults
                                                                                                                     &_$V_ÿ[include
                                                                                                                                'Z$\&ÿVthez&ÿXfirst [_Vÿ][  ZW]&Zz'[Zÿ
                                                                                                                                                          micromechanical
      Xfree-free
         &&X&&ÿbeam   r&]ÿand'\ÿZcontour-mode
                                         W'VW$]W\&ÿ\disk[_ÿand'\ÿring['#ÿresonators       &_W'VW_ÿ[     withV
                                                                                                                    zÿ³­
                                                                                                                       O’s¦ ÿexceeding
                                                                                                                               ´¥§±ÿµ42,000    ¶·¸¸¸ÿatÿ¹frequencies
                                                                                                                                                                £º¤¥¦ÿ¤up©ÿ
      VtoWÿp3 ÿ»f      ¼_V[ÿVthez&ÿzhighest
                GHz—still                 [#z&_VÿWon-chip  'Zz[Uÿ³­      Q’s¦   ÿof¹ÿany½ÿ£room
                                                                                              ªÿtemperature
                                                                                                        ª©£¤£ÿ§device¾¥ÿatÿthis¦ÿ¹frequency;
                                                                                                                                                 £º¤¥½¿ÿtheÿ¹first  £¦ÿÀÁÂ
                                                                                                                                                                               VHF ÿ
      ][     ZW]&Zz'[ZÿXfilter
       micromechanical                 [V&ÿand'\ÿ][         Ã&X[V&ÿ\devices;
                                                          mixer-filter               &b[Z&_ÄÿWoscillator
                                                                                                   _Z[VWÿZcircuits
                                                                                                                  [Z$[V_ÿreferenced
                                                                                                                               &X&&'Z&\ÿVtoWÿ[        '&#__ÿ\disk[_ÿreso-
                                                                                                                                                     wine-glass                 &_W
      'nator
          VWÿarrays
                     %_ÿVthatzVÿachieve
                                      Zz[&b&ÿphase   Uz_&ÿ'noise   W[_&ÿUperformance
                                                                                 &XW]'Z&ÿZcommensurate
                                                                                                       W]]&'_$V&ÿ[       withVzÿ»^
                                                                                                                                    GSMÿ      Zcellular
                                                                                                                                                  &$ÿVtelephone
                                                                                                                                                             &&UzW'&ÿrefer-  &X&
      &ence
         'Z&ÿWoscillator
                     _Z[VWÿ_specifications;
                                    U&Z[X[ZV[W'_ÄÿVthez&ÿXfirst          [_Vÿ]&       \[$] _Z&ÿ[integrated
                                                                                   medium-scale             'V&#V&\ÿk(MSI)^lÿ][        ZW]&Zz'[Zÿ_signal
                                                                                                                                       micromechanical                 [#'ÿUpro-W
      Zcessing
         &__['#ÿZcircuits;
                        [Z$[V_ÄÿVthez&ÿXfirst[_Vÿ][     ZW]&Zz'[Zÿpower
                                                   micromechanical                     UW&ÿamplifier
                                                                                                   ]U[X[&ÿand'\ÿZconverter,
                                                                                                                         W'b&V&ÿ̀and'\ÿVthez&ÿXfirst[_Vÿultra-low
                                                                                                                                                            $VWÿUpower    W&ÿ
      Y^
       MEMS-based      r_&\ÿwireless
                                 [&&__ÿZcommunication
                                                   W]]$'[ZV[W'ÿVtransceivers.      '_Z&[b&_ÅÿÆ£      Dr. ÅÿNguyen’s
                                                                                                               ±¤½­¦ÿ£research¦£¥ÿ±group  £¤©ÿatÿÇÈÿ
                                                                                                                                                            UC É        £Ê¡½ÿis¦ÿ
                                                                                                                                                                     Berkeley
      U&_&'V%ÿ[investigating
      presently           'b&_V[#V['#ÿ&extension  ÃV&'_[W'ÿWofXÿVthez&ÿXfrequency  &Ë$&'Z%ÿrange   '#&ÿWofXÿ][    ZW]&Zz'[Zÿ_signal
                                                                                                                  micromechanical                [#'ÿUprocessors
                                                                                                                                                           WZ&__W_ÿk(filtersX[V&_ÿ
      and'\ÿWoscillators)
                   _Z[VW_lÿ[into'VWÿVthez&ÿoX-Band    c'\ÿrange,
                                                                     '#&ÿ̀\developing
                                                                                     &b&WU['#ÿ]&           #&\ÿZcircuit/microstructure
                                                                                                       merged        [Z$[V)][ZW_V$ZV$&ÿVtechnologies,&Zz'WW#[&_ÿ̀_stud-    V$\
      %ying['#ÿphysical
                  Uz%_[Zÿphenomena
                               Uz&'W]&'ÿVthatzVÿ[influence    'X$&'Z&ÿVthez&ÿXfrequency  &Ë$&'Z%ÿ_stability
                                                                                                              Vr[[V%ÿWofXÿ][    ZWÿand'\ÿ'nano-scale
                                                                                                                              micro-                'W_Z&ÿ]&           Zz'[Zÿ
                                                                                                                                                                     mechanical
         &_W'VW_ÿ̀&exploring
      resonators,           ÃUW['#ÿ'novel     Wb&ÿarchitectures
                                                             Zz[V&ZV$&_ÿXforWÿ_single-chip['#&Zz[UÿVtransceivers
                                                                                                                '_Z&[b&_ÿXforWÿ][       [V%ÿand'\ÿZcommercial
                                                                                                                                        military              W]]&Z[ÿap-U
      U[ZV[W'_ÿ$using
      plications           _['#ÿY^MEMS ÿ          Vtechnologies,
                                                      &Zz'WW#[&_ÿ̀\developing      &b&WU['#ÿautomatic
                                                                                                       $VW]V[Zÿ#generation
                                                                                                                        &'&V[W'ÿZcodes  W\&_ÿXforWÿ]&     Zz'[Zÿ_signal
                                                                                                                                                         mechanical            [#'ÿ
      UWZ&__Wÿ\design,
      processor            &_[#'ÿ̀and'\ÿ\designing
                                                 &_[#'['#ÿand'\ÿ[implementing
                                                                            ]U&]&'V['#ÿ'novel,         Wb&ÿ̀Zcompletely
                                                                                                                 W]U&V&%ÿ]W          'W[Vz[Zÿ[integrated
                                                                                                                                 monolithic                             &'_W_!ÿ
                                                                                                                                                      'V&#V&\ÿ_sensors.
               In'ÿ*2001,
                      ++iÿ̀yProf.
                               WX!ÿNguyen
                                      "#$%&'ÿXfounded     W$'\&\ÿT[          _Z&ÿ̀Inc.,
                                                                         Discera,          'Z!ÿ̀a ÿZcompany
                                                                                                       W]U'%ÿaimed[]&\ÿatVÿZcommercializing
                                                                                                                                  W]]&Z[[['#ÿZcommunication
                                                                                                                                                              W]]$'[ZV[W'ÿ
      UW\$ZV_ÿbased
      products          r_&\ÿ$upon UW'ÿY^
                                           MEMS ÿ            Vtechnology,
                                                               &Zz'WW#%ÿ̀[          withVzÿan'ÿ[initial
                                                                                                     '[V[ÿXfocus
                                                                                                               WZ$_ÿWon'ÿVthez&ÿbvery&%ÿbvibrating
                                                                                                                                             [rV['#ÿ][      ZW]&Zz'[Zÿ
                                                                                                                                                          micromechanical

               ÿ
   0 ÿ7
   Curriculum     ÿ
               Vitae                                                           ÿT-C.!ÿ"#
                                                                              Clark             $%&'ÿ
                                                                                             Nguyen                                      (5/20/2022
                                                                                                                                           )*+)*+**ÿ                            ,1 ÿ     ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 148 of 598 PageID #: 1075

                                                      0122301415ÿVITAE
                                                      CURRICULUM 7389 ÿ(Extended)
                                                                           ÿ
       resonators
         &-.'/.-ÿ0pioneered   1.'&&&2ÿ3by%ÿ4his1-ÿresearch
                                                             &-&54ÿ1in'ÿpast 0-/ÿ%years.
                                                                                         &-!ÿ6&   He ÿ -served
                                                                                                           &7&2ÿas-ÿ81      5&ÿ9President
                                                                                                                           Vice     &-12&'/ÿand'2ÿ4         1&:ÿTechnology
                                                                                                                                                           Chief        &54'..#%ÿ
       ;:     :15&ÿ<(CTO)
        Officer           ;=ÿ.of:ÿ>1        -5&ÿ:from
                                         Discera         .?ÿ*2001++@ÿ/to.ÿ?1        2*++*!ÿ>1
                                                                                mid-2002.               -5&ÿ-shipped
                                                                                                    Discera        4100&2ÿ?.   more &ÿ/than
                                                                                                                                         4'ÿ@1 ÿ?1      1.'ÿABAC
                                                                                                                                                    million       MEMS-based   3-&2ÿ
            -51/.-ÿ0per&ÿ?.
       .oscillators                month '/4ÿ$up0ÿ/till1ÿlate/&ÿ*2013,
                                                                       +@DEÿF4 when &'ÿ1it/ÿFwas-  ÿacquired
                                                                                                        5G$1&2ÿ3by%ÿA1        5&Eÿ1itself
                                                                                                                           Micrel,     /-&:ÿabsorbed
                                                                                                                                                 3-.3&2ÿby3%ÿA1            5.5410Eÿ
                                                                                                                                                                       Microchip,
       F4
        who.      ÿ5continues
                      .'/1'$&-ÿ/to.ÿ-sell&ÿ/these
                                                 4&-&ÿ.oscillators.
                                                             -51/.-!ÿ
                 HIn'ÿ?1    2*++*Eÿ9Prof.
                       mid-2002,           .:!ÿNguyen
                                                   "#$%&'ÿF&       went'  /ÿ.on'ÿleave
                                                                                   &7&ÿ:from  .?ÿ/the4&ÿI'     17&-1/%ÿ.of:ÿA1
                                                                                                             University                 541#'ÿ/to.ÿjoin
                                                                                                                                   Michigan               J.1'ÿ/the4&ÿA1     5.-%-
                                                                                                                                                                         Microsys-
       /tems
         &?-ÿ&          54'..#%ÿ;:
                     Technology                :15&ÿ<(MTO)
                                          Office        A;=ÿ.of:ÿ>KL9     DARPAKÿ         1in'ÿK   1'#/.'Eÿ81
                                                                                                 Arlington,              #1'1EÿF4
                                                                                                                    Virginia,      where&&ÿ4he&ÿ-served
                                                                                                                                                      &7&2ÿas-ÿa ÿ9Program.#?ÿ
       A
        Manager'#&ÿ1in'ÿABAC  MEMS ÿ       /technology.
                                               &54'..#%!ÿK/         At ÿ>KL9
                                                                         DARPA,KE       ÿ:from
                                                                                           .?ÿ?1        2*++*ÿ/through
                                                                                                    mid-2002            4.$#4ÿ*2005,
                                                                                                                                    ++(Eÿ9Prof..:!ÿNguyen
                                                                                                                                                      "#$%&'ÿ5created   &/&2ÿand'2ÿ
       ?
        managed'#&2ÿa ÿ2diverse17&-&ÿ-set&/ÿ.of:ÿprograms
                                                        0.#?-ÿ/that4/ÿ1included '5$2&2ÿA1           5.&&5/.?&54'15ÿCSystems
                                                                                                    Microelectromechanical                     %-/&?-ÿ<(MEMS),ABAC=EÿA1           5.ÿ
                                                                                                                                                                              Micro
       9Power
            .F&ÿM&         '&/1.'ÿ<(MPG),
                       Generation           A9M=Eÿ4           10C5&ÿK/
                                                          Chip-Scale               .?15ÿ
                                                                               Atomic         Clock.5ÿ<(CSAC),
                                                                                                           CK=EÿABAC    MEMS ÿ      BN  54'#&ÿ<(MX),
                                                                                                                                      Exchange            AO=Eÿ6         -4ÿB'
                                                                                                                                                                      Harsh       71
                                                                                                                                                                               Envi-
         .'?&'/ÿL.
       ronment                 3$-/ÿA1
                           Robust           5.?&54'15ÿ&
                                      Micromechanical                       54'..#%ÿ<(HERMIT),
                                                                        Technology              6BLAH=EÿA1        Micro 5.ÿMGas- ÿK'   %P&-ÿ<(MGA),
                                                                                                                                     Analyzers            AMK=EÿL          21.ÿHIso--.
                                                                                                                                                                        Radio
       /tope
         .0&ÿA1          5.0.F&ÿCSources
                    Micropower              .$5&-ÿ<(RIMS),LHAC=EÿLQ      RF ÿ  ABAC
                                                                                MEMS ÿ         HImprovement
                                                                                                 ?0.7&?&'/ÿ<(RFMIP),    LQAH9=EÿNavigation-Grade
                                                                                                                                       "71#/1.'M2&ÿHIntegrated        '/&#/&2ÿ
       A1
        Micro  5.ÿM%       .-5.0&-ÿ<(NGIMG),
                       Gyroscopes           "MHAM=Eÿand'2ÿA1               5.ÿ
                                                                        Micro          %.#&'15ÿ.
                                                                                   Cryogenic               .&-ÿ<(MCC).
                                                                                                       Coolers         A=!ÿ
                 9Prof.
                     .:!ÿNguyen
                            "#$%&'ÿreceived
                                          &5&17&2ÿ/the4&ÿ@1938E    RDSBÿKF  Award    2ÿ:for.ÿL&    -&54ÿand'2ÿ&
                                                                                                  Research                   541'#ÿBN
                                                                                                                          Teaching           5&&'5&ÿ:from
                                                                                                                                        Excellence            .?ÿ/the4&ÿUniver-
                                                                                                                                                                            I'17&
       -sity1/%ÿ.of:ÿA1     541#'ÿ1in'ÿ@1998,
                       Michigan                RRSEÿa ÿI'  Univ. 17!ÿ.of:ÿA1   541#'ÿBBC
                                                                            Michigan          EECS ÿ     >&   0/?&'/ÿK5
                                                                                                         Departmental                41&7&?&'/ÿKF
                                                                                                                                Achievement             Award   2ÿ1in'ÿ@1999,
                                                                                                                                                                           RRREÿ/the4&ÿ
       L$
        Ruth/  4ÿand'2ÿTJoel.&ÿCSpira
                                   01ÿKF Award   2ÿ:for.ÿ;$     /-/'21'#ÿTeaching
                                                              Outstanding              &541'#ÿUinVÿX2000,  YYYZÿ[the\]ÿ^V     U_]`aU[bÿcofdÿeU
                                                                                                                           University                f\UghViaÿX2001YYjÿk]
                                                                                                                                                Michigan’s                        V`bÿ
                                                                                                                                                                              Henry
       L$
        Russel--&ÿKF  Award,  2Eÿand'2ÿa ÿIÿ
                                                UC l&        &&%ÿBBC
                                                       Berkeley           EECS ÿ     >&   0/?&'/ÿBBÿ
                                                                                     Department            EE ;$        /-/'21'#ÿ&
                                                                                                                 Outstanding              541'#ÿKF
                                                                                                                                      Teaching         Award    2ÿ1in'ÿ*2013.
                                                                                                                                                                            +@D!ÿ6&
                                                                                                                                                                                  He ÿ
         &5&17&2ÿ/the4&ÿ*2006
       received                  ++mÿ  Cady 2%ÿKF
                                                    Award    2ÿ:from.?ÿ/the4&ÿHIEEE
                                                                                   BBBÿIQ     UFFC Qÿ-society
                                                                                                           .51&/%ÿand'2ÿ/the4&ÿ*2017
                                                                                                                                    +@nÿHIEEEBBBÿL.   Robert3&/ÿl.      -54ÿA1
                                                                                                                                                                     Bosch        5.ÿ
                                                                                                                                                                              Micro
       and'2ÿNano "'.ÿBElectro&5/.ÿA&        54'15ÿCSystems
                                          Mechanical                  %-/&?-ÿKF  Award.  2!ÿK?.Among   '#ÿ4his1-ÿ0publication
                                                                                                                        $315/1.'ÿaccolades
                                                                                                                                         55.2&-ÿare&ÿ/the4&ÿ*2007    ++nÿHIEEE
                                                                                                                                                                                BBBÿ
            '-5/1.'-ÿ.on'ÿI
        Transactions                       /-.'15-EÿQFerroelectrics,
                                      Ultrasonics,               &.&&5/15-Eÿand'2ÿQFrequency  &G$&'5%ÿ.          '/.ÿl&
                                                                                                                  Control       Best-/ÿ9Paper
                                                                                                                                          0&ÿKFAward,    2Eÿ/the4&ÿ*2005
                                                                                                                                                                          ++(ÿHIEEE
                                                                                                                                                                                BBBÿ
         '/&'/1.'ÿCSolid-State
       HInternational             .12C//&ÿ1          5$1/-ÿ.
                                                    Circuits             ':&&'5&ÿTJack
                                                                     Conference          5ÿL       0&ÿKF
                                                                                                  Raper     Award   2ÿ:for.ÿ;$  /-/'21'#ÿTechnology
                                                                                                                              Outstanding            &54'..#%ÿ>1          &5/1.'-Eÿ
                                                                                                                                                                        Directions,
       /the4&ÿl&Best-  /ÿHInvited
                           '71/&2ÿ9Paper
                                      0&ÿKF  Award   2ÿat/ÿ/the4&ÿ*2004
                                                                          ++oÿHIEEE
                                                                                  BBBÿ$   Custom-/.?ÿHIntegrated
                                                                                                           '/&#/&2ÿ1       5$1/-ÿ.
                                                                                                                           Circuits        ':&&'5&Eÿ/the4&ÿ*2004
                                                                                                                                       Conference,                   ++oÿ>KL9
                                                                                                                                                                           DARPAKÿ
       Tech&54ÿl&   Best- /ÿTechnical
                                &54'15ÿ9Presentation
                                                &-&'//1.'ÿKF       Award,2Eÿand'2ÿ/together
                                                                                          .#&/4&ÿF1     with/4ÿ4his1-ÿ-students,
                                                                                                                          /$2&'/-Eÿ'numerous
                                                                                                                                        $?&.$-ÿl&       Best- /ÿCStudent
                                                                                                                                                                     /$2&'/ÿ9Paper
                                                                                                                                                                                 0&ÿ
       KF
        Awards     2-ÿat/ÿ?    J.ÿ5conferences
                              major       .':&&'5&-ÿ/that4/ÿ1include  '5$2&ÿ/the4&ÿHIEEE  BBBÿHInt.'/!ÿQFrequency
                                                                                                              &G$&'5%ÿ.          '/.ÿCSymposium,
                                                                                                                               Control        %?0.-1$?Eÿ/the4&ÿHIEEE       BBBÿHInt.'/!ÿ
       A1      5.&&5/.?&54'15ÿCSystems
        Microelectromechanical                          %-/&?-ÿ.           ':&&'5&Eÿ/the4&ÿHIEEE
                                                                       Conference,                    BBBÿHInt.'/!ÿBElectron
                                                                                                                         &5/.'ÿ>&      715&-ÿA&
                                                                                                                                     Devices              &/1'#Eÿand'2ÿ/the4&ÿHInt.'/!ÿ
                                                                                                                                                    Meeting,
       .
        Conf. ':!ÿ.on'ÿCSolid-State
                              .12C//&ÿCSensors,&'-.-EÿK5          /$/.-Eÿpÿ
                                                              Actuators,         & A1      5.-%-/&?-ÿ<(Transducers).
                                                                                      Microsystems              '-2$5&-=!ÿ.       To ÿ 2date,
                                                                                                                                               /&Eÿ4he&ÿ4has-ÿ.organized
                                                                                                                                                                     #'1P&2ÿand'2ÿ
           41&2ÿa ÿ/total
       5chaired              ./ÿ.of:ÿD37nÿHIEEE
                                               BBBÿand'2ÿ>KL9   DARPAKÿ        F.   -4.0-Eÿand'2ÿF
                                                                                workshops,                  was-  ÿ/the4&ÿ&  54'15ÿ9Program
                                                                                                                           Technical       .#?ÿ4           1ÿand'2ÿM&
                                                                                                                                                           Chair                '&ÿ
                                                                                                                                                                            General
       4
        Chair 1ÿ.of:ÿ/the4&ÿ*2010
                                  +@+ÿand'2ÿ*2011+@@ÿHIEEE  BBBÿHInt.'/!ÿQFrequency
                                                                               &G$&'5%ÿ.            '/.ÿCSymposiums;
                                                                                                  Control        %?0.-1$?-qÿas-ÿF&       well ÿas-ÿa ÿ.    M&'&ÿ4
                                                                                                                                                           Co-General              1ÿ
                                                                                                                                                                               Chair
       .of:ÿ/the4&ÿ*2017+@nÿHIEEEBBBÿHInt.'/!ÿA1     5.ÿB
                                                 Micro            &5/.ÿA&
                                                             Electro            54'15ÿCSystems
                                                                           Mechanical              %-/&?-ÿ.         ':&&'5&!ÿ9Prof.
                                                                                                               Conference.            .:!ÿNguyen
                                                                                                                                             "#$%&'ÿ1is-ÿa ÿQFellow  &.Fÿ.of:ÿ/the4&ÿ
         BBBÿand'2ÿ-served
       HIEEE                   &7&2ÿas-ÿ9President
                                                &-12&'/ÿ.of:ÿ/the4&ÿHIEEE  BBBÿI       /-.'15-EÿQFerroelectrics,
                                                                                     Ultrasonics,            &.&&5/15-Eÿand'2ÿQFrequency
                                                                                                                                            &G$&'5%ÿ.            '/.ÿ<(UFFC)
                                                                                                                                                              Control        IQQ=ÿ
       CSociety
            .51&/%ÿ:from   .?ÿ*2016-2017.
                                   +@m*+@n!ÿHIn'ÿ*2018,       +@SEÿ4he&ÿ:founded
                                                                               .$'2&2ÿand'2ÿ3began    &#'ÿas-ÿ9President
                                                                                                                        &-12&'/ÿ.of:ÿ/the4&ÿHIEEE
                                                                                                                                                 BBBÿABAC  MEMS ÿ        &  54'15ÿ
                                                                                                                                                                         Technical
       .     ??$'1/%Eÿa ÿrole
        Community,                 .&ÿ/that4/ÿ4he&ÿ5continues
                                                           .'/1'$&-ÿF1     with/ 4ÿan'ÿ1intention
                                                                                          '/&'/1.'ÿ/to.ÿ/transition
                                                                                                               '-1/1.'ÿ/the4&ÿHIEEEBBBÿ&        54'15ÿ.
                                                                                                                                              Technical                ??$'1/%ÿ/to.ÿ
                                                                                                                                                                Community
       an'ÿHIEEE
                BBBÿ.          $'51ÿ.over7&ÿ/the4&ÿ'next&N/ÿ:few&Fÿ%years.
                           Council                                         &-!ÿ
                                                             rstuvwsrxyÿ
                                                             EMPLOYMENT {|}yv~wÿ
                                                                        HISTORY
       n7/06)+mÿ- ÿpresent
                   0&-&'/ÿ                        + ÿI'    17&-1/%ÿ.of:ÿ
                                                        University                 1:.'1ÿat/ÿl&
                                                                               California            &&%Eÿl&
                                                                                                 Berkeley,        &&%ÿCSensor
                                                                                                              Berkeley       &'-.ÿpÿ& K5   /$/.ÿ&
                                                                                                                                        Actuator      '/&ÿ
                                                                                                                                                   Center
                                                       <(BSAC),
                                                         lCK=Eÿ>&     Dept.0/!ÿ.of:ÿBElectrical
                                                                                        &5/15ÿB'  #1'&&1'#ÿand'2ÿ.
                                                                                                  Engineering               ?0$/&ÿCSciences
                                                                                                                         Computer       51&'5&-ÿ<(EECS),
                                                                                                                                                  BBC=Eÿ
                                                       (574noÿ.
                                                               Cory %ÿ6
                                                                        Hall,Eÿl&   &&%Eÿ
                                                                                 Berkeley,         1:.'1ÿR94720
                                                                                               California     on*+ÿ
       n7/06)+mÿ- ÿpresent
                   0&-&'/ÿ                                 ÿQFull$ÿ9Professor
                                                            Position:               .:&--.ÿ
       ÿ                                                    ÿn7/21)*@ÿ—ÿ0present:
                                                                           &-&'/ÿ4      1EÿB
                                                                                        Chair,     &5/15ÿB'
                                                                                                Electrical      #1'&&1'#ÿ>1
                                                                                                             Engineering         71-1.'ÿ1in'ÿBBC
                                                                                                                              Division       EECS ÿ
       ÿ                                                    ÿo4/20)*+ÿ—ÿ0present:
                                                                           &-&'/ÿBN      &5!ÿ>1
                                                                                        Exec.     &5/.Eÿl&
                                                                                               Director,       &&%ÿCSensor
                                                                                                           Berkeley       &'-.ÿpÿ& K5   /$/.ÿ&
                                                                                                                                     Actuator      '/&ÿ
                                                                                                                                                Center
       ÿ                                                    ÿn7/18)@Sÿ—ÿ0present:
                                                                           &-&'/ÿ.      '&N'/ÿ>1
                                                                                        Conexant       -/1'#$1-4&2ÿ9Professor
                                                                                                     Distinguished       .:&--.ÿ
                                                            ÿInterests:
                                                            Research        ÿ?1       5.?&54'15ÿ-signal
                                                                                             micromechanical                   .5&--.-ÿ:for.ÿF1
                                                                                                                     1#'ÿ0processors              &&--ÿ
                                                                                                                                                 wireless
                                                              5communications,
                                                                .??$'15/1.'-Eÿ:frequency   &G$&'5%ÿ5control
                                                                                                         .'/.ÿand'2ÿ-stability
                                                                                                                         /311/%ÿ.of:ÿ?1 5.?&54'15ÿ
                                                                                                                                       micromechanical
                                                              resonators,
                                                                &-.'/.-Eÿ1integrated
                                                                                   '/&#/&2ÿ-sensors,
                                                                                                  &'-.-Eÿ?&    #&2ÿ?1
                                                                                                            merged         5.?&54'15ÿand'2ÿ5circuit
                                                                                                                       micromechanical              15$1/ÿ
                                                              /technologies
                                                                &54'..#1&-ÿ
       (5/28/02
         )*S)+*ÿ—ÿ@12/31/05
                     *)D@)+(ÿ                      * ÿ>&    :&'-&ÿK2
                                                        Defense             7'5&2ÿL&
                                                                       Advanced              -&54ÿ9Projects
                                                                                         Research       .J&5/-ÿK#    &'5%ÿ<(DARPA),
                                                                                                                  Agency       >KL9K=EÿD3701  n+@ÿNorth
                                                                                                                                                    "./4ÿ
                                                       QFairfax
                                                          1:Nÿ>      17&EÿK
                                                                    Drive,          1'#/.'Eÿ81
                                                                                Arlington,        #1'1ÿ*22203
                                                                                               Virginia     **+Dÿ
                                                            ÿ9Program
                                                            Position:        .#?ÿA        '#&ÿ
                                                                                          Manager


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   0 ÿ7
   Curriculum     ÿ
               Vitae                                                           ÿT-C.!ÿ"#
                                                                              Clark             $%&'ÿ
                                                                                             Nguyen                                       (5/20/2022
                                                                                                                                            )*+)*+**ÿ                             ,2ÿ      ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 149 of 598 PageID #: 1076

                                0122301415ÿVITAE
                                CURRICULUM 7389 ÿ(Extended)
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                                     -./0.123ÿ5.617689:1;1068<ÿ=>?@ÿA&?B@ÿ=&?C'>?ÿD%EB&FEÿ
                                   Programs Created/Managed: Micro Electro Mechanical Systems
                                        G=A=DHIÿ=>?@ÿJ@K&ÿL&'&B>@'ÿG=JLHIÿC>MD?&ÿNB@F>?ÿ@?ÿ
                                      (MEMS), Micro Power Generation (MPG), Chip-Scale Atomic Clock
                                        GDNHIÿ=A=DÿAO?C'#&ÿG=PHIÿQECÿA'R>@'F&'BÿS@T$EBÿ=>
                                      (CSAC), MEMS Exchange (MX), Harsh Environment Robust Mi-
                                        ?@F&?C'>?ÿ&?C'@@#%ÿGQAS=UHIÿ=>?@ÿLEÿN'%V&EÿG=LNHIÿ
                                      cromechanical Technology (HERMIT), Micro Gas Analyzers (MGA),
                                        SW>@ÿUE@B@M&ÿ=>?@M@K&ÿD@$?&EÿGSU=DHIÿSXÿ=A=DÿUFM@R&F&'Bÿ
                                      Radio Isotope Micropower Sources (RIMS), RF MEMS Improvement
                                        J@#FÿGSX=UJHIÿ"R>#B>@'LW&ÿU'B&#B&Wÿ=>?@ÿL%@E?@M&ÿ
                                      Program (RFMIP), Navigation-Grade Integrated Micro Gyroscope
                                        G"LU=LHIÿ=>?@ÿ%@#&'>?ÿ@@&EÿG=Hÿ
                                      (NGIMQG), Micro Cryogenic Coolers (MCC)
                                     Y/71Zÿ[\;8];0ÿ^2/\;7ÿ_6;6.1768ÿ`a]Z6ÿ^7ÿb^c-^<ÿdefgheijhkklÿGB@ÿ
                                    Total Funding Amount Generated While At DARPA: $356,392,008 (to
                                        EBÿBC@$#Cÿ*++mHÿ
                                      last through 2009)
       n1/95)m(ÿ—oÿp6/06)+pÿ   qÿr'>R&E>B%ÿ@sÿ=>?C>#'Iÿ&'B&ÿs@ÿt>&&EEÿU'B&#B&Wÿ=>?@E%EB&FEÿ
                                 University of Michigan, Center for Wireless Integrated Microsystems
                                 GtU=DHIÿu&MB!ÿ@sÿA&?B>?ÿA'#>'&&>'#ÿ'Wÿ@FM$B&ÿD?>&'?&Iÿ*v+*ÿ
                                 (WIMS), Dept. of Electrical Engineering and Computer Science, 2402
                                 AADÿw$>W>'#Iÿnx+nÿw&ÿNR&!IÿN''ÿNT@Iÿ=>?C>#'ÿvyn+m*n**ÿ
                                 EECS Building, 1301 Beal Ave., Ann Arbor, Michigan 48109-2122
         )n)+pÿ—oÿp6/30/06
       p6/1/06      )x+)+pÿ          -/3]7]/;<ÿX$ÿJ@s&EE@ÿ
                                   Position: Full Professor
       p6/1/01
         )n)+nÿ—oÿp6/1/06
                    )n)+pÿ           -/3]7]/;<ÿNEE@?>B&ÿJ@s&EE@ÿ
                                   Position: Associate Professor
       n1/1/95
         )n)m(ÿ—oÿ(5/31/01
                    )xn)+nÿ          -/3]7]/;<ÿNEE>EB'BÿJ@s&EE@ÿ
                                   Position: Assistant Professor
                                     c6361.zaÿ{;76.6373<ÿF>?@F&?C'>?ÿE>#'ÿM@?&EE@Eÿs@ÿK>&&EEÿ
                                   Research Interests: micromechanical signal processors for wireless
                                        ?@FF$'>?B>@'EIÿs&|$&'?%ÿ?@'B@ÿ'WÿEBT>>B%ÿ@sÿF>?@F&?C'>?ÿ
                                      communications, frequency control and stability of micromechanical
                                        &E@'B@EIÿ>'B&#B&WÿE&'E@EIÿF&#&WÿF>?@F&?C'>?ÿ'Wÿ?>?$>Bÿ
                                      resonators, integrated sensors, merged micromechanical and circuit
                                        B&?C'@@#>&Eÿ
                                      technologies
       v4/01)+nÿ—oÿp6/02)+*ÿ   qÿu>E?&IÿU'?!Iÿ}((ÿJC@&'>Oÿu>R&IÿN''ÿNT@Iÿ=>?C>#'ÿvyn+yÿ
                                 Discera, Inc., 755 Phoenix Drive, Ann Arbor, Michigan 48108
                                     -/3]7]/;<ÿX@$'W&Iÿ~>?&ÿJ&E>W&'Bÿ'WÿC>&sÿ&?C'@@#%ÿss>?&ÿGHÿ
                                   Position: Founder, Vice President and Chief Technology Officer (CTO)
                                     b\7]63<ÿW>&?BÿB&?C'@@#%ÿ'WÿM@W$?BÿW&R&@MF&'Bÿ&ss@BEÿs@ÿ?@FF$
                                   Duties: direct technology and product development efforts for commu-
                                        '>?B>@'ÿM@W$?BEÿTE&Wÿ$M@'ÿ=A=DÿB&?C'@@#%ÿ
                                      nication products based upon MEMS technology
       (5/88)yyÿ- ÿn12/94
                     *)mvÿ     qÿr'>R&E>B%ÿ@sÿ>s@'>ÿBÿw&&&%Iÿw&&&%ÿD&'E@ÿ'WÿN?B$B@ÿ&'B&ÿ
                                 University of California at Berkeley, Berkeley Sensor and Actuator Center
                                 GwDNHIÿu&MB!ÿ@sÿA&?B>?ÿA'#>'&&>'#ÿ'Wÿ@FM$B&ÿD?>&'?&EIÿ'WÿBC&ÿ
                                 (BSAC), Dept. of Electrical Engineering and Computer Sciences, and the
                                 A&?B@'>?EÿS&E&?CÿT@B@%Iÿvm}ÿ@%ÿQIÿw&&&%Iÿ>s@'>ÿ
                                 Electronics Research Laboratory, 497 Cory Hall, Berkeley, California
                                 mv}*+ÿ
                                 94720
                                     c6361.zaÿ^8]3/.<ÿJ@s!ÿS@#&ÿ!ÿQ@K&ÿ
                                   Research Advisor: Prof. Roger T. Howe
       p6/89)ymÿ- ÿn12/94
                     *)mvÿ           -/3]7]/;<ÿLW$B&ÿDB$W&'BÿS&E&?C&IÿDB&Mÿ~Uÿ
                                   Position: Graduate Student Researcher, Step VI
       n1/89)ymÿ- ÿp6/89)ymÿ         -/3]7]/;<ÿLW$B&ÿDB$W&'BÿU'EB$?B@ÿ
                                   Position: Graduate Student Instructor
       (5/88)yyÿ- ÿn1/89)ymÿ         -/3]7]/;<ÿA'#>'&&>'#ÿN>W&ÿG$'W&#W$B&Hÿ
                                   Position: Engineering Aide (undergraduate)
                                     b\7]63<ÿJC!u!ÿ&E&?CÿF'#&ÿBC&ÿw&&&%ÿ=>?@sT>?B>@'ÿT@
                                   Duties: Ph.D. research; manage the Berkeley Microfabrication Labor-
                                        B@%ÿTE&>'&ÿ=DÿM@?&EEÿTÿ&|$>MF&'BÿF'#&ÿs@ÿwDNÿ
                                      atory baseline CMOS process; lab equipment manager for BSAC;
                                        r"UPÿ@M&B>'#ÿE%EB&FÿF'#&ÿGE$M&$E&Hÿ
                                      UNIX operating system manager (superuser)
                                     c6361.zaÿ-./6z73<ÿGnHÿQ>#CÿF>?@&E@'B@TE&Wÿ@E?>B@EÿG*Hÿ
                                   Research Projects: (1) High-QO microresonator-based oscillators; (2)
                                        U'B&#B>@'ÿ@sÿ=DÿK>BCÿF>?@F&?C'>?EÿGxHÿX$'WF&'BÿF>?@
                                      Integration of CMOS with micromechanics; (3) Fundamental micro-
                                        &E@'B@ÿ>EE$&E<ÿs&|$&'?%ÿEBT>>B%IÿB&FM&B$&ÿ?@&ss>?>&'Bÿ'$>'#Iÿ
                                      resonator issues: frequency stability, temperature coefficient nulling,
                                        ?@'B@Iÿs&|$&'?%ÿM$>'#ÿF&BC@WEÿ
                                      O-control, frequency pulling methods
       m9/83)yxÿ- ÿ(5/89)ymÿ   qÿJPacific
                                    ?>s>?ÿ"@      BCK&EBÿ
                                              Northwest            T@B@>&EÿG(Battelle),
                                                              Laboratories        wBB&&HIÿJP.O.!!ÿw@
                                                                                                       BoxOÿm999,mmIÿS>  ?C'WIÿ
                                                                                                                      Richland,
                                 t    EC>'#B@'ÿm99352
                                  Washington          mx(*ÿ
       p6/87)y}ÿ- ÿ(5/89)ymÿ   ÿXFluid
                                    $>Wÿand'WÿC   &FÿDScience
                                                 Thermal      ?>&'?&ÿDSection
                                                                          &?B>@'ÿG(FTS),
                                                                                   XDHIÿA'   &#%ÿDSystems
                                                                                          Energy       %EB&FEÿu&     MBF&'Bÿ
                                                                                                               Department
                                      \6.]3/.<ÿu
                                     Supervisor:      Dr. !
                                                          ÿ=&
                                                           Mel ÿL!
                                                                 G. ÿ JPiepho
                                                                        >&MC@ÿ
                                     -/3]7]/;<ÿ@
                                     Position:         FM$B&ÿJProgrammer
                                                   Computer        @#FF&ÿ
                                     c6  361  . zaÿ -. /6z 7<
                                                             ÿ J Sw"
                                     Research Project: PROBCON-HDW:             Qut<ÿNÿ A J  @TT>>B%ÿand'Wÿ@
                                                                                           Probability               'E&|$&'?&ÿ
                                                                                                                  Consequence
                                        DSystem
                                          %EB&Fÿ@ofsÿ@   W&Eÿsfor@ÿ@
                                                       Codes         Long'#ÿ&  FÿN'
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                                                                                                   Department
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                                     Supervisor:      Dr. !
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                                                           Gregory            C@Eÿ
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 150 of 598 PageID #: 1077

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     Q 2010         ¶·¸ÿ£¯          7/70°c±°²ÿ¶Student
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        2007      ½¾¾¾ÿ³Transactions
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        [Sheng-Shian            Li, BÿØ& %<'#ÿE&
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 151 of 598 PageID #: 1078

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         Yuan 'ÿ²7Xie,& kÿnSheng-Shian
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        2001      ;@GtÿRusselr<<;wÿAward
                                        HIEGCÿ(UofM j49ÿ$university-wide
                                                                 '7{&273%·76&ÿaward,  ·6kÿJhighest7#J&23ÿJhonor
                                                                                                                  4'4ÿ#given7{&'ÿ3to4ÿ4one'&ÿ%young
                                                                                                                                                   4$'#ÿ9faculty
                                                                                                                                                            8$3%ÿ
        5&    5°&ÿ&each
         member          8Jÿ%year).
                                 &!ÿ
     -ÿ
     U1 * +++ÿRuth
        2000      r=oÿEand@Cÿ̧Joelv;wÿSpira
                                          FBGEÿAward
                                                HIEGCÿ9for4ÿ¹$       323'67'#ÿ&
                                                                  Outstanding           8J7'#!ÿ
                                                                                   Teaching.
     -ÿ
     U ¶  ºººÿIBM
        1999      ?:»ÿ¼@       BA;G<B=tÿPartnership
                           University     DEG=@;G<oBFÿProgramDGvxGE½ÿAward HIEGCÿ(Faculty
                                                                                       l8$3%ÿ~&         {&4K5&'3ÿ·
                                                                                                    Development             Award).6!ÿ
     -ÿ
     Q ¶  ºººÿEECS
        1999      ¾¾uÿ¿;        FEG=½;@=ÿHs
                             Department           oB;A;½;@=ÿAward
                                               Achievement         HIEGCÿ9for4ÿ¹$     323'67'#ÿ&
                                                                                  Outstanding               2&8Jkÿ&
                                                                                                        Research,            8J7'#kÿand'6ÿnService.
                                                                                                                         Teaching,                 &{78&!ÿ
     -ÿ
     Ul ¶ ººÀÿ0International
        1998       '3&'374'ÿ1        &834'ÿ~&
                                      Electron          {78&2ÿ&
                                                    Devices           &37'#ÿ(IEDM)
                                                                 Meeting       01~ÿRoger  vx;GÿA.HÿHaken
                                                                                                           E;@ÿBest   :;<=ÿStudent
                                                                                                                                =rC;@=ÿPaper DEF;GÿAward
                                                                                                                                                      HIEGCÿ9for4ÿ
        Rthey]ÿpaper
               bQb]PÿRtitledNR̀]zÿL“Micromechanical
                                    XNcP\Á]cyQSNcQÿ̀Ámixer+filters”N^]PÂ[ǸR]PadÿObyeÿÃP         gJ&·ÿ´4
                                                                                            Ark-Chew           Wong, '#kÿÄ Hao4 ÿ~7  '#kÿand'6ÿ
                                                                                                                                  Ding,                ÿ!
                                                                                                                                                     Clark       !ÿ
                                                                                                                                                             T.-C.
        "#$%&'!ÿ
        Nguyen.
     -ÿ̧  rCx;<ÿAward
     U Judges        HIEGCÿforvGÿTopvFÿTen;@ÿPaper
                                                   DEF;Gÿat3ÿ3theJ&ÿ¶1998
                                                                        ººÀÿ0IEEE
                                                                                111ÿMTT-Snÿ       0International
                                                                                                       '3&'374'ÿ7         84·{&ÿnSymposium
                                                                                                                            Microwave            %5K427$5ÿ9for4ÿ
        Rthey]ÿpaper
               bQb]Pÿ]entitled
                           SRNR̀]zÿL“Micromechanical
                                      XN845&8J'78ÿ&electrostatic&83423378ÿÅK-bandOQSzÿaswitches,”
                                                                                                  _NRcy]aÆdÿObyeÿZS.iÿÇPacheco,
                                                                                                                              Qcy]c\Æÿfi     C. ÿhi  !ÿNguyen,
                                                                                                                                                 T.-C.  "#$%&'kÿ
        and'6ÿ³!
                L. ÿP.!ÿÈ!
                         B. ÿ Å  3&J7!ÿ
                              Katehi.
     -ÿ
     U 3 J&ÿ¶1998
        the     ººÀÿÉ1938EÊËÌ¾ÿAward
                                   HIEGCÿ9for4ÿ¹$     323'67'#ÿ&
                                                  Outstanding            2&8Jÿand'6ÿ&
                                                                      Research                  8J7'#ÿ9for4ÿa ÿÍJunior
                                                                                          Teaching                  $'74ÿlFaculty
                                                                                                                               8$3%ÿ(UofM j49ÿ4     &#&ÿ4of9ÿ
                                                                                                                                                      College
        1'    #7'&&7'#ÿ·
         Engineering          Award, 6kÿ#given
                                           7{&'ÿ4once'8&ÿperK&ÿ%year).
                                                                   &!ÿ
     -ÿ
     1 ÈBSACnÿ0Industrial
                      '6$237ÿ6      {724%ÿÈ4
                                    Advisory      Board6ÿ&     &37'#ÿnStudent
                                                             Meeting        3$6&'3ÿ·
                                                                                     Awards:   62Îÿ(awarded
                                                                                                       ·6&6ÿ°by%ÿÈn     BSACÿ7industry
                                                                                                                                     '6$23%ÿ5&         5°&2ÿ
                                                                                                                                                    members)
         Ïÿ
         —  FGB@xÿÐ2022
            Spring      ÑÐÐÿBest
                             :;<=ÿPresentation
                                    DG;<;@=E=Bv@ÿAward
                                                     HIEGCÿ3to4ÿ²7       '37'ÿ³7
                                                                   Xintian          Liu$     ÿ9for4ÿL“Temperature-Insensitive
                                                                                                        &5K&3$&0'2&'2737{&ÿ&         24''3ÿnStrain
                                                                                                                                       Resonant         37'ÿnSensor”
                                                                                                                                                                &'24dÿ
         Ïÿ
         — n  K7'#ÿ*2021
            Spring       +*¶ÿÈ&
                              Best23ÿPresentation
                                       &2&'3374'ÿ· Award 6ÿ3to4ÿÒ7     '%7ÿ²7
                                                                        Qianyi          Xie&     ÿ9for4ÿL“Performance
                                                                                                           &945'8&ÿ1'      J'8&5&'3ÿand'6ÿ&
                                                                                                                            Enhancement                   234374'ÿ4of9ÿ
                                                                                                                                                       Restoration
           7   845&8J'78ÿ&
            Micromechanical             24'342ÿ{via7ÿjÓ
                                     Resonators               ¹Ô4'&dÿ
                                                        UV-Ozone”
         ÏÿpEwwÿÐ2018
         — Fall      ÑÉÌÿBest
                          :;<=ÿPoster
                                 Dv<=;GÿAward
                                          HIEGCÿRto\ÿÕN   ]PQSÿÇPeleaux
                                                       Kieran       ]`]Q|^ÿ[for\PÿL“Fully    W|`èÿÖIntegrated
                                                                                                          SR]TPQR]zÿfX×Z        X]RQÿ̀XYXZ
                                                                                                                       CMOS-Metal       MEMS ÿ      ZSystems”
                                                                                                                                                       eaR]Áadÿ
         ÏÿpEwwÿÐ2015
         — Fall       ÑÉØÿBest
                            :;<=ÿPoster
                                   Dv<=;GÿAward
                                             HIEGCÿ3to4ÿ   723'ÿ4
                                                          Tristan             8J&&$ÿ[for\PÿL“MEMS-Based
                                                                        Rocheleua                          XYXZÈ2&6ÿ$          '°&ÿJ
                                                                                                                              Tunable          ''&n&&837'#ÿnSu-$
                                                                                                                                         Channel-Selecting
           K&V]T]S]PQRNÙ]ÿVW
           per-Regenerative         RF ÿ hP QSac]NÙ]Padÿ
                                         Transceivers”
         ÏÿFGB@xÿÐ2014
         — Spring       ÑÉÚÿBest
                             :;<=ÿPoster
                                    Dv<=;GÿAward
                                             HIEGCÿRto\ÿX]    yÁ]RÿÃg
                                                          Mehmet          AkgulT|ÿ̀[for\PÿL“RFVWÿfy          QSS]`Z]`]cRNSTÿXN
                                                                                                         Channel-Selecting          cP\Á]cyQSNcQÿ̀WFilters”
                                                                                                                                 Micromechanical            ǸR]Padÿ
         ÏÿFGB@xÿÐ2013
         — Spring       ÑÉËÿBest
                             :;<=ÿResearch
                                    ;<;EGsoÿÛG    vrFÿAward
                                                 Group    HIEGCÿ3to4ÿ3theJ&ÿNguyen "#$%&'ÿ&              2&8JÿÜ
                                                                                                       Research       4$Kÿ
                                                                                                                  Group
         ÏÿFGB@xÿÐ2013
         — Spring       ÑÉËÿBest
                             :;<=ÿPresentation
                                    DG;<;@=E=Bv@ÿAward
                                                     HIEGCÿRto\ÿÝQ Yang    STÿ}NLinS   ÿ[for\PÿL“Micromechanical
                                                                                                    XNcP\Á]cyQSNcQÿ̀fy         QPT]ÿÇPump”
                                                                                                                           Charge      |Ábdÿ
         ÏÿpEwwÿÐ2012
         — Fall      ÑÉÐÿBest
                          :;<=ÿResearch
                                 ;<;EGsoÿÛG     vrFÿAward
                                              Group    HIEGCÿ3to4ÿ3theJ&ÿNguyen
                                                                             "#$%&'ÿ&                 2&8JÿÜ
                                                                                                  Research        4$Kÿ
                                                                                                                Group
         ÏÿpEwwÿÐ2012
         — Fall       ÑÉÐÿBest
                           :;<=ÿPresentation
                                  DG;<;@=E=Bv@ÿAward
                                                   HIEGCÿ3to4ÿ}N       STÞNÿß|
                                                                  Lingqi         Wu ÿ       [for\PÿL“Hollow
                                                                                                        à\``\_ÿZStems
                                                                                                                   R]Áaÿ[for\PÿàN Ty]PÿXN
                                                                                                                               Higher          cP\Á]cyQSNcQÿ̀áDiskNagÿ
                                                                                                                                         Micromechanical
           V]   a\SQR\Pÿâ|
            Resonator         QǸReÿWFactor”
                           Quality     QcR\Pdÿ
         Ïÿ
         —  FGB@xÿÐ2012
            Spring      ÑÉÐÿBest
                             :;<=ÿPresentation
                                    DG;<;@=E=Bv@ÿAward
                                                     HIEGCÿRto\ÿhy  Thura  |PQÿ}NLinS    ÿNaing
                                                                                          ãQNSTÿ[for\PÿL“3-GHz äÜÄÔÿÓ~ÿCVD ~7    54'6ÿ7
                                                                                                                               Diamond       Ring'#ÿ&   24'34ÿ́With73Jÿ
                                                                                                                                                     Resonator
           åÿ
            0 æ   çèÆèèèdÿ
               >40,000”
         ÏÿpEwwÿÐ2011
         — Fall      ÑÉÉÿBest
                          :;<=ÿPresentation
                                 DG;<;@=E=Bv@ÿAward
                                                  HIEGCÿRto\ÿhP    NaRQSÿV\
                                                              Tristan               cy]`]Q|ÿ[for\PÿL“AÃÿé515-MHz
                                                                              Rocheleau                          êéÄÔÿ~7       54'6ÿ~7
                                                                                                                             Diamond     Disk 2ÿ·7
                                                                                                                                                  with3
                                                                                                                                                      Jÿåÿ
                                                                                                                                                         Q æ  êèëÆèèèdÿ
                                                                                                                                                            >109,000”
         Ïÿ
         —  FGB@xÿÐ2011
            Spring      ÑÉÉÿBest
                              :;<=ÿPresentation
                                     DG;<;@=E=Bv@ÿAward
                                                      HIEGCÿRto\ÿX]  Mehmet yÁ]RÿÃg     Akgul    T|ÿ̀[for\PÿL“Voltage-Controlled
                                                                                                              Ó43#&4'34&6ÿPhase  J2&ÿ       38J7'#ÿ3to4ÿ¹K
                                                                                                                                                 Matching              37
                                                                                                                                                                   Opti-
           57  Ô&ÿ7
            mize        845&8J'78ÿ
                     Micromechanical           %f\Áb\aNR]ÿV]
                                            Array-Composite                a\SQR\Pÿ×|
                                                                     Resonator              Output Rb|RÿÇPower”
                                                                                                            \_]Pdÿ
         ÏÿFGB@xÿÐ2011
         — Spring       ÑÉÉÿ:;
                             Best<=ÿDv  <=;GÿAward
                                    Poster   HIEGCÿ3to4ÿ³7    ß]Sÿà|
                                                          Li-Wen        Hung  STÿ[for\PÿL“High-Q,àNTyåkÿ³4    Low·ÿ 0Impedance
                                                                                                                      5K&6'8&ÿìpMechanical
                                                                                                                                    ]cyQSNcQÿ̀V]         a\SQR\Padÿ
                                                                                                                                                       Resonators”
         ÏÿFGB@xÿÐ2011
         — Spring        ÑÉÉÿ:;
                              Best<=ÿDv  <=;GÿAward
                                     Poster   HIEGCÿRto\ÿ}N    STÞNÿß|
                                                            Lingqi         Wu ÿ   [for\PÿL“Temperature
                                                                                              h]Áb]PQR|P]ÿZStable    RQO`]ÿXN  cP\Á]cyQSNcQÿ̀VResonators
                                                                                                                           Micromechanical              ]a\SQR\PaÿQandSzÿ
           WFilters”
              ǸR]Padÿ
         Ïÿ
         — pE
            FallwwÿÐ2010
                      ÑÉÑÿ:;
                          Best<=ÿDv <=;GÿAward
                                 Poster   HIEGCÿ3to4ÿ³7    ß]Sÿà|
                                                       Li-Wen     Hung    STÿ[for\PÿL“Capacitive-Piezoelectric
                                                                                         fQbQcNRNÙ]ÇN]í\]`]cRPNcÿXN               cP\Á]cyQSNcQÿ̀V]
                                                                                                                               Micromechanical              a\SQR\Padÿ
                                                                                                                                                         Resonators”
         Ïÿ
         — pE
            FallwwÿÐ2010
                     ÑÉÑÿ:;
                          Best<=ÿDv <=;GÿAward
                                 Poster   HIEGCÿRto\ÿÝQ   STÿ}N
                                                       Yang   LinS   ÿ[for\PÿL“AÃÿXN        cP\Á]cyQSNcQÿ̀ÇPower
                                                                                      Micromechanical                 \_]Pÿf\   SÙ]PR]Pdÿ
                                                                                                                             Converter”
         Ïÿ
         — pE
            FallwwÿÐ2009
                      ÑÑÊÿ:;
                          Best<=ÿDG ;<;@=E=Bv@ÿAward
                                 Presentation     HIEGCÿ3to4ÿ³7     ß]Sÿà|
                                                               Li-Wen          Hung    STÿ[for\PÿL“Silicide-Induced
                                                                                                        ZǸNcNz]ÖSz|c]zÿÃN   AirPÿîQ baÿ[for\PÿXYXZ
                                                                                                                                  Gaps          MEMS ÿ    ZStructures”
                                                                                                                                                            RP|cR|P]adÿ
         Ïÿ
         — pE
            FallwwÿÐ2008
                     ÑÑÌÿ:;
                          Best<=ÿDG ;<;@=E=Bv@ÿAward
                                 Presentation     HIEGCÿRto\ÿX]MehmetyÁ]RÿÃg    Akgul  T|ÿ̀[for\PÿL“RFVWÿfy      QSS]`Z]`]cRNSTÿXN
                                                                                                              Channel-Selecting          cP\Á]cyQSNcQÿ̀WFilters”
                                                                                                                                     Micromechanical             ǸR]Padÿ
         ÏÿFGB@xÿÐ2008
         — Spring       ÑÑÌÿ:;
                             Best<=ÿDG ;<;@=E=Bv@ÿAward
                                    Presentation    HIEGCÿ3to4ÿ±  Yang    '#ÿ³7Lin'   ÿ9for4ÿL“Micromechanical
                                                                                                    XNcP\Á]cyQSNcQÿ̀V]         a\SQR\PÿZSwitches”
                                                                                                                           Resonator         _NRcy]adÿ
              ÿ
   0 ÿ7
   Curriculum     ÿ
               Vitae                                                     ÿT-C.!ÿ"#
                                                                        Clark             $%&'ÿ
                                                                                       Nguyen                                   (5/20/2022
                                                                                                                                  )*+)*+**ÿ                          ,5 ÿ    ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 152 of 598 PageID #: 1079

                                           0122301415ÿVITAE
                                           CURRICULUM 7389 ÿ(Extended)
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         -ÿ/011ÿ32007
         — Fall    445ÿBest
                       6789ÿPoster
                            :;897<ÿAward
                                       =>0<?ÿ@toAÿBC  DEFÿHI
                                                   Li-Wen       FJÿKforLMÿN“Micromechanical
                                                             Hung           OPQMLREQSTFPQTUÿVM      TFWRPXÿYFilters:
                                                                                                  Transmit    PUXEMWZÿ[O-Boosting
                                                                                                                         \LLWXPFJÿ]M  MT^_ÿ
                                                                                                                                   Array”
         -ÿ`0<abÿ32007
         — March     445ÿBest
                          6789ÿPresentation
                               :<787c909d;cÿAward  =>0<?ÿ@toAÿBC DEFÿHI
                                                              Li-Wen          FJÿKforLMÿN“Intermodulation
                                                                           Hung           eFXEMRLfIUTXPLFÿgP   WXLMXPLFÿPinFÿhHY
                                                                                                           Distortion        VHF ÿOP QMLREi
                                                                                                                                  Microme-
           Qchanical
             STFPQTUÿjE  WLFTXLMWÿTandFfÿYFilters”
                      Resonators            PUXEMW_ÿ
                      klmnopqmrsÿu(OFvwÿxyzm
                      UNIVERSITY            wvplmyÿyrÿ
                                        CALIFORNIA AT {op|ozos}
                                                      BERKELEY) ÿ
                                                                poxvp~ÿ
                                                                RECORD
    ÿService:
   University       ÿ
       7/21)*ÿ—ÿpresent
                     &&'@ÿ             ÿ  &@Cÿ'
                                            Electrical            #C'&&C'#ÿC
                                                              Engineering              CCA'ÿ
                                                                                   Division       ChairCÿÿ
                                                                                                            & 
                                                                                                                EECS ÿ          AC@&ÿ
                                                                                                                           Associate            Cÿ
                                                                                                                                            Chair
       ÿ                                   ÿrun$'ÿand'ÿAoversee
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                                                                                           Division                     @!ÿAofÿ
                                                                                                                    Dept.           EECS ÿ
       10/20
         +)*+ÿ—ÿ1/21)*ÿ               ÿ   CÿAofÿ@the&ÿSenate
                                            Chair                   &'@&ÿA        C'#ÿ
                                                                              Working            A$ÿAon'ÿ&
                                                                                             Group           Remote  A@&ÿExams¡ ÿ
       ÿ                                   ÿrun$'ÿand'ÿAoversee
                                           —                        &&&ÿ@the&ÿSenate
                                                                                       &'@&ÿA WorkingC'#ÿ GroupA$ÿAon'ÿ&   RemoteA@&ÿ¡
                                                                                                                                              Exams ÿ
       ÿ                                   ÿfound
                                           —        A$'ÿa ÿway ¢%ÿ@toAÿ£bringC'#ÿdisparate
                                                                                          C@&ÿ#groups
                                                                                                         A$ÿ¤(one A'&ÿ@that@ÿ¢     '@&ÿremote
                                                                                                                                     wanted      & A@&ÿ&exam ¡ ÿ
                                                  A@AC'#ÿAoutlawed,
                                                  proctoring             $@¢&¥ÿanother
                                                                                         'A@&ÿ@that@ÿ¢     '@&ÿCit@ÿ@toAÿbe£&ÿstandard
                                                                                                           wanted                      @'ÿpractice)
                                                                                                                                                     @C&¦ÿ@toAÿ
                                                  a ÿcompromise
                                                        A A C&ÿ@that@ÿallowed      A¢&ÿ@the&ÿ$university
                                                                                                              'C&C@%ÿ@toAÿ#goAÿforward  A¢ÿ¢C    with@
                                                                                                                                                             ÿa ÿ
                                                  §A   A £&ÿapproach
                                                   Zoom-based               Aÿ
       ÿ                                   ÿ¢
                                           —           A@&ÿ@the&ÿreport
                                                   wrote                &A@ÿ@titled
                                                                                    C@&ÿN“Remote
                                                                                               & A@&ÿ¡     Exam ÿ¨Proctoring
                                                                                                                          A@AC'#ÿ¨Policy   AC%ÿ&     A
                                                                                                                                                        Recom-
                                                      &'@CA'_ÿ©S
                                                   mendation”                PQSÿFnowL©ÿMresides
                                                                         which              EWPfEWÿLonFÿªÿUC «&      &&%¬Wÿ­E
                                                                                                                  Berkeley’s              '@&ÿforAÿTeaching
                                                                                                                                      Center            &C'#ÿ
                                                  ÿ
                                                   & B&    'C'#ÿ&
                                                       Learning           Remote A@&ÿ¨Proctoring
                                                                                          A@AC'#ÿ®FAQ¯ÿ¢&          £C@&ÿat@ÿ&
                                                                                                                    website            RemoteA@&ÿ¨Proctoring
                                                                                                                                                       A@AC'#ÿ
                                                  ®FAQ¯ÿ°| ÿ&     '@&ÿforAÿTeaching
                                                               Center              &C'#ÿÿ    & B&    'C'#ÿ¤(berkeley.edu)
                                                                                                     Learning         £&&&%!&$¦ÿ
       ±4/20)*+ÿ—ÿpresent
                     &&'@ÿ             ÿ¡   &$@C&ÿC
                                            Executive              &@A¥ÿ«&
                                                              Director,            &&%ÿSensor
                                                                              Berkeley          &'Aÿÿ  &      @$@Aÿ&
                                                                                                              Actuator              '@&ÿ¤(BSAC)
                                                                                                                               Center      «¦ÿ
       ÿ                                   ÿrun$'ÿand'ÿAoversee
                                           —                        &&&ÿ@the&ÿAoperations
                                                                                        &@CA'ÿAofÿ«  BSAC,¥ÿa ÿuniversity/industry
                                                                                                                           $'C&C@%)C'$@%ÿcenter     &'@&ÿ
                                                  comprising
                                                     A CC'#ÿ@two¢Aÿ$universities
                                                                                  'C&C@C&ÿ¤(UCªÿ«&          &&%ÿand'ÿªÿ
                                                                                                             Berkeley                 UC       C¦ÿand'ÿan'ÿ
                                                                                                                                             Davis)
                                                  average
                                                     &#&ÿAofÿ²30-35  +²(ÿCindustry
                                                                                  '$@%ÿmember  & £&ÿcompanies
                                                                                                               A 'C&ÿAover&ÿdecades &&ÿ
       ÿ                                   ÿÿrecruit
                                           —        &$C@ÿand'ÿretain&@C'ÿCindustry
                                                                                  '$@%ÿmembers,& £&¥ÿAorganize
                                                                                                                 #'C³&ÿand'ÿrun$'ÿconferences
                                                                                                                                              A'&&'&ÿ
        )*+ÿ—- ÿ́)
       1/20       *ÿ
                 8/21                    ÿSenate
                                              &'@&ÿA  Committee    C@@&&ÿAon'ÿA     $&ÿµInstruction
                                                                                  Course       '@$@CA'ÿ¤(COCI)¶µ¦ÿ
       ÿ                                   ÿserving
                                           —         &C'#ÿAon'ÿ@the&ÿSciences C&'&ÿSub-Committee
                                                                                                 $£A C@@&&ÿand'ÿ&experiencing      ¡&C&'C'#ÿa ÿhighC#ÿ
                                                  ¢A   Aÿasÿ@the&ÿcommittee
                                                   workload                        A C@@&&ÿdeals    &ÿ¢C with@ÿcampus
                                                                                                                        $ÿCinterruptions
                                                                                                                                      '@&$@CA'ÿdue$&ÿ@toAÿ
                                                  A¢&ÿshutdowns
                                                  power         $@A¢'ÿand'ÿ@the&ÿcurrent $&'@ÿpandemic
                                                                                                           '& Cÿ
       1/19
         )·ÿ- ÿ́)   *ÿ
                   8/21                  ÿA   &#&ÿAofÿ'
                                            College                 #C'&&C'#ÿ®Faculty
                                                               Engineering             $@%ÿ       CC'#ÿA
                                                                                                  Advising            $'Cÿ
                                                                                                                 Council
       ÿ                                   ÿcouncil
                                           —         A$'Cÿ@toAÿadvise
                                                                       C&ÿ@the&ÿ& Dean'ÿAofÿ@the&ÿA   &#&ÿAofÿEngineering
                                                                                                          College                '#C'&&C'#ÿ
       ´8/18
         )´ÿ— ÿ́)   *ÿ
                    8/21                 ÿ   CÿAofÿ@the&ÿÿ
                                            Chair                EE ®      $@%ÿ&
                                                                         Faculty          $C@C'#ÿA
                                                                                      Recruiting        Committee C@@&&ÿ
       ÿ                                   ÿrecruit
                                           —        &$C@ÿ'new&¢ÿfaculty$@%ÿ
       ´8/18)´ÿ—ÿpresent
                     &&'@ÿ             ÿ
                                            EECS ÿ     ¡  &$@C&ÿA
                                                       Executive           Committee C@@&&ÿ
       ÿ                                   ÿadvise
                                           —         C&ÿ@the&ÿEECS ÿ        CÿAon'ÿvarious
                                                                                 Chairs            CA$ÿmatters@@&ÿ
       *2/07)+ÿ—ÿpresent
                     &&'@ÿ             ÿ¸¸
                                            MEMS ÿ       
                                                         Area &ÿA      AC'@Aÿ
                                                                    Coordinator
       ÿ                                   ÿcoordinate
                                           —         AAC'@&ÿ@the&ÿ̧¸  MEMS ÿ        
                                                                                          Area&ÿCin'ÿÿ
                                                                                                      EE
       *2/13)²ÿ—ÿpresent
                     &&'@ÿ             ÿ¸&    '@AÿforAÿ@the&ÿ&
                                            Mentor                         #&'@ÿand'ÿ
                                                                       Regents                  '&AÿScholars
                                                                                           Chancellors           Aÿÿ
       ÿ                                   ÿmentoring
                                           —          &'@AC'#ÿan'ÿaverage &#&ÿAofÿ́ÿ  8  @$&'@ÿper&ÿ%year&ÿ
                                                                                                students
       *2/19)·ÿ-3/19
                  ÿ²)·ÿ                 ÿµInterviewer
                                             '@&C&¢&ÿforAÿ@the&ÿÿ    RC ª'       &#$@&ÿScholarships
                                                                                    Undergraduate             ACÿÿ
       ÿ                                   ÿCinterviewed
                                           —        '@&C&¢&ÿ́ÿ        8  @$&'@ÿ
                                                                            students
       ÿ                                   ÿ&expect
                                           —         ¡&@ÿ@toAÿmentor  &'@Aÿsome
                                                                                  A &ÿstudents
                                                                                            @$&'@ÿ
       ´8/17)ÿ—-5/18
                  ÿ()´ÿ                 ÿ¸&
                                            Member   £&ÿAofÿ@the&ÿÿ
                                                                       EE ®    $@%ÿ&
                                                                             Faculty          $C@C'#ÿA
                                                                                          Recruiting        Committee C@@&&ÿ
       ÿ                                   ÿrecruiting
                                           —        &$C@C'#ÿ'new&¢ÿfaculty,$@%¥ÿ&especially
                                                                                            &C%ÿCin'ÿ̧¸MEMS ÿ        and'ÿ̈¹ºÿ
                                                                                                                                     PHY
       ´8/13)²ÿ—8/18
                  ÿ́)´ÿ                 ÿ¸&
                                            Member   £&ÿAofÿthe@&ÿA Committee  C@@&&ÿAon'ÿª'     &#$@&ÿScholarships,
                                                                                                Undergraduate               AC¥ÿ¹A           'A¥ÿand'ÿ
                                                                                                                                                Honors,
                                           ®Financial
                                              C''CÿC  Aid     ÿ¤(CUSHFA)
                                                                       ª¹®¦ÿ
       ÿ                                   ÿcontribute
                                           —        A'@C£$@&ÿ@toAÿdiscussions
                                                                           C$CA'ÿand'ÿdecisions
                                                                                                     &CCA'ÿAon'ÿ$undergraduate
                                                                                                                         '&#$@&ÿscholarships,
                                                                                                                                                 AC¥ÿ
                                                  honors,
                                                     A'A¥ÿand'ÿfinancial                AC%ÿÿ
                                                                          C''CÿaidCÿpolicy
       *2/18)´ÿ-3/18
                  ÿ²)´ÿ                 ÿµInterviewer
                                             '@&C&¢&ÿforAÿthe@&ÿÿ    RC ª'       &#$@&ÿScholarships
                                                                                    Undergraduate             ACÿÿ
               ÿ
   0 ÿ7
   Curriculum     ÿ
               Vitae                                              ÿT-C.!ÿ"#
                                                                 Clark             $%&'ÿ
                                                                                Nguyen                                  (5/20/2022
                                                                                                                          )*+)*+**ÿ                          ,6ÿ      ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 153 of 598 PageID #: 1080

                               0122301415ÿVITAE
                               CURRICULUM 7389 ÿ(Extended)
                                                    ÿ
       ÿ                       -ÿ.interviewed
                                —       '/&0.&1&2ÿ39 ÿ4students     /$2&'/4ÿ
       ÿ                       -ÿ&expect
                                —        56&7/ÿ/to8ÿ9&          '/8ÿ4some
                                                           mentor         89&ÿ4students
                                                                                     /$2&'/4ÿ
       (5/17):;ÿ<12/17
                  ÿ:*):;ÿ    =ÿ>?   @?ABCDEFÿHa ÿItraining
                                Developing                  JHDEDEFÿKcourseBLJM?ÿNforBJÿFgov’t
                                                                                            B@OIÿNfunding
                                                                                                      LEPDEFÿHagency F?EKQÿprogram
                                                                                                                              CJBFJHRÿRH            EHF?JMSÿ
                                                                                                                                                 managers,
                               Tfirst
                                 .4/ÿTfor8ÿUVWX
                                               DARPA,VY          ÿ/then
                                                                    Z&'ÿTfor8ÿ8other
                                                                                    /Z&ÿTfunding
                                                                                           $'2.'#ÿ4sources,
                                                                                                         8$7&4Yÿ&e.g.,!#!YÿTfoundations
                                                                                                                               8$'2/.8'4ÿ
       ÿ                       -ÿ18
                               —      working.'#ÿ1.   with/  ZÿXPaul$ÿAlivisatos,
                                                                           V.0.4/84YÿU    David0.2ÿTrinkle,
                                                                                                           .'&Yÿ8    Tom9ÿ [
                                                                                                                                Kalil,.Yÿand'2ÿ\Shankar
                                                                                                                                                    Z'ÿ
                                      \Sastry,
                                          4/%Yÿ/to8ÿ#generate
                                                              &'&/&ÿand'2ÿpitch 6./7Zÿ/thisZ.4ÿtraining
                                                                                                  /.'.'#ÿprogram
                                                                                                                 68#9ÿ
       ÿ                       -ÿUVWX
                               —      DARPAVÿ            4showed
                                                           Z81&2ÿ.interest'/&&4/ÿ.in'ÿTfunding
                                                                                           $'2.'#ÿ/this,Z.4Yÿbut]$/ÿ#got8/ÿ]bogged
                                                                                                                              8##&2ÿ8on'ÿ^questions$&4/.8'4ÿ
                                      8on'ÿ/theZ&ÿ98 most4   /ÿappropriate
                                                                 6686./&ÿTfunding  $'2.'#ÿ9&        7Z'.49ÿ
                                                                                                  mechanism
       :1/17):;ÿ<-5/17
                  ÿ():;ÿ     =ÿ_&    9]&ÿ8ofTÿ/theZ&ÿ̀`ÿ
                                Member                        EE a     7$/%ÿW&
                                                                     Faculty           7$./.'#ÿ8
                                                                                 Recruiting              99.//&&ÿ
                                                                                                     Committee
       ÿ                       -ÿrecruited
                               —        &7$./&2ÿ'new&1ÿTfaculty,    7$/%Yÿ&especially
                                                                                    46&7.%ÿ.in'ÿ_`_\MEMS ÿ       and'2ÿXPower
                                                                                                                             81&ÿ
       *2/17):;ÿ<-3/17
                  ÿb):;ÿ     =ÿcInterviewer
                                 '/&0.&1&ÿTfor8ÿ/theZ&ÿWÿ        RC d'      2&#2$/&ÿ\Scholarships
                                                                           Undergraduate               7Z84Z.64ÿÿ
       ÿ                       -ÿ.interviewed
                               —        '/&0.&1&2ÿ:12*ÿ4students      /$2&'/4ÿ
       ÿ                       -ÿ&expect
                               —         56&7/ÿ/to8ÿ9&          '/8ÿ4some
                                                           mentor         89&ÿ4students
                                                                                     /$2&'/4ÿ
       ;7/12):*ÿ<-7/16
                  ÿ;):eÿ     =ÿ``ÿ
                                EE \    7Z&2$.'#ÿfT
                                      Scheduling                   T.7&ÿ
                                                              Officer
       ÿ                       -ÿ#generate
                               —          &'&/&ÿand'2ÿ9              .'/.'ÿ/theZ&ÿ``ÿ
                                                                   maintain              EE 7     44ÿ4schedule
                                                                                                 class      7Z&2$&ÿTfor8ÿallÿ4semesters,
                                                                                                                                          &9&4/&4Yÿ.in-'
                                      7cluding
                                         $2.'#ÿ4summer  $99&ÿ
       ÿ                       -ÿ/time
                               —        .9&ÿ7consuming
                                                    8'4$9.'#ÿ18             Yÿrequiring
                                                                        work,        &^$..'#ÿadjustments
                                                                                                    2g$4/9&'/4ÿ%year-round&8$'2ÿ
       ;7/12):*ÿ<-7/16
                  ÿ;):eÿ     =ÿ_&    9]&ÿ8ofTÿ/theZ&ÿd'
                                Member                              2&#2$/&ÿ\Study
                                                              Undergraduate               /$2%ÿ8      99.//&&ÿ
                                                                                                   Committee
       ÿ                       -ÿ7contribute
                               —         8'/.]$/&ÿ/to8ÿ2discussions .47$44.8'4ÿand'2ÿ2decisions
                                                                                                &7.4.8'4ÿ8on'ÿ$undergraduate
                                                                                                                         '2&#2$/&ÿ4study      /$2%ÿand'2ÿ
                                      7curriculum
                                         $.7$$9ÿpolicy     68.7%ÿ
       *2/16
         ):eÿ<— ÿ3/16
                   b):eÿ     =ÿcInterviewer
                                 '/&0.&1&ÿhÿ         & _& Mentor '/8ÿTfor8ÿ/theZ&ÿWÿ
                                                                                       RC d'      2&#2$/&ÿ\Scholarships
                                                                                            Undergraduate                 7Z84Z.64ÿÿ
       ÿ                       -ÿ.interviewed
                               —        '/&0.&1&2ÿ39 ÿ4students     /$2&'/4ÿ
       ÿ                       -ÿ&expect
                               —         56&7/ÿ/to8ÿ9&          '/8ÿ4some
                                                           mentor         89&ÿ4students
                                                                                     /$2&'/4ÿ
       :10/15
         +):(ÿ<— ÿ12/15
                    :*):(ÿ   =ÿij   HDJÿBofNÿIthej?ÿkP
                                Chair                   Ad ÿ   lB
                                                               HocK    ÿiB  RRDII??ÿNforBJÿm?
                                                                        Committee                    JEjHJPÿmB
                                                                                                 Bernhard        Boser’sM?JOMÿnStepI?Cÿop
                                                                                                                                        VI ÿ   qPromotion
                                                                                                                                                  JBRBIDBEÿ
       ÿ                       -ÿ1
                               —      wrote 8/&ÿ/theZ&ÿad2ÿZhoc87ÿreport&68/ÿwith1./Zÿr8Bob]   ÿ_&
                                                                                                   Meyer%&ÿ
       *2/15):(ÿ<-3/15
                  ÿb):(ÿ     =ÿcInterviewer
                                 '/&0.&1&ÿhÿ              _&     ' /8  ÿT
                                                                           8  ÿ/Z   &ÿWÿ
                                                       & Mentor for the RC Undergraduate    d'    2 & # 2$/&ÿ\Scholarships
                                                                                                                          7Z84Z.64ÿÿ
       ÿ                       -ÿ.interviewed
                               —        '/&0.&1&2ÿs8 ÿ4students     /$2&'/4ÿ
       ÿ                       -ÿ&expect
                               —         56&7/ÿ/to8ÿ9&          '/8ÿ4some
                                                           mentor         89&ÿ4students
                                                                                     /$2&'/4ÿ
       *2/14
         ):tÿ<- ÿ3/14
                   b):tÿ     =ÿcInterviewer
                                 '/&0.&1&ÿhÿ         & _& Mentor '/8ÿTfor8ÿ/theZ&ÿWÿ
                                                                                       RC d'      2&#2$/&ÿ\Scholarships
                                                                                            Undergraduate                 7Z84Z.64ÿÿ
       ÿ                       -ÿ.interviewed
                               —        '/&0.&1&2ÿ:193ÿ4students      /$2&'/4ÿ
       ÿ                       -ÿ&expect
                               —         56&7/ÿ/to8ÿ9&          '/8ÿ4some
                                                           mentor         89&ÿ4students
                                                                                     /$2&'/4ÿ
       ;7/13
         ):bÿ<— ÿs8/13):bÿ   =ÿu?    Rv?JÿBofNÿIthej?ÿkP
                                Member                         Ad ÿ    lB
                                                                       HocK  ÿiB     RRDII??ÿNforBJÿoA
                                                                               Committee                     HPDRDJÿnStojanovic’s
                                                                                                        Vladimir            IBwHEB@DKOMÿkC           CBDEIx
                                                                                                                                                  Appoint-
                               9&
                                ment'  /ÿCase4&ÿ
       ÿ                       -ÿZhelped
                               —          &6&2ÿ1    write./&ÿ/theZ&ÿad2ÿZhoc87ÿreport
                                                                                      &68/ÿ
       *2/13):bÿ<-3/13
                  ÿb):bÿ     =ÿcInterviewer
                                 '/&0.&1&ÿhÿ         & _& Mentor '/8ÿTfor8ÿ/theZ&ÿWÿ
                                                                                       RC d'      2&#2$/&ÿ\Scholarships
                                                                                            Undergraduate                 7Z84Z.64ÿÿ
       ÿ                       -ÿ.interviewed
                               —        '/&0.&1&2ÿ*20+ÿ4students      /$2&'/4ÿ
       ÿ                       -ÿ9&
                               —             '/8.'#ÿ/three
                                      mentoring               Z&&ÿ4students
                                                                         /$2&'/4ÿ
       ;7/11)::ÿ<-17/12
                  ÿ;):*ÿ     =ÿZ   .ÿ8ofTÿ/theZ&ÿy
                                Chair                   Grad 2ÿ\Study/Prelim
                                                                     /$2%)X&.9ÿ8            99.//&&ÿ
                                                                                         Committee
       ÿ                       -ÿ6
                               —          &4.2.'#ÿ8over0&ÿ#graduate
                                      presiding                        2$/&ÿ6program8#9ÿ9        //&4ÿz(e.g.,
                                                                                                    matters       &!#!Yÿ6prelim
                                                                                                                             &.9ÿpetitions,
                                                                                                                                        6&/./.8'4Yÿpos-684
                                      4sibility
                                        .]../%ÿ8ofTÿ9&            {{'.'&ÿ7courses)
                                                             mezzanine               8$4&4|ÿand'2ÿ8organizing
                                                                                                          #'.{.'#ÿprelim  6&.9ÿ&exam   59ÿassign-
                                                                                                                                                     44.#'
                                      9&
                                      ments  '/4ÿ
       ;7/11
         )::ÿ<—- ÿ:12/11
                    *)::ÿ    =ÿij   HDJÿBofNÿIthej?ÿkP
                                Chair                   Ad ÿ   lB
                                                               HocK    ÿiB  RRDII??ÿNforBJÿuD
                                                                        Committee                     Kj?AÿuH
                                                                                                 Michel            jHJvD}OMÿqPromotion
                                                                                                             Maharbiz’s              JBRBID8'ÿ
       ÿ                       -ÿ1
                               —      wrote 8/&ÿ/theZ&ÿad2ÿZhoc87ÿreport&68/ÿ
       t4/11)::ÿ<-9/13
                  ÿ3):bÿ     =ÿNominated
                               "89.'/&2ÿW.                7Z2ÿ_$
                                                      Richard         Muller&ÿand'2ÿU.
                                                                                         Dick7ÿ~Z White./&ÿTfor8ÿ/theZ&ÿc[IEEE
                                                                                                                            ```ÿ_        51&ÿV1
                                                                                                                                     Maxwell        Award  2ÿ
       ÿ                       -ÿ'not8/ÿan'ÿ8official
                               —                       TT.7.ÿ9&        9]&ÿ8ofTÿ/theZ&ÿV1
                                                                    member                  Awards  24ÿ8    99.//&&Yÿbut]$/ÿ2did.2ÿallÿ/theZ&ÿwork
                                                                                                          Committee,                                  18ÿ
                                      Tfor8ÿ/thisZ.4ÿaward
                                                        12ÿÿ
       ÿ                       -ÿ1
                               —      wrote 8/&ÿ/theZ&ÿ'nomination
                                                             89.'/.8'ÿpackage  67#&ÿand'2ÿ4solicited/collected
                                                                                                       8.7./&2)78&7/&2ÿallÿletters    &//&4ÿ
               ÿ
   0 ÿ7
   Curriculum     ÿ
               Vitae                                   ÿT-C.!ÿ"#
                                                      Clark             $%&'ÿ
                                                                     Nguyen                                      (5/20/2022
                                                                                                                   )*+)*+**ÿ                            ,7ÿ      ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 154 of 598 PageID #: 1081

                                              0122301415ÿVITAE
                                              CURRICULUM 7389 ÿ(Extended)
                                                                   ÿ
        -12/10
          *)-+ÿ.- ÿ5/11()--ÿ                /ÿ0&  12&ÿ3of4ÿ5the6&ÿ7
                                              Member                      8$5&ÿ98
                                                                      Graduate            1:;;:3';ÿ3
                                                                                      Admissions            11:55&&ÿ
                                                                                                        Committee
        ÿ                                     <ÿ6handled
                                              —      '8&8ÿallÿ0=0>
                                                                      MEMS ÿ       applications
                                                                                     ??:@5:3';ÿA(>100B-++ÿ3of4ÿ5them)
                                                                                                                     6&1Cÿ
        D4/10)-+ÿ.-7/11
                    ÿE)--ÿ                  /ÿ0&  12&ÿ3of4ÿ5the6&ÿ3
                                              Member                       &#&ÿ3of4ÿ='
                                                                      College              #:'&&:'#ÿ3
                                                                                        Engineering       Common113'ÿFFirst:;5ÿG& Year ÿ3   11:55&&ÿ
                                                                                                                                            Committee
        ÿ                                     — listened to discussions, but couldn’t really do much, since ÿ
                                              <ÿ    :;5 &  '& 8 ÿ
                                                                 53 ÿ8 :;  @ $ ;;:3  ' ;Hÿ2$ 5ÿIJ   KLM NO Pÿ  & %ÿ8  3 ÿ1$    @ 6Hÿ ;: '@ & ==>
                                                                                                                                                 EECS ÿ  re-&
                                                  4fuses
                                                     $;&;ÿ5to3ÿjoin
                                                                 Q3:'ÿ5the6&ÿ3   113'ÿFFirst:;5ÿG&
                                                                               Common                Year ÿA(aÿ1: ;5&Hÿ:in'ÿ1%
                                                                                                                  mistake,           my ÿ 3opinion)
                                                                                                                                            ?:':3'Cÿ
        D4/10)-+ÿ.—-12/10
                    ÿ-*)-+ÿ                 /ÿ0&  12&ÿ3of4ÿ5the6&ÿD4"56ÿFFloor
                                              Member                          33ÿ3Cory%ÿ
                                                                                            Task;ÿFForce
                                                                                                       3@&ÿ
        ÿ                                     <ÿrepresented
                                              —      &?&;&'5&8ÿN/MEMS ")0=0>ÿand'8ÿR>      BSAC  9ÿ
        S8/09)+Tÿ—.ÿE7/11)--ÿ               /ÿ0&  12&ÿ3of4ÿ5the6&ÿ7
                                              Member                  Grad8ÿ>Study/Prelim
                                                                                 5$8%)U&:1ÿ3         11:55&&ÿ
                                                                                                    Committee
        ÿ                                     <ÿ6helped
                                              —      &?&8ÿ1   make&ÿ8decisions
                                                                           &@:;:3';ÿ3on'ÿ#graduate
                                                                                              8$5&ÿ?program
                                                                                                             3#1ÿ1        55&;ÿ
                                                                                                                          matters
        S8/09)+Tÿ—.ÿ-12/09
                       *)+Tÿ                /ÿVW  XYWZÿJof\ÿPthe]Wÿ^M
                                              Member                  Ad ÿ  _J
                                                                            HocI  ÿ̀J   XXaPPWWÿ\forJZÿVa
                                                                                    Committee             MichelI]WLÿVb     ]bZYacOdÿePromotion
                                                                                                                      Maharbiz’s            ZJXJPaJNÿ
        ÿ                                     <ÿf
                                              —    wrote35&ÿ5the6&ÿresearch
                                                                     &;&@6ÿportion
                                                                                  ?35:3'ÿ3of4ÿ5the6&ÿad8ÿ6hoc3@ÿreport
                                                                                                                    &?35ÿand'8ÿpresented
                                                                                                                                     ?&;&'5&8ÿ5the6&ÿ@case;&ÿ
                                                  5to3ÿ5the6&ÿ8department
                                                                &?51&'5ÿA(the56&ÿad8ÿ6hoc3@ÿ@committee
                                                                                                    311:55&&ÿ@chair  6:ÿfwas;   ÿabsent)
                                                                                                                                      2;&'5Cÿ
        S8/09
          )+Tÿ.— ÿS8/10)-+ÿ                 /ÿ0&  12&ÿ3of4ÿ5the6&ÿ"g
                                              Member                  CNILhÿ    3   11:55&&ÿ
                                                                                Committee
        ÿ                                     <ÿ?
                                              —      5:@:?5&8ÿ:in'ÿ"g
                                                  participated                CNILhÿ    1&  &5:'#;iÿ?perhaps,
                                                                                        meetings;        &6?;Hÿ@created
                                                                                                                        &5&8ÿ;some  31&ÿ@controversy
                                                                                                                                                3'53j&;%ÿ
                                                  regarding
                                                     &#8:'#ÿadoption
                                                                     83?5:3'ÿ3of4ÿa ÿuniversity-wide
                                                                                          $':j&;:5%f:8&ÿ@computer  31?$5&ÿ;support $??35ÿ13     8&ÿ
                                                                                                                                                model
          )+Tÿ.— ÿ3/10
        E7/09        k)-+ÿ                  /ÿ0&  12&ÿ3of4ÿ5the6&ÿ0
                                              Member                        ;5&;ÿ:in'ÿ==>
                                                                      Masters           EECS ÿ  A(MEECS)
                                                                                                   0==>Cÿ3          11:55&&ÿ
                                                                                                                   Committee
        ÿ                                     <ÿ?
                                              —      5:@:?5&8ÿ:in'ÿ@construction
                                                  participated                  3';5$@5:3'ÿ3of4ÿa ÿ?potential
                                                                                                              35&'5:ÿ0==>MEECS ÿ?         3#1ÿ5that65ÿ
                                                                                                                                            program
                                                  &eventually
                                                     j&'5$%ÿ5turned$'&8ÿ:into'53ÿ==>
                                                                                        EECS ÿ   :involvement
                                                                                                   'j3j&1&'5ÿf:     with5 6ÿ5the6&ÿ0='
                                                                                                                                    MEng#     ÿprogram
                                                                                                                                               ?3#1ÿ
          )+Sÿ.— ÿS8/10)-+ÿ
        S8/08                               /ÿ0&  12&ÿ3of4ÿ5the6&ÿ==>
                                              Member                  EECS ÿ    =l   &@$5:j&ÿ3
                                                                                Executive            11:55&&ÿ
                                                                                                Committee
        ÿ                                     <ÿ?
                                              —      5:@:?5&8ÿ:in'ÿ1&
                                                  participated                  &5:'#;ÿ5to3ÿadvise
                                                                            meetings           8j:;&ÿ5the6&ÿ==>EECS ÿ   8department
                                                                                                                           &?51&'5ÿ@chairs  6:;ÿ
        S8/07)+Eÿ—.ÿS8/09)+Tÿ               /ÿ0&  12&ÿ3of4ÿ5the6&ÿFFaculty
                                              Member                   @$5%ÿm&       @$:5:'#ÿ3
                                                                                  Recruiting            11:55&&ÿ
                                                                                                    Committee
        ÿ                                     <ÿrecruited
                                              —      &@$:5&8ÿ'new&fÿ4faculty,
                                                                            @$5%Hÿ&especially
                                                                                         ;?&@:%ÿ:in'ÿ0=0>
                                                                                                           MEMS; i     ÿ0:   @6&ÿ0
                                                                                                                        Michel             62:nÿ@came
                                                                                                                                      Maharbiz       1&ÿ
        S8/07)+Eÿ- ÿS8/08)+Sÿ               /ÿ6 :ÿ3of4ÿ5the6&ÿ7
                                              Chair              Grad8ÿ>Study/Prelim
                                                                             5$8%)U&:1ÿ3         11:55&&ÿ
                                                                                               Committee
        ÿ                                     — presided over graduate program 1
                                              <ÿ?    &  ;  :
                                                            8  &8ÿ3  j& 
                                                                        ÿ   # 8 $  5& ÿ?3 #   1ÿ      55&;ÿA(e.g.,
                                                                                                       matters       &!#!Hÿprelim
                                                                                                                              ?&:1ÿpetitions,
                                                                                                                                          ?&5:5:3';Hÿ?pos-3;
                                                  ;sibility
                                                     :2::5%ÿ3of4ÿ1&       nn':'&ÿ@courses)
                                                                     mezzanine            3$;&;Cÿand'8ÿ3organized
                                                                                                                 #':n&8ÿprelim
                                                                                                                               ?&:1ÿ&exam  l1ÿassign-
                                                                                                                                                     ;;:#'
                                                  1&
                                                   ments '5;ÿ
        S8/07)+Eÿ- ÿS8/08)+Sÿ               /ÿ0&  12&ÿ3of4ÿ5the6&ÿ7
                                              Member                      8$5&ÿ98
                                                                      Graduate            1:;;:3';ÿ3
                                                                                      Admissions            11:55&&ÿ
                                                                                                        Committee
        ÿ                                     <ÿ&evaluated
                                              —      j$5&8ÿgIntegrated
                                                                     '5&#5&8ÿ:        @$:5ÿ#graduate
                                                                                      Circuit      8$5&ÿapplications
                                                                                                                  ??:@5:3';ÿand'8ÿparticipated
                                                                                                                                          ?5:@:?5&8ÿ:in'ÿ
                                                  @committee
                                                     311:55&&ÿ1&           &5:'#;ÿ
                                                                     meetings
        -1/07)+Eÿ- ÿ(5/07)+Eÿ               /ÿ0&  12&ÿ3of4ÿ5the6&ÿFFaculty
                                              Member                   @$5%ÿm&       @$:5:'#ÿ3
                                                                                  Recruiting            11:55&&ÿ
                                                                                                    Committee
        ÿ                                     <ÿ?
                                              —      5:@:?5&8ÿ:in'ÿ@committee
                                                  participated                 311:55&&ÿ1&          &5:'#;Hÿ:interviewed
                                                                                              meetings,          '5&j:&f&8ÿand'8ÿ&evaluatedj$5&8ÿ'nu-$
                                                  1&
                                                   merous3$;ÿ@candidates,
                                                                  '8:85&;Hÿ;suggested
                                                                                      $##&;5&8ÿand'8ÿ?pushed $;6&8ÿ4for3ÿ5the6&ÿ6hiring
                                                                                                                                        ::'#ÿ3of4ÿ0:  @6&ÿ
                                                                                                                                                    Michel
                                                  0     62:nÿ
                                                   Mabharbiz
   ÿ
   pqrstuvwÿHistory:
   Teaching      xuyz{|}~ÿ(*ÿ= ÿXb
                                   major JZÿIcourse
                                               JKZdWÿIcreation
                                                        ZWbPaJNÿperformed;
                                                                 WZ\JZXWMÿT ÿ= ÿXb       majorJZÿIcourse
                                                                                                       JKZdWÿrevision
                                                                                                             ZWadaJNÿperformed)
                                                                                                                          WZ\JZXWMÿ
       ÿ
       Average          ÿInstructor
                     Overall  ÿEvaluation
                                               ÿScore:
                                                               ÿ6.4!DÿA(out3$5ÿ3of4ÿE7).C!ÿ
       gIn'ÿreverse
              &j&;&ÿ@chronological
                        63'33#:@ÿ3order: 8&ÿ
               ÿ                                                                ÿ                  ÿ >Student 5$8&'5ÿ=j     !ÿ>Student
                                                                                                                         Eval.    5$8&'5ÿ=j      !ÿ
                                                                                                                                              Eval.
               ÿ                                                                ÿ                  ÿ 3of4ÿgInstructor
                                                                                                                 ';5$@53ÿ 3of4ÿ3    Course$;&ÿ
               3$;&ÿTitle
              Course    :5&ÿand'8ÿ"$    12&ÿ
                                        Number                            &
                                                                          Term1ÿ ='            31&'5ÿ A(Max.=7)
                                                                                           Enrollment           0l!ECÿ AMax.=7)   0l!ECÿ
       ==ÿ
        EE *    DERÿ/)ÿ0=ÿ
              C247B      ME *C218:-SÿgIntro.
                                           '53!ÿ5to3ÿ0=0>
                                                      MEMS ÿ   & ;:#'ÿS’21O*-ÿ S8 ÿ
                                                               Design                                            6.67!Eÿ              6.0!+ÿ
       ==ÿ
        EE -    +(ÿ0:
              105:      @3&&@53':@ÿ&
                    Microelectronic             j:@&;ÿ¡ÿ
                                            Devices    & :  @$:5;ÿ ¢F’20O*+ÿ k33kÿ
                                                          Circuits                                               6.13!-kÿ            (5.94!TDÿ
       ==ÿ
        EE *    DERÿ/)ÿ0=ÿ
              C247B      ME *C218:-SÿgIntro.
                                           '53!ÿ5to3ÿ0=0>
                                                      MEMS ÿ   & ;:#'ÿS’20O*+ÿ -17Eÿ
                                                               Design                                              6.3!kÿ              6.0!+ÿ
       ==ÿ
        EE -    +(ÿ0:
              105:      @3&&@53':@ÿ&
                    Microelectronic             j:@&;ÿ¡ÿ
                                            Devices    & :  @$:5;ÿ ¢F’19O£¤ÿ *24Dÿ
                                                          Circuits                                                 6.3!kÿ              (5.9!Tÿ
       ==ÿ
        EE *    DERÿ/)ÿ0=ÿ
              C247B      ME *C218:-SÿgIntro.
                                           '53!ÿ5to3ÿ0=0>
                                                      MEMS ÿ   & ;:#'ÿS’19O£¤ÿ T9 ÿ
                                                               Design                                              6.8!Sÿ              6.5!(ÿ
       ==ÿ
        EE ¥*      DERÿ0=0>
              W247B:     MEMS ÿ     4for3ÿ09>
                                           MASICg  ÿ                     ¢F’18O£¦ÿ (5 ÿ                           E7.0!+ÿ              6.7!Eÿ
       ==ÿ
        EE -    +(ÿ0:
              105:      @3&&@53':@ÿ&
                    Microelectronic             j:@&;ÿ¡ÿ
                                            Devices    & :  @$:5;ÿ~~ ¢F’18+
                                                          Circuits          O£¦§ÿ (53kÿ                            6.5!(ÿ              6.3!kÿ
               ÿ
   0 ÿ7
   Curriculum     ÿ
               Vitae                                               ÿT-C.!ÿ"#
                                                                  Clark             $%&'ÿ
                                                                                 Nguyen                                (5/20/2022
                                                                                                                         )*+)*+**ÿ                       ,8ÿ      ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 155 of 598 PageID #: 1082

                                                          0122301415ÿVITAE
                                                          CURRICULUM 7389 ÿ(Extended)
                                                                               ÿ
          --ÿ
          EE *  ./0ÿ/)ÿ1-ÿ
              C247B       ME *      234ÿ5Intro.
                                 C218:       '67!ÿ6to7ÿ1-18
                                                        MEMS ÿ  9& :;#'ÿ<S’18=>?ÿ 2183ÿ
                                                                Design                                                                       @6.4!.ÿ                     @6.2!*ÿ
          --ÿ
          EE A*    .+B4ÿB'
              W240A:           7#ÿCIC’s
                          Analog        D=EÿGforHIÿJK<
                                                   MASICC  Dÿ              <S’17=>Lÿ *2 ÿ                                                    /7.0!+ÿ                     @6.5!(ÿ
          --ÿ
          EE *  ./0ÿ/)ÿ1-ÿ
              C247B       ME *      234ÿ5Intro.
                                 C218:       '67!ÿ6to7ÿ1-18
                                                        MEMS ÿ  9& :;#'ÿ<S’17=>Lÿ *212ÿ
                                                                Design                                                                       @6.4!.ÿ                     (5.8!3ÿ
          --ÿ
          EE A*    ./04ÿ1-18
              W247B:      MEMS ÿ      Mfor7ÿ1B8
                                             MASIC5  ÿ                  NF’16*
                                                                             =>OPÿ .4 ÿ                                                      'n/a)ÿ                     'n/a)ÿ
          QQÿ
          EE RS    TUKVÿKW
              W240A:           XYHZÿCIC’s
                          Analog        D=EÿGforHIÿJK<
                                                   MASICC  Dÿ              <S’16=>Oÿ @6 ÿ                                                    'n/a)ÿ                     'n/a)ÿ
          --ÿ
          EE *  ./0ÿ/)ÿ1-ÿ
              C247B       ME *      234ÿ5Intro.
                                 C218:       '67!ÿ6to7ÿ1-18
                                                        MEMS ÿ  9& :;#'ÿ<S’16=>Oÿ *26@ÿ
                                                                Design                                                                       @6.2!*ÿ                     @6.2!*ÿ
          --2  .+4ÿB'
          EE140:        7#ÿ5Integrated
                    Analog      '6&#6&[ÿ;       \$;6:ÿ
                                               Circuits                    NF’15=>]ÿ 2183ÿ                                                   @6.4!.ÿ                     @6.1!2ÿ
          --*  .+B4ÿB'
          EE240A:         7#ÿ5Integrated
                      Analog       '6&#6&[ÿ;       \$;6:ÿ
                                                  Circuits                 NF’15=>]ÿ *283ÿ                                                   @6.2!*ÿ                     @6.2!*ÿ
          QQÿ
          EE RS    TUKVÿKW
              W240A:           XYHZÿCIC’s
                          Analog        D=EÿGforHIÿJK<
                                                   MASICC  Dÿ              <S’15=>]ÿ 38 ÿ                                                    'n/a)ÿ                     'n/a)ÿ
          --ÿ
          EE *  ./0ÿ/)ÿ1-ÿ
              C247B       ME *      234ÿ5Intro.
                                 C218:       '67!ÿ6to7ÿ1-18
                                                        MEMS ÿ  9& :;#'ÿ<S’15=>]ÿ 217/ÿ
                                                                Design                                                                       @6.7!/ÿ                     @6.6!@ÿ
          --2  .^4ÿ1;
          EE143:        \7M_;\6;7'ÿTechnology
                    Microfabrication            &\`'77#%ÿ                 NF’14=>Tÿ ^35(ÿ                                                   @6.3!^ÿ                     @6.5!(ÿ
          --ÿ
          EE *  ./0ÿ/)ÿ1-ÿ
              C247B       ME *      234ÿ5Intro.
                                 C218:       '67!ÿ6to7ÿ1-18
                                                        MEMS ÿ  9& :;#'ÿ8S’14=2.ÿ ^35(ÿ
                                                                Design                                                                       @6.3!^ÿ                     @6.3!^ÿ
          QQÿ
          EE RS    TUKVÿKW
              W240A:           XYHZÿCIC’s
                          Analog        D=EÿGforHIÿJK<
                                                   MAS-IC5  ÿ           NF =>13%aPÿ .4 ÿ                                                    'n/a)ÿ                     'n/a)ÿ
          --*  .+B4ÿB'
          EE240A:         7#ÿ5Integrated
                      Analog       '6&#6&[ÿ;       \$;6:ÿ
                                                  Circuits                 NF’13=>aÿ 2183ÿ                                                   @6.4!.ÿ                     @6.6!@ÿ ÿ
          --ÿ
          EE 2 .+4ÿB'
              140:       7#ÿ5Integrated
                     Analog       '6&#6&[ÿ;      \$;6:ÿ
                                                 Circuits                  NF’13=>aÿ *29bÿ                                                   @6.2!*ÿ                     @6.5!(ÿ
          --ÿ
          EE * .+B4ÿAnalog
              240A:    B'7#ÿ5Integrated
                                    '6&#6&[ÿ;       \$;6:ÿ
                                                   Circuits                <S’13=2^ÿ 210+ÿ                                                   /7.0!+ÿ                     /7.0!+ÿ ÿ
          --ÿ
          EE 2 .+4ÿB'
              140:       7#ÿ5Integrated
                     Analog       '6&#6&[ÿ;      \$;6:ÿ
                                                 Circuits                  <S’13=>aÿ (55(ÿ                                                   @6.5!(ÿ                     @6.4!.ÿ
          --ÿ
          EE *  .(ÿ)/ ÿ1-ÿ
              C245      ME *      234ÿ5Introduction
                               C218:       '67[$\6;7'ÿ6to7ÿ1-18
                                                              MEMS ÿ  ~~ N    =>Sÿ *22*ÿ
                                                                            F’12                                                             @6.4!.ÿ                     @6.8!3ÿ
          --ÿ
          EE 2 .+4ÿB'
              140:       7#ÿ5Integrated
                     Analog       '6&#6&[ÿ;      \$;6:ÿ
                                                 Circuits                  <S’12=>Sÿ ^33^ÿ                                                   @6.6!@ÿ                     @6.7!/ÿ
          --ÿ
          EE *  .(ÿ)/ ÿ1-ÿ
              C245      ME *      234ÿ5Introduction
                               C218:       '67[$\6;7'ÿ6to7ÿ1-18
                                                              MEMS ÿ  ~~ N    =>>ÿ ^34.ÿ
                                                                            F’11                                                             @6.4!.ÿ                     @6.3!^ÿ
          --ÿ
          EE 2 .+4ÿB'
              140:       7#ÿ5Integrated
                     Analog       '6&#6&[ÿ;      \$;6:ÿ
                                                 Circuits                  <S’11=>>ÿ .45(ÿ                                                   @6.7!/ÿ                     @6.6!@ÿ
          --ÿ
          EE *  .(ÿ)/ ÿ1-ÿ
              C245      ME *      234ÿ5Introduction
                               C218:       '67[$\6;7'ÿ6to7ÿ1-   18ÿ~~ NF’10=>Uÿ *212ÿ
                                                              MEMS                                                                           @6.5!(ÿ                     @6.2!*ÿ
          --ÿ
          EE 2 .^4ÿ1;
              143:       \7M_;\6;7'ÿTechnology
                     Microfabrication            &\`'77#%ÿ <S’10%           =>Ucÿ .40+ÿ                                                     @6.5!(ÿ                     @6.4!.ÿ
          --ÿ
          EE *  .(ÿ)/ ÿ1-*
              C245      MEC218:   234ÿ5Introduction
                                           '67[$\6;7'ÿ6to7ÿ1-  18ÿ~~ NF’09+
                                                             MEMS            =Udcÿ ^312ÿ                                                     @6.4!.ÿ                     @6.2!*ÿ
          --ÿ
          EE 2 .+4ÿB'
              140:       7#ÿ5Integrated
                     Analog       '6&#6&[ÿ;      \$;6:ÿ
                                                 Circuits                <S’09%
                                                                             =Udcÿ .42*ÿ                                                     @6.3!^ÿ                     @6.4!.ÿ
          --ÿ
          EE * .(4ÿ5Introduction
              245:    '67[$\6;7'ÿ6to7ÿ1-18  MEMS ÿ                        NF’08=U?ÿ ^30+ÿ                                                   (5.7!/ÿ                     (5.5!(ÿ
          --ÿ
          EE * .(4ÿ5Introduction
              245:    '67[$\6;7'ÿ6to7ÿ1-18  MEMS ÿ                      NF’07%
                                                                             =ULcÿ @60+ÿ                                                     (5.6!@ÿ                     (5.7!/ÿ
          --ÿ
          EE * .^4ÿB[
              243:   Adv.e!ÿ5ICÿfProcessing
                                   7\&::;'#ÿgÿ    & h   %7$6ÿ <S’07%
                                                       Layout                =ULcÿ 2183ÿ                                                     @6.2!*ÿ                     (5.7!/ÿ
          ÿ                                                                      ÿ Averages:
                                                                                    ijklmnko4ÿ                                               p6.4qrÿ                     p6.3qsÿ
          u& M&&'\&ÿ5Information:
          Reference       'M7v6;7'4ÿ
               +00:+4ÿlower
                        7w&ÿ[division
                               ;e;:;7'ÿx(freshman,
                                         M&:`v'yÿ:sophomore);
                                                     7z`7v7&{|ÿ2100:++4ÿ$upper
                                                                           zz&ÿ[division
                                                                                  ;e;:;7'ÿx(junior,
                                                                                            }$';7yÿ:senior);
                                                                                                      &';7{|ÿ*200:++4ÿ#graduate
                                                                                                                         [$6&ÿ
   ~ ÿ~
   Course         ÿ
               Creation:
     ÿ   j   kl
     U Overhauled mkÿEE105:
                             ÿMicroelectronic
                                         lkklÿDevices    kjkoÿÿ       &       loÿx(undergraduate
                                                                                          Circuits         $'[&#[$6&ÿleader               &[&ÿ\course
                                                                                                                                                           7$:&ÿ;into'67ÿ6̀&
                                                                                                                                                                            the ÿ   fPhys-
                                                                                                                                                                                      `%:
        ;ical\ÿ- &\67';\:ÿand'[ÿ5Integrated
                 Electronics                '6&#6&[ÿ;          \$;6:ÿareas)
                                                              Circuits        &:{ÿ[during  $;'#ÿFallÿ8Semester  &v&:6&ÿ*2018.        +23!ÿ`   This;:ÿw
                                                                                                                                                               was:  ÿpartly
                                                                                                                                                                       z6%ÿ6to7ÿac-\
        \commodate
          7vv7[6&ÿa ÿx(constantly)
                                \7':6'6%{ÿ\changing `'#;'#ÿ--2  EE16A/B@B)0ÿ:series   &;&:ÿand'[ÿ&entailed
                                                                                                           '6;&[ÿ'not76ÿ7only'%ÿa ÿ\complete     7vz&6&ÿrestructuring
                                                                                                                                                                    &:6$\6$;'#ÿ7ofMÿ
        6̀&
         the ÿ  --2
                EE105 +(ÿlectures,
                            &\6$&:yÿ_but$6ÿalso:7ÿ#generating
                                                          &'&6;'#ÿ\completely
                                                                            7vz&6&%ÿ'new&wÿlabs_:ÿMfor7ÿ6̀&              the ÿ  \course.
                                                                                                                                        7$:&!ÿ`     The& ÿ;incentive
                                                                                                                                                              '\&'6;e&ÿ6to7ÿ[do7ÿ6̀;   this:  ÿ
        arose
          7:&ÿMfrom7vÿv%  my ÿ  :strong
                                    67'#ÿbelief
                                             _&;&Mÿ6̀ that6 ÿ:students
                                                                 6$[&'6:ÿ:should `7$[ÿlearn &'ÿ;in'ÿlecture
                                                                                                            &\6$&ÿ6̀&         the ÿ  v
                                                                                                                                      material6&;ÿ'needed
                                                                                                                                                          &&[&[ÿ6to7ÿMfully
                                                                                                                                                                         $%ÿ$under-'[&
        :stand
          6'[ÿand'[ÿ&execute
                             &\$6&ÿa ÿlab_ÿ¡before
                                                   k¢lkÿ[doing
                                                             7;'#ÿ6̀
                                                                    that6 ÿlab,_yÿ'not76ÿafter,
                                                                                              M6&yÿw`which;\`ÿw     was:    ÿ6̀&
                                                                                                                                the ÿ  \case:&ÿMfor7ÿ:some
                                                                                                                                                         7v&ÿrenditions
                                                                                                                                                                  &'[;6;7':ÿ7ofMÿ6̀;   this:  ÿ
        \course.
          7$:&!ÿ5I ÿalso:7ÿ;insist
                                ':;:6ÿ6̀
                                        that6ÿ;ifMÿ:students
                                                     6$[&'6:ÿ$use:&ÿ_bipolar
                                                                         ;z7ÿ6transistors
                                                                                      ':;:67:ÿ;in'ÿ6̀&       the ÿ  lab,_yÿ6̀&
                                                                                                                                 then'    ÿ6̀&
                                                                                                                                           they%    ÿv$
                                                                                                                                                     must: 6ÿlearn
                                                                                                                                                               &'ÿabout
                                                                                                                                                                       _7$6ÿ6̀&themvÿ     ;in'ÿ
        lecture—again,
          &\6$&£#;'yÿ:something   7v&6̀;'#ÿ6̀     that 6ÿw
                                                              was: ÿ'not76ÿ`happening
                                                                              zz&';'#ÿ;in'ÿallÿrenditions     &'[;6;7':ÿ7ofMÿ6̀&          the ÿ  \course,
                                                                                                                                                        7$:&yÿ:some 7v&ÿ7ofMÿw`   which;\`ÿ
          ;zz&[ÿ_bipolar
        :skipped         ;z7ÿ6transistors
                                     ':;:67:ÿand'[ÿ\covered7e&&[ÿ7only'%ÿ1¤8    MOS, y    ÿ%yet&6ÿ:still6;ÿ$used:&[ÿ_bipolar
                                                                                                                                   ;z7ÿ6transistors
                                                                                                                                                   ':;:67:ÿ;in'ÿ6̀&  the ÿlab._!ÿThe`&ÿ
           6̀&ÿ;incentive
        7other      '\&'6;e&ÿMfor7ÿre-introducing
                                         &;'67[$\;'#ÿbipolar    _;z7ÿ6transistors
                                                                              ':;:67:ÿ;is:ÿ6̀     that6 ÿ;it6ÿ&enables
                                                                                                                        '_&:ÿa ÿ\course    7$:&ÿMfinal;'ÿlab_ÿproject
                                                                                                                                                                      z7}&\6ÿv$     much\`ÿ
        v7
         more  &ÿ:substantial
                    $_:6'6;ÿ6̀   that 6ÿw7
                                            would  $[ÿ7otherwise
                                                          6̀&w;:&ÿbe_&ÿachievable
                                                                                  \`;&e_&ÿw;      with6̀ÿ      [discrete
                                                                                                                    ;:\&6&ÿ1¤8   MOS ÿ         6transistors,
                                                                                                                                                  ':;:67:yÿw`        ;\`ÿperform
                                                                                                                                                                    which     z&M7vÿ
        `horribly
           7;_%ÿ\compared
                         7vz&[ÿw;     with6̀ÿ   [discrete
                                                    ;:\&6&ÿ_bipolar
                                                                 ;z7ÿ[devices.
                                                                              &e;\&:!ÿ`     The&   ÿresult
                                                                                                      &:$6ÿ7ofMÿ6̀;     this:   ÿrather
                                                                                                                                      6̀&ÿ\complete7vz&6&ÿ7overhaul
                                                                                                                                                                     e&`$ÿ7ofMÿ6̀&   the ÿ
          7$:&ÿw
        \course      was :ÿ6̀&
                            the ÿ̀;  #`&:6ÿ;instructor
                                 highest       ':6$\67ÿand'[ÿ\course7$:&ÿratings
                                                                                    6;'#:ÿMfor7ÿ--2  EE105      +(ÿ;in'ÿ;its6:ÿ̀;      :67%!ÿ
                                                                                                                                    history.
     ÿ
     QU   lkmkÿEEÿ¥¦
        Created              W247B:r§¨ÿIntroduction
                                           ©lÿtoÿMEMS   ªÿDesign    konÿfor¢lÿMAS-IC iª«©ÿx(graduate       #[$6&ÿ\course     7$:&ÿ7on'ÿ1-18MEMS ÿ      Mfor7ÿ6̀&
                                                                                                                                                                                        the ÿ
        7online
           ';'&ÿ1B8MAS-IC    5ÿzprogram).
                                     7#v{!ÿ`     The& ÿlectures
                                                             &\6$&:ÿMfor7ÿ6̀&the ÿ   \course
                                                                                         7$:&ÿw&  were  &ÿrecorded
                                                                                                                   &\7[&[ÿ[during     $;'#ÿ6̀&   the ÿ 8Spring
                                                                                                                                                           z;'#ÿ*2014+2.ÿ:semester
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                 the ÿ
        and'[ÿ6̀&    evideo
                        ;[&7ÿ&editing,
                                   [;6;'#yÿw&website_:;6&ÿ\construction,
                                                              7':6$\6;7'yÿand'[ÿ`homework    7v&w7ÿv                 6&;:ÿMfinalized
                                                                                                                     materials               ;';¬&[ÿ7overe&ÿ6̀&  the ÿ :summer
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   Curriculum     ÿ
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 156 of 598 PageID #: 1083

                                                      0122301415ÿVITAE
                                                      CURRICULUM 7389 ÿ(Extended)
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        *2016.
            +./!ÿ0    The& ÿ1first
                                234ÿ5offering
                                          11&2'#ÿ5occurred
                                                        66$&7ÿ2in'ÿ8Fallÿ*2016. +./!ÿ9Like2&ÿ::ÿ  EE ;*     <+=>ÿ6creation
                                                                                                             W240A,           &425'ÿ5of1ÿ4this023ÿ6course
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        6considerable
            5'327&@&ÿamount     A5$'4ÿ5of1ÿB5    work.!ÿ
     Cÿ EFGHIJKLÿEEEEÿNW240A
     U Exported                       OPQRÿSforHIÿTShanghai
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         Tech  60ÿ6collaboration
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                                                            Berkeley)           $2'#ÿ8Fallÿ*2013.
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     Cÿ
     QU b   IKVJKLÿEEEEÿNO
        Created                        PQRcÿAnalog
                                  W240A:        RWVdHXÿIntegrated
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                                                                                                                      #7$4&ÿ6course 5$3&ÿ5on'ÿanalog  '5#ÿ2integrated
                                                                                                                                                                     '4&#4&7ÿ
        6circuits
            26$243ÿ1for5ÿ4the0&ÿ5online'2'&ÿj=]MAS-IC    kÿlprogram)
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                                                                                                         l2'#>ÿ]Summer,
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        'new&Bÿ5online
                     '2'&ÿ6course5$3&ÿ2is3ÿbased
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            724&7ÿ5overm&ÿ]Summer
        &edited                   $AA&ÿ*2013,    +.a>ÿand'7ÿ5offered
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                                                                    @&2'#ÿan'ÿ&enormous
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                                                                                                                                        me, > ÿ3since
                                                                                                                                                 2'6&ÿrecording
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        7during
            $2'#ÿ]Spring  l2'#ÿ*2013  +.aÿ1forced
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            A5$'43ÿ4to5ÿabout
        amounts                  @5$4ÿ*26/ÿ3sub-modules.
                                                   $@A57$&3!ÿ0           &&ÿB
                                                                       There       was3   ÿalso35ÿa ÿ#good
                                                                                                           557ÿamount
                                                                                                                  A5$'4ÿ5of1ÿ&editing7242'#ÿand'7ÿ6creation
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        3study
           4$7%ÿaides, 27&3>ÿ&e.g.,!#!>ÿn2   36$3325'ÿoPoints,
                                          Discussion          52'43>ÿ1for5ÿB0
                                                                            which  260ÿkI ÿamAÿ#grateful
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        4the0&ÿ6course
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                                                               &A&34&ÿB   was 3   ÿ?quite
                                                                                        $24&ÿ3smooth,
                                                                                                  A5540>ÿand'7ÿkI ÿBwas 3 ÿ0happy
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     Cÿ qKrYgKLÿEEEEÿO245:PscÿIntroduction
     QU Revised                          eWJIHLf[JYHWÿJtoHÿMEMS  hEhTÿ\(graduate#7$4&ÿ6course  5$3&ÿ5on'ÿj:j]
                                                                                                               MEMS) `      ÿ7during
                                                                                                                               $2'#ÿ4the0&ÿ]Summer
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        3semesters.
           &A&34&3!ÿ::ÿ     EE *      <(ÿ0had7ÿnot'54ÿbeen
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                                                                  $#04ÿ3since
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                                                                                                                                          l742'#!ÿkI ÿ4thus0$3ÿ6completely
                                                                                                                                                                   5Al&4&%ÿ
        reorganized
           &5#'2u&7ÿ4the0&ÿ6course,     5$3&>ÿrewriting
                                                      &B242'#ÿ2its43ÿlecture
                                                                         &64$&ÿ'notes   54&3ÿand'7ÿ6converting
                                                                                                           5'm&42'#ÿ2it4ÿ1from
                                                                                                                              5Aÿ4the0&ÿ3somewhat
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                                                                                    modeling                  65A&60'26ÿ&elements
                                                                                                           micromechanical               &A&'43ÿand'7ÿ'noise 523&ÿanalysis
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        5of1ÿ3systems
                %34&A3ÿ4that04ÿ$utilize  422u&ÿj:MEMS  j]ÿ7devices.
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                                                                                                                                                                             &!#!>ÿ
        accelerometers
            66&&5A&4&3ÿand'7ÿ#gyroscopes),  %5365l&3`>ÿ@but$4ÿ4the0&ÿ1fundamentals
                                                                                  $'7A&'43ÿ5of1ÿA5             7&2'#ÿand'7ÿ'noise
                                                                                                             modeling                  523&ÿ4that04ÿ3students
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        be       3&1$ÿ2in'ÿa ÿA$
        @&ÿ$useful                 much   60ÿA5more &ÿ#general
                                                          &'&ÿ3sense
                                                                     &'3&ÿ1for5ÿ6countless
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        re-vamping
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      ÿService:
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                                                       Member of the EE Graduate Division Committee  m 2325 'ÿ5  AA2    44& &ÿ
         ÿ                                             ÿadvising
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                                                       Member                   ]:9ÿl     &425'3ÿ5
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                                                                                                        Committee
         ÿ                                             ÿl
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                                                                                                                Committee
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                                                                                                                              Committee
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   Curriculum     ÿ
               Vitae                                                          ÿT-C.!ÿ"#
                                                                             Clark             $%&'ÿ
                                                                                            Nguyen                                     (5/20/2022
                                                                                                                                         )*+)*+**ÿ                          ,10-ÿ      ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 157 of 598 PageID #: 1084

                                                      0122301415ÿVITAE
                                                      CURRICULUM 7389 ÿ(Extended)
                                                                           ÿ
         -4/98)./ÿ- ÿ-4/00)++ÿ                       0* ÿ1&   23&ÿ4of5ÿ6the7&ÿ4
                                                          Member                        &#&ÿ4of5ÿ8'
                                                                                   College                 #9'&&9'#ÿ:4
                                                                                                       Engineering        Honors'4;ÿand'<ÿ=>  Awards<;ÿ4   22966&&ÿ
                                                                                                                                                            Committee
         ÿ                                                ?ÿ<decide
                                                          —        &@9<&ÿ>9 with67ÿ4other
                                                                                       67&ÿ2&        23&;ÿ6the7&ÿawardees
                                                                                                  members              ><&&;ÿ4of5ÿ6the7&ÿ4         &#&ÿ4of5ÿ8'
                                                                                                                                                   College             #9'&&
                                                                                                                                                                  Engineer-
                                                               9ing'#ÿ:4    '4;ÿand'<ÿ=>
                                                                       Honors               Awards   <;ÿ
         .9/96).Aÿ- ÿ(5/99)..ÿ                       0* ÿ1&   23&ÿ4of5ÿ6the7&ÿ8B
                                                          Member                   ESE8ÿ     C'     <&#<$6&ÿ$
                                                                                             Undergraduate               9@$$2ÿ4
                                                                                                                      Curriculum                22966&&ÿ
                                                                                                                                           Committee
         ÿ                                                ?ÿD
                                                          —        69@9D69'#ÿ9in'ÿ6the7&ÿ<definition
                                                               participating                          &59'9694'ÿand'<ÿ9implementation
                                                                                                                          2D&2&'6694'ÿ4of5ÿ6the7&ÿ'new&>ÿ88B          EECS ÿ
                                                               $undergraduate
                                                                   '<&#<$6&ÿ@curriculum $9@$$2ÿ5for4ÿ$        9@$$2ÿ*2000
                                                                                                                   Curriculum            +++ÿat6ÿ6the7&ÿC4  51ÿ
                                                                                                                                                          UofM
         E3/97).Fÿ- ÿG1/99)..ÿ                       0* ÿ4    79ÿ4of5ÿ6the7&ÿ9
                                                          Co-Chair                      @$96;ÿand'<ÿ19
                                                                                    Circuits                  @4;%;6&2;ÿHPh.D.
                                                                                                           Microsystems             7!I!ÿ4        22966&&ÿ
                                                                                                                                               Committee
         ÿ                                                ?ÿ<developed
                                                          —        &J&4D&<ÿHPh.D.  7!I!ÿ2     majorK4ÿprogram
                                                                                                          D4#2ÿ9in'ÿLM        NOPMQRÿTandUVÿMicrosystems
                                                                                                                             Circuits                WMONXRYRQZ[Rÿ>9       with6
                                                                                                                                                                               7ÿ
                                                               HProf.
                                                                    45!ÿ\7
                                                                         Khalil9ÿNajafi
                                                                                    "K59ÿ
         G1/97).Fÿ- ÿG12/97
                       *).Fÿ                         0* ÿ7   9ÿ4of5ÿ6the7&ÿ88B
                                                          Chair                EECS ÿ    E311GGÿ](Electronic
                                                                                                     8&@64'9@ÿ9      @$96;^ÿ4
                                                                                                                     Circuits)           22966&&ÿ
                                                                                                                                    Committee
         ÿ                                                ?ÿ<developing/teaching
                                                          —        &J&4D9'#)6&@79'#ÿ88B            EECS ÿ    E311—the
                                                                                                                   GG?67&ÿjunior  K$'94ÿlevel  &J&ÿleader
                                                                                                                                                         &<&ÿ@course
                                                                                                                                                                    4$;&ÿ9in'ÿ
                                                               8    &@64'9@ÿ9
                                                                Electronic            @$96;?_ÿBSemester
                                                                                  Circuits—Fall              &2&;6&ÿG1997   ..Fÿ](wrote
                                                                                                                                       >46&ÿlab3ÿ2     '$ÿ̀Dprojects,
                                                                                                                                                       manual,         4K&@6;ÿ̀
                                                               and'<ÿlecture/logistical
                                                                        &@6$&)4#9;69@ÿ'notes,      46&;ÿ̀procured
                                                                                                              D4@$&<ÿa~$429,550b-*.`((+ÿ9in'ÿ&equipment)
                                                                                                                                                        c$9D2&'6^ÿ
         G1/96).Aÿ- ÿ.9/96).Aÿ                       0* ÿ1&   23&ÿ4of5ÿ6the7&ÿ88B
                                                          Member                   EECS ÿ        *210/211
                                                                                                   G+)*GGÿ4      22966&&ÿ
                                                                                                             Committee
         ÿ                                                ?ÿD
                                                          —        69@9D6&<ÿ9in'ÿ2
                                                               participated                making 9'#ÿkey&%ÿ<decisions
                                                                                                                  &@9;94';ÿ9in'ÿ<defining
                                                                                                                                       &59'9'#ÿ6the7&ÿ4order
                                                                                                                                                           <&ÿand'<ÿ@cov-4J
                                                               &erage
                                                                 #&ÿ4of5ÿ88B EECS ÿ        *210/211,
                                                                                                G+)*GGÿ̀6the7&ÿdIntroduction
                                                                                                                     '64<$@694'ÿ6to4ÿ8Electrical &@69@ÿ8'    #9'&&9'#ÿ
                                                                                                                                                              Engineering
                                                               ;sequence
                                                                 &c$&'@&ÿat6ÿ6the7&ÿUofM   C451ÿ
         ÿ
   ef  ghijklÿHistory:
    Teaching         njopqrstÿv(*wÿy= ÿz{     |}~ÿcourse
                                           major        }~ÿcreation
                                                                     ~{}ÿperformed;
                                                                                  ~}~zÿT ÿy= ÿz{         |}~ÿcourse
                                                                                                           major       }~ÿ~revision
                                                                                                                                   }ÿperformed)
                                                                                                                                                 ~}~zÿ
   "46&ÿ7
   Note:     There&&ÿ9is;ÿa ÿlarge
                                 #&ÿ#gapDÿbetween
                                             3&6>&&'ÿ9      Winter '6&ÿ*2001++Gÿand'<ÿ9 Winter '6&ÿ*2006,
                                                                                                          ++Aÿ̀;since
                                                                                                                    9'@&ÿ6this79;ÿ>
                                                                                                                                   was;  ÿ6the7&ÿperiod
                                                                                                                                                  D&94<ÿ<during
                                                                                                                                                            $9'#ÿ>7       9@7ÿdI ÿ
                                                                                                                                                                       which
   ;started
     66&<ÿ2%  my ÿ   @company,
                         42D'%ÿ̀I9        ;@&ÿ̀6then
                                       Discera,         7&'ÿ<did9<ÿ2% my ÿ  I=H
                                                                            DARPA=ÿ        appointment.
                                                                                               DD49'62&'6!ÿdI ÿleft&56ÿ6the7&ÿC'     9J&;96%ÿ4of5ÿ19
                                                                                                                                 University                @79#'ÿ3before
                                                                                                                                                        Michigan          &54&ÿ
     &@&9J9'#ÿ&evaluation
   receiving          J$694'ÿ;scores
                                       @4&;ÿ5for4ÿ9      '6&ÿ*2006.
                                                        Winter         ++A!ÿ
         ZNTZÿ
         Average               ZNTÿInstructor
                            Overall   URQNPOQXNÿEvaluation
                                                         TPTQMXUÿScore:  OXNZÿ-4.78!F/ÿ](out4$6ÿ4of5ÿ(5)—one
                                                                                                             ^?4'&ÿ4of5ÿ7highest 9#7&;6ÿ9in'ÿ6the7&ÿ@college.
                                                                                                                                                        4&#&!ÿ
         dIn'ÿreverse
                &J&;&ÿ@chronological
                               74'44#9@ÿ4order: <&ÿ
                 ÿ                                                                                ÿ                 ÿ BStudent    6$<&'6ÿ8J         !ÿBStudent
                                                                                                                                                Eval.       6$<&'6ÿ8J       !ÿ
                                                                                                                                                                        Eval.
                 ÿ                                                                                ÿ                 ÿ 4of5ÿdInstructor ';6$@64ÿ 4of5ÿ4        Course$;&ÿ
                 4$;&ÿTitle
                 Course        96&ÿand'<ÿ"$  23&ÿ
                                             Number                                        &2ÿ 8'
                                                                                           Term               42&'6ÿ ]1
                                                                                                           Enrollment                      !(^ÿ ](Max.=5)
                                                                                                                                     (Max.=5)                 1!(^ÿ
         
          EECS ÿ      522:ÿAnalog
                                   {¡}¢ÿ£IC’s
                                            ¤ÿfor}~ÿ}    zz{}ÿ¥¤
                                                         Communications                    W’06    ¦§ÿ ¨Hk¨ÿ                             ¨rx¨ÿ                    ¨rE¨ÿ
         
          EECS ÿ      522:ÿAnalog
                                   {¡}¢ÿ£IC’s
                                            ¤ÿfor}~ÿ}    zz{}ÿ¥¤
                                                         Communications                    W’01¦    ©ÿ E30+ÿ                           -4.83!/Eÿ                -4.63!AEÿ
         88B
          EECS ÿ      -413:GEÿ14  '49679@ÿ=2D
                               Monolithic      Amplifier 959&ÿ9     @$96;ÿ ªF’00¤¦¦ÿ (55(ÿ
                                                                    Circuits                                                           -4.85!/(ÿ                -4.83!/Eÿ
          EECS ÿ
                  522:ÿAnalog
                                   {¡}¢ÿ£IC’s
                                            ¤ÿfor}~ÿ}    zz{}ÿ¥¤
                                                         Communications                    W’00    ¦¦ÿ E34-ÿ                           -4.79!F.ÿ                -4.67!AFÿ
         88B
          EECS ÿ      (523:*EÿI9 #96ÿdIntegrated
                               Digital     '6&#6&<ÿ9        @$96;ÿ
                                                            Circuits                        ªF’99¤««ÿ (50+ÿ                            -4.86!/Aÿ                -4.74!F-ÿ
         
          EECS ÿ      522:ÿAnalog
                                   {¡}¢ÿ£IC’s
                                            ¤ÿfor}ÿ4    22$'9@694';ÿ¥¤
                                                         Communications                    W’99    ««ÿ E31Gÿ                           -4.84!/-ÿ                -4.78!F/ÿ
          EECS ÿ
         88B         (523:*EÿI9 #96ÿdIntegrated
                               Digital     '6&#6&<ÿ9        @$96;ÿ
                                                            Circuits                        ªF’98¤«¬ÿ -42*ÿ                            -4.81!/Gÿ                -4.44!--ÿ
         88B
          EECS ÿ      E311:GGÿ8 &@64'9@ÿ9
                               Electronic        @$96;ÿ
                                              Circuits                                     ¥¤
                                                                                           W’98    «¬ÿ .91Gÿ                           -4.77!FFÿ                -4.31!EGÿ
         88B
          EECS ÿ      E311:GGÿ8 &@64'9@ÿ9
                               Electronic        @$96;ÿ
                                              Circuits                                    ªF97*¤«­wÿ A63Eÿ                             -4.80!/+ÿ                -4.38!E/ÿ
          EECS ÿ
                  522:ÿAnalog
                                   {¡}¢ÿ£IC’s
                                            ¤ÿfor}~ÿ}    zz{}ÿ¥¤
                                                         Communications                    W’97    «­ÿ *28/ÿ                           -4.75!F(ÿ                -4.79!F.ÿ
         88B
          EECS ÿ      (523:*EÿI9 #96ÿdIntegrated
                               Digital     '6&#6&<ÿ9        @$96;ÿ
                                                            Circuits                      ªF967¤«§ÿ -44-ÿ                             -4.71!FGÿ                -4.45!-(ÿ
          EECS ÿ
                  522:ÿAnalog
                                   {¡}¢ÿ£IC’s
                                            ¤ÿfor}~ÿ}    zz{}ÿ¥¤
                                                         Communications                  W’96*   «§wÿ*29(+~25visits)
                                                                                                          .]®a*(J9;96;^ÿ -4.82!/*ÿ                              -4.74!F-ÿ
         88B       ÿ E  G  /ÿ='  
          EECS 318: Analog Electronics4#  ÿ
                                          8 &@ 64    ' 9@ ;ÿ                              ª   ¤
                                                                                             F’95 « ÿ           (55( ÿ                -  !
                                                                                                                                        4.71F  G ÿ              -4.29!*.ÿ
         88B
          EECS ÿ      E318:G/ÿ='  4#ÿ8Electronics
                               Analog       &@64'9@;ÿ                                    ¥¤
                                                                                           W’95    «ÿ -44-ÿ                           -4.64!A-ÿ                -4.70!F+ÿ
         ÿ                                                                                        ÿ Averages:
                                                                                                            ZNTZRÿ ¯4.78°±²ÿ                                ¯4.59°³´ÿ
         & 5&&'@&ÿdInformation:
         Reference        '542694'ÿ
              G100:++ÿ5freshman;
                         &;72'µÿ*200:++ÿ;sophomore;
                                             4D7424&µÿE300:++ÿjunior;
                                                                K$'94µÿ-400:++ÿ;senior;
                                                                                   &'94µÿ(500:++ÿ#graduate
                                                                                                     <$6&ÿ
              LX    ZZÿAverage
               College      ZNTZÿ4on'ÿBStudent
                                             6$<&'6ÿ8J $694'ÿ4of5ÿdInstructor
                                                    Evaluation         ';6$@64ÿ5for4ÿa ÿE300-level
                                                                                              ++¡¡ÿ}      ~ÿin ÿªF’97:
                                                                                                          Course           ¤«­ÿ¶4.11·©©ÿ
              LX    ZZÿAverage
               College      ZNTZÿ4on'ÿBStudent
                                             6$<&'6ÿ8J $694'ÿ4of5ÿE300-level
                                                    Evaluation          ++¡¡ÿ}      ~ÿin ÿªF’97:
                                                                                     Course           ¤«­ÿ̧·«¶ÿ
                                                                                                           3.94
   ¹q ºrofÿ¹r
   Course     fgpjqktÿ
           Creation:


           ÿ
   0 ÿ7
   Curriculum     ÿ
               Vitae                                                          ÿT-C.!ÿ"#
                                                                             Clark             $%&'ÿ
                                                                                            Nguyen                                     (5/20/2022
                                                                                                                                         )*+)*+**ÿ                         ,11,ÿ      ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 158 of 598 PageID #: 1085

                                                  0122301415ÿVITAE
                                                  CURRICULUM 7389 ÿ(Extended)
                                                                       ÿ
     .ÿ
     WU 0   123425ÿEECS
        Created         7708ÿ9311:::;ÿElectronic
                                         7<2=41>?@=ÿ0@        1=A@4BÿC(undergraduate
                                                           Circuits      $'D&#D$E&ÿleader  &D&ÿFcourse
                                                                                                           G$H&ÿIin'ÿ&electronic
                                                                                                                          &FEG'IFÿFcircuits)
                                                                                                                                         IF$IEHJÿDduring
                                                                                                                                                      $I'#ÿEtheK&ÿ
        LSummer
             $MM&ÿand'DÿNFallÿO1997
                                       PPQÿHsemesters,
                                                  &M&HE&HRÿ&establishing
                                                                  HESIHKI'#ÿGone'&ÿGofTÿEtheK&ÿFcoreG&ÿFcourses
                                                                                                            G$H&HÿIin'ÿEtheK&ÿ'new&UÿVVL
                                                                                                                                       EECS ÿ    WG#MÿTforGÿ
                                                                                                                                                 program
        XtheYZÿ\]    ^^Z_Zÿ]of`ÿab
               College                _cbZZdcb_efÿ\g
                                Engineering’s               ddchg^giÿj2000
                                                         Curriculum         kkkÿlInitiative
                                                                                   bcXcmXcnZÿmandboÿpqV!
                                                                                                        ABET. ÿ     K
                                                                                                                     ThisIHÿFcourse
                                                                                                                              G$H&ÿIisHÿEtaken
                                                                                                                                           &'ÿSby%ÿ3all<<ÿ&elec-
                                                                                                                                                              &F
        Etrical
          IFÿ&engineering
                      '#I'&&I'#ÿHstudents.
                                        E$D&'EH!ÿrItsEHÿWprimary
                                                              IM%ÿGobjectives
                                                                           Ss&FEIt&Hÿare&ÿEtoGÿEteach
                                                                                                     &FKÿTfundamental
                                                                                                              $'DM&'EÿEtransistor-level
                                                                                                                                    'HIHEG&t&ÿFcircuitIF$IEÿ
        Ddesign
            &HI#'ÿand'Dÿprepare
                            W&W&ÿHstudents
                                         E$D&'EHÿTforGÿHsubsequent
                                                             $SH&u$&'Eÿadvanced
                                                                              Dt'F&Dÿanalog'G#ÿC(EECS
                                                                                                        VVLÿv411,OORÿv413)OwJÿand'DÿDdigital
                                                                                                                                         I#IEÿC(EECS
                                                                                                                                                  VVLÿv427)*QJÿ
           IF$IEÿDdesign
        Fcircuit        &HI#'ÿFcourses.
                                G$H&H!ÿrIn'ÿpreparing
                                                   W&WI'#ÿEthisKIHÿFcourse,
                                                                          G$H&RÿrI ÿFchaired
                                                                                        KI&DÿEtheK&ÿVVL
                                                                                                        EECS ÿ   w311OOÿNFormation
                                                                                                                           GMEIG'ÿG       MMIEE&&RÿU
                                                                                                                                         Committee,            GE&ÿ
                                                                                                                                                           wrote
        and'Dÿtverified
                  &ITI&DÿEtheK&ÿlabSÿM      '$RÿU
                                          manual,           GE&ÿEtheK&ÿlecture
                                                         wrote           &FE$&ÿ'notes,
                                                                                     GE&HRÿand'DÿKhandled
                                                                                                     'D&DÿallÿWpaperwork
                                                                                                                         W&UGÿrequired
                                                                                                                                         &u$I&DÿTforGÿ&estab-
                                                                                                                                                            HES
        lishing
          IHKI'#ÿEtheK&ÿFcourse
                             G$H&ÿIin'ÿEtheK&ÿVVEECS  LÿFcurriculum,
                                                            $IF$$MRÿIincluding
                                                                             'F$DI'#ÿABET  xqVÿjustifications.
                                                                                                       s$HEITIFEIG'H!ÿrI ÿKhadDÿalsoHGÿWparticipated
                                                                                                                                             EIFIWE&DÿIin'ÿa ÿ
        WGWGHÿEtoGÿEtheK&ÿy&
        proposal                      U&EEzFDÿVu
                                Hewlett-Packard                  $IWM&'EÿrInitiative
                                                             Equipment        'IEIEIt&ÿTforGÿ$    IF$$Mÿ*2000,
                                                                                                 Curriculum           +++Rÿand'DÿEthrough
                                                                                                                                     KG$#KÿEthisKIHÿWproposal,
                                                                                                                                                       GWGHRÿ
        UG'ÿ{$429,550
        won          v*PR((+ÿIin'ÿ&equipment
                                       u$IWM&'EÿEtoGÿFcreate&E&ÿEtheK&ÿVVL
                                                                          EECS ÿ   w311OOÿlaboratory.
                                                                                            SGEG%!ÿ
     .ÿ
     U |    }~~ÿEECS
        Created          |ÿ522:ÿAnalog
                                           ÿIC’s   |ÿfor}ÿ|   ÿC(graduate
                                                                      Communications             #D$E&ÿFcourse G$H&ÿGon'ÿanalog
                                                                                                                                   'G#ÿFcommunication
                                                                                                                                              GMM$'IFEIG'ÿ
        Fcircuits)
           IF$IEHJÿDduring$I'#ÿEtheK&ÿNFallÿand'DÿI  'E&ÿO1996
                                                        Winter       PPÿHsemesters,
                                                                            &M&HE&HRÿFcovering
                                                                                             Gt&I'#ÿEtopics
                                                                                                           GWIFHÿrelevant
                                                                                                                      &&t'EÿEtoGÿWpresent-day
                                                                                                                                       &H&'ED%ÿrequire-
                                                                                                                                                         &u$I&
        M&
         ments'EHÿand'Dÿapplications
                             WWIFEIG'HÿGofTÿUI         &&HHÿFcommunication
                                                      wireless     GMM$'IFEIG'ÿEtransceivers.
                                                                                           'HF&It&H!ÿNew   "&UÿM       E&IÿIincludes
                                                                                                                       material      'F$D&Hÿ'noiseGIH&ÿIin'ÿFcir-I
        Fcuits,
           $IEHRÿWphaseKH&ÿ'noise,
                               GIH&RÿHsupply
                                         $WW%ÿIindependent
                                                       'D&W&'D&'EÿSbiasing,
                                                                         IHI'#RÿEtemperature
                                                                                     &MW&E$&ÿIindependent
                                                                                                        'D&W&'D&'Eÿbiasing,SIHI'#RÿGoscillator
                                                                                                                                          HFIEGÿand'DÿHsyn-%'
        Ethesizer
          K&HI&ÿDdesign,&HI#'RÿDdistortion
                                     IHEGEIG'ÿIin'ÿ'nonlinear
                                                          G'I'&ÿFcircuits,
                                                                        IF$IEHRÿand'DÿHshort-channel
                                                                                           KGEFK''&ÿFcircuit IF$IEÿDdesign—all
                                                                                                                             &HI#'ÿEtopics
                                                                                                                                             GWIFHÿEthatKEÿU&
                                                                                                                                                            were  &ÿ
               W&tIG$H%ÿFcovered
        'notGEÿpreviously        Gt&&DÿEthatKEÿA    must be understood by present-day M.S.- or Ph.D.-level circuit designers. !
                                                           B4ÿS &ÿ $' D&  HEGG DÿS  %  ÿ
                                                                                        W & H& 'E  D  %ÿ ! L !  ÿ G ÿz K !!   &t&  
                                                                                                                                         ÿF IF$ IEÿD & H I
                                                                                                                                                          # '  &  Hÿ
     .ÿ 2@B25ÿEECS
     QU Revised         7708ÿ523:9;ÿDigital
                                           @¡@43<ÿIntegrated
                                                       ¢?42¡13425ÿ0@      1=A@4BÿC(graduate
                                                                      Circuits      #D$E&ÿFcourseG$H&ÿGon'ÿDdigital
                                                                                                                     I#IEÿIintegrated
                                                                                                                               'E&#E&DÿFcircuits)
                                                                                                                                              IF$IEHJÿDduring
                                                                                                                                                           $I'#ÿ
        EtheK&ÿNFallÿO1996
                          PPÿHsemester,
                                &M&HE&RÿFcompletely
                                                   GMW&E&%ÿrevamping
                                                                   &tMWI'#ÿEtheK&ÿFcourseG$H&ÿEtoGÿIinclude
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        Etechnology
          &FK'GG#%ÿEtopics.  GWIFH!ÿNew
                                       "&UÿM          E&IÿIincludes
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                                                                                       &EI&DÿDdiscussion
                                                                                                   IHF$HHIG'ÿGofTÿHshort-channel
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          'HIHEGHRÿHsubmicron
        Etransistors,         $SMIFG'ÿHsurface $TF&ÿand'DÿSburied
                                                                   $I&DÿFchannel
                                                                             K''&ÿDdevices,
                                                                                          &tIF&HRÿand'DÿEtheK&ÿlatest
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        Ddominate
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                           &H&FKÿIin'ÿKhigh-density
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                                                                           'E&#E&DÿFcircuit
                                                                                            IF$IEÿEtechnology.
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       10/1/18 — present            President of the IEEE MEMS Technical Community, which is currently
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                                                            Technical          4#>ÿ4          >>688&&ÿ
                                                                                             Committee
       O8/28/05
         )*O)+(ÿ—1ÿ06/30/06
                      )/+)+0ÿ 3ÿ;& Member >?&ÿ4of7ÿ8the5&ÿ*2006      ++0ÿ9IEEE
                                                                             :::ÿIFrequency
                                                                                         &J$&'=%ÿ4         '84ÿ<Symposium
                                                                                                         Control       %>f4E6$>ÿK(FCS)   I<Lÿ&      =5
                                                                                                                                                   Tech-
                                  'nical
                                     6=ÿCProgram
                                                 4#>ÿ4            >>688&&ÿ
                                                                 Committee

             ÿ
   0 ÿ7
   Curriculum     ÿ
               Vitae                                               ÿT-C.!ÿ"#
                                                                  Clark             $%&'ÿ
                                                                                 Nguyen                              (5/20/2022
                                                                                                                       )*+)*+**ÿ                     ,13-ÿ     ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 160 of 598 PageID #: 1087

                                             0122301415ÿVITAE
                                             CURRICULUM 7389 ÿ(Extended)
                                                                  ÿ
       .1/14/00
         )./)++ÿ—0ÿ.12/31/05
                     *)1.)+(ÿ            2* ÿ3&    45&ÿ6of7ÿ8the9&ÿ:International
                                              Member                       '8&'8;6'ÿ<Steering 8&&;'#ÿ6       44;88&&ÿ7for6ÿ8the9&ÿ:International
                                                                                                               Committee                       '8&'8;6'ÿ
                                             <Symposium
                                                %4=6>;$4ÿ6on'ÿ<Smart     48ÿ<Structures
                                                                                    8$?8$&>ÿand'@ÿ3;       ?6>%>8&4>ÿA(IS3M)
                                                                                                          Microsystems           :<13Bÿ
         )*C)+*ÿ—0ÿ.12/31/05
       (5/28/02      *)1.)+(ÿ            2ÿDProgram
                                                6#4ÿ3         '#&ÿ6of7ÿ8the9&ÿ3;
                                                             Manager                     Micro?6ÿEElectro
                                                                                                      &?86ÿ3&       ?9';?ÿ<Systems
                                                                                                                 Mechanical           %>8&4>ÿA(MEMS),
                                                                                                                                                  3E3<BFÿ
                                             3;   ?6ÿDPower
                                              Micro         6G&ÿH&        '&8;6'ÿA(MPG),
                                                                      Generation            3DHBFÿ9         ;=<?&ÿI8
                                                                                                        Chip-Scale             64;?ÿ
                                                                                                                           Atomic           6?ÿA(CSAC),
                                                                                                                                         Clock     <IBFÿ
                                             3E3<
                                              MEMS ÿ       EJ  ?9'#&ÿA(MX),
                                                            Exchange           3KBFÿL        >9ÿEEnvironment
                                                                                          Harsh        'M;6'4&'8ÿN6          5$>8ÿ3;
                                                                                                                          Robust          ?64&?9';?ÿ
                                                                                                                                      Micromechanical
                                             &  ?9'66#%ÿA(HERMIT),
                                              Technology           LEN3;BFÿ3;          Micro?6ÿH Gas>  ÿI'   %O&>ÿA(MGA),
                                                                                                           Analyzers          3HIBFÿN    Radio@;6ÿ:Isotope
                                                                                                                                                     >686=&ÿ
                                             3;   ?6=6G&ÿ<Sources
                                              Micropower               6$?&>ÿA(RIMS),N:3<BFÿNP       RF ÿ3E3<MEMS ÿ:        4=6M&4&'8ÿDProgram
                                                                                                                            Improvement             6#4ÿ
                                             A(RFMIP),
                                               NP3:DBFÿNavigation-Grade
                                                              "M;#8;6'H@&ÿ:Integrated      '8&#8&@ÿ3;   Micro?6ÿH%    6>?6=&ÿA(NGIMG),
                                                                                                                         Gyroscope         "H:3HBFÿand'@ÿ
                                             3;   ?6ÿ
                                              Micro          %6#&';?ÿ6
                                                          Cryogenic              6&>ÿA(MCC)
                                                                            Coolers         3Bÿ=programs6#4>ÿ;in'ÿ8the9&ÿ3;       ?6>%>8&4ÿ&
                                                                                                                                  Microsystem            ?9
                                                                                                                                                      Tech-
                                             'nology
                                               66#%ÿQ7       7;?&ÿA(MTO)
                                                          Office       3QBÿ6of7ÿRIND DARPAIÿ
           DPrograms
             6#4>ÿ3        '#&@ÿS9
                         Managed     While  ;&ÿat8ÿRIND
                                                     DARPA:IT      ÿA(*UÿV= ÿ?created
                                                                               &8&@ÿ=program,
                                                                                            6#4WÿY{ ÿZ= ÿ[augmented
                                                                                                                 \]^_`a_bÿ_existing
                                                                                                                                  cdead̀]ÿprogram)
                                                                                                                                             fgh]g[^Bÿ
           U*Micro
             3;?6ÿ    %6#&';?ÿ6
                     Cryogenic         6&>ÿA(MCC)
                                    Coolers        3Bÿ
           U*Navigation-Grade
             "M;#8;6'H@&ÿ:Integrated
                                      '8&#8&@ÿ3;          ?6ÿH%
                                                        Micro          6>?6=&ÿA(NGIMG)
                                                                  Gyroscope           "H:3HBÿ
           YTRFNPÿ3E3<
                  MEMS ÿ     :Improvement
                               4=6M&4&'8ÿDProgram  6#4ÿA(RFMIP)
                                                                 NP3:DBÿ
           U*Radio
             N@;6ÿ:Isotope
                       >686=&ÿ3;    ?6=6G&ÿ<Sources
                                 Micropower            6$?&>ÿA(RIMS)
                                                                   N:3<Bÿ
           U*Micro
             3;?6ÿHGas>  ÿI'   %O&>ÿA(MGA)
                            Analyzers        3HIBÿ
           U*Harsh
             L>9ÿE'    M;6'4&'8ÿN6
                     Environment       Robust5$>8ÿ3;      ?64&?9';?ÿ&
                                                     Micromechanical                  ?9'66#%ÿA(HERMIT)
                                                                                  Technology            LEN3;Bÿ
           U*MEMS
             3E3<ÿEJ       ?9'#&ÿA(MX)
                        Exchange      3KBÿ
           U*Chip-Scale
             9;=<?&ÿI8        64;?ÿ
                              Atomic  Clock 6?ÿA(CSAC)
                                                    <IBÿ
           YMicro
             3;?6ÿDPower
                        6G&ÿH&    '&8;6'ÿA(MPG)
                                Generation        3DHBÿ
           YMicro
             3;?6ÿEElectro
                        &?86ÿ3&   ?9';?ÿ<Systems
                                 Mechanical           %>8&4>ÿA(MEMS)
                                                                  3E3<Bÿ
           3   i6ÿS6
            Major        >96=>)6'7&&'?&>ÿQ
                    Workshops/Conferences                    #';O&@ÿS9
                                                          Organized         While;&ÿat8ÿRIND
                                                                                           DARPA:IT      ÿÿ
           A(Avg.
             IM#!ÿNo.
                   "6!ÿI8     8&'@&&>TÿDPI:ÿ38
                         Attendees:           Mtg:#  Tÿj~250,
                                                         *(+FÿS6       >96=ÿand'@ÿ3&
                                                                 Workshop                       &8;'#>Tÿj~50)(+Bÿ
                                                                                           Meetings:
           .11/2/05
             .)*)+(ÿ—0ÿ.11/3/05
                           .)1)+(ÿ 2* ÿ3;         ?6ÿH
                                              Micro      Gas> ÿI'   %O&>ÿA(MGA)
                                                                Analyzers         3HIBÿDPhase    9>&ÿ.1-2*ÿS6      >96=FÿI
                                                                                                               Workshop,            ;'#86'Fÿk;
                                                                                                                                Arlington,         #;';!ÿ
                                                                                                                                                Virginia.
           .10/20/05
             +)*+)+(ÿ- ÿ.10/21/05
                            +)*.)+(ÿ2= ÿNav.-Grade
                                             "M!H@&ÿ:Integrated'8&#8&@ÿ3;     Micro?6ÿH%     6>?6=&ÿl;
                                                                                              Gyroscope             ?Q77ÿ38
                                                                                                                Kick-Off      Mtg.,#!FÿDPhoenix,
                                                                                                                                          96&';JFÿIm!
                                                                                                                                                    AZ. ÿ
             )*n)+(ÿ- ÿC8/28/05
           C8/27/05       )*C)+(ÿ 2* ÿ<Summer   $44&ÿ*2005   ++(ÿRIND
                                                                     DARPA/MEMS I)3E3<ÿDPI:ÿ3&             &8;'#Fÿo
                                                                                                      Meeting,       Las> ÿk&  #>FÿNevada.
                                                                                                                           Vegas,     "&M@!ÿ
           C8/26/05
             )*p)+(ÿ                     2* ÿ<Summer
                                                $44&ÿ*2005   ++(ÿR6       RS;@&ÿ3E3<
                                                                     DoD-Wide           MEMS ÿ       38
                                                                                                     Mtg.,#!Fÿo
                                                                                                               Las> ÿk&   #>FÿNevada.
                                                                                                                     Vegas,     "&M@!ÿ
           p6/9/05
             )q)+(ÿ- ÿp6/10/05
                        ).+)+(ÿ 2* ÿr!           <  !ÿ3E3<       ÿ6   4=    & 8;8;
                                                                                  M  &'  & >> ÿ
                                              U.S. MEMS Competitiveness Workshop, Seoul, Korea.S6     >9 6 = Fÿ< & 6 $ Fÿ
                                                                                                                           l6   &!ÿ
           (5/18/-05
             ).C)+(ÿ- ÿ(5/19-05
                           ).q+(ÿ 2* ÿ3E3<    MEMS ÿ       s  >;?ÿ<Science
                                                           Basic       ?;&'?&ÿS6        >96=Fÿ<Santa
                                                                                  Workshop,            '8ÿs     5Fÿ
                                                                                                               Barbara,         ;76';!ÿ
                                                                                                                            California.
           13/15/05
             ).()+(ÿ- ÿ13/16/05
                          ).p)+(ÿ 2* ÿ9          ;=<?&ÿI8
                                              Chip-Scale            64;?ÿ
                                                                Atomic           6?ÿI=
                                                                               Clock         =;?8;6'>ÿS6
                                                                                        Applications               >96=FÿI
                                                                                                              Workshop,            &J'@;Fÿk;
                                                                                                                               Alexandria,          #;';!ÿ
                                                                                                                                                 Virginia.
             )*p)+/ÿ- ÿ.1/28/04
           .1/26/04       )*C)+/ÿ 2* ÿS;          '8&ÿ*2005
                                              Winter        ++(ÿRIND
                                                                  DARPA/MEMS   I)3E3<ÿDPI:ÿ3&           &8;'#Fÿo
                                                                                                    Meeting,      Las>  ÿk& #>FÿNevada.
                                                                                                                         Vegas,    "&M@!ÿ
           .1/25/05
             )*()+(ÿ                     2ÿS;     '8&ÿ*2005
                                              Winter        ++(ÿR6      RS;@&ÿ3E3<
                                                                  DoD-Wide            MEMS ÿ       38  #!Fÿo
                                                                                                   Mtg.,    Las>  ÿk&   #>FÿNevada.
                                                                                                                   Vegas,     "&M@!ÿ
           .10/14/04
             +)./)+/ÿ- ÿ.10/15/04
                            +).()+/ÿ2= ÿN        @;6ÿ:Isotope
                                              Radio       >686=&ÿ3;       ?6=6G&ÿ<Sources
                                                                    Micropower               6$?&>ÿl;      ?Q77ÿ38
                                                                                                        Kick-Off           #!FÿI
                                                                                                                       Mtg.,        ;'#86'Fÿk;
                                                                                                                                Arlington,         #;';!ÿ
                                                                                                                                                Virginia.
             ).()+/ÿ- ÿq9/16/04
           q9/15/04       ).p)+/ÿ 2* ÿ3;          ?6ÿH
                                              Micro      Gas> ÿI'   %O&>ÿl;
                                                                Analyzers            ?Q77ÿ3&
                                                                                 Kick-Off             &8;'#Fÿk
                                                                                                 Meeting,       Vail,;Fÿ6 6@6!ÿ
                                                                                                                         Colorado.
           q9/13/04
             ).1)+/ÿ- ÿq9/14/04
                          )./)+/ÿ 2* ÿ<Sustainable
                                                $>8;'5&ÿ3;         ?6<?&ÿDPower
                                                                 Micro-Scale            6G&ÿ<Sources
                                                                                                    6$?&>ÿS6       >96=Fÿk
                                                                                                               Workshop,        Vail,;Fÿ6  6@6!ÿ
                                                                                                                                         Colorado.
           p6/14/04
             )./)+/ÿ- ÿp6/15/04
                          ).()+/ÿ 2* ÿ<Summer   $44&ÿ*2004   ++/ÿRIND          I)  3E3<        ÿD  :ÿ3&   &8 ;'
                                                                     DARPA/MEMS PI Meeting, Seattle, Washington.#  Fÿ< & 88&FÿS    >9 ;' # 86'!ÿ
             ).1)+/ÿ
           p6/13/04                      2* ÿ<Summer
                                                $44&ÿ*2004   ++/ÿR6       RS;@&ÿ3E3<
                                                                     DoD-Wide           MEMS ÿ       38
                                                                                                     Mtg.,#!Fÿ<Seattle,
                                                                                                                 &88&FÿS     >9;'#86'!ÿ
                                                                                                                           Washington.
           p6/3/04
             )1)+/ÿ- ÿp6/4/04
                        )/)+/ÿ 2* ÿNavigation-Grade
                                             "M;#8;6'H@&ÿ3E3<           MEMS ÿ       :IMU
                                                                                           3rÿS6       >96=FÿL;
                                                                                                  Workshop,             86'ÿL&
                                                                                                                    Hilton        @Fÿ<South
                                                                                                                              Head,       6$89ÿ   6;'!ÿ
                                                                                                                                                 Carolina.
             ).()+/ÿ- ÿ.1/16/04
           .1/15/04       ).p)+/ÿ 2* ÿS;          '8&ÿ*2004
                                              Winter        ++/ÿRIND
                                                                  DARPA/MEMS   I)3E3<ÿDPI:ÿ3&           &8;'#Fÿ<San'ÿAntonio,
                                                                                                   Meeting,              I'86';6Fÿ&       J>!ÿ
                                                                                                                                       Texas.
           .1/14/04
             )./)+/ÿ                     2* ÿS;   '8&ÿ*2004
                                              Winter        ++/ÿR6      RS;@&ÿ3E3<
                                                                  DoD-Wide            MEMS ÿ       38  #!Fÿ<San'ÿI'
                                                                                                   Mtg.,                86';6FÿTexas.
                                                                                                                   Antonio,        &J>!ÿ
           .10/29/03
             +)*q)+1ÿ- ÿ.10/30/03
                            +)1+)+1ÿ2« ÿ3         >>;M&%ÿN&
                                              Massively            ?6'7;#$5&ÿ3;
                                                               Reconfigurable                 ?675;?8;6'ÿ&
                                                                                          Microfabrication               ?9!ÿS
                                                                                                                     Tech.         >9=Fÿ"
                                                                                                                              Wkshp,      Napa,=FÿI!
                                                                                                                                                   CA. ÿ
           .10/23/03
             +)*1)+1ÿ- ÿ.10/24/03
                            +)*/)+1ÿ2ÿLEN3:   HERMITÿ        l; ?Q77ÿ3&
                                                              Kick-Off             &8;'#FÿI
                                                                               Meeting,           ;'#86'Fÿk;
                                                                                              Arlington,           #;';!ÿ
                                                                                                               Virginia.
           C8/27/03
             )*n)+1ÿ- ÿC8/28/03
                          )*C)+1ÿ 2ÿPFallÿ*2003     ++1ÿRIND
                                                              DARPA/MEMSI)3E3<ÿDPI:ÿ3&              &8;'#Fÿ36
                                                                                               Meeting,            '8&&%Fÿ
                                                                                                              Monterey,           ;76';!ÿ
                                                                                                                              California.
           C8/26/03
             )*p)+1ÿ                     2ÿPFallÿ*2003
                                                       ++1ÿR6     RS;@&ÿ3E
                                                              DoD-Wide           MEMS  3<ÿ38  Mtg.,#!Fÿ36    '8&&%Fÿ
                                                                                                       Monterey,            ;76';!ÿ
                                                                                                                         California.

           ÿ
   0 ÿ7
   Curriculum     ÿ
               Vitae                                              ÿT-C.!ÿ"#
                                                                 Clark             $%&'ÿ
                                                                                Nguyen                               (5/20/2022
                                                                                                                       )*+)*+**ÿ                     ,14-ÿ     ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 161 of 598 PageID #: 1088

                                                0122301415ÿVITAE
                                                CURRICULUM 7389 ÿ(Extended)
                                                                     ÿ
             .7/14/03
               )/0)+1ÿ- ÿ.7/15/03
                            )/()+1ÿ 2ÿ34   Micro56ÿ    %6#&'45ÿ6
                                                      Cryogenic               6&7ÿ86
                                                                        Coolers           796:;ÿ3%
                                                                                     Workshop,                7<45ÿ=Seaport,
                                                                                                          Mystic         &:6<;ÿ6     ''&5<45$<!ÿ
                                                                                                                                    Connecticut.
             04/23/03
               )*1)+1ÿ- ÿ04/25/03
                            )*()+1ÿ 2ÿ6        #'4<4>&ÿ?
                                           Cognitive             <96:6@7ÿ86
                                                              Arthropods             796:;ÿ?
                                                                                Workshop,               4'#<6';ÿVirginia.
                                                                                                    Arlington,        A4#4'4!ÿ
               )*/)+1ÿ
             *2/21/03                2* ÿ84Winter'<&ÿ*2003
                                                          ++1ÿB6      B84@&ÿ3C3=
                                                                  DoD-Wide         MEMS ÿ       3<
                                                                                                Mtg., #!;ÿD   '@6;ÿEFlorida.
                                                                                                           Orlando,           64@!ÿ
             *2/19/03
               )/F)+1ÿ- ÿ*2/20/03
                            )*+)+1ÿ 2* ÿ84 Winter'<&ÿ*2003
                                                          ++1ÿB?GH         ?)3C3=ÿHPIIÿ3&
                                                                  DARPA/MEMS                    Meeting,&<4'#;ÿD      '@6;ÿEFlorida.
                                                                                                                 Orlando,          64@!ÿ
             /1/29/03
               )*F)+1ÿ- ÿ/1/30/03
                            )1+)+1ÿ 2* ÿB= DSRC  Gÿ     4J6&&5<45ÿHPhenomena
                                                      Triboelectric             9&'6K&'ÿ86             796:;ÿ=San'ÿB4
                                                                                                Workshop,                        &#6;ÿ
                                                                                                                             Diego,        4L6'4!ÿ
                                                                                                                                       California.
               )/1)+1ÿ- ÿ/1/14/03
             /1/13/03       )/0)+1ÿ 2* ÿG6      J$7<ÿGE
                                           Robust      RF ÿ    3C3=
                                                               MEMS ÿ     =Switch
                                                                              M4<59ÿ86      796:;ÿB$
                                                                                      Workshop,                &7;ÿVirginia.
                                                                                                           Dulles,      A4#4'4!ÿ
             /12/16/02
               *)/N)+*ÿ- ÿ/12/17/02
                             *)/.)+*ÿ2= ÿ34Micro56ÿOGas7    ÿ?'  %P&7ÿ86
                                                               Analyzers            796:;ÿ36
                                                                                Workshop,                '<&&%;ÿ
                                                                                                  Monterey,               4L6'4!ÿ
                                                                                                                     California.
             Q8/7/02
               ).)+*ÿ- ÿQ8/8/02
                          )Q)+*ÿ 2* ÿ=Summer  $KK&ÿ*2002     ++*ÿB?GH
                                                                    DARPA/MEMS ?)3C3=ÿHPIIÿ3&             &<4'#;ÿB&
                                                                                                     Meeting,            <64<;ÿ34
                                                                                                                    Detroit,          594#'!ÿ
                                                                                                                                  Michigan.
             Q8/6/02
               )N)+*ÿ                2* ÿ=Summer
                                              $KK&ÿ*2002     ++*ÿB6    B84@&ÿ3C3=
                                                                    DoD-Wide         MEMS ÿ         3<
                                                                                                    Mtg.,#!;ÿB&   <64<;ÿ34
                                                                                                             Detroit,            594#'!ÿ
                                                                                                                             Michigan.
             .7/15/02
               )/()+*ÿ- ÿ.7/16/02
                            )/N)+*ÿ 2* ÿ9      4:=5&ÿ?<
                                           Chip-Scale              6K45ÿ
                                                               Atomic      Clock65ÿR(CSAC)
                                                                                       =?SÿT4          5DLLÿ3&
                                                                                                     Kick-Off               &<4'#;ÿU6
                                                                                                                     Meeting,           $@&;ÿ6
                                                                                                                                    Boulder,           6@6!ÿ
                                                                                                                                                 Colorado.
               )//)+*ÿ- ÿ.7/12/02
             .7/11/02       )/*)+*ÿ 2* ÿEFuture
                                              $<$&ÿ6ofLÿ3C3=
                                                            MEMS ÿ      3    '$L5<$4'#ÿ86
                                                                        Manufacturing                   796:;ÿU&
                                                                                                 Workshop,                 &&%;ÿ
                                                                                                                      Berkeley,          4L6'4!ÿ
                                                                                                                                     California.
               )/Q)+*ÿ- ÿN6/20/02
             N6/18/02       )*+)+*ÿ 2* ÿ3C3=
                                           MEMS ÿ       &
                                                        Test7  <ÿVÿ
                                                                 & C>    $<46'ÿ86
                                                                     Evaluation             796:;ÿ?'
                                                                                      Workshop,                ':647;ÿ3
                                                                                                           Annapolis,              %'@!ÿ
                                                                                                                               Maryland.
             04/23/02
               )*1)+*ÿ               2* ÿ34Micro56ÿ    %6#&'45ÿ6
                                                      Cryogenic               6&7ÿ86
                                                                        Coolers           796:;ÿ?
                                                                                     Workshop,               4'#<6';ÿA4
                                                                                                          Arlington,            #4'4!ÿ
                                                                                                                             Virginia.
       /1/1/04
         )/)+0ÿ—Wÿ/1/31/05
                      )1/)+(ÿ        2* ÿ3&MemberKJ&ÿ6ofLÿ<the9&ÿ*2005  ++(ÿIIEEECCCÿ34       56&&5<6K&59'45ÿ=Systems
                                                                                          Microelectromechanical                       %7<&K7ÿR(MEMS)3C3=Sÿ
                                          6    'L&&'5&ÿ&
                                           Conference               59'45ÿHProgram
                                                                Technical         6#Kÿ6          KK4<<&&ÿ
                                                                                              Committee
       /12/10/03
         *)/+)+1ÿ- ÿ/12/13/04
                        *)/1)+0ÿ 2* ÿCK& Emerging #4'#ÿTechnologies
                                                               &59'66#4&7ÿ9         4ÿ6on'ÿ<the9&ÿCX
                                                                                  Chair                     &5$<4>&ÿ6
                                                                                                       Executive              KK4<<&&ÿ6ofLÿ<the9&ÿ*2004
                                                                                                                         Committee                    ++0ÿIInt.'<!ÿ
                                          C   &5<6'ÿB&
                                           Electron             >45&7ÿ3&
                                                          Devices             &<4'#ÿR(IEDM)
                                                                        Meeting        ICB3Sÿÿ
       /12/12/02
         *)/*)+*ÿ- ÿ/12/10/03
                        *)/+)+1ÿ 2ÿ9      Chair4ÿ6ofLÿ<the9&ÿ*2003
                                                                   ++1ÿIInt.'<!ÿC &5<6'ÿB&
                                                                                Electron     Devices>45&7ÿ3&      &<4'#ÿR(IEDM)
                                                                                                             Meeting          ICB3Sÿ=Sub-Committee
                                                                                                                                           $J6KK4<<&&ÿ
                                          6on'ÿB4   7:%7;ÿ=Sensors,
                                                 Displays,           &'767;ÿand'@ÿ3C3=MEMS ÿ         R(DSM)—I
                                                                                                         B=3SYIÿ7successfully$55&77L$%ÿ5changed
                                                                                                                                               9'#&@ÿ<the9&ÿ
                                          'name
                                              K&ÿ6ofLÿ<this947ÿ5committee.
                                                                   6KK4<<&&!ÿ
       /12/6/01
         *)N)+/ÿ- ÿ/12/12/02
                       *)/*)+*ÿ 2* ÿ3&     MemberKJ&ÿ6ofLÿ<the9&ÿ*2002        ++*ÿIInt.'<!ÿC        &5<6'ÿB&
                                                                                                  Electron                >45&7ÿ3&
                                                                                                                    Devices              &<4'#ÿR(IEDM)
                                                                                                                                     Meeting           ICB3Sÿ
                                          =Sub-Committee
                                              $J6KK4<<&&ÿ6on'ÿB&               <&5<67;ÿ=Sensors,
                                                                           Detectors,         &'767;ÿand'@ÿB4         7:%7ÿR(DSD).
                                                                                                                   Displays         B=BS!ÿ
       Q8/4/01
         )0)+/ÿ- ÿN6/6/02
                     )N)+*ÿ          2ÿ3&  MemberKJ&ÿ6ofLÿ<the9&ÿ*2002 ++*ÿ=Solid-State
                                                                                  64@=<<&ÿ=Sensor   &'76ÿVÿ  & ?5       <$<6ÿ86
                                                                                                                       Actuator           796:ÿR(Hilton
                                                                                                                                     Workshop           Z4<6'ÿ
                                          Z&
                                           Head)@Sÿ&     59'45ÿHProgram
                                                      Technical          6#Kÿ6       KK4<<&&ÿ
                                                                                      Committee
       13/9/01
         )F)+/ÿ- ÿ/12/6/01
                     *)N)+/ÿ         2ÿ3&  MemberKJ&ÿ6ofLÿ<the9&ÿ*2001        ++/ÿIInt.'<!ÿC        &5<6'ÿB&
                                                                                                  Electron                >45&7ÿ3&
                                                                                                                    Devices              &<4'#ÿR(IEDM)
                                                                                                                                     Meeting           ICB3Sÿ
                                          =Sub-Committee
                                              $J6KK4<<&&ÿ6on'ÿB&               <& 5<6 7;ÿ = & '   76  7;ÿ' @ ÿ
                                                                           Detectors, Sensors, and Displays (DSD). B4   7:   %7 ÿRB=  BS  !ÿ
       *2/21/01
         )*/)+/ÿ- ÿ*2/7/02
                       ).)+*ÿ        2ÿ3&  MemberKJ&ÿ6ofLÿ<the9&ÿ*2002 ++*ÿIInt.'<!ÿ=Solid-State
                                                                                        64@=<<&ÿ4          5$4<7ÿ6
                                                                                                           Circuits            'L&&'5&ÿR(ISSCC)
                                                                                                                          Conference         I==SÿHPro-6
                                          #gram
                                              Kÿ=Sub-Committee
                                                      $J6KK4<<&&ÿ6on'ÿIImaging,     K#4'#;ÿ3C3=    MEMS, ;     ÿand'@ÿB4    7:%7!ÿ
                                                                                                                           Displays.
       04/24/00
         )*0)++ÿ- ÿN6/14/01
                       )/0)+/ÿ 2ÿ3&        MemberKJ&ÿ6ofLÿ<the9&ÿNorth
                                                                     "6<9ÿ?K&       45'ÿTechnical
                                                                               American          &59'45ÿHProgram6#Kÿ6         KK4<<&&ÿLfor6ÿ<the9&ÿ/11%/<9ÿ
                                                                                                                                Committee
                                          IInternational
                                            '<&'<46'ÿ6            'L&&'5&ÿ6on'ÿ=Solid-State
                                                                   Conference                64@=<<&ÿ=Sensors   &'767ÿand'@ÿ?5        <$<67ÿR(Trans-
                                                                                                                                      Actuators         '7
                                          [ducers’01),
                                              \]^_`abcdeÿg\          hi]jeÿk^
                                                                Munich,           _lmhneÿo2001.
                                                                              Germany,         bbcpÿ
       .7/24/00
         )*0)++ÿ                     2ÿqServed^_r^[ÿsonhÿtthej^ÿu^   Review Panel for ÿ
                                                                        r i^  vÿ w m h ^xÿ ys _   zq{a`ÿo2000
                                                                                                  NSF’s         bbbÿNew  z^vÿ|^      ]jhsxs}i^`ÿyfors_ÿtthej^ÿ
                                                                                                                                  Technologies
                                          C'    >46'K&'<ÿIInitiative.
                                           Environment              '4<4<4>&!ÿ
       /11/1/99
         /)/)FFÿ- ÿ/12/2/99
                       *)*)FFÿ 2ÿ3&        MemberKJ&ÿ6ofLÿ<the9&ÿD          #'4P4'#ÿ6
                                                                         Organizing                 KK4<<&&ÿand'@ÿ=Session
                                                                                             Committee                          &7746'ÿ9     4ÿLfor6ÿ<the9&ÿ
                                                                                                                                           Chair
                                          "=E)?GD)B?GH?)"G~ÿ86
                                          NSF/ARO/DARPA/NRL                               796:ÿ6on'ÿGE
                                                                                     Workshop                RF ÿ   34    56K594'4'#ÿand'@ÿ3C3=
                                                                                                                    Micromachining                     MEMS ÿ
                                          &    59'66#%ÿLfor6ÿ84
                                           Technology                     &&77ÿ6
                                                                      Wireless          KK$'45<46'7ÿ=Systems,
                                                                                    Communications                  %7<&K7;ÿ?       4'#<6';ÿA4
                                                                                                                                  Arlington,           #4'4!<ÿ9
                                                                                                                                                 Virginia.
         )/)FFÿ- ÿF9/23/99
       *2/1/99       )*1)FFÿ         2ÿ3&  MemberKJ&ÿ6ofLÿ<the9&ÿD    #'4P4'#ÿ6
                                                                     Organizing            KK4<<&&ÿand'@ÿHPoster
                                                                                       Committee                    67<&ÿ=Session
                                                                                                                                &7746'ÿ9    4ÿLfor6ÿ<the9&ÿN6 ÿ
                                                                                                                                         Chair
                                          ?'
                                           Annual'$ÿ=Strategic
                                                          <<&#45ÿand'@ÿTechnical
                                                                                 &59'45ÿ=Symposium
                                                                                                 %K:674$Kÿ6on'ÿA&              945$ÿ?:
                                                                                                                           Vehicular          :45<46'7ÿ6ofLÿ
                                                                                                                                         Applications
                                          B4    7:%7ÿand'@ÿ34
                                           Displays                   567&'767;ÿ:
                                                                  Microsensors,              74'<4;ÿ34
                                                                                        Ypsilanti,             594#'!ÿ
                                                                                                           Michigan.
       F9/1/98
         )/)FQÿ- ÿN6/18/99
                     )/Q)FFÿ         2ÿO&       '&ÿ6
                                           General               94ÿ6ofLÿ<the9&ÿ86
                                                          Co-Chair                       796:ÿ6on'ÿ34
                                                                                    Workshop                      56&&5<6K&59'45ÿB&
                                                                                                             Microelectromechanical                       >45&7ÿ
                                                                                                                                                      Devices
                                          Lfor6ÿGE
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                                                             %7<&K7ÿat<ÿ<the9&ÿ/1999  FFFÿIIEEECCCÿ3     MTT-S=       ÿIInternational
                                                                                                                             '<&'<46'ÿ34       56M>&ÿ
                                                                                                                                               Microwave
                                          =Symposium,
                                              %K:674$K;ÿ?'            9&4K;ÿ
                                                                  Anaheim,           4L6'4;ÿJune
                                                                                  California,         $'&ÿ/18,Q;ÿ/1999.
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       Q8/1/98
         )/)FQÿ- ÿ13/6/99
                     )N)FFÿ          2ÿ=Served&>&@ÿ6on'ÿ<the9&ÿ&      59'45ÿHProgram
                                                                     Technical         6#Kÿ6           KK4<<&&ÿLfor6ÿ<the9&ÿ/1999
                                                                                                      Committee                         FFFÿIIEEE
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                                          ~
                                           Lakes&7ÿ=Symposium
                                                        %K:674$Kÿ6on'ÿVLSI,     A~=I;ÿ?' Ann'    ÿ?    J6;ÿ34
                                                                                                   Arbor,           594#'!ÿ
                                                                                                              Michigan.



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   0 ÿ7
   Curriculum     ÿ
               Vitae                                                  ÿT-C.!ÿ"#
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                                                                                    Nguyen                                (5/20/2022
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 162 of 598 PageID #: 1089

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                                                    CURRICULUM 7389 ÿ(Extended)
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         *2/22/99
           )**)..ÿ- ÿ*2/23/99)*/)..ÿ       0ÿ1Served
                                                   &2&3ÿ4on'ÿa ÿ5678
                                                                     DARPA6ÿ          94  :;4<ÿ8Panel
                                                                                      Workshop         '&ÿ4on'ÿ=>=1MEMS ÿ         ?for4ÿ=&     @;'A@ÿ4
                                                                                                                                            Mechanical          Com- B
                                              <$CCA4'ÿand'3ÿDInformation
                                              putation                '?4BCA4'ÿ8Processing,
                                                                                            4@&::A'#EÿFLaÿGJolla,4Eÿ     A?4'A!ÿ
                                                                                                                           California.
           *)H).Iÿ- ÿH12/2/97
         H12/1/97            *)*).Iÿ       0ÿJServed
                                                   KLMKNÿPonQÿNSF’s
                                                                RJSTUÿV1997     WWXÿYZ[\\[ÿ
                                                                                       CAREER ]         ^QK_ÿ[K
                                                                                                      Panel         MK̀aÿYP
                                                                                                                Review             bbc̀cKKdÿ
                                                                                                                              Committee.
         I7/9/96
           ).).eÿ- ÿI7/10/96)H+).eÿ        0ÿJServed
                                                   KLMKNÿPonQÿcthefKÿ[K             MK̀aÿ]Panel
                                                                                Review          ^QK_ÿgforPLÿRJ    NSF’sSTUÿV1996   WWhÿYP             biQ̀KNÿ[K
                                                                                                                                               Combined            Re- j
                                              :search-Curriculum
                                                &@;$A@$$Bÿ5&                   2&4<B&'Cÿk(CRCD)
                                                                                 Development           75lÿ8Program.4#B!ÿ
         .9/96).eÿ- ÿm8/98).mÿ             0ÿYP      QUn_c̀QoÿpK
                                               Consulting          Member  biKLÿPofgÿNASA’s
                                                                                          RZJZTUÿRK     Newaÿ     p`  __KQQǹbÿqIntegrated
                                                                                                                  Millennium               QcKoL^cKNÿ]Product  LPNnrcÿ
                                              5&     2&4<B&'CÿTeam
                                               Development                 &Bÿk(IPDT)
                                                                                   D85lÿ4on'ÿ4      BB$'A@CA4':ÿk(more
                                                                                                  Communications                 B4&ÿAinfo.  '?4!ÿsbelow)
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         e6/95).(ÿ- ÿm8/96).eÿ             0ÿpKMemberbiKLÿPofgÿNASA’s
                                                                   RZJZTUÿNew        RKaÿp`     __KQQǹbÿ]Program
                                                                                             Millennium           LPoL^bÿqIntegrated
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                                              2velopment
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                                                                                D85lÿ4on'ÿ4       BB$'A@CA4':ÿk(one
                                                                                               Communications                 4'&ÿ4of?ÿm8 ÿCteam  &BÿB&      Bs&:vÿ
                                                                                                                                                          members;
                                              ?function:
                                                $'@CA4'wÿadvise32A:&ÿand'3ÿroadmap
                                                                                    43B<ÿ'new&tÿCtechnologies
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                                              Cthe;&ÿ@century).
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          H10/2/95
            +)*).(ÿ                        0ÿJServed
                                                   KLMKNÿPonQÿcthefKÿ]Panel ^QK_ÿ[K     MK̀aÿYP
                                                                                   Review           bbc̀cKKÿgforPLÿNSF’s
                                                                                               Committee                RJSTUÿV1995      WWxÿJSmallb^__ÿyn      UQ̀KUUÿ
                                                                                                                                                           Business
                                              DInnovation
                                                ''42CA4'ÿ7&           :&@;ÿk(SBIR)
                                                                  Research           1zD7lÿ8Phase
                                                                                                ;:&ÿDI ÿ8Program,
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          H1/95).(ÿ- ÿpresent
                      <&:&'Cÿ             0ÿJSession
                                                   KUUP̀QÿYfChair^CL̀;ÿgforPLÿ{^   LP̀nUÿYP
                                                                              Various         QgKLKQrKU|ÿp\pJ
                                                                                           Conferences:         MEMS’97,    TWX}ÿ~Transducers’97,
                                                                                                                                         L^QUNnrKLUTWX}ÿV1999      WWWÿ
                                              F1
                                               GLSVLSI, F1DEÿe6 ÿ6'    Annual'$ÿ1Symposium
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                                                                                                            Vehicular                <A@CA4':ÿ4of?ÿ5A
                                                                                                                               Applications                    :<%:ÿ
                                                                                                                                                            Displays
                                              and'3ÿ=A   @4:&':PLU}ÿ~L
                                                       Microsensors,               ^QUNnrKLUTWW}ÿV1999
                                                                                Transducers’99,           WWWÿp~~ MTT-S,J      }ÿÿ
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          H1/95).(ÿ- ÿpresent
                      <&:&'Cÿ             0ÿ7&      2A&t&ÿ?for4ÿCthe;&ÿDIEEE
                                               Reviewer                            >>>ÿGJournal
                                                                                             4$'ÿ4of?ÿ=A       @4&&@C4B&@;'A@ÿ1Systems,
                                                                                                             Microelectromechanical                          %:C&B:Eÿ
                                              1Sensors
                                                   &':4:ÿand'3ÿ6@      C$C4:EÿDIEEE
                                                                   Actuators,           >>>ÿ     ':!ÿ4on'ÿ>Electron
                                                                                               Trans.            &@C4'ÿ5&        2A@&:EÿDIEEE
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                                                                                                                                                           4$'ÿ4of?ÿ
                                              1Solid-State
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                                                                  Circuits,        ...
   ÿPapers/Presentations:
   Invited        ÿk(does ÿnotÿinclude
                                                              ÿindustry
                                                                             ÿvisits
                                                                                           ÿorÿmyÿown¡ÿ¢£¤¥DARPA£ÿ          ¡    ¦§¨Eÿ©* ÿª= ÿCto4ÿsbe&ÿ
                                                                                                                                      workshops,
          <&:&'C&3lÿ
          presented)
          «Total
            ¬­®ÿ̄Number
                     ±²³´µ¶ÿ¬of·ÿ̧¹  ¹µº­µ»ÿInvites:
                                  Accepted  ¼½¾¿­µÀwÿ*216Heÿ
          Áµ̄½®¶Âÿ¬or¶ÿKeynote
          Plenary          ÃµÂ½¬­µÿPresentations:
                                     Á¶µÀµ½­®­¿¬½Àwÿ*21Hÿk(*©ÿª= ÿCto4ÿsbe&ÿ<presented)
                                                                                   &:&'C&3lÿ
    Ä[1],ÅÿÇ4/22/18
                 ÈÉÉÈ,Êÿ—ËÿÇ4/26/18
                              ÈÉ-È,Êÿ ÌÿÍInvitedÿ¥Paper/Presentation
                                                             Î ¨   È ¥      ÎÿÐ(Keynote),
                                                                                             ÑÒÓÔÕÖÒ×ØÿÚ“All-Mechanical
                                                                                                                ÛÜÜÝÞ§ÎÎÿÞ                  ÝßÎÿ¤Î
                                                                                                                                             Micro-Scale          Ra- Ý
                                              àdios,”
                                                  áâãØäÿå13"æ§ÿÍIEEE
                                                                  çççÿÍInt.èÿé  Conf. on Nano/Micro Engineered and Molecular ÿ
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                                              ßSystems
                                                    ÿí(IEEE
                                                              ÍçççÿNEMS     ëçÞßÿÉ2018), î,ÊïðÿßSingapore.
                                                                                                   ìÎ¨èÿ
    Ä[2]ÉÅÿñ7/18/13
                 È,ÊÈ,òÿ—Ëÿñ7/19/13
                              È,óÈ,òÿ ÌÿÍInvitedÿ¥Presentation
                                                             ÎÿÐ(Plenary),õöÒÔ÷øÓ×ØÿÚ“RadioùúàáâÿûIsotope
                                                                                                                ãâüâýþÿÿá        01âýâ2þ1ÿ3Sources
                                                                                                                             Micropower                 â410þãÿ
                                              5(RIMS),”
                                                ùûÿ36Øäÿ7â            18ã9âýÿâon ÿNuclear
                                                               Workshop                   40Üþú1ÿÿá     01âããüþ ãØÿâ
                                                                                                    Microsystems,                 Ü4 áúØÿÿá
                                                                                                                             Columbia,                  ããâ41áÿ
                                                                                                                                                   Missouri.
    Ä[3]òÅÿ,10/15/09
                 îÈ,Èîóÿ—Ëÿ,10/16/09
                               îÈ,-Èîóÿ ÌÿÍInvited
                                                ÿ¥Presentation
                                                             ÎÿÐ(Plenary),õöÒÔ÷øÓ×ØÿÚ“Integrated
                                                                                                     ûüþ1úüþàÿÿá         0§1â þ09úá0úÜÿù
                                                                                                                     Micromechanical                    RF ÿ é ÿ
                                                                                                                                                             Circuits
                                              êforÿßSoftware-Defined
                                                        ê¡ÎÝþáþàÿâ                áüáþÿùú
                                                                                     Cognitive          àáâØäÿüthe9þÿ26"ÿßSymposium
                                                                                                    Radio,”                       ¨ ÿonÿßSensors,     ðÿ
                                              Þ      Î§ÿÿ
                                               Micromachines                & £¨    ¨ÿßSystems,
                                                                                Applied        ðÿ       ¦ðÿJapan.
                                                                                                          Tokyo,        Î¨Îèÿ
    Ä[4]ÇÅÿó9/26/08
                 ÈÉ-ÈîÊÿ                   ÌÿÍInvited
                                                ÿ¥Presentation
                                                             ÎÿÐ(Keynote),ÑÒÓÔÕÖÒ×ØÿÚ“Automated
                                                                                                     Û4üâ úüþàÿþ       DesignãáÿNeeds    þþàãÿforâ1ÿ3 LSI ûÿÿá
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                                              0cromechanical
                                                1â þ09úá0úÜÿá               104áüãØäÿ2008
                                                                         Circuits,”        ÿûIEEE ÿ!þ       9úáâ1úÜÿÿâ
                                                                                                         Behavioral                  àþÜáÿÎandÿßSimulation
                                                                                                                              Modeling                     Îÿ
                                              â       þ1þ0þÿ5(BMAS’08),
                                               Conference           !ÿÛ3"6Øÿ3Sanúÿ#Jose,       âãþØÿú   Üáâ1áúÿ
                                                                                                        California.
    Ä[5]ÅÿÇ4/21/08
                 ÈÉ,ÈîÊÿ—4/23/08
                          ËÿÇÈÉòÈîÊÿ ÌÿÍInvited ÿ¥Paper/Presentation
                                                             Î¨È¥ÎÿÐ(Plenary),   õöÒÔ÷øÓ×ØÿÚ“Integrated
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                                                                                                                                 Micromechanical                 Ra- 
                                              dioÿ$Front-Ends,”
                                                        Ý àãØäÿ2008        ÿûIEEE ÿûInt.üÿ3Symp.ýÿ%On ÿ&3  VLSI û    ÿ'þ   09âÜâØÿ3Systems,
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                                              Îandÿ£¨   ¨Îÿí(VLSI-TSA’08),
                                                       Applications            ()ßÍÝ'3Û"6Øÿ*ã            á094ØÿÎ
                                                                                                       Hsinchu,            ¡Îèÿ
                                                                                                                       Taiwan.
    Ä[6]-Åÿó9/18/06
                 È,ÊÈî-ÿ—Ëÿó9/22/06
                              ÈÉÉÈî-ÿ ÌÿÍInvitedÿ¥Paper/Presentation
                                                             Î¨È¥ÎÿÐ(Plenary),   õöÒÔ÷øÓ×ØÿÚ“Integrated
                                                                                                              ûüþ1ú§üþàÿÿá             01â þ09úá0úÜÿá
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                                                                E@F@<?C?>G<ÿI(Keynote),
                                                                                 JKLMNOKPQÿS“From   u\ÿTUTV MEMS ÿ      to\ÿNEMS:
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                                                                CD@E3BE@F@<?C?>G<ÿI(Plenary),
                                                                                            KMLPQÿS“MEMS  TUTVÿfor\uÿFrequency
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                                                T_    [_au_«a_\[QoÿWU­TU|g
                                                 Miniaturization,”          TEXMEMS2003,       466ÿ©Austin, F?><ÿ~@   yCFwÿ
                                                                                                                     Texas.
   .[15],50ÿ42/24/03
              34236ÿj- ÿ42/27/03
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                                                                CD@E3BE@F@<?C?>G<ÿI(Keynote),
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                                                 munications,”          a[\XYZÿv2003    ®ÿt\     [Q̄ÿVSana[ÿFrancisco,
                                                                                                Conf.,             ua[Y_`Y\Qÿta         ]_\u[_aÿ̄
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   .[16],70ÿ76/24/02
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                                                 tions,” 2002 Device Research Conf., Santa Barbara, California.  aÿ¬a   u au aQ ÿta   ] _\ u[ _
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                                                                                            KMLPQÿS“Micromechanical
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                                                £_   uX]X``ÿYcommunications,”
                                                 wireless         \[_Ya_\[`Qoÿv2000        ÿU   u\¤Xa[ÿVSolid-State
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                                                 Conference, Cork, Ireland.¨ÿ;E@ iC<  A  wÿ
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              3463/ÿj- ÿ/9/22/98
   .[20]460ÿ/9/20/98        3443/ÿ :ÿ;Invited    <=>?@AÿBPaper/Presentation
                                                                CD@E3BE@F@<?C?>G<ÿI(Plenary),
                                                                                            KMLPQÿS“Micromachining
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                                                _    [_au_«XbÿYcommunication
                                                 miniaturized           \[_Ya_\[ÿbdevices,”  X_YX`Qoÿ,1998  //ÿgSPIE
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                                                                                                                 Germany.
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                                                            Olympic Valley, California.ÿ  d  e\  bc Z   \d  ÿ  ÿ
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                                                            Denver,            ebcd_bÿÿ
                                                                           Colorado.
   Q[31],Sÿ3/11/15
              V,,V,Uÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“MEMS-Based
                                                            Tutorial,         ijiklmnopqÿro                   stuunvwxofyÿkSpring
                                                                                                          Oscillators,”            xt~ÿ2015
                                                                                                                                             ÿmk   BSAC ÿzIABmÿ
                                             `a     ]b  c\de  ÿ^ c    ^ e^
                                              Tutorial, Berkeley, California. ÿ
                                                                               d   e\  b cZ \ d  ÿÿ
   Q[32]RSÿ¡7/23/14
              VRV,ÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“MEMS-Based
                                                            Tutorial,         ijiklmnopqÿ{Filter           tuvpxÿp       s¢~wuwÿ£forwxÿ¤{
                                                                                                                    Technology                RF ÿ   {Front
                                                                                                                                                        xw~vÿj~      qofyÿ
                                                                                                                                                                 Ends,”
                                             Skyworks,
                                                    ¥bcÿNewbury¦^¥§acÿ̈d          cÿd
                                                                                  Park,           e\bcZ\dÿÿ
                                                                                            California.
   Q[33]SÿU5/19/14
              V,V,ÿ—5/22/14
                       ©ÿUVRRV,ÿ XÿYInvited   Z[\]^_ÿ̀a         ]bc\defÿh“MEMS-Based
                                                            Tutorial,         ijiklmnopqÿro                   stuunvwxofyÿzIEEE
                                                                                                          Oscillators,”           jjjÿ{Frequency
                                                                                                                                            xp|}p~sÿw            ~vxwuÿ
                                                                                                                                                               Control
                                             Symp.,
                                                ÿ̀d          \^\ÿ̀d
                                                            Taipei,          \¥dZÿÿ
                                                                          Taiwan.
   Q[34]Sÿ¡7/21/13
              VR,V,ÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“Fabrication
                                                            Tutorial,         {nªxtsnvtw~ÿip       Methodsv¢wqoÿ£forwxÿij         ild^_ÿ«Frequency
                                                                                                                           MEMS-Based                  c^¬a^Zÿ
                                             w
                                              Control Devices,” IEEE Frequency Control Symp. Portion of£
                                                    ~  vxw uÿ­p   ® ts   pofyÿzjjjÿ       {xp |   }p  ~   s ÿw   ~  vx  wu ÿ k     ÿ̄
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                                                                                                                                                                   wt~vÿ
                                             ±«
                                              UFFC   «ÿb      Z^c^Z^ÿ̈c
                                                           Conference,             d²a^ÿ³
                                                                                Prague,       Czech^´ÿµ^         a§e\ÿÿ ]´
                                                                                                            Republic.
   Q[35]USÿ6/10/11
              V,V,,ÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“MEMS
                                                            Tutorial,        ijikÿ£forwxÿ{Frequencyxp|}p~sÿw              ~vxwufyÿ¶36™·ÿAnnual
                                                                                                                      Control,”                 ZZadeÿNIST  ¦Y`ÿ̀\      ^ÿ
                                                                                                                                                                      Time
                                             ¸ÿ
                                              & «      c^¬a^ZÿSeminar,
                                                    Frequency            ^\Zdcÿb        ae_^cÿb
                                                                                     Boulder,                 ebcd_bÿÿ ]´
                                                                                                       Colorado.
   Q[36]Sÿ6/11/10
              V,,V,ÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“MEMS
                                                            Tutorial,        ijikÿ£forwxÿ{Frequencyxp|}p~sÿw              ~vxwufyÿ¶35"ÿAnnual
                                                                                                                      Control,”                 ZZadeÿNIST  ¦Y`ÿ̀\      ^ÿ
                                                                                                                                                                      Time
                                             ¸ÿ
                                              & «      c^¬a^ZÿSeminar,
                                                    Frequency            ^\Zdcÿb        ae_^cÿb
                                                                                     Boulder,                 ebcd_bÿÿ ]´
                                                                                                       Colorado.
   Q[37]¡Sÿ6/5/09
              VUVÿ                      XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“MEMS
                                                            Tutorial,        ijikÿ£forwxÿ{Frequencyxp|}p~sÿw              ~vxwufyÿ¶34™¹ÿAnnual
                                                                                                                      Control,”                 ZZadeÿNIST  ¦Y`ÿ̀\      ^ÿ
                                                                                                                                                                      Time
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                                              & «      c^¬a^ZÿSeminar,
                                                    Frequency            ^\Zdcÿb        ae_^cÿb
                                                                                     Boulder,                 ebcd_bÿÿ
                                                                                                       Colorado.
   Q[38]-Sÿ4/20/09
              VRVÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“MEMS
                                                            Tutorial,         ijikÿ£forwxÿ{Frequencyxp|}p~sÿw              ~vxwufyÿ2009
                                                                                                                       Control,”          ºÿzIEEE
                                                                                                                                                 jjjÿzInterna- ~vpx~n»
                                             ]tional
                                               \bZdeÿ«Frequency
                                                            c^¬a^Zÿb          Z]cbeÿSymposium,
                                                                             Control         b\aÿ^                 dZbZÿ«France.
                                                                                                                    Besancon,            cdZ^ÿÿ
   Q[39]Sÿ9/18/06
              V,-Vÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“RF¤{ÿij
                                                            Tutorial,              MEMS:  ik¼ÿit          sxwps¢n~ts]´nuÿt
                                                                                                   Micromechanical                       xs}tvoÿ£forwxÿ½t
                                                                                                                                     Circuits                  xpupooÿ
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                                             `c    dZ^\[^cÿ«Front-Ends,”
                                              Transceiver               cbZ]lj~qofyÿ2006    ·ÿw         ª
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                                             [vice\^ÿµ^    ^dc´ÿb
                                                        Research             Z^c^Z^ÿ̧ÿ
                                                                         Conference         &     RZ_ÿ¾a
                                                                                                  32"            cb^dZÿSolid-State
                                                                                                           European              be\_l]d]^ÿ\      ca\]ÿb
                                                                                                                                               Circuits             Z^cl
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                                             ^ence,
                                                Z^ÿ¿b         Z]c^aÿSwitzerland.
                                                         Montreux,            ¥\]³^cedZ_ÿ
   Q[40]Sÿ6/12/06
              V,RVÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“Key
                                                            Tutorial,         ÀpÿkSystem
                                                                                       ovpÿr            wxv}~tvtpoÿ£forwxÿÁt
                                                                                                    Opportunities                        ªxnvt~ÿijik
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                                             wonators,”
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                                                                 ~vxwq}svtw~ÿ]tobÿ¿¾¿    MEMS ÿ          µ^    bZd]bcÿdandZ_ÿ«Filters
                                                                                                          Resonators                    \e]^cÿÂb
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                                             R2006
                                                ÿYIEEE ¾¾¾ÿYInternational
                                                                    Z]^cZd]\bZdeÿ¿\           cb¥d[^ÿSymposium,
                                                                                          Microwave                b\aÿSandZÿ«Francisco,cdZ\bÿd           e\l
                                                                                                                                                                  Cali-
                                             fornia.
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   Q[41],Sÿ-8/28/05
              VR-VUÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“MEMS
                                                            Tutorial,         ijikÿ£forwxÿ{Frequencyxp|}p~sÿnand~qÿt             t~ÿ¤p
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                                             YIEEE
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                                             Symposium,
                                                b\aÿd               Zba[^cÿd
                                                                     Vancouver,               Zd_dÿ
                                                                                          Canada.
   Q[42]RSÿ-8/23/04
              VRVÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“MEMS
                                                            Tutorial,         ijikÿ£forwxÿ{Frequencyxp|}p~sÿnand~qÿt             t~ÿ¤p
                                                                                                                                Timing         £pxp~spofyÿ2004
                                                                                                                                           References,”              ¹ÿ
                                             YIEEE
                                               ¾¾¾ÿSymposium
                                                           b\aÿbonZÿ±e            ]cdbZ\ÿ«Ferroelectrics,
                                                                                   Ultrasonics,               ^ccb^e^]c\ÿdandZ_ÿ«Frequencyc^¬a^Zÿb            Z]cbeÿ
                                                                                                                                                                Control,
                                             ¿b      Z]c^deÿd
                                              Montreal,              Zd_dÿ
                                                                 Canada.
   Q[43]Sÿ3/15/04
              V,UVÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿh“Accessing
                                                            Tutorial,         sspoot~ÿit            sxwpupsvxwps¢n~\deÿSystems
                                                                                                 Microelectromechanical                       ]^ÿÃ(MEMS)   ¿¾¿Äÿ
                                             p
                                              Technology,” Government Microcircuit Applications Conferencep
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                                             Ã(GOMAC
                                               ÆÇÈÉÊË04),        ÌÍÄÿ¿b      Z]^c^ÿd
                                                                          Monterey,              e\bcZ\dÿ
                                                                                           California.
   Q[44]SÿU5/12/02
              V,RVRÿ                     XÿYInvited
                                               Z[\]^_ÿ̀a         ]bc\defÿ]h“Vibrating
                                                            Tutorial,         Átªxnvt~ÿ¤{    RF ÿ    ijik
                                                                                                      MEMS ÿ         £forwxÿÎw
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                                             }      ~tsnvtw~ofyÿ1% ÿYInt.Z]ÿb
                                              munications,”                            ZÿdandZ_ÿSchool
                                                                                   Conf.                  ´bbeÿbonZÿNanoscale/Molecular
                                                                                                                           ¦dZbde^V¿be^aedcÿ¿^               Me- l
                                             chanics,
                                                ´dZ\ÿ¿d         a\ÿÐd
                                                               Maui,          ¥d\\ÿ
                                                                          Hawaii.
   Q[45]USÿ¡7/3/01
              VV,ÿ                      XÿYInvited
                                               Z[\]^_ÿShort   ´bc]ÿb      ac^fÿh“RF¤{ÿijik
                                                                        Course,             MEMS ÿ          £forwxÿ½t    xpupooÿw
                                                                                                                   Wireless             }~tsnvtw~ofyÿgiven
                                                                                                                                   Communications,”                   t®p~ÿ
                                             dat]ÿ]the´^ÿR2001,ÿYInt.Z]ÿ¿¾¿       ÿÂb     c    ´
                                                                           MEMS Workshop, Singapore.  b   ÿ   \Z² d    b c ^ ÿ
   Q[46]Sÿ6/10/01
              V,V,ÿ                     XÿYInvited
                                               Z[\]^_ÿShort   ´bc]ÿb      ac^fÿh“Micromechanical
                                                                        Course,      itsxwps¢n~tsnuÿ¤{                  RF ÿ   ­p ®tspoÿ£forwxÿw
                                                                                                                                Devices                 }~tsnvtw~ÿ
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                                             x    n~ospt®pxofyÿgiven
                                              Transceivers,”               t®p~ÿnatvÿvthe¢pÿ11"]´ÿYInt.Z]ÿb    Z^c^Z^ÿbonZÿSolid-State
                                                                                                             Conference                   be\_l]d]^ÿSensors ^ZbcÿdandZ_ÿ
                                             s     v}nvwxoÿÑ(Transducers’01),
                                              Actuators           xn~oq}spxoÒÓfÿº9 ÿna.m.-12:30    ¯l̄,RÔÿp.m.,ÿ¿a              Z\´ÿÕ^
                                                                                                                                    Munich,            cdZÿ
                                                                                                                                                 Germany.




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   Curriculum     ÿ
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 165 of 598 PageID #: 1092

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                                                        Conferences/Workshops                           5?EF875Gÿ;above H<61ÿ;and58ÿ5not</ÿ7including
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                                                                         U$'ÿWpaper,
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   c[48]dfÿ,10/8/20
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                                                           National Research Council (NRC) Seminar, virtual meeting. v y  w | ÿ  y|  ÿv   vywz 
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                                                                        Berkeley,         CA. ÿ
   c[50]hfÿ,12/11/19
               ki,,i,-ÿ                         m* ÿPR:
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                                                                                                                                                   Boston,  MA
   c[51],fÿ-9/12/18
               i,ki,ÿ                          m* ÿPR:
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                                                           MIT-MTL            vyw|ÿ         |yzvÿu
                                                                                            Cambridge,          MA. ÿ
   c[52]kfÿ8/13/18
               i,i,ÿ                          m» ÿPR:
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                                                           Brain-Efficient        wv}wy}ÿur             AI ÿ    ~v|ÿsScientific
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   c[53]fÿ5/16/18
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   c[55]fÿ,10/18/17
               hi,i,eÿ                         m* ÿPR:
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   c[56]jfÿ8/8/17
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                                                                                                                     Gaithersburg,         MD. ÿ
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                                                                                          Berkeley,         CA. ÿ
   c[58]fÿ3/21/17
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                                                                                                                    Arlington,       VA. ÿ
   c[60]jhfÿ-9/23/15
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                                                                                                                           Clara,    CA. ÿ
   c[61]j,fÿ8/3/15-—8/4/15
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                                                           Microsystem             wvwzywvv|ywzÿsSummit,
                                                                               & Nanoengineering                    yÿv       y£ywzÿ
                                                                                                                                Beijing,          ywÿ
                                                                                                                                              China.
   c[62]jkfÿe7/7/15
               iei,ÿ                           m* ÿPR:
                                                    nopÿrInterpack
                                                             wv|~}ÿ{ÿ  & r  ÿk2015,
                                                                              ICNMM             h,ÿsSanwÿqFrancisco,
                                                                                                                 |w}yx}ÿu  CA. ÿ
   c[63]jfÿ3/6/15
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                                                                             Thrust             |x~ÿv
                                                                                        Workshop,                |vvÿu
                                                                                                             Berkeley,       CA. ÿ
   c[66]jjfÿ,1/28/14
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                                                                                                                       Beach,      CA. ÿ
   c[67]jefÿ-9/19/13
               i,-i,ÿ                          m* ÿPR:
                                                    nopÿs BSAC uÿrIABuÿt     |xÿ
                                                                             Thrust             |x~ÿv
                                                                                        Workshop,                |vvÿu
                                                                                                             Berkeley,       CA. ÿ
   c[68]jfÿ8/26/13
               ikji,ÿ—¢ÿ8/30/13
                               ihi,ÿ m* ÿPR:      nopÿuon
                                                           DARPAuÿ      ¤o¥r
                                                                        ORCHIDÿ        nPIrÿv     vywzÿsSanta
                                                                                               Meeting,         wÿ|    ¦ÿu
                                                                                                                       Cruz,     CA. ÿ
   c[69]j-fÿj6/17/13
               i,ei,ÿ—¢ÿj6/20/13
                               ikhi,ÿ m* ÿP/P:     nin§ÿ©Transducers’13,
                                                              ª«¬­®¯°±ª­²³´µÿ¶«           ª°±·¸¬«µÿ¹Spain.
                                                                                    Barcelona,             º«»¬¼ÿ
   c[70]ehfÿj6/3/13
               ii,ÿ—¢ÿj6/4/13
                            idi,ÿ m» ÿPR:          nopÿrIEEEÿoqRFIC rÿ     |x~ÿsSeattle,
                                                                             Workshop,              vvÿu
                                                                                                              WA. ÿ
   c[71]e,fÿ3/6/13
               iji,ÿ                           m* ÿPR:
                                                    nopÿs BSAC uÿrIABuÿt     |xÿ
                                                                             Thrust             |x~ÿv
                                                                                        Workshop,                |vvÿu
                                                                                                             Berkeley,       CA. ÿ
   c[72]ekfÿ,11/13/12
               ,i,i,kÿ11/14/12
                           ¢ÿ,,i,di,kÿ m* ÿPR:      nopÿs BSAC uÿ½Japan
                                                                       ~wÿs
                                                                               MEMS ÿ        sSymposium,
                                                                                                ~xyÿt           ÿ½Japan.
                                                                                                                   Tokyo,       ~wÿ
   c[73]efÿ8/27/12
               ikei,kÿ¢ÿ8/31/12
                               i,i,kÿ m* ÿPR:      nopÿuon
                                                           DARPAuÿ      ¤o¥r
                                                                        ORCHIDÿ        nPIrÿv     vywzÿsSanta
                                                                                               Meeting,         wÿ     ||ÿu
                                                                                                                       Barbara,       CA. ÿ
   c[74]edfÿ8/14/12
               i,di,kÿ8/15/12
                        ¢ÿi,i,kÿ m* ÿPR:          nopÿuon
                                                           DARPAuÿ      isÿsS&T{tÿnPIrÿv
                                                                        N/MEMS                               vywzÿrIrvine,
                                                                                                        Meeting,        |ywvÿu CA. ÿ
   c[75]efÿe7/11/12
               i,,i,kÿ—"7/12/12
                        ¢ÿei,ki,kÿ m* ÿPR:          nopÿuon
                                                           DARPAuÿ      uotÿ
                                                                        ART n   PIrÿv      vywzÿv
                                                                                     Meeting,              ||wÿr
                                                                                                       Dearborn,       MI.  ÿ
   c[76]ejfÿj6/17/12
               i,ei,kÿ—6/22/12
                        ¢ÿjikki,kÿ m* ÿP/P:         ninpÿrIEEE
                                                             ÿrInt.wÿy   }|vÿsSymp.
                                                                          Microwave              ~ÿ(IMS),
                                                                                                            rsÿ       w|vÿ
                                                                                                                      Montreal,            wÿ
                                                                                                                                       Canada.
   c[77]eefÿ3/27/12
               ikei,kÿ-3/30/12
                        ¢ÿihi,kÿ m* ÿPR:          nopÿuoÿ
                                                           ARL us MASTtÿ      ov   yvÿ½Joppa,
                                                                               Review,          ~~ÿMD. ÿ
   c[78]efÿk2/15/12
               i,i,kÿ-2/16/12
                        ¢ÿki,ji,kÿ m* ÿPR:          nopÿuon
                                                           DARPAuÿ      sÿnPIrÿv
                                                                        NEMS                    vywzÿsSanwÿy
                                                                                         Meeting,                    vzÿu
                                                                                                                Diego,      CA. ÿ
   c[79]e-fÿk2/7/12
               iei,kÿ—2/8/12
                       ¢ÿkii,kÿ m* ÿPR:            nopÿuon
                                                           DARPAuÿ      ¤o¥r
                                                                        ORCHIDÿ        nPIrÿv     vywzÿnPasadena,
                                                                                               Meeting,         xvwÿu  CA. ÿ
   c[80]hfÿ,12/8/11
               kii,,ÿ—12/9/11
                        ¢ÿ,ki-i,,ÿ m* ÿPR:          nopÿuon
                                                           DARPAuÿ      isÿsS&T{tÿnPIrÿv
                                                                        N/MEMS                               vywzÿu|
                                                                                                        Meeting,           ywzwÿu
                                                                                                                       Arlington,        VA. ÿ
   c[81],fÿ,11/7/11
               ,iei,,ÿ-11/8/11
                        ¢ÿ,,ii,,ÿ m» ÿPR:          nopÿs BSAC uÿ½Japan
                                                                       ~wÿs
                                                                               MEMS ÿ        sSymposium,
                                                                                                ~xyÿt           ÿ½Japan.
                                                                                                                   Tokyo,       ~wÿ
   c[82]kfÿ,10/27/11
               hikei,,ÿ                         m* ÿPR:
                                                    nopÿuon
                                                           DARPAuÿ      uotÿ
                                                                        ART n   PIrÿv      vywzÿu|
                                                                                     Meeting,              ywzwÿu
                                                                                                       Arlington,       VA. ÿ
   c[83]fÿ-9/22/11
               ikki,,ÿ                          m+ ÿPR:
                                                    nopÿs BSAC uÿk25"ÿuw
                                                                              wyÿEvent,
                                                                            Anniv.            vwÿv    |vvÿu
                                                                                                      Berkeley,      CA. ÿ
   c[84]dfÿ-9/21/11
               ik,i,,ÿ                          m* ÿPR:
                                                    nopÿuon
                                                           DARPAuÿ      isÿsS&T{tÿov
                                                                        N/MEMS                           yvÿ
                                                                                                    Review      Mtg.,zÿv   |vvÿu
                                                                                                                          Berkeley,       CA. ÿ
   c[85]fÿ5/25/11
               iki,,ÿ5/26/11
                        ¢ÿikji,,ÿ m+ ÿPR:          nopÿuon
                                                           DARPAuÿ      isÿsS&T{tÿnPIrÿv
                                                                        N/MEMS                               vywzÿNewport
                                                                                                        Meeting,       v~|ÿv         }ÿu
                                                                                                                                      Beach,     CA. ÿ
   c[86]jfÿ5/9/11
               i-i,,ÿ—5/10/11
                       ¢ÿi,hi,,ÿ m* ÿPR:           nopÿuon
                                                           DARPAuÿ      uotÿ
                                                                        ART n   PIrÿv      vywzÿ
                                                                                     Meeting,               xywzwÿ
                                                                                                       Washington,          DC. ÿ
   c[87]efÿ5/1/11
               i,i,,ÿ-5/5/11
                       ¢ÿii,,ÿ m* ÿPN:            npÿrIEEEÿqFrequency
                                                                     |vvw}ÿ     Controlw|ÿsSymposium,
                                                                                                       ~xyÿsSanwÿqFrancisco,
                                                                                                                                  |w}yx}ÿu  CA. ÿ
   c[88]fÿ3/31/11
               i,i,,ÿ—4/1/11
                        ¢ÿdi,i,,ÿ m* ÿPR:           nopÿuoÿ       us     tÿ  ov   yv
                                                           ARL MAST Review, Joppa, MD.     ÿ ½  ~~  ÿ
                                                                                                              ÿ
   c[89]-fÿk2/14/11
               i,di,,ÿ                          m* ÿPR:
                                                    nopÿuon
                                                           DARPAuÿ      oq   qn¡uÿ
                                                                        RF-FPGA                  |x~ÿu|
                                                                                          Workshop,               ywzwÿu
                                                                                                              Arlington,       VA. ÿ
   c[90]-hfÿ,1/19/11
               i,-i,,ÿ—1/20/11
                        ¢ÿ,ikhi,,ÿ m* ÿPR:          nopÿuon
                                                           DARPAuÿ      ¤o¥r
                                                                        ORCHIDÿ        nPIrÿv     vywzÿt
                                                                                               Meeting,       Thev  ÿy x~v|vÿk2,ÿu¾
                                                                                                                     Biosphere            AZ. ÿ


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   0 ÿ7
   Curriculum     ÿ
               Vitae                                                    ÿT-C.!ÿ"#
                                                                       Clark             $%&'ÿ
                                                                                      Nguyen                                (5/20/2022
                                                                                                                              )*+)*+**ÿ                       ,19-ÿ     ÿ
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 166 of 598 PageID #: 1093

                                                 0122301415ÿVITAE
                                                 CURRICULUM 7389 ÿ(Extended)
                                                                      ÿ
    .[91]/01ÿ012/15/10
               ,30430-ÿ—6ÿ012/16/10
                             ,30730-ÿ 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       >3?@?AÿAS&TBCÿ9PIDÿ?E
                                                             N/MEMS                                EFGHIJÿ=K
                                                                                             Meeting,             LGHIFMHJÿN=O
                                                                                                              Arlington,      VA. ÿ
    .[92]/,1ÿ010/27/10
               -3,P30-ÿ               8ÿPR:
                                        9:;ÿ<A DSRC:QÿRM       KSTUMVÿMonHÿWE
                                                        Workshop                      FEKMIEHEMXTÿDIntegration,
                                                                                  Heterogeneous               HFEIKYFGMHJÿ=K       LGHIFMHJÿN=O
                                                                                                                               Arlington,          VA. ÿ
    .[93]/Z1ÿP7/23/10
               3,Z30-ÿ                8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       ?@?A
                                                             MEMS ÿ       9PIDÿ?E    EFGHIÿ[(CSSA),
                                                                               Meeting           QAA=\JÿASanYHÿ]Francisco,
                                                                                                                       KYH^GT^MJÿQ=O   CA. ÿ
    .[94]/_1ÿP7/23/10
               3,Z30-ÿ                8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       ?@?A
                                                             MEMS ÿ       9PIDÿ?E    EFGHIÿ[(NEMS),
                                                                               Meeting           >@?A\JÿASanYHÿ]Francisco,
                                                                                                                        KYH^GT^MJÿQ=O   CA. ÿ
    .[95]/41ÿP7/22/10
               3,,30-ÿ                8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       ?@?A
                                                             MEMS ÿ       9PIDÿ?E    EFGHIÿ[(N/MEMS
                                                                               Meeting           >3?@?AÿAS&T),      BC\JÿASanYHÿ]Francisco,
                                                                                                                                      KYH^GT^MJÿQ=O   CA. ÿ
    .[96]/71ÿP7/21/10
               3,030-ÿ                8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       >@?Aÿ9PIDÿ?E
                                                             NEMS                    EFGHIJÿASanYHÿ]Francisco,
                                                                               Meeting,                  KYH^GT^MJÿQ=O  CA. ÿ
    .[97]/P1ÿ76/25/10
               3,430-ÿ                8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       >3?@?AÿAS&TBCÿ9Ph.UOÿ,2 ÿ̀aÿ
                                                             N/MEMS                                KO ?E        EFGHIJÿNewport
                                                                                                          Meeting,      >EbVMKFÿcE           Y^UJÿQ=O
                                                                                                                                        Beach,       CA. ÿ
    .[98]/d1ÿ76/15/10
               30430-ÿ—6ÿ76/16/10
                            30730-ÿ 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       a:QWD
                                                             ORCHID<ÿ̀G            ^Seaffÿ?E
                                                                              Kick-Off               EFGHIJÿASanta
                                                                                               Meeting,           YHFYÿcY    KgYKYJÿQ=O
                                                                                                                         Barbara,       CA. ÿ
    .[99]//1ÿ76/1/10
               3030-ÿ—6ÿ76/4/10
                          3_30-ÿ 8ÿPN:  9>;ÿDIEEE@@@ÿ]Frequency
                                                         KEhXFEUH^iÿQM          HFKMLÿASymposium,
                                                                           Control         ijVMTGXjJÿNewport    >EbVMKFÿcE        Y^UJÿQ=O
                                                                                                                              Beach,        CA. ÿ
  .[100]
    0--1ÿ45/20/10
               3,-30-ÿ                8ÿPR:
                                        9:;ÿ?@9MEPTEC C@Qÿd8" ÿ=H        HXYLÿ?@?A
                                                                     Annual        MEMS ÿ       ASymposium,
                                                                                                   ijVMTGXjJÿASanYHÿkJose,    MTEJÿQ=O
                                                                                                                                     CA. ÿ
  .[101]
    0-01ÿZ3/10/10
               30-30-ÿ                8ÿPR:
                                        9:;ÿcA BSAC=QÿCUThrustKXTFÿASession,
                                                                        ETTGMHJÿcE        KSELEiJÿQ=O
                                                                                     Berkeley,         CA. ÿ
  .[102]
    0-,1ÿ,2/4/10
               3_30-ÿ—6ÿ,2/5/10
                          3430-ÿ 8ÿPR:  9:;ÿ<=:9
                                               DARPA=ÿ       >@?Aÿ9PIDÿ?E
                                                             NEMS                    EFGHIJÿASanYHÿ<G
                                                                               Meeting,                    EIMJÿQ=O
                                                                                                       Diego,      CA. ÿ
  .[103]
    0-Z1ÿ,2/2/10
               3,30-ÿ-2/3/10
                      6ÿ,3Z30-ÿ 8ÿPR:   9:;ÿ<=:9
                                               DARPA=ÿ       <E
                                                             DeepEVÿDIntg.
                                                                        HFIOÿMoffÿCG    jGHIÿYandHlÿDIMUs
                                                                                     Timing                ?mTÿRS   Wkshp,TUVJÿ9ParkYKSÿQG     FiJÿmCO
                                                                                                                                           City,    UT. ÿ
  .[104]
    0-_1ÿ010/18/09
               -30d3-/ÿ—6ÿ010/19/09
                             -30/3-/ÿ 8ÿPR:
                                        9:;ÿcA BSAC=QÿkJapan
                                                           YVYHÿ?@?A MEMS ÿ       ASymposium,
                                                                                     ijVMTGXjJÿCM             SiMJÿkJapan.
                                                                                                         Tokyo,        YVYHOÿ
  .[105]
    0-41ÿ010/27/09
               -3,P3-/ÿ—6ÿ010/28/09
                             -3,d3-/ÿ 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       ?Caÿ
                                                             MTO cK         YGHTFMKjGHIÿ?E
                                                                       Brainstorming                   EFGHIJÿ?G
                                                                                                  Meeting,            HHEYVMLGTJÿ?>O
                                                                                                                  Minneapolis,         MN. ÿ
  .[106]
    0-71ÿP7/10/09
               30-3-/ÿ                8ÿPR:
                                        9:;ÿ<=:9        =ÿ   ?@?A        ÿ9  Dÿ?E    E FGH I ÿ
                                               DARPA MEMS PI Meeting (NEMS), Sun River, Oregon.[ >@   ?A     \JÿA X Hÿ:G  n EK JÿaK  E IMHOÿ
  .[107]
    0-P1ÿP7/9/09
               3/3-/ÿ                 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       ?@?A
                                                             MEMS ÿ       9PIDÿ?E    EFGHIÿ[(CSSA),
                                                                               Meeting           QAA=\JÿASunXHÿ:G        nEKJÿaK
                                                                                                                     River,        EIMHOÿ
                                                                                                                                Oregon.
  .[108]
    0-d1ÿ45/29/09
               3,/3-/ÿ                8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       QA
                                                             CSSA A=ÿ̀G      ^Seaffÿ?E
                                                                        Kick-Off               EFGHIJÿASanYHÿ]Francisco,
                                                                                         Meeting,                  KYH^GT^MJÿQ=O CA. ÿ
  .[109]
    0-/1ÿ01/13/09
               30Z3-/ÿ                8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       :]
                                                             RF ÿ ?@?A
                                                                   MEMS ÿ       DIntegration
                                                                                   HFEIKYFGMHÿRM           KSTUMVJÿNapa,
                                                                                                     Workshop,          >YVYJÿQ=OCA. ÿ
  .[110]
    00-1ÿ012/4/08
               ,3_3-dÿ—6ÿ012/5/08
                            ,343-dÿ 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       >@?Aÿ9PIDÿ?E
                                                             NEMS                    EFGHIJÿ9Point
                                                                               Meeting,           MGHFÿQL     EYKJÿ=oO
                                                                                                          Clear,    AL. ÿ
  .[111]
    0001ÿ011/19/08
               030/3-dÿ               8ÿPR:
                                        9:;ÿ:] RF ÿ ?@?A
                                                    MEMS ÿ      fforMKÿ<E   fEHTEÿApplications
                                                                       Defense        =VVLG^YFGMHTÿRM              KSTUMVJÿASanYHÿ<G
                                                                                                              Workshop,                     EIMJÿQ=O
                                                                                                                                       Diego,       CA. ÿ
  .[112]
    00,1ÿ/9/22/08
               3,,3-dÿ                8ÿ9PN:>;ÿ,2008
                                                 --dÿDIEEE
                                                       @@@ÿQX    Custom Integrated Circuits Conference, San Jose, J
                                                                       T
                                                                       F M  jÿ  DH  FEI K Y FE l  ÿQG K ^ X GF TÿQM  H fE KE H ^E JÿA  Y H  ÿk M T E ÿQ=O
                                                                                                                                                      CA. ÿ
  .[113]
    00Z1ÿ/9/1/08
               303-dÿ                 8ÿPR:
                                        9:;ÿcA BSAC=QÿCUThrustKXTFÿASession,
                                                                        ETTGMHJÿcE        KSELEiJÿQY
                                                                                     Berkeley,              LGfMKHGYOÿ
                                                                                                       California.
  .[114]
    00_1ÿP7/23/08
               3,Z3-dÿ—6ÿP7/25/08
                            3,43-dÿ 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       ?@?A
                                                             MEMS ÿ       9PIDÿ?E    EFGHIJÿNY
                                                                               Meeting,         Vail,GLJÿQM    LMKYlMOÿ
                                                                                                          Colorado.
  .[115]
    0041ÿ45/30/08
               3Z-3-dÿ                8ÿPR:
                                        9:;ÿcA BSAC=Qÿ@X      KMVEYHÿASymposium,
                                                        European             ijVMTGXjJÿ?X               HG^UJÿpE
                                                                                                  Munich,            KjYHiOÿ
                                                                                                                 Germany.
  .[116]
    0071ÿ_4/12/08
               30,3-dÿ                8ÿPR:
                                        9:;ÿQY Cal Lÿ<Y
                                                     Dayi  ÿ,2008,
                                                              --dJÿcE       KSELEiJÿQY
                                                                       Berkeley,             LGfMKHGYOÿ
                                                                                         California.
  .[117]
    00P1ÿZ3/12/08
               30,3-dÿ                8ÿPR:
                                        9:;ÿcA BSAC=QÿCUThrustKXTFÿASession,
                                                                        ETTGMHJÿcE        KSELEiJÿQY
                                                                                     Berkeley,              LGfMKHGYOÿ
                                                                                                       California.
  .[118]
    00d1ÿ,2/28/08
               3,d3-dÿ—6ÿ,2/29/08
                            3,/3-dÿ 8ÿPR:
                                        9:;ÿ?D     C:@ÿ    ?@?A         ÿf M Kÿ<E
                                               MITRE MEMS for Defense & Security     fEH  TE ÿBÿ   A E ^ X  KGFiÿ=V   VTOJÿ?^
                                                                                                                  Apps.,         oEYHJÿNG
                                                                                                                             McLean,              KIGHGYOÿ
                                                                                                                                              Virginia.
  .[119]
    00/1ÿ012/13/07
               ,30Z3-Pÿ—6ÿ012/14/07
                             ,30_3-Pÿ 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       RS   TUMVÿMonHÿNonlinear
                                                             Wkshop              >MHLGHEYKÿ<i            HYjG^TÿGinHÿ>@?A
                                                                                                    Dynamics             NEMS, J     ÿASanYHÿ]Fran.,
                                                                                                                                                  KYHOJÿQ=O
                                                                                                                                                        CA. ÿ
  .[120]
    0,-1ÿ012/6/07
               ,373-Pÿ—6ÿ012/7/07
                            ,3P3-Pÿ 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA=ÿ       RS   TUMVÿMonHÿN/MEMS
                                                             Wkshop              >3?@?Aÿ<E               TGIHÿ=X
                                                                                                    Design           FMjYFGMHJÿASanYHÿ<G
                                                                                                                 Automation,                      EIMJÿQ=O
                                                                                                                                              Diego,    CA. ÿ
  .[121]
    0,01ÿ012/4/07
               ,3_3-Pÿ—6ÿ012/5/07
                            ,343-Pÿ 8ÿPR:
                                        9:;ÿcA BSAC=QÿkJapan
                                                           YVYHÿ?@?A MEMS ÿ       ASymposium,
                                                                                     ijVMTGXjJÿCM             SiMJÿkJapan.
                                                                                                         Tokyo,        YVYHOÿ
  .[122]
    0,,1ÿ76/15/07
               3043-Pÿ                8ÿPR:
                                        9:;ÿQ>Cÿ      >@?AÿRM
                                               CNT NEMS                  KSTUMVJÿoY
                                                                     Workshop,              XTYHHEJÿASwitzerland.
                                                                                        Lausanne,            bGFqEKLYHlOÿ
  .[123]
    0,Z1ÿ45/3/07
               3Z3-Pÿ                 8ÿPR:
                                        9:;ÿQY     lEH^EÿASeminar,
                                               Cadence         EjGHYKJÿcE          KSELEiJÿQY
                                                                              Berkeley,             LGfMKHGYOÿ
                                                                                               California.
  .[124]
    0,_1ÿZ3/28/07
               3,d3-Pÿ                8ÿPR:
                                        9:;ÿQD    C:DAÿ[(TSMC),
                                               CITRIS        CA?Q\JÿCY           GVEGJÿCY
                                                                             Taipei,          GbYHOÿ
                                                                                          Taiwan.
  .[125]
    0,41ÿZ3/28/07
               3,d3-Pÿ                8ÿPR:
                                        9:;ÿQD    C:DAÿ[(Mediatek),
                                               CITRIS        ?ElGYFES\JÿCTaipei,    YGVEGJÿCY      GbYHOÿ
                                                                                              Taiwan.
  .[126]
    0,71ÿZ3/27/07
               3,P3-Pÿ                8ÿPR:
                                        9:;ÿQD    C:DAÿ[(Nat.
                                               CITRIS        >YFOÿCY      GbYHÿmH
                                                                      Taiwan            GnO\JÿCTaipei,
                                                                                    Univ.),         YGVEGJÿCTaiwan.
                                                                                                                 YGbYHOÿ
  .[127]
    0,P1ÿZ3/8/07
               3d3-Pÿ                 8ÿPR:
                                        9:;ÿcA BSAC=QÿDIndustrial
                                                           HlXTFKGYLÿ=l         nGTMKiÿcM
                                                                           Advisory         BoardYKlÿ?E       EFGHIJÿcE
                                                                                                        Meeting,           KSELEiJÿQY
                                                                                                                       Berkeley,             LGfMKHGYOÿ
                                                                                                                                        California.
  .[128]
    0,d1ÿZ3/7/07
               3P3-Pÿ                 8ÿPR:
                                        9:;ÿcA BSAC=QÿCUThrustKXTFÿASession,
                                                                        ETTGMHJÿcE        KSELEiJÿQY
                                                                                     Berkeley,              LGfMKHGYOÿ
                                                                                                       California.
  .[129]
    0,/1ÿ,2/21/07
               3,03-Pÿ—6ÿ,2/22/07
                            3,,3-Pÿ 8ÿPR:
                                        9:;ÿ<=:9
                                               DARPA,=J      ÿQU  GVeA^YLEÿ=n
                                                              Chip-Scale               GMHG^TÿRM
                                                                                  Avionics               KSTUMVJÿaK
                                                                                                   Workshop,              LYHlMJÿ]Florida.
                                                                                                                      Orlando,         LMKGlYOÿ
  .[130]
    0Z-1ÿ,2/15/07
               3043-Pÿ                8ÿPR:
                                        9:rÿtuvwx
                                               BEARS’07,   yz{|ÿt}     ~}}|ÿ
                                                                  Berkeley,              ~ÿ
                                                                                     California.
  .[131]
    0Z01ÿ01/8/07
               3d3-Pÿ—6ÿ01/9/07
                          3/3-Pÿ 8ÿPR:  9:;ÿcR:Qÿ
                                               BWRC :E         FKEYFJÿ?M
                                                           Retreat,            HFEKEiOÿQY
                                                                         Monterey.               LGfMKHGYOÿ
                                                                                            California.
  .[132]
    0Z,1ÿ012/6/06
               ,373-7ÿ                8ÿPR:
                                        9:;ÿASharp,
                                                 UYKVJÿNara,
                                                        >YKYJÿkJapan  YVYHÿ
  .[133]
    0ZZ1ÿ012/1/06
               ,303-7ÿ                8ÿPR:
                                        9:;ÿpA GSRC:QÿX      YKFEKLiÿRM
                                                        Quarterly                KSTUMVJÿcE
                                                                           Workshop,                KSELEiJÿQY
                                                                                               Berkeley,            LGfMKHGYÿ
                                                                                                                 California
  .[134]
    0Z_1ÿ011/9/06
               03/3-7ÿ—6ÿ011/10/06
                            030-3-7ÿ 8ÿPR:
                                        9:;ÿNortel
                                               >MKFELÿRG      KELETTÿ]Forum,
                                                        Wireless            MKXjJÿaF       FYbYJÿQY
                                                                                       Ottawa,             HYlYOÿ
                                                                                                     Canada.
  .[135]
    0Z41ÿ011/5/06
               0343-7ÿ                8ÿPR:
                                        9:;ÿDIEEE@@@ÿDInt.HFOÿQM
                                                              Conf. HfOÿMonHÿQM     jVXFEKe=GlElÿ<E
                                                                               Computer-Aided                     TGIHJÿASanYHÿkJose,
                                                                                                             Design,             MTEJÿQY        LGfMKHGYOÿ
                                                                                                                                           California.
  .[136]
    0Z71ÿ010/2/06
               -3,3-7ÿ—6ÿ010/6/06
                            -373-7ÿ 8ÿP/P:
                                        939;ÿDIEEE
                                                 @@@ÿDInt.HFOÿUltrasonics
                                                               mLFKYTMHG^TÿASymposium,ijVMTGXjJÿNY              H^MXnEKJÿQY
                                                                                                           Vancouver,            HYlYOÿ
                                                                                                                             Canada.
  .[137]
    0ZP1ÿ45/9/06
               3/3-7ÿ—6ÿ45/12/06
                          30,3-7ÿ 8ÿPR: 9:;ÿWM     HEibELLÿCTechnology
                                               Honeywell            E^UHMLMIiÿASymposium,ijVMTGXjJÿAScottsdale, ^MFFTlYLEJÿ=K     GqMHYOÿ
                                                                                                                               Arizona.
  .[138]
    0Zd1ÿ01/30/06
               3Z-3-7ÿ                8ÿPR:
                                        9:;ÿ@L    E^FKG^YLÿ@Engineering
                                               Electrical        HIGHEEKGHIÿASeminar,  EjGHYKJÿmH    Univ. GnOÿMoffÿQY  LGfMKHGYJÿcE
                                                                                                                    California,             KSELEiÿ
                                                                                                                                      Berkeley
  .[139]
    0Z/1ÿ010/21/05
               -3,03-4ÿ               8ÿPR:
                                        9:;ÿ@L    E^FKG^YLÿ@Engineering
                                               Electrical        HIGHEEKGHIÿASeminar,  EjGHYKJÿmH    Univ. GnOÿMoffÿQY  LGfMKHGYJÿoM
                                                                                                                    California,       LosT   ÿ=H   IELETÿ
                                                                                                                                              Angeles
  .[140]
    0_-1ÿ010/18/05
               -30d3-4ÿ               8ÿPR:
                                        9:;ÿASolid-State
                                                 MLGleAFYFEÿ<E        nG^EÿASeminar,
                                                                 Device          EjGHYKJÿmH         GnEKTGFiÿMoffÿQY
                                                                                               University                 LGfMKHGYJÿcE
                                                                                                                      California,             KSELEiÿ
                                                                                                                                        Berkeley
  .[141]
    0_01ÿ/9/19/05
               30/3-4ÿ                8ÿPR:
                                        9:;ÿcA BSAC=QÿASeminar,
                                                            EjGHYKJÿmH         GnEKTGFiÿMoffÿQY
                                                                         University                   LGfMKHGYJÿcE
                                                                                                  California,            KSELEiÿ
                                                                                                                    Berkeley

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   Curriculum     ÿ
               Vitae                                                  ÿT-C.!ÿ"#
                                                                     Clark             $%&'ÿ
                                                                                    Nguyen                             (5/20/2022
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 167 of 598 PageID #: 1094

                                                 0122301415ÿVITAE
                                                 CURRICULUM 7389 ÿ(Extended)
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  .[142]
    -/,0ÿ26/1305
           3-456ÿ8- ÿ26/17/05
                        3-9356ÿ :ÿP/P:;3;<ÿ,2005
                                              556ÿ=>       ?@ABÿCD
                                                      Design           EFGHE@FBÿIF
                                                                   Automation               BJ>K>BL>ÿ
                                                                                        Conference
  .[143]
    -/40ÿ26/13/05
           3-4356ÿ                  :ÿP/P:
                                      ;3;MÿO2005
                                              PPQÿRS  Wkshp  TUVÿWonXÿYZ     [\X]^Zÿ_Technologies
                                                                       Advanced            ^]UXWẀab^TÿcforWdÿNext    e^fgÿh^    X^d\gbWXÿij
                                                                                                                              Generation          klmTÿ
                                                                                                                                             RFIC’s
  .[144]
    -//0ÿ26/6/05
           32356ÿ8- ÿ26/9/05
                       3n356ÿ       :ÿP/P:
                                      ;3;<ÿoInt.BEpÿIF  BJpÿFonBÿqSolid-State
                                                    Conf.            Fr@s8tg\g^ÿtSensors ^XTWdTÿ\andXZÿY]       gu\gWdTÿv(Transducers’05)
                                                                                                           Actuators        _d\XTZu]^dTmPQwÿ
  .[145]
    -/60ÿ65/16/05
           3-2356ÿ8- ÿ65/19/05
                         3-n356ÿ :ÿP/P:
                                      ;3;<ÿ,2005
                                              556ÿoInt.BEpÿIF    BJpÿFonBÿ=@
                                                              Conf.              HGFBsÿHandBsÿx>
                                                                             Diamond                     rHE>sÿyH
                                                                                                     Related           E>K@Hr?ÿ
                                                                                                                 Materials
  .[146]
    -/20ÿ,2/28/05
           3,z356ÿ8- ÿ43/1/05
                         3-356ÿ :ÿPR: ;x<ÿ=>      J>B?>ÿqScience
                                            Defense           L@>BL>ÿ{F  BoardHKsÿ;Power
                                                                                       F|>Kÿy> Meeting>E@BAÿ
  .[147]
    -/90ÿ,2/10/05
           3-5356ÿ                  :ÿPR:
                                      ;x<ÿ,2005
                                             556ÿNAVWAR
                                                     }C~CxÿIF                 BJ>K>BL>ÿ
                                                                         Conference
  .[148]
    -/z0ÿ,2/8/05
           3z356ÿ                   :ÿ;}<ÿ;Panel
                                              HB>rÿHatEÿEthe>ÿ,2005
                                                                  556ÿoIEEE ÿoInt.BEpÿqSolid-State
                                                                                            Fr@s8qEHE>ÿI@        KLD@E?ÿIF
                                                                                                             Circuits          BJpÿ
                                                                                                                           Conf.
  .[149]
    -/n0ÿ,2/7/05
           39356ÿ8- ÿ,2/10/05
                       3-5356ÿ :ÿ;3;<: ÿ,2005 556ÿoIEEEÿoInt.BEpÿqSolid-State
                                                                         Fr@s8qEHE>ÿI@        KLD@E?ÿIF     BJpÿ

                                                         | | | oc!
                                                 Z 151 z SZ Z
                                                                                          Circuits       Conf.
  .[150]
    -650ÿ-1/30/05
           345356ÿ                  :ÿ;}<ÿ,2004
                                             55/ÿyyqMEMS ÿ        s  DLHE@FBÿF
                                                                   Education              K?Fÿ
                                                                                     Workshop
  .[151]
    -6-0ÿ-10/4/04
           53/35/ÿ8- ÿ-10/6/04
                         53235/ÿ :ÿ;3;<: ÿ,2004
                                              55/ÿoIEEEÿID        ?EFGÿoIntegrated
                                                                Custom           BE>AKHE>sÿI@        KLD@E?ÿIF
                                                                                                Circuits     Conf. BJpÿ
  .[152]
    -6,0ÿn9/29/04
           3,n35/ÿ8- ÿn9/30/04
                         34535/ÿ :ÿ;}<: ÿ,2004
                                             55/ÿyo  MIGÿ     y>   EK@Lÿy>
                                                               Metric            >E@BAÿ
                                                                           Meeting
  .[153]
    -640ÿn9/23/04
           3,435/ÿ                  :ÿ;x<ÿ,2004
                                             55/ÿyF
                                               = |          EFKFrHÿB
                                                     Motorola             >KAÿqSummit
                                                                      Energy         DGG@Eÿ
  .[154]
    -6/0ÿn9/22/04
           3,,35/ÿ                  :ÿ;x<ÿxC
                                            RAF ÿ    IK   HB|>rrÿLecture
                                                     Cranwell          >LEDK>ÿ
  .[155]
    -660ÿz8/23/04
           3,435/ÿ8- ÿz8/26/04
                         3,235/ÿ :ÿ;}<ÿ,2004 55/ÿ  UFFC  Iÿ;Panel
                                                                   HB>rÿFonBÿFuture
                                                                                   DEDK>ÿyH        E>K@Hr?ÿJforFKÿFrequency
                                                                                            Materials                K>D>BLÿIF        BEKFrÿ
                                                                                                                                   Control
  .[156]
    -620ÿ26/07/04
           35935/ÿ                  :ÿ;x<ÿ,2004
                                             55/ÿyÿMTT y     MEMS yqÿÿ   & y@     LKFGHL@B>sÿFilter
                                                                                  Micromachined              @rE>Kÿ>     LBFrFAÿF
                                                                                                                      Technology            K?Fÿ
                                                                                                                                       Workshop
  .[157]
    -690ÿ/4/20/04
           3,535/ÿ                  :ÿPR:
                                      ;x<ÿ;      q ÿoxÿ
                                            GPS IRT Meeting  y>   >E @B A ÿ
  .[158]
    -6z0ÿ43/29/04
           3,n35/ÿ8- ÿ43/31/04
                         34-35/ÿ :ÿP/P:
                                      ;3;<ÿ,2004
                                              55/ÿy@       r@EHKÿFuelD>rÿI>
                                                      Military                CellrrÿIF   BJpÿ
                                                                                      Conf.
  .[159]
    -6n0ÿ43/8/04
           3z35/ÿ8- ÿ43/12/04
                       3-,35/ÿ :ÿP/P: ;3;<ÿ=Cx;
                                            DARPACÿ          > Lÿ,2004
                                                             Tech      55/ÿ
  .[160]
    -250ÿ-10/1/03
           53-354ÿ                  :ÿPR:
                                      ;x<ÿIF      BB>LE@FBr>??ÿNetworking
                                            Connectionless            }>E|FK@BAÿ@            L8JJÿyE
                                                                                           Kick-Off        Mtg.A  pÿ
  .[161]
    -2-0ÿ-10/27/03
           53,9354ÿ8- ÿ-10/29/03
                           53,n354ÿ :ÿPR:
                                      ;x<ÿIF      AB@E@>ÿCK
                                            Cognitive            EKFFs?ÿqSystems
                                                              Arthropods              ?E>G?ÿF         K?Fÿ
                                                                                                Workshop
  .[162]
    -2,0ÿ-10/20/03
           53,5354ÿ8- ÿ-10/21/03
                           53,-354ÿ :ÿP/P:
                                      ;3;<ÿ,2003
                                              554ÿy@       r@EHKÿFuelD>rÿI>
                                                      Military                CellrrÿIF   BJpÿ
                                                                                      Conf.
  .[163]
    -240ÿn9/18/03
           3-z354ÿ8- ÿn9/19/03
                         3-n354ÿ :ÿPN:;}<ÿ,2003
                                             554ÿyxo
                                                     METRIC Conf. Iÿ  IF   B  J pÿ
  .[164]
    -2/0ÿ,2/10/03
           3-5354ÿ8- ÿ,2/13/03
                         3-4354ÿ :ÿPN:;}<ÿ,2003
                                             554ÿoIEEE ÿoISSCCqqIIÿ
  .[165]
    -260ÿ-1/21/03
           3,-354ÿ                  :ÿPR:
                                      ;x<ÿFWorkingK@BAÿK     FDÿCÿ
                                                             Group     A y>       >E@BAÿ
                                                                            Meeting
  .[166]
    -220ÿ-12/2/02
           ,3,35,ÿ8- ÿ-12/6//02
                         ,32335,ÿ :ÿP/P:
                                      ;3;<ÿyH      E>K@Hr?ÿx>
                                            Materials             ?>HKLÿqSociety
                                                              Research           FL@>EÿFallHrrÿy>      >E@BAÿ
                                                                                                    Meeting
  .[167]
    -290ÿn9/19/02
           3-n35,ÿ8- ÿn9//20/02
                         33,535,ÿ :ÿPR:
                                      ;x<ÿyxo
                                            METRICIÿ          IF BJpÿ
                                                              Conf.
  .[168]
    -2z0ÿz8/26/02
           3,235,ÿ8- ÿz8//29/02
                         33,n35,ÿ :ÿPR:
                                      ;x<ÿ=Cx;
                                            DARPACÿ        yyq
                                                            MEMS ÿ      oImprovement
                                                                          GKF>G>BEÿ;Program      KFAKHGÿ;PIoÿy>        >E@BAÿ
                                                                                                                    Meeting
  .[169]
    -2n0ÿ97/30/02
           34535,ÿ8- ÿz8/2/02
                         3,35,ÿ :ÿP/P:;3;<ÿ=Cx;        Cÿ
                                            DARPA Tech 2002  > L  ÿ, 5 5  , ÿ
  .[170]
    -950ÿ65/20/02
           3,535,ÿ8- ÿ65/21/02
                         3,-35,ÿ :ÿPN:;}<ÿNanoBusiness
                                            }HBF{D?@B>??ÿqSpring       K@BAÿ       >BEÿ
                                                                                  Event
  .[171]
    -9-0ÿ65/12/02
           3-,35,ÿ8- ÿ65/17/02
                         3-935,ÿ :ÿPR:;x<ÿNano/Molecular
                                            }HBF3yFr>LDrHKÿy>                  LHB@L?ÿqSchool
                                                                        Mechanics            LFFrÿHandBsÿIF       BJ>K>BL>ÿ
                                                                                                               Conference
  .[172]
    -9,0ÿ/4/22/02
           3,,35,ÿ                  :ÿPR:
                                      ;x<ÿ=Cx;
                                            DARPACÿ        y@   LKFIKFA>B@LÿIF
                                                            MicroCryogenic                  Fr>KÿF
                                                                                        Cooler            K?Fÿ
                                                                                                     Workshop
  .[173]
    -940ÿ43/21/02
           3,-35,ÿ8- ÿ43/22/02
                         3,,35,ÿ :ÿPR:;x<ÿqSandia
                                             HBs@HÿNational
                                                        }HE@FBHrÿLaboratories
                                                                          HFKHEFK@>?ÿ
  .[174]
    -9/0ÿ43/6/02
           3235,ÿ                   :ÿPR:
                                      ;x<ÿH      KHKsÿB
                                            Harvard             @>K?@Eÿ
                                                           University
  .[175]
    -960ÿ43/5/02
           3635,ÿ                   :ÿPR:
                                      ;x<ÿyH      ??HLD?>EE?ÿoInstitute
                                            Massachusetts             B?E@EDE>ÿFofJÿ>      LBFrFAÿ(MIT)
                                                                                        Technology           yoÿ
  .[176]
    -920ÿn9/26/01
           3,235-ÿ8- ÿn9/28/01
                         3,z35-ÿ :ÿP/P:
                                      ;3;<ÿ,200155-ÿoInt.BEpÿIF  BJpÿFonBÿqSolid-State
                                                              Conf.             Fr@s8qEHE>ÿ=>         @L>?ÿHandBsÿyH
                                                                                                Devices                   E>K@HT̀ÿv(SSDM’01)
                                                                                                                     Materials       ttmPwÿ
  .[177]
    -990ÿn9/18/01
           3-z35-ÿ8- ÿn9/21/01
                         3,-35-ÿ :ÿPN:;}<ÿqSmall
                                              GHrrÿ>  Tech Lÿ,2001
                                                                  55-ÿIF       BJ>K>BL>ÿ
                                                                          Conference
  .[178]
    -9z0ÿn9/12/01
           3-,35-ÿ8- ÿn9/14/01
                         3-/35-ÿ :ÿP/P:
                                      ;3;MÿO2001PPÿ_W     Vb]\ÿ̀g
                                                      Topical       Mtg.a  ÿWonXÿtSilicon
                                                                                    b̀b]WXÿW        XWb̀gUb]ÿkIC’s
                                                                                              Monolithic           lmTÿbinXÿij
                                                                                                                             RF ÿ tSystems
                                                                                                                                     Tg^Tÿ
  .[179]
    -9n0ÿz8/29/01
           3,n35-ÿ8- ÿz8/31/01
                         34-35-ÿ :ÿPR:;x<ÿqSummer
                                             DGG>Kÿ,200155-ÿ=Cx;    DARPA/MEMS   C3yyqÿ;PIoÿy>            >E@BAÿ
                                                                                                       Meeting
  .[180]
    -z50ÿ65/3/01
           3435-ÿ8- ÿ65/4/01
                       3/35-ÿ       :ÿPR:
                                      ;x<ÿ,2001
                                             55-ÿCs        @?FKÿK
                                                     Advisory             FDÿFonBÿr
                                                                      Group               >LEdWXÿ^
                                                                                       Electron            [b]^Tÿ^
                                                                                                       Devices           ^gbXaÿv(AGED’01)
                                                                                                                    Meeting       YhmPwÿ
  .[181]
    -z-0ÿ43/22/01
           3,,35-ÿ8- ÿ43/23/01
                         3,435-ÿ :ÿPR:;x<ÿ=Cx;
                                            DARPA/MTO  C3yÿF             K?FÿFonBÿI
                                                                      Workshop                     @8qLHr>ÿCE
                                                                                             Chip-Scale             FG@LÿIr
                                                                                                                Atomic         FL?ÿ
                                                                                                                            Clocks
  .[182]
    -z,0ÿ,2/16/01
           3-235-ÿ                  :ÿPN:
                                      ;}<ÿ,200155-ÿy@      LKF??E>G?ÿqSymposium
                                                     Microsystems                  GF?@DGÿ
  .[183]
    -z40ÿn9/25/00
           3,6355ÿ8- ÿn9/26/00
                         3,2355ÿ :ÿP/P:
                                      ;3;<ÿ,2000
                                              555ÿ{@      FrHK3{@IyqÿI@
                                                      Bipolar/BiCMOS                    KLD@E?ÿHandBsÿ>
                                                                                     Circuits                LBFrFAÿy>
                                                                                                          Technology             >E@BAÿ(BCTM)
                                                                                                                             Meeting      {Iyÿ
  .[184]
    -z/0ÿz8/23/00
           3,4355ÿ8- ÿz8/25/00
                         3,6355ÿ :ÿPR:;x<ÿqSummer
                                             DGG>Kÿ,2000      555ÿ=Cx;
                                                                    DARPACÿ         yyq
                                                                                    MEMS ÿ       ;PIoÿy>   >E@BAÿ
                                                                                                      Meeting
  .[185]
    -z60ÿ97/17/00
           3-9355ÿ8- ÿ97/18/00
                         3-z355ÿ :ÿP/P:
                                      ;3;<ÿ,2000
                                              555ÿoIEEEÿD        KF>HBÿyo
                                                                European          MIDAS=CqÿF         K?Fÿ
                                                                                               Workshop
  .[186]
    -z20ÿ26/16/00
           3-2355ÿ                  :ÿP/P:
                                      ;3;<ÿF      K?FÿFonBÿy@
                                            Workshop                     LKF|H>ÿHandBsÿ;Photonic
                                                                    Microwave                     FEFB@LÿC       r@LHE@FB?ÿFofJÿyyq
                                                                                                             Applications             MEMS ÿ   HatEÿEthe>ÿ
                                      ,2000
                                        555ÿoIEEE
                                              ÿy8  MTT-Sqÿ       oB E> K  B HE
                                                                      International@F B Hrÿy@   L
                                                                                           MicrowaveKF |H  > ÿ q   G
                                                                                                                SymposiumF ?@
                                                                                                                            D  Gÿ
  .[187]
    -z90ÿ26/5/00
           36355ÿ                   :ÿPN:
                                      ;}<ÿ,2000
                                             555ÿ437™9Eÿ=>      ?@ABÿCD
                                                              Design            EFGHE@FBÿIF
                                                                          Automation                BJ>K>BL>ÿ(DAC)
                                                                                              Conference            =CIÿ
  .[188]
    -zz0ÿ/4/25/00
           3,6355ÿ8- ÿ/4/28/00
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              ray-composite
                %ÀÁÂÃÁÄÅÆµÿÁoscillator,”   ÄÀÅÇÇÈÆÁÉ·ÊÿProceedings,
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              C. T.-C. Nguyen, “MEMS technology for timing and frequency control,” IEEE Trans. Ultrason., Ferroelect.,
               }s~wÿ{uzsw:ÿ3!ÿ(>:ÿ'3!ÿ*:ÿ;;!ÿ*(?*+:ÿ&!ÿ*++ÿ*+ÿ;#&7!ÿÿÿJINFIGMNFÿNÿGJIFNMFÿ
              Freq. Contr., vol. 54, no. 2, pp. 251-270, Feb. 2007 (20 pages). (2007 IEEE Transactions on Ultrasonics,
               EJJEEGJMFÿINLÿJEENÿNGJÿEFGÿIHEJÿKIJLÿMNNEJÿ
              Ferroelectrics, and Frequency Control Best Paper Award Winner)
        P[7]Rÿ!
                Y.-W.  !ÿLin,1':ÿ6S.-S.
                                       !6!ÿLi,1:ÿ¡! Z. ÿ¢&
                                                        Ren,' :ÿand'£ÿ!
                                                                        C. ÿ  !  TUÿNguyen,
                                                                              T.-C.      WXYZ[\]ÿ^“Vibrating
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                C. ÿ  !  !ÿ"#
                      T.-C.        $%&'ÿand'£ÿ=J.!ÿµ1
                              Nguyen                       /251\X]ÿ^“Towards
                                                       Kitching,         ¶e§khl¦ÿcchip-scaledi©¦ckf[ÿkatomic   bejicÿcclocks,”
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                            winner)
        P[9]´Rÿ!
                C. ÿ  !  TUÿWX
                      T.-C.        YZ[\]ÿ^“Vibrating
                              Nguyen,          ¤i¥hkbi\Xÿ¼½     RF ÿ  _`_a
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                                          T.-C.     "#$%&':ÿÀ"Mechanically-coupled
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                Y. ÿ  Â1&:ÿ6S.-S.
                      Xie,     !6!ÿLi,1:ÿ! Y.-W.  !ÿLin,1':ÿ¡!
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                                                                    Ren,' :ÿand'£ÿ!
                                                                                    C. ÿ !
                                                                                          T.-C. TUÿNguyen,
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                     Wang,'#:ÿ¡!
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                                                     C. ÿ !  TUÿNguyen,
                                                          T.-C.    WXYZ[\]ÿ^“1.14-GHzÇUÇÈÅÉÊÿ7self-aligned
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                A.-C.  !ÿ3
                           Wong,'#:ÿÉ! H. ÿ Æ1
                                            Ding,'#:ÿand'£ÿ!
                                                             C. ÿ !
                                                                  T.-C.TUÿNguyen,
                                                                            WXYZ[\]ÿ^“Micromechanical
                                                                                                _ichej[cdk\ickfÿji               ¾[hÌgifb[h¦]nÿrTechnical
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   Publications: (most on-line at http://www.eecs.berkeley.edu/~ctnguyen; student names underlined)
      P[1]?RÿÑ!
             Q. ÿ   Â1&:ÿ6S.!ÿAfshar,
                    Xie,         ³975:ÿ³!  A. ÿ  ¿Ê  #$$:ÿand'£ÿ!
                                                   Ozgurluk,            C. ÿ !
                                                                             T.-C.  !ÿNguyen,
                                                                                        "#$%&':ÿ^“Performance
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             2cromechanical
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                                                              Conference,                  (*´:ÿ*2021, +*?:ÿpp.;;!ÿ́>    (´>A:ÿÆ¿.
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             ?10.1109/MEMS51782.2021.9375184.
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                                  Afshar,       A. ÿ ¿Ê  #$$:ÿand'£ÿ!
                                                     Ozgurluk,              C. ÿ   !  TUÿNguyen,
                                                                                    T.-C.   WXYZ[\]ÿ^“199-MHz
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              A. ÿ  ¿Ê   #$$ÿand'£ÿ!
                     Ozgurluk              C. ÿ  !  TUÿNguyen,
                                                 T.-C.   WXYZ[\]ÿ^“Precision
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             ;12/13'7ÿ3of9ÿFerroelectrics,
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      P[4]>Rÿ!
              T. ÿ  L. !
                       ÿNaing,
                         "1'#:ÿ!   T. ÿ¿!
                                         O. ÿ ¢3    25&&$:ÿ4!
                                              Rocheleau,         E. ÿ³ 3':ÿand'£ÿ!
                                                                     Alon,             C. ÿ !  TUÿNguyen,
                                                                                            T.-C.   WXYZ[\]ÿ^“Low-powerÖe§;3<&ÿ0406    MEMS-based   7&£ÿ°Pierce
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             $71'#ÿa ÿQ61-MHz
             using            ?0ÉÊÿ2capacitive-gap
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      P[3](Rÿ³!
              A. ÿ  ¿Ê   #$$:ÿµ!
                     Ozgurluk,       K. ÿ ³!
                                          A. ÿ °Peleaux,
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                                                                  T.-C.   WXYZ[\]ÿ^“Single-digit-nm
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              Canada,                  A**:ÿ*2020, +*+:ÿpp.;;!ÿ*222-225.
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      P[6]QRÿ³!
              A. ÿ  ¿Ê   #$$ÿand'£ÿ!
                     Ozgurluk              C. ÿ  !  TUÿNguyen,
                                                 T.-C.   WXYZ[\]ÿ^“On-chip
                                                                        ö\251;ÿprecision;&21713'ÿresidual
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             ?10.1109/TRANSDUCERS.2019.8808299.
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      P[7]Rÿµ!
              K. ÿ   ³!
                     A. ÿ °Peleaux,
                             &&$õ:ÿ!  T.-P.°!  ÿµ!
                                                   K. ÿ"#   $%&':ÿ³!
                                                       Nguyen,       A. ÿ ³'
                                                                          Anton, /3':ÿand'£ÿ!
                                                                                              C. ÿ!
                                                                                                   T.-C.TUÿNguyen,
                                                                                                             WXYZ[\]ÿ^“Aþÿ©parametric
                                                                                                                                   khkj[bhicÿ_`_aMEMS ÿ      eoscillator-based
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             7super-regenerative
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              UAVWBJIWUCXÿYTech.
              resonator,”               Z[\]ÿDigest,
                                                 _àZbc5ÿ*2019    +deÿfIEEE gggÿfInt.'P!ÿhR     ijÿg
                                                                                            Micro           &iPjN&iQ'RiÿkSystems
                                                                                                       Electromechanical                      %SP&NSÿj        'l&&'i&5ÿkSeoul,
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              *27-31,
                  nod5ÿ*2019,   +de5ÿOpp.O!ÿd153-156,
                                                 (od(p5ÿq3f       DOI: r   ÿd10.1109/MEMSYS.2019.8870623.
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               M. ÿ   2    #$5ÿ2!
                       Akgul,         A. ÿ 34   #$$5ÿand'9ÿ!
                                           Ozgurluk,                     C. ÿ  !
                                                                               T.-C.:;ÿNguyen,
                                                                                          =>?@ABCÿD“RFtuÿvchannel-select
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                                                                                                                                              micromechanical                       RP&SxOPÿfII:frÿ
              Gdemonstration,”
                  AyWBVIUJIFWBCXÿIEEE        z{{{ÿYTrans.   |}~b]ÿ        c|}b~]ÿFerroelect.,
                                                                        Ultrason.,        Z||ZZ[c]ÿFreq.   |Z]ÿContr.,~c|]5ÿvol.j!ÿp66,p5ÿ'no.j!ÿd1,5ÿpp.218-235,
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              d10.1109/TUFFC.2018.2883296.
                  +!dd+e)!*+d/!*//o*ep!ÿ(18d/ÿpages)                          O#&Sÿ
     .[10]d+0ÿ2!
               A. ÿ  34    #$$5ÿh!
                     Ozgurluk,           M. ÿ   2   #$5ÿand'9ÿ!
                                                Akgul,                 C. ÿ !
                                                                            T.-C.:;ÿNguyen,
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              Vsign,”
                 F>BCXÿIEEE  z{{{ÿYTrans.  |}~b]ÿ         c|}b~]ÿFerroelect.,
                                                        Ultrason.,           Z||ZZ[c]ÿFreq.    |Z]ÿContr.,  ~c|]5ÿvol.j!ÿp66,p5ÿ'no.j!ÿd1,5ÿOpp.192-217,
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              d10.1109/TUFFC.2018.2881727.
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     .[11]dd0ÿ2!
               A. ÿ   34   #$$5ÿs!
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                                                Li, 5 ÿand'9ÿ!C. ÿ  !
                                                                       T.-C.:;ÿ=>      ?@ABCÿD“High-C./C,
                                                                                  Nguyen,          F>w )ÿQhollow         jjÿ9diskRSÿresonators,”
                                                                                                                                                   &Sj'PjSCXÿProceedings,
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              Frequency
                  &T$&'i%ÿj               'PjÿkSymp.,
                                        Control              %NO!5ÿ3            %NORiÿ
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              d10.1109/FCS.2018.8597505.
                  +!dd+e)k!*+d/!/(en(+(!ÿ
     .[12]d*0ÿ!
               C. ÿ  !
                     T.-C. :;ÿNguyen,
                                 =>?@ABCÿD“All-mechanical
                                                  HHN&iQ'RiÿNR                    ijVvJHAÿUradios
                                                                                  micro-scale          JGFWVÿ(invited
                                                                                                                   FBFIAGÿkeynote),”
                                                                                                                                   A@BWIACXÿProceedings,
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              WonBÿNano/Micro
                     =JBWFvUWÿB                >FBAAUAGÿJandBGÿW
                                            Engineered                             HAv?HJUÿSyst.
                                                                            Molecular           @VI;ÿ(NEMS’
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               A. ÿ   34    #$$5ÿR. !ÿR
                      Ozgurluk,                  Liu,$  5ÿand'9ÿ! C. ÿ   !
                                                                           T.-C.:;ÿNguyen,
                                                                                      =>?@ABCÿD“Q-boosting
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              'neal-induced
                  &FBG?vAGÿItensile     ABVFHAÿVstress,”
                                                       IUAVVCXÿProceedings,
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              *2017,
                  +dn5ÿOpp.O!ÿd10-15, +d(5ÿq3f DOI: r    ÿd10.1109/FCS.2017.8088786.
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     .[14]d0ÿ!
               C. ÿ   !
                      T.-C.!ÿNguyen,
                                  "#$%&'5ÿR. !ÿR         Liu,$ 5ÿand'9ÿmJ.!ÿN."!ÿNilchi,
                                                                                      "RiQRCÿD“AnBÿultra-low
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              Proceedings,                 +dnÿ¥j    Gov.   !ÿhR     ijiRi$RPÿ2O
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              *20-23,2017,
                  +*o5ÿ*+dn5ÿOpp.O!ÿd104-107.    +d+n!ÿ
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                          Nilchi,             Liu,$  5ÿand'9ÿ! C. ÿ  !
                                                                       T.-C.:;ÿNguyen,
                                                                                  =>?@ABCÿD“High   F>wÿC\/C,   )ÿd      o'N iOiRPR&>JÿItransduced
                                                                                                                          13nm-capacitive-gap                     UJBVG?vAGÿGdiskFVÿUresonator,”
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              YTech.
                  Z[\]ÿDigest,
                           _àZbc5ÿ*2017   +dnÿfIEEE gggÿfInt.'P!ÿhR  Micro ijÿg    &iPjÿh&
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              *2017,
                  +dn5ÿOpp.O!ÿe924-927,
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     .[16]dp0ÿR. !ÿRLiu,$ 5ÿmJ.!ÿN."!ÿNilchi,
                                       "RiQR5ÿand'9ÿ!     C. ÿ !
                                                                  T.-C. :;ÿ=>      ?@ABCÿD“CW-powered
                                                                             Nguyen,          :E W¤AUAGÿVsquegging     §?A>>FB>ÿyF              vUWyAvwJBFvJHÿvclock
                                                                                                                                            micromechanical               HWvÿ>generator,”
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              Digest,            +dnÿfIEEEgggÿfInt.'P!ÿhR  Microijÿg      &iPjÿh&
                                                                        Electro            iQ'RiÿkSystems
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              OO!ÿe905-908,
              pp.       +(e+/5ÿq3f      DOI: r   ÿd10.1109/MEMSYS.2017.7863555.
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     .[17]dn0ÿR. !ÿRLiu,$  5ÿmJ.!ÿN."!ÿNilchi,
                                         "RiQR5ÿand'9ÿ!      C. ÿ !
                                                                     T.-C. :;ÿNguyen,
                                                                                 =>?@ABCÿD“RF-powered
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              fIEEE
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                     L. ÿ "R'#5ÿ!
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                                                   Rocheleau,             Z. ÿ     &'5ÿkS.-S.
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                                                                                                                                ">?@ABCÿD“High-Q    F>w¡ÿSspoke-supported
                                                                                                                                                                    Oj&S$OOjP&9ÿringR'#ÿreso-    &Sj
              Bnators,”
                  JIWUVCXÿIEEE/ASME
                                z{{{·¸¹º{ÿJ.»]ÿMicroelectromech.
                                                            º`[|ZZ[c|¼Z[\]ÿ¹Syst.,            ½bc!5ÿvol.j!ÿ*25,(5ÿ'no.j!ÿd1,5ÿpp.OO!ÿd11-29,
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     .[19]de0ÿR. !ÿR Liu,$ 5ÿmJ.!ÿN."!ÿNilchi,
                                           "RiQR5ÿ¾!     W.-C.!    ÿRLi, 5ÿand'9ÿ!C. ÿ !
                                                                                            T.-C.:;ÿNguyen,
                                                                                                       =>?@ABCÿD“Soft-impacting
                                                                                                                          W¿IRNOiPR'#ÿNR                 ijN&iQ'Riÿresoswitch
                                                                                                                                                       micromechanical               &SjSRPiQÿ4ze-&
              ro-quiescent
                 jT$R&Si&'PÿOpower        j&ÿ2hÿ   AM U       AvAFAUCXÿYTech.
                                                               receiver,”            Z[\]ÿDigest,
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              lference,
                 &&'i&5ÿkShanghai, Q'#QR5ÿQ   China, R'5ÿmJan.'!ÿ*24-28,
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     .[20]*+0ÿ¾!
               W.-C.!     ÿR
                             Li, 5ÿ¶!
                                    Z. ÿ   &'5ÿand'9ÿ!
                                        Ren,               C. ÿ !
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                                                                            =>?@ABCÿD“AÿyF           vUWyAvwJBFvJHÿwhigh-Q
                                                                                                 micromechanical                   F>w¡ÿAelliptic  HHFIFvÿGdiskFVÿGdisplacement
                                                                                                                                                                       FVHJvAyABIÿJamplifier,”
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              YTech.
                  Z[\]ÿDigest,
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              *2016,
                  +dp5ÿpp.OO!ÿp663-666.
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     .[21]*d0ÿR. !ÿRLiu,$  5ÿmJ.!ÿN."!ÿ"R   iQR5ÿs!
                                         Nilchi,        Y. ÿ  R
                                                              Lin,' 5ÿ!T. ÿ  !
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                                                                                                                        =>?@ABCÿD“Zero      ÀAUWÿ§quiescent
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                                                                                                                                                                                          mechanical
              vcommunication
                 Wyy?BFvJIFWBÿUreceiver,”       AvAFAUCXÿProceedings
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              vcrosystems
                 UWV@VIAyVÿ(Transducers’15),
                                       ÃUJBVG?vAUVÄCÿB                     vwWUJ>ACÿH
                                                                         Anchorage,              JVJCÿÅJune
                                                                                             Alaska,         ?BAÿL21-25,
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     .[22]**0ÿmJ.!ÿN."!ÿ"R     iQR5ÿR. !ÿR
                          Nilchi,            Liu,$  5ÿand'9ÿ! C. ÿ  !
                                                                      T.-C. :;ÿNguyen,
                                                                                  =>?@ABCÿD“7"ÆPQÿjorder   9&ÿSsharp-roll-off
                                                                                                                     QOjW¿¿ÿbridged      KUFG>AGÿyF         vUWyAvwJBFvJHÿ¿filter,”
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              ichorage,
                 Qj#&5ÿ2           S5ÿmJune
                                 Alaska,         $'&ÿ*21-25,d*(5ÿ*2015,   +d(5ÿpp.OO!ÿd137-140.
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     .[23]*o0ÿR. !ÿ2!A. ÿ kSchneider,
                             iQ'&R9&5ÿ!      T. ÿ !
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                                                                                  Rocheleau,                 C. ÿ !
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                                                                                                                            =>?@ABCÿD“Gap      ÊJÿUreduction
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              lforjÿ2AIN"ÿ     icapacitive-piezoelectric
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               Colorado,                 Rÿd12-16,
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     .[24]*0ÿmJ.!ÿN."!ÿ"R     iQR5ÿR. !ÿR
                         Nilchi,            Liu,$  5ÿkS.!ÿRLi, 5ÿh!
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                                                                                                                                              =>?@ABCÿD“Third-order
                                                                                                                                                               ÃwFUGj9&ÿRintermodulation
                                                                                                                                                                                    'P&Nj9$PRj'ÿ
              9distortion
                  RSPjPRj'ÿRin'ÿicapacitive-gap
                                         OiRPR&>JÿItransduced    UJBVG?vAGÿyF            vUWyAvwJBFvJHÿ¿filters,”
                                                                                         micromechanical                 FHIAUVCXÿProceedings,
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               T. ÿ   £&   %4j#$5ÿ!
                      Beyazoglu,            T. ÿ  3!
                                                  O. ÿ       jiQ&&$5ÿ2!
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              .&/01020/34560ÿ8945:3;ÿ/0:0560/ÿ<3=0>ÿ82ÿ32ÿ8948?0:@325:3;ÿ8=:5;;348/ABÿCDEFGÿIJKDLMNÿ*+O(ÿPQQQÿP'R!ÿSTUVÿ
                per-regenerative optical receiver based on an optomechanical oscillator,” Tech. Digest, 2015 IEEE Int. Micro
              Q   &URVÿS&
               Electro            UW'TUÿXSystems
                             Mechanical              %YR&ZYÿV           '[&&'U&NÿQY
                                                                    Conference,                  RVTNÿ\Portugal,
                                                                                             Estoril,         VR$#Nÿ]Jan.'!ÿO18-22,^**Nÿ*2015,   +O(Nÿpp...!ÿ_976-979.
                                                                                                                                                                     `a_`_!ÿ
     b[26]*acÿ!   ÿe!ÿ"T'#Nÿ!
               T.L.Naing,            T. ÿ f!
                                          O. ÿgV    UW&&$Nÿand'hÿ!
                                               Rocheleau,                      C. ÿ!
                                                                                   T.-C. !ÿNguyen,
                                                                                              "#ij02Aÿk“Simultaneous
                                                                                                                 l5?i;43208i=ÿ?i                 ;45[&m$&'U%ÿYswitchable
                                                                                                                                          multi-frequency                nTRUWo&ÿVoscillator
                                                                                                                                                                                             YUTRVÿand'hÿ
              pFSKXqÿZV       h$RVÿbased
                        modulator           oY&hÿVon'ÿa ÿUcapacitive-gap
                                                                    .UTRTr&139ÿstsl          MEMS ÿ         >disk5=uÿ3array,”
                                                                                                                         //3jABÿCTech. DEFGÿDigest,
                                                                                                                                                 IJKDLMNÿ*2015  +O(ÿPIEEEQQQÿPInt.'R!ÿST  MicroUVÿQ     &URVÿ
                                                                                                                                                                                                     Electro
              S&     UW'TUÿXSystems
               Mechanical              %YR&ZYÿV          '[&&'U&NÿQY
                                                     Conference,                   RVTNÿ\Portugal,
                                                                               Estoril,        VR$#Nÿ]Jan.'!ÿO18-22, ^**Nÿ*2015,  +O(Nÿ.pp..!ÿO1024-1027.
                                                                                                                                                         +*vO+*`!ÿ
     b[27]*`cÿe!
               L.-W.w!ÿx$  Hung  '#ÿand'hÿ!C. ÿ  !
                                                   T.-C.yzÿ{1        ij02Aÿk“Capacitive-piezoelectric
                                                               Nguyen,              y393:54560.T&|V&&URTUÿRtransducers           'Yh$U&Yÿ[forVÿWhigh-Q    T#W}ÿZT        UVZ&UW'TUÿ~
                                                                                                                                                                           micromechanical                 AIN"ÿ
              /0=82348/=ABÿIEEE/ASME
              resonators,”           ÿJ. GÿMicroelectromech.
                                                                  JEDDEMDEFGÿSyst.,               LM!Nÿrvol.V!ÿ*24,vNÿ'no.V!ÿ*2,Nÿ.pp..!ÿv458-473,
                                                                                                                                                      (^v`Nÿ~.     AprilTÿ*2015.
                                                                                                                                                                                +O(!ÿ(16Oaÿpages).
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     b[28]*^cÿ!
               T. ÿ  f!
                     O. ÿ  gV   UW&&$Nÿ!
                           Rocheleau,           T. ÿ  e!
                                                      L. ÿ  "T'#Nÿ]J.!ÿN."!ÿNilchi,
                                                            Naing,                     "TUWTNÿand'hÿ!        C. ÿ  !
                                                                                                                      T.-C.yzÿNguyen,
                                                                                                                                 {1ij02Aÿk“Aÿstsl       MEMS-based    oY&hÿRtunable
                                                                                                                                                                                  $'o&ÿgp      RF ÿ   Uchan-
                                                                                                                                                                                                           W'
              '&Y&&URT'#ÿYsuper-regenerative
              nel-selecting              $.&/01020/34560ÿ4transceiver         /32=:0560/ÿfor8/ÿ5             /0;0==ÿ=sensor
                                                                                                           wireless          02=8/ÿ2nodes,”8>0=ABÿCTech.   DEFGÿDigest,
                                                                                                                                                                   IJKDLMNÿ*2014  +OvÿxT        RV'ÿx&
                                                                                                                                                                                            Hilton       Head hÿ
              SQSX
               MEMS ÿ        V   '[!NÿxT
                             Conf.,          RV'ÿx&
                                         Hilton       Head,hNÿXSC,Nÿ]June   $'&ÿ^8-12,O*Nÿ*2014,+OvNÿpp...!ÿ^83-86. ^a!ÿ
     b[29]*_cÿS!
               M. ÿ  ~   #$Nÿe!
                      Akgul,      L. ÿ  w$
                                        Wu, N  ÿ!
                                                Z. ÿ  g&
                                                      Ren,'  Nÿand'hÿ!C. ÿ    !
                                                                                T.-C.!ÿNguyen,
                                                                                          "#$%&2Aÿk“Aÿ2negative-capacitance
                                                                                                                      0134560U.UTR'U&ÿ&equivalent       m$Tr&'RÿUcircuit TU$TRÿZVmodel   h&ÿ[forVÿ.par-
              allel-plate
                 &.R&ÿUcapacitive-gap-transduced
                                     .UTRTr&#.4/32=>i:0>ÿ?5                              :/8?0:@325:3;ÿ/resonators,”
                                                                                       micromechanical                    0=82348/=ABÿIEEE        ÿCTrans. LGÿ       MLGÿFerroelect.,
                                                                                                                                                                          Ultrason.,          DDDEMGÿ
              DGÿ
              Freq.            MGNÿrvo.V!ÿa61,ONÿ'no.V!ÿ(5,Nÿpp.849-869,
                          Contr.,                                ..!^v_^a_NÿS            May%    ÿ*2014
                                                                                                      +Ovÿ(21*Oÿ.pages).
                                                                                                                        #&Y!ÿ
     b[30]+cÿSÿ
               M ~ Akgul #$ÿand'hÿ! C. ÿ !
                                             T.-C.yzÿNguyen,
                                                        {1ij02Aÿk“Aÿ.passband-corrected
                                                                                     YYo'hUV&UR&hÿWhighT#Wÿrejection         &&URTV'ÿUchannel-select
                                                                                                                                                    W''&Y&&URÿZT             UVZ&UW'TUÿhdiskTYÿ
                                                                                                                                                                           micromechanical
              [filter,”
                TR&ABÿProceedings,
                            EDDJKLNÿPIEEE        QQQÿPInt.'R!ÿpFrequency
                                                                           &m$&'U%ÿV            'RVÿXSymp.,
                                                                                             Control            %Z.!Nÿ       T.&TNÿ
                                                                                                                           Taipei,           Tn'NÿS
                                                                                                                                        Taiwan,          May%   ÿO19-22,
                                                                                                                                                                   _**Nÿ*2014, +OvNÿ.pp..!ÿa601-606.
                                                                                                                                                                                                 +Oa+a!ÿ
     b[31]Ocÿ!
               T. ÿ e!
                    L. ÿ "T'#Nÿ]J.!ÿN."!ÿNilchi,
                         Naing,                 "TUWTNÿg!     R. ÿ  eT
                                                                     Liu,$   Nÿ!
                                                                                T. ÿ f!
                                                                                     O. ÿ gV    UW&&$Nÿand'hÿ!
                                                                                           Rocheleau,                    C. ÿ !
                                                                                                                              T.-C. yzÿNguyen,
                                                                                                                                         {1ij02Aÿk“Active   :4560ÿ}Q-control
                                                                                                                                                                            UV'RVÿ[forVÿTimproved
                                                                                                                                                                                                   Z.Vr&hÿ
              5insertion
                2=0/4582ÿ;loss8==ÿ?5        :/8?0:@325:3;ÿfilters,”
                                        micromechanical                     5;40/=ABÿProceedings,
                                                                                          EDDJKLNÿPIEEE          QQQÿPInt.'R!ÿpFrequency
                                                                                                                                         &m$&'U%ÿV            'RVÿXSymp.,
                                                                                                                                                           Control         %Z.!Nÿ        T.&TNÿ
                                                                                                                                                                                     Taipei,            Tn'Nÿ
                                                                                                                                                                                                   Taiwan,
              S
               May%    ÿO19-22,
                          _**Nÿ*2014,  +OvNÿ.pp..!ÿa612-617.
                                                        O*aO`!ÿ
     b[32]*cÿx!
               H. ÿ  !
                     G. ÿ 
                          BarrowVnÿand'hÿ!   C. ÿ  !
                                                       T.-C.yzÿNguyen,
                                                                  {1ij02Aÿk“Aÿprotocol     9/848:8;ÿfor8/ÿautomated $RVZR&hÿpassband.YYo'hÿRtuning    $'T'#ÿVof[ÿWhigh-order
                                                                                                                                                                             T#WVh&ÿZT           UV&&U
                                                                                                                                                                                                microelec-
              4tromechanical
                /8?0:@325:3;ÿfilters,”   5;40/=ABÿProceedings,
                                                        EDDJKLNÿPIEEE           QQQÿPInt.'R!ÿpFrequency
                                                                                                        &m$&'U%ÿV            'RVÿXSymp.,
                                                                                                                          Control          %Z.!Nÿ        T.&TNÿ
                                                                                                                                                       Taipei,          Tn'NÿS
                                                                                                                                                                    Taiwan,       May%     ÿO19-22,
                                                                                                                                                                                               _**Nÿ*2014, +OvNÿ
              ..!ÿa607-611.
              pp.       +`aOO!ÿ
     b[33]cÿ!
               T. ÿ f!
                    O. ÿ  gV   UW&&$Nÿg!
                          Rocheleau,          R. ÿ  eT
                                                    Liu,$  Nÿ]J.!ÿN."!ÿNilchi,
                                                                        "TUWTNÿ!      T. ÿ e!
                                                                                             L. ÿ  "T'#Nÿand'hÿ!
                                                                                                  Naing,                 C. ÿ !
                                                                                                                              T.-C. yzÿNguyen,
                                                                                                                                         {1ij02Aÿk“Aÿ?5             :/8?0:@325:ÿ.parametric
                                                                                                                                                                 micromechanical                  Z&RTUÿ
              8oscillator
                 =:5;;348/ÿfor8/ÿfrequency
                                         /0i02:jÿ>division  565=582ÿ3and2>ÿ9phase      @3=0ÿ2noise 85=0ÿ/reduction,”
                                                                                                               0>i:4582ABÿCTech.      DEFGÿDigest,
                                                                                                                                               IJKDLMNÿ*2014   +OvÿPIEEEQQQÿPInt.'R!ÿSTMicro   UVÿQ    &URVÿ
                                                                                                                                                                                                     Electro
              S&     UW'TUÿXSystems
               Mechanical              %YR&ZYÿV          '[&&'U&NÿXSan'ÿpFrancisco,
                                                     Conference,                         'UTYUVNÿ           T[V'TNÿ]Jan.'!ÿ*26-30,
                                                                                                           California,                    a+Nÿ*2014,  +OvNÿ.pp..!ÿ*210-213.
                                                                                                                                                                        O+*O!ÿ
     b[34]vcÿ!
               T. ÿ &   %|V#$Nÿ!
                    Beyazoglu,          T. ÿ f!
                                             O. ÿ gV    UW&&$Nÿq!
                                                  Rocheleau,             K. ÿ   Q!
                                                                                E. ÿ   $RR&Nÿ~!
                                                                                     Grutter,       A. ÿ ]J.!ÿ
                                                                                                              Grine,T'&NÿS!
                                                                                                                          M. ÿ C. !ÿw$
                                                                                                                                     Wu, N  ÿand'hÿ!
                                                                                                                                                     C. ÿ !  yzÿ{1
                                                                                                                                                          T.-C.          ij02Aÿk“Aÿ?i
                                                                                                                                                                    Nguyen,                    ;45ZR&Tÿ
                                                                                                                                                                                       multi-material
              }O-boosted
                    <88=40>ÿ;low8ÿphase   9@3=0ÿ2noise  85=0ÿ8optomechanical
                                                                     948?0:@325:3;ÿ8oscillator,”      =:5;;348/ABÿCTech.    DEFGÿDigest,
                                                                                                                                     IJKDLMNÿ*2014    +OvÿPIEEE QQQÿPInt.'R!ÿST    UVÿQ
                                                                                                                                                                                Micro            &URVÿS&
                                                                                                                                                                                             Electro       Me-
              Uchanical
                 W'TUÿXSystems%YR&ZYÿV         '[&&'U&NÿXSan'ÿpFrancisco,
                                              Conference,                          'UTYUVNÿ           T[V'TNÿ]Jan.'!ÿ*26-30,
                                                                                                     California,                    a+Nÿ*2014,   +OvNÿpp...!ÿO1193-1196.
                                                                                                                                                                  O_OO_a!ÿ
     b[35](cÿ!
               Y. ÿ  eT
                     Lin,' Nÿg!
                              R. ÿ eT
                                   Liu,$ Nÿw!
                                            W.-C.!    ÿeT
                                                        Li, Nÿand'hÿ! C. ÿ    !
                                                                                T.-C.yzÿNguyen,
                                                                                          {1ij02Aÿk“Polycide  \V%UTh&ÿUcontact  V'RURÿTinterface
                                                                                                                                                'R&[U&ÿRtoVÿYsuppress
                                                                                                                                                                     $..&YYÿYsquegging
                                                                                                                                                                                   m$&##T'#ÿTin'ÿZT         mi-
              :cromechanical
                 /8?0:@325:3;ÿ/resoswitches,”
                                           0=8=54:@0=ABÿCTech.         DEFGÿDigest,
                                                                                   IJKDLMNÿ*2014   +OvÿPIEEE  QQQÿPInt.'R!ÿST MicroUVÿQ     &URVÿS&
                                                                                                                                          Electro             UW'TUÿXSystems
                                                                                                                                                         Mechanical            %YR&ZYÿV          '[&&'U&Nÿ
                                                                                                                                                                                              Conference,
              XSan'ÿpFrancisco,
                         'UTYUVNÿ         T[V'TNÿ]Jan.'!ÿ*26-30,
                                          California,                      a+Nÿ*2014,  +OvNÿpp...!ÿO1273-1276.
                                                                                                            *`O*`a!ÿ
     b[36]acÿg!
               R. ÿ ~!ÿXSchneider
                    A.      UW'&Th&ÿand'hÿ!      C. ÿ !
                                                         T.-C.  yzÿNguyen,
                                                                     {1ij02Aÿk“On/off        2¡8ÿ=switchable
                                                                                                        54:@3<;0ÿ@high-Q     51@}ÿUcapacitive-piezoelectric
                                                                                                                                           .UTRTr&950¢80;0:4/5:ÿAIN              ;{ÿ/resonators,”
                                                                                                                                                                                               0=82348/=ABÿ
              CTech.
                 DEFGÿDigest,
                          IJKDLMNÿ*2014  +OvÿPIEEEQQQÿPInt.'R!ÿST   Micro UVÿQ      &URVÿS&
                                                                                  Electro              UW'TUÿXSystems
                                                                                                Mechanical               %YR&ZYÿV         '[&&'U&NÿXSan'ÿpFrancisco,
                                                                                                                                      Conference,                      'UTYUVNÿ          T[V'TNÿ]Jan.'!ÿ
                                                                                                                                                                                      California,
              *26-30,
                 a+Nÿ*2014,  +OvNÿ.pp..!ÿO1265-1268.
                                               *a(O*a^!ÿ
     b[37]`cÿe!
               L. ÿ  w$
                     Wu, N  ÿS!
                              M. ÿ   ~   #$Nÿ!
                                     Akgul,       Z. ÿ  g&
                                                        Ren,'   Nÿand'hÿ!   C. ÿ !
                                                                                    T.-C.yzÿNguyen,
                                                                                              {1ij02Aÿk“Micromechanical
                                                                                                                     s5:/8?0:@325:3;ÿ>disk5=uÿ3array-composite //3jUVZ.VYTR&ÿ[forVÿ&enhanced      'W'U&hÿ
              frequency
                /0i02:jÿ=stability 43<5;54jÿ3against
                                                   1352=4ÿbias   <53=ÿ6voltage8;4310ÿfluctuations,”
                                                                                            ;i:4i34582=ABÿProceedings, EDDJKLNÿPIEEE        QQQÿPInt.'R!ÿ£     RYV'!NÿpFerroelect.,
                                                                                                                                                                 Ultrason.,          &V&&UR!NÿpFreq.     &m!ÿ
              V    'R!ÿ]Joint
               Contr.        VT'RÿXSymp.,
                                       %Z.!Nÿ\Prague,#$&Nÿ|    Czech&UWÿg&         .$oTUNÿ]July$%ÿ*21-25,
                                                                                 Republic,                     O*(Nÿ*2013, +ONÿ.pp..!ÿ(547-550.
                                                                                                                                              v`((+!ÿ
     b[38]^cÿ!
               T.L.ÿe!ÿ"     T'#Nÿ!
                         Naing,       T. ÿf!
                                           O. ÿgV    UW&&$NÿQ!
                                                Rocheleau,            E. ÿ  ~   V'Nÿand'hÿ!
                                                                             Alon,              C. ÿ !
                                                                                                      T.-C. yzÿNguyen,
                                                                                                                 {1ij02Aÿk“Aÿ¤78-uW     ¥¦wÿX       GSMSÿ    .phase
                                                                                                                                                                  WY&ÿ'noise-compliant
                                                                                                                                                                            VTY&UVZ.T'Rÿ\Pierce         T&U&ÿ
              Voscillator
                 YUTRVÿreferenced
                                  &[&&'U&hÿRtoVÿa ÿa61-MHz   OSx|ÿwine-glass  nT'&1;3==ÿ>disk5=uÿ/resonator,”0=82348/ABÿProceedings,
                                                                                                                                  EDDJKLNÿPIEEE        QQQÿPInt.'R!ÿ£     RYV'!NÿpFerroelect.,
                                                                                                                                                                           Ultrason.,            &V&&UR!Nÿ
              pFreq.
                 &m!ÿV Contr.'R!ÿ]Joint
                                       VT'RÿXSymp.,
                                                 %Z.!Nÿ\Prague, #$&Nÿ|     Czech&UWÿg&     .$oTUNÿ]July$%ÿ*21-25,
                                                                                          Republic,                     O*(Nÿ*2013, +ONÿpp...!ÿ(562-565.
                                                                                                                                                      a*(a(!ÿ§(best  ¨©ª«ÿpaper
                                                                                                                                                                            ­®­©¯ÿ®award   °®¯±ÿ°²      ³³©¯´ÿ
                                                                                                                                                                                                   winner)
     b[39]_cÿ!
               T. ÿ  f!
                     O. ÿ gV    UW&&$Nÿ!
                          Rocheleau,            T. ÿ  e!
                                                      L. ÿ  "T'#Nÿand'hÿ!
                                                            Naing,                   C. ÿ !
                                                                                          T.-C. yzÿNguyen,
                                                                                                      {1ij02Aÿk“Long-term µ82140/?ÿ=stability     43<5;54jÿ8ofÿ3a ÿstsl
                                                                                                                                                                       MEMS ÿ       >disk5=uÿ8oscillator,”
                                                                                                                                                                                                 =:5;;348/ABÿ
                  EDDJKLNÿPIEEE
               Proceedings,             QQQÿPInt.'R!ÿ£       RYV'!NÿpFerroelect.,
                                                         Ultrason.,              &V&&UR!NÿpFreq.    &m!ÿV       'R!ÿ]Joint
                                                                                                                Contr.       VT'RÿXSymp.,
                                                                                                                                       %Z.!Nÿ\Prague, #$&Nÿ|       &UWÿg&
                                                                                                                                                                  Czech          .$oTUNÿ]July$%ÿ*21-25,
                                                                                                                                                                            Republic,                    O*(Nÿ
              *2013,
                 +ONÿ.pp..!ÿ*209-212.
                                  +_*O*!ÿ
     b[40]v+cÿ!
               Y. ÿ  eT
                     Lin,' Nÿg!
                              R. ÿ eT
                                   Liu,$ Nÿw!
                                            W.-C.!    ÿeT
                                                        Li, N ÿS!
                                                                M. ÿ   ~
                                                                       Akgul, #$Nÿand'hÿ!   C. ÿ  !
                                                                                                     T.-C. yzÿNguyen,
                                                                                                                 {1ij02Aÿk“Aÿ?5             :/8?0:@325:3;ÿresonant
                                                                                                                                        micromechanical                 /0=82324ÿ:charge  @3/10ÿpump,”
                                                                                                                                                                                                    9i?9ABÿ
              EDDJKLÿVof[ÿRtheW&ÿO17%`RWÿPInt.'R!ÿV
              Proceedings                                            Conf. '[!ÿVon'ÿXSolid-State
                                                                                           VThl4340ÿlSensors,    02=8/=Aÿ:         4i348/=Aÿ¶ÿ
                                                                                                                               Actuators,            & s5     :/8=j=40?=ÿ·(Transducers’13),
                                                                                                                                                          Microsystems             ¸/32=>i:0/=¹º»¼Aÿ
                  U&V'NÿXSpain,
               Barcelona,            .T'Nÿ]June $'&ÿO16-20,
                                                           a*+Nÿ*2013,   +ONÿ.pp..!ÿO1727-1730.
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                                                                                                                           ­®­©¯ÿ®award °®¯±ÿ°²        ³³©¯´ÿ
                                                                                                                                                    winner)
     b[41]vOcÿw!
               W.-C.  !ÿeT Li, Nÿ!
                                  Y. ÿ  eT
                                        Lin,' Nÿand'hÿ! C. ÿ   !
                                                                 T.-C.!ÿNguyen,
                                                                              "#$%&'Aÿk“Metal    s043;ÿs5            :/8?0:@RW325:3;ÿfilter-power
                                                                                                              Micromechanical                     5;40/.Vn&ÿamplifier Z.T[T&ÿ$utilizing
                                                                                                                                                                                          RTT|T'#ÿa ÿhdis-TY
              .U&Z&'R3?9;5j521ÿ/resonant
              placement-amplifying                      0=82324ÿ=switch,”  54:@ABÿProceedings
                                                                                          EDDJKLÿVof[ÿRtheW&ÿO17"`ÿPInt.'R!ÿV         Conf.  '[!ÿVon'ÿXSolid-State
                                                                                                                                                              VThXRR&ÿXSensors, &'YVYNÿ~U        R$RVYNÿ
                                                                                                                                                                                                Actuators,
              ¶ÿ
               & s5      :/8=j=40?=ÿ·(Transducers’13),
                    Microsystems              ¸/32=>i:0/=¹º»¼Aÿ½3                     /:0;823AÿlSpain,
                                                                                  Barcelona,            9352Aÿ¾June   i'&ÿO16-20,
                                                                                                                               a*+Nÿ*2013, +ONÿpp...!ÿ*2469-2472.
                                                                                                                                                             va_*v`*!ÿ
     b[42]v*cÿ!
               C. ÿ  !
                     T.-C.!ÿNguyen,
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               M. Akgul, Z. Ren, and C. T.-C. Nguyen, “Voltage-controlled tuning to optimize MEMS ÿ
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                                                      T.-C. ÿNguyen,
                                                                 GHIJKLMÿO“Capacitive-Piezoelectric
                                                                                     RVRWUXU£K6&A<&&=:6=ÿ4                         AIN"ÿ     ;& m<':<mÿF6
                                                                                                                                                  Resonators       With:   >ÿº    «©MªªªM_ÿTech.
                                                                                                                                                                             0>12,000,”               dcÿf     hdi7ÿ
                                                                                                                                                                                                              Digest,
              *24".:>ÿ¬IEEE
                          ÿ¬Int.LXÿT   Conf. L^ÿTonLÿ¦U Micro WYTÿ]      KWXYTÿ¦K
                                                                            Electro               WQRLUWR]ÿ®Systems
                                                                                          Mechanical                  JSXKZSÿ̄(MEMS’11),¦¦®°««±MÿR              LWILMÿ¦K
                                                                                                                                                             Cancun,              ÃUWTMÿÄJan.RLÿ©24-28,
                                                                                                                                                                            Mexico,                   »*7ÿ*2011, +jj7ÿ
              pp!ÿj173-176.
              pp.         ¤1j¤/!ÿ
     0[58](2ÿF!
               W.-C.    !ÿl6Li, 7ÿ!
                                   Y. ÿ DJiang,
                                           6'#7ÿ;!    R. ÿ  4!ÿtSchneider,
                                                             A.       =>'&6n&7ÿ¥!      H. ÿ   5!
                                                                                                G. ÿ  @   <z7ÿl!
                                                                                                      Barrow,          L. ÿ  l6
                                                                                                                             Lin,'  7ÿand'nÿ!C. ÿ !
                                                                                                                                                    T.-C.ÿNguyen,
                                                                                                                                                            GHIJKLMÿO“Polysilicon-filled
                                                                                                                                                                               PT]JSU]UWTLk6&nÿ=carbon        y<'ÿ
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   Curriculum     ÿ
               Vitae                                                                         ÿT-C.!ÿ"#
                                                                                            Clark             $%&'ÿ
                                                                                                           Nguyen                                                  (5/20/2022
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 173 of 598 PageID #: 1100

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                                                             CURRICULUM 7389 ÿ(Extended)
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              ./.01234ÿ67/88ÿ81729127/:ÿ;/147</:ÿ=07ÿ;<970;49>/.<9/:ÿ7480./1078?@ÿABCDEÿGHIBJKLÿ*MÿPQQQÿP'N!ÿR'S!ÿR'ÿ
                nanotube grass structural material for micromechanical resonators,” Tech. Digest, 24"N
                                                                                                     OIEEE Int. Conf. on
              TU
               MicroVRÿQ     &VNRÿT&
                           Electro              VO'UVÿWSystems
                                          Mechanical                %814;8ÿX(MEMS’11),
                                                                                    YZY[\]]^?ÿ_/                   .92.?ÿY4
                                                                                                              Cancun,        Mexico,`<90?ÿaJan./.bÿc24-28,
                                                                                                                                                       d*eLÿ*2011, +ffLÿpp.gg!ÿM477-480.
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     i[59](jkÿm!
               L.-W.n!ÿo$  Hung '#ÿand'pÿ! C. ÿ  !T.-C._bÿNguyen,
                                                              q62r4.?ÿs“Q-boosted t uRRvN&pÿw         AIN"ÿ    array-composite
                                                                                                                   %VRxgRvUN&ÿresonator     &vR'NRÿyU    withNOÿtÿ
                                                                                                                                                                       Q z  ]{?{{{?@ÿATech.
                                                                                                                                                                          >10,000,”          BCDEÿDigest,
                                                                                                                                                                                                      GHIBJKLÿ
              PIEEE
                QQQÿPInt.'N!ÿQ       &VNR'ÿ|&
                                 Electron                }UV&vÿTN
                                                   Devices          Mtg.,#!LÿWSan'ÿ~Francisco,
                                                                                          'VUvVRLÿ            USR'ULÿ|&
                                                                                                             California,           Dec.V!ÿ6-8,eLÿ*2010,
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     i[60]+kÿT!
               M. ÿ  w#$Lÿ!
                     Akgul,        B. ÿ U
                                        Kim,xLÿ!  Z. ÿ  &
                                                         Ren,'  Lÿand'pÿ!C. ÿ !
                                                                                T.-C. _bÿq6Nguyen,2r4.?ÿs“Capacitively
                                                                                                               _//9<1<4:rÿ1transduced  7/.8294ÿ;<          970;49>/.<9/:ÿ7resonators
                                                                                                                                                          micromechanical              480./1078ÿ<      with1>ÿ
              vsimultaneous
                 Ux$N'&R$vÿlowRyÿxR          motionalNUR'ÿresistance
                                                                     &vUvN'V&ÿand'pÿtÿ        Q z   {?{{{?@ÿATech.
                                                                                                    >70,000,”              BCDEÿDigest,
                                                                                                                                    GHIBJKLÿ*2008  ++eÿWSolid-State
                                                                                                                                                            RUpWNN&ÿWSensor,&'vRLÿwV       N$NRLÿand'pÿ
                                                                                                                                                                                         Actuator,
              TU    VRv%vN&xvÿnR
               Microsystems                     vORgLÿoU
                                          Workshop,             HiltonNR'ÿo& Head,pLÿWSouthR$NOÿ         RU'LÿJune
                                                                                                       Carolina,            $'&ÿ6-10,f+Lÿ*2010,
                                                                                                                                               +f+Lÿpp.gg!ÿM467-470.
                                                                                                                                                                hMh+!ÿ
     i[61]fkÿm!
               L.-W.n!ÿo$  Hung '#ÿand'pÿ!  C. ÿ   !
                                                     T.-C. _bÿNguyen,
                                                               q62r4.?ÿs“Capacitive-piezo
                                                                                   _//9<1<4gU&RÿNtransducers         'vp$V&vÿSforRÿOhigher  U#O&ÿtÿ   Q V  R'NR$xRp&ÿw
                                                                                                                                                                contour-mode          AIN"ÿ    resonators
                                                                                                                                                                                                 &vR'NRvÿ
              /at1ÿ]1.2bcÿ
                           GHz,”?    @ÿATech.
                                           BCDEÿDigest,
                                                      GHIBJKLÿ*2008    ++eÿWSolid-State
                                                                                 RUpWNN&ÿWSensor,     &'vRLÿwV          N$NRLÿand'pÿTU
                                                                                                                      Actuator,                     VRv%vN&xvÿnR
                                                                                                                                               Microsystems                 vORgLÿoU
                                                                                                                                                                        Workshop,             NR'ÿo&
                                                                                                                                                                                          Hilton           pLÿ
                                                                                                                                                                                                       Head,
              WSouth
                   R$NOÿ     RU'LÿJune
                           Carolina,           $'&ÿ6-10,f+Lÿ*2010,   +f+Lÿpp.gg!ÿM463-466.
                                                                                        M!ÿ
     i[62]*kÿ!
               B. ÿ U
                    Kim, xLÿT! M. ÿ   w   #$Lÿ!
                                      Akgul,          Y. ÿ mU
                                                           Lin,' Lÿn!
                                                                    W.-C.!    ÿmU
                                                                                 Li, Lÿ!
                                                                                        Z. ÿ   &
                                                                                               Ren,' Lÿand'pÿ! C. ÿ  !
                                                                                                                       T.-C._bÿNguyen,
                                                                                                                                  q62r4.?ÿs“Acceleration
                                                                                                                                                   994:47/1<0.ÿ8sensitivity
                                                                                                                                                                           4.8<1<<1rÿ0of=ÿ8small-gap
                                                                                                                                                                                                 ;/::#gÿ
              9capacitive
                 //9<1<4ÿ;<           970;49>/.<9/:ÿ7resonator
                                   micromechanical                     480./107ÿ0oscillators,”
                                                                                           89<::/1078?@ÿProceedings,
                                                                                                                 CBBHIJLÿ*2010         +f+ÿPIEEEQQQÿPInt.'N!ÿ~Frequency
                                                                                                                                                                       &$&'V%ÿR         'NRÿWSymp.,
                                                                                                                                                                                      Control          %xg!Lÿ
              "&ygRNÿ&
              Newport                VOLÿ
                                Beach,               USR'ULÿJune
                                              California,              $'&ÿf1-4,MLÿ*2010,+f+Lÿgpp.g!ÿ*273-278.
                                                                                                             h*he!ÿ
     i[63]kÿm!
               L.-W.n!ÿo$  Hung  '#ÿand'pÿ!  C. ÿ    !
                                                       T.-C._bÿNguyen,
                                                                  q62r4.?ÿs“Silicide-Based
                                                                                      [<:<9<4/84ÿ4                   :4/84ÿ0of=ÿ<
                                                                                                                    Release             High6>ÿ8     491ÿ/
                                                                                                                                                  Aspect           1<0ÿY<
                                                                                                                                                               Ratio         9708172912748?@ÿATech.
                                                                                                                                                                         Microstructures,”               BCDEÿ
              GHIBJKLÿ*23"pÿIEEE
              Digest,                  ZZZÿInt..1bÿ_0     Conf..=bÿ0on.ÿY<  Micro970ÿZ:        49170ÿY4
                                                                                          Electro               9>/.<9/:ÿ[Systems
                                                                                                          Mechanical                r814;8ÿX(MEMS’10),
                                                                                                                                                  YZY[\]{^?ÿ0          Hong.6ÿ0Kong,.6?ÿ_>      <./?ÿaJan./.bÿ
                                                                                                                                                                                             China,
              *24-28,
                  M*eLÿ*2010,+f+Lÿpp.gg!ÿf120-123.
                                                *+f*!ÿ
     i[64]Mkÿ!
               C. ÿ!       !ÿ"#
                        T.-C.             $%&'Lÿs“Radios
                                    Nguyen,                /<08ÿ<         with1>ÿ;<         970;/9><.4ÿ7resonators,”
                                                                                         micromachined                      480./1078?@ÿ           ÿSpectrum,
                                                                                                                                                   [EEE           BCK Lÿ"R     Nov.}  !ÿ30,+Lÿ*2009, ++jLÿ
              Ohttps://spectrum.ieee.org/telecom/wireless/radios-with-micromachined-resonators.
                  NNgv¡))vg&VN$x!U&&&!R#)N&&VRx)yU&&vv)pURvyUNOxUVRxVOU'&p&vR'NRv!ÿ
     i[65](kÿ!
               C. ÿ  !
                     T.-C._bÿNguyen,
                                q62r4.?ÿs“Integrated  .1467/14ÿ;<            970;49>/.<9/:ÿ¢
                                                                          micromechanical                     RF ÿ   9circuits
                                                                                                                        <792<18ÿ=for07ÿ8software-defined
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              :4./7r^?@ÿProceedings,
              plenary),”          CBBHIJLÿNtheO&ÿ*26"NOÿWSymposium       %xgRvU$xÿRon'ÿWSensors,       &'vRvLÿTU         VRxVOU'&vÿ¤ÿ
                                                                                                                            Micromachines              & wg      gU&pÿWSystems,
                                                                                                                                                           Applied         %vN&xvLÿR        %RLÿJapan,
                                                                                                                                                                                        Tokyo,          g'Lÿ
              ¥V
               Oct.N  !ÿf15-16,
                          (fLÿ*2009,  ++jLÿpp.gg!ÿf1-5.(!ÿ
     i[66]kÿT!
               M. ÿ  w#$Lÿ!
                     Akgul,        B. ÿ  U
                                         Kim,xLÿm!   L.-W. n!ÿo$ Hung, '#Lÿ! Y. ÿ  mU
                                                                                    Lin,'  Lÿn!W.-C.!ÿmU Li, L ÿn!
                                                                                                                  W.-L.m!   ÿo$
                                                                                                                             Huang, '#LÿPI.!ÿ¦$    U'Lÿw!
                                                                                                                                                Gurin,     A. ÿ  R  'Lÿand'pÿ!
                                                                                                                                                                 Borna,            C. ÿ!
                                                                                                                                                                                       T.-C. !ÿNguyen,
                                                                                                                                                                                                  "#$%&'Lÿ
              s“Oscillator
                 §89<:N:O/107ÿ=far-from-carrier
                                      /7SRx VU&ÿgphase            Ov&ÿ'noise
                                                                                 RUv&ÿreduction
                                                                                             &p$VNUR'ÿ}viaUÿ'nano-scale'R89/:4ÿ6gap/ÿ1tuning  2.<.6ÿ0of=ÿ;<      970;49>/.<9/:ÿ7resonators,”
                                                                                                                                                                micromechanical              480./1078?@ÿ
              NtheO&ÿf15"(ÿPInt.'N!ÿRConf.'S!ÿRon'ÿWSolid-State
                                                           RUp[1/14ÿ[Sensors,   4.8078?ÿ9          12/1078?ÿ̈ÿ
                                                                                                 Actuators,           & Y<     9708r814;8ÿX(Transducers’09),
                                                                                                                          Microsystems               ©7/.829478\{ª^?ÿ«4              .47?ÿ_0
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                                                                                                                                                                                                Colorado,
              June
                 $'&ÿ*21-25,
                           f*(Lÿ*2009, ++jLÿpp.gg!ÿh798-801.
                                                           jee+f!ÿ
     i[67]hkÿ!
               Y. ÿ  mU
                     Lin,' Lÿn!
                             W.-C.   !ÿmULi, LÿPI.!ÿ¦$    U'LÿWS.-S.
                                                       Gurin,          !W!ÿmU Li, Lÿ!
                                                                                    Y.-W.  n!ÿmU  Lin,' Lÿ!Z. ÿ &
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                                                                                                                           B. ÿ U
                                                                                                                                Kim, xLÿand'pÿ! C. ÿ!
                                                                                                                                                      T.-C._bÿNguyen,
                                                                                                                                                                 q62r4.?ÿs“Digitally-specified
                                                                                                                                                                                «<6<1/::rvg&VUSU&pÿ
              ;<    970;49>/.<9/:ÿdisplacement
               micromechanical                     <8:/94;4.1ÿ/amplifiers,”  ;:<=<478?@ÿ1the>4ÿ]15"¬NOÿPInt.'N!ÿR          Conf. 'S!ÿRon'ÿWSolid-State
                                                                                                                                                 RUpWNN&ÿWSensors, &'vRvLÿwV       N$NRvLÿ¤ÿ
                                                                                                                                                                                  Actuators,          & TUMi-
              9crosystems
                 708r814;8ÿX(Transducers’09),
                                      ©7/.829478\{ª^?ÿ«4                     .47?ÿ_0
                                                                        Denver,                :07/RLÿJune
                                                                                        Colorado,              $'&ÿ*21-25,f*(Lÿ*2009, ++jLÿgpp.g!ÿh781-784.
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     i[68]ekÿn!
               W.-C.  !ÿmULi, Lÿ!
                                  Y. ÿ mU
                                        Lin,' Lÿ!
                                                 B. ÿ   U
                                                        Kim,xLÿ!  Z. ÿ &
                                                                        Ren,'  Lÿand'pÿ!C. ÿ   !
                                                                                                 T.-C._bÿNguyen,
                                                                                                             q62r4.?ÿs“Quality  ­2/:<1rÿ=factor/9107ÿ4enhancement
                                                                                                                                                          .>/.94;4.1ÿ<in.ÿ;<           970;49>/.<9/:ÿ
                                                                                                                                                                                    micromechanical
              7resonators
                480./1078ÿ/at1ÿ9cryogenic7r064.<9ÿ1temperatures,”
                                                            4;47/12748?@ÿ1the>4ÿ]15%¬NOÿPInt.'N!ÿR            Conf. 'S!ÿRon'ÿWSolid-State
                                                                                                                                    RUpWNN&ÿWSensors,&'vRvLÿwV       N$NRvLÿ¤ÿ
                                                                                                                                                                   Actuators,        & TU    VRv%vN&xvÿ
                                                                                                                                                                                        Microsystems
              £(Transducers’09),
                'vp$V&8\{ª^?ÿ«4              Denver,.47?ÿ_0         :07/0?ÿaJune
                                                                   Colorado,           2.4ÿc21-25, ]*(Lÿ*2009,  ++jLÿpp.gg!ÿf1445-1448.
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     i[69]jkÿ!
               B. ÿ U
                    Kim, xLÿ!Y. ÿ  mU
                                    Lin,' Lÿn!
                                            W.-L.m!      ÿo$   '#LÿTM. !ÿw
                                                          Huang,              Akgul,#$Lÿn!  W.-C.!    ÿmU
                                                                                                         Li, L ÿ!
                                                                                                                Z. ÿ &
                                                                                                                      Ren,' Lÿand'pÿ!
                                                                                                                                      C. ÿ!
                                                                                                                                          T.-C. _bÿNguyen,
                                                                                                                                                    q62r4.?ÿs“Micromechanical
                                                                                                                                                                     Y<970;49>/.<9/:ÿ7resonant     480./.1ÿ
              displacement
                  <8:/94;4.1ÿ6gain/<.ÿ8stages,”       1/648?@ÿATech.    BCDEÿDigest,
                                                                                  GHIBJKLÿ*22"*'pÿPIEEE        QQQÿPInt.'N!ÿR         'S!ÿRon'ÿTU
                                                                                                                                   Conf.                VRÿQ
                                                                                                                                                    Micro          &VNRÿT&
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              X(MEMS’09),
                YZY[\{ª^?ÿ[Sorrento,      0774.10?ÿItaly,  1/:r?ÿaJan./.bÿc25-29,
                                                                                 ¬*jLÿ*2009,    ++jLÿgpp.g!ÿf19-22.j**!ÿ
     i[70]h+kÿ!
               Y. ÿ  mU
                     Lin,' Lÿn!
                              W.-C.  !ÿmU Li, Lÿ!B. ÿ   U xLÿ!
                                                          Kim,       Y.-W. n!ÿmU  Lin,' Lÿ!Z. ÿ  &
                                                                                                  Ren,'  Lÿand'pÿ! C. ÿ  !
                                                                                                                           T.-C._bÿNguyen,
                                                                                                                                      q62r4.?ÿs“Enhancement
                                                                                                                                                       Z.>/.94;4.1ÿ0of=ÿ;<             970;49>/.<9/:ÿ
                                                                                                                                                                                    micromechanical
              resonator
                &vR'NRÿx            '$SVN$U'#ÿprecision
                                 manufacturing                 g&VUvUR'ÿ}viaUÿx&               VO'UV%902:4ÿ/arraying,”
                                                                                         mechanically-coupled                          77/r<.6?@ÿProceedings,
                                                                                                                                                       CBBHIJLÿ*2009      ++jÿPIEEEQQQÿPInt.'N!ÿ~Fre-&
              quency
                  $&'V%ÿR        'NRÿWSymp.,
                             Control           %xg!Lÿ&          v'VR'Lÿ~France,
                                                            Besancon,              'V&Lÿwg     AprilUÿ*20-24,
                                                                                                              +*MLÿ*2009,   ++jLÿgpp.g!ÿ(58-63.
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     i[71]hfkÿ!
               Y. ÿ mU
                    Lin,' Lÿn!
                            W.-C.   !ÿmULi, Lÿ!
                                               Z. ÿ   &
                                                      Ren,' Lÿand'pÿC. !ÿ!
                                                                            T.-C._bÿNguyen,
                                                                                      q62r4.?ÿs“The       ©>4ÿ;<         970;49>/.<9/:ÿ7resonant
                                                                                                                   micromechanical                  480./.1ÿ8switch<19>ÿX(“resoswitch”),”
                                                                                                                                                                             s74808<19>@^?@ÿATech.       BCDEÿ
              GHIBJKLÿ*2008
              Digest,          ++eÿWSolid-State
                                          RUpWNN&ÿWSensor,     &'vRLÿwV         N$NRLÿand'pÿTU
                                                                              Actuator,                        VRv%vN&xvÿnR
                                                                                                         Microsystems                     vORgLÿoU
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                                                                                                                                                                               R$NOÿ      RU'LÿJune
                                                                                                                                                                                       Carolina,          $'&ÿ
              f1-5,(Lÿ*2008,
                          ++eLÿgpp.g!ÿM40-43.
                                            +M!ÿ
     i[72]h*kÿm!
               L.-W.n!ÿo$  Hung,'#Lÿ! Z. ÿ  w!
                                             A. ÿ   Jacobson,
                                                       VRuvR'Lÿ!      Z. ÿ &
                                                                             Ren,'  Lÿw!
                                                                                       A. ÿ   Javey,
                                                                                                }&%Lÿand'pÿ!    C. ÿ  !
                                                                                                                         T.-C._bÿq6     2r4.?ÿs“Capacitive
                                                                                                                                    Nguyen,          _//9<1<4ÿ1transducer
                                                                                                                                                                         7/.82947ÿ8strengthening
                                                                                                                                                                                           174.61>4.<.6ÿ
              }viaUÿwm|
                      ALD-enabled&'u&pÿpartial-gap
                                                 gNU6/ÿ=filling,”    <::<.6?@ÿATech.  BCDEÿDigest,
                                                                                                    GHIBJKLÿ*2008      ++eÿWSolid-State
                                                                                                                                   RUpWNN&ÿWSensor, &'vRLÿwV       N$NRLÿand'pÿTU
                                                                                                                                                                  Actuator,                  VRv%vN&xvÿ
                                                                                                                                                                                        Microsystems
              nR      vORgLÿoU
               Workshop,                 NR'ÿo&
                                     Hilton       Head, pLÿWSouth
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                                                                           Carolina,            $'&ÿf1-5,(Lÿ*2008, ++eLÿgpp.g!ÿ*208-211.
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     i[73]hkÿ!
               Y. ÿ  mU
                     Lin,' Lÿn!
                             W.-C.   !ÿmULi, Lÿ!
                                                 Z. ÿ   &
                                                        Ren,'  Lÿand'pÿ!C. ÿ !
                                                                               T.-C. _bÿNguyen,
                                                                                           q62r4.?ÿs“Aÿ7resonance    480./.94ÿdynamicalr./;<9/:ÿ/approach 70/9>ÿ1to0ÿ=faster,
                                                                                                                                                                               /8147?ÿ;0 more7   4ÿ7reliable
                                                                                                                                                                                                     4:</3:4ÿ
              ;<    970;49>/.<9/:ÿ8switches,”
               micromechanical                    <19>48?@ÿ            CBBHIJLÿ*2008
                                                                      Proceedings,                ++eÿPIEEE QQQÿPInt.'N!ÿ~Frequency
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                  j*fLÿ*2008,++eLÿgpp.g!ÿ640-645.
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     i[74]hMkÿ!
               Y. ÿ   ®U&LÿWS.-S.
                      Xie,        !W!ÿmU   Li, Lÿ!Y.-W.  n!ÿmU   Lin,' Lÿ!Z. ÿ  &
                                                                                  Ren,'  Lÿand'pÿ!  C. ÿ    !
                                                                                                              T.-C. _bÿNguyen,
                                                                                                                          q62r4.?ÿs“1.52-GHz]b¬c¦oÿxU              VRx&VO'UVÿ&extensional
                                                                                                                                                                micromechanical                ¯N&'vUR'ÿ
              yU    '&6:/88ÿ;0
               wine-glass            mode 4ÿ7ring<.6ÿ7resonators,”
                                                            480./1078?@ÿ[EEE       ÿATrans.    °JEÿ±²         K°JE³ÿFerroelect.,
                                                                                                               Ultrason.,           ´BB²BCKE³ÿFreq.   ´BµEÿ¶       KELÿ}vol.R!ÿ(55,(Lÿ'no.R!ÿM4,Lÿpp.gg!ÿ
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              e890-907,
                  j+j+hLÿwg     April Uÿ*2008
                                             ++eÿ£(18feÿpages).
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     i[75]h(kÿ!
               C. ÿ  !
                     T.-C._bÿNguyen,
                                q62r4.?ÿs“Integrated  .1467/14ÿ;<            970;49>/.<9/:ÿ7radio
                                                                          micromechanical                      /<0ÿ=front-ends
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                                                              CURRICULUM 7389 ÿ(Extended)
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                Program, 2008 IEEE Int. Symp. On VLSI Technology, Systems, and Applications (VLSI-TSA’08), Hsinchu,
              EW'4ÿD;Eÿ*X*Y4ÿ*++54ÿ;;!ÿYZ!ÿ
                Taiwan, April 21-23, 2008, pp. 3-4.
     [[76]\]^ÿ`!
               W.-L.>!      ÿa$
                              Huang,'#4ÿb! Z. ÿ   c&
                                                   Ren,'    4ÿd!
                                                              Y.-W.  `!ÿ>E   Lin,' 4ÿa!H.-Y.d!ÿ@ Chen,&'4ÿeJ.!ÿ>     @''4ÿand'Cÿ!
                                                                                                                   Lahann,               C. ÿ!
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                                                                                                                                                                                        monolithic       CMOS ÿ
              Snickel
                  RTtknÿoR         TupokTUvSRTvnÿuresonator
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              RicalTvnÿHSystems
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                                                                                       Arizona,                    YX\4ÿ*2008, ++54ÿ;pp.;!ÿX10-13.
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                  !9!ÿ>E   Li, 4 ÿd!
                                   Y.-W.`!ÿ>E   Lin,' 4ÿb!Z. ÿ c&
                                                               Ren,'   4ÿand'Cÿ!C. ÿ  !
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                                                                                                  Nguyen,VjkSNÿl“AnISÿrH    MSI   ÿoR   TupokTUvSRTvnÿdifferential
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              Dig.                yz{|ÿPapers,
                                         .2y/4ÿ8the@&ÿX14"Z8@ÿ6Int.'8!ÿA         Conf. '!ÿAon'ÿ9Solid-State
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                                                                                                                                            Actuators           GuvSQVTkuQJKMNÿj                pSNÿmFrance,
                                                                                                                                                                                               Lyon,      uvSTkNÿ
              eJune
                 $'&ÿX11-14, XXZ4ÿ*2007, ++\4ÿ;pp.;!ÿY307-311. +\YXX!ÿ
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               W.-L.>!      ÿa$
                              Huang,'#4ÿ9S.-S. !9!ÿ>E   Li, 4ÿb!
                                                                Z. ÿ  c&
                                                                      Ren,'   4ÿand'Cÿ! C. ÿ !
                                                                                               T.-C.fgÿhi      VjkSNÿl“UHF
                                                                                                           Nguyen,           PmÿSnickelRTtknÿoR      TupokTUvSRTvnÿQspoke-supported
                                                                                                                                                 micromechanical                     ptkB$;;A8&CÿringE'#ÿ
              ukQpSvqpuQNwÿDig.
              resonators,”              ~1|ÿ0ofÿxTech.    yz{|ÿPapers,
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               Lyon,  A'4ÿFrance,
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                                                                                            *YY*]!ÿ
     [[79]\^ÿd!
               Y.-W.   `!ÿ>E  Lin,'  4ÿ>!
                                       L.-W.`!ÿa$    Hung,  '#4ÿ9S.-S.!9!ÿ>E   Li, 4 ÿb!
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                                                                                            Ren,'  4ÿand'Cÿ!C. ÿ !
                                                                                                                   T.-C.fgÿNguyen,
                                                                                                                              hiVjkSNÿl“Quality
                                                                                                                                              VvnRqjÿfactor    vTqpuÿboosting
                                                                                                                                                                           ppQqRSiÿviaRvÿok         TUvSRTvn
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              ly-coupled
                %TpVnkÿvarraying,”    uuvjRSiNwÿDig.       ~1|ÿ0ofÿxTech.  yz{|ÿPapers,
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              ducers’07),
                  VTkuQJKMNÿj        Lyon,pSNÿmFrance,
                                                       uvSTkNÿJune    VSkÿ11-14,XZ4ÿ*2007,  ++\4ÿpp.;;!ÿ*2453-2456.
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     [[80]5+^ÿd!
               Y. ÿ    >E
                       Lin,'  4ÿeJ.!ÿ`
                                      Wang,'#4ÿ9S.!ÿPietrangelo,
                                                             E&8'#&A4ÿb!          Z. ÿ  c&
                                                                                           Ren,' 4ÿand'Cÿ! C. ÿ !
                                                                                                                  T.-C.fgÿhi      VjkSNÿl“Effect
                                                                                                                              Nguyen,            kTqÿpofÿkelectrode
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              frequency
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               L.-W.  `!ÿa$   Hung, '#4ÿd! Y. ÿ    E
                                                   Xie,&   4ÿd!
                                                              Y.-W.  `!ÿ>E   Lin,' 4ÿ9S.-S.
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              ;A$'CF*4Zÿ:A
              pound-(2,4)                mode   C&ÿringE'#ÿresonators
                                                                    &BA'8ABÿWE        with8 @ÿBsolid-gap
                                                                                                    AEC#;ÿ8transducers,”
                                                                                                                      vSQVTkuQNwÿProceedings,
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               Control'8Aÿ9Symp., %:;!4ÿ¢&         '&£4ÿ9Switzerland,
                                                Geneva,              WE8¤&'C4ÿ         May%    ÿ*29-June
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     [[82]5*^ÿ9S.-S.
                  !9!ÿ>E    Li, 4 ÿd!
                                    Y.-W.`!ÿ>E   Lin,'   4ÿb!
                                                            Z. ÿ  c&
                                                                   Ren,'  4ÿand'Cÿ!  C. ÿ  !  fgÿNguyen,
                                                                                             T.-C.      hiVjkSNÿl“AIÿoR             TupokTUvSRTvnÿparallel-class
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              Proceedings,                   ++]ÿ6IEEE    777ÿ6Int.'8!ÿFrequency
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              X1356-1361.
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               C. ÿ   !
                      T.-C. fgÿNguyen,
                                 hiVjkSNÿl“MEMS      r rHÿqtechnology kTUSpnpijÿforpuÿqtiming     RoRSiÿvandSÿfrequency
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              Freq.          Contr., /!4ÿ£vol.A!ÿ(54,Z4ÿ'no.A!ÿ*2,4ÿpp.;;!ÿ*251-270,
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               Ferroelectrics,                                ÂÄÅÂ¸ºÆÿÇ½
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               M. ÿ     Ï&   :E?Eÿand'Cÿ!
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                                                        T.-C. fgÿNguyen,
                                                                     hiVjkSNÿl“Mechanically
                                                                                          rkTUvSRTvnnjÿTcorner-coupledpuSku?A$;&CÿBsquare     ¡$&ÿ:E          ?A&BA'8Aÿarray
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              Qseries
                 kuRkQÿop          qRpSvnÿuresistance,”
                             motional            kQRQqvSTkNwÿIEEE/ASME ¥¦¦¦ÐÑÒÓ¦ÿJ.Ô|ÿMicroelectromech.
                                                                                                     Óz/0yÿz/03yz{|ÿÒSyst.,           Õ!4ÿ£vol.A!ÿX15,(4ÿ'no.A!ÿ]6,4ÿpp.;;!ÿX1419-1436,
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              F(18X5ÿpages)
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               C. ÿ   !
                       T.-C.fgÿNguyen,
                                   hiVjkSNÿl“IntegratedSqkiuvqkÿoR               TupokTUvSRTvnÿTcircuits
                                                                              micromechanical                    RuTVRqQÿfueled
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              zceedings,
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                      T.-C. fgÿNguyen,
                                  hiVjkSNÿl“IntegratedSqkiuvqkÿoR              TupokTUvSRTvnÿTcircuits
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               C. ÿ   !
                      T.-C. fgÿNguyen,
                                  hiVjkSNÿl“Towards   GpÙvuQÿH         LSI   ÿvibrating
                                                                                     RuvqRSiÿoR         TupokTUvSRTvnÿQsignal
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                                                                                        "'A7'#E'&&E'#4ÿÚ                     ?&A'4ÿ9Spain,
                                                                                                                            Barcelona,          ;E'4ÿ9Sept.  &;8!ÿX17-20,
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     [[88]55^ÿ`!
               W.-L.>!      ÿa$
                              Huang,'#4ÿb! Z. ÿ   c&
                                                   Ren,'    4ÿand'Cÿ! C. ÿ  !
                                                                              T.-C. fgÿNguyen,
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              Cdielectric
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              Florida,
                  AEC4ÿeJune    $'&ÿ(5-7,\4ÿ*2006, ++]4ÿ;pp.;!ÿ5839-847.Y5Z\!ÿ
     [[89]5^ÿ!
               C. ÿ!   T.-C.fgÿNguyen,
                                     hiVjkSNÿl“MEMS        r rHÿqtechnologies kTUSpnpiRkQÿvandSÿdevices          kRTkQÿforpuÿQsingle-chip
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              Dig.,              '£&4ÿA
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     [[90]+^ÿ9S.-S.
                  !9!ÿ>E   Li, 4ÿd!
                                  Y.-W.`!ÿ>E   Lin,'  4ÿb!
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                                                              Ren,'   4ÿand'Cÿ!C. ÿ   !
                                                                                        T.-C.fgÿNguyen,
                                                                                                 hiVjkSNÿl“Disk-arrayÝRQt8@%ÿCdesign  &BE#'ÿforAÿBsuppression
                                                                                                                                                             $;;&BBEA'ÿAofÿunwanted  $'W'8&Cÿ:A        C&BÿEin'ÿ
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              :E     ?A:&?@'E?ÿ?composite-array
               micromechanical                       A:;ABE8&vuuvjÿfilters,”           RnqkuQNwÿxTech. yz{|ÿ~      1y4ÿX19"ÿ6IEEE
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              HSystems
                  jQqkoQÿ(MEMS’06),r rHJKÞMNÿIstanbul,       QqvSVnNÿGV            utkjNÿJan.vSgÿÛ22-26,
                                                                                Turkey,                    Û*]4ÿ*2006, ++]4ÿ;pp.;!ÿ5866-869.
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     [[91]X^ÿeJ.!ÿc!R. ÿ    4ÿ`!
                           Clark,       W.-T.!     ÿaB
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                                                                                                                                                                                 micromechanical               CE
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                 ?A'8A$ÿ:A          mode C&ÿCdiskEBÿresonators,”
                                                               &BA'8AQNwÿIEEE/ASME   ¥¦¦¦ÐÑÒÓ¦ÿJ.Ô|ÿMicroelectromech.
                                                                                                                    Óz/0yÿz/03yz{|ÿSyst.,          ÒÕ!4ÿ£vol.A!ÿX14,Z4ÿ'no.A!ÿ]6,4ÿpp.;;!ÿX1298-1310,
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               Dec.?    !ÿ*2005.
                             ++(!ÿF(13XYÿpages)
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     [[92]*^ÿeJ.!ÿ`Wang,  '#4ÿd!  Y. ÿ E
                                         Xie,&    4ÿand'Cÿ! C. ÿ   !
                                                                     T.-C.fgÿNguyen,
                                                                                 hiVjkSNÿl“Frequency mukVkSTjÿqtolerance pnkuvSTkÿpofÿm    RF ÿ    oR    TupokTUvSRTvnÿdiskRQtÿuresonators
                                                                                                                                                      micromechanical                            kQpSvqpuQÿRinSÿ
              'nanocrystalline
                  'A?%B8E'&ÿCdiamond         E:A'Cÿand'Cÿ;polysilicon  A%BEE?A'ÿBstructural
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                                                                                         T.-C. GHÿNguyen,
                                                                                                     JKLMNOPÿQ“Low     RSTÿUphase  VWXNÿOnoise  SYXNÿWarray-composite
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                                                                                                                                                                                   micromechanical
               \4'&K]WXXÿ^diskYX_ÿSoscillator,”
               wine-glass                      X`Y]]WaSZPbÿcTech.    defgÿDigest,
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                                                                                        T.-C.GHÿJK       LMNOPÿQ“Third-order
                                                                                                    Nguyen,           rVYF5F&ÿ4intermodulation
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                                            micromechanical                     NXSOWaSZXPbÿProceedings,xyzedd{j|kl0ÿnIEEE        oooÿnInt.'/!ÿ}     /25'472ÿCSymposium,
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                                                                                                     T.-C.GHÿNguyen,
                                                                                                              JKLMNOPÿQ“Small    wW]]ÿUpercent NZ`NOaÿbandwidth
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                                                                                                      T.-C.GHÿNguyen,
                                                                                                                JKLMNOPÿQ“Charge-biased
                                                                                                                                  GVWZKN42&Fÿpvibrating     4/4'#ÿ[4       75[&73'47ÿres-&2
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               Sonators,”
                  OWaSZXPbÿProceedings,
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                      T.-C.GHÿNguyen,
                                JKLMNOPÿQ“MEMS      ÿforSZÿfrequency      ZNLNO`Mÿ`control     SOaZS]ÿWandO^ÿatiming
                                                                                                                        YwYOKÿ(invited),”
                                                                                                                                     YOsYaN^PbÿProceedings,
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                                                                                       T.-C.GHÿNguyen,
                                                                                                  JKLMNOPÿQ“VibratingtYZWaYOKÿwỲZ             SwN`VWOỲW]ÿZresonators
                                                                                                                                        micromechanical               NXSOWaSZXÿTY     withaVÿXsolid
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               lectric
                 &7/47ÿ7capacitive-transducer
                              974/4p&aZWOX^L`NZÿ‘gaps’,”              KWUXPbÿProceedings,
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                                                                                     T.-C. GHÿNguyen,
                                                                                                 JKLMNOPÿQ“Self-switching
                                                                                                                   N]XTYàVYOKÿsvibrating       YZWaYOKÿwỲZ       SwN`VWOỲW]ÿfilter
                                                                                                                                                              micromechanical                 Y]aNZÿbank,”
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                    T.-C. GHÿNguyen,
                               JKLMNOPÿQ“RF¥vÿ         MEMS ÿ        YinOÿTY   ZN]NXXÿWarchitectures
                                                                               wireless           Z`VYaN`aLZNXÿ(invited),”
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                    T.-C.  !ÿNguyen,
                               "#$%&'0ÿ¦"Vibrating  4/4'#ÿE       RF ÿ    .o.C
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               CSeoul,
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                            Korea,         $'&ÿ(5-9,:0ÿ*2005,  ++(0ÿ9pp.9!ÿ*243-246.
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      ;+*?ÿ.!   M. U. Demirci and C. T.-C. Nguyen,'
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                      T.-C.GHÿNguyen
                                JKLMNOÿWandO^ÿ²J.Hÿ±Y              àVYOKPÿQ“Towards
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                            Demirci                    C. ÿ !
                                                            T.-C. GHÿNguyen,
                                                                         JKLMNOPÿQ“Single-resonator
                                                                                             YOK]N&25'/5ÿfourth-order    5$/3SZ^NZÿwỲZ              SwN`VWOỲW]ÿ^diskYX_ÿfilters,”
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                                                                                                      T.-C.GHÿNguyen,
                                                                                                                JKLMNOPÿQ“SpuriousULZYSLXÿwS       mode^NÿXsuppression
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                      T.-C.GHÿNguyen,
                                JKLMNOPÿQ“Vibrating  tYZWaYOKÿ¥v          RF ÿ   
                                                                                  MEMS ÿ           Soverview:
                                                                                                      sNZsYNT¶ÿWapplications
                                                                                                                        UU]ỲWaYSOXÿatoSÿTY            ZN]NXXÿ`communications
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                                                                                                           T.-C. GHÿNguyen,
                                                                                                                      JKLMNOPÿQ“Series-resonant
                                                                                                                                        NZYNX&25''/ÿ        VHF ÿ    [4   75[&73'47ÿres-&2
                                                                                                                                                                           micromechanical
               Sonator
                  OWaSZÿZreference
                              NNZNO`NÿSoscillators,”
                                                  X`Y]]WaSZXPbÿ¸IEEE      ¹¹¹ÿJ.Àgÿ·Solid-State
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                                                                                                                Circuits,                                           ÍÎÎÏ,Í-ËÃÿÐÑ      Dec.Ò   Èÿ,2004.
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                                     Ren,'   0ÿand'Fÿ! C. ÿ!
                                                             T.-C. GHÿNguyen,
                                                                         JKLMNOPÿQ“1.156-GHz ÔHÔ¯ÕÖÿ2self-aligned &W]YKON^ÿsvibrating  YZWaYOKÿwỲZ         SwN`VWOỲW]ÿ^diskYX_ÿZresonator,”
                                                                                                                                                        micromechanical                         NXSOWaSZPbÿ
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                                        Ultrason.,          Ùdyyzd³demgØÿFreq.      ÙydÚgÿÁz          |myg0ÿpvol.5!ÿ(51,;0ÿ'no.5!ÿ;12,*0ÿpp.99!ÿ;1607-1628,
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                                                                         Demirci,              !C!ÿB4  Li, 0
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                                                                                                                          T.-C. !ÿNguyen,
                                                                                                                                     "#$%&'0ÿ¦"Post-fabrication
                                                                                                                                                       52/47/45'ÿlaser      2&ÿ/trimming
                                                                                                                                                                                             4[[4'#ÿ5ofÿÿ
               [4  75[&73'47ÿfilters,"
                micromechanical                   4/&20¦ÿcTechnical
                                                                  def|je¬³ÿij            kdlm0ÿnIEEE
                                                                                    Digest,          oooÿnInt.'/!ÿo    &7/5'ÿ6&
                                                                                                                    Electron             p47&2ÿ./
                                                                                                                                    Devices             #!0ÿCSan'ÿFrancisco,
                                                                                                                                                    Mtg.,            '742750ÿ         45'40ÿ6&
                                                                                                                                                                                     California,          Dec.7!ÿ
               ;13-15,
                  >;(0ÿÿ*2004, ++<0ÿ9pp.9!ÿ>39-42. :<*!ÿ
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   Curriculum     ÿ
               Vitae                                                                      ÿT-C.!ÿ"#
                                                                                         Clark             $%&'ÿ
                                                                                                        Nguyen                                               (5/20/2022
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 176 of 598 PageID #: 1103

                                                             0122301415ÿVITAE
                                                             CURRICULUM 7389 ÿ(Extended)
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    .[110]
      //+0ÿ!C. ÿ  !
                   T.-C.23ÿ56        789:;ÿ<“Vibrating
                               Nguyen,               =>?@AB>:6ÿCD         RF ÿ  EFEG
                                                                                MEMS ÿ          HforI@ÿ:next9JBÿ6generation
                                                                                                                   9:9@AB>I:ÿK>        @9L9MMÿAapplications
                                                                                                                                   wireless        NNL>OAB>I:MÿP(invited),”
                                                                                                                                                                        >:Q>B9RS;TÿProceedings,
                                                                                                                                                                                         UVWXYYZ[\]^_ÿ
            *2004
               ++`ÿaIEEE bbbÿ$      CustomcdefÿaIntegrated
                                                          'd&#d&gÿh           i$hdcÿe
                                                                             Circuits         Conf., 'j!_ÿk     'ge_ÿlFlorida,
                                                                                                             Orlando,          ehg_ÿki Oct.d!ÿm3-6,n_ÿ*2004,
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            xaward
               zxy{ÿz|         }}sy~ÿ
                          winner)
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      ///0ÿS.!ÿ&Lee&   ÿand'gÿ!  C. ÿ   !
                                            T.-C.!ÿNguyen,
                                                         "#$%&'_ÿ"Mechanically-coupled
                                                                             &i'hi%ie$o&gÿfh                          ief&i'hiÿarrays
                                                                                                                          micromechanical              %cÿjforeÿhimproved
                                                                                                                                                                        foe&gÿphase   oc&ÿ'noise,"ehc&_ÿ
            UVWXYYZ[\]^_ÿaIEEE
            Proceedings,                  bbbÿaInt.'d!ÿUltrasonics,
                                                                dce'hic_ÿlFerroelectrics,
                                                                                        &e&&idhic_ÿand'gÿlFrequency    &$&'i%ÿe       'deÿ(50th+dÿ'
                                                                                                                                          Control                  'h!ÿJoint
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                'g_ÿ$
             Canada,          Aug.#    !ÿ*24-27,
                                            `*p_ÿ*2004,     ++`_ÿopp.o!ÿ*280-286.
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                                                                                                                                winner)
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      //*0ÿ!M. ÿ   !
                    A. ÿ       g&fe'&$f_ÿ!
                         Abdelmoneum,                       M. ÿ   U. !ÿ&    fhih_ÿ!
                                                                         Demirci,          Y.-W.  !ÿh  Lin,' _ÿand'gÿ!C. ÿ!  !ÿNguyen,
                                                                                                                              T.-C.    "#$%&'_ÿ"Location-dependent
                                                                                                                                                       eidhe'g&o&'g&'dÿdtuning           $'h'#ÿeofjÿvi-h
            dh'#ÿfh
            brating               ief&i'hiÿresonators
                            micromechanical                        &ce'decÿviahÿlaser    c&ÿdtrimming,"
                                                                                                         hffh'#_ÿProceedings,
                                                                                                                             UVWXYYZ[\]^_ÿaIEEE   bbbÿaInt.'d!ÿUltrasonics,
                                                                                                                                                                    dce'hic_ÿlFerroelectrics,
                                                                                                                                                                                         &e&&idhic_ÿ
            and'gÿlFrequency
                       &$&'i%ÿe                'deÿ(50th+dÿ'
                                            Control                    Anniv.'h!ÿJoint
                                                                                       eh'dÿe  Conf., 'j!_ÿe     'd&_ÿ
                                                                                                              Montreal,            'g_ÿ$
                                                                                                                               Canada,      Aug.#  !ÿ*24-27,
                                                                                                                                                       `*p_ÿ*2004,++`_ÿopp.o!ÿ*272-279.
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    .[113]
      //m0ÿS.-S.
               !!ÿh  Li, _ ÿ!
                               M. ÿ   U. ! ÿ&    fhih_ÿ!
                                             Demirci,           Y.-W. !ÿh   Lin,' _ÿ!
                                                                                      Z. ÿ  &
                                                                                            Ren,'    _ÿand'gÿ!
                                                                                                               C. ÿ !
                                                                                                                     T.-C.!ÿ"#   $%&'_ÿ"Bridged
                                                                                                                              Nguyen,        hg#&gÿfh        ief&i'hiÿjfilters,"
                                                                                                                                                           micromechanical                 hd&c_ÿPro-UVW
            Xceedings,
               YYZ[\]^_ÿaIEEE      bbbÿaInt.'d!ÿUltrasonics,
                                                           dce'hic_ÿlFerroelectrics,
                                                                                  &e&&idhic_ÿand'gÿlFrequency      &$&'i%ÿe        'deÿ(50th+dÿ'
                                                                                                                                       Control                   'h!ÿJoint
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                'g_ÿ$
             Canada,          Aug.#    !ÿ*24-27,
                                            `*p_ÿ*2004,     ++`_ÿopp.o!ÿ/144-150.
                                                                               ``/(+!ÿ
     .[114]
       //`0ÿS.!ÿ&
                  Lee&  ÿand'gÿ! C. ÿ !
                                        T.-C.  23ÿNguyen,
                                                      56789:;ÿ<“Phase    AM9ÿ:noise   I>M9ÿAamplitude
                                                                                                    NL>B7R9ÿRdependence
                                                                                                                       9N9:R9:O9ÿ>in:ÿMself-limiting
                                                                                                                                             9LHhfhdh'#ÿh         '&6LAMMÿRdisk>MÿIoscillators,”
                                                                                                                                                               wine-glass                     MO>LLABI@M;Tÿ
            Tech.
               YXÿDigest,
                        []Y^_ÿ*2002       ++*ÿSolid-State
                                                         ehgdd&ÿSensor,    &'ce_ÿi          d$de_ÿand'gÿh
                                                                                            Actuator,                      iec%cd&fcÿe
                                                                                                                       Microsystems              ceo_ÿh
                                                                                                                                            Workshop,             de'ÿ&
                                                                                                                                                              Hilton           g_ÿSouth
                                                                                                                                                                           Head,        e$dÿ      eh'_ÿ
                                                                                                                                                                                                  Carolina,
            June
              $'&ÿn6-10,/+_ÿ*2004,  ++`_ÿopp.o!ÿm33-36.  mmn!ÿ
    .[115]
      //(0ÿ!A.-C. !ÿe Wong    '#ÿand'gÿ!    C. ÿ    !
                                                         T.-C.23ÿNguyen,
                                                                     56789:;ÿ<“Micromechanical
                                                                                         E>O@I9OA:>OALÿ>                    J9@H>LB9@MÿP(“mixlers”),”
                                                                                                                            mixer-filters       <>JL9@MTS;TÿIEEE/ASME ¡¢£¤ ÿJ.¥ÿMicroe-         ¤[XVWY
            ¦lectromech.
              YXVW§YXÿ£Syst.,        ¨^!_ÿvol.e!ÿ/13,m_ÿ'no.e!ÿ/1,_ÿpp.oo!ÿ/100-112,
                                                                                         ++//*_ÿlFeb.&!ÿ*2004.     ++`!ÿ©(13/mÿopages)
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    .[116]
      //n0ÿ!Y.-W. !ÿh  Lin,'  _ÿS.!ÿ&
                                         Lee,&  _ÿS.-S.
                                                       !!ÿh Li, _ ÿ!
                                                                     Y. ÿ  «h
                                                                           Xie,& _ÿ!
                                                                                   Z. ÿ  &
                                                                                         Ren,'   _ÿand'gÿ!C. ÿ!
                                                                                                                T.-C. 23ÿNguyen,
                                                                                                                           56789:;ÿ<“60-MHz
                                                                                                                                          ¬­®ÿh      wine'&ÿ#glass
                                                                                                                                                                  ccÿfh      ief&i'hiÿgdiskhcÿ
                                                                                                                                                                          micromechanical
            reference
              &j&@9:O9ÿIoscillator,”
                                   MO>LLABI@;TÿDigest     []Y^ÿWof ÿ̄Technical
                                                                               YX\[X°¦ÿPapers,  U°±YV^_ÿ*2004     ++`ÿaIEEEbbbÿaInternational
                                                                                                                                    'd&'dhe'ÿSolid-State
                                                                                                                                                           ehgdd&ÿh         i$hdcÿe
                                                                                                                                                                            Circuits             'j&&'i&_ÿ
                                                                                                                                                                                           Conference,
            San'ÿlFrancisco,
                       'ihcie_ÿ              hje'h_ÿlFeb.&!ÿ/15-19,
                                            California,                        (/_ÿ*2004,   ++`_ÿpp.oo!ÿm322-323.
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    .[117]
      //p0ÿJ.!ÿ
                 Wang,  '#_ÿJ.!ÿb!  E. ÿ  $    d&_ÿ!
                                           Butler,          T. ÿ lFeygelson,
                                                                    &%#&ce'_ÿand'gÿ!         C. ÿ   !
                                                                                                       T.-C. 23ÿNguyen,
                                                                                                                 56789:;ÿ<“1.51-GHz
                                                                                                                                  ²3³²´®ÿopolydiamond
                                                                                                                                                     e%ghfe'gÿfh            ief&i'hiÿgdiskhcÿ
                                                                                                                                                                          micromechanical
            resonator
              &ce'deÿh        withd ÿhimpedance-mismatched
                                             fo&g'i&>MABO9Rÿ>isolating                    MILAB>:6ÿMsupport,”7NNI@B;TÿProceedings,
                                                                                                                                UVWXYYZ[\]^_ÿ/17thpdÿaIEEE   bbbÿaInt.'d!ÿh      ieÿb
                                                                                                                                                                               Micro           &ideÿ&
                                                                                                                                                                                           Electro       Me-
            ichanical
               'hiÿSystems   %cd&fcÿe      Conf., 'j!_ÿ       cdhid_ÿ
                                                               Maastricht,            The&    ÿNetherlands,
                                                                                               "&d&'gc_ÿJan.'!ÿ*25-29,     (*_ÿ*2004,++`_ÿopp.o!ÿn641-644.
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    .[118]
      //0ÿS.-S.
               !!ÿh  Li, _ ÿ!
                              Y.-W.  !ÿh  Lin,'  _ÿ!Y. ÿ  «h
                                                             Xie,& _ÿ!
                                                                     Z. ÿ  &
                                                                            Ren,' _ÿand'gÿClarkÿ! T.-C. 23ÿNguyen,
                                                                                                                   56789:;ÿ<“Micromechanical
                                                                                                                                   E>Oef&i'hiÿhollow-disk  ee R>Mÿ@ring>:6ÿ@resonators,”
                                                                                                                                                                                               9MI:ABI@M;Tÿ
            UVWXYYZ[\]^_ÿ/17thpdÿaIEEE
            Proceedings,                               bbbÿaInt.'d!ÿh   Micro ieÿb     &ideÿ&
                                                                                      Electro                i'hiÿSystems
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                                                                                                                                                      Maastricht,         The&  ÿNetherlands,
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            *25-29,
               (*_ÿ*2004,   ++`_ÿpp.oo!ÿ821-824.*/*`!ÿ
     .[119]
       //0ÿ!
             Y.-W. !ÿh  Lin,'   _ÿS.!ÿ&Lee,&  _ÿ! Z. ÿ &
                                                            Ren,'   _ÿand'gÿ!C. ÿ  !
                                                                                     T.-C. 23ÿNguyen,
                                                                                                 56789:;ÿ<“Series-resonant
                                                                                                                     G9@>9M&ce''dÿfh            ief&i'hiÿresonator
                                                                                                                                              micromechanical                &ce:ABI@ÿIoscillator,”
                                                                                                                                                                                                MO>LLABI@;Tÿ
            Technical
               YX\[X°¦ÿDigest,   []Y^_ÿ*2003        ++mÿaIEEE  bbbÿaInternational
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                                                                                                        Electron             hi&cÿ&
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                                                                                                                                                      Washington,          DC, ÿ  &
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            oo!ÿ961-964.
            pp-       n/n`!ÿ
    .[120]
      /*+0ÿ!Y. ÿ  «h
                   Xie,& µÿS.-S.
                                !!ÿh  Li, µ ÿ!
                                                Y.-W.   !ÿh  Lin,' µÿ·ÿ̧
                                                                        Z. ¹º Ren,»  µÿ¼and»½ÿ¾ÿ̧C. ¿       À̧ÁÂÿNguyen,
                                                                                                        T.-C.     ÄÅÆÇÈÉÊÿË“UHF   ÌÍÎÿÏÐ       ÑÒÓÏÈÑÔÕÉÐÑÕÖÿÈextensional
                                                                                                                                           micromechanical                 ×ØÈÉÙÐÓÉÕÖÿÚÐ           ÉÈÀÛÜ¼ÝÝÿ
                                                                                                                                                                                              wine-glass
            ÏÓ
             mode  ÞÈÿÒringÐÉÅÿÒresonators”
                                     ÈÙÓÉÕØÓÒÙßÿTechnical     YX\[X°¦ÿDigest, []Y^àÿ*2003       ++mÿaIEEE bbbÿaInternational
                                                                                                                         'd&'dhe'ÿb       &ide'ÿ&
                                                                                                                                            Electron          hi&cÿ&
                                                                                                                                                          Devices              &dh'#_ÿ
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             DC, ÿ    &
                      Dec.i   !ÿ8-10,/+_ÿ*2003,
                                               ++m_ÿpp.oo!ÿ953-956.(m(n!ÿá(best    rstuÿwpaper xwsyÿxaward  zxy{ÿz|       }}syâÿ
                                                                                                                        winner)
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      /*/0ÿJ.!ÿ
                 Wang, '#_ÿ!   Z. ÿ &
                                     Ren,'   _ÿand'gÿ!  C. ÿ !
                                                               T.-C. 23ÿNguyen,
                                                                           56789:;ÿ<“Self-aligned
                                                                                              G9LHh#'&gÿ/1.14-GHz      !/`´®ÿvibrating
                                                                                                                                        hdh'#ÿradial-mode
                                                                                                                                                       ghIR9ÿRdisk>Mÿ@resonators,”
                                                                                                                                                                                   9MI:ABI@M;TÿDig.     []ÿ
            Wof ÿ̄Tech.
                     YXÿPapers,
                               U°±YV^_ÿdthe&ÿ/12%*dÿaInt.'d!ÿe              'j!ÿeon'ÿSolid-State
                                                                           Conf.               ehgdd&ÿSensors     &'cecÿãÿ  & i    d$decÿ©(Transducers’03),
                                                                                                                                     Actuators         ä@A:MR7O9@Må­æS;ÿçI                MBI:;ÿEA
                                                                                                                                                                                    Boston,              MMAè
                                                                                                                                                                                                    Massa-
            ichusetts,
               $c&ddc_ÿJune    $'&ÿ8-12,/*_ÿ*2003,     ++m_ÿpp.oo!ÿ947-950.
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    .[122]
      /**0ÿ!M. ÿ   U. !ÿ&      fhih_ÿ!
                          Demirci,            M. ÿ     !
                                                       A. ÿ      g&fe'&$f_ÿand'gÿ!
                                                             Abdelmoneum,                             C. ÿ  !  23ÿNguyen,
                                                                                                            T.-C.     56789:;ÿ<“Mechanically
                                                                                                                                      E9OA:>OALL8ÿOcorner-coupled
                                                                                                                                                              I@:9@ie$o&gÿcsquare       $&ÿfh        ie
                                                                                                                                                                                                     micro-
            @resonator
              9MI:ABI@ÿAarray      @@A8ÿHforI@ÿ@reduced  9R7O9RÿMseries  9@>9MÿI         B>I:ALÿ@resistance,”
                                                                                   motional              9M>MBA:O9;TÿDig.     []ÿWof ÿ̄Tech.
                                                                                                                                            YXÿPapers,
                                                                                                                                                    U°±YV^_ÿdthe&ÿ/12%*dÿaInt.'d!ÿe  Conf.'j!ÿeon'ÿSol-e
            hid-State
              gdd&ÿSensors    &'cecÿãÿ     & i        d$decÿ©(Transducers’03),
                                                    Actuators              ä@A:MR7O9@Må­æS;ÿçI                    MBI:;ÿEA
                                                                                                              Boston,           MMAO7M9BBM;ÿJune
                                                                                                                            Massachusetts,           $'&ÿ8-12,/*_ÿ*2003,
                                                                                                                                                                        ++m_ÿopp.o!ÿ955-958.
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    .[123]
      /*m0ÿJ.!ÿ
                 Wang, '#_ÿ!   Z. ÿ  &
                                      Ren,'   _ÿand'gÿ!  C. ÿ !
                                                                T.-C.23ÿNguyen,
                                                                            56789:;ÿ<“1.14-GHz ²3²é´®ÿcself-aligned  &jAL>6:9RÿQvibrating
                                                                                                                                         >?@AB>:6ÿ>       O@I9OA:>OALÿRdisk>Mÿ@resonator,”
                                                                                                                                                       micromechanical                         9MI:ABI@;Tÿ
            Tech.
               YXÿDigest,
                        []Y^_ÿ*2003      ++mÿ   Radio  gheÿlFrequency
                                                                    &$&'i%ÿaIntegrated 'd&#d&gÿh           i$hdcÿSymposium,
                                                                                                             Circuits        %foech$f_ÿêPhiladelphia,
                                                                                                                                                hg&oh_ÿêPennsylvania,
                                                                                                                                                                        &''c%'h_ÿJune      $'&ÿ8-10,/+_ÿ
            *2003,
               ++m_ÿopp.o!ÿm335-338.
                                   m(mm!ÿ
    .[124]
      /*`0ÿ!M. ÿ   U. !ÿ&      fhihÿand'gÿ!
                           Demirci                       C. ÿ  !
                                                               T.-C. 23ÿ56      789:;ÿ<“Higher-mode
                                                                            Nguyen,            ë>69@feg&ÿjfree-free        &&H@99ÿ?beam  9Aÿ>       O@I9OA:>OALÿ@resonators,”
                                                                                                                                                   micromechanical                9MI:ABI@M;TÿPro-      UVW
            Xceedings,
               YYZ[\]^àÿ*2003      ++mÿaIEEE  bbbÿaInt.'d!ÿlFrequency
                                                                    &$&'i%ÿe             'deÿSymposium,
                                                                                      Control             %foech$f_ÿ            fo_ÿlFlorida,
                                                                                                                              Tampa,        ehg_ÿ  May%  ÿ(5-8,_ÿ*2003,
                                                                                                                                                                          ++m_ÿpp.oo!ÿ810-818.
                                                                                                                                                                                           /+/!ÿ
    .[125]
      /*(0ÿJ.!ÿ!
                 R. ÿ    _ÿ!
                      Clark,         M. ÿ   !
                                            A. ÿ       g&fe'&$f_ÿ!
                                                  Abdelmoneum,                    C. ÿ  !
                                                                                        T.-C.23ÿNguyen,
                                                                                                     56789:;ÿ<“UHF     ìëDÿhigh-order
                                                                                                                                 >6eg&ÿradial-contour
                                                                                                                                                 ghOI:BI7@ÿI         mode R9ÿRdisk>Mÿ@resonators,”
                                                                                                                                                                                             9MI:ABI@M;Tÿ
            UV   WXYYZ[\]^àÿ*2003
             Proceedings,                  ++mÿaIEEE   bbbÿaInt.'d!ÿlFrequency
                                                                            &$&'i%ÿe       Control'deÿSymposium,
                                                                                                                %foech$f_ÿ           fo_ÿlFlorida,
                                                                                                                                   Tampa,         ehg_ÿ May%    ÿ(5-8,_ÿ*2003,
                                                                                                                                                                                ++m_ÿpp.oo!ÿ802-809.
                                                                                                                                                                                                   +*+!ÿ
    .[126]
      /*n0ÿS.!ÿ&Lee&   ÿand'gÿ! C. ÿ  !
                                          T.-C. 23ÿNguyen,
                                                       56789:;ÿ<“Influence  í:HL79:O9ÿIofHÿAautomatic  7BIAB>OÿLlevel   9Q9LÿOcontrol
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            oc&ÿ:noise,”
            phase          I>M9;TÿProceedings,
                                        UVWXYYZ[\]^àÿ*2003             ++mÿaIEEE bbbÿaInt.'d!ÿlFrequency
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            C. ÿ  !
                  T.-C.BCÿEF       GHIJKÿL“MEMS
                              Nguyen,            MNMOÿPtechnologiesIQRJSTSFUIVÿWforSXÿQcommunications  SYYGJUQZPUSJVÿ[(invited    UJ\UPI]ÿ^keynote),”
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                  T.-C.BCÿNguyen,
                             EFGHIJKÿL“Vibrating}U~XZPUJFÿ        RF ÿ    MNMO
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                                 $t5'$t)65540'o0FTZVVÿ~bonding,”                     SJ]UJFK̀ÿIEEE/ASME   ÿJ.eÿMicroelectromech.
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           pp.       (x(x(2ÿ4        Oct.o !ÿ*2002.
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            C. T.-C. Nguyen, “RF MEMS ÿ
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      >99@ÿ|J.!ÿWang, '#2ÿ|J.!ÿz!    E. ÿ  $   o&2ÿv!
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            CHa-reactant-optimized                                     40$6o54ÿvelocity &045oHÿB}ÿ             STH]UZYSJ]K̀ÿaTech.
                                                                                                          CVD polydiamond,”                 bcdeÿDigest,
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                                C. ÿ   ¦¥  §¨©ÿNguyen,
                                       T.-C.     «¬­®¯°±ÿ²“A³ÿ́low-voltage   µ¶§·¸¹º¡»¼ÿºtiltable    ½¹º¡¾¹¼ÿ¿½     ÀÁ¸Â¹¡ºÃ¸Á¿ÿÄusing
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                                                 T. ÿ    BCÿNguyen,
                                                       -C.     EFGHIJKÿL“Stiffness-compensated
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               ZPSXVK̀ÿaTech.  bcdeÿDigest,
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                  T.-C.BCÿNguyen,
                              EFGHIJKÿL“Transceiver
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            Harvey,                   >><x>!ÿ"&      New1ÿ      0
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            C. ÿ  !
                  T.-C.BCÿNguyen,
                              EFGHIJKÿL“RFÿMNMO        MEMS ÿ          WforSXÿS    w ÛSwIXÿBS
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                  T.-C.BCÿNguyen,
                              EFGHIJKÿL“Transceiver
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           >12-14,
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                  T.-C.BCÿNguyen,
                              EFGHIJKÿL“Vibrating}U~XZPUJFÿ        RF ÿ      MNMO
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                                                                Workshop                UMNMOÞßà_KÿOSingapore,     UJFZSXIKÿáJulyGTHÿè4-6,x2ÿ*2001,++>2ÿpp.;;!ÿ*21-34.
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                                                                                 -C.     EFGHIJKÿL“AéÿXresonant   IVSJZJPÿPtemperature
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                                            Xie,& 2ÿand'pÿ!C. ÿ   !
                                                                    T.-C. BCÿNguyen,
                                                                                EFGHIJKÿL“Aéÿbonded-micro-platform
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                                                                                                                                                                         modular             #5'#ÿ0of7ÿ
                                                                                                                                                                                       merging
           
            RF ÿ   MNMO
                   MEMS ÿ        ZandJ]ÿPtransistor
                                            XZJVUVPSXÿQcircuits,”
                                                               UXQGUPVK̀ÿDigest  kmbnÿiofÿaTechnical bcdlkcÖÿPapers,
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           s4o$o06ÿ(Transducers’01),
           Actuators            ÏXZJV]GQIXVÞßà_KÿMG                Munich,JUQRKÿëI        XYZ'%2ÿ|June
                                                                                     Germany,               $'&ÿ>10-14,
                                                                                                                    +><2ÿ*2001,++>2ÿ;pp.;!ÿq992-995.
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                        Clark,2ÿW.-T.!!ÿ6     Hsu,$   2ÿand'pÿ!    C. ÿ   !
                                                                                 T.-C.BCÿNguyen,
                                                                                               EFGHIJKÿL“Measurement
                                                                                                                 MIZVGXIYIJPÿPtechniques  IQRJUìGIVÿWforSXÿQcapacitively-transduced
                                                                                                                                                                      ZZQUPU\ITHo'6p$4&pÿ
           Î3
            VHF-to-UHF o0íÿYU             QXSYIQRZJUQZTÿXresonators,”
                                        micromechanical                      IVSJZPSXVK̀ÿDig.       kmeÿiofÿaTech.
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           êÿ    s4o$o06ÿ(Transducers’01),
            & Actuators               ÏXZJV]GQIXVÞßà_KÿMG               Munich, JUQRKÿëI  Germany,XYZJHKÿáJune  GJIÿà10-14,
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                                                            CURRICULUM 7389 ÿ(Extended)
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            R. ÿ "
                 Navid, 5678ÿ9J.!ÿ4!
                                   R. ÿ   8ÿ:!
                                        Clark,     M. ÿ   ;&   <6=68ÿand'7ÿ!
                                                          Demirci,                 C. ÿ!
                                                                                       T.-C. >?ÿAB        CDEFGÿH“Third-order
                                                                                                    Nguyen,           IJKLMN7&ÿ6intermodulation
                                                                                                                                           'O&<N7$O6N'ÿ7distortion  6PONO6N'ÿ6in'ÿ=capaci-
                                                                                                                                                                                             Q=6
           Otively-driven
             65&%765&'ÿ          CC-beamRESTÿTK        ULVTEUJSFKUSWÿLresonators,”
                                                      micromechanical                    EXVFSYVLXGZÿ[Technical   \]^_`]abÿDigest,
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                                            Conference,             'O&&'8ÿkSwitzerland,
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            W.-T.!     ÿsP
                          Hsu,$ 8ÿ9J.!ÿ4! R. ÿ    8ÿand'7ÿ!
                                                Clark,                  C. ÿ! T.-C.>?ÿAB       CDEFGÿH“AtÿXsub-micron
                                                                                          Nguyen,                      CR<6=N'ÿ=capacitive  Q=6O65&ÿ#gapQÿQprocess  N=&PPÿlforNÿ<$     multi-O6
           Q&<&OEWEUYLVMEÿWlateral
           ple-metal-electrode                  SYELSWÿTK         ULVTEUJSFKUSWÿLresonators,”
                                                            micromechanical                    EXVFSYVLXGZÿ[Tech.       \]^uÿDigest,
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                                            Conference,             'O&&'8ÿkSwitzerland,
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            Y.-T.!    ÿh  &'#8ÿr!
                        Cheng,       W.-T.!   ÿsP
                                                Hsu,$  8ÿx!
                                                          L. ÿ x6
                                                                Lin,' 8ÿ!
                                                                        C. ÿ !
                                                                              T.-C.>?ÿNguyen,
                                                                                       ABCDEFGÿSandFMÿy?          K. ÿ ASzS{KGÿH“Vacuum
                                                                                                                       Najafi,      |SUCCTÿ}packaging  SU~SBKFBÿCusing  XKFBÿWlocalized
                                                                                                                                                                                 VUSWKEMÿSalu-WC
           <6    '$<)P66=N'ONBWSXXÿbonding,”
            minum/silicon-to-glass                     RVFMKFBGZÿ[Technical   \]^_`]abÿDigest, dè\fg8ÿ/14"0OhÿiIEEE     jjjÿiInt.'O!ÿ:6 Micro  =Nÿj     &=ONÿ:&
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           N    'l&&'=&8ÿiInterlaken,
            Conference,              'O&&'8ÿkSwitzerland,
                                                         m6On&'78ÿ9Jan.'!ÿ*21-25,    /*(8ÿ*2001,    ++/8ÿQpp.Q!ÿ/18-21.
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                R. ÿ    8ÿr!
                      Clark,     W.-T.!   ÿsP
                                            Hsu,$ 8ÿand'7ÿ!
                                                            C. ÿ  !
                                                                  T.-C. >?ÿAB     CDEFGÿH“High-Q
                                                                             Nguyen,          KBJÿs        VHF ÿ    <6  =N<&=h'6=ÿ=contour-mode
                                                                                                                        micromechanical                 N'ON$TVMEÿMdiskKX~ÿLresonators,”
                                                                                                                                                                                      EXVFSYVLXGZÿ
           [Technical
               \]^_`]abÿDigest,dè\fg8ÿiIEEE  jjjÿiInt.'O!ÿj       &=ON'ÿ;&
                                                                 Electron             56=&Pÿ:&
                                                                                 Devices                 &O6'#8ÿkSan'ÿFrancisco,
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      /(+2ÿr!
            W.-T.!     ÿsP
                         Hsu,$ 8ÿ9J.!ÿ4!
                                      R. ÿ   8ÿand'7ÿ!
                                           Clark,               C. ÿ !
                                                                     T.-C. >?ÿNguyen,
                                                                                ABCDEFGÿH“Mechanically   EUJSFKUSWWDÿYtemperature
                                                                                                                              ET}ELSYCLEÿUcompensatedVT}EFXSYEMÿ{flexural-mode
                                                                                                                                                                         WECLSW<N7&ÿ<6           mi-
           Ucromechanical
              LVTEUJSFKUSWÿLresonators,” EXVFSYVLXGZÿ[Tech.      \]^uÿDigest,
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            Dec.=   !ÿ/11-13,
                         //p8ÿ*2000, +++8ÿpp.QQ!ÿp399-402.
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    .[151]
      /(/2ÿ9J.-B.
              !!ÿwN  Yoon N'ÿand'7ÿ! C. ÿ !  >?ÿNguyen,
                                             T.-C.     ABCDEFGÿH“AtÿJhigh-Q      KBJÿOtunable$'&ÿ<6          =N<&=h'6=ÿ=capacitor
                                                                                                            micromechanical                Q=6ONÿm6     withOhÿ<N   5&ÿ7dielectric
                                                                                                                                                                   movable          6&&=O6=ÿlforNÿ
           
            RF ÿ   Sapplications,”
                      }}WKUSYKVFXGZÿ[Technical \]^_`]abÿDigest, dè\fg8ÿiIEEE   jjjÿiInt.'O!ÿj         &=ON'ÿ;&
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           /11-13,
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            K. ÿ  r
                  Wang,  '#8ÿ!A.-C. !ÿrNWong, '#8ÿand'7ÿ!   C. ÿ !
                                                                     T.-C. >?ÿNguyen,
                                                                                ABCDEFGÿH“VHF       |ÿ{free-free
                                                                                                                LEEl&&ÿbeam   &<ÿhhigh-O
                                                                                                                                          6#hÿ<6          =NTEUJSFKUSWÿLresonators,”
                                                                                                                                                      micromechanical                EXVFSYVLXGZÿ
           ÿJ.uÿMicroelectromech.
           IEEE/ASME                   `]\b\]g\]^uÿSyst.,             fg!8ÿvol.
                                                                                     5N!ÿv9,8ÿ'no.N!ÿp3,8ÿQpp.Q!ÿp347-360,
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      /(p2ÿ!
            C. ÿ !
                 T.-C.  >?ÿNguyen,
                            ABCDEFGÿH“Micromechanical
                                                 KULVTEUJSFKUSWÿUcircuits        KLUCKYXÿ{forVLÿUcommunication
                                                                                                        VTTCFKUSYKVFÿYtransceivers
                                                                                                                                 LSFXUEKELXÿ(invited),”
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           6   QN)6:kÿ6
            Bipolar/BiCMOS                      =$6OPÿand'7ÿ&
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                                                                    Technology                   &O6'#ÿ(BCTM),
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           *2000,
              +++8ÿpp.QQ!ÿ/142-149.
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            C. ÿ !
                  T.-C. >?ÿNguyen,
                            ABCDEFGÿH“Micromechanical
                                                 KULVTEUJSFKUSWÿUcircuits        KLUCKYXÿ{forVLÿwireless KLEWEXXÿUcommunications
                                                                                                                       VTTCFKUSYKVFXÿ(invited      KFKYEMÿ}plenary),”
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              +++ÿj$       NQ&'ÿkSolid-State
                       European            N67kOO&ÿ;&     Device 56=&ÿ4&      P&=hÿN
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            C. ÿ !
                 T.-C.  >?ÿNguyen,
                            ABCDEFGÿH“Transceiver
                                              ILSFXUEKELÿ{front-end  LVFY&'7ÿarchitectures
                                                                                       =h6O&=O$&Pÿusing      $P6'#ÿhhigh-Q
                                                                                                                           6#hÿTK        ULVTEUJSFKUSWÿLresonators
                                                                                                                                     micromechanical                 EXVFSYVLXÿ(invited),”
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           Proceedings,               jjjÿj$       NQ&'ÿ:i
                                               European           MIDAS;kÿrN         PhNQ8ÿ¡'
                                                                                 Workshop,                  65&P6O%ÿNoflÿkSurrey,
                                                                                                        University              $&%8ÿ¡'  United 6O&7ÿ6    '#7N<8ÿ9July$%ÿ/17-18,
                                                                                                                                                        Kingdom,                   q/o8ÿ*2000.  +++!ÿ
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            C. T.-C. Nguyen, “Communication architectures based on high-Q MEMS devices (invited),” Workshop P&  7 ÿ N 'ÿ h6 # h  ÿ       ¢       £ ÿM E   KUE Xÿ KF  KYE M GZ  ÿ¤    ¥ f ^¦ÿ
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            Microwave               %<QNP6$<8ÿ'              h&6<8ÿ
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                                                                            California,           $'&ÿ/16,18ÿ*2000.+++!ÿ
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                 Pacheco,          L. ÿ̈!
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                                            B. ÿ    O&h68ÿand'7ÿ!
                                                Katehi,                 C. ÿ !
                                                                             T.-C.>?ÿNguyen,
                                                                                       ABCDEFGÿH“Design     ©EXKBFÿVof{ÿWlowV ÿSactuation
                                                                                                                                     UYCSYKVFÿvoltage  VWYSBEÿ  RF ÿ MEMS¢ £ÿXswitches,”KYUJEXGZÿ
           ]\\`_ef8ÿiIEEE
           Proceedings,               jjjÿ: MTT-Skÿ        iInternational
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                 D. ÿ     ''N'ÿiIII,ii8ÿ9J.!ÿ4!
                         Bannon                  R. ÿ     8ÿand'7ÿ!
                                                        Clark,               C. ÿ  !  >?ÿNguyen,
                                                                                   T.-C.      ABCDEFGÿH“High      KBJÿ{frequency
                                                                                                                             LEªCEFUDÿTK           ULVTEUJSFKUSWÿ{filters,”
                                                                                                                                              micromechanical                KWYELXGZÿIEEEÿJ.uÿ
           b̀«gag\ÿ¬`
           Solid-State               ]­g̀f®ÿ°vol.±²³ÿ,35,´®ÿµno.±³ÿ¶4,®ÿpp.··³ÿ́¸
                                 Circuits,                                            -¹´-º®ÿ»·
                                                                                  512-526,          April ¼½²ÿ-2000.
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      /(v2ÿ!
            C. ÿ  !
                  T.-C. >?ÿNguyen,
                            ABCDEFGÿH“Micromechanical
                                                  KULVTEUJSFKUSWÿUcircuits        KLUCKYXÿ{forVLÿUcommunications
                                                                                                          VTTCFKUSYKVFXÿ(invited),”KFKYEMGZÿProceedings,
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           lference
              &&'=&ÿNon'ÿs6      High#hÿ;&      'P6O%ÿiInterconnect
                                             Density           'O&=N''&=Oÿand'7ÿkSystems      %PO&<Pÿ¨Packaging, =#6'#8ÿ;&          '5&8ÿN
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           QQ!ÿ/112-117.
           pp.        /*//q!ÿ
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      /1+2ÿ!
            K. ÿ   r
                   Wang   '#ÿand'7ÿ!   C. ÿ !
                                              T.-C.>?ÿNguyen,
                                                          ABCDEFGÿH“High-order KBJVLMELÿTE                 MKCTÿ{frequency
                                                                                                       medium           LEªCEFUDÿTK           ULVTEUJSFKUSWÿEelectronic
                                                                                                                                        micromechanical                  WEUYLVFKUÿ{filters,”
                                                                                                                                                                                            KWYELXGZÿ
           ÿJ.uÿMicroelectromech.
           IEEE/ASME                   `]\b\]g\]^uÿSyst.,             fg!8ÿ5vol.N!ÿo8,8ÿ'no.N!ÿ04,8ÿQpp.Q!ÿ(534-557,
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      /1/2ÿ9J.!ÿr!
                W. ÿ   r&   6#N78ÿA.-C.
                       Weigold,        !!ÿrN   Wong,   '#8ÿ! C. ÿ!
                                                                     T.-C. >?ÿAB    CDEFGÿSandFMÿ£S.?ÿ¿?
                                                                               Nguyen,                       W. ÿ  ÀPang,
                                                                                                                      SFBGÿH“AtÿTE    LBEMÿprocess
                                                                                                                                  merged         }LVUEXXÿ{forVLÿYthick
                                                                                                                                                                    JKU~ÿXsingle
                                                                                                                                                                              KFBWEÿUcrystal
                                                                                                                                                                                         LDXYSWÿ£SiKÿ
           Lresonators
              EXVFSYVLXÿSandFMÿUconventional
                                          VFEFYKVFSWÿÁK             > Â£ÿ>K
                                                                  BICMOS               LUCKYLDGZÿIEEE/ASME
                                                                                    Circuitry,”            ÿJ.uÿMicroelectromech.
                                                                                                                                     `]\b\]g\]^uÿSyst.,           fgu8ÿ5vol.N!ÿo8,8ÿ'no.N!ÿp3,8ÿ
           QQ!ÿ*221-228,
           pp-        */**o8ÿkSept.   &QO!ÿ/1999.
                                               vvv!ÿ(8oÿpages)
                                                              Q#&Pÿ
    .[162]
      /1*2ÿ!
            C. ÿ !
                  T.-C. >?ÿNguyen,
                            ABCDEFGÿH“Frequency-selective
                                              LEªCEFUDP&&=O65&ÿ:j:k               MEMS ÿ         lforNÿ<6   '6O$6n&7ÿlow-power
                                                                                                           miniaturized          Nm QNm&ÿ=communication
                                                                                                                                                       N<<$'6=O6N'ÿ7devices     &56=&Pÿ(invit-
                                                                                                                                                                                              6'56O
           Eed),”
              MGZÿIEEE ÿ[Trans.a_fuÿ`     ]ÃaÄ\ÿ[Theory
                                             Microwave               ^\ÿ[Tech.,\]^!8ÿ5vol.N!ÿ047,q8ÿ'no.N!ÿo8,8ÿQpp.Q!ÿ/1486-1503,
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      /1p2ÿ!
            C. ÿ  !
                  T.-C. >?ÿNguyen,
                            ABCDEFGÿH“Micromechanical
                                                  KULVTEUJSFKUSWÿUcomponents      VT}VFEFYXÿ{forVLÿTK               FKSYCLKEMÿWlow-power
                                                                                                               miniaturized          V QNm&ÿ=communicationsN<<$'6=O6N'Pÿ(invited),” 6'56O&7GZÿ
           ]\\`_ef8ÿ/1999
           Proceedings,                vvvÿiIEEEjjjÿ:   MTT-Skÿ        iInternational
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                                                                                                 Microwave                %<QNP6$<ÿ4        RF ÿ   :j:k
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           lectromechanical
             &=ON<&=h'6=ÿ;&                 56=&PÿlforNÿ4
                                            Devices                 RF ÿ   kSystems:
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                                                                                                           Construction,              666O%8ÿand'7ÿQ
                                                                                                                                  Reliability,                      Q6=O6N'8ÿ'
                                                                                                                                                                Application),               h&6<8ÿ
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               6lN'68ÿ9June
            California,           $'&ÿ/18,o8ÿ/1999,
                                                 vvv8ÿQpp.Q!ÿ048-77.oqq!ÿ
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           A.-C.  !ÿrN Wong,'#8ÿ9J.!ÿ4!R. ÿ  8ÿand'7ÿ!
                                             Clark,              C. ÿ!
                                                                     T.-C. >?ÿNguyen,
                                                                                ABCDEFGÿH“Anneal-activated,
                                                                                                  tFFESWSUYKSYEMGÿYtunable,       CFSRWEGÿÆ68MHz   Ç ÿTK        ULVTEUJSFKUSWÿ{filters”
                                                                                                                                                               micromechanical               KWYELXZÿ
           dè\fgÿofÈÿ[Technical
           Digest                \]^_`]abÿPapers,a¦\f8ÿ/10"+OhÿiInternational
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   Curriculum     ÿ
               Vitae                                                                  ÿT-C.!ÿ"#
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                                                            CURRICULUM 7389 ÿ(Extended)
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           -Japan,
              .'/ÿ-June   $'&ÿ07-10,1+/ÿ11999,  222/ÿ.pp..!ÿ11390-1393.
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      15(6ÿ8!
            W.-T.!     ÿ9:
                          Hsu,$    /ÿ;S.!ÿ<&
                                           Lee,& /ÿand'=ÿ! C. ÿ !
                                                                  T.-C.!ÿNguyen,
                                                                            >?@ABCDÿF“InGHÿsitu     JKLMÿlocalized
                                                                                                              NOPQ&=ÿannealing
                                                                                                                               ''&P'#ÿRforNÿOcontamination
                                                                                                                                                     N'STP'SPN'Spÿÿresistance
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           Uhanced
               VCWBXÿYstabilityZV[\]\ZAÿ\inCÿCnickel \W^B]ÿ_\       W`a_BWUVC\WV]ÿ̀resonators,”
                                                                micromechanical                 BYaCVZa`YDbÿDigest   cKdeJLÿfofgÿhTechnical
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           Rference
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                                                                               Actuators,             &'=P/ÿ-Japan,.'/ÿ-June $'&ÿ07-10,1+/ÿ11999,
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      1556ÿ-J.!ÿ
                CaoN     ÿand'=ÿ! C. ÿ !
                                         T.-C.stÿ>?       @ABCDÿF“Drive
                                                    Nguyen,           u`\vBÿw_x  Amplitude]\Z@XBÿuB        xBCXBCWBÿaofyÿz\
                                                                                                     Dependence                       W`a_BWUVC\WV]ÿ{B
                                                                                                                                  Micromechanical                YaCVZa`ÿ|Series
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           {B    Y\YZVCWBDbÿDigest
            Resistance,”               cKdeJLÿfofgÿhTechnicaleijHKiklÿPapers,
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               &'=P/ÿ-Japan,  .'/ÿ-June   $'&ÿ07-10,1+/ÿ11999, 222/ÿpp...!ÿ11826-1829.
                                                                                  }*51}*2!ÿ
    4[167]
      1506ÿ~!
            V. ÿ <!
                 L. ÿ       P'NPOp/ÿ!
                        Rabinovich,              M. ÿ   &    :p.'=&/ÿ-J.!ÿ!
                                                        Deshpande,              R. ÿ  P  &S/ÿ!
                                                                                      Gilbert,       M.-A.   r!ÿ&    SPS/ÿN."!ÿ=de&ÿN
                                                                                                                  Getillat,                  NP/ÿ-J.!ÿ!
                                                                                                                                          Rooij,      R. ÿ  /ÿand'=ÿ!
                                                                                                                                                           Clark,           C. ÿ !  !ÿNguyen,
                                                                                                                                                                                 T.-C.    "#$%&'/ÿ
           F“Prediction
              `BX\WZ\aCÿaofyÿ_a          mode  XBÿyfrequency
                                                        `B@BCWAÿYshifts  U\yZYÿXdue@BÿZtoaÿBelectrostatic
                                                                                                 ]BWZ̀aYZVZ\Wÿ[bias,”   \VYDbÿDigest
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      15}6ÿ!
            T. ÿ !
                 C. ÿ   "N'/ÿ8!
                        Nolan,          W. ÿ  !
                                              E. ÿ ;Stark,
                                                      S/ÿand'=ÿ!  C. ÿ !
                                                                            T.-C.stÿNguyen,
                                                                                       >?@ABCDÿF“Direct   u\`BWZÿXdown  aCÿWconversion
                                                                                                                                   aCvB`Y\aCÿaofyÿpassband
                                                                                                                                                      xVYY[VCXÿYsignals\?CV]Yÿ@usingY\C?ÿzz|
                                                                                                                                                                                            MEMS ÿ
           Rfilters
              PS&:ÿand'=ÿ:sub-sampling,”
                                     $YV_x]\C?DbÿProceedings,   mofieeKHdJ/ÿSthep&ÿ;Spring      .P'#ÿ11999   222ÿqIEEE
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            TX, ÿ    
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                                    512/ÿ11999, 222/ÿ.pp..!ÿ11896-1899.
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    4[169]
      1526ÿ!
            C. ÿ !
                  T.-C.  stÿ>?  Nguyen@ABCÿVandCXÿ{t      R. ÿ  t
                                                                T. ÿ a
                                                                     Howe,BDÿF“AnwCÿ\integrated
                                                                                            CZB?`VZBXÿsz|      CMOS ÿ       _\   W`a_BWUVC\WV]ÿ`resonator
                                                                                                                             micromechanical              BYaCVZa`ÿUhigh-Q\?Uÿaoscillator,”
                                                                                                                                                                                        YW\]]VZa`Dbÿ
           GÿJ.ÿSolid-State
           IEEE                  flKLkLeÿK           oiMKLJ/ÿvol.ÿ,34,¡¢ÿno.£ÿ¡4,¢ÿpp.¤¤ÿ¡440-455,
                                                     Circuits,                                         ¡¥¦¡§§¢ÿ̈¤      April©ªÿ«1999.
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    4[170]
      10+6ÿ!
            C. ÿ !
                 T.-C.  stÿNguyen,
                                >?@ABCDÿF“Micromechanical
                                                    z\W`a_BWUVC\WV]ÿyfilters          \]ZB`Yÿyfora`ÿ_\        C\VZ@`\­BXÿ]low-power
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           mG®ÿ;Smart
           SPIE:            TSÿ;Structures
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                                                                    Materials           ;TSÿ       &OSN'PO:ÿand'=ÿ;
                                                                                                    Electronics                   MEMS),    /ÿNewport
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           11-5,(/ÿ11999,
                        222/ÿ.pp..!ÿ(55-66. (55!ÿ
    4[171]
      1016ÿ!
            C. ÿ !
                  T.-C.  !ÿNguyen,
                                "#$%&'/ÿr!       A.-C.   !ÿ8N Wong, '#/ÿand'=ÿ9!H. ÿ   P
                                                                                         Ding,'#DÿF“Tunable,
                                                                                                       @CV[]BDÿYswitchable,
                                                                                                                          \ZWUV[]BDÿUhigh-Q  \?Uÿ~9±  VHF ÿ   TP   ON&&OSNT&Op'POÿ
                                                                                                                                                                microelectromechanical
           [VCXxVYYÿyfilters,”
           bandpass                \]ZB`YDbÿDigest
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           ±Francisco,
               'OP:ON/ÿ              PRN'P/ÿ±Feb.&!ÿ115-17,
                                    California,                     (10/ÿ11999, 222/ÿpp...!ÿ078-79,
                                                                                                  }02/ÿ448.}!ÿ
    4[172]
      10*6ÿ²!
            K. ÿ 8
                  Wang,   '#/ÿ³!   Y. ÿ  ³$
                                         Yu, / ÿr!
                                                A.-C.   !ÿ8N Wong,'#/ÿand'=ÿ! C. ÿ  !
                                                                                       T.-C.stÿNguyen,
                                                                                                  >?@ABCDÿF“VHF     ´µÿyfree-free
                                                                                                                                `BBR&&ÿbeam  &Tÿphigh-O
                                                                                                                                                        P#pÿTP       ONT&Op'POÿreso-
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           Cnators,”
               VZa`YDbÿhTechnicaleijHKiklÿDigest, cKdeJL¶ÿ112%*SpÿqInternational
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                                                                                                                                                                                         Orlando,
           ±Florida,
               NP=/ÿ-Jan.'!ÿ117-21,   0*1/ÿ11999,  222/ÿpp...!ÿ453-458.
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    4[173]
      1036ÿr!
            A.-C. !ÿ8N  Wong,   '#/ÿ9!  H. ÿ P  '#/ÿand'=ÿ!
                                              Ding,               C. ÿ !
                                                                       T.-C.stÿNguyen,
                                                                                >?@ABCDÿF“Micromechanical
                                                                                                    z\W`a_BWUVC\WV]ÿ_\                  ·B`¸y\]ZB`YDbÿhTechnical
                                                                                                                                    mixer+filters,”          eijHKiklÿDigest,
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              &OSN'ÿ&
            Electron                  PO&:ÿ&
                                 Devices         Meeting,&SP'#/ÿ;San'ÿ±Francisco,
                                                                              'OP:ON/ÿ            PRN'P/ÿ&
                                                                                                 California,          Dec.O   !ÿ56-9,2/ÿ11998,
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           ÂÄ   ÅÅ»ÁÆÿ
            winner)
    4[174]
      106ÿ8!
            W.-T.!     ÿ9:
                          Hsu$     ÿand'=ÿ!C. ÿ !
                                                  T.-C. stÿNguyen,
                                                               >?@ABCDÿF“Geometric
                                                                               ÇBa_BZ̀\WÿYstress     Z̀BYYÿWcompensation
                                                                                                                  a_xBCYVZ\aCÿyfora`ÿBenhanced CUVCWBXÿZthermal
                                                                                                                                                              UB`_V]ÿYstability
                                                                                                                                                                           ZV[\]\ZAÿ\inCÿ_\      W`aÈ
                                                                                                                                                                                             micro-
           _B    WUVC\WV]ÿ̀resonators,”
            mechanical                 BYaCVZa`YDbÿProceedings,
                                                              mofieeKHdJ/ÿ11998       22}ÿqIEEE ÿqInternational
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                                                                                                                                  Ultrasonics         %T.N:P$T/ÿ;Sendai,  &'=P/ÿ-Japan,
                                                                                                                                                                                       .'/ÿO  Oct.S!ÿ
           (5-8,}/ÿ11998,
                        22}/ÿ.pp..!ÿ2945-948.
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    4[175]
      10(6ÿ!
            C. ÿ !
                 T.-C.  stÿNguyen,
                               >?@ABCDÿF“Micromachining
                                                 z\W`a_VWU\C\C?ÿZtechnologies    BWUCa]a?\BYÿyfora`ÿ_\             C\VZ@`\­BXÿWcommunication
                                                                                                                miniaturized           a__@C\WVZ\aCÿXdevices   Bv\WBYÿÊ(invited
                                                                                                                                                                           \Cv\ZBXÿplenary),”
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           Proceedings                      mG®ÿP           ONTOpP'P'#ÿand'=ÿP
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                                                                                                                                         Clara,       PRN'P/ÿ;Sept.
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           *24-38.
               3}!ÿ
    4[176]
      1056ÿ!
            C. ÿ !
                 T.-C.  !ÿNguyen,
                               "#$%&'/ÿ<!       L. ÿ  ÌP.B.!°!ÿ²    S&pP/ÿand'=ÿt
                                                                Katehi,             G. ÿ  zt
                                                                                           M. ÿ  {B   [B\­DÿF“Micromachined
                                                                                                 Rebeiz,          z\W`a_VWU\CBXÿXdevices       Bv\WBYÿyfora`ÿ\   `B]BYYÿWcommunications
                                                                                                                                                              wireless        a__@C\WVZ\aCYÿ
           Ê(invited),”
              \Cv\ZBXËDbÿProc.      mofiÿIEEE,G¶ÿvol.N!ÿ}86,5/ÿ'no.N!ÿ}8,/ÿ.pp..!ÿ11756-1768,
                                                                                              0(5105}/ÿr$         Aug.#  !ÿ11998.
                                                                                                                              22}!ÿ(1313ÿpages)
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    4[177]
      1006ÿ!
            C. ÿ !
                 T.-C.  stÿNguyen,
                               >?@ABCDÿF“Communications
                                                 sa__@C\WVZ\aCYÿVapplications      xx]\WVZ\aCYÿaofyÿ_\            W`aB]BWZ̀a_BWUVC\WV]ÿYsystems
                                                                                                              microelectromechanical                  AYZB_YÿÊ(invited),”
                                                                                                                                                                   \Cv\ZBXËDbÿProceedings,
                                                                                                                                                                                    mofieeKHdJ/ÿ
           ;Sensors
               &':N:ÿÍ      Expo, .N/ÿ;San'ÿ-Jose,N:&/ÿ      PRN'P/ÿ
                                                               California,      May%     ÿ*20,+/ÿ11998,
                                                                                                   22}/ÿpp...!ÿ447-455.
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    4[178]
      10}6ÿ<!
            L. ÿ  ÌP.B.!°!ÿ²        S&pP/ÿ!
                               Katehi,         G. ÿ   !
                                                      M. ÿ    &  &PQ/ÿand'=ÿ!
                                                              Rebeiz,                C. ÿ  !
                                                                                           T.-C.stÿNguyen,
                                                                                                       >?@ABCDÿF“MEMS     zz|ÿVandCXÿ|Si-micromachined
                                                                                                                                                 \TPONTOpP'&=ÿOcomponents     NT.N'&'S:ÿRforNÿ
           low-power,
             N¯ .N¯&/ÿphigh-frequency   P#py`B@BCWAÿWcommunications a__@C\WVZ\aCYÿYsystems         AYZB_YÿÊ(invited),”
                                                                                                                    \Cv\ZBXËDbÿProceedings,
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           P    ON¯&ÿ;Symposium,
            Microwave                    %T.N:P$T/ÿ°              SPTN&/ÿ
                                                               Baltimore,               %'=/ÿ-June
                                                                                 Maryland,             $'&ÿ07-12,1*/ÿ11998,22}/ÿ.pp..!ÿ3331-333.
                                                                                                                                            31333!ÿ
    4[179]
      1026ÿ;S.!ÿÌPacheco,
                    Op&ON/ÿ!        C. ÿ  !
                                            T.-C.stÿNguyen,
                                                        >?@ABCDÿVandCXÿÎt     L. ÿ P. tÿÏt
                                                                                         B. ÿ  ÐV   ZBU\DÿF“Micromechanical
                                                                                               Katehi,           z\W`a_BWUVC\WV]ÿBelectrostatic]BWZ̀aYZVZ\WÿÐK-band  [VCXÿYswitches,”
                                                                                                                                                                                \ZWUBYDbÿPro-   mof
           iceedings,
              eeKHdJ/ÿqIEEE        ÿ   MTT-S;ÿ         qInternational
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                                                                                     Microwave                 %T.N:P$T/ÿ°            SPTN&/ÿ
                                                                                                                                   Baltimore,            %'=/ÿ-June
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           11569-1572.
               (521(0*!ÿ¹(Judges       ÑÒÃÓ»¼ÿÀaward     ÂÀÁÃÿÂÄ       ÅÅ»ÁÆÿ
                                                                   winner)
    4[180]
      1}+6ÿ!   ÿ !     st    ÿ >?    @ A B C Dÿ
            C. T.-C. Nguyen, “Frequency-selective F  µ  `B   @ B C W A  YB]BWZ\vBÿzz|   MEMS ÿ         yfora`ÿ_\   C\VZ@`\­BXÿWcommunication
                                                                                                                 miniaturized            a__@C\WVZ\aCÿXdevices    Bv\WBYÿÊ(invited),”
                                                                                                                                                                               \Cv\ZBXËDbÿmo     Pro-f
           iceedings,
              eeKHdJ¶ÿÔ1998        22}ÿqIEEE ÿr&          N:.O&ÿN
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                                                                            Conference,             'N¯T::/ÿN              N=N/ÿ
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                                                                                                                                         March       1*}/ÿ11998,22}/ÿpp...!ÿ445-460.
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    4[181]
      1}16ÿ!
            C. ÿ !
                 T.-C.  stÿNguyen,
                               >?@ABCDÿF“Micromechanical
                                                   z\W`a_BWUVC\WV]ÿXdevices           Bv\WBYÿyfora`ÿ\         `B]BYYÿWcommunications
                                                                                                        wireless           a__@C\WVZ\aCYÿÊ(invited   \Cv\ZBXÿxplenary),”
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            K. ÿ 8
                 Wang,   '#/ÿ±F. !ÿ!  D. ÿ °  ''N'ÿqIII,qq/ÿ-J.!ÿR. !ÿ
                                            Bannon                            /ÿand'=ÿ!
                                                                           Clark,             C. ÿ !
                                                                                                   T.-C.stÿNguyen,
                                                                                                               >?@ABCDÿF“Q-enhancement
                                                                                                                                &'p'O&T&'SÿNofRÿTP            ONT&Op'POÿRfilters
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           low-velocity
             N¯ vB]aW\ZAÿYspring          x`\C?ÿWcoupling,”
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            K. ÿ ?
                 Wang, '#2ÿ@!    !ÿ?1
                             A.-C.    Wong,  '#2ÿ?!  W.-T.!    ÿAB
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                                                                                 C. ÿ !
                                                                                      T.-C.CDÿNguyen,
                                                                                              FGHIJKLÿM“Frequency-trimming
                                                                                                                 NOJPHJKQI/0RR0'#ÿand'3ÿSQ-factor              T4/1ÿ&enhancement
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           VW    QOXVJQYZKWQZ[ÿOresonators
            micromechanical                J\XKZ]XO\ÿ^viaWZÿ[localized XQZ[W_J`ÿafilamentW[ZVJK]ÿZannealing,”
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                R. ÿ   2ÿ@!
                     Clark,    A.-C. !ÿ?1Wong,   '#2ÿand'3ÿ!  C. ÿ!
                                                                     T.-C. CDÿFG      HIJKLÿM“Parallel-resonator
                                                                                 Nguyen,          {ZOZ[[J[OJ\XKZ]XOÿ|N           HF ÿ  }W  QOXVJQYZKWQZ[ÿ~Z
                                                                                                                                       Micromechanical                    K`Z\\ÿNFilters,”
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      65(<ÿ!
            C. ÿ  !
                  T.-C.!ÿNguyen,
                            "#$%&'2ÿM“High-Q  |WGYSÿVW              QOXVJQYZKWQZ[ÿXoscillators
                                                                micromechanical                  \QW[[Z]XO\ÿZandK`ÿafilters W[]JO\ÿaforXOÿQcommunications
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           mceedings,
              ffdoeg2ÿ61997  778ÿuIEEEÿuInt.'/!ÿvSymposium
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            K. ÿ  ?
                  Wang '#ÿand'3ÿ!C. ÿ !
                                         T.-C.CDÿFG         HIJKLÿM“High-order
                                                      Nguyen,          |WGY13&ÿR0             41R&4U'04ÿ&electronic
                                                                                            micromechanical                  &4/1'04ÿTfilters,”
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                 D. ÿ    ''1'ÿuIII,uu2ÿwJ.!ÿz!
                      Bannon                     R. ÿ     2ÿand'3ÿ!
                                                       Clark,              C. ÿ  !
                                                                                 T.-C.CDÿNguyen,
                                                                                           FGHIJKLÿM“High    |WGYÿafrequency
                                                                                                                         OJPHJKQIÿVW        QOXJ[JQ]OXVJQYZKWQZ[ÿIFNÿafilters,”
                                                                                                                                        microelectromechanical                          W[]JO\Lbÿ
           lTechnical
               fmnodmpqÿDigest,
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      655<ÿ!
            C. ÿ !
                 T.-C.CDÿNguyen,
                           FGHIJKLÿM“Micromechanical
                                           }WQOXVJQYZKWQZ[ÿOresonators         J\XKZ]XO\ÿaforXOÿXoscillators
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           uInternational
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                                 Ultrasonics                %R91B0$R2ÿvSeattle,   &//&2ÿ?@2WA, ÿ     "1!ÿ87-10,6+2ÿ61995,
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            K. ÿ  !
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                                            Mastrangelo,              K. ÿ   "T02ÿand'3ÿ!
                                                                             Najafi,             C. ÿ  !
                                                                                                       T.-C.CDÿNguyen,
                                                                                                                 FGHIJKLÿM“ResearchJ\JZOQYÿWinKÿWintegrated
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                                                                    Michigan,”          cdefgh2ÿvSensors &'B1Bÿ  Expo, 912ÿU    04#12ÿuIl,2ÿvSept.
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      67+<ÿwJ.!ÿM. !ÿ$    B/012ÿ!
                      Bustillo,     G. ÿ  >!
                                          K. ÿ   Fedder,
                                                    &33&2ÿ!    C. ÿ!
                                                                     T.-C. CDÿNguyen,
                                                                                FGHIJKLÿZandK`ÿD       R. ÿ D
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                              CMOS ÿ       ZandK`ÿpolysilicon
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                                                                           microstructures,”               dmtjgghfÿlTechnologies,
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      676<ÿ!
            C. ÿ !
                 T.-C.CDÿNguyen,
                           FGHIJKLÿM“Micromechanical
                                           }WQOXVJQYZKWQZ[ÿSignal              WGKZ[ÿ{Processors,”
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                  T. ÿA1
                      Howe  &ÿand'3ÿ! C. ÿ  !
                                               T.-C.  CDÿNguyen,
                                                            FGHIJKLÿM“Micromechanical
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           Qcessing
              J\\WKGÿ(invited),”
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            C. ÿ !   CDÿNguyen
                  T.-C.     FGHIJKÿZandK`ÿD        R. ÿ  D
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                                                               Howe,JLÿM“Polysilicon
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            C. ÿ !
                 T.-C.CDÿNguyen
                            FGHIJKÿZandK`ÿD       R. ÿ  D
                                                         T. ÿ  |X  JLÿM“Design
                                                               Howe,          J\WGKÿZandK`ÿperformance
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                                                                                                                              monolithic       CMOS ÿ         VW   QOXVJQYZKWQZ[ÿOreso-
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           Knator
               Z]XOÿXoscillators,”
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            C. ÿ !
                 T.-C.!ÿNguyen
                           "#$%JKÿZandK`ÿD       R. ÿ D
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                 T.-C.CDÿNguyen
                           FGHIJKÿZandK`ÿD        R. ÿ D
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                                                              Howe,JLÿM“Microresonator
                                                                             }WQOXOJ\XKZ]XOÿafrequency    OJPHJKQIÿQcontrol  XK]OX[ÿZandK`ÿ\stabilization
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           ]tuators
             HZ]XO\ÿ(Transducers’93),
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                                                          Yokohama,              ZZKLÿpp.Dÿ©1040-1043,
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            C. ÿ !
                 T.-C.CDÿNguyen
                          FGHIJKÿZandK`ÿD      R. ÿ  D
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                                                            Howe,JLÿM“Quality
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                              T.-C.CDÿNguyen,
                                        FGHIJKLÿD          R. ÿ D
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                                                                     Howe, JLÿZandK`ÿ®D  A. ÿ {P. Dÿ{Pisano,
                                                                                                        W\ZKXLÿM“Micro
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           *226-231,
               *x*:62ÿFeb.&!ÿy4-7,82ÿ61992. 77*!ÿ
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            C. ÿ !   CDÿNguyen
                  T.-C.     FGHIJKÿZandK`ÿD        R. ÿ  D
                                                          T. ÿ |X   JLÿM“Electromechanical
                                                                Howe,         ¯[JQ]OXVJQYZKWQZ[ÿQcharacterizationYZOZQ]JOW_Z]WXKÿXofaÿVW            QOXOJ\XKZ]XO\ÿaforXOÿQcircuit
                                                                                                                                              microresonators                       WOQHW]ÿZap-
           [WQZ]WXK\LbÿlTech.
           plications,”           fmn°ÿDig.,
                                          cde!2ÿMICRO      uz.ÿ±Program,
                                                                       1#R2ÿ61991.   776!ÿ
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      *++<ÿ!
            C. ÿ !
                 T.-C.CDÿNguyen,
                           FGHIJKLÿM“Electromechanical
                                            ¯[JQ]OXVJQYZKWQZ[ÿCY                     ZOZQ]JOW_Z]WXKÿXofaÿ}W
                                                                                Characterization                       QOXOJ\XKZ]XO\ÿaforXOÿCW
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                                              T.-C.LMÿNguyen,
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                                              T.-C. LMÿNguyen,
                                                         PQRSTUVÿ]“Low-voltage^[\ qr#&ÿ&electromechanical
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               Vitae                                                                   ÿT-C.!ÿ"#
                                                                                      Clark             $%&'ÿ
                                                                                                     Nguyen                                             (5/20/2022
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 182 of 598 PageID #: 1109

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                                                                CURRICULUM 7389 ÿ(Extended)
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     .[18]/01ÿ!
               C. ÿ   !
                      T.-C. 34ÿ67 Nguyen, 89:;<ÿ=“Method >&?@ABÿand'BÿCsubsystem   $DC%C?&EÿFforAÿGprocessing     AH&CCI'#ÿCsignals  I#'Cÿ$utilizing
                                                                                                                                                      ?IIJI'#ÿa ÿGplurality
                                                                                                                                                                          $I?%ÿAofFÿKvibrating
                                                                                                                                                                                             ID?I'#ÿEI         HA
                                                                                                                                                                                                            micro-
              L:      MNO;PMOQÿRdevices,”
               mechanical                    :SPM:T<UÿV4     U. ÿ  WS.4ÿXPatent
                                                                            OY:;Yÿ6Z No. 4ÿ[6,917,138,
                                                                                               <\]^<]_`<ÿPissued     TT8:RÿaJuly8Q9ÿ]12,b<ÿb2005. ccd4ÿ
     .[19]/e1ÿf!
               W.-T.!      ÿgC
                             Hsu,$  hÿiJ.!ÿj!R. ÿ     hÿand'Bÿ!
                                                   Clark,                C. ÿ !   34ÿNguyen,
                                                                               T.-C.   6789:;<ÿ=“Method    k:YNZRÿlforZmÿLO      making nP;7ÿLP      MmZL:MNO;PMOQÿTstructures
                                                                                                                                                 micromechanical                 Ym8MY8m:TÿNhaving
                                                                                                                                                                                                 OSP;7ÿOatYÿQleast:OTYÿ
              Zone;:ÿQlateral,
                           OY:mOQ<ÿTsmall    LOQQÿ7gapOoÿYtherebetween
                                                                  N:m:p:Yq::;ÿOand;RÿLP                    MmZL:MNO;PMOQÿRdevice
                                                                                                      micromechanical                       :SPM:ÿproduced
                                                                                                                                                       omZR8M:RÿYthereby,”N:m:p9<UÿV4    U. ÿ WS.4ÿXPatent
                                                                                                                                                                                                      OY:;YÿNo.   6Z4ÿ
              r6,846,691,
                 h0srhre/hÿIissued       CC$&BÿiJanuary '$%ÿ*25,(hÿ*2005.     ++(!ÿ
     .[20]*+1ÿ>!
               M. ÿ    t!
                       U. ÿ   u&   EIHIÿand'Bÿ!
                              Demirci                     C. ÿ !
                                                                T.-C.  !ÿ"#      $%&;<ÿ=“Filter-based
                                                                             Nguyen,           vPQY:mDC&BÿE&                ?@ABÿand'BÿCsystem
                                                                                                                        method                    %C?&EÿFforAÿE&        C$I'#ÿangular
                                                                                                                                                                   measuring           '#$ÿCspeedG&&BÿAofFÿan'ÿ
              Zobject,”
                 pw:MY<UÿV4     U. ÿ    WS.4ÿXPatent
                                                 OY:;Yÿ6Z  No. 4  ÿ[6,742,389,
                                                                       <^xb<_`\<ÿPissued TT8:RÿaJune     8;:ÿ]1,<ÿb2004.
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               W.-T.!      ÿgC
                              Hsu$   ÿand'Bÿ!   C. ÿ  !
                                                        T.-C.34ÿNguyen,
                                                                    6789:;<ÿ=‘“Micromechanical
                                                                                      kPMmZL:MNO;PMOQÿmresonator           :TZ;OYZmÿRdevice,”   :SPM:<UÿU.V4ÿWS.4ÿXPatent OY:;YÿNo.6Z4ÿ[6,739,190,
                                                                                                                                                                                           <^_\<]\c<ÿPissued   TT8:Rÿ
              >
               May%      ÿ*25,(hÿ*2004.
                                    ++s!ÿ
     .[22]**1ÿ!
               C. ÿ   !
                      T.-C. 34ÿ67 Nguyen, 89:;<ÿ=“Method k:YNZRÿOand;RÿOapparatus   ooOmOY8TÿlforZmÿlfiltering  PQY:mP;7ÿTsignals
                                                                                                                               P7;OQTÿ8utilizingYPQPyP;7ÿOa ÿSvibrating
                                                                                                                                                                  PpmOYP;7ÿLP        MmZL:MNO;PMOQÿreso-
                                                                                                                                                                                 micromechanical                m:TZz
              ;OYZm<UÿV4
              nator,”          U. ÿ WS.4ÿXPatent
                                               OY:;Yÿ6Z  No. 4  ÿ[6,713,938,
                                                                     <^]_<\_`<ÿPissued TT8:RÿkO      March mH@ÿ{30,+hÿ*2004.
                                                                                                                           ++s!ÿ
     .[23]*{1ÿ!
               C. ÿ   !
                      T.-C. !ÿNguyen,
                                  "#$%&'hÿ|"Method       >&?@ABÿand'Bÿapparatus   GG?$CÿFforAÿCselecting  &&H?I'#ÿat?ÿleast&C?ÿAone'&ÿBdesired&CI&BÿHchannel
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                                                                                                                                                                                    ?IIJI'#ÿa ÿbank
                                                                                                                                                                                                   D'ÿAofFÿvi-KI
              D?I'#ÿEI
              brating               HAE&H@'IHÿapparatus,"
                               micromechanical                         GG?$Ch|ÿt!     U. ÿ   }S.!ÿ~Patent
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               A.-C.  !ÿfA  Wong  '#ÿand'Bÿ!      C. ÿ !
                                                          T.-C. !ÿNguyen,
                                                                       "#$%&'hÿ|"Module >AB$&ÿand'BÿE&                ?@ABÿAofFÿE
                                                                                                                    method             making I'#ÿCsame,"
                                                                                                                                                        E&h|ÿt!  U. ÿ  }S.!ÿ~Patent
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                                                                                                                                                                                        "A!ÿr6,667,558
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              Iissued
                CC$&Bÿu&      Dec.H  !ÿ*23,{hÿ*2003.++{!ÿ
     .[25]*(1ÿiJ.!ÿj!R. ÿ    ÿand'Bÿ!
                           Clark                  C. ÿ !
                                                       T.-C.34ÿNguyen,
                                                                  6789:;<ÿ=“Micromechanical
                                                                                      kPMmZL:MNO;PMOQÿmresonator          :TZ;OYZmÿRdevice     :SPM:ÿOand;RÿLP     MmZL:MNO;PMOQÿRdevice
                                                                                                                                                               micromechanical                :SPM:ÿutilizing
                                                                                                                                                                                                         8YPQPyP;7ÿ
              Tsame,”
                 OL:<UÿU.V4ÿWS.4ÿXPatent       OY:;YÿNo. 6Z4ÿ[6,628,177,
                                                                     <[b`<]^^<ÿPissued TT8:RÿWSeptember:oY:Lp:mÿ_30,c<ÿb2003.     cc_4ÿ
     .[26]*r1ÿ!
               C. ÿ   !
                      T.-C. 34ÿNguyen,
                                  6789:;<ÿ=“Method       k&?@ABÿand'BÿCsubsystem   $DC%C?&EÿFforAÿprocessing   GAH&CCI'#ÿCsignals    I#'Cÿ$utilizing
                                                                                                                                                      ?IIJI'#ÿa ÿGplurality
                                                                                                                                                                          $I?%ÿAofFÿKvibrating
                                                                                                                                                                                             ID?I'#ÿEI         HA
                                                                                                                                                                                                            micro-
              L:      MNO;PMOQÿRdevices,”
               mechanical                    :SPM:T<UÿV4    U. ÿ   WS.4ÿXPatent
                                                                            OY:;YÿNo.6Z4ÿ[6,600,252,
                                                                                               <[cc<bdb<ÿPissued     TT8:RÿaJuly8Q9ÿb29,\<ÿb2003. cc_4ÿ
     .[27]*1ÿ!
               C. ÿ   !
                      T.-C. 34ÿNguyen,
                                  6789:;<ÿ=“Method       k:YNZRÿOand;RÿOapparatus   ooOmOY8TÿlforZmÿlfiltering  PQY:mP;7ÿTsignals
                                                                                                                               P7;OQTÿPin;ÿOa ÿTsubsystem
                                                                                                                                                       8pT9TY:LÿPincluding;MQ8RP;7ÿOa ÿopowerZq:mÿOamplifier
                                                                                                                                                                                                          LoQPlP:ÿ
              8YPQPyP;7ÿOa ÿbank
              utilizing              pO;nÿZoflÿSvibratingPpmOYP;7ÿLP             MmZL:MNO;PMOQÿOapparatus,”
                                                                           micromechanical                     ooOmOY8T<UÿV4     U. ÿ    WS.4ÿXPatent
                                                                                                                                                OY:;YÿNo.6Z4ÿ[6,593,831,
                                                                                                                                                                  <d\_<`_]<ÿPissued  TT8:RÿaJuly8Q9ÿ]15,d<ÿb2003.
                                                                                                                                                                                                                cc_4ÿ
               C. ÿ
     .[28]*01ÿ!      !
                      T.-C. 34ÿNguyen,
                                 6789:;<ÿ=“Method       k:YNZRÿOand;RÿOapparatus  ooOmOY8TÿlforZmÿ7generating
                                                                                                            :;:mOYP;7ÿOa ÿTsignal P7;OQÿNhaving  OSP;7ÿOatYÿQleast
                                                                                                                                                               :OTYÿZone;:ÿRdesired
                                                                                                                                                                                 :TPm:RÿZoutput
                                                                                                                                                                                            8Yo8Yÿlfrequency
                                                                                                                                                                                                       m:8:;M9ÿ
              $?IIJI'#ÿa ÿbank
              utilizing              D'ÿAofFÿKvibratingID?I'#ÿEI             HAE&HNO;PMOQÿRdevices,”
                                                                           micromechanical                     :SPM:T<UÿV4    U. ÿ WS.4ÿXPatent
                                                                                                                                             OY:;YÿNo.6Z4ÿ[6,577,040,
                                                                                                                                                               <d^^<cxc<ÿPissued  TT8:RÿaJune
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     .[29]*e1ÿ!
               A.-C.  !ÿfA  Wong  '#ÿand'Bÿ!      C. ÿ !
                                                          T.-C. 34ÿNguyen,
                                                                       6789:;<ÿ=“Method k:YNZRÿlforZmÿLO               nP;7ÿOa ÿLZ
                                                                                                                  making          module   R8Q:ÿPincluding
                                                                                                                                                    ;MQ8RP;7ÿOa ÿLP         MmZoQOYlZmL<UÿV4
                                                                                                                                                                       microplatform,”            U. ÿ WS.4ÿXPatent
                                                                                                                                                                                                                OY:;Yÿ
              "A!ÿr6,659,754,
              No.          hr(eh(shÿIissued       CC$&Bÿ>   May%      ÿ*27,hÿ*2003.
                                                                                  ++{!ÿ
     .[30]{+1ÿ
               Clark ÿ!  T.-C.34ÿNguyen,
                                          6789:;<ÿ=“Method     k:YNZRÿOand;RÿOapparatus ooOmOY8TÿlforZmÿTselecting    :Q:M?I'#ÿat?ÿleast   &C?ÿAone'&ÿBdesired
                                                                                                                                                              &CI&BÿHchannel
                                                                                                                                                                            @''&ÿutilizing
                                                                                                                                                                                       $?IIJI'#ÿa ÿDbank  'ÿAofFÿ
              Svibrating
                 PpmOYP;7ÿLP              MmZL:NO;PMOQÿOapparatus,”
                                   micromehanical                        ooOmOY8T<UÿV4    U. ÿ    WS.4ÿXPatent
                                                                                                          OY:;YÿNo.   6Z4ÿ[6,566,786,
                                                                                                                              <d[[<^`[<ÿPissued    TT8:RÿkO   May9  ÿb20,c<ÿb2003.
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     .[31]{/1ÿiJ.-B.
                 !!ÿA    Yoon A'ÿand'Bÿ!     C. ÿ !
                                                      T.-C.34ÿNguyen,
                                                                 6789:;<ÿ=“High-Q   P7N ÿLP              MmZL:MNO;PMOQÿRdevice
                                                                                                     micromechanical                      :SPM:ÿOand;RÿL:      YNZRÿZoflÿYtuning
                                                                                                                                                          method              8;P;7ÿTsame,”
                                                                                                                                                                                        OL:<UÿV4   U. ÿ WS.4ÿXPatent
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              "A!ÿr6,490,147,
              No.          hse+h/shÿIissued       CC$&Bÿu&   Dec.H    !ÿ{3,hÿ*2002.
                                                                                 ++*!ÿ
     .[32]{*1ÿ!
               C. ÿ   !
                      T.-C. 34ÿNguyen,
                                  6789:;<ÿ=“Method       k:YNZRÿOand;RÿOapparatus   ooOmOY8TÿlforZmÿ8upconvertingoMZ;S:mYP;7ÿOand;Rÿlfiltering    PQY:mP;7ÿOan;ÿPinformation
                                                                                                                                                                      ;lZmLOYPZ;ÿTsignal   P7;OQÿutilizing
                                                                                                                                                                                                     8YPQPyP;7ÿOa ÿ
              Svibrating
                 PpmOYP;7ÿLP              MmZL:MNO;PMOQÿRdevice,”
                                   micromechanical                          :SPM:<UÿV4 U. ÿ  WS.4ÿXPatent
                                                                                                       OY:;YÿNo.  6Z4ÿ[6,424,074,
                                                                                                                          <xbx<c^x<ÿPissued     TT8:RÿaJuly8Q9ÿb23,_<ÿb2002.
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     .[33]{{1ÿ!
               C. ÿ   !
                      T.-C. !ÿNguyen,
                                  "#$%&'hÿ>!           M. ÿ  >H      A$AB&hÿ!
                                                             McCorquodale,                 K. ÿ    f
                                                                                                   Wang,  '#hÿ=“Device
                                                                                                                     :SPM:ÿPincluding
                                                                                                                                  ;MQ8RP;7ÿOa ÿLP          MmZL:MNO;PMOQÿmresonator
                                                                                                                                                        micromechanical                :TZ;OYZmÿNhaving OSP;7ÿOan;ÿ
              Zoperating
                 o:mOYP;7ÿlfrequency m:8:;M9ÿOand;RÿL:            method YNZRÿZoflÿ:extending
                                                                                        Y:;RP;7ÿYtheN:ÿTsame,”       OL:<UÿV4  U. ÿ  WS.4ÿXPatent
                                                                                                                                               OY:;YÿNo.6Z4ÿ[6,249,073,
                                                                                                                                                                <bx\<c^_<ÿPissued  TT8:RÿaJune8;:ÿ]19,\<ÿb2001.cc]4ÿ
     .[34]{s1ÿ!
               K. ÿ   f
                       Wang   '#ÿand'Bÿ!     C. ÿ   !
                                                      T.-C.34ÿNguyen,
                                                                 6789:;<ÿ=“Method    k:YNZRÿOand;RÿTsystem        9TY:LÿlforZmÿQlocally
                                                                                                                                     ZMOQQ9ÿOannealing
                                                                                                                                                    ;;:OQP;7ÿOa ÿLP           MmZTYm8MY8m:ÿlformed
                                                                                                                                                                         microstructure           ZmL:RÿZon'ÿa ÿ
              Tsubstrate
                 8pTYmOY:ÿOand;RÿRdevice       :SPM:ÿlformedZmL:RÿYthereby,” N:m:p9<UÿV4   U. ÿ    WS.4ÿXPatent
                                                                                                           OY:;YÿNo.  6Z4ÿ[6,169,321,
                                                                                                                               <][\<_b]<ÿPissued   TT8:RÿaJan.O;4ÿb2,<ÿb2001cc]ÿ(new
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               K. ÿ   f
                       Wang   '#ÿand'Bÿ!     C. ÿ   !
                                                      T.-C.34ÿNguyen,
                                                                 6789:;<ÿ=“Method    k:YNZRÿOand;RÿTsystem        9TY:LÿlforZmÿQlocally
                                                                                                                                     ZMOQQ9ÿOannealing
                                                                                                                                                    ;;:OQP;7ÿOa ÿLP           MmZTYm8MY8m:ÿlformed
                                                                                                                                                                         microstructure           ZmL:RÿZon;ÿOa ÿ
              Tsubstrate
                 8pTYmOY:ÿOand;RÿRdevice       :SPM:ÿlformedZmL:RÿYthereby,” N:m:p9<UÿV4   U. ÿ    WS.4ÿXPatent
                                                                                                           OY:;YÿNo.  6Z4ÿd5,976,994,
                                                                                                                               <\^[<\\x<ÿPissued   TT8:RÿNov. 6ZS4ÿb2,<ÿ]1999. \\\4ÿ
     .[36]{r1ÿ!
               C. ÿ   !
                      T.-C. 34ÿNguyen
                                  6789:;ÿOand;Rÿ4            R. ÿ   4
                                                                     T. ÿ  Z
                                                                           Howe, q:<ÿ=“Q-controlled
                                                                                              HA'?A&BÿEI              HA&CA'?ACÿand'Bÿ?tunable
                                                                                                                     microresonators                       $'D&ÿ&electronic
                                                                                                                                                                           &H?A'IHÿFfilters
                                                                                                                                                                                           I?&Cÿ$using
                                                                                                                                                                                                      CI'#ÿCsuch  $H@ÿ
              mresonators,”
                 :TZ;OYZmT<UÿV4            U. ÿ  WS.4ÿXPatent
                                                         OY:;YÿNo.  6Z4ÿd5,955,932,
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              ?this@ICÿ?title;
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     .[37]{1ÿ!
               C. ÿ   !
                      T.-C. 34ÿNguyen,
                                  6789:;<ÿ4          V. ÿ 8     Y;Pn<ÿOand;Rÿ4
                                                            Gutnik,                 R. ÿ4
                                                                                        T. ÿ  Z
                                                                                               Howe,  q:<ÿ=“Mixing,
                                                                                                                 kPP;7<ÿLZ          R8QOYPZ;<ÿOand;RÿRdemodulation
                                                                                                                               modulation,                      :LZR$?IA'ÿKviaIÿE&            H@'IHÿres-&C
                                                                                                                                                                                            mechanical
              Zonators,”
                 ;OYZmT<UÿV4       U. ÿ    WS.4ÿXPatent
                                                    OY:;YÿNo.6Z4ÿd5,839,062,
                                                                          <`_\<c[b<ÿPissuedTT8:RÿNovember6ZS:Lp:mÿ]17,^<ÿ]1998.         \\`4ÿ
     .[38]{01ÿ!
               C. ÿ   !
                      T.-C. 34ÿNguyen,
                                 6789:;<ÿ4           L. ÿ P
                                                           Lin,;  <ÿ4R. ÿ  4
                                                                            T. ÿ Z  q:<ÿOand;Rÿ4
                                                                                 Howe,                A. ÿ  XP.4ÿXPisano,
                                                                                                                     PTO;Z<ÿ=“Microelectromechanical
                                                                                                                                 kPMmZ:Q:MYmZL:MNO;PMOQÿTsignal                 P7;OQÿprocessors,”
                                                                                                                                                                                        omZM:TTZmT<UÿV4        U. ÿ  WS.4ÿ
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                  ?&'?ÿ"A    No. !  ÿ(5,537,083,
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              @
               whole  A&ÿ'new&ÿCset&?ÿAofFÿHclaims.) IEC!ÿ
     .[39]{e1ÿ!
               C. ÿ   !
                      T.-C. 34ÿNguyen
                                  6789:;ÿOand;Rÿ4            R. ÿ   4
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                                                                           Howe, q:<ÿ=“Q-controlled
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                                                                                                                     microresonators                       $'D&ÿ&electronic
                                                                                                                                                                           &H?A'IHÿFfilters
                                                                                                                                                                                           I?&Cÿ$using
                                                                                                                                                                                                      CI'#ÿCsuch  $H@ÿ
              mresonators,”
                 :TZ;OYZmT<UÿV4            U. ÿ  WS.4ÿXPatent
                                                         OY:;YÿNo.  6Z4ÿd5,491,604,
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     .[40]s+1ÿ!
               C. ÿ   !
                      T.-C. !ÿNguyen,
                                 "#$%&'<ÿ4           L. ÿ P
                                                           Lin,;  <ÿ4R. ÿ  4
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                                                                                 Howe,                A. ÿ  XP. 4ÿXPisano,
                                                                                                                     PTO;Z<ÿ=“Microelectromechanical
                                                                                                                                 kPMmZ:Q:MYmZL:MNO;PMOQÿTsignal                 P7;OQÿprocessors,”
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               Vitae                                                                         ÿT-C.!ÿ"#
                                                                                            Clark             $%&'ÿ
                                                                                                           Nguyen                                                   (5/20/2022
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                                                                                                  0 Resonant switches w/ 60THz switch
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                          mechanical filters w/ low                         loss even
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(5/20/2022
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                         Exhibit A5
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                         Exhibit A6
John C. Bravman, Ph.D.                                                        8/12/2022
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                                                                                 Page 1

  1                 IN THE UNITED STATES DISTRICT COURT

  2                       FOR THE DISTRICT OF DELAWARE

  3     - - - - - - - - - - - - - - -                  X

  4     QORVO, INC.,                                   :

  5           Plaintiff,                               :

  6                    v.                              :   C.A. No.

  7     AKOUSTIS TECHNOLOGIES, INC.                    :   21-1417-JPM

  8     and AKOUSTIS, INC.,                            :

  9           Defendants.                              :

 10     - - - - - - - - - - - - - - -                  X

 11                                       Remote Deposition

 12                                       Friday, August 12, 2022

 13                    Deposition via Zoom of JOHN C. BRAVMAN,

 14    Ph.D., a witness herein, called for examination by

 15    counsel for Defendants in the above-entitled matter,

 16    pursuant to notice, the witness being duly sworn by

 17    MARY GRACE CASTLEBERRY, a Notary Public in and for

 18    the State of Maryland, taken at 9:02 a.m. EDT,

 19    Friday, August 12, 2022, and the proceedings being

 20    taken down by Stenotype by MARY GRACE CASTLEBERRY,

 21    RPR, and transcribed under her direction.

 22


                                   Scheduling@TP.One                     800.FOR.DEPO
                                      www.TP.One                          (800.367.3376)
John C. Bravman, Ph.D.                                                        8/12/2022
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 214 of 598 PageID #: 1141
                                                                                 Page 2

  1    APPEARANCES:

  2

  3           On behalf of the Plaintiff:

  4                    TREVOR J. QUIST, ESQ.

  5                    ROY JUNG, ESQ.

  6                    Sheppard Mullin

  7                    1540 El Camino Real, Suite 120

  8                    Menlo Park, California            94025

  9                    (650) 815-2654

 10                    tquist@sheppardmullin.com

 11

 12           On behalf of the Defendants:

 13                    ROBERT M. FUHRER, ESQ.

 14                    Pillsbury Winthrop Shaw Pittman

 15                    1650 Tysons Boulevard, 14th Floor

 16                    McLean, Virginia          22102-4856

 17                    (703) 770-7900

 18                    robert.fuhrer@pillsburylaw.com

 19

 20           ALSO PRESENT:

 21                    CHRISTIAN OWEN, Exhibit Tech

 22


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                                      www.TP.One                          (800.367.3376)
John C. Bravman, Ph.D.                                                        8/12/2022
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 215 of 598 PageID #: 1142
                                                                                 Page 3

  1                               C O N T E N T S

  2    WITNESS                                EXAMINATION BY COUNSEL FOR

  3    JOHN C. BRAVMAN, Ph.D.                    PLAINTIFF        DEFENDANTS

  4           BY MR. FUHRER                                             5

  5           BY MR. QUIST                             174

  6

  7

  8                               E X H I B I T S

  9    EXHIBIT NO.                                                       PAGE

 10    5 - Initial Claim Construction Declaration

 11    of John C. Bravman, Ph.D.                                            4

 12    6 - Rebuttal Claim Construction Declaration

 13    of John C. Bravman, Ph.D.                                            4

 14    7 - United States Patent 9,735,755                                106

 15    8 - United States Patent 10,256,786                               157

 16                                       - - -

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                                      www.TP.One                          (800.367.3376)
John C. Bravman, Ph.D.                                                        8/12/2022
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 216 of 598 PageID #: 1143
                                                                                 Page 4

  1                          P R O C E E D I N G S

  2                           (Exhibit Nos. 5 and 6 were marked for

  3                           identification.)

  4    Whereupon,

  5                          JOHN C. BRAVMAN, Ph.D.,

  6    was called as a witness by counsel for Defendants,

  7    and having been duly sworn by the Notary Public, was

  8    examined and testified as follows:

  9                    MR. FUHRER:        Do we need a stipulation

 10    because we're doing this by Zoom?                 I just feel like

 11    that's something that's regular.

 12                    MR. QUIST:       Just in terms of jurisdiction,

 13    you're referring to, Bob?

 14                    MR. FUHRER:        Correct.

 15                    MR. QUIST:       Yeah, that's fine.           We can

 16    make that on the record if the court reporter wants

 17    to request it.

 18                    MR. FUHRER:        If she's not prepared, we can

 19    move on.      Just deal with it.

 20                    MR. QUIST:       Yeah, we'll stipulate to that.

 21                    THE REPORTER:        Okay.      Thank you.

 22                    MR. FUHRER:        You're welcome.

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                                      www.TP.One                          (800.367.3376)
John C. Bravman, Ph.D.                                                        8/12/2022
Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 217 of 598 PageID #: 1144
                                                                                 Page 5

  1                EXAMINATION BY COUNSEL FOR DEFENDANTS

  2    BY MR. FUHRER:

  3           Q.       Good morning, Dr. Bravman.

  4           A.       Good morning.

  5           Q.       Obviously, thank you for being here this

  6    morning.      And just to start things off with, I wanted

  7    to go through what are typically called the ground

  8    rules of deposition.            I assume you're familiar with

  9    them because I assume you've been deposed before,

 10    correct?

 11           A.       Yes.

 12           Q.       Approximately how many times have you been

 13    deposed?

 14           A.       I think it's about 60.

 15           Q.       Okay.     Over what span of time, roughly?

 16           A.       Twenty years maybe.

 17           Q.       And were those 60 all related to you being

 18    an expert witness?

 19           A.       A few cases involving by academic career,

 20    but mainly as an expert witness, yes.

 21           Q.       So you'll be familiar with these, but just

 22    to sort of go through them quickly as a refresher,

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  1    obviously you're sworn in, so you're testifying under

  2    oath as if you were at trial.

  3                    You understand that, correct?

  4           A.       I do.

  5           Q.       And as you can tell, this is being

  6    recorded, so all responses have to be verbal.                       And

  7    please try as best you can to wait until I complete

  8    my question before you start talking.                   It's

  9    particularly important during these Zoom depositions

 10    as you may be familiar because there tends to be a

 11    slight lag and the court reporter has to get down

 12    everything we say, okay?

 13           A.       Yes.

 14           Q.       If there's a question that I ask that is

 15    unclear to you, please ask me to clarify or else I'll

 16    presume that you understand the question that's

 17    pending, okay?

 18           A.       Yes.

 19           Q.       I know there's an agreement that this

 20    deposition will be limited to four hours of tape

 21    time, as I'm sure you're familiar, and that you do

 22    have a pressing deadline of I think around 1:30 to

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  1    complete this.         So we'll make all efforts to meet

  2    that objective, okay?

  3           A.       Yes.    Thank you.

  4           Q.       Is there any reason why you can't answer

  5    truthfully and fully today during your deposition?

  6           A.       No.

  7           Q.       And I understand that you have your

  8    initial and rebuttal declarations handy; is that

  9    correct?

 10           A.       Yes, I have clean, unmarked copies of

 11    those and the two patents that I've opined upon.

 12           Q.       Thank you.       And I appreciate that.             In the

 13    reports -- to clarify, I tend to call them reports,

 14    but obviously they're identified as declarations.                         If

 15    I say reports, will you understand that I mean your

 16    declarations?

 17           A.       I will.

 18           Q.       Thank you.       In those reports, there are

 19    places in there where you reference that you

 20    understand one thing or another, generally related to

 21    a legal proposition.            Are you familiar with what I'm

 22    referring to?

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  1           A.       Yes.

  2           Q.       And when you make those references to your

  3    understanding, is that based on advice from counsel,

  4    if you will?

  5           A.       A combination of --

  6                    MR. QUIST:       Objection.       Lacks foundation.

  7                    THE WITNESS:        -- advice from counsel and

  8    prior experience in this domain.

  9    BY MR. FUHRER:

 10           Q.       Have you previously offered expert

 11    opinions as it relates to claim construction?

 12           A.       Yes.

 13           Q.       And if you know -- and again, if it's

 14    approximation, just let me know -- how many times

 15    have you done that in the past prior to this case?

 16           A.       I would estimate maybe 10 to 15 times.

 17           Q.       And each of those times you worked with

 18    counsel who gave you some guidance on what the law is

 19    on claim construction?

 20           A.       Yes.

 21           Q.       Did you type your reports yourself,

 22    Doctor?

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  1                    MR. QUIST:       Objection.        That's privileged.

  2    I'll instruct the witness not to answer that.

  3                    MR. FUHRER:        Trevor, are you sure?            I'm

  4    pretty familiar with some cases that say that it's

  5    not.

  6                    MR. QUIST:       I'm pretty sure it is.

  7                    MR. FUHRER:        I'm not asking for drafts.

  8    I'm just asking for this final report and whether or

  9    not he typed the words in the report.

 10                    MR. QUIST:       Okay.     That's okay.

 11                    THE WITNESS:        Some I physically typed and

 12    some I corrected from drafts that I was presented

 13    with.

 14    BY MR. FUHRER:

 15           Q.       Other than the law aspects that we were

 16    just discussing, were there other aspects that

 17    someone else drafted and you either adopted or

 18    rejected?

 19           A.       No.

 20                    MR. QUIST:       Sorry.         Can you restate that

 21    question?       I'm sorry, Bob.         I missed part of that.

 22                    MR. FUHRER:        That's fine.        I can rephrase

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  1    it, I think.

  2    BY MR. FUHRER:

  3           Q.       We talked earlier about parts of your

  4    report where it references "I understand," and that

  5    relates at least in part to the law on claim

  6    construction.         And I'm wondering, did you type those

  7    sections?

  8           A.       I don't --

  9                    MR. QUIST:       Objection.       Form.

 10                    THE WITNESS:        I don't believe so.

 11    BY MR. FUHRER:

 12           Q.       Counsel provided you those sections?

 13           A.       Provided me an understanding of --

 14                    MR. QUIST:       Objection.       Privileged.

 15                    MR. FUHRER:        If he's taking assumptions

 16    from counsel, that's an exception to the privilege.

 17                    MR. QUIST:       If you're asking that, then go

 18    ahead and ask that.           It sounds like you're asking

 19    more about drafting and drafts are privileged.

 20    BY MR. FUHRER:

 21           Q.       Okay.     Dr. Bravman, in your final report,

 22    are there sections there that counsel provided you as

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  1    assumptions on the law as it relates to claim

  2    construction?

  3           A.       Yes.    What's in my final report reflects

  4    my understanding of aspects of the law as counsel

  5    explained it to me.

  6           Q.       And those aspects are reflected in your

  7    report where you reference that you understand

  8    certain aspects of claim construction law, correct?

  9                    MR. QUIST:       Objection.       Form.

 10                    THE WITNESS:        As I hear your question,

 11    yes.

 12    BY MR. FUHRER:

 13           Q.       And who drafted those parts of your

 14    reports?

 15           A.       I think Mr. Quist did after our

 16    discussions about them.

 17           Q.       Okay.     In preparing for today's

 18    deposition, what did you do?

 19           A.       I reread the documents that have been

 20    produced, the various reports or declarations that

 21    have been issued and generally reviews like that.

 22           Q.       Did you review Dr. Nguyen's rebuttal

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  1    report?

  2           A.       Yes.

  3           Q.       Did you review a rough transcript of his

  4    deposition from two days ago?

  5           A.       No.

  6           Q.       Did you take any notes during your prep --

  7    I'm sorry, excuse me.            My mouth just shut down on me.

  8                    Did you take any notes during your

  9    preparation that would aid you in your testimony

 10    today?

 11           A.       No.

 12           Q.       Other than with counsel, did you speak to

 13    anyone else about this deposition?

 14           A.       No.

 15           Q.       You mentioned earlier that you've been a

 16    testifying expert for a number of years.                     How many of

 17    those -- how many of the cases that you referenced

 18    were patent cases or involved patents?

 19           A.       Most involved patents.            Some involved

 20    other intellectual property matters, but most

 21    involved patents.          Probably 90-plus percent.

 22           Q.       I guess just to make it clear, you don't

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  1    hold yourself out as an expert in patent law or claim

  2    construction law, do you?

  3           A.       No.    I'm a scientist, not an attorney.

  4           Q.       You currently are working on other matters

  5    as an expert; is that correct?

  6           A.       Yes.

  7           Q.       How many matters are you working on that

  8    you would consider active as of today?

  9           A.       Active, probably one or two.

 10           Q.       Is being a testifying expert something

 11    that you do on a regular basis?

 12           A.       It's episodic.         It ebbs and flows over the

 13    last many, many years.

 14           Q.       And just looking at your CV, it looks like

 15    you're sought out by a number of firms and companies.

 16                    Is that a fair statement?

 17           A.       I think so.

 18           Q.       Have you ever turned down an engagement

 19    because you didn't agree with the potential client's

 20    position?

 21           A.       Yes.

 22           Q.       Are you able to share with me any

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  1    specifics as to the number of times or who they were

  2    or why?

  3                    MR. QUIST:       Objection.       Scope.

  4                    THE WITNESS:        I would be almost guessing,

  5    Counselor.       I -- when I'm first retained, I always

  6    tell people you need to understand I'm going to tell

  7    the truth as best I understand it, that my -- you are

  8    retaining me for my best efforts, not for a specific

  9    opinion that you want me to render.

 10                    And so I've always operated under that

 11    presumption and always explained that.                    And in some

 12    matters it's a case of not of being engaged or not

 13    but, within the course of a continuing engagement,

 14    indicating what I believe and then moving forward and

 15    saying, well, I think that's wrong, I'm not going to

 16    defend that opinion.

 17    BY MR. FUHRER:

 18           Q.       But off the top of your head, you can't

 19    say the number of times you've had to -- I'm going to

 20    use the word "disengage."              Probably not the best

 21    word -- disengage from working with a potential

 22    client because you disagreed with him?

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  1                    MR. QUIST:       Objection.        Scope.     Relevance.

  2                    THE WITNESS:        No, I'm sorry.         I would be

  3    guessing at that.

  4    BY MR. FUHRER:

  5           Q.       In your initial report -- and you can look

  6    at it.      It's at paragraph 90.               But it's just a quick

  7    sentence and I can read the sentence if it'll

  8    expedite things.

  9                    You say, "My work as a researcher and

 10    consultant has included thin film material processing

 11    and analysis."         Does that sound familiar?

 12           A.       Yes.

 13           Q.       Can you explain what you mean by that as

 14    far as your experience?

 15           A.       So most of my work, but not all of it, has

 16    been within the microelectronic domain.                    I also

 17    worked in superconducting materials.                   I -- again,

 18    most of my work involves materials in thin film form

 19    as workers in this area would understand thin films.

 20    There is no rigid limit on thicknesses there, but

 21    that's micron scale structures.

 22                    And then in terms of the analyses, these

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  1    were electron optical, x-ray-based and

  2    micromechanical-based techniques for the most part.

  3           Q.       And have you ever been disqualified as an

  4    expert over the years of being identified as a

  5    testifying expert related to patent matters?

  6           A.       Once, because my attorney turned in a

  7    prior copy of my CV and the date was wrong and the

  8    judge sided with -- I don't know what the right

  9    phrase -- the other side.              Other than that, no.

 10           Q.       And how long ago was that, if you

 11    remember?

 12           A.       At least 15 years ago.

 13           Q.       Sort of turning to what I'll call the

 14    substance here of the reports, the first thing I

 15    wanted to talk about was the experts' identification

 16    of what they consider the person of ordinary skill in

 17    the art.

 18           A.       Okay.

 19           Q.       Some people call that a POSITA or a

 20    POSITA.      I don't know if it's -- you know, what do

 21    you go with, Doctor?

 22           A.       I heard it always as POSITA.

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  1           Q.       Did you?      I did, too.        Okay.

  2           A.       Yeah.

  3           Q.       There's a recent POSITA movement going on

  4    in case you haven't heard.

  5           A.       Okay.     Very de re guerre.

  6           Q.       Yes, exactly.        I'm sorry, I didn't mean to

  7    make light of things.

  8                    But my question is, you've read

  9    Dr. Nguyen's report.            Obviously, you're familiar with

 10    yours.      There seems to be close proximity as to what

 11    a POSITA is, but some discussion in the rebuttal

 12    reports as to what would be the most beneficial

 13    undergraduate degree.

 14                    Does that sound familiar?

 15           A.       Yes.

 16           Q.       Okay.     And without getting into who is

 17    right and wrong, do you feel like the difference

 18    between the two of your views on that would impact

 19    the understanding of any of the disputed terms by a

 20    POSITA?

 21                    MR. QUIST:       Objection.       Form.

 22                    THE WITNESS:        No.    I think my assertion

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  1    there subsumes Dr. Nguyen's and involving electrical

  2    engineering.        And just like there's often a statement

  3    such as I made about years of experience plus or

  4    minus may influence other things, I think the

  5    differences between our definitions would not affect

  6    the outcome.

  7    BY MR. FUHRER:

  8           Q.       Okay.     And in your report -- I guess I'm

  9    referencing your initial report.                 I'm looking at

 10    paragraph 83 if you wish to refer to it.

 11           A.       I have that.

 12           Q.       And there's a term I'm familiar with.

 13    It's called the Canons of Claim Construction.                       Are

 14    you familiar with that phrase?

 15           A.       The Canons of Claim Construction?

 16           Q.       Correct.

 17           A.       As in canonical?          I don't believe I've

 18    heard that phrase.

 19           Q.       Maybe it dates me too much.               But I will

 20    just get into -- paragraph 83 starts as, "I

 21    understand that extrinsic evidence, which is evidence

 22    external to the patent and the prosecution history,

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  1    may also be useful in interpreting patent claims when

  2    the intrinsic evidence itself is insufficient."

  3                    Do you see that?

  4           A.       Yes.

  5           Q.       And again, is this one of those sections

  6    where the attorneys drafted it?

  7                    MR. QUIST:       Objection.       Privilege.        You're

  8    asking about drafts.

  9    BY MR. FUHRER:

 10           Q.       Okay.     I'll rephrase the question.

 11                    In your final report, were these words

 12    typed by the attorney?

 13           A.       Yes, I believe so.

 14           Q.       And do you have an understanding of what

 15    it means for the intrinsic evidence itself to be

 16    insufficient?

 17           A.       My understanding is that the intrinsic

 18    record, starting with the claims and then including

 19    to the specification and then patent application

 20    itself, if there is, to a worker of skill, ambiguity

 21    or lack of sufficient clarity, that recourse to

 22    extrinsic materials is allowable as a matter of law,

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  1    but is weighted less than the intrinsic record.

  2           Q.       You mentioned ambiguity.             Can you help me

  3    understand what you mean by that?                 What kind of

  4    ambiguity are you talking about?                 And if you want to

  5    use a specific example of one of the disputed terms,

  6    that's fine, but I'm just trying to understand what

  7    you mean by ambiguity.

  8           A.       Patents are an artifact of written

  9    language, and written language rarely is as

 10    unambiguous, let us say, as a mathematical equation

 11    and so it requires interpretation and understanding.

 12    And of course what may be ambiguous to one person may

 13    not be ambiguous to another person in their

 14    respective honest opinions.

 15                    So I don't think that what is ambiguous

 16    can be precisely defined, but if a worker of skill

 17    and good faith does or does not understand a concept,

 18    he or she would say that it is or is not ambiguous.

 19                    For me, it's do I understand this in the

 20    context of the claims, the specification and the file

 21    history.      And in matters where I have found what I

 22    would call ambiguity or less than certainty in my

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  1    opinion, then I would like to and have looked in the

  2    past to extrinsic evidence.

  3           Q.       When you sort of start the process of or

  4    the exercise of claim construction, do you understand

  5    that you start with the presumption that a term in a

  6    claim is entitled to its plain and ordinary meaning?

  7           A.       Yes, that's the phrase that I learned long

  8    ago.

  9           Q.       So if you start with the presumption that

 10    it is entitled to its plain and ordinary meaning,

 11    when you go to the intrinsic record, are you looking

 12    for insufficiency in the record or are you looking

 13    for whether the record is inconsistent with the plain

 14    and ordinary meaning?

 15           A.       I'm looking for aspects of the

 16    specification, the claims, the file history, the

 17    intrinsic record that support the claim or claim term

 18    with regard to its plain and ordinary meaning.

 19                    I know, for instance, that a patentee can

 20    act as his or her own lexicographer, so I'm looking

 21    for that.       I'm not going in with a notion of this is

 22    right or wrong, but I'm looking for, in terms of the

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  1    appropriate time frame and a POSITA's understanding,

  2    that a term to be construed is in fact consistent

  3    with what that POSITA in that time frame would find

  4    supported in the intrinsic record.

  5           Q.       You mentioned that you were looking at the

  6    intrinsic record to see whether or not the patentees

  7    were acting as their own lexicographer, correct?

  8           A.       Yes.

  9           Q.       Did you find that in this case as it

 10    relates to any of the disputed claim terms in the

 11    '755 patent?

 12           A.       I made no such assertion, no.

 13           Q.       In other words, you examined the intrinsic

 14    record and determined that the patentees were not

 15    offering a definition for those disputed terms,

 16    correct?

 17           A.       Correct.

 18           Q.       So if you start with a plain and ordinary

 19    meaning and the record doesn't give you a different

 20    meaning, aren't you still left with the original

 21    plain and ordinary meaning?

 22                    MR. QUIST:       Objection.       Form.

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  1                    THE WITNESS:        Well, I think there's an

  2    area, a spectrum of meaning within any language,

  3    certainly the English language between those two

  4    extremes where a person may have chose -- which is

  5    not the case here -- to define the term in a certain

  6    word -- certain way, but is using it in a context

  7    accessible by the POSITA in the time frame, and

  8    because they are the claims, understanding the claims

  9    comes in the context of what the intrinsic record

 10    describes or supports.

 11    BY MR. FUHRER:

 12           Q.       So for the '75 -- I'll make sure you were

 13    clear on the record.            I think you understand me.              But

 14    when you say '755, that's the claim that's being

 15    asserted in the case and that you referenced in your

 16    report, correct?

 17           A.       Yes, the 9,735,755 patent.

 18           Q.       Thank you.       And there are three disputed

 19    terms that you addressed in your reports, correct, as

 20    it relates to the '755 patent?

 21           A.       That's correct.

 22           Q.       And if you are doing your analysis, as I

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  1    understand it from your testimony today, you looked

  2    at the claim and you saw the disputed term in the

  3    claim.      Let's use active region as an example.                   And

  4    did you at that point have a plain and ordinary

  5    meaning in mind?          Did you have an understanding of

  6    what that term means to one of skill in the art?

  7           A.       Yes.    Active region is a term that's often

  8    used in the entirety of the microelectronic domain,

  9    in contradistinction to, for example, passive region,

 10    outer region, other regions.               And that's why I

 11    support the proposal that begins with plain and

 12    ordinary meaning.

 13           Q.       Is there one definition?             Like is there a

 14    technical book that you can go to that would give you

 15    the -- or arguably a definition of active region?

 16           A.       I don't recall reading text in a textbook

 17    or other such tome that purported to give a singular

 18    definition as you posit.             To the extent a phrase such

 19    as active region is used -- a term I read for 30, 40

 20    years -- it's either clear as having a plain and

 21    ordinary meaning within a certain context or it might

 22    specify something particular.

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  1                    But active and action, there's some kind

  2    of action, be it electrical, be it mechanical, be it

  3    optical that a worker of skill would understand to be

  4    referencing to a physical place within a device where

  5    the operational characteristics are most directly

  6    manifest, understanding that the totality of the

  7    device has a purpose most likely at least.

  8           Q.       And in this case, just using claim 1 of

  9    the '755 patent as an example, it's referring to a

 10    BAW resonator, correct?

 11           A.       Yes.

 12           Q.       So does that give you a more exacting

 13    plain and ordinary meaning as opposed to maybe active

 14    region in a broader technical sense?

 15           A.       So a worker of skill understands a BAW --

 16    for the court reporter, that's B-A-W -- BAW

 17    resonator, as the claim clearly goes on to explicate,

 18    is a device centering around the conversion to and

 19    fro of electronic and mechanical energy through a

 20    piezoelectric layer most typically.

 21                    And so I know now I'm -- having read BAW,

 22    I know I'm not talking about a MOSFET.                    I'm talking

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  1    about some other type of active region.                    And so the

  2    worker of skill's mind is immediately drawn to that

  3    type of device and its typical utility as a, say,

  4    filter, et cetera.           So the active region is different

  5    than it might be in many other types of devices where

  6    the same words, "active region," are used.

  7           Q.       And again, I'm not trying to put you on

  8    the spot or ask you to be Webster's Dictionary, but

  9    is there a working definition for a person of skill

 10    in the art as to what active region means as it

 11    relates to BAW resonators?

 12                    MR. QUIST:       Objection.       Lacks foundation.

 13                    THE WITNESS:        I've not used it that way.

 14    What I did was, with that general understanding of

 15    the conversion of electrical signals to mechanical

 16    energy as being key and as claim 1, for instance, in

 17    the entire patent immediately draws one's attention

 18    to the use of a piezoelectric material for that

 19    conversion, then of course I want to understand what

 20    the patent says about this active region and how it's

 21    speaking to that.

 22                    And of course my opinion, as laid out, is

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  1    that it's speaking to certain aspects of what the

  2    active region does, how it is operated and, most

  3    particularly, to a type of energy loss or leakage to

  4    laterally situated structures, material structures.

  5    BY MR. FUHRER:

  6           Q.       In paragraph 84 of your initial report,

  7    you say that you understand that words or terms

  8    should be given their ordinary and accepted meaning

  9    unless it appears that the inventors were using them

 10    to mean something else or something more specific.

 11                    Do you see that?

 12           A.       Yes.

 13           Q.       Is it your testimony -- or was it your

 14    analysis that you saw that the inventors were using

 15    something more specific than the plain and ordinary

 16    meaning?

 17           A.       No.    They were using the plain and

 18    ordinary meaning in the context of a set of claims in

 19    the patent, focusing on the relationship of this

 20    active region and its loss or leakage of energy to

 21    structures lateral to it.

 22                    And so that in particular means the worker

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  1    of skill, in my opinion, is focused on how the active

  2    region interacts with those lateral regions and how

  3    the patent claims to address that with the desirable

  4    endpoint of minimizing that leakage or loss.

  5           Q.       With regard -- we're talking about the

  6    active region one.           With regard to that, do you feel

  7    like if the inventors used a term in the

  8    specification in describing the active region, that

  9    you should use those words from the specification?

 10                    MR. QUIST:       Objection.       Vague.

 11                    THE WITNESS:        I'm sorry, Counselor, I'm

 12    not quite sure I follow your question.

 13    BY MR. FUHRER:

 14           Q.       That's okay.        In your report, you say that

 15    the term "electrically driven" is in the

 16    specification, correct?

 17           A.       Yes.

 18           Q.       And you find that that was important to

 19    you when deciding which construction was the most

 20    appropriate, correct?

 21                    MR. QUIST:       Objection.       Vague.

 22                    THE WITNESS:        Well, again, I'm supporting,

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  1    first, the plain and ordinary meaning, but then, as

  2    it goes on to say, if explication is necessary -- and

  3    this is in paragraph 21 -- that it's the part of the

  4    resonator that is electrically driven to provide the

  5    resonator functionality.

  6                    And so it's the piezoelectric layer

  7    between the electrodes most particularly that couples

  8    the electronic and the mechanical domains and it's

  9    from that region that leakage or loss of mechanical

 10    energy is addressed in the patent.

 11    BY MR. FUHRER:

 12           Q.       And having looked to that section of the

 13    specification, did that tell you that -- did that

 14    suggest to you that it was inappropriate to look to

 15    extrinsic evidence to determine the plain and

 16    ordinary meaning?

 17                    MR. QUIST:       Objection.       Calls for a legal

 18    conclusion.

 19                    THE WITNESS:        It's my opinion that a

 20    worker of skill as we've defined it, through the

 21    section on a POSITA, would not have to go to

 22    extrinsic evidence to understand active region in the

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  1    context of the '755 patent.

  2    BY MR. FUHRER:

  3           Q.       That's an area I want to focus on just for

  4    a minute.       If I understand what you just testified

  5    to, you're saying that you don't think a POSITA would

  6    need to go to extrinsic evidence to understand the

  7    plain and ordinary meaning; is that correct?

  8           A.       Yes.

  9           Q.       And I think we talked about earlier, when

 10    you start the analysis, you're looking at a term and

 11    you're starting with the plain and ordinary meaning,

 12    correct?

 13           A.       Yes.

 14           Q.       So right from the beginning, you've

 15    already got a plain and ordinary meaning when you're

 16    starting your claim construction analysis, correct?

 17           A.       No.    The worker of skill sees a term and I

 18    see a term in a context which provides that plain and

 19    ordinary meaning certainly as a starting point and

 20    then goes from there, as I described earlier.

 21           Q.       Okay.     So -- but the starting point is

 22    what a person of skill in the art would have

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  1    understood even before examining the intrinsic

  2    record, correct?

  3           A.       If you mean does the POSITA in this

  4    exemplar have a conception of active region before

  5    even reading that term in the claim, yes, I think he

  6    or she would.         But then, in reading the claim itself,

  7    would, as a POSITA, come to understand most likely a

  8    narrower definition.

  9                    Again harkening back, I read that, I know

 10    instantly I'm not talking about the active region in

 11    a MOSFET.       So I have a very broad meaning in a

 12    certain context.          I read the context of the claim and

 13    then I read the entire patent to ensure that

 14    construction is or is not required.                  And again, it's

 15    my opinion that it's not, hence, plain and ordinary

 16    meaning appears first in the opinion I support.

 17                    But then if it's necessary, I go on to

 18    describe how it would be understood to a POSITA.

 19           Q.       You're saying plain and ordinary meaning

 20    without extrinsic evidence is your initial position?

 21                    MR. QUIST:       Objection.       Form.

 22    BY MR. FUHRER:

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  1           Q.       I'll rephrase it.          I'm sorry.        In your

  2    initial report, you show that Qorvo's proposed

  3    construction is just plain and ordinary meaning,

  4    period, correct?

  5           A.       Yes.

  6           Q.       And you understand that to mean that they

  7    don't even think that the term needs to be construed

  8    by the Court, correct?

  9           A.       Correct.

 10           Q.       And you agree with that?

 11           A.       In that context of the time frame and a

 12    POSITA level understanding, yes.

 13           Q.       You don't believe that the term "active

 14    region" should be construed so that the jury could

 15    have an understanding as to what active region means?

 16                    MR. QUIST:       Objection.       Relevance and

 17    vague.

 18                    THE WITNESS:        A jury would be unlikely to

 19    be -- would unlikely comprise POSITAs.                    So I would

 20    expect, if ever asked, to explain what many of these

 21    terms mean to a jury, but a worker of skill reading

 22    the patent, I think, would not have to have this

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  1    construed and would just be comfortable understanding

  2    the claim in the context of the entire patent and the

  3    intrinsic evidence for what an active region

  4    comprises.

  5    BY MR. FUHRER:

  6           Q.       Well, you're saying that you would think

  7    it important for someone like yourself or some expert

  8    to explain to a jury what the term means, correct?

  9                    MR. QUIST:       Objection.       Mischaracterizes

 10    the witness' testimony.

 11                    THE WITNESS:        I've not thought in this

 12    document or my work in here about a jury at all, but

 13    my understanding is that I'm providing an

 14    understanding at the level of a POSITA and that

 15    that's what I tried to do here in a certain time

 16    frame as well with that.             A technical matter of

 17    almost any type requires explication to people who

 18    are not POSITAs.

 19    BY MR. FUHRER:

 20           Q.       And isn't it Qorvo's position, based upon

 21    their proposed construction, that no construction is

 22    necessary for these disputed terms?

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  1           A.       For a POSITA, yes.

  2           Q.       If the judge is to construe the terms,

  3    would you agree that he should look to extrinsic

  4    evidence in order to decide the proper construction?

  5                    MR. QUIST:       Objection.       Vague.

  6                    THE WITNESS:        I'm not aware of what the

  7    judge's obligations are in such a matter.

  8    BY MR. FUHRER:

  9           Q.       Well, I'll rephrase it.             If you think that

 10    I'm asking if it's an obligation of the judge, I'm

 11    certainly not suggesting that.

 12                    I'm saying that if the judge is to

 13    construe these claims, do you not think it would be

 14    helpful for the judge to receive extrinsic evidence

 15    in order to better understand technical terms like

 16    are present in this case?

 17                    MR. QUIST:       Objection.       Vague and

 18    relevance.

 19                    THE WITNESS:        Again, I have no -- I'll use

 20    the phrase "legal opinion" about that or opinion

 21    based in the law.          I don't know how judges go about

 22    this.

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  1                    I'm an educator and I believe in

  2    education.       And I don't mean just formal teaching or

  3    classroom education.            So to render an opinion

  4    speaking in the abstract, information is good.                       But

  5    how a judge goes about this, I have no understanding.

  6    BY MR. FUHRER:

  7           Q.       And I just want to be clear.               Earlier you

  8    said that you agree with Qorvo's position that these

  9    terms do not need to be construed, correct?

 10           A.       That to a POSITA, they have their plain

 11    and ordinary meaning, yes.

 12           Q.       Isn't the -- since you've done this -- I

 13    guess this claim construction exercise a number of

 14    times, isn't the point that the plain and ordinary

 15    meaning is that based on the understanding of a

 16    POSITA, correct?

 17           A.       Yes.

 18           Q.       But when you say that a POSITA would not

 19    have to use extrinsic evidence, doesn't that confuse

 20    the issue to the extent that, whether or not

 21    extrinsic evidence should be considered, it's whether

 22    it will help the judge come to the right claim

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  1    construction?

  2                    MR. QUIST:       Objection.       Vague.      Confusing.

  3                    THE WITNESS:        I don't -- as I hear your

  4    question, I think the answer is no.                  The judge or any

  5    other party will do as he or she best sees fit.                        But

  6    speaking as a POSITA in a certain time frame and

  7    understanding that that means there's a certain set

  8    of experiences and body of knowledge that a POSITA

  9    has, in that context, my opinion here does support

 10    plain and ordinary meaning for these disputed terms.

 11    BY MR. FUHRER:

 12           Q.       Could you look at paragraph 88 of your

 13    initial report?

 14           A.       I have that.

 15           Q.       You say that with regard to extrinsic

 16    evidence, "I understand that all evidence external to

 17    the patent and prosecution history, including expert

 18    testimony and inventor testimony as well,

 19    dictionaries and learned treatises, can also be

 20    considered," correct?

 21           A.       Yes.

 22           Q.       But throughout your report, you then go on

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  1    to say that you don't think extrinsic evidence should

  2    be considered, correct?

  3                    MR. QUIST:       Objection.       Mischaracterizes

  4    the witness' testimony.

  5                    THE WITNESS:        What I say again is that for

  6    a POSITA, recourse to using extrinsic evidence in my

  7    opinion is not required to understand the disputed

  8    terms.

  9    BY MR. FUHRER:

 10           Q.       So you're not saying that the judge

 11    shouldn't consider extrinsic evidence.                    You're saying

 12    that a POSITA wouldn't need extrinsic evidence,

 13    correct?

 14                    MR. QUIST:       Objection.       Mischaracterizes

 15    the witness' testimony.

 16                    THE WITNESS:        I've answered only with

 17    regard to a POSITA and not to a judge or anybody

 18    else.

 19    BY MR. FUHRER:

 20           Q.       And you understand that your report or

 21    your testimony would be considered extrinsic

 22    evidence, correct?

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  1           A.       Yes.    It's right there in paragraph 88.

  2           Q.       And I think we touched upon this earlier,

  3    but for the disputed terms of the '755 patent, you

  4    didn't come across any technical or other dictionary

  5    definitions that you found represented the plain and

  6    ordinary meaning?

  7           A.       For an active region, it's -- both the

  8    word "active" and the "word" region are so broad in

  9    their extent, it would always have to be

 10    contextualized.

 11           Q.       But I'm saying is there a technical

 12    dictionary that defines active region as it relates

 13    to MIMs products?

 14           A.       I certainly am not aware of a dictionary

 15    of MIM structures that has that phrase to find in it,

 16    but that's not to say that it doesn't exist.

 17           Q.       Did you find any extrinsic evidence where

 18    the phrase "electrically driven" was used to describe

 19    an active region of a BAW resonator?

 20           A.       Electrically driven, as you described, is

 21    also a broad assertion in its meaning.                    In context,

 22    though, in a MIMs device, especially one with a

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  1    piezoelectric layer that's going to be used as, say,

  2    a filter, the worker of skill, you know, does

  3    understand that in that context.

  4                    I did not find that particular phrase that

  5    you posited in a technical dictionary either.                       That

  6    doesn't mean it doesn't exist somewhere.

  7           Q.       Did you look to see if you could find

  8    electrically driven in any treatise or dictionary or

  9    other technical document?

 10           A.       So if you type in electrically driven into

 11    a Google search or a patent search, you get a very,

 12    very broad set of answers.              So the only way to

 13    approach that is then to filter it down to whatever

 14    domain, whether it's MOSFETs or MIMs tools, devices

 15    or something else.           But in terms of a dictionary or a

 16    treatise, no.

 17           Q.       Did you try to get it more specific than

 18    the Google search to BAW resonators and see if

 19    electrically driven was ever a phrase used?

 20           A.       In my report -- I'm searching for the

 21    page -- I give the details of not a broad search, but

 22    a more tailored search in Google for that purpose.

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  1    But I spent time -- more than a little time reading

  2    documents of various types and "active region" and

  3    terms like that, I never found something that was in

  4    the domain that was not consistent with my

  5    understanding or, more importantly, my assertion of

  6    what a POSITA would understand in this time frame.

  7           Q.       But you understand my question is did you

  8    find that phrase, those two words used together,

  9    "electrically driven," in describing the active

 10    region of a BAW resonator?              Because I'm guessing if

 11    you found it, it would have been in your report and I

 12    would say that it's not there.

 13                    MR. QUIST:       Objection to form.

 14                    THE WITNESS:        It's in the intrinsic

 15    evidence.       And so whether or not I've looked for that

 16    specifically or found it, I certainly don't recall.

 17    If I did, I didn't think it was helpful and, as you

 18    said, then I didn't put it in my report.                     But it's in

 19    the intrinsic evidence.

 20    BY MR. FUHRER:

 21           Q.       So your position is since it's in the

 22    intrinsic evidence, then that's the right word to

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  1    use; is that your position?

  2                    MR. QUIST:       Objection.       Mischaracterizes

  3    the witness' testimony.

  4                    THE WITNESS:        In particular because it's

  5    consistent with what I understand a POSITA would

  6    appropriate by reading it, I saw no particular reason

  7    to go to the extrinsic evidence.                 I'm quite certain

  8    the phrase "electrically driven" is found throughout

  9    the BAW literature.           Whether it's directly linked to

 10    active region or not, I've not offered an opinion

 11    about that.

 12                    It's so plainly in the intrinsic evidence

 13    that -- and it's so consistent, in my opinion, with

 14    what a worker of skill would understand, that I feel

 15    confident about the assertions I supported.

 16    BY MR. FUHRER:

 17           Q.       I just want to go back to one point I

 18    think you just made just to make sure I understand

 19    it.    I asked you earlier if the words "electrically

 20    driven" used together, did you ever find them in any

 21    document that was describing the active region of a

 22    BAW resonator?         And I thought your answer was you had

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  1    not found it, correct?

  2           A.       As I sit here now, I can't recall finding

  3    it, that's correct.

  4           Q.       And if you had to -- to the best of your

  5    recollection, did you look for it to see if you could

  6    find it?

  7           A.       I, to the best of my recollection, do not

  8    recall searching for that in particular.                     I've read

  9    many, many papers in the course of this action and I

 10    don't recall looking for that phrase in particular

 11    and I don't recall finding it.

 12           Q.       And going to your -- I don't want to make

 13    you jump around here, but I might because it's the

 14    order of my notes.           I apologize.        If you go to your

 15    rebuttal report.

 16           A.       Okay.     I have it.

 17           Q.       Paragraph 7 says that it is my

 18    understanding that, in construing claim terms, one

 19    should primarily rely on intrinsic patent evidence,

 20    which includes the words, the spec, and the

 21    prosecution history.

 22                    Do you see that, right?

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  1           A.       Yes.

  2           Q.       Did you type that or did counsel type

  3    that?

  4                    MR. QUIST:       Objection.       Privileged.

  5                    MR. FUHRER:        We sort of covered this

  6    already, Trevor.

  7                    MR. QUIST:       Yeah.     I don't think he has to

  8    answer any of these questions related to who draft --

  9    who wrote what in his declaration.                  If you want to

 10    ask him if it's, you know, his opinion, you're

 11    welcome to do that.

 12                    MR. FUHRER:        No, I'm going to ask him the

 13    same question I asked before, which he answered, by

 14    the way.

 15                    MR. QUIST:       I understand that he answered

 16    it and, going forward, I'm going to object on

 17    privilege and instruct him not to answer.

 18                    MR. FUHRER:        Okay.

 19    BY MR. FUHRER:

 20           Q.       Are you going to follow his instructions

 21    and not answer the question, Doctor?

 22           A.       I've been advised by counsel not to

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  1    respond, so I will not.

  2           Q.       Okay.     What did you understand "should

  3    primarily rely on" intrinsic record to mean?

  4           A.       As I write elsewhere in my declaration,

  5    that one considers the intrinsic patent evidence and,

  6    if one finds those somehow deficient to a POSITA's

  7    understanding in a time frame, that one then would

  8    look to the extrinsic record for further explication.

  9           Q.       And that's what you mean by primarily?

 10           A.       Yes.    I mean, a POSITA -- implicit in a

 11    POSITA is a professional lifetime of knowledge,

 12    acquisition and synthesis.              I've never thought about

 13    that as extrinsic evidence, but I bring my

 14    understanding, a POSITA brings his or her

 15    understanding and that's why the word "primarily" I'm

 16    completely comfortable with and understand.

 17           Q.       In your opinion, a POSITA would never have

 18    to look to extrinsic evidence to understand the

 19    meaning of a term, correct?

 20           A.       No, not correct.          I've used extrinsic

 21    evidence many times in these types of proceedings and

 22    there are times when I've argued for it and there's

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  1    times when I've argued against it.                  And times when I

  2    find ambiguity or inconsistency with what a POSITA

  3    would understand, for instance, I've gone to

  4    extrinsic evidence.

  5           Q.       And going back to your initial report,

  6    paragraph 19.

  7           A.       Okay.     I have it.

  8           Q.       It starts with, "It is my opinion that the

  9    intrinsic record is sufficient for a POSITA to

 10    understand the disputed terms," according to their

 11    plain and ordinary meaning, correct?

 12           A.       Yes.

 13           Q.       And that's essentially what you were just

 14    describing, that you find that the intrinsic record

 15    is sufficient for a POSITA to understand the disputed

 16    terms?

 17           A.       Correct.

 18           Q.       In paragraph 20 of the initial report, you

 19    say, "I have considered the extrinsic evidence cited

 20    by the parties," but based on your current

 21    understanding" -- I'll read it verbatim -- "based on

 22    my current understanding, it is my opinion that it is

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  1    unnecessary to resort to extrinsic evidence to

  2    understand the disputed terms," correct?

  3           A.       Yes.

  4           Q.       And when you say to understand, you mean

  5    for a POSITA to understand?

  6           A.       Yes.

  7           Q.       You don't mean the judge?

  8           A.       I mean a POSITA.          So unless the judge is a

  9    POSITA, no.

 10           Q.       Fair enough.        Would you prefer to take a

 11    break now or maybe in 10 or 15 minutes?                    Whatever you

 12    prefer.

 13           A.       Ten or 15 minutes would be fine.

 14           Q.       Okay.     We'll press on.

 15           A.       Thank you.

 16           Q.       Sure.     So I know that we were talking

 17    about active region in the conversations about claim

 18    construction, but I want to focus on active region

 19    some more.

 20           A.       Okay.

 21           Q.       In your rebuttal report, paragraph 16 --

 22           A.       I have it.

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  1           Q.       -- you say, "More importantly, the

  2    intrinsic record does not mention motional current at

  3    all."

  4                    Do you see that?

  5           A.       Yes.

  6           Q.       And it says, "Thus, a POSITA would not

  7    have understood active region or outer region of the

  8    '755 patent to be defined based on motional current,"

  9    correct?

 10           A.       Yes.

 11           Q.       So can you explain that to me what you

 12    mean by the fact that since motional current wasn't

 13    in the intrinsic record, a POSITA would not

 14    understand the plain and ordinary meaning to include

 15    that term?

 16           A.       Of course I offered that opinion based on

 17    Dr. Nguyen's opinion, so it's in response to that.

 18    There are other terms I could have put in quotations

 19    there.      It's my opinion that, although, as I say

 20    somewhere else, the notion of motional current is

 21    indisputed as useful in the art or understood in the

 22    art, here the POSITA would not have to make recourse

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  1    to that to understand the claimed invention of the

  2    '755 patent.

  3                    I see nothing that supports that in the

  4    intrinsic record and, as I've opined, the intrinsic

  5    record provides POSITA with the understanding in

  6    context to understand the claims of the patent.                        So

  7    there's nothing that's, in my opinion, suggesting or

  8    motivating or compelling POSITA to go to motional

  9    current or other terms that one might find in the

 10    extrinsic evidence, but not in the intrinsic

 11    evidence.

 12           Q.       I mean, what is your understanding of what

 13    motional current is as it relates to BAW resonators?

 14           A.       Current related to motion.              And so, as

 15    I've said a couple of times today, these are devices

 16    in which electrical and mechanical energy are coupled

 17    and so motional current carries with it both phrases,

 18    both concepts.

 19           Q.       And I apologize.          Motional current --

 20    could you repeat that answer?                   I apologize.

 21           A.       No problem.        Motional current, a current

 22    somehow linked to motion of current -- electrical

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  1    currents are always involving the motion of charge.

  2    That's not what this is referring to.                   It's referring

  3    to physical movement of a region.

  4                    And so depending on context, because

  5    motional current is a term of art used outside of BAW

  6    resonators, it's current associated with physical

  7    movement.       And since piezoelectric devices, as I've

  8    said a couple times, relate to the interplay of

  9    electrical and mechanical energy, it makes perfect

 10    sense to a worker of skill.

 11           Q.       What makes perfect sense?              I'm sorry.

 12           A.       Motional current in the context of a BAW

 13    resonator.

 14           Q.       Is that a -- are you saying that of course

 15    there's motional current in the active region of a

 16    BAW resonator?

 17           A.       I've not opined on that here because I'm

 18    just saying that motional current is not required.

 19    But one understands that in an active region of a BAW

 20    resonator, when energized, there is physical motion

 21    and there are currents and so one does understand

 22    that, yes.

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  1           Q.       I mean, I don't know if you were being

  2    careful not to put motional current together in

  3    there, but is motional current the term that you're

  4    familiar with?

  5           A.       Yes.

  6           Q.       And you say in paragraph 8 of your initial

  7    report, "A BAW resonator is an electromechanical

  8    device in which a standing acoustic wave is generated

  9    by an electrical signal in a piezoelectric material."

 10                    Does that sound familiar?

 11           A.       Yes.

 12           Q.       And what is a standing acoustic wave?

 13           A.       A standing wave is one in which -- in

 14    general physics, a standing wave is one in which a

 15    wave form is established and maintained.                     Unlike an

 16    ocean wave where the wave is moving, a standing wave

 17    does not have that characteristic.

 18           Q.       And in terms of motional current, is

 19    motional current describing a standing acoustic wave?

 20           A.       I've not opined that those are synonymous

 21    or not, but they are related to one another.

 22           Q.       And what you are saying here is that an

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  1    electrical signal is what generates the standing

  2    acoustic wave, correct?

  3           A.       Yes.    And a worker of skill understands

  4    the opposite is true as well.

  5           Q.       And the electrically driven term in

  6    Qorvo's construction, is that consistent with the

  7    idea of an electrical signal?

  8           A.       Yes.    A worker of skill would understand

  9    that.

 10           Q.       So the -- I'm going to use the phrase the

 11    active electrically driving a BAW resonator results

 12    in motional current?

 13                    MR. QUIST:       Objection.       Vague.

 14                    THE WITNESS:        I'd want to think about

 15    that.     I've not offered that opinion.                I don't have

 16    an opinion about that as I sit here today.                      I've not

 17    opined on that.

 18    BY MR. FUHRER:

 19           Q.       I guess I want to go back to the point,

 20    which we can look at your rebuttal report, paragraph

 21    16.

 22           A.       Okay.

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  1           Q.       Do you have that there?

  2           A.       Yes, I do.

  3           Q.       Okay.     You say, "More importantly, the

  4    intrinsic record does not mention motional current at

  5    all," which it sounds like it's the same as in the

  6    initial report.         But I just want to drive home the

  7    fact that you seem to be saying that since motional

  8    current isn't in the intrinsic record, it would be

  9    inappropriate to use it in construing active region.

 10                    Is that what you're saying?

 11           A.       What I'm saying is in the -- to this

 12    particular point in the third sentence of paragraph

 13    16 of my rebuttal report, quote, "nor would a POSITA

 14    have considered it necessary to define active region

 15    and outer region based on motional current to

 16    understand other features of the '755 patent.                       And

 17    that's the opinion about that, that it's not

 18    required.

 19                    And since it's not found in the intrinsic

 20    record, I see no reason, and hence my statement that

 21    it's not necessary, to define active region and outer

 22    region, et cetera, using that term.

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  1           Q.       When you say it's not required, what do

  2    you mean?

  3           A.       It's one does not have to define it that

  4    way.    One does not have to have an unambiguous

  5    understanding of that term to understand the '755

  6    patent and its claims.

  7           Q.       Isn't the -- I mean, it seems like both

  8    experts -- strike that.             I'll rephrase it.

  9                    It seems as though both parties are

 10    contending that a plain and ordinary meaning is the

 11    proper construction, correct?

 12                    MR. QUIST:       Objection.

 13                    THE WITNESS:        I'm going to go back --

 14                    MR. QUIST:       Form.

 15                    THE WITNESS:        In paragraph 21 of my

 16    opening declaration, I recite the two parties'

 17    proposed constructions and Qorvo starts with plain

 18    and ordinary, but then goes on to explain if a

 19    construction is necessary, whereas Akoustis' proposed

 20    construction just states not region of the device

 21    where motional current density is generated through

 22    the piezoelectric layer.             It does not start with a

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  1    presumption of plain and ordinary, so I don't

  2    understand your question.

  3    BY MR. FUHRER:

  4           Q.       Okay.     I guess -- I don't want to make

  5    this a memory test, but do you recall whether

  6    Dr. Nguyen identified Akoustis' proposed construction

  7    as the plain and ordinary meaning?

  8           A.       I don't.      If you point me to it or

  9    represent that he did, then of course he did.                       But I

 10    don't recall.

 11           Q.       Well, for purposes of expediting things,

 12    if I tell you that he identified it as a plain and

 13    ordinary meaning, did you analyze each of the

 14    proposed constructions to determine whether or not

 15    they were in fact the plain and ordinary meaning of

 16    the term -- of the disputed term as understood by a

 17    POSITA?

 18                    MR. QUIST:       Objection.       Vague.

 19                    THE WITNESS:        Not outside the context of

 20    the patent.        So in the context of the patent's claim

 21    and -- claims and specification, that's how I did

 22    those analyses.         And then opined on what was

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  1    necessary or not.

  2                    MR. FUHRER:        Why don't we take a 10-minute

  3    break.

  4                    THE WITNESS:        Okay.       10:17 East Coast

  5    time.

  6                    MR. FUHRER:        That would be great.

  7                    THE WITNESS:        Thank you.

  8                    (Recess.)

  9    BY MR. FUHRER:

 10           Q.       Dr. Bravman, before the break, we were

 11    talking about active region and if I could have you

 12    go back to your initial report, paragraph 11.                       And

 13    just for the record, this isn't you discussing active

 14    region, but I just want to get your opinion or

 15    explanation on this.

 16                    Do you see in that section you're talking

 17    about a BAW resonator and it says, "In addition to

 18    the electrodes and piezoelectric layer, BAW

 19    resonators also utilize supporting structures."

 20                    Do you see that section?

 21           A.       Yes.

 22           Q.       And then you identify two types of

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  1    supporting structures, either the solidly mounted or

  2    the FBAR, correct?

  3           A.       Yes.

  4           Q.       And do you consider what you call here the

  5    supporting structures part of the BAW resonator?

  6           A.       I don't think I've opined about exactly

  7    what the endpoints are of the resonator.                     But a

  8    worker of skill understands that if someone says here

  9    is a BAW resonator, it's going to be inclusive of

 10    structures which are there for mechanical support,

 11    electrical activation, et cetera.                 So in abstract,

 12    yes.

 13           Q.       In the abstract, yes, it's part of the BAW

 14    resonator?

 15           A.       A BAW resonator is divided into two

 16    categories, as I show here, generally.                    And that

 17    device is the BAW resonator as opposed to say, its

 18    electrically active region or the substrate or the

 19    packaging.       Those all could also be explicated if

 20    necessary.

 21           Q.       And I apologize, maybe it's just for me,

 22    but I'm still not clear.             Is it your opinion that the

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  1    supporting structures are included as part of the BAW

  2    resonators?

  3                    MR. QUIST:       Objection.       Scope.      Relevance.

  4                    THE WITNESS:        I've not opined in a way

  5    that takes a firm position what limits the material

  6    extent of a BAW resonator.              It's not, in my opinion,

  7    relevant to understanding the '755 patent.

  8                    What I just said was that, depending on

  9    context, if someone handed you a BAW resonator, one

 10    would understand it was in some kind of a package, it

 11    included a substrate and other structures, but in a

 12    different context, one might be including a subset of

 13    those structures.          And here it doesn't really -- it's

 14    not pertinent to understanding the '755 patent.

 15    BY MR. FUHRER:

 16           Q.       And why do you say that?

 17           A.       Because the claims of the '755 patent

 18    speak to aspects of BAW resonators as described in

 19    the intrinsic record and so doesn't require the

 20    worker of skill to opine about what constitutes the

 21    moniker bulk acoustic wave resonator to understand

 22    it, that is, "it" being the patent.

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  1           Q.       So if we look at figure 4 of the '755

  2    patent.

  3           A.       Okay.

  4           Q.       And hopefully just to put what you just

  5    testified to in context, do you agree that the Bragg

  6    reflectors -- oh, I'll let you say it since you're

  7    the expert.

  8                    Do you see what could be identified as

  9    Bragg reflectors in figure 4?

 10           A.       Yes.    That's the layers 76, 78, 80, 82 and

 11    84 comprise a reflector which is designated structure

 12    74.

 13           Q.       And do you know whether the inventors

 14    identify that portion 74 as part of the active

 15    region?

 16           A.       So graphically right there, we see that

 17    there's a set of dotted lines, as I have often seen

 18    on these kind of drawings, which in this vertical

 19    cross-section, I'll call it, of a device, it

 20    illustrates the lateral extent of active and outer

 21    regions relative to the width of the electrodes and

 22    the piezoelectric layer subsumed within.

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  1           Q.       So does this figure 4, in your

  2    understanding of the intrinsic record, include all of

  3    the reflectors as part of the active region?

  4           A.       There's no doubt here on the clawing, it's

  5    plain to see that there are fractions of the Bragg

  6    reflector within the boundaries of those dotted

  7    lines.      Elsewhere in the text it refers to the active

  8    region with -- in a variety of ways that are not

  9    inconsistent with this drawing.

 10                    So this is one reason why, if we're going

 11    to explicate on a meaning for active region relevant

 12    to understanding the claims of the invention, why the

 13    electrical activation concept is one that I, you

 14    know, support.

 15           Q.       The teachings of the intrinsic record, do

 16    they tell a person of ordinary skill in the art that

 17    all layers of the reflector 74 should be considered

 18    part of the active region at least within the dotted

 19    lines of active region 90?

 20           A.       In this particular graphical depiction of

 21    figure 4, it's not perfectly unambiguous whether or

 22    not that's the case.            I've seen plenty of drawings

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  1    where dotted lines are extended to the periphery of

  2    the main drawing so they can be labeled as they are

  3    here.

  4                    But clearly, almost anyone could look at

  5    this and see that there are at least portions of the

  6    Bragg reflector that are physically located in this

  7    cross-section between the dotted lines.                    And I think

  8    in my text of my opening report and in my rebuttal

  9    report, I speak further to other descriptions found

 10    in the patent.

 11           Q.       If you can go to your rebuttal report,

 12    paragraph 17.

 13           A.       Okay.

 14           Q.       It says in paragraph 17, "Each describes

 15    an active region."           Do you see that part?

 16           A.       Yes.

 17           Q.       I'll go on.        "Each describes an active

 18    region/area as being defined by particular electrode

 19    and piezoelectric layer arrangements that allow the

 20    region to be electrically driven."

 21                    Do you see that?

 22           A.       Yes.

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  1           Q.       And what are you describing there?

  2           A.       In the extrinsic evidence, I'm describing

  3    the use of the terms "active region" and "outer

  4    region" in a certain way, as you just read, and

  5    asserting how they are -- how those uses are

  6    supportive of Qorvo's construction.

  7           Q.       So is it correct that the piezoelectric

  8    layer is electrically driven by the voltage input; is

  9    that correct?

 10           A.       Yes.    That is certainly an aspect of this

 11    device's operation.

 12           Q.       And if you look at '755 patent column 6.

 13           A.       I have it.

 14           Q.       Starting at line 14.

 15           A.       Yes.

 16           Q.       I'm sorry.       Make sure I'm on the right

 17    one.    Oh, yeah.       It starts with, "Notably."

 18                    Do you see that?

 19           A.       Yes.

 20           Q.       And it says, Notably, as used herein, the

 21    active region 62 is the region of the reference BAW

 22    resonator 38 that is electrically driven which, in

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  1    the example of figure 2A, is the region consisting of

  2    the bottom electrode, the top electrode and the

  3    portion of the piezoelectric layer 40 between the top

  4    and the bottom, correct?

  5           A.       Yes.

  6           Q.       And then it goes on to say, "And the

  7    portion of the reflector beneath the bottom

  8    electrode," correct?

  9           A.       Yes.

 10           Q.       In your opinion, would the portion of the

 11    reflector beneath the bottom electrode be

 12    electrically driven?

 13           A.       No.    The electrical driving is between the

 14    plates of the two electrodes with the piezoelectric

 15    layer in between.

 16           Q.       Would you describe the portion of the

 17    reflector beneath the bottom electrode as being

 18    acoustically driven?

 19           A.       It cannot be -- as a principle of physics,

 20    it cannot be fully decoupled from the motion in the

 21    device above.         And that is the piezoelectric layer

 22    and the electrodes.

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  1                    But the purpose of the device is to

  2    convert via the electrodes and electrical signal to

  3    an acoustic or mechanical signal in the piezoelectric

  4    layer.      And, in particular, the patent speaks to how

  5    to best contain that within that region and how most

  6    particularly to minimize its loss or leakage

  7    laterally.

  8           Q.       Doctor, I just asked --

  9           A.       The patent describes -- sorry.

 10           Q.       Go ahead.

 11           A.       The patent describes loss of energy down

 12    through the reflector layers, but then focuses again,

 13    as I said, on the lateral loss.

 14           Q.       My question was would you describe the

 15    portion of the reflector beneath the bottom electrode

 16    to be acoustically driven, yes or no?

 17           A.       I have to be honest.            That's not a

 18    question I would ask appropriately from a scientific

 19    point of view.         But I'll answer first, as you ask it,

 20    I think the answer is no.              It's not being -- but I'll

 21    go on to say that it's not the point of a BAW

 22    structure to acoustically or electrically drive the

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  1    reflector region as part of the overall structure

  2    with a certain function and that is to contain the

  3    acoustically -- the acoustic wave within the

  4    piezoelectric electrode layers.                 But it's impossible

  5    to fully decouple it acoustically, that is

  6    mechanically, which in a different context Dr. Nguyen

  7    affirms in his own report.

  8           Q.       But you did say that the portion of the

  9    reflector 46 beneath the bottom electrode 42 would

 10    not be electrically driven, correct?

 11           A.       Certainly in the normal context of what

 12    electrically driven means, in the context of the '755

 13    patent, no.        The electrically driven portion is the

 14    fraction of the piezoelectric layer between the

 15    electrodes.        So that an electric field can be

 16    established across those electrodes through the

 17    piezoelectric layer at a known frequency giving rise

 18    to acoustic action within the piezoelectric layer.

 19           Q.       I know you may not be fond of short

 20    answers, but to the extent you can agree or disagree

 21    with this, the portion of the reflector 46 beneath

 22    the bottom electrode 42 would not be electrically

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  1    driven.      Do you agree with that, yes or no?

  2                    MR. QUIST:       Objection.       Vague.

  3                    THE WITNESS:        In the context of this

  4    patent, a POSITA would not call that region

  5    electrically driven.

  6    BY MR. FUHRER:

  7           Q.       Thank you.       So would Qorvo's construction

  8    that includes electrically driven exclude the portion

  9    of the reflector 46 beneath the bottom electrode 42?

 10           A.       For purposes of understanding the claimed

 11    invention, yes.

 12           Q.       But you agree that the inventors were

 13    describing the active region as including the portion

 14    of the reflector beneath the bottom electrode?

 15           A.       In certain parts of the texts and

 16    graphically, yes.          In other parts, he defines it

 17    differently.

 18           Q.       But in the section we just looked at, at

 19    column 6, lines 14 through 21, they're using the term

 20    "electrically driven" in describing what portions are

 21    included in the active region, correct?

 22           A.       Yes, and then goes on to explicate further

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  1    as we read.

  2           Q.       Can you explain why you agree with Qorvo's

  3    construction that uses electrically driven that would

  4    not include the portions of the reflector beneath the

  5    bottom electrode?

  6           A.       Because read in the context of the entire

  7    intrinsic record of the '755 patent, my opinion is

  8    that it's directed to minimization of energy loss in

  9    the lateral directions; that is, energy loss

 10    emanating out the sides, as it were, of the

 11    electrically driven piezoelectric layer as well as

 12    from the electrodes.            That's the whole focus of the

 13    invention.

 14                    The patent, as I mentioned a few moments

 15    ago, describes energy loss in the longitudinal

 16    direction, but then goes on to focus on the lateral

 17    loss or leakage and addresses that.                  And it's that

 18    active region, that part of the active region that's

 19    electrically activated.

 20                    I don't -- it's my opinion that a worker

 21    of skill would understand the electrical activation

 22    is between the electrodes very clearly and, because

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  1    of that and because of the purpose of the invention

  2    being, again, in my opinion, unambiguously directed

  3    to minimization of lateral leakage or loss, those

  4    terms are consistently used and do not require

  5    discussing aspects of electrically driving the Bragg

  6    reflector region.

  7           Q.       So when the inventors said it included the

  8    portion of the Bragg reflector, you just think that

  9    was a misstatement inconsistent with the invention?

 10                    MR. QUIST:       Objection.       Mischaracterizes

 11    the witness' testimony.

 12                    THE WITNESS:        No, I've not offered that.

 13    But there are, in both words and graphical depictions

 14    in all technical literature, including patent

 15    literature, often a variety of explanatory comments

 16    or visualizations.

 17                    Here what I'm doing, without saying he

 18    made a mistake or he's wrong at all, I'm saying the

 19    worker of skill would understand that the

 20    electrically activated very particularly refers to a

 21    voltage being established, a certain frequency across

 22    the two electrodes, that this constitutes

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  1    electrically driven region.               It gives rise to

  2    deleterious losses laterally and that's what we're

  3    going to address.

  4                    So I'm not saying he's right or wrong.

  5    Those words are consistent with one interpretation at

  6    least of the drawing that you directed me to.

  7    They're not -- I have no issue with that.                     But

  8    because of what the patent teaches, in my opinion, I

  9    can agree with the term as construed.

 10    BY MR. FUHRER:

 11           Q.       For Akoustis' proposed construction where

 12    it uses the term "motional current density" --

 13           A.       Yes.

 14           Q.       -- would that be a construction that would

 15    include the portion of the reflector beneath the

 16    bottom electrode?

 17           A.       I haven't offered an opinion about that.

 18    You've got highly insulative materials and conductive

 19    materials interlayered in that reflector region, so

 20    currents through those highly insulating materials,

 21    that would at least give one pause.                  I don't think of

 22    the term as being appropriate for those structures,

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  1    but I've not opined upon that in my report.                      But the

  2    notion of currents in part through a dielectric or

  3    insulating layer, I don't quite understand that.

  4           Q.       In the '755 patent, at the bottom of

  5    column 4 and the top of column 5.

  6           A.       Okay.     I have it.

  7           Q.       You understand that the inventors

  8    specifically said to apply the plain and ordinary

  9    meaning to one of ordinary skill in the art to terms?

 10           A.       Yes.

 11           Q.       It goes on as a caveat, I guess, that the

 12    terms used herein should be interpreted as having --

 13    up to the top of column 5 -- meanings that are

 14    consistent with their meaning in the context of this

 15    specification, correct?

 16           A.       Yes.

 17           Q.       And my question is, if the inventors were

 18    including the portion of the reflector beneath the

 19    bottom electrode as the active region, how is Qorvo's

 20    construction being consistent with the specification?

 21           A.       Because the specification very clearly in

 22    my opinion refers to and speaks to the electrical

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  1    activation between the electrodes and leakage

  2    laterally out of that region and ways to minimize

  3    that leakage.         And so that's what it's focused on.

  4    It distinguishes that in fact from leakage or loss

  5    through the reflector region or reflector structures.

  6                    Independent of whether or not one has

  7    labeled that as part of the active region, it

  8    acknowledges that -- the existence of loss there, but

  9    talks about the loss laterally and focuses upon that.

 10           Q.       I want to turn your attention, if I might,

 11    to your rebuttal report and paragraph 25.

 12           A.       I have that.

 13           Q.       In there you say, "A POSITA reviewing the

 14    intrinsic record would have understood that the

 15    function of the resonator is to provide a desired

 16    filtering function," correct?

 17           A.       Yes.

 18           Q.       And if I remember correctly, I think you

 19    were addressing Dr. Nguyen's criticism of the term

 20    "functionality" within Qorvo's construction.

 21                    Does that sound correct?

 22           A.       Yes.

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  1                    MR. QUIST:       Objection.       Vague.

  2                    THE WITNESS:        It's in a full reading of

  3    paragraph 25 of my rebuttal report.

  4    BY MR. FUHRER:

  5           Q.       Thank you.       So is the filtering function

  6    that you reference in paragraph 25, is the filtering

  7    function of the BAW resonator impacted by the outer

  8    region of the BAW resonator according to the claimed

  9    invention?

 10                    MR. QUIST:       Objection.       Vague.

 11                    THE WITNESS:        Is the functionality

 12    impacted, did you ask me?

 13    BY MR. FUHRER:

 14           Q.       Well, I want to use your words.                 You say

 15    that the resonator -- the function of the resonator

 16    is to provide the filtering function, the desired

 17    filtering function, correct?

 18           A.       Yes.

 19           Q.       So you're talking about the resonator as a

 20    whole?

 21           A.       Yes.    I mean, that's the purpose -- that's

 22    the device I would -- that's the name I would give to

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  1    the device.

  2           Q.       Right.     But under the claimed invention,

  3    that device is broken down into two regions, right,

  4    the active region and the outer region?

  5           A.       Yes.    A worker of skill understands there

  6    are others as well, but yes.

  7           Q.       But for purposes of claim construction,

  8    you agree that whatever construction is determined,

  9    it's important that the construction identify where

 10    the active region ends and the outer region begins,

 11    correct?

 12                    MR. QUIST:       Objection.       Mischaracterizes

 13    the witness' testimony.

 14                    THE WITNESS:        I think a worker of skill

 15    would come to grapple with that concept, but that's

 16    not what I've written as being required.                     What I've

 17    done is affirmed, should a construction be required

 18    or desired, is that it's the electrically driven

 19    portion of the overall resonator device or structure

 20    that is being described when one talks about active

 21    region, because it's that region, again, in the

 22    context of the patent, from which energy is being

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  1    lost laterally and to which loss the patent is

  2    directed.

  3    BY MR. FUHRER:

  4           Q.       Well, isn't the invention about comparing

  5    different BAW resonators, one where the outer region

  6    has N not equal to 1 and one where the outer

  7    region -- I'm sorry.            I'm sure I misspoke there.

  8                    But the point is that, in comparing BAW

  9    resonators, the relevant difference between the

 10    resonators is that in one, N does not equal 1 and in

 11    the other, N equals 1, correct?

 12                    MR. QUIST:       Objection.       Vague.

 13                    THE WITNESS:        In the language, as you say,

 14    of the patent in various places, this concept of an

 15    N -- letter N for the court reporter -- N factor does

 16    come into play and shows or asserts that, under

 17    conditions where that is the case, that is, N is

 18    different than 1, the functionality is improved by

 19    reducing the loss or leakage laterally from the

 20    electrically driven region.               It does not exclude

 21    other loss mechanisms, but it speaks to that loss

 22    mechanism most particularly.               And most particularly,

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  1    when it defines N, it talks about materials in the

  2    outer region that may or may not be there to varying

  3    thicknesses.

  4                    And then lastly, I'll say a worker of

  5    skill understands an improvement that is claimed with

  6    language such as that means, all other things being

  7    equal, if you want to show an improvement and assert

  8    that it has to do with a ratio of thicknesses of

  9    certain structures and is otherwise silent about a

 10    before and after state, then one assumes that before

 11    and after is unchanged except for, in this case,

 12    doing that which changes the value of N away from 1.

 13    BY MR. FUHRER:

 14           Q.       I mean, I guess my question is, if the

 15    claim is directed -- if the invention is directed to

 16    having one or more layers in the outer region

 17    relative to the active region, don't we have to know

 18    where the active region ends and the outer region

 19    begins so we know what we're comparing?

 20           A.       Yes.    And the patent, relative to my

 21    understanding of its claimed inventiveness, speaks

 22    directly to that, that is, outside of the boundaries

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  1    of this electrically driven region between the

  2    electrodes.

  3           Q.       But your position is that the analysis of

  4    the active region ends with the piezoelectric layer,

  5    that essentially defines the active region because

  6    that's the region that's electrically driven?

  7           A.       My analysis clearly understands that, for

  8    instance, the figure 2, I believe it was, says what

  9    it says, but for understanding the claimed invention

 10    and the losses trying to be mitigated, that would be

 11    an alternative to plain and ordinary meaning of

 12    active region because it's directed to, again, the

 13    lateral loss or leakage of mechanical energy from the

 14    electrically driven region that it seeks to mitigate,

 15    that is, the patent seeks to mitigate.

 16           Q.       So for the function at aspect -- I guess

 17    I'll first ask, we were talking about the N equals 1

 18    versus N not equaling 1.             You make reference in your

 19    report of prior art BAW resonators and I'm just

 20    wondering, is it your intention that all prior art

 21    BAW resonators could be described as N equal to 1?

 22                    MR. QUIST:       Objection.       Scope.      Relevance.

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  1                    THE WITNESS:        I've not asserted that in my

  2    reports.

  3    BY MR. FUHRER:

  4           Q.       And you've not done that analysis?                  I

  5    mean, you've referenced prior art conventional

  6    resonators, correct?

  7           A.       BAW resonators --

  8                    MR. QUIST:       Objection.       Vague.

  9                    THE WITNESS:        BAW resonators are known in

 10    the art before the '755 patent.                 The N ratio in '755

 11    may or may not be particular to the '755, but I've

 12    certainly not said that analysis of all prior art,

 13    all resonators has that feature, that is, N equals to

 14    1.    The patent clearly is asserting its claimed

 15    invention in that context, that if we make this

 16    change in structure adjacent to the electrically

 17    driven region, we will see an improvement if N is

 18    different than 1.

 19    BY MR. FUHRER:

 20           Q.       But you agree that before the '755 patent,

 21    there were BAW resonators where N did not equal 1,

 22    correct?

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  1                    MR. QUIST:       Objection.       Relevance.        Scope.

  2                    THE WITNESS:        I've not done any kind of

  3    analysis of that type.

  4    BY MR. FUHRER:

  5           Q.       For this case.         But you claim to be quite

  6    well versed and experienced with BAW resonators,

  7    correct?

  8           A.       But again, I've not done that analysis.

  9    And as I sit here, I certainly don't know the answer

 10    to your understandable question.

 11           Q.       You don't know whether or not prior art

 12    devices had what the patent describes as N not equal

 13    to 1?

 14                    MR. QUIST:       Objection.       Scope.      Relevance.

 15                    THE WITNESS:        This sounds like a validity

 16    analysis and I have not done a validity analysis on

 17    '755.

 18    BY MR. FUHRER:

 19           Q.       Do you know how hard it is or whether it's

 20    difficult at all to make N equal to 1 in a BAW

 21    resonator?

 22                    MR. QUIST:       Objection.       Relevance.        Scope.

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  1    Vague.

  2                    THE WITNESS:        Speaking in the abstract

  3    only, I know that over the decades, great advances

  4    have been consistently achieved in control of layered

  5    geometries in all three dimensions and that, as a

  6    matter of technical ability versus justifiable cost,

  7    a very large range of structures today can be in fact

  8    produced.       Whether or not they're economically

  9    viable, different question.

 10    BY MR. FUHRER:

 11           Q.       So back to paragraph 25 where we were

 12    talking about the filtering function.

 13           A.       Yes.

 14           Q.       You were equating to the functionality

 15    used in Qorvo's claim construction, correct?

 16           A.       Yes.

 17           Q.       And not to put too blunt a point on it,

 18    but you're saying essentially I don't know why

 19    Dr. Nguyen's confused about the term "functionality,"

 20    it means the filtering function, isn't it the point?

 21           A.       Yes.

 22           Q.       But this is in the context of the active

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  1    region.      And is it your contention that it's the

  2    active region only that's responsible for the desired

  3    filtering function?

  4                    MR. QUIST:       Objection.       Vague.

  5                    THE WITNESS:        I would make an analogy of

  6    what is it in a car that makes it go forward.                       And

  7    one would understand there's many parts to that, but

  8    if there was an analogy to this patent about cars, it

  9    would be talking about the engine, even though other

 10    parts may play a role.             But it's the piezoelectric

 11    material and how it behaves that around which

 12    everything else is designed and built to provide a

 13    deliverable or an actual filtering function.                      But at

 14    the core of it is certainly the electrically driven

 15    piezoelectric region that gives you that

 16    functionality.

 17                    I'd be -- I would use, when teaching a

 18    class, such phrases as the other structures are there

 19    in support of that function, but they can't be

 20    eliminated because that function otherwise would not

 21    be realized.

 22    BY MR. FUHRER:

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  1           Q.       And in paragraph 28 --

  2           A.       Okay.

  3           Q.       -- I'm looking at the sentence that starts

  4    with the word "Rather."

  5           A.       I have it.

  6           Q.       It says, "Rather, a POSITA would have

  7    understood the 'electrically driven' to be related to

  8    the ultimate purpose of the resonator - its filter

  9    functionality," correct?

 10           A.       Yes.

 11           Q.       Wouldn't you agree that current -- you

 12    could say the same thing about current, that current

 13    is related to the ultimate purpose of the resonator,

 14    its filter functionality?

 15           A.       Yes.    I mean, if there's no electrical

 16    currents involved, then there's no filter -- there's

 17    nothing to filter.

 18           Q.       Right.     So whether or not it's related to

 19    the filter functionality, either -- sorry.                      Strike

 20    that.     I'll try it again.

 21                    A POSITA would understand that both terms

 22    would be equally applicable to the filter

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  1    functionality, both electrically driven and current

  2    or motional current, correct?

  3                    MR. QUIST:       Objection.       Vague.

  4                    THE WITNESS:        No, I would not agree with

  5    that.     I mean, I think this is why the concept in

  6    particular of a POSITA must come to the fore, because

  7    there's probably 50 other things I could read

  8    there -- read into that that would be related to the

  9    ultimate purpose.

 10                    The use of a conductor for the electrodes

 11    rather than the use of an insulating material, the

 12    POSITA understands that.             It doesn't have to be

 13    explicated for the POSITA to understand that.                       And so

 14    that's what I meant by, in the context of a POSITA,

 15    the ultimate purpose of the resonator is as I say.

 16    It doesn't -- it's not a full explication of all the

 17    things that could be considered directly related to

 18    its function.

 19    BY MR. FUHRER:

 20           Q.       I guess I'm just trying to make sure I

 21    understand why this sentence was written the way it

 22    was, and you agree that motional current is related

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  1    to the ultimate purpose, correct?

  2           A.       In the abstract, yes.            What I've opined on

  3    is that, in the '755 patent, especially with that

  4    phrase not being found within the patent, a POSITA

  5    would not think to make recourse to that term in

  6    understanding the claimed invention of the '755

  7    patent.

  8           Q.       We can shift gears, if we will, back to

  9    your initial report and discuss density of mechanical

 10    energy.      And if you could go to paragraph 41.

 11           A.       Okay.     Okay.     I have that.

 12           Q.       I think we've covered that already.                  I'll

 13    let you skip that.           I'll go on to the next one.               I

 14    apologize.       You have in there, in paragraph 41, a

 15    sentence that begins with, "Rather, a POSITA reading

 16    the '755," do you see that?

 17           A.       Yes.

 18           Q.       And it says that the '755 patent -- I'm

 19    sorry, a POSITA would have understood the, quote,

 20    unquote, "density to be used in a broader sense and

 21    recognizing general and/or localized mechanical

 22    energy reduction, such as shown in figures 3A and

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  1    3B."

  2                    Do you see that?

  3           A.       Yes.

  4           Q.       So in this sentence, you are at least

  5    agreeing that there is a need for some volume in

  6    order to determine density, correct?

  7                    MR. QUIST:       Objection.       Misstates the

  8    witness' testimony.

  9                    THE WITNESS:        I've not said that density

 10    can exclude a volumetric component, but here, as it

 11    says, it's used in a broader sense, again, for a

 12    worker of skill, in the context of the patent, to

 13    understand what is actually in the claims.

 14                    And as I say above that, while sometimes

 15    the word "density" is used to describe relative

 16    amounts, the POSITA would not understand density to

 17    require a particular specific mathematical or

 18    dimensional relationship.              That's my opinion about

 19    how a worker of skill would read the claim elements

 20    involving the word "density" in light of the entire

 21    patent.

 22    BY MR. FUHRER:

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  1           Q.       Well, what do you mean by localized

  2    mechanical energy?

  3           A.       It could be looking at some region.

  4    Again, my before and after explanation a few moments

  5    ago about you make a change and you try to hold all

  6    other things being equal so you could define any

  7    region you wanted to and said before and after the

  8    introduction of the invention, one would look at that

  9    same region for mechanical energy density.

 10           Q.       You referenced figures 3A and 3B.                 Can you

 11    take a look at those, please?

 12           A.       Yes.    They're on page 12 of my -- that

 13    report.      I've got them.

 14           Q.       And so just for a sense of reference, for

 15    figures 3A and 3B, the right side represents the

 16    outer region, correct?

 17           A.       Yes.

 18           Q.       And there are numbers associated with

 19    measurements from the outer region, correct?

 20           A.       Yes.

 21           Q.       Could you describe for me what you

 22    understand those to represent?

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  1           A.       So what he's depicting here are, in 3A as

  2    opposed to 3B, the change of material structures as

  3    indicated in the patent and by a clear change in the

  4    darkest regions, which varies with position, but a

  5    clear change, a demonstration that the energy loss is

  6    diminished.        When you go to the structure which is

  7    depicted in figure 3B, that is when the claimed

  8    invention is instantiated.

  9           Q.       And you see, I guess, for both figures,

 10    but at the top of the numbers, there seems to be a

 11    formula, correct?

 12           A.       Yep.

 13           Q.       And do you understand what that formula

 14    is?

 15           A.       It looks like current density per micron

 16    cubed.

 17           Q.       And so the micron cubed represents a

 18    volume, does it?

 19           A.       Yes.    Because the way this technique

 20    works, they're giving that kind of -- it's providing

 21    that kind of information and then depicting it

 22    graphically.

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  1           Q.       And what are the Joules that you

  2    reference?

  3           A.       Level of energy.

  4           Q.       So the Joules over the -- I'm sorry, did

  5    you say micron --

  6           A.       Cubed.

  7           Q.       Yes.    Is that determining density?

  8           A.       It's a volumetric component, so it's

  9    immediately understood as density, yes.

 10           Q.       And you mentioned that if you compare the

 11    outer region of 3A to 3B, there's a clear change, but

 12    it varies by position, correct?

 13           A.       Yes.

 14           Q.       So under your -- under Qorvo's

 15    construction, which you've said is the correct one,

 16    you could be measuring the Joules over microns cubed

 17    in any region of the outer region, correct?

 18           A.       One could.       And that's why this particular

 19    depiction, which only shows a two-dimensional slice,

 20    is understandable.           One could choose one or more or

 21    many regions.         And, again, it's the before and after,

 22    as I've called it, that's important to show the

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  1    change.

  2                    And this shows the spatial arrangements of

  3    those changes, and one could then go on to ask

  4    whether one wants to specify regions, let us say

  5    closer to or further away from the edge of the

  6    piezoelectric region in a lateral direction.                      One

  7    could look at the vertical direction as well.                       And so

  8    the worker of skill understands that a complete

  9    understanding or picture of energy loss would

 10    comprise such analysis.

 11           Q.       So I know this is a two-dimensional

 12    representation, but as best as we can, is it your

 13    position that if you just -- I'm going to use my pen.

 14    We don't have it here.             And I've just made a pen

 15    point somewhere in the outer region.                   Are you

 16    following me so far?

 17           A.       Yes.    I understand.

 18           Q.       Would that be an acceptable localized

 19    region where you could determine whether or not there

 20    was a change in density of mechanical energy?

 21                    MR. QUIST:       Objection.       Vague.

 22                    THE WITNESS:        Any region in the outer

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  1    region could be analyzed as you posit.                    A worker of

  2    skill would understand that with a capability of

  3    making two and three-dimensional assessments, that

  4    most typically many such assessments would

  5    necessarily be made to understand the energy loss.

  6    BY MR. FUHRER:

  7           Q.       So in my example, if I make a very small

  8    area, very small, the localized region and it shows a

  9    reduction in density of mechanical energy, you

 10    believe that that is an appropriate measure of the

 11    claimed invention as it relates to reducing the

 12    density?

 13                    MR. QUIST:       Objection.       Form.

 14                    THE WITNESS:        My supposition is you're

 15    asking with regard to Dr. Nguyen's assertion that

 16    it's over the whole volume as opposed to some

 17    localization of that which my construction would

 18    allow.      I understand your posit.             But I think no

 19    worker of skill would pick a dot and say let's look

 20    at that before and after and come to a conclusion.

 21                    But reading the patent as I believe a

 22    worker of skill would with the focus clearly being on

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  1    before and after, I don't think specification of the

  2    entire volume is required, nor -- in the same way a

  3    dot that you would draw in a certain area would also

  4    be, I would deem, inadequate for understanding.

  5                    And that's why in particular I think these

  6    graphical depictions are nice because they show you,

  7    as a function of position -- in this case in two

  8    dimensions -- what the energy loss is.                    And with

  9    simulations, of course, possible and very much so in

 10    three dimensions and if one validates those

 11    simulations with these type of data and gains

 12    confidence in the model, then you can look in three

 13    dimensions in a very complicated way.

 14    BY MR. FUHRER:

 15           Q.       So in staying with figures 3A and 3B for a

 16    minute, would you agree or disagree that these

 17    figures show the average density leaked over the full

 18    volume of the outer region?

 19                    MR. QUIST:       Objection.       Form.

 20                    THE WITNESS:        I don't -- well, it's only a

 21    two-dimensional slice and so it can't be over the

 22    full active or outer region.               And I don't know,

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  1    because there was no further scale markings or

  2    anything like that.

  3                    What it clearly is showing and, you know,

  4    it's claiming -- the reader has to decide whether one

  5    believes it or not -- that the transition from figure

  6    3A to 3B is indicative of the success of the claimed

  7    invention and that one sees much lower densities of

  8    mechanical energy in the outer region in 3B than in

  9    3A and that, therefore, this is emblematic of the

 10    success of the invention.              That's what I think 3A and

 11    3B are showing.

 12    BY MR. FUHRER:

 13           Q.       Does the result of the reduction have to

 14    ultimately lower the Q to practice the claimed

 15    invention?

 16                    MR. QUIST:       Objection.       Scope.      Relevance.

 17                    THE WITNESS:        I'm sorry, I heard you say

 18    lower the cube?

 19    BY MR. FUHRER:

 20           Q.       I said Q as in Q factor.

 21           A.       I mean, I've not opined on a Q -- Q factor

 22    is used in the patent as one measure of the end goal

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  1    of the patent's invention.              It doesn't claim to be

  2    the only way to improve Q.

  3           Q.       I guess my question is, and you, I

  4    believe, stated earlier, that the idea is everything

  5    stays the same, but we change the N.                   And my question

  6    is, if that's the case, everything is the same but N

  7    is changed, in order to practice the invention, does

  8    the Q have to improve with the N not equal to 1 in

  9    order to practice the invention?

 10                    MR. QUIST:       Objection.       Scope.      Relevance.

 11                    THE WITNESS:        Yeah, I've certainly not

 12    opined on that.         But since I'm positing a

 13    hypothetical, if in fact nothing else changed, if you

 14    improve one aspect of the factors that go into Q,

 15    it's likely that Q itself would improve.                     But that's

 16    just in the abstract.

 17    BY MR. FUHRER:

 18           Q.       And to try to speak plainly, I think, more

 19    for my sake, but the difference, it seems, between

 20    the constructions -- at least one difference is that

 21    there's no volume identified in Qorvo's construction.

 22    You would agree with that, correct?

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  1                    MR. QUIST:       Objection.       Form.

  2                    THE WITNESS:        No.

  3    BY MR. FUHRER:

  4           Q.       I'm sorry?

  5                    MR. QUIST:       Dr. Bravman, I don't think the

  6    answer was heard clearly.              If you can restate your

  7    answer to that question.

  8                    THE WITNESS:        Oh, I'm sorry, I thought I

  9    heard counsel say sorry as if he was going to change

 10    the question.         Qorvo's proposed construction does not

 11    specifically require any particular volume.

 12    BY MR. FUHRER:

 13           Q.       It doesn't identify any volume at all,

 14    correct?

 15           A.       No.    As it says, it talks about the energy

 16    lost from the active region.               And one would assess,

 17    to practice the invention, that.

 18           Q.       And you did recommend -- I take that back.

 19    I'll strike that.

 20                    In your rebuttal report, you did offer

 21    what I'll call an addendum to the construction of

 22    Qorvo's by giving it some language related to volume,

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  1    correct?

  2                    MR. QUIST:       Objection.       Vague.

  3                    THE WITNESS:        Where would that be?

  4    BY MR. FUHRER:

  5           Q.       Let's go to paragraph 36 of your rebuttal.

  6           A.       Okay.

  7           Q.       And the part I'm referring to is where it

  8    says, "To the extent."

  9           A.       Yes, that's correct.

 10           Q.       You say, "To the extent a POSITA would

 11    have found it necessary to append a particular

 12    'density' explanation to the definition" -- I'm going

 13    to jump ahead -- "a POSITA would have added 'measured

 14    over a volume of the outer region,'" correct?

 15           A.       Yes.

 16           Q.       And so that would be -- you're suggesting,

 17    although not required, you could -- one could append

 18    that to Qorvo's construction?

 19           A.       Well, since a volume would include any

 20    scale of that volume, then 100 percent of the volume

 21    falls within that scope.

 22           Q.       I guess my question was, you're suggesting

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  1    that this could be added to Qorvo's, to the extent a

  2    POSITA would find it necessary to include some

  3    description of volume, correct?

  4           A.       Yes.

  5           Q.       And I guess you got -- maybe your last

  6    answer was going to be my next question -- but you

  7    chose the word a volume of the outer region.

  8           A.       Yes.

  9           Q.       And what does a volume mean?               Does it

 10    essentially mean any volume?

 11           A.       Well, a volume rationally described in

 12    terms of the patent context.

 13           Q.       What would you -- sorry.             Go ahead.

 14           A.       No.    I mean, it's not the volume.               It

 15    would be a volume of the outer region.                    That makes

 16    sense in the context of the patent.

 17           Q.       What would that volume be in your opinion?

 18           A.       It wouldn't be the volume of the

 19    electrode.       It wouldn't be the volume of the

 20    substrate.       It would be the volume that you would

 21    pick of -- within the outer region that speaks to the

 22    loss of mechanical energy laterally from the active

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  1    region.

  2           Q.       It speaks to all loss?

  3           A.       That's not a -- I've never said that's an

  4    illegitimate concept.            I'm saying that's not what

  5    necessarily has to be taken away from the patent from

  6    the way it's written, because even the patent says a

  7    density of mechanical energy in the outer region.                         It

  8    doesn't say the density.

  9           Q.       Why would you exclude the pen point

 10    example that I described earlier from your proposed

 11    construction of a region?              Wouldn't that be a region?

 12           A.       It would be.        But no worker of skill would

 13    confine the application of that rationally to a pen

 14    point scaled region.

 15           Q.       But isn't the purpose of claim

 16    construction to spell out what a person of skill

 17    would understand it to mean?

 18           A.       Yes, in the context of a POSITA.                 And a

 19    POSITA would never do that.

 20           Q.       You don't think it's necessary to give any

 21    more description to what the region is other than to

 22    say a volume.         You think that that is satisfactory,

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  1    correct?

  2           A.       First and foremost because of -- it's

  3    looking at this change in structure, all other things

  4    being equal, I would answer your question no, that

  5    one could and should describe many such regions.                        But

  6    knowing, for instance, a POSITA would understand the

  7    concept of damping and distance, therefore, from a

  8    source of energy becomes an important factor.

  9                    So maybe the worker of skill wants to

 10    define a multiplicity of vertical slices in equally

 11    sized arrayed periodically moving away from the

 12    active region.         I could easily see that being of

 13    importance.        The problem with the whole volume is now

 14    you're saying it must be that, and I don't think -- I

 15    think that's overly restrictive for what a POSITA

 16    would understand.

 17           Q.       Is there another way that you would

 18    describe what would be a sufficiently large enough

 19    volume that it would be meaningful to the claimed

 20    results?

 21           A.       A worker of skill would not want to make a

 22    conclusion in this case of the patent being

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  1    practiced.       And that would mean the reduction and the

  2    loss of energy from the electrically driven region,

  3    active region, to the adjacent outer region

  4    without -- as a scientist without sufficient

  5    confidence that the volumes selected did not support

  6    that conclusion.

  7                    Now, one can argue about, well, therefore

  8    this should or should not include a specific volume,

  9    but the only volume that can be unambiguously

 10    specified is what was chosen, that is, the whole

 11    volume.      And I just said that restricts the analyses

 12    in ways that I don't think are required or

 13    appropriate.

 14                    MR. QUIST:       And I'll object to the form of

 15    that last question.           Apologies.

 16    BY MR. FUHRER:

 17           Q.       So as I understand the testimony, you

 18    think that the full volume is too much, Doctor,

 19    correct?

 20                    MR. QUIST:       Objection.       Mischaracterizes

 21    the witness' testimony.

 22                    THE WITNESS:        It's too much to be the only

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  1    volume to be considered.

  2    BY MR. FUHRER:

  3           Q.       Right.     And you agree that the pen point

  4    is too small to be a region that could be considered?

  5           A.       To be the only region that was considered.

  6           Q.       But it seems like you're saying that only

  7    a POSITA will know where the happy medium is.

  8                    MR. QUIST:       Objection.       Mischaracterizes

  9    the witness' testimony.

 10                    THE WITNESS:        No, I didn't frame it that

 11    way, I don't think, and I wouldn't.                  I would say a

 12    POSITA would always want as much information as

 13    possible.       But limiting it to, in this case, the

 14    whole volume rather than allowing for other types of

 15    analyses to me is not required, especially in the

 16    context of how the phrase density is used -- density

 17    of mechanical energy used throughout the patent.

 18    BY MR. FUHRER:

 19           Q.       Could you give at least a floor, bottom

 20    number?      For instance, if Dr. Nguyen is suggesting

 21    100 percent volume, would you say, well, it's got to

 22    at least be 50 percent?

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  1           A.       No, because that's --

  2                    MR. QUIST:       Objection.        Vague.     Relevance.

  3    Scope.

  4                    THE WITNESS:        As I've indicated, it's the

  5    spatial -- or it's the spatial arrangement of such

  6    matters that's often of interest to a worker of skill

  7    for understanding how the invention is being

  8    affected.       And I just think restricting that analysis

  9    to only the whole region is just not consistent with

 10    how the patent's being written.

 11    BY MR. FUHRER:

 12           Q.       My question was to half the region, half

 13    the full region.

 14           A.       But I've not -- no, there's no -- it's

 15    completely context dependent.                   Because if you go for

 16    half, I could say, well, it was 99.999.                    That's not

 17    whole, but I'd say, sure, that's functionally

 18    equivalent to whole.            But those kind of hair

 19    splittings are not what I would do and it's my

 20    opinion that's not what a POSITA would do in trying

 21    to understand the patent.              And it's why the patentee,

 22    for instance, showed a two-dimensional slice.                       A

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  1    visualization of a three-dimensional analysis didn't

  2    present total density and didn't claim total density.

  3    And as I think I say in my report, you know, total

  4    density over the full volume, there's some -- that

  5    language strikes me as odd.

  6           Q.       Well, I was going to get to that next, but

  7    just to finish up on this thought before we do and

  8    that is, if I gave you the hypothetical that if a

  9    region of the outer region, the density of mechanical

 10    energy was reduced, but that region was a smaller

 11    region than other regions of the -- this is tougher

 12    than I thought.         Let me strike that and start over

 13    again.

 14                    So you can imagine where there would be a

 15    region in the outer region where there was reduced

 16    mechanical energy -- density of mechanical energy,

 17    but there could be increases in mechanical energy in

 18    other regions, correct?

 19                    MR. QUIST:       Objection.       Scope.      Relevance.

 20                    THE WITNESS:        Figure 3 shows that.

 21    BY MR. FUHRER:

 22           Q.       Well, what I want to talk about is not

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  1    comparing the two, but if we just -- okay.                      Maybe

  2    that's what you're saying.

  3                    Are you saying there are portions of

  4    figure 3B that show an increase in lateral energy

  5    loss compared to 3A?

  6           A.       No, I've not done that analysis.

  7           Q.       Okay.

  8           A.       I just meant they're not -- there are

  9    different regions which show -- there's not a uniform

 10    gray there, I'll say.            And so clearly there are -- in

 11    that measurement technique, at least -- there are

 12    spatial variations in what's interpreted as

 13    mechanical energy loss.

 14           Q.       In fact, if you look at 3A and you look at

 15    the -- I'm going to use the technical term, the

 16    elongated dark blob that's in the middle right by the

 17    EM formula.        Do you see what I'm referring to?

 18           A.       I think so.        Go ahead.

 19                    MR. QUIST:       I'll object to that as vague.

 20                    MR. FUHRER:        Okay.

 21                    MR. QUIST:       I'm actually not sure what

 22    you're referring to.            Could you give me a little bit

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  1    more guidance there, Bob?

  2                    MR. FUHRER:        Yeah, that's fine.           Am I

  3    doing it right?

  4                    MR. QUIST:       Yeah.     I can see the image and

  5    I see something you have circled on there.                      Is that

  6    the one you're referring to?

  7                    MR. FUHRER:        Yes.

  8                    MR. QUIST:       Okay.     Understood.

  9    BY MR. FUHRER:

 10           Q.       All right.       So if we use that as our data

 11    point, right, and then we compare it with the 3B

 12    image, does the 3B show a reduction in density of

 13    mechanical energy in that region?

 14           A.       Not in the equivalent region because it's

 15    a different device, right?

 16           Q.       Right, right, right.

 17           A.       It's spatially equivalent.              This data

 18    shows a reduction.

 19           Q.       So if we take that, as you suggest, that

 20    that's a reduction, but let's assume that 3B, the

 21    rest of the outer region shows an increase.

 22           A.       You're saying hypothetically?

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  1           Q.       Yes.    Would that be practicing the claimed

  2    invention because we found a region where there was

  3    reduction?

  4                    MR. QUIST:       Objection.         Vague and calls

  5    for a legal conclusion.

  6                    THE WITNESS:        No.    Again, I didn't --

  7    that's a big -- that's a felt tip pen blob, right?

  8    BY MR. FUHRER:

  9           Q.       Right.

 10           A.       All I'm trying to preserve is the ability

 11    to do analysis with a spatial component because I

 12    believe that's what the patent suggests.                     Would a

 13    worker of skill look at one point, even an elongated

 14    blob, and compare it to another one and -- where

 15    everything else changed and say you're practicing?

 16                    I don't have an opinion about that because

 17    I think it is a legal matter.                   But I'm just -- I

 18    want -- I support this because it supports what I

 19    believe is the correct interpretation of the patent

 20    of maintaining, as these figures do, a spatial

 21    component to the mechanical energy assessment.

 22           Q.       So under your appended construction where

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  1    you say a region, correct?

  2           A.       Yes.

  3           Q.       That would be an example of a region, the

  4    blob that I've been referring to, correct?

  5                    MR. QUIST:       Objection.        Vague.     Scope.

  6                    THE WITNESS:        It again comes under the

  7    rubric of a region.           But as I indicated a few minutes

  8    ago, that's not the point of my support for this

  9    interpretation.         It is just to maintain the spatial

 10    relationships that I believe the patent cites to

 11    directly as in figure 3 and wants to maintain.

 12                    MR. FUHRER:        Our technical guy, is that

 13    Christian?

 14                    EXHIBIT TECHNICIAN:             Yes.

 15                    MR. FUHRER:        Can we get the '755 up and

 16    maybe we can mark this and then take a break so I can

 17    make a record of the blob so I don't get yelled at

 18    later?

 19                    EXHIBIT TECHNICIAN:             The '755?     All right.

 20    Which document is that underneath?

 21                    MR. FUHRER:        The '755 patent has been

 22    identified in the exhibits that I sent.

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  1                    THE REPORTER:        It's Exhibit 7, Christian.

  2                    EXHIBIT TECHNICIAN:              Okay.   Thank you.       Is

  3    this the correct document?

  4                    MR. FUHRER:        Yes.    And we can go to

  5    figures 3A and 3B, please.              And can we turn that on

  6    its side?       And is there a way for me to mark on

  7    there?

  8                    EXHIBIT TECHNICIAN:              I have to give you

  9    control.      One moment.        And then I believe you can

 10    annotate.       There you go.        Is this something you're

 11    planning to save, though?

 12                    MR. FUHRER:        Yes.

 13                    EXHIBIT TECHNICIAN:              I'm not sure that you

 14    can save it through the Zoom.                   Let me --

 15                    MR. FUHRER:        Can you mark it and save it?

 16    Because I can show you where.

 17                    EXHIBIT TECHNICIAN:              Sure.   One moment.

 18                    MR. FUHRER:        If I mark it and then you can

 19    mark it; is that right?

 20                    EXHIBIT TECHNICIAN:              Yeah.   Let me bring

 21    this back up.

 22                    MR. FUHRER:        If we want to take a break

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  1    while we fix this and then we can get on the record

  2    and make sure you guys are happy with it; is that

  3    okay?

  4                    MR. QUIST:       Yeah, that's fine with me.

  5                    THE WITNESS:        Works for me.

  6                    MR. QUIST:       Let's go off the record.

  7                    MR. FUHRER:        Ten minutes?

  8                    MR. QUIST:       Ten minutes.

  9                    MR. FUHRER:        11:40?

 10                    MR. QUIST:       Yes.

 11                    (Recess.)

 12                           (Exhibit No. 7 was marked for

 13                           identification.)

 14    BY MR. FUHRER:

 15           Q.       Dr. Bravman, before the break, we were

 16    talking about figures 3A and 3B from the '755 patent.

 17                    Do you recall that?

 18           A.       Yes.

 19           Q.       And in particular, I was using the term

 20    "blob" to describe a section, the relative section of

 21    the outer region, correct?

 22           A.       Yes.

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  1           Q.       And do you see on the screen now what has

  2    been marked as Exhibit 7, which is the '755 patent

  3    where I've identified with the highlighted yellow in

  4    3A the blob section that I was referring to?

  5           A.       Yes.

  6           Q.       So what we discussed before the break

  7    about that particular blob being a region of the

  8    outer region where it shows reduced density of

  9    mechanical energy in 3B relative to 3A; is that

 10    correct?

 11           A.       Yes.    By the shading change, the

 12    equivalent region, albeit in a different device,

 13    shows that as you say.

 14           Q.       And you don't believe -- am I correct in

 15    summarizing that you don't believe that that would be

 16    a sufficiently large enough region to determine

 17    whether or not there was a reduction in density of

 18    mechanical energy to practice the claimed invention?

 19           A.       I don't think a worker of skill would come

 20    to that conclusion knowing that this is one

 21    two-dimensional slice of an entire structure, that's

 22    correct.

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  1                    MR. QUIST:       Also, I'm sorry, I tried to

  2    object.      I was on mute.         So just objection to that

  3    last question to form, vague and calling for a legal

  4    conclusion.

  5                    MR. FUHRER:        Okay.

  6                    MR. QUIST:       Apologies for the interruption

  7    there, Bob.

  8                    MR. FUHRER:        No problem.

  9    BY MR. FUHRER:

 10           Q.       And at the risk of using layman's terms, a

 11    POSITA would not consider that a proper region of

 12    outer region because it's just too small?

 13                    MR. QUIST:       Objection.       Mischaracterizes

 14    the witness' testimony.

 15                    THE WITNESS:        Again, would not consider

 16    any one such region as indicative of that.                      The

 17    patentee himself uses the comparison between 3A and

 18    3B visually over a limited region and draws the

 19    conclusion based on his visualization that the patent

 20    is being practiced.           So that similarly does not

 21    define what percentage, as you asked me about

 22    earlier, one would conclude, but it illustrates that

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  1    the spatial distribution of the stress or energy is

  2    important to him.

  3    BY MR. FUHRER:

  4           Q.       You used the term "limited region," that

  5    the figures show only a limited region of the outer

  6    region; is that correct?

  7           A.       Well, I did.        It's a two-dimensional

  8    slice.      It doesn't include the other side, the left

  9    side, I'll call it, of the device, for instance.                        And

 10    these things, if they're rectangular or ring-shaped,

 11    they have an entire periphery.                  So these kinds of

 12    issues are common in engineering and science and

 13    dealing with them appropriately is the job of a

 14    POSITA.

 15           Q.       So you mentioned it only shows one of the

 16    two sides -- and I thought maybe I had control.

 17                    MR. FUHRER:        Christian, can you roll up to

 18    2A and 2B?       And flip it.

 19    BY MR. FUHRER:

 20           Q.       Are these the two sides that you were

 21    referring to?

 22           A.       Yes.    I'll use --

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  1                    MR. QUIST:       Objection.       Vague.

  2                    THE WITNESS:        -- the term left and right

  3    side of the piezoelectric electrode stack.                      Two outer

  4    regions are marked, but, again, they're also just two

  5    two-dimensional slices.

  6    BY MR. FUHRER:

  7           Q.       So you don't believe that the -- if we go

  8    back down to 3A and 3B, you don't think that 3A and

  9    3B is representing -- that those numbers are

 10    representative of the full volume of the outer

 11    region, it's just that slice that's being

 12    represented?

 13           A.       It's not what's explained, but since those

 14    numbers are reduced to colors --

 15                    (Interruption.)

 16                    THE WITNESS:        Sorry.      Apologize.       They're

 17    being reduced to spatially dependent color

 18    variations.        They can't be throughout the whole

 19    volume.      They're measured at the location within the

 20    spatial resolution of the technique and then mapped

 21    into this visualization.             The same thing would be

 22    done with a numerical simulation.

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  1                    So they're showing spatial variations of

  2    energy densities.          If you say, well, that's over the

  3    whole volume, that's not consistent with the

  4    depiction.

  5    BY MR. FUHRER:

  6           Q.       I'm trying to see if I'm able to put a --

  7    I'm going to do it the best way I can and I apologize

  8    for this.

  9           A.       That's okay.

 10           Q.       But I'm going to put a little -- well, do

 11    you see my little purple spots?

 12           A.       I do.

 13                    EXHIBIT TECHNICIAN:             Would you like for me

 14    to fill in between?

 15                    MR. FUHRER:        Well, I just want you to put

 16    a triangle around this area here.                 Or rectangle.         I

 17    said triangle.         Good golly.        And similarly over here,

 18    right?

 19    BY MR. FUHRER:

 20           Q.       Anyways, Dr. Bravman, I assume you know

 21    where I'm going with this, that those marks that I've

 22    put on the page, that represents the outer region,

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  1    correct?

  2                    MR. QUIST:       Objection.       Vague.

  3                    THE WITNESS:        That is a two-dimensional

  4    slice through part of the outer region of the entire

  5    device.

  6    BY MR. FUHRER:

  7           Q.       And so there may be reduction in that

  8    slice, but that doesn't mean that, from a 360-degree

  9    perspective, that that region is reduced in energy?

 10                    MR. QUIST:       Objection.       Vague.      Form.

 11                    THE WITNESS:        I'm sorry, Counsel, could

 12    you ask the question again?

 13    BY MR. FUHRER:

 14           Q.       Sure.     Maybe I'll lean on you here.               If

 15    that's a slice of the outer region, how would you

 16    describe the full volume of the outer region?

 17                    MR. QUIST:       Objection.       Scope.      Relevance.

 18                    THE WITNESS:        It's not depicted here.

 19    BY MR. FUHRER:

 20           Q.       I understand it.          But how would you

 21    describe it as -- you know, it's that slice, but all

 22    the way around?         How would you describe the full

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  1    volume of the outer region?

  2                    MR. QUIST:       Objection.       Vague.      Scope.

  3    Relevance.

  4                    THE WITNESS:        In the context of the

  5    patent, the outer region is the portion of the

  6    overall structure which is subject to the analyses of

  7    a reduction in mechanical energy lost from the

  8    electrically activated region.                  So at a minimum, as

  9    we just looked at with figure 2A and 2B, there's a

 10    left and right side.            I'll call this the right side.

 11    It appears to be the right side in this drawing.                        But

 12    those are relative terms, of course.

 13                    But then as your 360-degree posit

 14    suggests, I mean, there's some three dimensionality

 15    to this whole structure and just as if -- just as

 16    there's two-dimensional spatial variations here which

 17    are complex, to say the least, one would expect there

 18    would be similarly variations around the periphery.

 19    The patent does not describe the experimental

 20    conditions under which these images were obtained, so

 21    I don't know what thicknesses were interrogated, et

 22    cetera.

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  1    BY MR. FUHRER:

  2           Q.       So if you're describing this as a slice of

  3    the outer region -- is that correct?

  4           A.       Yes.    And although, as a depiction, it's,

  5    I'll say, a two-dimensional slice, if it was truly

  6    two dimensional as a physical object, that makes no

  7    sense.      It has to have some thickness in and out of

  8    the page, as it were, that was made into a sample and

  9    measured.

 10           Q.       But can you tell what portion of the full

 11    volume of the outer region is represented here?

 12                    MR. QUIST:       Objection.       Vague.

 13                    THE WITNESS:        The patent does not go into

 14    that level of detail.            It's using this as an

 15    illustration of the benefit of the invention.

 16    BY MR. FUHRER:

 17           Q.       Right.     Maybe that's -- let's go to your

 18    rebuttal report, paragraph 37.

 19                    MR. FUHRER:        Can you keep the document up,

 20    please?

 21                    THE WITNESS:        I have it.       Thirty-seven.

 22    BY MR. FUHRER:

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  1           Q.       The paragraph should begin with the words

  2    "In other words"; is that correct?

  3           A.       I see it, yes.

  4           Q.       And you could obviously read the full

  5    paragraph.       I wanted to ask you about the sentence

  6    that begins, "As described above."                  I'll read it and

  7    then you tell me if you want to go back and reference

  8    the earlier stuff.

  9                    "As described above, what is important to

 10    the claimed invention is simply that there be a

 11    reduced lateral leakage of mechanical energy, which

 12    is what is explicitly shown in, for example, figure

 13    3B as compared to 3A," correct?

 14           A.       Yes.

 15           Q.       So when you say what is important to the

 16    claimed invention, it is simply that there be reduced

 17    lateral leakage, and we look at my example of the

 18    yellow blob -- are you with me?

 19           A.       Yes.

 20           Q.       Is that an example of reduced lateral

 21    leakage, which is what is explicitly shown in figure

 22    3B?

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  1           A.       In that particular region, it is, by

  2    reduction in the density of what appears to be dark

  3    gray or black.         In other regions, it shows a spatial

  4    variation.

  5           Q.       And in my hypothetical, if the other

  6    regions all showed an increase in lateral leakage,

  7    would that still be an example of reduced lateral

  8    leakage because of what's shown in my yellow blob?

  9           A.       It would --

 10                    MR. QUIST:       Objection.       Vague.

 11                    THE WITNESS:        In that hypothetical, it

 12    would show that -- in that yellow and circled region

 13    a reduction.        You're positing hypothetically if

 14    everywhere else it showed an increase, depending on

 15    the amount of increase, that would determine whether

 16    or not the entire change was positive or negative.

 17                    But what I'm saying is the patentee

 18    presents this as evidence that is visually striking

 19    without recourse to a particular region, but also

 20    without recourse necessarily to the entire region of

 21    indicative of success of his patent -- success of his

 22    invention, a reduction.             And in this case, it's

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  1    showing it in a region.

  2                    And that's why I think, given what the

  3    patentee is saying and using to illustrate why, as I

  4    say in my report in paragraph 37 of my rebuttal, the

  5    only particular density, I just think that's too

  6    limiting.       Again, a worker of skill would not go to a

  7    dot and say, look, there's a reduction, therefore, it

  8    practices the patent.            I haven't said that.

  9    BY MR. FUHRER:

 10           Q.       Or the yellow blob, correct?

 11           A.       Or the yellow blob.

 12           Q.       But to use the words from the sentence

 13    that I directed your attention to where you say what

 14    is important to the claimed invention, what is

 15    important to the claimed invention is the improvement

 16    in Q, correct?

 17                    MR. QUIST:       Objection.       Misstates the

 18    witness' testimony.

 19                    THE WITNESS:        As I indicated earlier, Q,

 20    sort of near the top of the patent, if you will, is

 21    an understood known desire to achieve.                    The patent

 22    then goes on to describe one aspect of that that can

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  1    be addressed through its claims.                 And again, that's

  2    the loss, the minimization of the loss and laterally

  3    from the electrically activated region,

  4    electrically -- yeah, from the active region to --

  5    laterally to the outer regions.

  6    BY MR. FUHRER:

  7           Q.       I don't think we said this directly, but

  8    in the figures 3A and 3B we've been discussing, 3B

  9    represents the improvements as claimed, correct?

 10           A.       Yes.    If you look at the text of the

 11    patent, it makes that clear.

 12           Q.       And therefore, we can see visually that N

 13    does not equal 1 when you're comparing the one or

 14    more layers of 3B to 3A, correct?

 15           A.       The patent makes reference of 3A and 3B to

 16    figures 2A and 2B.           2A and 2B shows the change in N

 17    that you just posited.             And so the very clear

 18    implication that this is a depiction of an actual

 19    device and energy lost spatially represented that's

 20    schematically shown from structures in figures 2A and

 21    2B.

 22           Q.       So can you say that figure 3 has improved

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  1    Q or an improved Q factor relative to figure 3A?

  2                    MR. QUIST:       Objection.       Relevance.        Scope.

  3                    THE WITNESS:        I think you meant figure 3B

  4    relative to 3A?

  5    BY MR. FUHRER:

  6           Q.       Yes.    If I misspoke, I'll try it again and

  7    you tell me.        Go ahead.

  8           A.       No.    I've not drawn any conclusions about

  9    Q.    I'm just saying that the patentee asserts figures

 10    3A and B as showing the inventive improvement of

 11    energy loss from the electrically driven active

 12    region.

 13           Q.       So you don't think that, in order to

 14    practice the claimed invention, the device that has

 15    the N not equal to 1 needs to improve the Q factor

 16    over the device where N equals 1?

 17                    MR. QUIST:       Objection.       Scope.      Relevance.

 18                    THE WITNESS:        I've not opined on that.              At

 19    most, I've merely noted that the Q factor is cited in

 20    a patent as one overarching goal of device

 21    improvements, but this is speaking to a very much

 22    more limited feature.

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  1    BY MR. FUHRER:

  2           Q.       To put a fine point on it, you don't think

  3    a -- strike that.

  4                    To give you a hypothetical, if a device

  5    has an N value not equal to 1 and shows a small

  6    regional reduction in energy in the outer region, but

  7    overall has a lower Q, that it is still reducing the

  8    density of mechanical energy in an outer region?

  9           A.       That's a very complex hypothetical.                  You

 10    said a reduction in Q so the quality factor goes

 11    down?

 12           Q.       Correct.

 13           A.       I'm not drawing any conclusions to Q or

 14    the quality factor.           Again, I'm just talking about

 15    what the patentee is asserting and how he's

 16    validating his assertions and nothing more at this

 17    point.

 18           Q.       Does the size of the region -- you spoke

 19    that, you know, there are regions that would be too

 20    small, correct?

 21           A.       Too small to rely upon as a singular

 22    region?      Sure.

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  1           Q.       And you thought that the full volume was

  2    too much, correct?

  3           A.       No.

  4                    MR. QUIST:       Objection.        Form.

  5                    THE WITNESS:        I didn't say it was

  6    incorrect or improper to use it, but I just said we

  7    should not limit it to that.

  8    BY MR. FUHRER:

  9           Q.       I apologize.        Yes.        So can you tie the

 10    amount or the size of the region relative to whether

 11    it's increasing Q?

 12                    MR. QUIST:       Objection.        Vague.

 13                    THE WITNESS:        I've not offered any --

 14                    MR. QUIST:       Relevance.

 15                    THE WITNESS:        I've not offered any such

 16    opinion here.         Again, I note and I understand that

 17    the improvement in Q isn't typically an overall

 18    industrial goal.          This patent is speaking to one

 19    aspect of device performance and an improvement in a

 20    certain way.

 21    BY MR. FUHRER:

 22           Q.       So you think the claims are untethered to

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  1    whether Q is improved or not?

  2                    MR. QUIST:       Objection.       Calls for a legal

  3    conclusion.        Relevance.       Scope.

  4                    THE WITNESS:        I've not made any conclusion

  5    about that one way or the other.                 It's not what I was

  6    asked to do.

  7    BY MR. FUHRER:

  8           Q.       You, in your report -- I think it's in

  9    paragraph 37 which we just looked at, in your

 10    rebuttal report, you referred to the total density as

 11    being undefined.          Do you see that?

 12           A.       Yes.

 13           Q.       And why do you feel like that has to be

 14    further defined?

 15           A.       Well, if, as appears to be the case,

 16    Akoustis' definition as supported by Dr. Nguyen

 17    require the full volume of the outer region, then

 18    total density to me is redundant.                 I mean, once you

 19    define a volume, you can talk about a density.                       It's

 20    understood, especially in light of spatial variations

 21    we have here, that whatever that volume is, full or

 22    not, you're still going to do an averaging function

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  1    over that to give you the density.                  It's some unit

  2    divided by the volume of that region.

  3                    And so I don't recall ever seeing the

  4    phrase "total density."             And that's where -- as soon

  5    as I read this, I thought, wow, that's an unusual

  6    phrase.      I don't know what that means unambiguously.

  7           Q.       So if you dropped "total" and it just read

  8    density of full volume in the outer region, would

  9    that lose its redundancy in your opinion?

 10           A.       Yeah.     Total density is a redundant

 11    phrase.      Full volume of the outer region, you say the

 12    volume of the outer region, I -- you know, full also

 13    seems to be redundant.

 14           Q.       So would full volume exclude less than all

 15    of the volume?

 16                    MR. QUIST:       Objection.       Vague.

 17    BY MR. FUHRER:

 18           Q.       I might have misspoke there.               Give me one

 19    second.      Is there a difference in your mind, when

 20    we're talking about the outer region as claimed in

 21    the '755 patent, between full volume and volume?

 22           A.       Depends on the context, right?                If it says

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  1    a volume, the volume, those are different.                      I would

  2    think in normal English parlance, it -- so that again

  3    just contributes to why I think this is confusing.

  4                    There's better ways to say what I believe

  5    is meant and we're trying to be as unambiguous as

  6    possible.       But again, it's the sentence above, the

  7    first sentence of 37, that is why I entered into this

  8    whole line of reasoning about don't want to limit it

  9    to only any particular density.                 And if I take full

 10    volume and total density as I can guess Dr. Nguyen

 11    means, that's limiting it to one particular density.

 12    And I don't believe the claim in context requires

 13    that.

 14           Q.       But it does require more than just a small

 15    region, it seems like, correct?

 16                    MR. QUIST:       Objection.       Vague.

 17                    THE WITNESS:        Again, to our point or blob

 18    analyses, my opinion would be that a POSITA would not

 19    look only to that.           It's this use of as much

 20    information as possible as figures 3A and B

 21    demonstrate is obtainable that I think is of most

 22    relevance to a POSITA.

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  1    BY MR. FUHRER:

  2           Q.       So do you disagree that what the claimed

  3    invention is about is the reduction of mechanical

  4    energy over the full volume of the outer region?

  5                    MR. QUIST:       Objection.       Vague.      Scope.

  6                    THE WITNESS:        No.    My opinion is, as

  7    written, that's not what the claims require.

  8    BY MR. FUHRER:

  9           Q.       I understand.        But we were just talking

 10    about what you referenced as what was important --

 11           A.       Yes.

 12           Q.       -- in the claimed invention, correct?

 13           A.       Yes.

 14           Q.       And I'm saying so you don't think what was

 15    important was the reduction of mechanical energy over

 16    the full volume of the outer region, correct?

 17                    MR. QUIST:       Objection.       Misstates the

 18    witness' testimony.

 19                    THE WITNESS:        I think that would be an

 20    example of one thing that, under a proper read of the

 21    claim, would be important, but there could also be

 22    others and that's why I don't want to limit it to

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  1    one.

  2    BY MR. FUHRER:

  3           Q.       There could be reductions of mechanical

  4    energy in less than the full volume and you would

  5    still say that that would be practicing the claimed

  6    invention?

  7           A.       As written, I don't believe the patent

  8    requires that.

  9           Q.       But you don't have an opinion as to how

 10    much less than the full volume is appropriate before

 11    you get too small, correct?

 12           A.       And that's what I said before.                We

 13    understand, in the patent technical art, but also in

 14    many other pieces of technical art, those

 15    distinctions often are not drawn often because they

 16    can't be perfectly drawn, but a worker of skill has

 17    to interpret and work within those contexts.

 18                    Again, I don't find that the patentee is

 19    by any means wrong here.             I'm just interpreting the

 20    issued claims as I believe they should be interpreted

 21    in light of what he wrote, that is, the patentee or

 22    patentees.

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  1           Q.       And for paragraph -- I'm sorry, paragraph

  2    32 of your rebuttal report.

  3           A.       Okay.     I have it.

  4           Q.       And I think it starts with "In

  5    particular," but I want to focus on the sentence that

  6    says, "What is clear from."

  7           A.       I have it.

  8           Q.       It says, "What is clear from the

  9    specification (and claims) when read as a whole is

 10    that the invention is directed to reducing the amount

 11    of mechanical energy - created by the claimed

 12    structure -- leaked from the active region," right?

 13           A.       That's right.

 14           Q.       So when you say leaked from the active

 15    region, you mean leaked into the outer region?

 16           A.       Correct.

 17           Q.       So in order -- and I think it's consistent

 18    with what we've been saying, but in order to

 19    determine what was leaked from the active region, you

 20    have to know a difference in density of mechanical

 21    energy in the outer region, correct?

 22                    MR. QUIST:       Objection.       Vague.

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  1    BY MR. FUHRER:

  2           Q.       I'll restate it.          In figures 3A and 3B,

  3    the figures show a change in the leaked energy by

  4    measuring the energy differences in the outer region

  5    of the two different resonators, correct?

  6                    MR. QUIST:       Objection.       Form.

  7                    THE WITNESS:        In portions of the outer

  8    region, yes.

  9    BY MR. FUHRER:

 10           Q.       And you believe that those figures show a

 11    large enough region of the outer region where

 12    reduction occurs to practice the claimed invention?

 13           A.       That is what the patentee is clearly

 14    asserting.       And I think he demonstrates -- he uses

 15    this to demonstrate what he means verbally.                      He

 16    demonstrates it visually.

 17           Q.       You're saying that's what the inventor's

 18    asserting.       Can you see as an expert in the field

 19    that there's a reduction of mechanical energy from

 20    figures 3A and 3B?

 21           A.       Because of what the color scale or the

 22    gray scale here means, yes, one can see that.

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  1           Q.       As far as the -- from my purple dots --

  2    the four corners of the outer region, if you

  3    understand what I'm saying --

  4           A.       Yes.

  5           Q.       -- are you able to determine whether what

  6    I'll call the full volume of the outer region, the

  7    mechanical energy is reduced in 3B as relative to 3A?

  8                    MR. QUIST:       Objection.       Vague.      Scope.

  9                    THE WITNESS:        I've not made that

 10    assertion.       And one of course would have to be making

 11    certain assumptions or suppositions to make -- to

 12    reach that conclusion.             Again, with these kind of

 13    visualizations or modeling efforts, both, unless one

 14    models the entire structure, you can't draw a

 15    conclusion about the entire structure.

 16                    When a worker of skill looks at this --

 17    looks at an issued patent, believes that this is

 18    representative of what's happening, a worker of skill

 19    would know if he came back an hour later and did the

 20    same analysis on the structure in either 3A or 3B --

 21    as you say, these are different structures, different

 22    samples -- they probably would not look exactly the

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  1    same.     There would be different blobs and splotches

  2    because a worker of skill understands kind of

  3    experimental variations here, in the same way if one

  4    went to a different slice or to the left side as

  5    opposed to this right side, one might see different

  6    spatial variations.

  7                    But even without a presentation of the

  8    density averaged over your rectangle bounded by four

  9    purple dots, it's pretty clear that there's a

 10    significant reduction in the darkest regions within

 11    the equivalent rectangles, demonstrating that there

 12    is a reduction in energy coming out of the

 13    electrically driven active region.

 14    BY MR. FUHRER:

 15           Q.       In paragraph 42 of your rebuttal report --

 16    I'll give you a moment.

 17           A.       Okay.

 18           Q.       I think you say this a few times in the

 19    report, but just to focus on it once, you say, "It is

 20    my understanding that extrinsic evidence is

 21    considered less reliable than intrinsic evidence, and

 22    for that reason is generally given less weight than

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  1    intrinsic evidence," correct?

  2           A.       Yes.

  3           Q.       So in this instance, as it relates to the

  4    density of mechanical energy and what its plain and

  5    ordinary meaning is, do you believe there is value in

  6    looking to extrinsic evidence to determine the plain

  7    and ordinary meaning?

  8                    MR. QUIST:       Objection.       Vague.      Calls for

  9    a legal conclusion and relevance.

 10                    THE WITNESS:        Here, again, with the full

 11    machinery of a POSITA in a time frame within the

 12    intrinsic evidence, no.

 13    BY MR. FUHRER:

 14           Q.       There's no need for -- there's no value to

 15    looking to extrinsic evidence?

 16                    MR. QUIST:       Objection.       Same objections.

 17                    THE WITNESS:        Yeah.       I guess I wouldn't

 18    use the same -- I would not use the expression "no

 19    value."      Information is generally good.                But there's

 20    no need, as a POSITA, to do what's required in this

 21    particular case.

 22    BY MR. FUHRER:

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  1           Q.       And why is that?

  2           A.       It's my opinion that it's -- the patent

  3    read provides sufficient and consistent information

  4    to understand what is being claimed.

  5           Q.       I'm focusing specifically on density of

  6    mechanical energy.           Does the specification give a

  7    definition for density of mechanical energy?

  8           A.       In my report, I go through all the places

  9    where it uses that phrase and --

 10           Q.       Sure.

 11           A.       -- and, you know, it doesn't -- as I

 12    recall, it doesn't give a specific textbook-like

 13    definition, because the outer region as opposed to

 14    the active region is unambiguous in my opinion.

 15                    The phrase "density of mechanical energy"

 16    in places is used, in my opinion, to connote energy

 17    lost to a region and not necessarily, as I say in my

 18    report, to a particular region or even a particular

 19    density in that region.

 20           Q.       But just to be clear, you're not

 21    suggesting that the inventors were their own

 22    lexicographer as it relates to density of mechanical

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  1    energy, correct?

  2           A.       No.    Correct.

  3           Q.       So there would be no reason to give a

  4    construction different than the plain and ordinary

  5    meaning so long as that construction was consistent

  6    with the intrinsic record, correct?

  7           A.       Yes, consistent with the intrinsic record.

  8           Q.       But there's no requirement that you have

  9    to use the words that are in the intrinsic record to

 10    construe the terms, correct?

 11                    MR. QUIST:       Objection.       Calls for a legal

 12    conclusion.

 13                    THE WITNESS:        Sorry, Counselor, could you

 14    ask that question once again?

 15    BY MR. FUHRER:

 16           Q.       Sure.     If you are determining, like doing

 17    what you're doing in this case, determining what the

 18    plain and ordinary meaning is to a person of ordinary

 19    skill in the art, you aren't bound by the words used

 20    by the inventors, correct?

 21                    MR. QUIST:       Objection.       Vague.      Calls for

 22    a legal conclusion.

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  1                    THE WITNESS:        I've never considered it in

  2    terms of being bound by the words.                  Again, I think in

  3    this case, my job here is to opine on what a POSITA

  4    would understand certain phrases to mean.                     Whether or

  5    not one is bound to that, I just haven't thought

  6    about it in those terms.             It's my opinion about what

  7    a POSITA would understand.

  8    BY MR. FUHRER:

  9           Q.       To say it differently, for density of

 10    mechanical energy, there's no particular language in

 11    the specification you're leaning on as the words that

 12    are appropriate for the construction, correct?

 13                    MR. QUIST:       Same objections.

 14                    THE WITNESS:        Well, in my report in

 15    various places, I think I speak to that very

 16    question, but I don't talk about someone being bound

 17    to that.

 18    BY MR. FUHRER:

 19           Q.       I guess just to -- we can move on, but I

 20    want to make clear, for active region, you endorse

 21    Qorvo's construction that uses the words

 22    "electrically driven," correct?

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  1           A.       Yes.

  2           Q.       And part of your explanation for why you

  3    think that's the appropriate construction is because

  4    the patentees use the term "electrically driven,"

  5    correct?

  6           A.       And because that, in my opinion, causes

  7    no -- I've used the phrase many times.                    The POSITA

  8    does not trip on that phrase used in this context.

  9    It's understood.          It's expected or it's not

 10    unexpected at least.

 11           Q.       Okay.     But just in comparison, for density

 12    of mechanical energy, there isn't a particular line

 13    or term that the inventors use that is embraced in

 14    Qorvo's construction, correct?

 15           A.       Yeah.     I think the construction does not

 16    extract verbatim from the patent.                 It gives a

 17    construction consistent with a POSITA, what he or she

 18    would understand from that phrase in the patent.

 19           Q.       So the inventors didn't even offer a

 20    particular term as describing what density of

 21    mechanical energy is; is that correct?

 22                    MR. QUIST:       Objection.       Vague.

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  1                    THE WITNESS:        I'm just looking through the

  2    patent.

  3    BY MR. FUHRER:

  4           Q.       I don't -- I'll just -- it's not in your

  5    report; is that fair to say?

  6           A.       I don't recall extracting a verbatim, as I

  7    said, set of words from the patent, that's correct.

  8           Q.       Okay.

  9                    THE WITNESS:        I'm sorry to interrupt.

 10    Could we take like a three-minute break?                     I think you

 11    know what that means.

 12                    MR. FUHRER:        I do.        No problem.

 13                    THE WITNESS:        Thank you very much.

 14                    (Recess.)

 15    BY MR. FUHRER:

 16           Q.       Dr. Bravman, before the break -- a while

 17    before the break, we had talked about the outer

 18    region or at least the slice the outer region

 19    represented in 3A and 3B and I had put some purple

 20    dots to represent the corners.                   And now we've, during

 21    the break, tried to hand draw in the purple to show

 22    the outer region.

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  1                    Do you see that?

  2           A.       Yes.

  3           Q.       And although it's not perfect, you

  4    understand -- is that consistent with our discussion

  5    about the outer region of 3A and 3B?

  6           A.       Yes.

  7           Q.       Thank you.       If we go to paragraph 45 of

  8    your rebuttal report.

  9           A.       I have it.

 10           Q.       And I don't know if it begins at the

 11    paragraph, but it says, "What a designer would have

 12    been 'mainly concerned' about as to certain

 13    performance aspects of a resonator is not the

 14    relevant question for the present claim construction

 15    analysis."

 16                    Do you see that?

 17           A.       Yes.

 18           Q.       And that's you responding to Dr. Nguyen

 19    talking about what designers were mainly concerned

 20    about, correct?

 21           A.       Yes.

 22           Q.       And then you go on to say, "Rather, the

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  1    relevant question is what would 'density of

  2    mechanical energy' mean as used in the disputed claim

  3    term to a POSITA in the context of the '755 patent,"

  4    correct?

  5           A.       Yes.

  6           Q.       And when Dr. Nguyen says designer, I

  7    assume you interpret it as a person of skill in the

  8    art; is that fair?

  9           A.       Yes.

 10           Q.       So would you agree with this statement

 11    that the inventors had the same concern as a person

 12    of skill in the art when they were describing their

 13    '755 invention and that is to avoid degrading Q

 14    factor?

 15                    MR. QUIST:       Objection.       Form.      Vague.

 16    Relevance.

 17                    THE WITNESS:        I, of course, can't say what

 18    was in the designers' minds when they wrote the

 19    patent, but I have acknowledged several times now

 20    that the concept of an improved Q factor is found

 21    within the patent.           But then the patentee goes on to

 22    then talk about one particular aspect of device

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  1    performance degradation and how to minimize that

  2    particular factor.

  3                    Again, I don't deny that the quality

  4    factor is stated as an overarching goal by the

  5    patentee, but the patent is not speaking to that as a

  6    whole.

  7    BY MR. FUHRER:

  8           Q.       You can improve Q factor in a number of

  9    ways; is that correct?

 10           A.       Yes.

 11           Q.       Is one of those ways to decrease the

 12    leakage of energy into the outer region as claimed in

 13    the '755 patent?

 14                    MR. QUIST:       Objection.       Form.      Scope.

 15                    THE WITNESS:        All things being equal, I

 16    would answer yes.          All other things being equal, yes.

 17    BY MR. FUHRER:

 18           Q.       If we turn your attention to the other

 19    disputed term from the '755 patent, which is -- it's

 20    a long term, but the dispute seems to be over what

 21    "not excited" means in the context of the claim.

 22                    Does that ring familiar to you?

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  1           A.       Yes.

  2           Q.       In your initial report, paragraph 48 --

  3           A.       Okay.

  4           Q.       -- part of the way down, you say, "In

  5    operation, acoustic waves in the piezoelectric

  6    layer."

  7                    Do you see that part?            Or are my notes not

  8    accurate?       I apologize.

  9           A.       Forty-eight of my opening report?                 I guess

 10    that's what I'm looking at.               It's on page 14, "As

 11    understood in context, the claim specifies that

 12    particular wavelengths are not substantively

 13    excited."

 14           Q.       Right.     I guess the part that I'm

 15    referring to is you cite to the patent, correct?

 16           A.       Yes, the waves --

 17           Q.       And in the patent it --

 18           A.       -- in operation.

 19           Q.       I'm sorry, yes.         My first question is,

 20    when the patent uses acoustic waves, is that the same

 21    as the standing waves that you discussed in your

 22    report?

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  1           A.       Yes.    A standing wave is one type of

  2    acoustic wave.         Acoustic wave would be a broader

  3    term.

  4           Q.       Okay.     And here it talks about that the

  5    acoustic waves are excited by the electrical signal,

  6    correct?

  7           A.       Yes.

  8           Q.       So is the electrical signal producing

  9    unwanted waves as well as wanted waves, if that's a

 10    fair way of phrasing?

 11                    MR. QUIST:       Objection.       Form.

 12                    THE WITNESS:        I understand, I think, what

 13    you're getting at.           But as a filter, for instance, an

 14    electronic component is used to remove portions of

 15    the complex signal that is being transmitted

 16    electrically and so you could call the filter

 17    functioning reducing the amplitude of the unwanted

 18    waves that you mentioned.

 19    BY MR. FUHRER:

 20           Q.       And do all BAW resonators reduce the

 21    amplitude of the unwanted waves?

 22           A.       I think in general, I wouldn't want to go

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  1    so far, but certainly their use as a filter and even

  2    perhaps more generally than that, if they're

  3    unwanted, you want to reduce them.                  So yes.      But

  4    just -- I'm not ready to just affirm a very broad

  5    statement like that.

  6           Q.       Okay.     Maybe I was just trying to poorly

  7    paraphrase.        RF filters, RF BAW filters, they're

  8    designed to reduce the unwanted waves, correct?                        The

  9    amplitude of the unwanted waves?

 10                    MR. QUIST:       Objection.       Vague.      Scope.

 11    Relevance.

 12                    THE WITNESS:        A worker of skill

 13    understands a filter to be a device which affects

 14    signals of varying frequencies differentially and

 15    that capability can be manifest in a variety of ways

 16    and it can reduce unwanted frequencies, as you posit.

 17    BY MR. FUHRER:

 18           Q.       You say in 48, the concept of excitation

 19    and nonexcitation is described in that first section

 20    where it talks about acoustic waves --

 21           A.       Yes.

 22           Q.       -- are excited.         How is it describing the

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  1    concept other than the words that are there?                      I mean,

  2    is there more we should appreciate?                  That's why you

  3    included it in your report?

  4                    MR. QUIST:       Objection.       Vague.

  5                    THE WITNESS:        Well, I included it in my

  6    report because I'm responding to the assertions of

  7    the two parties with regard to a certain claim which

  8    includes the phrase "are not excited."

  9                    And my assertion in 48 and elsewhere is

 10    that a worker of skill understands that the

 11    electrical activation of the device via the

 12    electrodes results in the creation of acoustic waves

 13    in the piezoelectric layer and that is referred to as

 14    excitation.

 15                    And again, the plain construction that I'm

 16    affirming starts with plain and ordinary meaning, but

 17    goes on to say, "If a construction is needed," then

 18    goes on.      So that's why I'm saying anything here.

 19    BY MR. FUHRER:

 20           Q.       Do you consider Qorvo's proposed

 21    construction to be the plain and ordinary meaning of

 22    the disputed term?

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  1           A.       In the context of the patent, yes.

  2    Because except in the abstract of the world of

  3    textbook perfection, when you say excited or not

  4    excited, the only way to not excite a wave is to

  5    not -- in this case, to not energize the electrodes,

  6    don't put any voltage across them.

  7                    But when you put a real RF signal across

  8    it, no matter what you do, you're not going to have

  9    perfect performance in the active region or in the

 10    outer region.         And so that's why I included the word

 11    "substantively" to help understand what is meant.

 12           Q.       And certainly my question is always going

 13    to be tied to a person of skill in the art.

 14           A.       Yes.

 15           Q.       The plain meaning to a layperson of not

 16    excited probably means not excited.                  You would agree

 17    with that?

 18                    MR. QUIST:       Objection.        Objection.       Vague.

 19                    THE WITNESS:        I --

 20    BY MR. FUHRER:

 21           Q.       I can rephrase it.              I'll strike it, but

 22    I'll use Akoustis' construction.

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  1                    In the general population, if somebody

  2    says not excited, they mean not excited at all.

  3    Would you agree with that?

  4                    MR. QUIST:       Objection.       Scope.      Relevance.

  5    Vague.

  6                    THE WITNESS:        Honestly, I would say no,

  7    because, again, there'd be a context to a situation

  8    and I'm having an interesting and thoughtful

  9    discussion with one of my colleagues and I start

 10    explicating something and he says, don't get excited,

 11    that could mean something very different as when I'm

 12    talking to my 10-year-old.

 13                    So I don't think it's absolutely digital.

 14    I fully understand your question and I'm not trying

 15    to be difficult, but I just don't think it's digital

 16    in that realm either.

 17    BY MR. FUHRER:

 18           Q.       I'm just trying to compare, just so it's

 19    clear for the record and for the judge, when you say

 20    the plain and ordinary meaning of not excited is not

 21    substantively -- or not substantively created, I

 22    assume that's in the context of BAW resonators and

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  1    the claimed invention, that you wouldn't use that as

  2    the plain and ordinary meaning in general talk.

  3           A.       Probably not.        But as you say, we're

  4    talking about the context of POSITA in the patent.

  5           Q.       Right.

  6           A.       And the POSITA understands that there are

  7    spurious and other signals that are created, but

  8    that's not really what we're talking about here.                        So

  9    that's the distinction I'm drawing.

 10           Q.       Fair enough.        So if a POSITA understands

 11    the plain and ordinary meaning of not excited to be

 12    not substantively created, how much is required to --

 13    well, it's that double negative thing.                    How much

 14    excitement is allowed where it's still not

 15    substantively created?

 16                    MR. QUIST:       Objection.       Vague.

 17                    THE WITNESS:        And so, again, we have,

 18    commonly at least in the patent art, but also in more

 19    technical literature these questions of extent, you

 20    know, are always going to be problematic and

 21    absolutes are rarely found in nature or physics or

 22    electronic devices, so they have to be interpreted.

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  1                    And what -- and of course over time,

  2    what's not excited may change to excited.                     Things

  3    have gotten smaller, faster, cheaper, all those

  4    things.      So I fully, believe me, understand.                  Not

  5    being able to give a cutoff number is not satisfying

  6    to especially a layperson.              But what's substantively

  7    created is going to have to be understood by a POSITA

  8    at a function in a period of time.

  9                    And this is why I cite what I do in my

 10    report about Dr. Nguyen recognizes that you don't

 11    have a real world version of do not exist in the

 12    whole volume.         He knows that.            And every worker of

 13    skill knows that.          And so that means you have to have

 14    some version of substantively created because you're

 15    not talking about immaterial aspects here, but you're

 16    also not writing them out of existence.

 17    BY MR. FUHRER:

 18           Q.       Of course this term comes from claim 3.

 19    If I could direct your attention to claim 3 of the

 20    '755 patent.

 21           A.       Okay.     I have it.

 22           Q.       I guess my question is, it's talking

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  1    about -- claim 3 is talking about wavelengths.                       So we

  2    discussed earlier that you have your standing wave,

  3    which is the -- is that the good wave, the useful

  4    wave?

  5           A.       Yeah.

  6           Q.       What would you call it?

  7           A.       Right.

  8           Q.       And acoustic wave, which is, I guess,

  9    broader in scope and would include disfavored waves.

 10    And so this claim 3 is talking -- it seems to be

 11    about the bad waves.            Would you agree with that?

 12           A.       Yeah --

 13                    MR. QUIST:       Objection.         Vague.

 14                    THE WITNESS:        It -- when a worker of skill

 15    reads "is acoustically matched in such a manner that

 16    one or more wavelengths that cause energy leakage

 17    into the outer region," that means, in my opinion, if

 18    something beyond plain and ordinary needs to be

 19    stated, not substantively created because a worker of

 20    skill knows that there's always going to be some

 21    measure of spurious signal which is there, these are

 22    imperfect devices, et cetera.                   And that's why I

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  1    offered the construction or the support for the

  2    construction that I do.

  3    BY MR. FUHRER:

  4           Q.       I guess my question is, the standing waves

  5    we talked about, correct?

  6           A.       Yep.

  7           Q.       Those are the good waves?

  8           A.       Yes.

  9                    MR. QUIST:       Objection to form.

 10    BY MR. FUHRER:

 11           Q.       Would they also fall under the one or more

 12    waves that cause energy leakage?

 13                    MR. QUIST:       Objection.       Form.      Scope.

 14                    THE WITNESS:        Yes, because any energy in

 15    one region, the acoustic matching itself that this

 16    refers to is not going to be perfect.                   And so this is

 17    the whole issue with transmission lines and other

 18    aspects of technology in which these devices are

 19    used.

 20                    Just like the worker of skill understands

 21    a filter function is not a steep cliff where you go

 22    from 100 percent transmission to zero percent

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  1    transmission.         There's, you know, a six-decibel

  2    roll-off per decade of frequency change.                     Those kind

  3    of claims.       It's all that background that a POSITA

  4    has and understands in context, as context when

  5    reading these kinds of, you know, what could appear

  6    to be absolute terms, understands a worker of skill

  7    doesn't speak in that way and interprets accordingly.

  8    And that's where the concept of substantively comes

  9    from.     It's of substance to the claimed invention.

 10    BY MR. FUHRER:

 11           Q.       If the wavelength is not substantively

 12    created, can it still cause energy leakage in the

 13    outer region?

 14                    MR. QUIST:       Objection.       Form.      Scope.

 15                    THE WITNESS:        Mathematically, yes.            And

 16    again, we get to substantively, does that amount of

 17    leakage matter?         But then that's even before we get

 18    to the important point.             We're talking before and

 19    after the invention is instantiated and what

 20    differences do I have?             Are the differences

 21    themselves substantive?             If they are, then that's the

 22    invention.

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  1                    Whether or not that perfectly obtains for

  2    all wavelengths, the worker of still understands you

  3    can't in effect answer that question.                   That's why I

  4    think a worker of skill just thinks substantively

  5    without even it coming consciously to mind.

  6    BY MR. FUHRER:

  7           Q.       While you still have the patent in front

  8    of you and looking at claim 3 --

  9           A.       Yes.

 10           Q.       -- can you also look at claim 1 and the

 11    last limitation of claim 1?

 12           A.       Okay.

 13           Q.       And it starts with, "N is within range"?

 14           A.       Yes.

 15           Q.       And to me, it suggests that if N is not

 16    within a range of values, it will not practice the

 17    invention.       Is that your understanding?

 18                    MR. QUIST:       Objection.       Form.      Vague.

 19                    THE WITNESS:        Well, a practicing or

 20    infringement type analysis I've not done, but the

 21    words are plainly there.             And element -- the last

 22    element says N was within a range of values.                      And

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  1    then it doesn't give those values.                  What it gives is

  2    the outcome of those values and that is in terms of,

  3    as it says, a density of mechanical energy in the

  4    outer region.

  5    BY MR. FUHRER:

  6           Q.       And the specification doesn't give those

  7    values either, correct?

  8           A.       No, quite properly, because that's going

  9    to be dependent on a whole host of things.

 10           Q.       So a person of skill in the art to

 11    practice this would have to basically do their own

 12    simulations and trial and error; is that correct?

 13                    MR. QUIST:       Objection.       Scope.      Relevance.

 14                    THE WITNESS:        A simulation or reduction to

 15    practice and comparison as that claim element clearly

 16    calls for would be required to see if this effect was

 17    obtained.

 18    BY MR. FUHRER:

 19           Q.       So in comparing that last limitation of

 20    claim 1, which you're familiar with, correct?

 21           A.       Yes.

 22           Q.       Comparing it to claim 3, do you have an

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  1    understanding as to what, if any, difference is being

  2    described in claim 3 as to claim -- that limitation

  3    of claim 1?

  4                    MR. QUIST:       Objection.       Relevance.        Scope.

  5    Vague.

  6                    THE WITNESS:        Claim 3 is dependent on

  7    claim 1, so it incorporates all of claim 1.

  8    BY MR. FUHRER:

  9           Q.       Sure.

 10           A.       And it goes on to describe additional

 11    constraints on N.          That's the "wherein N is such

 12    that."      And it includes now the acoustically matched

 13    concept itself then having a derivative effect.                        So

 14    acoustically matched in such a manner that one or

 15    more wavelengths that cause energy leakage into the

 16    outer region are not excited in the active region.

 17    And that's -- it's adding explication that's not

 18    found in 1.

 19           Q.       So earlier I believe you testified that

 20    the waves generated would include the standing waves,

 21    which are the good waves, and you don't want to

 22    reduce those so that they're not substantively

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  1    created, correct?

  2                    MR. QUIST:       Objection.       Vague.

  3                    THE WITNESS:        You don't want to be

  4    diminishing the benefit of the device, which is the

  5    creation of a certain set of waves which give rise to

  6    the device's functionality.               So without limiting it

  7    to a particular standing wave, I'll answer yes to

  8    your question.

  9    BY MR. FUHRER:

 10           Q.       Well, my question is to standing waves.

 11    The standing waves -- well, I'll add on to the

 12    question.       My question now is are standing waves

 13    waves that cause energy leakage into the outer

 14    region?

 15                    MR. QUIST:       Objection.       Vague.

 16                    THE WITNESS:        I haven't opined on that,

 17    but I already answered that question, I believe,

 18    saying that no wave is going to be perfectly

 19    constrained within the active region.                   There is --

 20    I'm not aware of a theoretical, let alone practical

 21    device that has a Q of infinity.

 22    BY MR. FUHRER:

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  1           Q.       So the one or more wavelengths that you

  2    understand from this limitation are the -- if you

  3    want to get rid of the bad waves, these are the waves

  4    that you -- this is a way to do it.                  Is that your

  5    understanding of this limitation?

  6                    MR. QUIST:       Objection.       Relevance.        Scope.

  7    Mischaracterizes the witness' testimony.

  8                    THE WITNESS:        It presupposes a structure

  9    and a construction thereof, but it speaks to, as I

 10    said, acoustic matching of wavelengths that cause

 11    energy leakage into the outer region are not excited.

 12                    But as we've discussed, the worker of

 13    skill understands there's not going to be absolutes

 14    there.      The acoustic coupling is not going to be

 15    perfect such that even a standing wave energy is

 16    perfectly contained within the active region.                       It's

 17    just not how physics works.               You just want to make it

 18    better.

 19    BY MR. FUHRER:

 20           Q.       Okay.     So in case it's not clear, for the

 21    record, do you agree with this statement that the one

 22    or more wavelengths that is referenced in claim 3

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  1    includes standing waves?

  2                    MR. QUIST:       Objection.       Relevance.        Scope.

  3                    THE WITNESS:        Well, I certainly haven't

  4    opined on that.         It does say are not excited in the

  5    active region.         I think it would be unusual to say

  6    the standing wave, the one that's creating the

  7    desired function, is not excited.                 I don't know what

  8    that would mean, so I don't think the worker of skill

  9    would draw that conclusion.

 10    BY MR. FUHRER:

 11           Q.       Are standing waves waves that cause energy

 12    leakage into the outer region?

 13           A.       Again, I've answered that.              No wave could

 14    be perfectly constrained within a fixed region unless

 15    it's sitting out in a vacuum of space.

 16           Q.       So the answer is yes to my question?

 17                    MR. QUIST:       Objection.       Mischaracterizes

 18    the witness' testimony.

 19    BY MR. FUHRER:

 20           Q.       Just so I'm clear -- and if you say you

 21    answered this, it's fine, but I'm not sure I heard it

 22    in these terms.

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  1                    There's no way to acoustically match such

  2    that the waves -- one or more waves will not be

  3    excited at all.         Is that your testimony?

  4                    MR. QUIST:       Objection.       Mischaracterizes

  5    the witness' testimony.

  6                    THE WITNESS:        No.    The excitation comes

  7    about from the creation of a very -- a voltage on the

  8    electrodes.        We're talking about energy leakage, I

  9    believe, and that has to do with the acoustic

 10    coupling.

 11                           (Exhibit No. 8 was marked for

 12                           identification.)

 13    BY MR. FUHRER:

 14           Q.       Okay.     If we turn to the '786 patent for a

 15    moment.

 16           A.       '786, okay.

 17           Q.       In your initial report, you say at

 18    paragraph 58 --

 19           A.       I have it.

 20           Q.       And paragraph 58 says, "It is my opinion

 21    that the intrinsic record is sufficient for a POSITA

 22    to understand the disputed term," correct?

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  1           A.       Yes.

  2           Q.       And what do you mean by the fact that the

  3    intrinsic record is sufficient for a POSITA to

  4    understand?

  5           A.       That read in the context of the intrinsic

  6    record, a POSITA would not need to make recourse to

  7    extrinsic evidence to understand what the disputed

  8    term means.

  9           Q.       And the disputed term is piezoelectric

 10    layer, correct?

 11           A.       Well, it's about the nature of that

 12    piezoelectric layer, yes.

 13           Q.       The construction may be about the nature,

 14    but the disputed term is piezoelectric layer,

 15    correct?

 16           A.       Correct.

 17           Q.       And would you agree that the plain and

 18    ordinary meaning of piezoelectric layer to a person

 19    of skill in the art would not be limited to single

 20    crystal piezoelectric layer?

 21           A.       In the abstract, yes.

 22           Q.       Okay.

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  1           A.       In the context of the '786, no.

  2           Q.       Okay.     Well, just -- I'm going to be clear

  3    on sort of the language here.                   The plain and ordinary

  4    meaning isn't going to change because of the

  5    intrinsic record, correct?

  6                    MR. QUIST:       Objection.        Calls for a legal

  7    conclusion.

  8                    THE WITNESS:        Yeah, I don't think I would

  9    phrase it that way.           The plain and ordinary meaning

 10    which here is not even part of the proposed

 11    construction, that's the starting point, as we agreed

 12    to earlier today.          But then it's read in context of

 13    the intrinsic record.

 14    BY MR. FUHRER:

 15           Q.       But I want to be clear on my question

 16    here.     The intrinsic record isn't going to change the

 17    plain and ordinary meaning, is it?

 18                    MR. QUIST:       Same objection.

 19                    THE WITNESS:        In the realm of patent law,

 20    that seems to me could easily be, although I'm not

 21    aware of -- one way or the other of that being a

 22    legal conclusion.

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  1                    I do agree, as I just said, that a worker

  2    of skill brings a plain and ordinary meaning, at

  3    least properly so, to the beginning of an analysis of

  4    a patent.       But then to construct a term, you look at

  5    it in terms of -- in the context of the patent and

  6    the intrinsic record.

  7    BY MR. FUHRER:

  8           Q.       So in terms of the '786 patent, do you

  9    agree that the inventors did not act as their own

 10    lexicographer by providing a clear and explicit

 11    definition for piezoelectric layer?

 12                    MR. QUIST:       Objection.       Calls for a legal

 13    conclusion.

 14                    THE WITNESS:        Technically, as I recall,

 15    they did not say we hereby throughout this patent

 16    define piezoelectric layer or material to be X, Y or

 17    Z.    They were not that explicit, which to me is

 18    required to be that explicit if you're going to be

 19    your own lexicographer.

 20    BY MR. FUHRER:

 21           Q.       So in other words, no, they did not act as

 22    their own lexicographer as it relates to the term

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  1    "piezoelectric layer," correct?

  2           A.       No, I've not asserted that they did.

  3           Q.       But you are asserting that the proper

  4    construction is something other than its plain and

  5    ordinary meaning, correct?

  6           A.       As the asserted interpretation is given,

  7    yes.

  8           Q.       And you believe that because you believe

  9    that the inventive aspect of the '786 patent is the

 10    fact that it utilizes a single crystal piezoelectric

 11    layer, correct?

 12                    MR. QUIST:       Objection.       Mischaracterizes

 13    the witness' testimony.

 14                    THE WITNESS:        No, that it's however

 15    inherent in whatever the invention is that it is to

 16    be understood as part of the invention as a single

 17    crystal layer.

 18    BY MR. FUHRER:

 19           Q.       Do you have an understanding as to what

 20    the inventive aspect is as claimed in the '786

 21    patent?

 22           A.       I've not opined on that right here.                  Can

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  1    we take down, please, the figure on the screen?

  2           Q.       Oh, yes, yes, yes.

  3           A.       No problem at all.              Thank you.

  4           Q.       So I'm going to direct your attention to

  5    paragraph 68 of what I hope is your rebuttal report.

  6           A.       Of my rebuttal report?              Okay.

  7           Q.       I believe so.        I can double-check.            Do you

  8    have that?

  9           A.       I do.

 10           Q.       Does it by chance start with the words,

 11    "While the above passage?

 12           A.       Yes.

 13           Q.       "While the above passage provides some

 14    broadening language, a POSITA would understand it,

 15    read as a whole, as indicating that the invention is

 16    to a single crystal piezoelectric layer."

 17                    Do you see that?

 18           A.       Yes.

 19           Q.       And are you saying there that what makes

 20    the claims inventive or novel is the use of single

 21    crystal piezoelectric layer?

 22           A.       I'm not saying that they solely do, but

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  1    that that is part of the invention, yes.

  2           Q.       And you believe that because the spec only

  3    references a single crystal piezoelectric embodiment,

  4    correct?

  5           A.       Now, I state in my report that the

  6    embodiments do not extend to non-single crystal

  7    devices as one piece of evidence, I'll say, to why a

  8    worker of skill reading this patent in the intrinsic

  9    record as a whole would reach that conclusion.

 10           Q.       I think you testified at the beginning of

 11    the day that you've been doing expert work in patent

 12    cases for over 20 years; is that correct?

 13           A.       I think that's about right, yeah.

 14           Q.       And you have at least a couple of patents

 15    that you're a named inventor on, correct?

 16           A.       Yes.

 17           Q.       So are you familiar with the notion of

 18    what a preferred embodiment is?

 19           A.       Yes.

 20           Q.       What is your understanding of what a

 21    preferred embodiment is as in a specification --

 22    patent specification?

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  1                    MR. QUIST:       Objection.       Relevance.        Scope.

  2                    THE WITNESS:        I don't have a legal

  3    definition of that to offer.               I know embodiments are

  4    described with or without the descriptor preferred.

  5    I'm not aware that it means anything different from

  6    the normal parlance of preferred.

  7    BY MR. FUHRER:

  8           Q.       Again, I'm not asking you for the legal

  9    correct answer.         You testified that you had an

 10    understanding of what the term "preferred embodiment"

 11    means, correct?

 12           A.       Sort of best in the judgment of the

 13    inventor.

 14           Q.       And oftentimes inventors will put their

 15    preferred embodiment in the specification, correct?

 16           A.       Yes.

 17           Q.       And do you have an understanding that, as

 18    an inventor, you don't have to identify every

 19    embodiment in your specification?

 20           A.       Yes.    That would be impossible.

 21           Q.       And so do you have an understanding as to

 22    whether or not a claim should be limited to its

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  1    preferred embodiment?

  2                    MR. QUIST:       Objection.       Vague.      Calls for

  3    a legal conclusion.

  4                    THE WITNESS:        My understanding as I sit

  5    here is that claim is not limited to its embodiments,

  6    preferred or not.

  7    BY MR. FUHRER:

  8           Q.       Would you agree that each time the single

  9    crystal piezoelectric layer is described in the '786

 10    patent is describing it as an embodiment?

 11           A.       I believe that's the case, yes.                 All of

 12    the embodiments, as I say in my report, make

 13    reference to single crystal.

 14           Q.       But the various embodiments describe

 15    different features, right?              That's the only common --

 16    I don't want to say it that broadly.                   I apologize.

 17    That there are differences between the embodiments

 18    except for the fact that they're each described as

 19    using a single crystal piezoelectric layer; is that

 20    correct?

 21           A.       There may be other common elements, but

 22    they're -- as different embodiments, something would

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  1    be different, yes.

  2           Q.       And your point is the one thing that isn't

  3    different in the embodiments is the fact that they're

  4    using a single crystal piezoelectric layer?

  5           A.       That's correct.

  6           Q.       And you find that compelling in a way that

  7    directs you to not apply the plain and ordinary

  8    meaning of piezoelectric layer, correct?

  9           A.       As I indicated a few minutes ago, I said

 10    that was part of the reasons -- a set of reasons why

 11    I think the worker of skill would understand the

 12    claim element -- claims to mean single crystal.

 13           Q.       Well, in paragraph 64 of your rebuttal,

 14    you make reference to the focus.                 Do you see that?

 15    "Thus, from the very beginning" --

 16           A.       Yes.

 17           Q.       -- "the focus of the alleged invention was

 18    on single crystal piezoelectric layers."

 19           A.       Yes.

 20           Q.       What do you mean by "the focus of the

 21    alleged invention"?

 22           A.       Well, as it says there, and it's in the

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  1    boxed region of text on page 18 of my report, it's

  2    going back to the provisional patent application that

  3    eventuated ultimately in the '786 patent.                     And in the

  4    third sentence of the description of the alleged

  5    invention in its provisional application, that's what

  6    it's talking about very explicitly, single crystal

  7    materials.

  8           Q.       If you can go to the '786 patent.                 Do you

  9    have it handy?

 10           A.       I do.

 11           Q.       And go to column 1, line 41.

 12           A.       I've got it.

 13           Q.       I believe on that line, the sentence

 14    starts by saying, "More particularly, the present

 15    invention provides techniques related to bulk

 16    acoustic wave resonator devices."

 17                    Do you see that?

 18           A.       Yes.

 19           Q.       Is it your understanding that the focus of

 20    the invention is on techniques related to bulk

 21    acoustic wave devices?

 22           A.       I didn't use the focus to describe that,

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  1    but it's the second sentence of the inventor's own

  2    summary.      So I'm not sure -- I haven't opined upon

  3    what technique means in this context.                   A technique is

  4    a method, but I see what he's saying there.

  5           Q.       If you go to column 2, line 10.

  6           A.       Yes.

  7           Q.       And it says, "One or more benefits are

  8    achieved over preexisting techniques."

  9                    Do you see that?

 10           A.       Yes.

 11           Q.       Do you have an understanding of what the

 12    inventors were talking about, improvements over

 13    preexisting techniques?

 14           A.       Well --

 15                    MR. QUIST:       Objection to scope.

 16                    THE WITNESS:        In reading it here, just --

 17    he's talking about -- he's referring to design and/or

 18    manufacturing.

 19    BY MR. FUHRER:

 20           Q.       He's not talking about single crystal

 21    there, is he?

 22           A.       Not right there, no.

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  1                    MR. QUIST:       I'll object to that last

  2    question as mischaracterizing the witness' testimony.

  3    BY MR. FUHRER:

  4           Q.       Okay.     And the sentence that starts with,

  5    "In particular, the present device can be

  6    manufactured in a relatively simple and

  7    cost-effective manner," do you see that?

  8           A.       Yes.

  9           Q.       And it's this method of manufacturing that

 10    is tied to the inventive technique we referred to

 11    earlier, correct?

 12                    MR. QUIST:       Objection.       Form.      Vague.

 13    Relevance.

 14                    THE WITNESS:        Well, since it has an

 15    "and/or" before the methods -- because it has an

 16    and/or clause before the methods, that would --

 17    techniques would possibly encompass that, but not

 18    necessarily.

 19    BY MR. FUHRER:

 20           Q.       Okay.     But the sentence goes on to say,

 21    "While using conventional materials."

 22                    Do you see that?

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  1           A.       Yes.

  2           Q.       Would a single crystal piezoelectric layer

  3    be considered a conventional material in BAW

  4    resonators in 2017?

  5                    MR. QUIST:       Objection to form.           Scope.

  6                    THE WITNESS:        I haven't opined on that,

  7    but I think a worker of skill in general, when

  8    thinking about piezoelectric crystals, harkening back

  9    all the way to the days of quartz radios, would think

 10    about single crystals.

 11    BY MR. FUHRER:

 12           Q.       So nowhere in this specification did you

 13    identify where the inventors described the invention

 14    as limited to the use of single crystal piezoelectric

 15    layers, correct?

 16                    MR. QUIST:       Objection.        Mischaracterizes

 17    the witness' declaration and testimony.

 18                    THE WITNESS:        I said earlier that the

 19    patentee did not act as his own lexicographer or in a

 20    similar way at least given absolute, all-encompassing

 21    definition for his invention.                   But as I do explain in

 22    my declaration -- and this is what I was asked to

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  1    opine upon -- that the worker of skill would

  2    understand that based on the intrinsic record.

  3    BY MR. FUHRER:

  4           Q.       And part of the intrinsic record you

  5    referred to is the provisional application?

  6           A.       Yes.    That's my understanding.

  7           Q.       And your point with the provisional

  8    application is that it only references a single

  9    crystal piezoelectric layer, correct?

 10           A.       Well, in a highlighted section on

 11    paragraph 63 of my report, it gives, I think, an

 12    unambiguous statement concerning that.                    It says the

 13    solution utilizes, built from, single crystal.                       It

 14    doesn't say may utilize or can utilize.                    It just says

 15    it utilizes.

 16           Q.       So you think the compelling word there is

 17    the use of the word "utilize"?

 18           A.       Well, no.       The compelling phrase there is

 19    it says the solution utilizes this technology built

 20    from single crystals.            So the sentence as a whole.

 21    But it doesn't -- yes, "utilize" is a very important

 22    word there.

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  1           Q.       Okay.     But if the solution is utilizing a

  2    single crystal piezoelectric layer, doesn't that mean

  3    that the single crystal piezoelectric layer is not

  4    the solution?

  5           A.       No, the solution -- of course a single

  6    crystal in the abstract is not going to be a

  7    solution.       It's part of an actual operative device.

  8    But the fact that the patentee called out single

  9    crystal piezoelectric material of high quality, I

 10    think the worker of skill says that is absolutely

 11    inherent in this solution.              The solution infers other

 12    things, too.

 13                    But by calling that out -- in a way, that

 14    doesn't -- I don't think jars the sensibility of a

 15    worker of skill.          There's no reason to question the

 16    claim there.        Again, it doesn't jar the worker of

 17    skill at all.         It kind of confirms that, well, if I

 18    don't have to worry about grain boundaries and other

 19    types of polycrystalline defects, that's probably

 20    going to be a good thing for these applications.

 21    That's why it doesn't jar his thought pattern when he

 22    reads this phrase.

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  1           Q.       So you don't see the reference to the

  2    single crystal in the provisional application as

  3    being a preferred embodiment?

  4                    MR. QUIST:       Objection.       Form and

  5    mischaracterizes the witness' testimony.

  6                    THE WITNESS:        I've not said that, no.

  7    BY MR. FUHRER:

  8           Q.       You do consider it to be a preferred

  9    embodiment?

 10           A.       I have offered no such opinion and all I'm

 11    saying here is, by highlighting this, it seems to be

 12    a requirement of the solution right from the get-go.

 13    The solution utilizes single crystal piezoelectric

 14    material.       Even for patent language, that seems quite

 15    descriptive to me of a particularity that obtains, in

 16    this case around the crystal structure of the

 17    piezoelectric material.

 18                    MR. FUHRER:        I have no further questions.

 19    Thank you, Doctor.

 20                    THE WITNESS:        Thank you, sir.

 21                    MR. QUIST:       Can we take five minutes and

 22    then I'd like to -- I have a few questions, after a

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  1    break.

  2                    MR. FUHRER:        1:15?

  3                    MR. QUIST:       Yeah.     That's perfect.

  4                    MR. FUHRER:        Thank you.

  5                    MR. QUIST:       Thanks.

  6                    (Recess.)

  7                EXAMINATION BY COUNSEL FOR PLAINTIFF

  8    BY MR. QUIST:

  9           Q.       Dr. Bravman, could you take a look at the

 10    '755 patent?        I'd like to look at claim 1 with you.

 11    So if you'd turn to column 9 and then go down, the

 12    piece of -- the first part I want you to look at in

 13    claim 1 is at approximately line 40 --

 14           A.       Okay.

 15           Q.       -- in column 9, okay?

 16           A.       I have it.

 17           Q.       Do you see where it introduces an outer

 18    region?

 19           A.       Yes.

 20           Q.       Okay.     Do you understand that's the first

 21    time outer region is introduced in this claim?

 22                    MR. FUHRER:        Objection.       Leading.      Sorry,

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  1    didn't mean to interrupt you, Trevor.

  2                    MR. QUIST:       That's okay.

  3                    THE WITNESS:        Yes, reading up to that

  4    point, the phrase "outer region" does not appear.

  5    BY MR. QUIST:

  6           Q.       Okay.     And let me ask that differently.

  7    Before the instance of an outer region that appears

  8    in line 40, do you see anywhere earlier in the claim

  9    where the phrase "outer region" appears?

 10           A.       No.

 11           Q.       Okay.     In the balance of the claim,

 12    meaning the rest of the claim, when the claim refers

 13    to the outer region, do you understand it to be

 14    referring back to an outer region that was introduced

 15    in line 40?

 16                    MR. FUHRER:        Objection.       Leading.

 17                    THE WITNESS:        Understanding how

 18    antecedents are typically used in English, yes, that

 19    would be my understanding.

 20    BY MR. FUHRER:

 21           Q.       Okay.     And when the claim introduces an

 22    outer region, is there anything in the claim that

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  1    would suggest to you that it means the entire outer

  2    region?

  3                    THE WITNESS:        It just says an outer

  4    region.      So it's not -- again, the clause there does

  5    not require that.

  6    BY MR. QUIST:

  7           Q.       Okay.     In your opinion, do you think a

  8    POSITA would need to understand whether or not --

  9    well, let me strike that.

 10                    Earlier in your conversation, earlier in

 11    your deposition, there was some discussion

 12    surrounding Bragg reflectors.                   Do you remember that?

 13           A.       Yes.

 14           Q.       Okay.     The conversation took place in the

 15    context of the disputed terms "active region" and

 16    "outer region."

 17                    Do you recall that?

 18           A.       Yes.

 19           Q.       Do you think a person of ordinary skill in

 20    the art at the time of the invention would need to

 21    understand whether or not the Bragg reflector is part

 22    of the active region in order to understand how to

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  1    apply the claims of the '755 patent?

  2           A.       No.    And what I think I said whether or

  3    not that was included in active region was immaterial

  4    to understanding the patent's inventiveness and

  5    that's why I support the claim construction as it is

  6    written.

  7           Q.       Okay.     Looking at claim 1, does the

  8    claim -- so if you can just turn back to claim 1.

  9    And if you need to take a look through the entire

 10    claim, you know, you're welcome to do that if you

 11    need to.

 12                    Does the claim specify an amount of the

 13    outer region that a person of ordinary skill in the

 14    art must observe in connection with evaluating the

 15    decrease in density of mechanical energy?

 16           A.       No, it does not specify it.

 17           Q.       Is it fair to say it would not be required

 18    by the claim under your understanding of how claim

 19    interpretation works?

 20                    MR. FUHRER:        Objection.       Leading.

 21                    THE WITNESS:        I think I offered that

 22    opinion several times today, that it would not be

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  1    required.

  2    BY MR. QUIST:

  3           Q.       Okay.     Did you thoroughly review each and

  4    every paragraph and opinion that appears in your

  5    initial declaration?

  6           A.       Yes.

  7           Q.       And then does the final version of your

  8    initial declaration, the one that you signed, does

  9    that reflect an accurate representation of your own

 10    expert opinions?

 11           A.       Yes.

 12           Q.       Okay.     Did you thoroughly review each and

 13    every paragraph and opinion that appears in your

 14    rebuttal declaration?

 15           A.       Yes.

 16           Q.       Okay.     And then similar question.              Does

 17    the final version of your rebuttal declaration, the

 18    one that you signed, reflect an accurate

 19    representation of your own expert opinions?

 20           A.       Yes.

 21                    MR. QUIST:       Okay.     Give me just one second

 22    here.     Okay.     No further questions.

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  1                    MR. FUHRER:        I have no more questions.

  2                    (Whereupon, at 1:25 p.m., the taking of

  3    the instant deposition ceased.)

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      QORVO V. AKOUSTIS TECHNOLOGIES                                            1

 ·1· · · · · IN THE UNITED STATES DISTRICT COURT

 ·2· · · · · · · FOR THE DISTRICT OF DELAWARE

 ·3

 ·4· QORVO, INC.,

 ·5· · · · · ·Plaintiff,

 ·6· · · · · ·vs.· ·C.A. No. 21-1417(JPM)

 ·7· AKOUSTIS TECHNOLOGIES, INC. and
 · · AKOUSTIS, INC.,
 ·8
 · · · · · · ·Defendants.
 ·9· _______________________________

 10

 11· · · · · · ·VIDEOCONFERENCE DEPOSITION OF

 12· · · · · · · · · · DR. CLARK NGUYEN

 13· · · · · · · · · · · · Volume I

 14

 15· · · · · · · · · · ·August 10, 2022

 16· · · · · · · · · 9:56 a.m. - 1:23 p.m.

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 18· · · · · · · ·REMOTE DEPOSITION VIA ZOOM

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      QORVO V. AKOUSTIS TECHNOLOGIES                                            2

 ·1· · · · · · · · ·APPEARANCES OF COUNSEL

 ·2

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 ·8

 ·9· On Behalf of the DEFENDANTS, AKOUSTIS TECHNOLOGIES,
 · · INC. AND AKOUSTIS, INC.:
 10
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 14· Also Present:

 15· · · · · ·TOM ROWLES

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·1· · · · · · ·INFORMATION REQUESTED
·2· · · · · · · · · ·PAGE· LINE
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 ·1· · · · · · ·DEPOSITION OF DR. CLARK NGUYEN
 ·2· · · · · · · · · · ·August 10, 2022
 ·3
 ·4· · · · · ·THE COURT REPORTER:· Hello, my name is
 ·5· David Ocanas.· I am a Certified Shorthand Reporter
 ·6· and notary public for the State of California.· The
 ·7· deposition of the witness, DR. CLARK NGUYEN, is
 ·8· being held via videoconferencing equipment.· The
 ·9· witness and reporter are not in the same room.
 10· · · · · ·Pursuant to agreement, all parties
 11· stipulate that the witness will be sworn in
 12· remotely and that the testimony being given today
 13· will be the same as if the witness was sworn in in
 14· person.
 15· · · · · ·So stipulated?
 16· · · · · ·MR. CREMEN:· So stipulated.
 17· · · · · ·MR. FUHRER:· So stipulated.
 18· · · · · ·MR. QUIST:· So stipulated.
 19
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 ·1· · · · · · · · · ·DR. CLARK NGUYEN,
 ·2· called as a witness by and on behalf of the
 ·3· Plaintiff, having been first duly sworn, was
 ·4· examined and testified as follows:
 ·5
 ·6· · · · · · · · · · · EXAMINATION
 ·7· BY MR. CREMEN:
 ·8· · · ·Q.· Good morning, Dr. Nguyen.
 ·9· · · ·A.· Good morning.
 10· · · ·Q.· Have you been deposed before?                                                  09:56
 11· · · ·A.· No.
 12· · · ·Q.· I will give you a little bit of an
 13· explanation of how it will go.
 14· · · · · ·Because we are doing this over video, we
 15· have to be careful not to speak over each other.                      I                 09:56
 16· will ask questions and you can answer, your counsel
 17· may object from time to time to some of my
 18· questions, but unless he tells you not to answer
 19· them, you have to answer.
 20· · · · · ·Do you understand that?                                                        09:56
 21· · · ·A.· Yes.
 22· · · ·Q.· If at any time one of my questions is
 23· unclear -- I'm sure there will be unclear questions
 24· today -- I'll try to rephrase it or you can answer
 25· it with any qualifiers you need.· I usually try to                                      09:57


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 ·1· go for about an hour and then take a short break.
 ·2· I think today we're going to try to stay -- we have
 ·3· agreed to stay within four hours.
 ·4· · · · · ·I don't know what your -- when your normal
 ·5· lunchtime is.· I think it's 10:00 a.m. for you                                          09:57
 ·6· right now.· But if you want to take a longer lunch
 ·7· break in the noon to 1:00 range, we can do that as
 ·8· well.
 ·9· · · ·A.· Okay, I'll let you know.
 10· · · ·Q.· Is there anything that would prevent you                                       09:57
 11· from answering truthfully today?
 12· · · ·A.· No.
 13· · · ·Q.· Do you understand why you are here today?
 14· · · ·A.· Yes.
 15· · · ·Q.· What is your understanding?                                                    09:58
 16· · · ·A.· I'm here to give my expert opinion on this
 17· case.
 18· · · ·Q.· Do you recall submitting an Initial Claim
 19· Construction of Expert Report and Declaration dated
 20· July 11th, 2022?                                                                        09:58
 21· · · ·A.· Yes.
 22· · · ·Q.· Do you have a copy of that with you today?
 23· · · ·A.· Yes.
 24· · · ·Q.· Do you recall preparing a Rebuttal Expert
 25· Construction Report and Declaration dated July                                          09:58


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 ·1· 29th, 2022?
 ·2· · · ·A.· Yes.
 ·3· · · ·Q.· Do you have a copy of that with you today?
 ·4· · · ·A.· Yes.
 ·5· · · · · ·(Deposition Exhibit 1,
 ·6· · · · · ·Initial Claim Construction of Expert
 ·7· · · · · ·Report and Declaration, was marked
 ·8· · · · · ·for identification by the Certified
 ·9· · · · · ·Shorthand Reporter, a copy of which
 10· · · · · ·is attached hereto.)
 11· · · · · ·(Deposition Exhibit 2,
 12· · · · · ·Rebuttal Expert Construction Report
 13· · · · · ·and Declaration, was marked for
 14· · · · · ·identification by the Certified
 15· · · · · ·Shorthand Reporter, a copy of which
 16· · · · · ·is attached hereto.)
 17· BY MR. CREMEN:
 18· · · ·Q.· Now, if I call those the initial
 19· declaration and the rebuttal declaration, will you
 20· know what I mean?                                                                       09:58
 21· · · ·A.· Yes.
 22· · · ·Q.· Just so we don't have to say the long
 23· titles 25 times today or more.
 24· · · · · ·Can you give me an overview of how those
 25· documents were prepared?                                                                09:59


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 ·1· · · · · ·MR. FUHRER:· Objection, vague.· Calls for
 ·2· a narrative.
 ·3· BY MR. CREMEN:
 ·4· · · ·Q.· You can answer.
 ·5· · · ·A.· Okay, there was an objection, I can still                                      09:59
 ·6· answer?
 ·7· · · ·Q.· Yes, unless your counsel instructs you not
 ·8· to answer, you can answer.
 ·9· · · ·A.· So the question again was?
 10· · · ·Q.· I was interested in your -- just give me                                       09:59
 11· -- let me start over.· I would like a brief
 12· overview of how the documents were prepared?
 13· · · · · ·Did you write them, did your counsel write
 14· them, was it a joint effort, that kind of thing?
 15· · · ·A.· Yes, I submitted an initial draft.                    I                        09:59
 16· guess there were a few drafts of this thing.· In
 17· the end, it's my writing, except for perhaps some
 18· legal stuff that I'm not an expert on which I
 19· looked at and approved.· Everything was approved by
 20· me by the end of this whole thing.                                                      10:00
 21· · · ·Q.· Do you recall how many drafts went back
 22· and forth for the initial report?
 23· · · ·A.· I don't know, maybe three or so, something
 24· -- there was a lot -- when you say type, I typed
 25· and I dictate sometimes when I write.                                                   10:00


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 ·1· · · ·Q.· Same question for the rebuttal
 ·2· declaration, how many drafts went back and forth?
 ·3· · · ·A.· I would estimate two or three.
 ·4· · · ·Q.· If you had to estimate how many hours you
 ·5· spent on each of the declarations, what would that                                  10:00
 ·6· estimate be?
 ·7· · · ·A.· These are just estimates, but I spent days
 ·8· on these things.· It was several hours per day.
 ·9· We're talking ten hours or something for each, or
 10· more, actually.                                                                     10:01
 11· · · ·Q.· Do you recall reviewing documents to
 12· prepare your declarations?
 13· · · ·A.· Yes.
 14· · · ·Q.· Do you have copies of each of those
 15· documents with you today?                                                           10:01
 16· · · ·A.· Yes, I believe so.
 17· · · ·Q.· Could you tell me your basic understanding
 18· of the claim construction process for patents?
 19· · · · · ·MR. FUHRER:· Objection, calls for a legal
 20· conclusion.· Speculative, calls for a narrative.                                    10:01
 21· · · · · ·THE WITNESS:· So the question again is --
 22· can you say it again?
 23· BY MR. CREMEN:
 24· · · ·Q.· I would like to understand your
 25· understanding as to -- as an expert witness of the                                  10:02


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 ·1· claim construction process?
 ·2· · · · · ·MR. FUHRER:· Same objection.
 ·3· · · · · ·THE WITNESS:· My understanding is I'm an
 ·4· expert that looks at the specification, looks at
 ·5· the claims and interprets it all.                                                   10:02
 ·6· BY MR. CREMEN:
 ·7· · · ·Q.· Do you know what intrinsic evidence is?
 ·8· · · ·A.· Yes, my understanding, that's the
 ·9· specification.
 10· · · ·Q.· Anything else?                                                             10:03
 11· · · ·A.· The claims made -- the claims, the
 12· terminology, I don't have the terminology, the
 13· claims, the specification, what came with the
 14· patent, is my understanding.
 15· · · ·Q.· Do you know what the prosecution history                                   10:03
 16· is?
 17· · · ·A.· Yes.
 18· · · ·Q.· Are the patent documents cited or
 19· discussed in the prosecution history part of the
 20· entries of record?                                                                  10:03
 21· · · · · ·MR. FUHRER:· Objection, vague.
 22· · · · · ·THE WITNESS:· I should answer that?
 23· · · · · ·MR. FUHRER:· Doctor, I'll object and you
 24· can still answer, as he instructed you at the
 25· beginning.                                                                          10:04


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 ·1· · · · · ·If I object and instruct you not to
 ·2· answer, then that will be a different thing.· I've
 ·3· not yet instructed you not to answer.
 ·4· · · · · ·Please answer the question unless I
 ·5· instruct you not to.                                                                10:04
 ·6· · · · · ·THE WITNESS:· Okay, you're asking if the
 ·7· patent documents were cited in the prosecution
 ·8· history?
 ·9· BY MR. CREMEN:
 10· · · ·Q.· Do you understand that during the                                          10:04
 11· prosecution history, the patent examiner may make
 12· reference to a piece of prior art that he thinks is
 13· relevant to the patent application?
 14· · · · · ·MR. FUHRER:· Objection, lacks foundation.
 15· Calls for speculation.                                                              10:04
 16· · · · · ·THE WITNESS:· If you're asking if I do
 17· understand that these histories will reference
 18· documents, yes.
 19· BY MR. CREMEN:
 20· · · ·Q.· Do you know -- are those reference                                         10:04
 21· documents part of the entries of record?
 22· · · · · ·MR. FUHRER:· Same objection, lacks
 23· foundation.
 24· · · · · ·THE WITNESS:· I think so.
 25· BY MR. CREMEN:                                                                      10:05


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 ·1· · · ·Q.· What is extrinsic evidence?
 ·2· · · · · ·MR. FUHRER:· Calls for a legal conclusion.
 ·3· · · · · ·THE WITNESS:· My understanding is
 ·4· extrinsic evidence is the evidence that is not
 ·5· intrinsic evidence, everything on the outside.                                      10:05
 ·6· BY MR. CREMEN:
 ·7· · · ·Q.· Do you know in your role as an expert
 ·8· witness whether intrinsic evidence or extrinsic
 ·9· evidence is considered more reliable for claim
 10· construction purposes?                                                              10:05
 11· · · · · ·MR. FUHRER:· Objection, calls for a legal
 12· conclusion.
 13· · · · · ·THE WITNESS:· I learned of the process
 14· that intrinsic evidence is very important.· I've
 15· always known that.· In this process, reading the                                    10:05
 16· documents, it's really hammered in.· It depends on
 17· the argument trying to be made.
 18· · · · · ·Sometimes extrinsic evidence is very
 19· necessary.
 20· BY MR. CREMEN:                                                                      10:06
 21· · · ·Q.· When you are asked to construe a claim as
 22· an expert witness, should you start with the
 23· intrinsic evidence or with the extrinsic evidence?
 24· · · ·A.· Intrinsic evidence.
 25· · · ·Q.· When would you look to extrinsic evidence?                                 10:06


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 ·1· · · · · ·MR. FUHRER:· Objection, lacks foundation.
 ·2· Speculation.
 ·3· · · · · ·THE WITNESS:· I would look to the
 ·4· extrinsic evidence when the intrinsic evidence
 ·5· could be helped, say if you wanted to define                                        10:06
 ·6· something with information extrinsically.
 ·7· BY MR. CREMEN:
 ·8· · · ·Q.· What do you mean by can be helped?
 ·9· · · ·A.· So, for example, if the intrinsic evidence
 10· makes it very clear that it means the plain and                                     10:07
 11· ordinary meaning, you can bring in extrinsic
 12· evidence to make it even clearer.
 13· · · ·Q.· If the meaning of in particular single
 14· crystal record, would you ever look to the
 15· extrinsic record?                                                                   10:07
 16· · · · · ·MR. FUHRER:· Objection, vague.· Calls for
 17· a legal conclusion.· Speculation.
 18· · · · · ·THE WITNESS:· This depends on the
 19· situation.· I don't think I can answer yes or no.
 20· I can say you might.                                                                10:07
 21· BY MR. CREMEN:
 22· · · ·Q.· If in your mind reviewing the claim term
 23· the meaning was clear for intrinsic record, why
 24· would you look to the extrinsic record?
 25· · · · · ·MR. FUHRER:· Objection, lacks foundation.                                  10:08


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 ·1· Calls for speculation.
 ·2· · · · · ·THE WITNESS:· I would do it to make sure
 ·3· it's clear for everyone involved.
 ·4· BY MR. CREMEN:
 ·5· · · ·Q.· What do you mean by everyone involved?                                     10:08
 ·6· · · ·A.· Everyone here, everyone looking at the
 ·7· patent.· I'm a professor at heart, I like to
 ·8· explain things.
 ·9· · · ·Q.· If the meaning of the term was clear in
 10· the intrinsic record, why would you need to make it                                 10:08
 11· clearer?
 12· · · · · ·MR. FUHRER:· Objection, vague.
 13· · · · · ·THE WITNESS:· It could be clear, but like
 14· I said, I'm a professor, I like it to be -- I look
 15· to put all the information down.                                                    10:09
 16· · · · · ·It can be clear without everything said
 17· about it.· But I tend to like to say more.
 18· BY MR. CREMEN:
 19· · · ·Q.· If you were reviewing a patent document
 20· and intrinsic record defines a term but the                                         10:10
 21· extrinsic record suggests a different definition
 22· for that term, which should control, the extrinsic
 23· or the intrinsic?
 24· · · · · ·MR. FUHRER:· Objection, calls for a legal
 25· conclusion.· Vague.· Lacks foundation.                                              10:10


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 ·1· · · · · ·THE WITNESS:· My assumption, it should be
 ·2· the intrinsic or my understanding it should be
 ·3· intrinsic.
 ·4· BY MR. CREMEN:
 ·5· · · ·Q.· Let's look at page 4 of your rebuttal                                      10:10
 ·6· declaration.
 ·7· · · ·A.· I'm on page 4 of my rebuttal.
 ·8· · · ·Q.· Let's look at the sentence starting on the
 ·9· second line of page 4.
 10· · · · · ·In that sentence you mention that -- that                                  10:11
 11· identified extrinsic evidence available to provide
 12· clarification and support in view of the
 13· differences in the plain and ordinary constructions
 14· proposed by the parties.
 15· · · · · ·Do you see that?                                                           10:11
 16· · · ·A.· Yes.
 17· · · ·Q.· Is it your opinion that a person of skill
 18· would look to extrinsic evidence because there is a
 19· difference between the parties' construction?
 20· · · ·A.· In the case, it was appropriate.                                           10:12
 21· · · ·Q.· Why was it appropriate?
 22· · · ·A.· Because looking at the two constructions,
 23· Akoustis's is not consistent with the
 24· specification.
 25· · · ·Q.· Why not?                                                                   10:12


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 ·1· · · ·A.· Akoustis -- sorry, I meant Qorvo, not
 ·2· Akoustis.· Let me say that again.
 ·3· · · · · ·Qorvo is not consistent with the
 ·4· specification.
 ·5· · · · · ·So I assume -- you asked why not.· I will                                  10:12
 ·6· continue with that.
 ·7· · · ·Q.· Sure.
 ·8· · · ·A.· It's saying that the active region is the
 ·9· better resonator that is electrically driven.
 10· · · · · ·The electrically driven part highlights                                    10:13
 11· the BAW resonator that does not include the whole
 12· BAW resonator in many different types of BAW
 13· resonators.
 14· · · ·Q.· We'll come back to that in a minute.
 15· · · · · ·Let's go to the beginning of that sentence                                 10:13
 16· we were just looking at, where you say that:
 17· · · · · ·"While a POSITA may be able to understand
 18· certain disputed claim terms without resorting to
 19· extrinsic evidence..."
 20· · · · · ·Do you see that?                                                           10:13
 21· · · ·A.· Yes.
 22· · · ·Q.· What certain disputed claim terms would a
 23· POSITA not have to resort to extrinsic evidence in
 24· this case?
 25· · · ·A.· I don't think any of this case.                                            10:14


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 ·1· · · ·Q.· So each of the disputed claim terms that
 ·2· you opine on in your declarations, a person of the
 ·3· ordinary skill in the art would have to rely on
 ·4· extrinsic evidence to understand them?
 ·5· · · · · ·MR. FUHRER:· Objection, mischaracterizes                                   10:14
 ·6· testimony.· Misleading.
 ·7· · · · · ·THE WITNESS:· I'm thinking of the four
 ·8· different terms right now to make sure I understand
 ·9· this correctly.· In this case, I think, yes.
 10· BY MR. CREMEN:                                                                      10:14
 11· · · ·Q.· Do you know to what audience a patent
 12· specification is written to?
 13· · · · · ·MR. FUHRER:· Objection, lacks foundation.
 14· Calls for a legal conclusion.
 15· · · · · ·THE WITNESS:· I think I do and the                                         10:16
 16· audience can be large.
 17· BY MR. CREMEN:
 18· · · ·Q.· Who would be the audience?
 19· · · ·A.· It could be people working in the area.
 20· · · · · ·It could be people not working in the area                                 10:16
 21· directly.
 22· · · · · ·The area, to understand what I'm saying,
 23· the area, it's not a very specific thing.
 24· · · · · ·It could be people working in resonators
 25· and that type of thing.· It would be people who are                                 10:17


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 ·1· physicists.· It could be students.· It could be all
 ·2· types of people.
 ·3· · · ·Q.· Let me ask you more discretely.
 ·4· · · · · ·Do you know if a patent specification is
 ·5· written for the level of a person of ordinary skill                                 10:17
 ·6· in the art?
 ·7· · · ·A.· Yes.
 ·8· · · ·Q.· Does a patent specification have to
 ·9· explain concepts that a person of ordinary skill in
 10· the art would be aware of?                                                          10:17
 11· · · · · ·MR. FUHRER:· Objection, vague.· Confusing.
 12· · · · · ·THE WITNESS:· My understanding, it could
 13· be good if it did.
 14· · · · · ·There are certain things that a person of
 15· ordinary skill in the art understands.                                              10:18
 16· BY MR. CREMEN:
 17· · · ·Q.· Do you know to what level of detail a
 18· patent specification is supposed to be written for
 19· to be proper?
 20· · · · · ·MR. FUHRER:· Objection, calls for a legal                                  10:18
 21· conclusion.· Vague.· Lacks foundation.
 22· · · · · ·THE WITNESS:· Can you repeat that
 23· question?
 24· · · · · ·You are asking about specifics?
 25· BY MR. CREMEN:                                                                      10:18


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     QORVO V. AKOUSTIS TECHNOLOGIES                                            20

 ·1· · · ·Q.· Is it your understanding that a patent
 ·2· application has to be written with enough detail
 ·3· for one of skill to make use of the invention?
 ·4· · · ·A.· Yes.
 ·5· · · ·Q.· Reviewing your declarations, I see there                                   10:19
 ·6· is a bit of case law in them.
 ·7· · · · · ·For example, on page 7 of your initial
 ·8· declaration; do you see that?
 ·9· · · ·A.· Let me bring up my initial declaration.
 10· · · · · ·Yes.                                                                       10:20
 11· · · ·Q.· How many expert declarations for patent
 12· cases have you prepared prior to this one?
 13· · · ·A.· Just one.
 14· · · ·Q.· You're not an attorney; correct?
 15· · · ·A.· No.                                                                        10:20
 16· · · ·Q.· There are a couple of cases cited on page
 17· 7 of your initial declaration, Phillips versus AWH
 18· Corp., and Vitronics versus Conceptronic.
 19· · · · · ·Did you review those cases to prepare this
 20· paragraph of your declaration?                                                      10:20
 21· · · ·A.· No.
 22· · · ·Q.· Were you relying on your attorney's
 23· interpretation of those cases for this section?
 24· · · · · ·MR. FUHRER:· Objection.· Misleading.
 25· · · · · ·THE WITNESS:· I read this section.                    I                    10:21


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     QORVO V. AKOUSTIS TECHNOLOGIES                                            21

 ·1· agree with these things.· So it was me that agreed
 ·2· to it.
 ·3· BY MR. CREMEN:
 ·4· · · ·Q.· I'm just curious about the source of this.
 ·5· You said you didn't review the case law.                                            10:21
 ·6· · · · · ·Was this paragraph provided to you by
 ·7· counsel and you agreed to it, is my understanding
 ·8· correct?
 ·9· · · ·A.· Yes.· The draft came in with this.· I read
 10· through it and made sense and I have seen texts                                     10:21
 11· like this before.· So it made sense to me and I
 12· approved it.
 13· · · ·Q.· Let's go to page 9 of your initial
 14· declaration.· There is a section titled Level of
 15· Ordinary Skill in the Art; do you see that?                                         10:22
 16· · · ·A.· Yes.
 17· · · ·Q.· In the second line of this section, you
 18· mention that this definition is for the time period
 19· in question; correct?
 20· · · ·A.· Yes.                                                                       10:22
 21· · · ·Q.· What time frame is that?
 22· · · ·A.· That is a time frame up to the patent
 23· submission date, I think it was 2015.
 24· · · · · ·I have to look -- for the '755 Patent.
 25· · · ·Q.· Would your definition of a person of                                       10:23


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     QORVO V. AKOUSTIS TECHNOLOGIES                                            22

 ·1· ordinary skill in the art have changed if the time
 ·2· frame in question was 1990?
 ·3· · · · · ·MR. FUHRER:· Objection, calls for
 ·4· speculation.· Lacks foundation.
 ·5· · · · · ·THE WITNESS:· I don't know that I can                                      10:23
 ·6· answer that question, actually.· Electrical
 ·7· engineers learn lots of things, not just circuits.
 ·8· For example, I'm an electrical engineer and I came
 ·9· out of that -- those times.
 10· BY MR. CREMEN:                                                                      10:23
 11· · · ·Q.· Can you think of any earlier time frame
 12· where your definition of person of ordinary skill
 13· in the art on page 9 of your initial declaration
 14· would be different?
 15· · · · · ·MR. FUHRER:· Objection, vague.· Lacks                                      10:24
 16· foundation.
 17· · · · · ·THE WITNESS:· So the history of this
 18· field, immense field, is that it came out of
 19· electrical engineering and other as specifics of
 20· engineering that fed into it for the benefit of the                                 10:24
 21· whole thing.
 22· · · · · ·But electrical engineering still remains
 23· and was even in those initial periods, the backbone
 24· of this technology.
 25· BY MR. CREMEN:                                                                      10:25


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     QORVO V. AKOUSTIS TECHNOLOGIES                                            23

 ·1· · · ·Q.· By this technology, you mean MEMS
 ·2· technology in general?
 ·3· · · ·A.· Yes, which includes what we're talking
 ·4· about today.
 ·5· · · ·Q.· Are all resonators MEMS?                                                   10:25
 ·6· · · ·A.· It fits the definition of MEMS.
 ·7· · · ·Q.· Are MEMS courses typically part of an
 ·8· electrical engineer's education?
 ·9· · · ·A.· I would say yes, because in courses, for
 10· example, that are teaching fabrication technology,                                  10:26
 11· these courses do not just teach transistor
 12· fabrication.· They pretty much always teach MEMS as
 13· well because it's an important part of the
 14· technology that students need to learn.· At least
 15· every time I taught the course, there have been                                     10:26
 16· MEMS in it and all the other courses I have looked
 17· at have had MEMS processes, too, in them.
 18· · · ·Q.· Is a MEMS course required to graduate with
 19· an electrical engineering degree from Berkeley
 20· currently, to your knowledge?                                                       10:26
 21· · · ·A.· At UC Berkeley, what we have is a first
 22· course that all students take.
 23· · · · · ·There is a course that goes through lots
 24· of different aspects of electrical engineering.
 25· · · · · ·Did you say something?                                                     10:27


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     QORVO V. AKOUSTIS TECHNOLOGIES                                            24

 ·1· · · · · ·It's a course that goes through many
 ·2· different aspects of electrical engineering.
 ·3· · · · · ·This is throughout the history of UC
 ·4· Berkeley, I guess way back in the '80s and '90s, it
 ·5· was a single course that covered many topics                                        10:27
 ·6· including MEMS.
 ·7· · · · · ·Now it's two courses, I believe still
 ·8· covering some MEMS topics in them.
 ·9· · · · · ·I guess it may depend on the year, who is
 10· teaching the course, how much they put into it.                                     10:27
 11· · · · · ·But MEMS is something that -- if this is a
 12· course that all students take, I would say not even
 13· electrical engineers, at Berkeley, this is even
 14· taught to computer science students.
 15· · · · · ·If you have looked lately at how many                                      10:27
 16· students are taking which courses at any
 17· university, computer science is probably the most
 18· populous major now, which means that an awful lot
 19· of students are learning about MEMS and it's part
 20· of a required course that they have to take.                                        10:28
 21· · · · · ·I would say in most semesters, depends on
 22· who is teaching the course, depends on how much
 23· they put into it.· This is a course that covers a
 24· lot of material.
 25· · · · · ·It covers a slew of different ideas.                                       10:28


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     QORVO V. AKOUSTIS TECHNOLOGIES                                            25

 ·1· · · · · ·If the question is, do they learn MEMS,
 ·2· yes.
 ·3· · · ·Q.· In your definition of a person of ordinary
 ·4· skill in the art, you indicate that someone with an
 ·5· undergraduate degree in electrical engineering with                                 10:28
 ·6· two to four years of experience in the technical
 ·7· field would qualify or someone with a master's and
 ·8· additional information; is that right?
 ·9· · · ·A.· Yes.
 10· · · ·Q.· In your opinion, is the electrical                                         10:28
 11· engineering degree or the work experience more
 12· important for a person of ordinary skill in the art
 13· to understand this technical field?
 14· · · · · ·MR. FUHRER:· Objection, vague.
 15· Speculative, lacks foundation.                                                      10:29
 16· · · · · ·THE WITNESS:· They are both important.· In
 17· order to learn things, once you go out to work, you
 18· have to have the foundation.
 19· · · · · ·I'm not sure how I can put one in front of
 20· the other.                                                                          10:29
 21· BY MR. CREMEN:
 22· · · ·Q.· Okay, let's look at page 2 of your
 23· rebuttal report.
 24· · · · · ·Paragraph bridging pages 2 and 3, you
 25· discuss Dr. Bravman's definition of a person of                                     10:30


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 ·1· ordinary skill in the art; is that right?
 ·2· · · ·A.· Yes.
 ·3· · · ·Q.· In the fourth line down, you take the
 ·4· position that the differences between you and
 ·5· Dr. Bravman's definition of a person of skill would                                 10:30
 ·6· not impact claim construction; is that right?
 ·7· · · ·A.· Yes, mainly because the discipline -- it's
 ·8· difficult to delineate between the disciplines.
 ·9· · · · · ·They have all sort of gone into one
 10· another.                                                                            10:31
 11· · · · · ·So people learn a lot of the same things
 12· in the different disciplines.
 13· · · ·Q.· When you say discipline, do you mean for
 14· an undergraduate degree?
 15· · · ·A.· Yes.                                                                       10:31
 16· · · ·Q.· Do you think that Dr. Bravman's definition
 17· of a person of skill is unreasonable?
 18· · · · · ·MR. FUHRER:· Objection, vague.
 19· · · · · ·THE WITNESS:· I think it misses some
 20· things.                                                                             10:31
 21· BY MR. CREMEN:
 22· · · ·Q.· What do you think it misses?
 23· · · ·A.· The last sentence in that paragraph.
 24· · · ·Q.· So --
 25· · · ·A.· Actually, I'm reading this again -- I'm                                    10:32


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     QORVO V. AKOUSTIS TECHNOLOGIES                                            27

 ·1· sorry, it does include electrical engineering.
 ·2· · · · · ·He includes electrical engineering.                     I
 ·3· think that's fine with me.
 ·4· · · ·Q.· Is there a course for electrical engineers
 ·5· at Berkeley that covers the effects of different                                    10:33
 ·6· crystal structures of piezoelectric layers?
 ·7· · · ·A.· Different crystal structures -- what do
 ·8· you mean by that?
 ·9· · · ·Q.· In one of the patents we will discuss
 10· today, we will talk about single crystal or                                         10:33
 11· polycrystalline and piezoelectric layers; is that
 12· right?
 13· · · ·A.· Yes.
 14· · · ·Q.· Is there a required course for an
 15· electrical engineering degree at Berkeley that                                      10:33
 16· would cover the differences in a single crystal
 17· piezoelectric layer versus a polycrystalline
 18· piezoelectric layer?
 19· · · · · ·MR. FUHRER:· Objection, misleading.
 20· · · · · ·THE WITNESS:· There are courses that cover                                 10:34
 21· piezoelectrics.
 22· · · · · ·There are courses that cover between
 23· single crystal and polycrystalline.· Those are
 24· usually in the context of silicon.
 25· · · · · ·The courses that cover piezoelectric -- I                                  10:34


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 ·1· guess I can't really tell you, because I don't
 ·2· teach that class.
 ·3· · · · · ·That would be the first MEMS class where
 ·4· that is covered.
 ·5· · · · · ·We have two MEMS classes.                                                  10:34
 ·6· · · · · ·MR. CREMEN:· We'll move on.
 ·7· · · · · ·Let's look at the '755 Patent, if you
 ·8· will.
 ·9· · · · · ·(Deposition Exhibit 3,
 10· · · · · ·'755 Patent, was marked for
 11· · · · · ·identification by the Certified
 12· · · · · ·Shorthand Reporter, a copy of which
 13· · · · · ·is attached hereto.)
 14· BY MR. CREMEN:
 15· · · ·Q.· You reviewed this patent before you                                        10:35
 16· prepared your initial declaration; correct?
 17· · · ·A.· Yes.
 18· · · ·Q.· What is the purpose of a BAW resonator?
 19· · · ·A.· The BAW resonator goes into a system,
 20· receiver/transceiver system, for a wireless                                         10:36
 21· circuit, in most cases.
 22· · · · · ·It's also used -- resonators as sensors.
 23· · · · · ·They are also used as sensors.· There are
 24· a variety of applications for BAW resonators.· The
 25· purpose of it as a sensor is to sense the parameter                                 10:36


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     QORVO V. AKOUSTIS TECHNOLOGIES                                            29

 ·1· that you want to sense.
 ·2· · · · · ·I guess I can include another application.
 ·3· There is an oscillator application.
 ·4· · · · · ·That purpose is to put out a very stable
 ·5· output frequency and then there is the filtering                                    10:36
 ·6· application in communications where the oscillator
 ·7· is also in communication as well, where its purpose
 ·8· is multifold.
 ·9· · · · · ·Its purpose is to pass certain frequencies
 10· and reject others, but also to appropriate                                          10:37
 11· impedances to the preceding and following stages,
 12· also to lend a temperature stability to the whole
 13· system, also to be linear enough that it doesn't
 14· generate unwanted spurious signals.
 15· · · · · ·So there are multiple purposes that you                                    10:37
 16· can think of for BAW resonators.
 17· · · ·Q.· Does the '755 patent discuss one of those
 18· functions for its BAW resonator?
 19· · · ·A.· Yes.
 20· · · ·Q.· Which one?                                                                 10:38
 21· · · ·A.· The receiver/transceiver system function
 22· which are two of them, I suppose, right, although
 23· unfiltered.
 24· · · ·Q.· That was my next question.
 25· · · · · ·Is it discussed in the filter application                                  10:38


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 ·1· you mentioned in your two previous answers?
 ·2· · · ·A.· Say that again?
 ·3· · · · · ·Is the discussion of the filters in my
 ·4· previous two answers?
 ·5· · · ·Q.· I'll start over.· Sorry.                                                   10:38
 ·6· · · · · ·Does the '755 patent focus on the use of a
 ·7· BAW resonator as a filter?
 ·8· · · · · ·MR. FUHRER:· Objection.
 ·9· · · · · ·Misleading, calls for a legal conclusion.
 10· · · · · ·THE WITNESS:· You said does it?                                            10:39
 11· · · · · ·The answer is yes.
 12· BY MR. CREMEN:
 13· · · ·Q.· What in your expert opinion is the
 14· invention of the '755 patent?
 15· · · ·A.· They are inventing a method to raise the                                   10:40
 16· quality factor of a BAW resonator.
 17· · · ·Q.· How are they doing that?
 18· · · ·A.· They are doing that by adding material in
 19· an outside region to the side of the BAW resonator.
 20· · · ·Q.· What effect does that have?                                                10:40
 21· · · ·A.· So that actually changes the acoustic
 22· matching between the resonator and the side
 23· portion, allowing them to extinguish certain
 24· wavelengths.
 25· · · ·Q.· What do you mean by extinguishing?                                         10:41


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 ·1· · · ·A.· Scientifically, they would not exist.
 ·2· · · ·Q.· Let's look at page 3 of your rebuttal
 ·3· declaration.
 ·4· · · · · ·Towards the bottom there is a paragraph
 ·5· that starts out "Dr. Bravman contends"; do you see                                  10:41
 ·6· that paragraph?
 ·7· · · ·A.· Yes.
 ·8· · · ·Q.· Do you see in the middle of that paragraph
 ·9· where you say:
 10· · · · · ·"I do not disagree with this statement."                                   10:42
 11· · · ·A.· Yes.
 12· · · ·Q.· But then you go on to say:
 13· · · · · ·"It's not a complete statement."
 14· · · · · ·Is that right?
 15· · · ·A.· Yes.                                                                       10:42
 16· · · ·Q.· What would you add to Dr. Bravman's
 17· statement to make it complete, in your view?
 18· · · ·A.· I would add the possibility that energy
 19· could come back.
 20· · · ·Q.· What do you mean by energy could come                                      10:42
 21· back?
 22· · · ·A.· If energy leaves the -- let me read
 23· exactly what he says.
 24· · · · · ·If energy leaves the confinement area, it
 25· can reflect somewhere else and come back.                                           10:43


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 ·1· · · ·Q.· So what language would be added on to the
 ·2· end of Dr. Bravman's statement to make it complete?
 ·3· · · ·A.· I'm trying to look if I wrote something on
 ·4· that already.
 ·5· · · ·Q.· Take your time.                                                            10:44
 ·6· · · ·A.· I would say to improve the confinement of
 ·7· electrical engineering therein and reduce loss.
 ·8· · · ·Q.· Is that it?
 ·9· · · ·A.· I think so, without getting too
 10· complicated.                                                                        10:45
 11· · · · · ·This is a short phrase that doesn't really
 12· capture everything.· Keeping in line with that, I
 13· will just add "and reduce loss."
 14· · · ·Q.· Going back for a moment to the
 15· applications of BAW filters, are BAW filters used                                   10:45
 16· in mobile phones?
 17· · · ·A.· Yes.
 18· · · · · ·Let me add to the previous one.· There are
 19· several ways -- what I said was absolutely correct.
 20· · · · · ·You can also say and to increase Q.                                        10:46
 21· · · · · ·There are several different ways to attach
 22· to that statement.
 23· · · · · ·So your second question, yes.
 24· · · ·Q.· What function does it provide to mobile
 25· phones?                                                                             10:46


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 ·1· · · ·A.· They remove unwanted frequencies and past
 ·2· wanted frequencies and they also do this in a way
 ·3· where they minimize the loss in the passband, which
 ·4· is another way of saying they match to the
 ·5· preceding and succeeding stages.· That's enough.                                    10:46
 ·6· · · ·Q.· Let's go to page 4 of your rebuttal
 ·7· declaration.
 ·8· · · ·A.· I'm there.
 ·9· · · ·Q.· You have reproduced the parties' proposed
 10· construction for active region and outer region                                     10:47
 11· here; right?
 12· · · ·A.· Yes.
 13· · · ·Q.· Do you have an opinion as to whether one
 14· of the parties' construction for active region is
 15· broader than the other?                                                             10:47
 16· · · ·A.· Is broader than the other?· I think
 17· Akoustis's is broader.
 18· · · ·Q.· Why do you think that?
 19· · · ·A.· Because when you are looking at -- did
 20· someone say something?                                                              10:47
 21· · · ·Q.· No.
 22· · · ·A.· I'm sorry, I'm hearing things coming in,
 23· it sounds like someone is interrupting me.
 24· · · · · ·That's why I'm asking if someone said
 25· something.                                                                          10:48


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 ·1· · · ·Q.· Continue, I'm sorry.
 ·2· · · ·A.· Sometimes you are very quiet, in the
 ·3· beginning, so I can't tell.· It's not a huge issue
 ·4· here.
 ·5· · · · · ·So the reason why I think that Qorvo's in                                  10:48
 ·6· saying it is the region that is electrically
 ·7· driven, electrically driven is a small region of
 ·8· the entire BAW resonator and certain embodiments of
 ·9· them.
 10· · · · · ·What electrically driven is what is                                        10:48
 11· between the electrons within the electric fields
 12· and that doesn't capture all of the BAW resonator.
 13· · · · · ·So if you have a BAW resonator with --
 14· I'll just stop there.
 15· · · ·Q.· How is Akoustis's proposed construction                                    10:48
 16· different from that?
 17· · · ·A.· So motional current, where the motion is
 18· important, most people will just say current.                     I
 19· will add "motional" to it.
 20· · · · · ·To emphasize the motion of the device is                                   10:49
 21· important.· The motion that gives the purpose of
 22· the device is important.
 23· · · · · ·So the drive does create that motion and
 24· the driver between the electrodes.
 25· · · · · ·But there are devices that have electrodes                                 10:49


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 ·1· in other places where you are not applying a
 ·2· voltage to those electrodes, yet they are still
 ·3· moving.
 ·4· · · · · ·They are still providing the purpose of
 ·5· the device and that they are actually delivering                                    10:49
 ·6· the output current which ends up being the motional
 ·7· current.
 ·8· · · · · ·So the Qorvo construction misses that
 ·9· part.
 10· · · · · ·The Akoustis construction includes it by                                   10:50
 11· focusing on the current, the motional current.
 12· · · ·Q.· Could you turn to the '755 patent for a
 13· moment?
 14· · · ·A.· Yes.
 15· · · ·Q.· Let's look at Figure 2B.                                                   10:50
 16· · · ·A.· Okay, I'm there.
 17· · · ·Q.· Would applying either parties'
 18· construction to the BAW resonator in Figure 2B
 19· result in a different identification of an active
 20· region?                                                                             10:51
 21· · · ·A.· Yes.
 22· · · ·Q.· How so?
 23· · · ·A.· So the specification clearly says that the
 24· active region includes not only the piezoelectric
 25· layer, between those dotted lines, the Bragg                                        10:51


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 ·1· reflector at the bottom.
 ·2· · · · · ·In the Qorvo construction, the electric
 ·3· field is between the top electrode and the bottom
 ·4· electrode.
 ·5· · · · · ·So it's the only electrically driven                                       10:51
 ·6· portion of the piezoelectric layer.
 ·7· · · · · ·So it would include only the piezoelectric
 ·8· layer as the active region and would miss the Bragg
 ·9· reflector below, because the Bragg reflector is not
 10· driven electrically.                                                                10:52
 11· · · · · ·There are not electric fields through it
 12· that are creating the piezoelectric drive for that
 13· layer.
 14· · · · · ·In fact, the Bragg reflector, in fact, is
 15· being driven acoustically, not electrically.                                        10:52
 16· · · · · ·So that's the reason why the Qorvo
 17· construction is not consistent with the
 18· specification.
 19· · · ·Q.· Okay.· Let's look at page 12 of your
 20· initial declaration.                                                                10:53
 21· · · ·A.· Okay.· I'm there.
 22· · · ·Q.· Actually, I'm sorry, start on page 11, I'm
 23· going to ask you some questions about the paragraph
 24· that bridges pages 11 and 12, in particular the
 25· sentence starting five lines up from the bottom of                                  10:54


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 ·1· 11, starting with, "I disagree with Qorvo's
 ·2· suggested plain and ordinary meaning..."
 ·3· · · · · ·You want to take a quick read through that
 ·4· to the end of the paragraph and then I'll ask you
 ·5· some questions.                                                                     10:54
 ·6· · · ·A.· To the end of the paragraph, even on page
 ·7· 12.· I read it.
 ·8· · · ·Q.· Let's start on the second line of page 12,
 ·9· you say the term electrically driven is not a
 10· well-defined term of the art; do you see that?                                      10:55
 11· · · ·A.· Yes.
 12· · · ·Q.· What do you mean by that?
 13· · · ·A.· So there is a large number of resonators
 14· in the art, there are resonators that are
 15· electrostatically driven, which means there's no                                    10:55
 16· piezoelectric between the electrode and the actual
 17· resonator.
 18· · · · · ·In that type of device, it's just the
 19· force of the electric fields that actually actuates
 20· the resonator.                                                                      10:56
 21· · · · · ·The piezoelectric device, of course, we
 22· know the force that actuates the resonator is the
 23· stress that is generated within the piezoelectric
 24· as a response to the electric field.
 25· · · · · ·So there could be confusion between those                                  10:56


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 ·1· two there.
 ·2· · · · · ·A lot of times when people say
 ·3· electrically driven mean the ones that are
 ·4· electrostatically driven.
 ·5· · · · · ·When a person is referring to driving a                                    10:56
 ·6· piezoelectric device, they are saying
 ·7· piezoelectrically driven.
 ·8· · · · · ·There is a little bit of confusion there
 ·9· in using that term.
 10· · · ·Q.· To your knowledge, how many U.S. patents                                   10:57
 11· are you listed as an inventor on?
 12· · · ·A.· So I kind of lost count in my count -- my
 13· count may not be accurate.
 14· · · · · ·There are some patents that issued, I was
 15· not aware of, I suppose.· I think 30 or                                             10:57
 16· thereabouts.
 17· · · · · ·But if I go online and how many patents I
 18· have, some places say 60.· There is a good number.
 19· · · ·Q.· Do you recall reading the term
 20· "electrically driven" in your patents?                                              10:57
 21· · · ·A.· I often use capacitively driven or
 22· capacitive transducer or capacitively transduced;
 23· it's possible I would have said electrically
 24· driven, which would be more appropriate for what I
 25· do because I have electrostatic devices.                                            10:58


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 ·1· · · · · ·I also do piezoelectric as well.· But a
 ·2· lot of my stuff is electrostatic.
 ·3· · · ·Q.· Is it your opinion that a person of
 ·4· ordinary skill in the art would not know what
 ·5· electrically driven means in the context of the                                     10:58
 ·6· '755 patent?
 ·7· · · ·A.· No.· I think they would understand that
 ·8· it's where the fields are.
 ·9· · · ·Q.· What do you mean by where the fields are?
 10· · · ·A.· Between the electrodes that the voltages                                   10:59
 11· are applied across.
 12· · · ·Q.· Now, the same paragraph I had you read,
 13· the fifth line down at the very end, it begins,
 14· "For example..."
 15· · · · · ·Do you see that?                                                           10:59
 16· · · ·A.· I'm not seeing that, are you on page 12?
 17· · · ·Q.· Yes.· Page 12, fifth line down,
 18· "Electrically driven could mean..."
 19· · · ·A.· I see that.
 20· · · ·Q.· Why did you include this list of examples?                                 11:00
 21· · · · · ·MR. FUHRER:· Objection, vague.· Confusing.
 22· Calls for speculation.
 23· · · · · ·THE WITNESS:· I included it to explain why
 24· someone could be confused by electrically driven.
 25· BY MR. CREMEN:                                                                      11:00


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 ·1· · · ·Q.· At the end of the list of examples, you
 ·2· mention flexural mode.
 ·3· · · · · ·Then in parens, you say:
 ·4· · · · · ·"(Which is not the mode of interest."
 ·5· · · · · ·Do you see that?                                                           11:00
 ·6· · · ·A.· Yes.
 ·7· · · ·Q.· What is the mode of interest?
 ·8· · · ·A.· Depends on the device, depends on the
 ·9· purpose.
 10· · · ·Q.· What is the mode of interest in the                                        11:01
 11· context of the '755 patent?
 12· · · ·A.· It's the longitudinal mode, the
 13· extensional mode.
 14· · · ·Q.· What is the end function of that mode?
 15· · · ·A.· What is the end function of that mode?                                     11:01
 16· · · · · ·It is to pass a frequency.
 17· · · · · ·I heard a sound, but I don't think someone
 18· was saying something.
 19· · · ·Q.· I wasn't.· There may be some background
 20· noise.                                                                              11:02
 21· · · · · ·When you say pass a frequency, is that to
 22· function as a filter?
 23· · · ·A.· Yes.
 24· · · · · ·That's the filtering function.· There are
 25· other functions like you mentioned before.· But                                     11:02


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 ·1· that would also influence the impedance.
 ·2· · · ·Q.· Are there other words that are used to --
 ·3· hold on one second.
 ·4· · · · · ·I was trying to scroll up to see the
 ·5· phrase you used for the mode of interest.                                           11:03
 ·6· · · · · ·What was the phrase you used?
 ·7· · · ·A.· You mean the thing that says:
 ·8· · · · · ·"...or that a suspended piezoelectric
 ·9· layer (as in an FBAR) is driven into a flexural
 10· mode..."?                                                                           11:03
 11· · · ·Q.· Yes.
 12· · · · · ·When we were discussing what mode was not
 13· of interest, I asked you what mode was of interest
 14· and you said something longitudinal.
 15· · · · · ·What was the phrase you used?                                              11:03
 16· · · ·A.· You mean the word that I used?· It's
 17· called either longitudinal or extensional mode.
 18· · · ·Q.· Is the longitudinal or extensional mode
 19· called other things in the art?
 20· · · ·A.· Thickness mode.                                                            11:04
 21· · · ·Q.· Anything else?
 22· · · ·A.· Nothing comes to mind.
 23· · · ·Q.· Does anyone called it the bulk mode of
 24· vibration?
 25· · · ·A.· People will call it that, but there are                                    11:04


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 ·1· many bulk modes.
 ·2· · · · · ·That would not be -- that probably would
 ·3· not be specific enough.
 ·4· · · ·Q.· Why would not be specific enough in the
 ·5· context of the '755 patent?                                                         11:04
 ·6· · · ·A.· In the context of the '755 patent, a bulk
 ·7· mode means that the mode is throughout the
 ·8· thickness of the resonator.
 ·9· · · · · ·When you ask that question, I come to
 10· think what other modes could be used for the --                                     11:05
 11· some people do use other modes.
 12· · · · · ·But I would say that -- if I know -- it's
 13· a company doing -- I would say people do use other
 14· modes.
 15· · · ·Q.· Okay, let's look at the very last sentence                                 11:05
 16· of that paragraph I just had you read, starting:
 17· · · · · ·"Rather, one must specify the result of
 18· the driving..."
 19· · · · · ·Do you see that?
 20· · · ·A.· Yes.                                                                       11:06
 21· · · ·Q.· What is a result of the driving in your
 22· opinion?
 23· · · ·A.· So the result of the driving is the
 24· purpose of the resonator, meaning to deliver a
 25· current or a voltage, and to present the right                                      11:06


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 ·1· impedances to the first and second stages, and to
 ·2· elicit the right amount of linearity, to elicit the
 ·3· right amount of temperature and sensitivity.
 ·4· · · · · ·All of those are associated with device
 ·5· energy, resonator energy, which is captured by the                                  11:07
 ·6· motional current and the motional elements.
 ·7· · · ·Q.· In the context of the '755 patent, is not
 ·8· the ultimate result of the driving provided a
 ·9· filtering function?
 10· · · ·A.· It's one of the results.                                                   11:07
 11· · · ·Q.· And the parameters you described in your
 12· previous answer, aren't those ways to arrive at the
 13· ultimate filtering function of the BAW resonator?
 14· · · · · ·MR. FUHRER:· Objection, misleading,
 15· mischaracterizing.                                                                  11:08
 16· · · · · ·THE WITNESS:· The filtering function is to
 17· pass certain frequencies from other frequencies.
 18· · · · · ·You can do that with an impedance matched
 19· or not.
 20· · · · · ·You would rather do impedance matched to                                   11:08
 21· the preceding and succeeding stages.
 22· BY MR. CREMEN:
 23· · · ·Q.· If I were to select a BAW resonator for a
 24· particular application in a mobile phone, I would
 25· select it for its filtering capability; correct?                                    11:09


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 ·1· · · ·A.· Not necessarily.
 ·2· · · · · ·You may select it for its power handling.
 ·3· · · · · ·You may select it -- assuming that it's
 ·4· for a filtering capability, there are many other
 ·5· things you have to worry about.                                                     11:09
 ·6· · · ·Q.· Let's look -- we'll go a few more minutes
 ·7· and take a quick break.
 ·8· · · · · ·Let's look at page 7 of your rebuttal
 ·9· declaration.
 10· · · ·A.· Okay, I'm there.                                                           11:10
 11· · · ·Q.· The last -- I'm looking at the second full
 12· paragraph that starts:
 13· · · · · ·"While the specification describes..."
 14· · · · · ·Do you see that?
 15· · · ·A.· Yes.                                                                       11:10
 16· · · ·Q.· And the last three lines of that
 17· paragraph, I'd like you to take a quick read of
 18· that and then I'll ask you a question.
 19· · · ·A.· I'm going to read the whole paragraph.
 20· · · ·Q.· Sure.                                                                      11:11
 21· · · ·A.· I have read it.
 22· · · ·Q.· In the second to last line, you say:
 23· · · · · ·"At best it is in short-hand used by the
 24· patentees."
 25· · · · · ·I want to know what you mean by                                            11:12


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 ·1· short-hand?
 ·2· · · ·A.· The specification makes clear that the
 ·3· active region includes not only the piezoelectric
 ·4· layer but also the Bragg reflector.
 ·5· · · · · ·Electrically driven does not include all                                   11:12
 ·6· of that, as I explained before, because the
 ·7· electric fields are only around the piezoelectric.
 ·8· · · · · ·So it's basically a term they are using to
 ·9· capture that the active region is both, the
 10· piezoelectric and the Bragg reflector.                                              11:12
 11· · · · · ·But clearly, it's not -- that word itself
 12· doesn't capture them both.· It's kind of a
 13· short-hand.
 14· · · ·Q.· Why does it not capture them both?
 15· · · ·A.· Because electrically driven, the fields                                    11:13
 16· are only around the piezoelectric.· That's what is
 17· electrically driven.
 18· · · · · ·The fields are not around the Bragg
 19· reflector.
 20· · · ·Q.· Let's look at page 13 of your initial                                      11:13
 21· declaration.
 22· · · ·A.· Okay, I'm there.
 23· · · ·Q.· On page 13, 14 and 15, there are a series
 24· of bullet points and blocks of texts, do you see
 25· those?                                                                              11:13


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 ·1· · · ·A.· Yes.
 ·2· · · ·Q.· Are these intended to be block quotes from
 ·3· the references you identified or your explanation
 ·4· or some mix of that?
 ·5· · · ·A.· Not all of them are quotes.                                                11:14
 ·6· · · · · ·But some of them are -- some of them are
 ·7· and some of them are figures and some of them are
 ·8· other things.
 ·9· · · · · ·They help with the explanation.· They help
 10· with the understanding of the description, the                                      11:14
 11· construction.
 12· · · ·Q.· Let's look at the reference -- the
 13· reference and the bullets identified on page 13,
 14· about halfway down to R.J. Besson.
 15· · · · · ·Do you see that?                                                           11:14
 16· · · ·A.· Yes.
 17· · · ·Q.· In the first bullet point, are you
 18· comparing the dormant region or dormant parts, I
 19· guess it says here, to the outer region in the '755
 20· patent?                                                                             11:15
 21· · · ·A.· Yes, there is a comparison there.
 22· · · · · ·I'm not sure I was trying to do that.
 23· What I'm trying to do is show the active region can
 24· be someplace that -- where the electrodes -- I'm
 25· just trying to show the active region.                                              11:15


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 ·1· · · · · ·I'm saying this is an example of the
 ·2· active region.
 ·3· · · ·Q.· Is the dormant region -- dormant part of
 ·4· Besson equivalent to the outer region in the '755
 ·5· patent?                                                                             11:15
 ·6· · · · · ·MR. FUHRER:· Objection, leading, calls for
 ·7· a legal conclusion.
 ·8· · · · · ·THE WITNESS:· It's obviously not the same.
 ·9· It's different materials.
 10· · · · · ·In terms of not being in the active                                        11:16
 11· region, that's what it is.· It's not in the active
 12· region.
 13· BY MR. CREMEN:
 14· · · ·Q.· Is it your opinion that no motional
 15· current density as you phrased it in your                                           11:16
 16· definition of active region would be present in the
 17· outer region?
 18· · · ·A.· If there is any present in the outer
 19· region, that should be considered as part of the
 20· active region.                                                                      11:17
 21· · · ·Q.· So if there is any motional current
 22· density in the region of a BAW resonator, it would
 23· be the active region; is that right?
 24· · · ·A.· Yes, inasmuch motional current captures
 25· the purposeful motion of the device -- of the                                       11:17


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 ·1· resonator.
 ·2· · · ·Q.· What do you mean by purposeful motion?
 ·3· · · ·A.· The motion that contributes to the current
 ·4· motion of the device.
 ·5· · · · · ·That then determines the ability to pass                                   11:17
 ·6· or reject frequencies pursuant to certain
 ·7· impedances, maximize the Q, et cetera.
 ·8· · · ·Q.· Could there be some nonpurposeful motion
 ·9· in the outer region under your definition?
 10· · · ·A.· I don't know -- could there be a                                           11:18
 11· nonpurposeful, my answer is I don't think so.
 12· · · · · ·I think any time you have motional
 13· current, it's purposeful.
 14· · · · · ·It determines the impedances.· It
 15· determines what frequencies are passed or rejected.                                 11:19
 16· It determines how much energy is lost.
 17· · · · · ·It determines a lot of the things trying
 18· to deter energy from being lost.
 19· · · · · ·It determines Q.
 20· · · · · ·It's a very good characterization of all                                   11:19
 21· the purposes of the resonator.· I'm trying to think
 22· of -- to your question, whether there are any that
 23· are not and I'm not coming up with any right now.
 24· · · ·Q.· Is there a difference between electrical
 25· (phonetic) current and motional current density?                                    11:19


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 ·1· · · ·A.· I would not say so, no.
 ·2· · · · · ·I think they are pretty much the same
 ·3· things.· Multiply the density by the appropriate
 ·4· volume of area component to get the motional
 ·5· current.                                                                            11:20
 ·6· · · · · ·MR. CREMEN:· Let's take a five-minute
 ·7· break and we can pick up again at 2:30 Eastern.
 ·8· · · · · ·(Whereupon, the proceedings
 ·9· · · · · ·recessed at the hour of
 10· · · · · ·11:20 A.M. until 11:30 A.M.)                                               11:22
 11· BY MR. CREMEN:
 12· · · ·Q.· Let's look at claim 1 of the 755 patent,
 13· if you will turn to that?
 14· · · ·A.· I'm there.
 15· · · ·Q.· I'm going to ask you some questions about                                  11:31
 16· the density of mechanical energy term.
 17· · · · · ·If we look at the final clause of claim 1,
 18· that's at column 1, lines 47 through 51, within a
 19· range of values --
 20· · · ·A.· Yes.                                                                       11:31
 21· · · ·Q.· This is the clause that includes the
 22· density of mechanical energy term; right?
 23· · · ·A.· Yes.
 24· · · ·Q.· Does the language of the claim itself that
 25· we're looking at require the density of mechanical                                  11:31


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 ·1· energy be measured over the full volume of the
 ·2· outer region?
 ·3· · · ·A.· The language of the claim in my
 ·4· interpretation is yes.
 ·5· · · · · ·I can see others may not think so.                                         11:32
 ·6· · · ·Q.· So the language of the claim states that
 ·7· density is measured over the full volume of the
 ·8· outer region?
 ·9· · · · · ·MR. FUHRER:· Objection, mischaracterizes.
 10· · · · · ·THE WITNESS:· When I read density of the                                   11:32
 11· mechanical energy in the outer region, I think of
 12· the density in the outer region.
 13· BY MR. CREMEN:
 14· · · ·Q.· You don't see the words "outer region" in
 15· this portion of the claim; right?                                                   11:32
 16· · · · · ·MR. FUHRER:· Objection --
 17· BY MR. CREMEN:
 18· · · ·Q.· Let me rephrase.
 19· · · · · ·You don't see the words "full volume" in
 20· this portion of the claim; correct?                                                 11:32
 21· · · ·A.· No, I don't.
 22· · · ·Q.· How would you measure a density of
 23· mechanical energy in the outer region?
 24· · · ·A.· I would determine the energy in the outer
 25· region and divide it by the volume.                                                 11:33


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 ·1· · · ·Q.· How would you measure the density of
 ·2· mechanical energy?
 ·3· · · ·A.· How would I measure the density of
 ·4· mechanical energy -- how can I measure that?
 ·5· · · · · ·The specifications simulates it.· That's                                   11:33
 ·6· one way to get at it.
 ·7· · · ·Q.· Are there other ways?
 ·8· · · ·A.· Probably are, yes.
 ·9· · · ·Q.· Can you think of any?
 10· · · ·A.· Maybe an optical technique or something,                                   11:34
 11· using light that can penetrate into the layers of
 12· the materials to pull off the energy in different
 13· places that you would then sum, then divide by the
 14· volume to get density.
 15· · · ·Q.· Can you think of any other ways?                                           11:34
 16· · · ·A.· Maybe, given time.
 17· · · ·Q.· I'll be asking questions, if any more pop
 18· into your mind, let me know.
 19· · · · · ·You mentioned that in this '755 patent,
 20· the density of mechanical energy is modeled; is                                     11:35
 21· that right?
 22· · · ·A.· Is modeled?
 23· · · · · ·What do you mean by is modeled?
 24· · · ·Q.· I was trying to use the word you used.
 25· Maybe I misstated it.                                                               11:35


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 ·1· · · · · ·Sorry, simulates.
 ·2· · · ·A.· Simulated.
 ·3· · · ·Q.· So earlier you mentioned that the '755
 ·4· patent simulates the density of mechanical energy;
 ·5· is that right?                                                                      11:35
 ·6· · · ·A.· Yes, it's one of the figures.
 ·7· · · ·Q.· In your experience, what inputs are needed
 ·8· for that simulation?
 ·9· · · ·A.· So one way to simulate that would be
 10· through solid model simulation (phonetic).                                          11:36
 11· · · · · ·You would need to create a solid model for
 12· the device, which is basically drawing up the
 13· device and dividing it up into elements.
 14· · · · · ·These elements would then be
 15· mathematically connected by boundary conditions and                                 11:36
 16· the trend (phonetic) relationships that govern how
 17· this thing behaves.
 18· · · · · ·And you can then do a stress or strain
 19· plot for this to determine energy or energy will be
 20· a function of either the stress or the strain.                                      11:36
 21· · · · · ·Each of these elements would be the volume
 22· over which you would be determining that energy.
 23· You would divide that energy by the volume to get
 24· the density.
 25· · · ·Q.· Let's go back to the last item on Claim 1                                  11:37


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 ·1· of the '755 patent that we were looking at a moment
 ·2· ago.
 ·3· · · ·A.· Okay.
 ·4· · · ·Q.· Would you agree with me that this claim
 ·5· element is comparing two resulting densities of                                     11:37
 ·6· mechanical energy based on a value of N?
 ·7· · · ·A.· Yes.
 ·8· · · ·Q.· Where does the mechanical energy referred
 ·9· to in this portion of the claim come from?
 10· · · · · ·MR. FUHRER:· Objection, vague.                                             11:38
 11· · · · · ·THE WITNESS:· Where does it come from?
 12· · · · · ·It comes from the initial excitation in
 13· some way.
 14· BY MR. CREMEN:
 15· · · ·Q.· Initial excitation of what?                                                11:38
 16· · · ·A.· Of the system, resonator and all the
 17· sources.
 18· · · ·Q.· Where does the excitation occur?
 19· · · ·A.· The initial excitation is coming from the
 20· voltage coming in, which is the electrodes.                                         11:38
 21· · · ·Q.· What does the voltage across the
 22· electrodes cause?
 23· · · ·A.· It causes the piezoelectric to move.
 24· · · ·Q.· In what region as defined by claim 1 does
 25· that occur?                                                                         11:39


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 ·1· · · · · ·MR. FUHRER:· Objection, misleading.
 ·2· · · · · ·THE WITNESS:· In what region as defined by
 ·3· claim 1 does that occur.· It occurs in the active
 ·4· region.
 ·5· · · · · ·However some of that energy is not coming                                  11:39
 ·6· just from the electrical.
 ·7· · · · · ·So the energy going into the Bragg
 ·8· reflector underneath is acoustically driven.· But
 ·9· it is a total energy.
 10· BY MR. CREMEN:                                                                      11:39
 11· · · ·Q.· Let's look at 16 of your initial
 12· declaration.
 13· · · ·A.· Okay, I'm there.
 14· · · ·Q.· Feel free to read from the beginning of
 15· this paragraph on the previous page.                                                11:40
 16· · · · · ·My question is -- the second line, you
 17· say:
 18· · · · · ·"What a person skilled in the art is
 19· mainly concerned about..."
 20· · · · · ·What do you mean, concerned about?                                         11:40
 21· · · ·A.· That's a mis-phrase, actually.· I don't
 22· think -- I guess the professor in me is just trying
 23· to explain things.· This is sort of -- that's the
 24· issue with me.
 25· · · · · ·I like to explain things.· So I'm                                          11:40


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 ·1· over-explaining things here.
 ·2· · · · · ·The main statement here is that the
 ·3· specification revolves around the total energy
 ·4· lost.
 ·5· · · · · ·It doesn't matter whether people agree                                     11:41
 ·6· with it.· It's good that people agree with it.
 ·7· · · · · ·It's a specification that the total energy
 ·8· lost is important -- not important, but is the
 ·9· purpose of this invention, to reduce total energy
 10· lost.                                                                               11:41
 11· · · ·Q.· Where does the specification say that?
 12· · · ·A.· Near the beginning, when it talks about Q
 13· and energy going into the substrate.
 14· · · ·Q.· In your experience, what are ways to
 15· measure energy lost?                                                                11:42
 16· · · · · ·MR. FUHRER:· Objection, vague.
 17· · · · · ·THE WITNESS:· Q is a good parameter to
 18· determine the ratio between the energy and the
 19· purposeful -- the useful energy in the resonator
 20· over the energy lost.                                                               11:42
 21· BY MR. CREMEN:
 22· · · ·Q.· What do you mean by useful energy?
 23· · · ·A.· I mean the energy in the active region,
 24· what I should say.
 25· · · · · ·We discussed this in length.· It creates                                   11:42


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 ·1· motional current -- motional current responsible
 ·2· for the passing or rejection of filters,
 ·3· responsible for impedances, and responsible for all
 ·4· sorts of other things that we talked about.
 ·5· · · ·Q.· How do you calculate the ratio between the                                 11:43
 ·6· useful energy and the energy lost?
 ·7· · · ·A.· You take all of the energy in the active
 ·8· region and you divide that by all the energy lost
 ·9· outside of that active region.
 10· · · ·Q.· How do you measure those two energies?                                     11:43
 11· · · ·A.· So there are ways to do that in some of
 12· the references that I provided, the extrinsic
 13· evidence, for example, the one on PML, the use of
 14· PML layers capture the energy lost and determine
 15· the energy in the resonator.                                                        11:44
 16· · · · · ·That's one way to do it.
 17· · · ·Q.· Any other ways?
 18· · · ·A.· Any other ways to do what, to measure the
 19· different energies to measure the Q -- to determine
 20· the Q?                                                                              11:44
 21· · · ·Q.· Either one, start with the energy
 22· measurement?
 23· · · ·A.· Energy measurement is an interesting thing
 24· -- you could do something like I described before,
 25· use some type of optical technique.                                                 11:44


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 ·1· · · · · ·There are waves that can penetrate optical
 ·2· waves or ortonic (phonetic) waves that can
 ·3· penetrate into the device and you can visualize and
 ·4· determine stresses and strains this way.
 ·5· · · · · ·You can do simulation techniques like I                                    11:44
 ·6· just described which is paper which I talked about
 ·7· even with these figures that are in the
 ·8· specification and you can measure Q.
 ·9· · · · · ·Q can be measured in a variety of
 10· different ways.                                                                     11:45
 11· · · · · ·You can ring the device and monitor the
 12· ring down or their relationship with -- detach the
 13· ring down towards the Q.
 14· · · · · ·You can measure the frequency response of
 15· the device, take the frequency divided by the 3B                                    11:45
 16· (phonetic) frequency.
 17· · · · · ·You can use "S" parameter plots to try to
 18· do this.
 19· · · · · ·There are a variety of ways to get the
 20· quality factor.                                                                     11:45
 21· · · · · ·In each case, the quality factor you are
 22· getting is of the entire device and the entire
 23· region.
 24· · · ·Q.· Let's look back at claim 1 of the '755
 25· patent, please.                                                                     11:46


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 ·1· · · ·A.· Yes, I'm back there.
 ·2· · · ·Q.· Does claim 1 of the '755 patent recite any
 ·3· parameters of energy lost?
 ·4· · · ·A.· It compares a density of energy before and
 ·5· after.                                                                              11:46
 ·6· · · · · ·But yes, we're talking about energy lost.
 ·7· · · ·Q.· Why do you think that is talking about
 ·8· energy lost?
 ·9· · · ·A.· There is a difference in the levels of
 10· energy that you have there.                                                         11:47
 11· · · ·Q.· Is there any requirement in claim 1 of a
 12· particular energy lost value?
 13· · · · · ·MR. FUHRER:· Objection.· Vague.
 14· · · · · ·THE WITNESS:· It doesn't specify the
 15· specific value.· It's comparative.                                                  11:47
 16· BY MR. CREMEN:
 17· · · ·Q.· Does claim 1 require a particular Q value?
 18· · · ·A.· No.· But it compares them.
 19· · · · · ·It compares Q values -- or it effectively
 20· does.· It compares energy.                                                          11:48
 21· · · ·Q.· Does the amount of energy in a particular
 22· region of the resonator without knowing more
 23· indicate a particular Q value?
 24· · · ·A.· The amount of energy in a particular
 25· region without knowing more?                                                        11:49


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 ·1· · · · · ·I'm not sure what you mean by this.
 ·2· · · ·Q.· Earlier you said that the Q value is the
 ·3· ratio between useful energy and energy lost;
 ·4· correct?
 ·5· · · ·A.· Yes.                                                                       11:49
 ·6· · · ·Q.· If I did not know the useful energy value,
 ·7· I only knew energy lost in terms of density of
 ·8· mechanical energy in the outer region, would I be
 ·9· able to determine a Q value?
 10· · · ·A.· To determine Q value, you need to have the                                 11:50
 11· energy in the active region, too.
 12· · · · · ·To determine Q value, you need the total
 13· energy in the active region and the total energy in
 14· the outer region, assuming that the loss is
 15· occurring in the outer region.                                                      11:50
 16· · · ·Q.· Let's look at --
 17· · · ·A.· I should note that the patent is not
 18· looking for the Q value.· The specification is
 19· looking for the change in Q.
 20· · · ·Q.· Would you agree that the specification is                                  11:50
 21· looking to the change in the density of mechanical
 22· energy in the outer regions; right?
 23· · · ·A.· As it relates to Q.
 24· · · ·Q.· I thought we agreed that measuring only
 25· the density of mechanical energy in the outer                                       11:51


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 ·1· region would get you Q?
 ·2· · · ·A.· It can get you the difference in Q.
 ·3· · · ·Q.· Even without knowing the energy in the
 ·4· active region?
 ·5· · · ·A.· It can give you the factor that Q                                          11:51
 ·6· increases, yes, it can, because if you are putting
 ·7· the same energy in, the energy in the active region
 ·8· would be the same for both.
 ·9· · · · · ·So it divides out when you take the ratio.
 10· · · ·Q.· Okay, let's look -- I think we were on                                     11:52
 11· page 16 of your initial declaration.· But if we
 12· weren't, let's go back to that page.
 13· · · ·A.· I'm there.
 14· · · ·Q.· Halfway down the page, there is a
 15· beginning of a paragraph that starts with:                                          11:52
 16· · · · · ·"The Akoustis construction is
 17· necessary..."
 18· · · · · ·Do you see that?
 19· · · ·A.· Yes.
 20· · · ·Q.· In this sentence, you say that the phrase                                  11:52
 21· density of mechanical energy in the outer region
 22· opens too wide a possibility of regions where
 23· density can be determined; right?
 24· · · ·A.· Yes.
 25· · · ·Q.· What do you mean by too wide?                                              11:52


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 ·1· · · ·A.· I explain it in the sentences that follow.
 ·2· There is a for example.
 ·3· · · · · ·The typical scenario, it could be a small
 ·4· region outside the device of the active region
 ·5· where the energy density is higher than N equals 1.                                 11:53
 ·6· · · · · ·At the same time, another small region
 ·7· where the energy density is lower than when N
 ·8· equals 1.
 ·9· · · · · ·The fact that there is a region where the
 10· energy density is lower doesn't mean the total                                      11:53
 11· energy lost is lower.
 12· · · · · ·The specification says the purpose of this
 13· invention is to raise the Q.
 14· · · · · ·You will fool yourself if you think just a
 15· small portion or you have to -- to raise the Q --                                   11:53
 16· scratch that, you will fool yourself.
 17· · · · · ·Let's say the definition of a Q is the
 18· total energy in the active region divided by the
 19· total energy in the outer region.
 20· · · · · ·If you are picking just some small                                         11:53
 21· portion, you are not getting the total energy.
 22· · · · · ·Beyond that, when you make a change to a
 23· resonator like this -- I can say in general, it can
 24· change to anything.
 25· · · · · ·There is always something that gets                                        11:54


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 ·1· better.· There is always something that doesn't get
 ·2· better and they happen in different spacial
 ·3· locations.
 ·4· · · · · ·So you really need to get the information
 ·5· of volume, enough of a volume, in order to get the                                  11:54
 ·6· answer.
 ·7· · · ·Q.· Would a person of ordinary skill in the
 ·8· art understand --
 ·9· · · ·A.· I think so --
 10· · · ·Q.· -- would understand that concept?                                          11:54
 11· · · ·A.· Yes, I think so.· I think it's illustrated
 12· in the figures that are in the specification.
 13· · · ·Q.· In your answer, you mentioned that you
 14· would need to get the information of volume or
 15· enough of a volume in order to get the answer.                                      11:55
 16· · · · · ·What do you mean by enough of a volume?
 17· · · ·A.· So we know there is going to be peaks and
 18· valleys of energy in this.
 19· · · · · ·There is going to be a spot where the
 20· energy went up, a spot where the energy went down.                                  11:55
 21· · · · · ·If you look at the first spot, you go, oh,
 22· the energy went up, so I'm losing more energy.
 23· · · · · ·When you look at the second spot, oh, the
 24· energy went down, so I'm actually helping myself
 25· with this invention.                                                                11:55


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 ·1· · · · · ·But it's really the sum of those two that
 ·2· you have to look at in order to know whether this
 ·3· invention is doing its purpose.
 ·4· · · · · ·So you need enough of -- you need to
 ·5· capture the peaks and valleys.                                                      11:55
 ·6· · · ·Q.· A person of ordinary skill would
 ·7· understand that?
 ·8· · · ·A.· Yes.
 ·9· · · · · ·I guess I could say a person of not skill
 10· would understand a thing like this.                                                 11:56
 11· · · · · ·If you have a river flowing and you put a
 12· rock in it, the velocity of the water will change
 13· on that rock.
 14· · · · · ·It will slow down where that rock is.
 15· · · · · ·If you picked that rock up, say a boulder                                  11:57
 16· and move it to another location, there's a
 17· different location where the velocity has changed,
 18· but the total flow hasn't changed.
 19· · · · · ·I think people do understand that things
 20· go up and things go down and whether you'd really                                   11:57
 21· gotten the purpose of this specification or other
 22· things on the outside, you have to take into
 23· account all of the things that are happening.
 24· · · ·Q.· Let's go to page 17 of your initial
 25· declaration.                                                                        11:57


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 ·1· · · · · ·Five lines down, that paragraph starting:
 ·2· · · · · ·"Qorvo's proposed construction..."
 ·3· · · · · ·Do you see that?
 ·4· · · ·A.· Yes.
 ·5· · · ·Q.· Okay, feel free to read as much of the                                     11:58
 ·6· paragraph you would like.
 ·7· · · · · ·My question is going to revolve around the
 ·8· second sentence starting:
 ·9· · · · · ·"The leaked amount of energy can be
 10· reflected and returned to the active regions, in                                    11:58
 11· which case it is not lost."
 12· · · · · ·Tell me when you are ready.
 13· · · ·A.· Okay.
 14· · · ·Q.· Is it fair to say that you consider leaked
 15· and lost to not be synonymous?                                                      11:58
 16· · · ·A.· From a very exacting point, they are not
 17· synonymous, for the reasons I gave.
 18· · · ·Q.· What is the difference between leaked and
 19· lost?
 20· · · ·A.· Leaked means the energy has gotten out.                                    11:59
 21· · · · · ·Lost means it's successfully made it
 22· through the substrate, through the package and it's
 23· gone.
 24· · · · · ·Leak is possible because energy going
 25· laterally is what you are talking about right now,                                  11:59


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 ·1· you can have some other reflecting interface there
 ·2· that could reflect this energy back, in which case
 ·3· it's gotten back into the active region and was not
 ·4· lost.
 ·5· · · ·Q.· What is an example of a reflecting                                         11:59
 ·6· interface?
 ·7· · · ·A.· I suppose just another device, right, Type
 ·8· 1, Type 2, dispersion-type design.
 ·9· · · · · ·If you have these devices on a chip and if
 10· you designed them carefully, there is a certain way                                 12:00
 11· you can reflect off of another device.
 12· · · ·Q.· In the previous answer, you mentioned
 13· leaked means the energy has gotten out?
 14· · · ·A.· Yes.
 15· · · ·Q.· What do you mean by gotten out?                                            12:00
 16· · · ·A.· It's made it through the boundary of the
 17· captured energy.
 18· · · ·Q.· What is the boundary of captured energy?
 19· · · ·A.· So in a BAW device, the electrode, because
 20· of the mass loading, you can confine the energy                                     12:00
 21· within that BAW device, and different types of
 22· designs can help to confine that energy such that
 23· there are forbidden frequencies in the other part
 24· (phonetic) of the device.
 25· · · ·Q.· Is there an interface between the active                                   12:01


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 ·1· and outer regions?
 ·2· · · ·A.· Meaning is there another material
 ·3· separating them?
 ·4· · · · · ·What do you mean?
 ·5· · · ·Q.· Let's focus a little more.                                                 12:02
 ·6· · · · · ·In the embodiments of the '755 patent, is
 ·7· there any boundary between the active region and
 ·8· outer region?
 ·9· · · · · ·MR. FUHRER:· Objection, vague.
 10· · · · · ·THE WITNESS:· The word "boundary" elicits                                  12:02
 11· the idea there is some different material there.
 12· · · · · ·In that case, there is not.
 13· · · · · ·But there is a difference in the two,
 14· because one of them is mass loaded differently than
 15· the other.                                                                          12:02
 16· BY MR. CREMEN:
 17· · · ·Q.· Is there a reflecting interface between
 18· the active and outer regions in the embodiments of
 19· the '755 patent?
 20· · · ·A.· Yes.                                                                       12:03
 21· · · ·Q.· What is that?
 22· · · ·A.· The reflective interface is where the mass
 23· loading is different, so where the electrode is and
 24· bordering different things that you put there to
 25· load that portion differently than in the outer                                     12:03


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 ·1· region.
 ·2· · · ·Q.· Does that reflecting interface reflect
 ·3· energy in the active region?
 ·4· · · ·A.· Yes, for certain frequencies, depending on
 ·5· your design.· It all depends on design.                                             12:03
 ·6· · · ·Q.· Is it true to say that leaked energy and
 ·7· lost energy are both types of energy that pass from
 ·8· the active region to the outer region?
 ·9· · · ·A.· Yes.
 10· · · ·Q.· In your opinion, is it what happens to                                     12:04
 11· that energy once it gets to the outer region is the
 12· difference between those two types of energy?
 13· · · ·A.· Yes.
 14· · · ·Q.· What happens to the lost energy once it
 15· enters the outer region?                                                            12:04
 16· · · ·A.· Loss occurs when you have the energy
 17· suffering lost mechanisms, they dislocate.· They
 18· make their way to a substrate or a boundary that is
 19· not reflective.
 20· · · · · ·Lost energy comes from leaked energy, but                                  12:05
 21· they are not the same.
 22· · · ·Q.· What happens to the leaked energy once it
 23· enters the outer region?
 24· · · ·A.· It can be lost or it can return.
 25· · · ·Q.· If you are measuring the density of                                        12:05


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 ·1· mechanical energy in the outer region, is there any
 ·2· way to tell whether that energy you are measuring
 ·3· is leaked or lost energy?
 ·4· · · ·A.· I'm not sure that's the real question you
 ·5· -- I should answer your question.                                                   12:05
 ·6· · · · · ·Is there any way to tell whether it's
 ·7· leaked or lost energy?
 ·8· · · · · ·You can tell if the energy has been lost
 ·9· by the differences in the densities, in the two
 10· cases.                                                                              12:06
 11· · · · · ·If you are saying if you can identify
 12· whether this portion and that portion is just
 13· leaking or whether it's lost energy, too, but
 14· that's a more difficult question to answer.
 15· · · · · ·That's why in order to get the Q or the                                    12:07
 16· change in Q, you have to look at the whole volume.
 17· · · ·Q.· The latter question was what I was more
 18· interested in, your opinion on.
 19· · · · · ·If you are simply measuring energy in --
 20· strike that.                                                                        12:07
 21· · · · · ·If you are simply measuring the density of
 22· mechanical energy in the outer region and you don't
 23· know the other energy values for the device, is
 24· there a way to determine whether that measured
 25· energy density is lost energy versus leaked energy?                                 12:07


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 ·1· · · ·A.· I guess my answer is, really it doesn't
 ·2· matter.· The reason I'm having trouble with your
 ·3· first question, because you are talking about lost
 ·4· energy and leaked energy.
 ·5· · · · · ·Lost energy is no longer there.· It's                                      12:08
 ·6· lost.
 ·7· · · · · ·So what you are measuring is basically the
 ·8· leaked energy that remains after the losses.
 ·9· · · · · ·So when you ask, can you tell whether the
 10· energy is leaked energy or lost energy, no, you                                     12:08
 11· can't.
 12· · · · · ·Because the lost energy is not there any
 13· more.
 14· · · · · ·You are only seeing the leaked energy and
 15· you can infer where there has been an energy loss                                   12:08
 16· whether you have less or more energy.
 17· · · · · ·Your first question I was trying to answer
 18· it, this is the reason it took so much time doing
 19· it.
 20· · · · · ·It's not formulated in a way that it can                                   12:08
 21· be answered by me at this time.
 22· · · ·Q.· Okay, I understand your point.· Thank you.
 23· · · · · ·So the energy -- so the density of
 24· mechanical energy that you can measure in an outer
 25· region is, by definition, leaked energy?                                            12:09


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 ·1· · · ·A.· Yes.
 ·2· · · ·Q.· Let's look at page 11 of your rebuttal
 ·3· declaration.
 ·4· · · ·A.· Okay, I'm there.
 ·5· · · ·Q.· Actually, let's skip down to page 12,                                      12:10
 ·6· looking at the wrong note.
 ·7· · · · · ·On page 12, the first full paragraph
 ·8· beginning:
 ·9· · · · · ·"To be clear..."
 10· · · · · ·Do you see that?                                                           12:10
 11· · · ·A.· Yes.
 12· · · ·Q.· The third sentence in that paragraph
 13· starts:
 14· · · · · ·"A claim on the other hand must be more
 15· precise and in this case should provide a more                                      12:10
 16· quantitative measure of energy lost to be
 17· sufficiently clear."
 18· · · · · ·Do you see that sentence?
 19· · · ·A.· Yes.
 20· · · ·Q.· What do you mean by a claim must be more                                   12:11
 21· precise?
 22· · · ·A.· That's just me putting my professor hat on
 23· again and just -- saying something that -- I like
 24· to teach people things, but maybe should not be
 25· doing it.                                                                           12:11


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 ·1· · · · · ·In this case, the claim is the claim.· We
 ·2· need to interpret the claim.
 ·3· · · ·Q.· Does a claim have to be more precise than
 ·4· the specification?
 ·5· · · · · ·MR. FUHRER:· Objection, calls for a legal                                  12:11
 ·6· conclusion.· Vague.· Misleading.
 ·7· · · · · ·THE WITNESS:· I would say it needs to be
 ·8· precise enough to be used.· I don't know if I can
 ·9· make a comparison between claim and specification.
 10· BY MR. CREMEN:                                                                      12:12
 11· · · ·Q.· What do you mean by to be used?
 12· · · ·A.· Not to be used -- I should say to be
 13· precise enough to be consistent with the
 14· specification where here the specification is
 15· looking to raise Q.                                                                 12:12
 16· · · ·Q.· To your understanding of claims, does
 17· every claim element need a quantitative measurement
 18· to be clear?
 19· · · ·A.· No.
 20· · · ·Q.· If we look back to Claim No. 1 of the '755                                 12:13
 21· patent, the last clause we've been looking at, let
 22· me know when you have it up.
 23· · · ·A.· I have it up.
 24· · · ·Q.· I think earlier we agreed that this
 25· language requires a comparison of density of                                        12:14


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 ·1· mechanical energy values when -- for different
 ·2· values of that; right?
 ·3· · · ·A.· Yes.
 ·4· · · ·Q.· Why is that not a quantitative
 ·5· measurement?                                                                        12:14
 ·6· · · ·A.· That is a quantitative measurement.
 ·7· · · ·Q.· Okay, let's go to page 10 of your rebuttal
 ·8· declaration.
 ·9· · · ·A.· I'm there.
 10· · · ·Q.· Akoustis's preliminary construction which                                  12:14
 11· you reproduced here says that a density of
 12· mechanical energy means a total density over the
 13· full volume of the outer region; right?
 14· · · ·A.· Yes.
 15· · · ·Q.· What does total density mean?                                              12:15
 16· · · ·A.· I think -- that's an average density, is
 17· what it is.· It means taking the full volume.
 18· · · ·Q.· So do you mean -- total density means the
 19· average density, in your view.
 20· · · ·A.· It's the energy you have over that volume                                  12:15
 21· divided by a volume.
 22· · · ·Q.· What effect does the adjective "total"
 23· have on that density?
 24· · · ·A.· It's opposed as to just chooses small
 25· pieces of -- for example, if you look at Qorvo's                                    12:16


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 ·1· construction, it says waves leaked.
 ·2· · · · · ·It doesn't say all the waves leaked.
 ·3· · · · · ·You can take waves in a certain point,
 ·4· location, certain time.
 ·5· · · · · ·It doesn't capture the fact that you have                                  12:16
 ·6· those peaks and valleys that I talked about.
 ·7· · · · · ·You need to capture that to be able to
 ·8· determine whether the specification purpose has
 ·9· been met.
 10· · · ·Q.· I think I understand what you mean by                                      12:16
 11· density over the full volume.
 12· · · · · ·It's the density over a particular volume;
 13· right?
 14· · · ·A.· Yes.
 15· · · ·Q.· How does "total" change that phrase?                                       12:17
 16· · · ·A.· It may not change it that much; right?
 17· · · · · ·It helps to understand that it's all of
 18· the density.
 19· · · · · ·But maybe it's being said twice when it
 20· says the full volume.                                                               12:17
 21· · · ·Q.· Is total redundant to the phrase "density
 22· over the full volume"?
 23· · · ·A.· I'm trying to think and be careful with
 24· the wordsmithing here.
 25· · · · · ·I'd rather keep it there to make sure all                                  12:18


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 ·1· of the peaks and valleys are accounted for.
 ·2· · · ·Q.· Okay, so if you want to keep it there, I
 ·3· guess that makes me ask the question again.
 ·4· · · · · ·What is the difference between the "phrase
 ·5· density over the full volume" and the phrase "total                                 12:18
 ·6· density over the full volume"?
 ·7· · · ·A.· I'm just trying to make sure that we
 ·8· account for all the peaks and valleys, both account
 ·9· for all the peaks and valleys.
 10· · · · · ·I'm satisfied with either.                                                 12:18
 11· · · ·Q.· I'm trying to make sure I understand your
 12· position as to this particular construction and if
 13· there is an additional word that we don't need, I
 14· would prefer to ignore it.
 15· · · · · ·I'm just trying to understand what                                         12:19
 16· particular difference is there between the phrase
 17· density over the full volume and total density over
 18· the full volume?
 19· · · · · ·MR. FUHRER:· Asked and answered.
 20· · · · · ·THE WITNESS:· I answered that.                                             12:19
 21· · · · · ·There's no difference if both the peaks
 22· and valleys are accounted for -- if all the peaks
 23· and valleys are accounted for.
 24· BY MR. CREMEN:
 25· · · ·Q.· How would density over the full volume not                                 12:19


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 ·1· account for all the peaks and valleys?
 ·2· · · ·A.· Total helps to include everything.· Total
 ·3· means you are including everything.
 ·4· · · · · ·Someone may think density over the full
 ·5· volume might not.                                                                   12:19
 ·6· · · ·Q.· Can you give me a particular example of
 ·7· something that would be covered by total density
 ·8· that would not be covered by density?
 ·9· · · · · ·MR. FUHRER:· Objection, vague.· Confusing.
 10· · · · · ·THE WITNESS:· Just in looking at, for                                      12:20
 11· example, the Qorvo construction, that construction
 12· seems to say there could be some localized region
 13· or it could be the full volume.
 14· · · · · ·Even with that, someone can interpret as
 15· being localized.                                                                    12:20
 16· · · · · ·If the word "total" helps someone making
 17· that construction to understand that it can't just
 18· be localized, it has to include all the peaks and
 19· values, then I want the word "total" there.
 20· BY MR. CREMEN:                                                                      12:21
 21· · · ·Q.· But doesn't the definition already require
 22· that the density be taken over the full volume?
 23· · · · · ·MR. FUHRER:· Asked and answered.
 24· · · · · ·THE WITNESS:· So the claim itself already
 25· says the outer region, which to me shouldn't be                                     12:21


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 ·1· interpreted as the full volume, but obviously
 ·2· people are not interpreting that way.
 ·3· · · · · ·So add "full volume" and add "total" to
 ·4· make sure it's interpreted that way, the way that
 ·5· the specification wants it, the way that the                                        12:21
 ·6· specification needs for its purpose.
 ·7· BY MR. CREMEN:
 ·8· · · ·Q.· In your understanding, density is measured
 ·9· by an amount over a volume; right?
 10· · · ·A.· Yes.                                                                       12:22
 11· · · ·Q.· If we were to assume that the volume of
 12· the outer region stays the same, if the amount of
 13· energy in that volume increases, would you agree
 14· that the density of energy in that volume would
 15· increase as well?                                                                   12:22
 16· · · ·A.· You are going to want me to use the word
 17· "total," if the total energy increases then -- if
 18· you mean -- I like using the word "total."
 19· · · · · ·Yes, if the energy increases in there.
 20· · · · · ·It means all of it, all the peaks and                                      12:23
 21· valleys are the volume, then, yes, density of
 22· energy has increased over that volume.
 23· · · ·Q.· Again, assuming that the volume of the
 24· outer region stays the same, is there any possible
 25· situation where the amount of energy within a                                       12:23


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 ·1· particular -- in that particular volume could
 ·2· increase without the density of energy and that
 ·3· same volume also increases?
 ·4· · · ·A.· No.
 ·5· · · ·Q.· And the same for decreasing, right, is                                     12:24
 ·6· there any situation where the amount of energy
 ·7· within that volume could decrease without the
 ·8· density of energy in that volume decreasing?
 ·9· · · ·A.· Let's make sure we're talking about the
 10· same thing for these two questions.                                                 12:24
 11· · · · · ·You are adding peaks and valleys to
 12· determine that energy and that volume and getting
 13· the total energy and you are dividing by that
 14· volume.
 15· · · · · ·So in that question, yes, the energy                                       12:24
 16· density would decrease.
 17· · · ·Q.· Let's talk a little about the
 18· construction, the section where it say "not
 19· excited."
 20· · · · · ·Let's go to page 19 of your initial                                        12:25
 21· declaration.
 22· · · ·A.· I'm there.
 23· · · ·Q.· The paragraph that starts halfway down
 24· page 19, I'd like you to look at -- seven lines
 25· down, there is a sentence that starts:                                              12:25


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 ·1· · · · · ·"Qorvo's notion that 'not excited'..."
 ·2· · · · · ·Do you see that sentence?
 ·3· · · ·A.· Yes.
 ·4· · · ·Q.· It says, "Qorvo’s notion that 'not
 ·5· excited' means not 'substantially' excited is                                       12:26
 ·6· adding an adjective not present...," right?
 ·7· · · ·A.· Yes.
 ·8· · · ·Q.· So is it your opinion that the phrase
 ·9· "substantially excited" is not supported by the
 10· intrinsic record?                                                                   12:26
 11· · · ·A.· Yes.
 12· · · ·Q.· Let's look at page 17 of your rebuttal
 13· declaration.
 14· · · ·A.· I'm there.
 15· · · ·Q.· Towards the bottom, there is a paragraph                                   12:26
 16· that starts:
 17· · · · · ·"Qorvo’s notion that 'not excited' means
 18· not 'substantially' excited is adding an adjective
 19· not present..."
 20· · · · · ·Do you see that phrase?                                                    12:26
 21· · · ·A.· Yes.
 22· · · ·Q.· Is this repeating your earlier opinion
 23· that the concept of substantially committed is not
 24· supported by the intrinsic record?
 25· · · ·A.· Yes.                                                                       12:27


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 ·1· · · ·Q.· I want you to go one page earlier to page
 ·2· 16 of your rebuttal declaration.
 ·3· · · ·A.· Okay, I'm there.
 ·4· · · ·Q.· Is foremost construction substantially
 ·5· created?                                                                            12:27
 ·6· · · ·A.· It's substantively.· You can substitute
 ·7· those two terms and they would be the same.
 ·8· · · ·Q.· Let's look at page 19 of your initial
 ·9· declaration.
 10· · · ·A.· Okay, I'm there.                                                           12:27
 11· · · ·Q.· We were just talking about the paragraph,
 12· halfway down on page 19.
 13· · · ·A.· Uh-hmm.
 14· · · ·Q.· And that paragraph starts out:
 15· · · · · ·"Here 'not excited' is interpreted as                                      12:28
 16· absolute."
 17· · · · · ·And then you have a listing of things that
 18· it does not mean; right?
 19· · · ·A.· Yes.
 20· · · ·Q.· Could you let me know all the evidence you                                 12:28
 21· relied on to make these statements?
 22· · · ·A.· You mean read this paragraph, first?
 23· · · ·Q.· Yes.
 24· · · ·A.· Your question was all the evidence I used
 25· to come to this?                                                                    12:29


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 ·1· · · ·Q.· Yes, what evidence did you rely on?
 ·2· · · ·A.· I submitted some extrinsic evidence.
 ·3· · · ·Q.· Does the intrinsic record indicate that
 ·4· not excited is absolute?
 ·5· · · ·A.· It doesn't indicate the opposite.                                          12:30
 ·6· · · ·Q.· What do you mean by the opposite?
 ·7· · · ·A.· It doesn't indicate that it's not
 ·8· absolute, that it's not -- it is not absolute.
 ·9· · · ·Q.· Does it indicate one way or the other that
 10· it's absolute or not absolute?                                                      12:30
 11· · · ·A.· Not to my recollection.
 12· · · ·Q.· Let's look at Claim No. 9 of the '755
 13· patent, let me know when you get to it.
 14· · · ·A.· I'm there.
 15· · · ·Q.· Okay, the last clause at column 10, lines                                  12:30
 16· 47 or so through 52, there is a clause that starts,
 17· "And as such"...; do you see that?
 18· · · ·A.· Yes.
 19· · · ·Q.· Is that where "are not excited" appears?
 20· · · ·A.· Yes.· It appears in another place, too,                                    12:31
 21· Claim No. 3.
 22· · · ·Q.· Would you agree that this element
 23· specifies that the wavelengths that are not excited
 24· are those that cause energy leakage into the outer
 25· region?                                                                             12:31


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 ·1· · · ·A.· That's what it says, yes.
 ·2· · · ·Q.· In the context of this claim element, will
 ·3· any wavelength excitation, no matter how small,
 ·4· will result in energy leakage?
 ·5· · · ·A.· The way that -- let's see.                                                 12:32
 ·6· · · · · ·They have acoustically matched.· That
 ·7· wavelength will leak.
 ·8· · · ·Q.· In your view, there is not a minimum
 ·9· amount of energy that a wavelength has to have to
 10· cause it to leak?                                                                   12:33
 11· · · ·A.· If you have a matched interface, it will
 12· go through that interface.
 13· · · ·Q.· No matter how small the energy?
 14· · · ·A.· To be clear, this is different than the
 15· dispersion analysis.· The dispersion analysis, you                                  12:33
 16· make a reflective surface.
 17· · · · · ·Here they are saying they are making a
 18· matched surface, acoustically matched, which to me
 19· is not reflective.
 20· · · · · ·So that wavelength should get through.                                     12:34
 21· · · ·Q.· No matter how small that energy as part of
 22· that wavelength is, it will pass through; is that
 23· your opinion?
 24· · · ·A.· I'm thinking about that.
 25· · · · · ·It depends on the degree of matching,                                      12:34


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 ·1· right, and, second, order of facts and different
 ·2· things.
 ·3· · · · · ·But theoretically, it should get through.
 ·4· · · · · ·Your question is vague, because are you
 ·5· talking about how small an energy, I'm not sure                                     12:34
 ·6· what the smallest of the energy is.
 ·7· · · ·Q.· That's what I'm kind of curious about.
 ·8· · · · · ·What about in a practical application, not
 ·9· -- let's leave the theoretical realm, but in a
 10· practical application, would there ever be a                                        12:34
 11· perfect acoustic match?
 12· · · ·A.· Like you said, mathematically,
 13· scientifically, yes.
 14· · · · · ·Engineering-wise, it would be very
 15· difficult to do.                                                                    12:35
 16· · · ·Q.· In the real world practical environment,
 17· there has to be some minimum amount of energy as
 18· part of that wavelength to get it to pass through
 19· the active and outer region; right?
 20· · · ·A.· I think no matter what the energy is, even                                 12:35
 21· if this was not perfectly transmissive, there is
 22· some reflection.
 23· · · · · ·Even if it's a little bit of transmissive,
 24· the energy will get out.
 25· · · · · ·Some of that wavelength will reflect and                                   12:35


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 ·1· some of it will get out.
 ·2· · · · · ·If it's a little bit transmissive, the
 ·3· wave will get out.
 ·4· · · · · ·When you talk about small energy, I'm
 ·5· trying to think of physical things, physics faculty                                 12:36
 ·6· like to think about, and that's where the answer is
 ·7· taking time for me.
 ·8· · · · · ·If you have energy heading that direction,
 ·9· even if you don't have it perfectly acoustically
 10· matched, some of it is going to get out.                                            12:36
 11· · · · · ·It has to be perfectly reflective for it
 12· not to get out.
 13· · · ·Q.· Some of it, but not all of it?
 14· · · ·A.· Well, understand we're talking about an
 15· acoustically matched, so the majority will get out                                  12:36
 16· and very small would be reflective.
 17· · · ·Q.· Let's look at page 18 of your initial
 18· declaration.
 19· · · · · ·Looking again at Akoustis's preliminary
 20· construction, there is a phrase:                                                    12:37
 21· · · · · ·"The whole volume of the active region..."
 22· · · · · ·Do you see that?
 23· · · ·A.· Yes.
 24· · · ·Q.· What do you mean by "the whole volume of
 25· the active region"?                                                                 12:38


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 ·1· · · ·A.· I mean the active region as we define it.
 ·2· · · · · ·I guess it hasn't been defined yet, but as
 ·3· we're trying to define it.
 ·4· · · ·Q.· Let's look at the '755 patent.· Let's go
 ·5· back to Figure 2B that we were looking at before.                                   12:38
 ·6· · · · · ·Let me know when you are there.
 ·7· · · ·A.· Okay, I'm there.
 ·8· · · ·Q.· Can you tell me what the whole volume of
 ·9· the active region would be in Figure 2B?
 10· · · ·A.· It will be what the specification says it                                  12:39
 11· is, which is going from the passivation layer to
 12· the top electrode -- to the Bragg reflector -- it's
 13· what is within those dotted lines.
 14· · · ·Q.· So your opinion is the whole volume of the
 15· active region in Figure 2B would be the rectangle                                   12:39
 16· formed by the two dashed lines, the SiO2 layer at
 17· the bottom and the passivation layer at the top?
 18· · · ·A.· This is not my opinion.· This is what is
 19· specified in the specification.
 20· · · ·Q.· Would a person of ordinary skill in the                                    12:40
 21· art normally consider the reflector to be part of
 22· the outer region?
 23· · · ·A.· I'm not sure that matters.· The
 24· specification does.
 25· · · ·Q.· I'm just asking your opinion in general.                                   12:41


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 ·1· Would a person of ordinary skill in the art
 ·2· normally include a Bragg reflector in his
 ·3· definition of active region?
 ·4· · · ·A.· I think some would, yes.
 ·5· · · ·Q.· Are you assuming some would not?                                           12:41
 ·6· · · ·A.· You're asking me to speak for someone
 ·7· else.· Did someone say something?
 ·8· · · ·Q.· No.
 ·9· · · ·A.· You're asking me to speak for someone
 10· else.· I can't do that.                                                             12:41
 11· · · · · ·I'm a person skilled in the art and I
 12· would include it, because it would be part of the
 13· equivalent circuit of the resonator.
 14· · · ·Q.· Let's go back to the Claim No. 9 of the
 15· '755 patent.                                                                        12:42
 16· · · ·A.· I'm getting there.· I'm there.
 17· · · ·Q.· You would agree with me that the words of
 18· the claim do not include the phrase "whole volume
 19· of the active region"; right?
 20· · · ·A.· Yes, it does not include that.                                             12:42
 21· · · · · ·MR. CREMEN:· Let's take ten minutes, if
 22· that's okay.
 23· · · · · ·Then we'll get back to it and hopefully
 24· wrap this thing up.
 25· · · · · ·(Whereupon, the proceedings


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 ·1· · · · · ·recessed at the hour of
 ·2· · · · · ·12:42 P.M. until 12:53 P.M.)
 ·3· · · · · ·(Deposition Exhibit 4,
 ·4· · · · · ·'786 Patent, was marked for
 ·5· · · · · ·identification by the Certified
 ·6· · · · · ·Shorthand Reporter, a copy of which
 ·7· · · · · ·is attached hereto.)
 ·8· BY MR. CREMEN:
 ·9· · · ·Q.· I want to switch gears and talk about the
 10· '786 Patent, if you can grab that.                                                  12:53
 11· · · ·A.· One second.
 12· · · ·Q.· You reviewed this patent in the course of
 13· preparing your two declarations; correct?
 14· · · ·A.· Yes.
 15· · · ·Q.· Could you give me an overview of what this                                 12:54
 16· patent is directed to?
 17· · · ·A.· This patent is on packaging devices.
 18· · · ·Q.· How so?
 19· · · ·A.· Packaging device in a way that it's easy
 20· to attach it to a board or bigger system, resurface                                 12:54
 21· mounting or other similar packaging mounting
 22· methods that -- and the usual things for packaging,
 23· protect the device, et cetera.
 24· · · ·Q.· Let's look at the first page of the '786
 25· Patent.                                                                             12:55


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 ·1· · · ·A.· I'm there.
 ·2· · · ·Q.· The title reads "Communication Filter
 ·3· Using Single Crystal Acoustic Resonator Devices";
 ·4· do you agree?
 ·5· · · ·A.· Yes.                                                                       12:55
 ·6· · · ·Q.· You can look at the abstract.
 ·7· · · · · ·The abstract begins "A communication
 ·8· system using a single crystal resonator device"; is
 ·9· that correct?
 10· · · ·A.· Yes.                                                                       12:55
 11· · · ·Q.· Do you know if there is any relationship
 12· between a patent's title and abstract and the scope
 13· of its claim?
 14· · · · · ·MR. FUHRER:· Objection, calls for a legal
 15· conclusion.· Vague.                                                                 12:55
 16· · · · · ·THE WITNESS:· I don't know.
 17· · · · · ·To me, it'll always be the claim that are
 18· the most important part of the patent, at least in
 19· my experience.
 20· BY MR. CREMEN:                                                                      12:56
 21· · · ·Q.· Do you have an opinion as to why the
 22· inventors described their filtering system that is
 23· using the single crystal?
 24· · · · · ·MR. FUHRER:· Objection, calls for
 25· speculation.                                                                        12:56


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 ·1· · · · · ·THE WITNESS:· You're asking me to put
 ·2· myself in someone else's mind and I can't do that.
 ·3· I don't know.
 ·4· BY MR. CREMEN:
 ·5· · · ·Q.· In the embodiments of the '786 Patent,                                     12:57
 ·6· such as described in Figures 1A through 3, would
 ·7· you agree that the patent describes its
 ·8· piezoelectric layer 120 as being single crystal?
 ·9· · · · · ·MR. FUHRER:· Objection, compound question.
 10· · · · · ·THE WITNESS:· I'll have to look at this to                                 12:57
 11· answer that question.· This may take some time.
 12· BY MR. CREMEN:
 13· · · ·Q.· Sure.· I can direct you and maybe we can
 14· speed up the process.
 15· · · · · ·So in column 3, line 57, the patent                                        12:58
 16· describes its piezoelectric layer 120 as being
 17· single crystal; correct?
 18· · · ·A.· It does say single crystal.
 19· · · · · ·Like many patents earlier on, it says this
 20· is an embodiment.· There can be other embodiments.                                  12:58
 21· · · ·Q.· Then in column 4, line 53, it again
 22· describes the piezoelectric layer 120 as being
 23· single crystal; right?
 24· · · ·A.· Yes.
 25· · · ·Q.· Again on column 5, line 9, again, it again                                 12:58


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 ·1· describes the piezoelectric layer 120 as being a
 ·2· single crystal; right?
 ·3· · · · · ·MR. FUHRER:· Objection, document speaks
 ·4· for itself.· You don't need an expert to tell you
 ·5· whether or not the words are there on the page.                                     12:59
 ·6· · · · · ·THE WITNESS:· Yes, it does.· There are a
 ·7· lot of them, I know.
 ·8· BY MR. CREMEN:
 ·9· · · ·Q.· So my question is, does the '786 Patent
 10· ever describe the piezoelectric layer 120 as being                                  12:59
 11· polycrystalline?
 12· · · ·A.· I actually couldn't tell you without
 13· having to read through it again.
 14· · · ·Q.· Let me ask you a different question.· Do
 15· you recall the '786 Patent ever describing its                                      12:59
 16· piezoelectric layer as being polycrystalline?
 17· · · ·A.· I don't recall, but I'll admit while I'm
 18· reading this patent, I'm not thinking about what
 19· type of piezoelectric layer it is.
 20· · · · · ·This is about packaging.                                                   12:59
 21· · · ·Q.· You understand that the parties dispute on
 22· this patent as to whether the piezoelectric layer
 23· can be a single crystal or both -- either a single
 24· crystal or multiple crystal structure; right?
 25· · · ·A.· I understand that's the dispute.· I don't                                  13:00


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 ·1· quite understand the dispute, because this is
 ·2· packaging.· It's device agnostic.
 ·3· · · · · ·MR. CREMEN:· I think we're just about
 ·4· done.· Bob, do you have any redirect?
 ·5· · · · · ·MR. FUHRER:· I do, just very quickly.                                      13:00
 ·6
 ·7· · · · · · · · · · · EXAMINATION
 ·8· BY MR. FUHRER:
 ·9· · · ·Q.· Doctor, obviously you've been talking for
 10· the past four hours about your report.                                              13:01
 11· · · · · ·In your preparing your report, you were
 12· presented with four disputed terms; correct?
 13· · · ·A.· Yes.
 14· · · ·Q.· Then you were presented with competing
 15· constructions for each of those four terms;                                         13:01
 16· correct?
 17· · · ·A.· Yes.
 18· · · ·Q.· When you were doing your analysis that led
 19· to your final declarations, did you begin each of
 20· those term analysis -- disputed term analysis with                                  13:01
 21· the presumption that the term deserved its plain
 22· and ordinary meaning?
 23· · · · · ·MR. CREMEN:· Objection, scope.
 24· · · · · ·THE WITNESS:· Yes, I did.
 25· BY MR. FUHRER:                                                                      13:01


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 ·1· · · ·Q.· Did you then for each of the disputed
 ·2· terms turn to the intrinsic record to determine
 ·3· whether or not there was evidence in the record to
 ·4· tell you to not use the plain and ordinary meaning?
 ·5· · · · · ·MR. CREMEN:· Objection, outside the scope.                                 13:02
 ·6· · · · · ·THE WITNESS:· Yes, I did.· I looked to see
 ·7· if the specification was trying to define it as
 ·8· different than the plain and ordinary meaning.
 ·9· BY MR. FUHRER:
 10· · · ·Q.· Then for each of those terms, did you find                                 13:02
 11· -- for each of those terms, did you find anything
 12· in the specification to suggest that the
 13· construction should be something other than its
 14· plain and ordinary meaning?
 15· · · ·A.· No.                                                                        13:02
 16· · · · · ·MR. CREMEN:· Objection, outside the scope.
 17· BY MR. FUHRER:
 18· · · ·Q.· Then after making that determination, did
 19· you look to see which of the two competing proposed
 20· constructions were most consistent with the                                         13:02
 21· specification?
 22· · · · · ·MR. CREMEN:· Objection, outside the scope.
 23· · · · · ·THE WITNESS:· Yes.
 24· BY MR. FUHRER:
 25· · · ·Q.· For active region, did you find Qorvo's                                    13:03


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 ·1· construction more inconsistent with the
 ·2· specification than Akoustis's?
 ·3· · · · · ·MR. CREMEN:· Objection, outside the scope.
 ·4· · · · · ·THE WITNESS:· Yes, I did.
 ·5· BY MR. FUHRER:                                                                      13:03
 ·6· · · ·Q.· For the active region, can you give me one
 ·7· reason why it is more inconsistent with the patent
 ·8· specification?
 ·9· · · · · ·MR. CREMEN:· Objection, outside the scope.
 10· · · · · ·THE WITNESS:· The patent specification                                     13:03
 11· includes the stack of the piezoelectric layer, the
 12· electrodes and the Bragg reflector in the active
 13· region.· It explicitly includes that, the
 14· specification does.· And the Qorvo construction
 15· does not.                                                                           13:03
 16· BY MR. FUHRER:
 17· · · ·Q.· For the term "density of mechanical
 18· energy," did you find a reason why the Qorvo
 19· construction was more inconsistent with the
 20· specification than Akoustis's construction?                                         13:04
 21· · · · · ·MR. CREMEN:· Objection, outside the scope.
 22· · · · · ·THE WITNESS:· Yes, I did.
 23· BY MR. FUHRER:
 24· · · ·Q.· What was that?
 25· · · ·A.· The reason?                                                                13:04


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 ·1· · · · · ·The reason is because the specification
 ·2· made it very clear that the purpose of the
 ·3· invention is to raise the Q of the device.
 ·4· · · · · ·And Qorvo's construction does not allow
 ·5· you to determine whether that's been done.                                          13:04
 ·6· · · ·Q.· For the longer disputed term, the dispute
 ·7· being over the "are not excited" terms, did you
 ·8· find that Qorvo's proposed construction was more
 ·9· inconsistent with the specification than Akoustis's
 10· proposed construction?                                                              13:04
 11· · · · · ·MR. CREMEN:· Objection to scope.
 12· · · · · ·I move to strike.· We did not discuss
 13· Qorvo's construction in the main part of the
 14· deposition.
 15· · · · · ·MR. FUHRER:· You can answer.                                               13:05
 16· · · · · ·THE WITNESS:· Can you repeat the question?
 17· BY MR. FUHRER:
 18· · · ·Q.· Similar to the other two, did you find
 19· anything in Qorvo's construction that was more
 20· inconsistent than Akoustis's proposed construction                                  13:05
 21· for the "are not excited" disputed term?
 22· · · · · ·MR. CREMEN:· Objection, outside the scope.
 23· · · · · ·THE WITNESS:· Yes, I did.· The word
 24· "substantively."
 25· BY MR. FUHRER:                                                                      13:05


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 ·1· · · ·Q.· What is that again?
 ·2· · · ·A.· The word "substantively" -- are not
 ·3· substantively created.
 ·4· · · ·Q.· Why is that inconsistent with the
 ·5· specification?                                                                      13:05
 ·6· · · · · ·MR. CREMEN:· Objection, outside the scope.
 ·7· · · · · ·THE WITNESS:· The specifications does not
 ·8· use those terms at all.
 ·9· BY MR. FUHRER:
 10· · · ·Q.· What is the plain and ordinary meaning in                                  13:05
 11· your mind of "are not excited"?
 12· · · · · ·MR. CREMEN:· Objection, outside the scope.
 13· · · · · ·THE WITNESS:· The plain and ordinary
 14· meaning of "are not excited" at all.
 15· BY MR. FUHRER:                                                                      13:06
 16· · · ·Q.· Was there anything in the specification
 17· that instructed you to make sure to apply the plain
 18· and ordinary meaning to terms in the claims?
 19· · · · · ·MR. CREMEN:· Objection, outside the scope.
 20· · · · · ·THE WITNESS:· Can you repeat that                                          13:06
 21· question?
 22· BY MR. FUHRER:
 23· · · ·Q.· Was there anything explicit within the
 24· '755 patent specification that made it clear that
 25· you should apply the plain and ordinary meaning to                                  13:06


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 ·1· terms unless otherwise specified?
 ·2· · · · · ·MR. CREMEN:· Objection, outside the scope.
 ·3· · · · · ·THE WITNESS:· Was there anything in that
 ·4· that made it clear we should apply the plain and
 ·5· ordinary meaning --                                                                 13:06
 ·6· · · · · ·MR. FUHRER:· Strike that one.
 ·7· BY MR. FUHRER:
 ·8· · · ·Q.· I'll bring you up to the '755 patent,
 ·9· again, please, can you find it?
 10· · · · · ·Do you have it in front of you?                                            13:06
 11· · · ·A.· Yes.· I have it.
 12· · · ·Q.· Column 4, line 62, the paragraph begins,
 13· "Unless otherwise..."
 14· · · · · ·Do you see that?
 15· · · ·A.· "Unless otherwise defined...," yes.                                        13:07
 16· · · ·Q.· Can you review that and tell me whether or
 17· not you're familiar with that language for the
 18· specification.
 19· · · ·A.· Okay.
 20· · · ·Q.· What do you understand that to mean?                                       13:07
 21· · · · · ·MR. CREMEN:· Objection, outside the scope.
 22· · · · · ·THE WITNESS:· I understand it to mean that
 23· we're to take the plain and ordinary meaning of
 24· terms unless the specification tries to redefine
 25· them.                                                                               13:08


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 ·1· · · · · ·In my layman's terms, that's how I
 ·2· describe it.
 ·3· BY MR. FUHRER:
 ·4· · · ·Q.· From the three disputed terms from the
 ·5· '755 patent, did you find anything in the                                           13:08
 ·6· specification that you should apply some other
 ·7· definition or meaning besides the plain and
 ·8· ordinary meaning?
 ·9· · · ·A.· No.
 10· · · · · ·MR. CREMEN:· Objection, outside the scope.                                 13:08
 11· · · · · ·THE WITNESS:· That was a no.
 12· BY MR. FUHRER:
 13· · · ·Q.· With regard to the '786 Patent you were
 14· just asked about, could you look at that again,
 15· look to Claim No. 1.                                                                13:08
 16· · · ·A.· I'm there.
 17· · · ·Q.· Do you see the disputed term there in
 18· Claim No. 1, the piezoelectric layer?
 19· · · ·A.· Yes, I see piezoelectric layer.
 20· · · ·Q.· Do you see the modifier single crystal in                                  13:09
 21· front of it?
 22· · · ·A.· No.
 23· · · ·Q.· Is that -- were you applying the plain and
 24· ordinary meaning to that term similar to the way
 25· you did for the '755 patent terms?                                                  13:09


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 ·1· · · · · ·MR. CREMEN:· Objection, outside the scope.
 ·2· · · · · ·THE WITNESS:· Yes.
 ·3· BY MR. FUHRER:
 ·4· · · ·Q.· In your expert opinion, what is the plain
 ·5· and ordinary meaning of piezoelectric layer?                                        13:09
 ·6· · · · · ·Is it more in line with Akoustis's
 ·7· construction or Qorvo's construction in view of the
 ·8· specification?
 ·9· · · · · ·MR. CREMEN:· Objection, outside the scope.
 10· · · · · ·THE WITNESS:· It's more in line with                                       13:10
 11· Akoustis's.
 12· BY MR. FUHRER:
 13· · · ·Q.· Why is that?
 14· · · · · ·MR. CREMEN:· Same objection.
 15· · · · · ·THE WITNESS:· Because a person of ordinary                                 13:10
 16· skill would understand that.· That's what is taught
 17· in classes.· That's what is seen in classes and
 18· papers, all sorts of literature.
 19· BY MR. FUHRER:
 20· · · ·Q.· Did you see anything in the specification                                  13:10
 21· of the '786 Patent that informed you to give it
 22· something other than its plain and ordinary
 23· meaning?
 24· · · · · ·MR. CREMEN:· Objection, outside the scope.
 25· · · · · ·THE WITNESS:· No.· I did not.                                              13:10


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 ·1· BY MR. FUHRER:
 ·2· · · ·Q.· In reading the specification, did you
 ·3· determine that the inventive feature of the '786
 ·4· Patent was the fact that it was a single crystal
 ·5· piezoelectric layer?                                                                13:10
 ·6· · · · · ·MR. CREMEN:· Objection, outside the scope.
 ·7· · · · · ·THE WITNESS:· No.
 ·8· · · · · ·MR. FUHRER:· No further questions.
 ·9
 10· · · · · · · · · FURTHER EXAMINATION                                                 13:10
 11· BY MR. CREMEN:
 12· · · ·Q.· How do you determine the plain and
 13· ordinary meaning of a term?
 14· · · ·A.· Say that again.
 15· · · ·Q.· When you are doing a claim construction,                                   13:11
 16· how do you determine the plain and ordinary meaning
 17· of the term?
 18· · · ·A.· It is the meaning of the term that one
 19· skilled in the art would understand.
 20· · · ·Q.· Based on what?                                                             13:11
 21· · · ·A.· Based on the definition of one skilled in
 22· the art.
 23· · · ·Q.· What do you first look to determine plain
 24· and ordinary meaning of a term in the patent?
 25· · · · · ·MR. FUHRER:· Objection, vague.                                             13:11


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 ·1· · · · · ·THE WITNESS:· You first look at the
 ·2· intrinsic record to make sure that they use -- that
 ·3· the record uses the plain and ordinary meaning, the
 ·4· specification uses the plain and ordinary meaning.
 ·5· BY MR. CREMEN:                                                                      13:12
 ·6· · · ·Q.· When you are considering the plain and
 ·7· ordinary meaning of a term, do you apply the
 ·8· broadest meaning you can ascribe to that term or
 ·9· the meaning that is supported by the intrinsic
 10· record?                                                                             13:12
 11· · · · · ·MR. FUHRER:· Objection, vague.
 12· · · · · ·THE WITNESS:· I don't know if there is a
 13· difference between the two.· At least in these
 14· cases, I don't think there was.
 15· BY MR. CREMEN:                                                                      13:12
 16· · · ·Q.· The plain and ordinary meaning could be
 17· the broadest possible meaning you can ascribe to a
 18· term?
 19· · · ·A.· It's not broad or narrow.· It's the plain
 20· and ordinary meaning.                                                               13:13
 21· · · ·Q.· Do you understand there to be a difference
 22· between a broadest possible interpretation you can
 23· apply to a term on one hand and on the other hand
 24· the meaning of a term as instructed by the
 25· intrinsic record?                                                                   13:13


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 ·1· · · · · ·MR. FUHRER:· Objection, confusing.· Calls
 ·2· for a legal conclusion.· Mischaracterizing.
 ·3· · · · · ·THE WITNESS:· I don't understand your
 ·4· question, actually.
 ·5· BY MR. CREMEN:                                                                      13:13
 ·6· · · ·Q.· If there is a term in a patent that you
 ·7· are going to construe, do you construe the scope of
 ·8· that term based on the teachings of the intrinsic
 ·9· record or do you ascribe meaning to that term in
 10· the broadest possible way you can understand the                                    13:14
 11· term?
 12· · · · · ·MR. FUHRER:· Objection, confusing.
 13· · · · · ·THE WITNESS:· I think I said before, you
 14· look at the intrinsic record, you see if it's
 15· trying to define the term and anything different                                    13:14
 16· from the plain and ordinary meaning.· If it's not
 17· used in the plain and ordinary meaning, which is
 18· the meaning you find in countless treatments in the
 19· field, including classes, papers, conferences.
 20· BY MR. CREMEN:                                                                      13:14
 21· · · ·Q.· I think we're getting to the point of the
 22· question.· Is the plain and ordinary meaning in
 23· your mind -- strike that.
 24· · · · · ·In your opinion, is the plain and ordinary
 25· meaning defined by how the term is used in the                                      13:15


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 ·1· intrinsic record or is it necessary to also look to
 ·2· the extrinsic record to understand how that term is
 ·3· used in the art?
 ·4· · · · · ·MR. FUHRER:· Objection, asked and
 ·5· answered.· Cumulative.· Compound.                                                   13:15
 ·6· · · · · ·THE WITNESS:· I don't know how differently
 ·7· to answer this.· I look at the intrinsic record.
 ·8· · · · · ·I see whether it's using the plain and
 ·9· ordinary meaning and if it's trying to redefine it.
 10· If it's not, I use the plain and ordinary meaning.                                  13:15
 11· BY MR. CREMEN:
 12· · · ·Q.· In your analysis, how do you know that the
 13· intrinsic record is using the term according to its
 14· plain and ordinary meaning?
 15· · · ·A.· I will look for statements where it says                                   13:16
 16· it's redefining something or explicitly redefines.
 17· · · ·Q.· Can the plain and ordinary meaning of a
 18· term in a patent claim be defined solely by the
 19· intrinsic record?
 20· · · · · ·MR. FUHRER:· Objection, calls for a legal                                  13:16
 21· conclusion.
 22· · · · · ·THE WITNESS:· Can the plain and ordinary
 23· meaning be defined by the intrinsic record?
 24· · · · · ·It won't define the plain and ordinary
 25· meaning.· It will just -- I think no.                                               13:16


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 ·1· BY MR. CREMEN:
 ·2· · · ·Q.· In your opinion, in order to understand
 ·3· the plain and ordinary meaning of the term, you
 ·4· would always have to look to the intrinsic; is that
 ·5· right?                                                                              13:17
 ·6· · · · · ·MR. FUHRER:· Objection, misleading,
 ·7· mischaracterizing, vague.
 ·8· · · · · ·THE WITNESS:· No.
 ·9· BY MR. CREMEN:
 10· · · ·Q.· Maybe I'm missing something, but the plain                                 13:17
 11· and ordinary meaning has to come from somewhere.
 12· · · · · ·Does it come from the intrinsic record or
 13· the extrinsic record?
 14· · · · · ·MR. FUHRER:· Objection.· Argumentative.
 15· Mischaracterizing the law.                                                          13:17
 16· · · · · ·THE WITNESS:· It depends on the record.
 17· The cases, what is in the intrinsic record.
 18· · · · · ·I can't answer that question in
 19· generalities.
 20· BY MR. CREMEN:                                                                      13:17
 21· · · ·Q.· So can it ever be the case that the plain
 22· and ordinary meaning of a term is provided by the
 23· intrinsic only?
 24· · · · · ·MR. FUHRER:· Objection, calls for
 25· speculation.· Vague.                                                                13:18


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 ·1· · · · · ·THE WITNESS:· I really need to have a
 ·2· specific case to answer this question.
 ·3· BY MR. CREMEN:
 ·4· · · ·Q.· In the '755 patent, is it your opinion
 ·5· that the intrinsic record alone does not provide                                    13:18
 ·6· the plain and ordinary meaning of the term?
 ·7· · · ·A.· No.· Intrinsic record did provide the
 ·8· plain and ordinary meaning.
 ·9· · · ·Q.· Which term?
 10· · · ·A.· So all of them have been consistent with                                   13:18
 11· the plain and ordinary meaning, so the active
 12· region, for example.
 13· · · · · ·I think the terms -- they are all the
 14· plain and ordinary meaning.
 15· · · ·Q.· But for each term, you have also relied on                                 13:19
 16· extrinsic evidence; right?
 17· · · ·A.· Yes.
 18· · · ·Q.· In each of those cases, is it your opinion
 19· that the intrinsic record was insufficient to
 20· provide the plain and ordinary meaning?                                             13:19
 21· · · ·A.· No.
 22· · · ·Q.· Why did you rely on extrinsic evidence?
 23· · · ·A.· In order to make it clear, because I'm a
 24· professor.
 25· · · · · ·I think it was already clear from the                                      13:19


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 ·1· record.
 ·2· · · · · ·But for example, if you look at active
 ·3· region, what am I doing with the extrinsic
 ·4· evidence; right?
 ·5· · · · · ·I'm showing devices for which the                                          13:20
 ·6· electrically driven area for which the active
 ·7· region is more than the electrically driven area
 ·8· which is consistent with the specification.
 ·9· · · · · ·I'm enforcing that.
 10· · · ·Q.· In that example, you introduced the                                        13:20
 11· concept of motional current density?
 12· · · ·A.· Yes.
 13· · · ·Q.· Motional current density is not mentioned
 14· at all in the '755 patent; right?
 15· · · ·A.· Do they mention current anywhere?                                          13:20
 16· · · · · ·It's something I want to look at.· If
 17· current is mentioned, it is.
 18· · · ·Q.· Is the term "motional current density"
 19· ever used in the '755 patent?
 20· · · ·A.· I don't think so.                                                          13:21
 21· · · ·Q.· Where did motional current density, that
 22· phrase, come from?
 23· · · ·A.· Motional current is a description of --
 24· the word "motion" is the important thing here.
 25· That's where the energy is.                                                         13:21


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 ·1· · · · · ·That came from the wider understanding
 ·2· across the field that includes all resonators, not
 ·3· even just BAW resonators, but electrostatic
 ·4· resonators -- all resonators.
 ·5· · · · · ·It's universal, understanding that the                                     13:21
 ·6· current models the motion of the device and,
 ·7· therefore, sets the equivalent circuit which then
 ·8· sets the purpose of the device, which we talked
 ·9· about before was passing frequencies, protecting
 10· frequencies, setting up impedances.                                                 13:21
 11· · · · · ·MR. CREMEN:· Okay.· I think that's all I
 12· have.
 13
 14· · · · · · · · · FURTHER EXAMINATION
 15· BY MR. FUHRER:                                                                      13:22
 16· · · ·Q.· One more question.
 17· · · · · ·I think at least for my vantage point, to
 18· clear the record, is it your testimony, Doctor,
 19· that the intrinsic record of the '755 patent is
 20· providing plain and ordinary definitions for the                                    13:22
 21· disputed terms or that it's using those terms
 22· consistent with your understanding of the plain and
 23· ordinary meaning?
 24· · · ·A.· It's using those terms consistent with my
 25· understanding of the plain and ordinary meaning.                                    13:22


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 ·1· · · · · ·MR. FUHRER:· No other questions.
 ·2· · · · · ·MR. CREMEN:· None from me either.
 ·3
 ·4
 ·5
 ·6· · · · · ·(Whereupon, the deposition concluded at
 ·7· 1:22 P.M.)
 ·8
 ·9· · · · · ·(DECLARATION UNDER PENALTY OF PERJURY ON
 10· THE PAGE FOLLOWING THE CERTIFICATION PAGE.)
 11
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 ·1· · · · · · · · · · ·CERTIFICATION

 ·2· · · · · · · · · · · · · ·OF

 ·3· · · · · · · CERTIFIED SHORTHAND REPORTER

 ·4

 ·5· · · · · ·I, the undersigned, a Certified Shorthand

 ·6· Reporter of the State of California, do hereby

 ·7· certify:

 ·8· · · · · ·That the foregoing proceedings were taken

 ·9· before me at the time and place herein set forth;

 10· that any witness in the foregoing proceedings,

 11· prior to testifying, were placed under oath; that a

 12· verbatim record of the proceedings was made by me

 13· using machine shorthand which was thereafter

 14· transcribed under my direction; further, that the

 15· foregoing is an accurate transcription thereof.

 16· · · · · ·I further certify I am neither financially

 17· interested in the action nor a relative or employee

 18· of any attorney of any of the parties.· Signed on

 19· the 11th day of August, 2022.

 20

 21

 22

 23· · · · · ·______________________________________
 · · · · · · ·DAVID OCANAS, CSR NO. 12567
 24

 25


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 ·2
 ·3· Assignment No. 8529586
 ·4· Case Caption:· QORVO v. AKOUSTIS
 ·5
 ·6· · · · · DECLARATION UNDER PENALTY OF PERJURY
 ·7
 ·8· · · · · ·I declare under penalty of perjury that I
 ·9· read the entire transcript of my deposition taken
 10· in the above-captioned matter or the same has been
 11· read to me and the same is true and accurate, save
 12· and except for changes and/or corrections, if any,
 13· as indicated by me on the DEPOSITION ERRATA SHEET
 14· hereof, with the understanding that I offer these
 15· changes as if still under oath.· Signed on this day
 16· _____of _______________________, 2022.
 17
 18
 19· ______________________________
 20· DR. CLARK NGUYEN
 21
 22
 23
 24
 25


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 25· · · · · · DR. CLARK NGUYEN


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   (12) United States Patent                                                            (10) Patent No.:                  US 7,795,781 B2
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   (75) Inventors: Bradley P. Barber, Acton, MA (US);                               2006.3% R                2.3. Most 1
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   (73) Assignee: Avago Technologies Wireless IP                                    2006/0226932 A1        10, 2006 FaZZio et al.
                          (Singapore) Pte. Ltd., Singapore (SG)                     2008/0157629 A1          7/2008 Noguchi et al.
                                                                                    2009/00457.03 A1         2/2009 Barber et al.
   (*) Notice:            Subject to any disclaimer, the term of this               2009/0045704 A1          2/2009 Barber et al.
                          patent is extended or adjusted under 35
                          U.S.C. 154(b) by 86 days.                                             FOREIGN PATENT DOCUMENTS
                                                                                   JP            2007 OO6542             1, 2007
   (21) Appl. No.: 12/150,244                                                      WO             2005OO8889             1, 2005
   (22) Filed:            Apr. 24, 2008                                                                 OTHER PUBLICATIONS
                                                O        O                         International Searching Authority, “Notification of Transmittal of the
   (65)                Prior Publication Data                                      International Search Report and the Written Opinion of the Interna
           US 2009/O267457 A1     Oct. 29, 2009                                    tional Searching Authority, or the Declaration'. International Appli
                                                                                   cation No. PCT/US2009/04 1265 Nov.30, 2009.
   (51) Int. Cl.                                                                   * cited b
           HOIL 4I/08                   (2006.01)                                    c1ted by examiner
   (52) U.S. Cl. ...................................................... 31 O/32O   Primary Examiner J. SanMartin
   (58) Field of Classification Search .................. 31 O/32O
        See application file for complete search history.                          (57)                ABSTRACT
   (56)                  References Cited                                          According to an exemplary embodiment, a bulk acoustic
                      U.S. PATENT DOCUMENTS
                                                                                   wave (BAW) resonator includes a piezoelectric layer having a
                                                                                   disrupted texture region, where the disrupted texture region is
          3,363,119 A          1, 1968 Koneval et al.                              situated in a controlled thickness region of the BAW resona
          3,365,591 A          1, 1968 Curran et al.                               tor. The BAW resonator further includes lower and upper
          3,401,276 A          9, 1968 Curranet al.                                electrodes situated on opposite Surfaces of the piezoelectric
          4,634.914. A *       1/1987 Ballato ...........        310,313 D         layer. The controlled thickness region has controlled electro
          6,091,406 A *        7/2000 Kambara et al. ............ 345,177          mechanical coupling and includes a segment of material situ
          6,420,202 B1*        7/2002 Barber et al. ................. 438/52       ated over the upper electrode. The segment of material can be
          6.424,237 B1 * 7/2002 Ruby et al. ................. 333,187              a metal or a dielectric material. The disrupted texture region
          6,657,363 B1 12/2003 Aigner
          6,812,619 B1 * 1 1/2004 Kaitila et al. ............... 310,320           can be situated at an edge of the BAW resonator and can
          6,933,809 B2         8/2005 Kyoung et al.                                extend along a perimeter of the BAW resonator.
          7,148,769 B2        12/2006 Takano ....................... 333, 193
          7,323.953 B2         1/2008 Yokoyama et al.                                               13 Claims, 4 Drawing Sheets
                                                                                                                                                          10
                                                                           M                                     122                                A




                                   Piezoelectric Layer
                                                                                                                                                    10s



                  8
                                                                                                  108
                                                                                                           104
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      Fig. 2                                                                    2OO


                      Form lower electrode of BAW resonator Over
                                                                          2O2
                                 underlying Substrate.



                     Form piezoelectric layer over lower electrode,
                      where piezoelectric layer includes disrupted        204
                                    texture region.



                     Form upper electrode of BAW resonator over           2O6
                                 piezoelectric layer.



                      Form material segment over upper electrode
                         in controlled thickness region of BAW            2O8
                                        resonator.
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         Fig. 3                                                      300




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                                                         US 7,795,781 B2
                                  1.                                                                  2
       BULKACOUSTC WAVE RESONATOR WITH                                  mentation of the present invention. One skilled in the art will
             REDUCED ENERGY LOSS                                        recognize that the present invention may be implemented in a
                                                                        manner different from that specifically discussed in the
             BACKGROUND OF THE INVENTION                                present application. Moreover, Some of the specific details of
                                                                        the invention are not discussed in order not to obscure the
      1. Field of the Invention                                      invention. The specific details not described in the present
      The present invention generally relates to the field of elec application are within the knowledge of a person of ordinary
   tronics. More particularly, the invention relates to bulk acous skill in the art.
   tic wave (BAW) resonators.                                           The drawings in the present application and their accom
      2. Background Art                                           10 panying detailed description are directed to merely exem
      Because of their small footprint, low profile, and high plary embodiments of the invention. To maintain brevity,
   performance, bulk acoustic wave (BAW) filters are increas other embodiments of the invention which use the principles
   ingly utilized to provide radio frequency (RF) filtering in of the present invention are not specifically described in the
   mobile electronic devices, such as cellular phones, as well as present application and are not specifically illustrated by the
   other types of electronic devices. BAW filters can include a 15 present drawings.
   number of BAW resonators, where each BAW resonator typi              FIG. 1A shows a cross-sectional view of BAW resonator
   cally includes a layer of piezoelectric material. Such as alu     100, in accordance with one embodiment of the present
   minum nitride, Sandwiched between upper and lower elec invention. Certain details and features have been left out of
   trodes. When an electric field is applied across the upper and FIG. 1A, which are apparent to a person of ordinary skill in
   lower electrodes of the BAW resonator, the electric field can        the art. BAW resonator 100 includes lower electrode 102,
   cause the layer of piezoelectric material to vibrate. As a result, piezoelectric layer 104, upper electrode 106, and material
   the piezoelectric material can generate a number of allowed segment 108. BAW resonator 100 can further include an
   modes of acoustic wave propagation, which include a desired acoustic mirror, which provides acoustic isolation from an
   longitudinal mode. However, unwanted excitation of energy underlying Substrate. The acoustic mirror and the Substrate
   in modes of wave propagation that have high energy loss, 25 over which BAW resonator 100 is fabricated are not shown in
   Such as lateral modes, can cause a significant loss of energy in FIG. 1A so as not to obscure the invention. In one embodi
   a BAW resonator and, thereby, undesirably lower the BAW ment, BAW resonator 100 can be a film bulk acoustic wave
   resonator's quality factor (Q).                                      resonator (FBAR) and can be acoustically isolated from an
      Conventional approaches to reducing energy loss in a BAW underlying substrate by an air cavity. BAW resonator 100 can
   resonator include shaping the profile of the resonator Such 30 be utilized in a BAW filter to provide RF filtering in a cell
   that the energy is best contained and controlled in a desired phone or other type of semiconductor device and can be
   longitudinal mode. In one conventional profile shaping fabricated in a semiconductor die.
   approach, a shaped region can be provided close to the edge of          As shown in FIG. 1A, lower electrode 102 can be situated
   the BAW resonator, which is a region of high energy loss, to over, for example, an acoustic mirror, which is not shown in
   reduce the amount of energy that is excited in lossy modes of 35 FIG. 1A, and can comprise tungsten, molybdenum, or other
   wave propagation in the BAW resonator. However, the shaped Suitable metal having a high density (i.e. a high density
   region provided in this conventional approach can also intro metal). Lower electrode 102 has thickness 110, which can be,
   duce additional unwanted modes. Such as lateral modes con            for example, between 500.0 Angstroms and 5000.0 Ang
   tained within the shaped region, which can cause energy loss stroms. Lower electrode 102 can be formed by depositing a
   in the BAW resonator.                                             40 layer of high density metal. Such as tungsten or molybdenum,
                                                                        over a layer of material (not shown in FIG. 1A) by utilizing a
                SUMMARY OF THE INVENTION                                physical vapor deposition (PVD) or Sputtering process or
                                                                        other Suitable deposition process and appropriately pattern
      A bulk acoustic wave resonator with reduced energy loss, ing the layer of high density metal.
   Substantially as shown in and/or described in connection with 45 Also shown in FIG. 1A, piezoelectric layer 104 is situated
   at least one of the figures, as set forth more completely in the over lower electrode 102, includes disrupted texture region
   claims.                                                              109 and non-disrupted texture region 111, and has top surface
                                                                        126. A seed layer (not shown in FIG. 1A) can be situated
          BRIEF DESCRIPTION OF THE DRAWINGS                             between piezoelectric layer 104 and lower electrode 102.
                                                                     50 Piezoelectric layer 104 can comprise aluminum nitride (AIN)
      FIG. 1A illustrates a cross-sectional view of an exemplary or other suitable piezoelectric material and has thickness 112,
   bulk acoustic wave (BAW) resonator, in accordance with one which can be, for example, between 0.5 microns and 3.0
   embodiment of the present invention.                                 microns. Disrupted texture region 109 is situated in con
      FIG. 1B illustrates a top view of the exemplary BAW trolled thickness region 114 at the edge of BAW resonator 100
   resonator of FIG. 1A.                                             55 and extends along the entire perimeter of the BAW resonator.
      FIG. 2 shows a flowchart illustrating an exemplary method Disrupted texture region 109 has width 116, which can be, for
   for fabricating a BAW resonator in accordance with one example, between 1.0 micron and 5.0 microns. In disrupted
   embodiment of the present invention.                                 texture region 109, the crystallinity of the piezoelectric mate
      FIG. 3 is a diagram of an exemplary electronic system rial is disrupted so as to cause significantly reduced electro
   including an exemplary chip or die utilizing a BAW resonator 60 mechanical coupling therein. Non-disrupted texture region
   in accordance with one embodiment of the present invention.          111 is situated adjacent to and surrounded by disrupted tex
                                                                        ture region 109 and comprises piezoelectric material having
        DETAILED DESCRIPTION OF THE INVENTION                           normal crystallinity, i.e., crystallinity that has not been inten
                                                                        tionally disrupted. Piezoelectric layer 104 can be formed by,
      The present invention is directed to a bulk acoustic wave 65 for example, depositing a layer of aluminum nitride over
   resonator with reduced energy loss. The following descrip lower electrode 102 by utilizing a PVD or sputtering process,
   tion contains specific information pertaining to the imple a CVD process, or other suitable deposition process.
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      Prior to formation of piezoelectric layer 104, the surface       Further shown in FIG. 1A, controlled thickness region 114
   area that will underlie disrupted texture region 109 can be is situated at the edge of BAW resonator 100 and includes
   sufficiently disturbed so as to insure that the texture of the material segment 108, disrupted texture region 109 of piezo
   piezoelectric material will be disrupted when piezoelectric electric layer 104, and the portion of upper electrode 106
   layer 104 is formed. For example, a thin layer of material situated between material segment 108 and disrupted texture
   known to disrupt texture. Such as silicon oxide, can be depos region 109. In another embodiment, controlled thickness
   ited over a thin seed layer (not shown in FIG. 1A) in the region 114 can be formed at a location other than at the edge
   surface region of lower electrode 102 over which disrupted of the BAW resonator. Also shown in FIG. 1A, high density
   texture region 109 will be formed. As another example, an metal region 128 is situated adjacent to and Surrounded by
   etch process or other suitable process can be utilized to 10 controlled thickness region 114 and includes the region of
   roughen the surface region of lower electrode 102 over which BAW resonator 100 in which upper electrode 106 is situated
   disrupted texture region 109 will be formed. In one embodi over non-disrupted texture region 111 of piezoelectric layer
   ment, the surface region of a layer (not shown in FIG. 1A) 104.
   underlying the region of lower electrode over which disrupted       FIG. 1B shows a top view of structure 100, where the
   texture region 108 will be formed can be roughened prior to 15 cross-sectional view of BAW resonator 100 in FIG. 1A is
   forming the lower electrode. The resulting disruption in the across line 1A-1A in FIG. 1B. In particular, piezoelectric
   texture of the lower electrode caused by the roughening of the layer 104, upper electrode 106, material segment 108, dis
   Surface region of the underlying layer can, in turn, cause the rupted texture region 109, controlled thickness region 114,
   texture of the piezoelectric material to be disrupted in dis widths 116, 122, and 130, and high density metal region 128
   rupted texture region 108 when piezoelectric layer 104 is correspond to the same elements in FIG. 1A and FIG. 1B. As
   formed.                                                          shown in FIG. 1B, upper electrode 106 has depth 132, which
      Further shown in FIG. 1A, upper electrode 106 is situated defines the approximate depth of the active region of BAW
   over piezoelectric layer 104 and can comprise tungsten, resonator 100. In the embodiment in FIGS. 1A and 1B, BAW
   molybdenum, or other suitable dense metal. Upper electrode resonator 100 has a rectangular shape. In one embodiment,
   106 has thickness 120, which can be, for example, between 25 BAW resonator 100 can have a square shape, wherein width
   500.0 Angstroms and 5000.0 Angstroms. Upper electrode 122 can be approximately equal to depth 132. There can also
   106 has width 122, which can be less than the width of lower     be advantages to rounding the BAW resonator's corners and/
   electrode 102 and which defines the width of the active por or forming the resonator Such that opposite sides of the reso
   tion of BAW resonator 100. In one embodiment, upper elec nator are not parallel.
   trode 106 and lower electrode 102 can be approximately 30 As shown in FIG. 1B, controlled thickness region 114 is
   equal in width. Upper electrode 106 can beformed by depos situated at the edge of BAW resonator 100, extends along the
   iting a layer of dense metal, such as tungstenormolybdenum, resonator's perimeter, and has a width that is defined by width
   over piezoelectric layer 104 by utilizing a PVD or sputtering 116 of disrupted texture region 109. Also shown in FIG. 1B,
   process or other suitable deposition process. The layer of material segment 108 is situated over upper electrode 106 and
   dense metal can be appropriately patterned by utilizing a 35 disrupted texture region 109 and is also situated at the edge of
   Suitable etch process. In the present embodiment, the edge of BAW resonator 100. Material segment 108 is further situated
   upper electrode 106 can be self-aligned with the outer edge of in controlled thickness region 114 and extends along the
   material segment 108 as discussed below.                         perimeter of BAW resonator 100.
      Also shown in FIG. 1A, material segment 108 is situated          The operation of BAW resonator 100 will now be dis
   over upper electrode 106 at the edge of BAW resonator 100. 40 cussed. When an electric field is applied across piezoelectric
   Material segment 108 is also situated in controlled thickness layer 104 via upper electrode 106 and lower electrode 102,
   region 114 and extends along the entire perimeter of BAW electrical energy is converted into acoustic energy in piezo
   resonator 100. Material segment 108 can comprise a metal, electric layer 104 through electromechanical coupling,
   Such as a low or high density metal, a dielectric material, or a thereby causing piezoelectric layer 104 to vibrate. As a result,
   semiconductor material and has thickness 124 and width 130. 45 piezoelectric layer 104 can generate acoustic waves that can
   For example, thickness 124 of material segment 108 can be propagate in a longitudinal mode, i.e., in a direction perpen
   between 100.0 Angstroms and 3000.0 Angstroms. Width 130 dicular to top surface 126 of piezoelectric layer 104, which is
   of material segment 108 can be, for example, between 1.0 a desired mode. However, as a result of the crystalline struc
   micron and 5.0 microns. In the embodiment in FIG. 1A,            ture of piezoelectric layer 104, the edge region of BAW reso
   material segment 108 has a uniform cross-sectional thick 50 nator 100, and other factors, a multitude of other, unwanted
   ness. In other embodiments, material segment 108 can have a modes of wave propagation can also be generated in piezo
   non-uniform cross-sectional thickness and can have a wedge electric layer 104. For example, unwanted modes such as
   shape, a teardrop shape, or other Suitable shape.                lateral modes, i.e., modes of acoustic wave propagation that
      Material segment 108 can be formed by depositing a layer occur in a direction parallel to top surface 126 of piezoelectric
   of material over upper electrode 106 by utilizing a PVD or 55 layer 104, can be generated in piezoelectric layer 104. As
   sputtering process, a CVD process, or other Suitable deposi discussed above, a significant loss of energy in BAW resona
   tion process. The layer of material can then be appropriately tors can occur as a result of coupling energy into unwanted
   patterned by utilizing a suitable etch process to form the inner modes, such as lateral modes. In particular, the edge of a BAW
   edge of material segment 108. In the embodiment in FIG. 1A, resonator, such as BAW resonator 100, is a lossy region of the
   the outer edge of material segment 108 can be formed con 60 resonator wherein coupling into unwanted, lossy modes, such
   currently with the edge of upper electrode 106 in the same as lateral modes, can undesirably increase energy loss in the
   etch process so as to precisely define the edge of BAW reso BAW resonator.
   nator 100. In one embodiment, the layer of material can be          In BAW resonator 100, controlled thickness region 114
   appropriately patterned by utilizing a Suitable etch process to includes material segment 108, which is situated over upper
   form the inner and outer edges of material segment 108. In 65 electrode 106 to provide thickness shaping at the edge of the
   that embodiment, material segment 108 can overlap the edge resonator, and disrupted texture region 109, which comprises
   of upper electrode 106 or fall entirely within its boundary.     piezoelectric material having disrupted crystallinity. As a
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   result, the electromechanical coupling can be controlled and,   109 will be formed. This disruption can alternatively be done
   thereby, significantly reduced in controlled thickness region before the lower electrode is deposited since in some cases
   114. Thus, electromechanical coupling into unwanted modes, disruption of the lower electrode's texture will subsequently
   Such as lateral modes, as well as coupling into the desired disrupt the piezoelectric materials texture. In one implemen
   longitudinal mode, can be significantly reduced in controlled tation, piezoelectric layer 104 can comprise aluminum nitride
   thickness region 114. However, the overall loss of coupling and can be formed by depositing a layer of aluminum nitride
   into the longitudinal mode in BAW resonator 100 as a result over lower electrode 102 by utilizing a PVD process or other
   of the loss of coupling in controlled thickness region 114 is Suitable deposition process and appropriately patterning the
   significantly less than the overall reduction in energy loss layer of aluminum nitride. At step 206, upper electrode 106 of
   achieved in BAW resonator 100 by reducing electromechani 10 BAW resonator 100 is formed over piezoelectric layer 104.
   cal coupling into unwanted modes in controlled thickness For example, upper electrode 106 can comprise a high density
   region 114. Also, width 130, thickness 124, the composition metal. Such as tungsten or molybdenum, and can be formed
   of material segment 108, and width 116 of disrupted texture by depositing a layer of high density metal over piezoelectric
   region 109 of piezoelectric layer 104 can be appropriately layer 104 by utilizing a PVD or sputtering process and appro
   selected to optimize reduction of coupling into unwanted 15 priately patterning the layer of high density metal.
   modes, such as lateral modes.                                     At step 208, material segment 108 is formed over upper
      Thus, by utilizing disrupted texture region 109 of piezo electrode 106 in controlled thickness region 114 of BAW
   electric layer 104 to reduce electromechanical coupling in resonator 100. For example, material segment 108 can com
   controlled thickness region 114, an embodiment of the inven prise a metal, a dielectric material, or a semiconductor mate
   tion's BAW resonator 100 achieves a significant reduction of rial and can be formed by depositing a layer of the material
   electromechanical coupling into unwanted modes, thereby over upper electrode 106 in controlled thickness region 114
   significantly reducing overall energy loss in BAW resonator by utilizing a CVD or other suitable deposition process. After
   100. By reducing overall energy loss, the invention advanta deposition, the layer of material can be appropriately pat
   geously achieves a BAW resonator having an increased Q.         terned by utilizing a Suitable etch process. For example, the
      From the above description of the embodiment of invention 25 layer of material can be concurrently etched with an under
   in FIGS. 1A and 1B, it is manifest to one of ordinary skill in lying layer of unpatterned high density metal Such that the
   the art that a material segment, such as material segment 108, outer edge of material segment 108 is self-aligned with the
   can alternatively be formed under disrupted texture region edge of upper electrode 106.
   109 of piezoelectric layer 104 and even under lower electrode      FIG. 3 illustrates a diagram of an exemplary electronic
   102 in BAW resonator 100 to achieve similar advantages as 30 system including an exemplary chip or die utilizing one or
   discussed above.                                                   more BAW resonators inaccordance with one embodiment of
     FIG. 2 shows a flowchart illustrating an exemplary method        the present invention. Electronic system 300 includes exem
   according to one embodiment of the present invention. Cer          plary modules 302,304, and 306, IC chip or semiconductor
   tain details and features have been left out of flowchart 200      die 308, discrete components 310 and 312, residing in and
   that are apparent to a person of ordinary skill in the art. For 35 interconnected through circuit board 314. In one embodi
   example, a step may consist of one or more substeps or may ment, electronic system 300 may include more than one PCB.
   involve specialized equipment or materials, as known in the IC chip 308 includes circuit 316, which can comprise a BAW
   art. It is noted that the processing steps shown in flowchart filter, including one or more of the invention's BAW resona
   200 are performed on a portion of a processed wafer, which, tors designated by numeral 318.
   prior to step 202 of flowchart 200, includes, among other 40 As shown in FIG. 3, modules 302, 304, and 306 are
   things, an acoustic mirror or an air cavity overlying a Sub mounted on circuit board 314 and can each be, for example, a
   strate, which are not shown in any of the figures.                 central processing unit (CPU), a graphics controller, a digital
      At step 202 of flowchart 200, lower electrode 102 of BAW signal processor (DSP), an application specific integrated
   resonator 100 in FIG. 1A is formed over a substrate (not circuit (ASIC), a video processing module, an audio process
   shown in any of the figures). In one embodiment, lower elec 45 ing module, an RF receiver, an RF transmitter, an image
   trode 102 can beformed overan acoustic mirror (not shown in sensor module, a power control module, an electromechani
   any of the figures), which can beformed over the substrate. In cal motor control module, or a field programmable gate array
   another embodiment, lower electrode 102 can beformed over          (FPGA), or any other kind of module utilized in modern
   an air cavity (not shown in any of the figures), which can be electronic circuit boards. Circuit board 314 can include a
   formed over the substrate. Lower electrode 102 can comprise 50 number of interconnect traces (not shown in FIG. 3) for
   a high density metal. Such as tungsten or molybdenum, and interconnecting modules 302,304, and 306, discrete compo
   can be formed by depositing a layer of high density metal by nents 310 and 312, and IC chip 308.
   utilizing a PVD or sputtering process or other suitable depo          Also shown in FIG. 3, IC chip 308 is mounted on circuit
   sition process and appropriately patterning the layer of high board 314 and can be, for example, any chip utilizing one or
   density metal. At step 204, piezoelectric layer 104 is formed 55 more of an embodiment of the invention's BAW resonator,
   over lower electrode 202, where piezoelectric layer 104 Such as BAW resonator 100 in FIGS 1A and 1B. In one
   includes disrupted texture region 109. In disrupted texture embodiment, IC chip 308 may not be mounted on circuit
   region 109, the crystallinity of the piezoelectric material is board 314, and may be interconnected with other modules on
   disrupted to significantly reduce electromechanical coupling different circuit boards. As stated above, circuit 316 is situ
   in controlled thickness region 114.                             60 ated in IC chip 308 and can comprise a BAW filter including
      Prior to formation of piezoelectric layer 104, the surface one or more of the invention's BAW resonators designed by
   area that will underlie disrupted texture region 109 can be numeral 318. Further shown in FIG. 3, discrete components
   sufficiently disturbed so as to insure that the texture of the 310 and 312 are mounted on circuit board 314 and can each
   piezoelectric material will be disrupted when piezoelectric be, for example, a discrete filter, such as one including a SAW
   layer 104 is formed. For example, an etch process or other 65 filter or the like, a power amplifier oran operational amplifier,
   Suitable process can be utilized to roughen the Surface region a semiconductor device, such as a transistor or a diode or the
   of lower electrode 102 over which disrupted texture region like, an antenna element, an inductor, a capacitor, or a resistor.
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     Electronic system 300 can be utilized in, for example, a                 3. The BAW resonator of claim 1, wherein said controlled
   wired or wireless communications device, a cell phone, a                thickness region is situated at an edge of said BAW resonator
   Switching device, a router, a repeater, a codec, a wired or             and extends along a perimeter of said BAW resonator.
   wireless LAN, a WLAN, a Bluetooth enabled device, a Glo                    4. The BAW resonator of claim 1, wherein said controlled
   bal Positioning System (GPS) device, a computer, a monitor,             thickness region includes a segment of material situated over
   a television set, a satellite set top box, a cable modem, a             said upper electrode.
   printer, a copier, an RF transceiver, a personal digital assistant        5. The BAW resonator of claim 4, wherein said segment of
   (PDA), or in any other kind of system, device, component or             material is selected from the group consisting of a metal and
   module utilized in modern electronics applications.                     a dielectric material.
     Thus, as discussed above, in the embodiment in FIGS. 1A 10        6. The BAW resonator of claim 4, wherein an outer edge of
   and 1B, the invention provides a BAW resonator having a said segment of material is self-aligned with an edge of said
   controlled thickness region that includes a material segment upper electrode.
   to provide thickness shaping and a disrupted texture region of      7. The BAW resonator of claim 1 further comprising a thin
   a piezoelectric layer to provide controlled electromechanical layer of silicon oxide underlying said disrupted texture region
   coupling. By utilizing a controlled thickness region to reduce 15 and situated between said lower electrode and said piezoelec
   electromechanical coupling at the edge of the BAW resonator, tric layer.
   the invention's BAW resonator advantageously achieves a             8. The BAW resonator of claim 1, wherein said disrupted
   significant reduction in energy loss by significantly decreas texture region is situated at an edge of said BAW resonator
   ing electromechanical coupling into unwanted, lossy modes and extends along a perimeter of said BAW resonator.
   compared to a conventional BAW resonator utilizing only             9. A semiconductor die comprising at least one BAW reso
   profile shaping to reduce energy loss. As a result, the inven nator, said at least one BAW resonator comprising:
   tion's BAW resonator advantageously achieves a higher Q             a piezoelectric layer having a disrupted texture region, said
   compared to the conventional BAW resonator.                            disrupted texture region situated in a controlled thick
      From the above description of the invention it is manifest          ness region of said BAW resonator and having a dis
   that various techniques can be used for implementing the 25            rupted crystallinity;
   concepts of the present invention without departing from its        lower  and upper electrodes situated on opposite surfaces of
   scope. Moreover, while the invention has been described with           said piezoelectric layer; wherein said controlled thick
   specific reference to certain embodiments, a person of ordi            ness region has a controlled electromechanical cou
   nary skill in the art would appreciate that changes can be             pling.
   made inform and detail without departing from the spirit and 30 10. The semiconductor die of claim 9, wherein said con
   the scope of the invention. Thus, the described embodiments trolled thickness region provides reduced electromechanical
   are to be considered in all respects as illustrative and not coupling into lateral modes.
   restrictive. It should also be understood that the invention is
   not limited to the particular embodiments described herein          11. The semiconductor die of claim 9, wherein said con
   but is capable of many rearrangements, modifications, and 35 trolled thickness region is situated at an edge of said BAW
   Substitutions without departing from the scope of the inven resonator and extends along a perimeter of said BAW reso
                                                                           natOr.
   tion.
     Thus, a bulk acoustic wave resonator with reduced energy                 12. The semiconductor die of claim 9, wherein said con
   loss has been described.                                                trolled thickness region includes a segment of material situ
      The invention claimed is:                                         40 ated over said upper electrode.
      1. A bulk acoustic wave (BAW) resonator comprising:                13. The semiconductor die of claim 9, wherein said semi
      a piezoelectric layer having a disrupted texture region, said conductor die is utilized in a circuit board as a part of an
         disrupted texture region being situated in a controlled electronic system, said electronic system being selected from
         thickness region of said BAW resonator and having a the group consisting of a wired or wireless communications
         disrupted crystallinity; and                              45 device, a cellphone, a Switching device, a router, a repeater, a
      lower and upper electrodes situated on opposite surfaces of codec, a wired or wireless LAN, a WLAN, a Bluetooth
         said piezoelectric layer; wherein said controlled thick enabled device, a Global Positioning System (GPS) device, a
         ness region has a controlled electromechanical cou computer, a monitor, a television set, a satellite set top box, a
         pling.                                                       cable modem, a printer, a copier, an RF transceiver, and a
      2. The BAW resonator of claim 1, wherein said controlled 50 personal digital assistant (PDA).
   thickness region provides reduced electromechanical cou
   pling into lateral modes.
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                         Exhibit A9
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          Obernhuber et al.                                             (45) Date of Patent:     *Apr. 7, 2015
   (54) METHOD FOR MANUFACTURING A DEVICE                          (58) Field of Classification Search
          ON A SUBSTRATE                                                   USPC ............................................................ 216788
                                                                           See application file for complete search history.
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   (*) Notice:       Subject to any disclaimer, the term of this
                     patent is extended or adjusted under 35       DE               10200741 A1              T 2003
                                                                   DE           102005058271 A1              T 2006
                     U.S.C. 154(b) by 0 days.
                     This patent is Subject to a terminal dis                          (Continued)
                     claimer.                                      Primary Examiner — Shamim Ahmed
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   (21) Appl. No.: 14/092,624                                      (74) Attorney, Agent, or Firm — Slater & Matsil, L.L.P.
   (22) Filed:       Nov. 27, 2013
                                                                   (57)                          ABSTRACT
   (65)                 Prior Publication Data
                                                                   A method for manufacturing a device on a substrate includes
          US 2014/OO83973 A1         Mar. 27, 2014                 forming a layer structure on the Substrate, forming an auxil
                                                                   iary layer on the layer structure, forming a planarization layer
                Related U.S. Application Data                      on the auxiliary layer and on the Substrate, exposing the
   (63) Continuation of application No. 12/417,100, filed on       auxiliary layer by a chemical mechanical polishing process
        Apr. 2, 2009, now Pat. No. 8,597.531.                      and removing at least partly the auxiliary layer to form a
                                                                   planar Surface of the remaining auxiliary layer or of the layer
   (51) Int. Cl.                                                   structure and the planarization layer. The chemical mechani
          CO3C I5/00             (2006.01)                         cal polishing process has a first removal rate with respect to
          HOIL 4I/297            (2013.01)                         the planarization layer and a second removal rate with respect
          HO3H3/04               (2006.01)                         to the auxiliary layer and the first removal rate is greater than
                                                                   the second removal rate.
   (52) U.S. Cl.
          CPC ............... HOIL 41/297 (2013.01); H03H3/04
                                                       (2013.01)                      14 Claims, 9 Drawing Sheets

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                               FIG 5D
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                                                         US 8,999,187 B2
                                  1.                                                                   2
      METHOD FOR MANUFACTURING ADEVICE                                    Radio-frequency (RF) filters based on BAW resonators are
               ON A SUBSTRATE                                          of great interest for many RF applications. There are two
                                                                       concepts for BAW resonators, on the one hand the so-called
       This is a continuation application of U.S. application Ser. thin-film BAW resonator (FBAR), and the so-called solidly
   No. 12/417,100, entitled “Method for Manufacturing a 5 mounted resonator (SMRs). Thin-film BAW resonators
   Device on a Substrate' which was filed on Apr. 2, 2009 and include a membrane on which a layer sequence comprising a
   issued as U.S. Pat. No. 8,597,531 on Dec. 3, 2013 and is            lower electrode, a piezoelectric layer, and an upper electrode
   incorporated herein by reference.                                   is arranged. In the alternative concept of Solidly mounted
                                                                       resonators, an SMR comprises a Substrate. Such as, for
                           BACKGROUND                               10 example, a silicon Substrate, on which the layer sequence
                                                                       comprising the lower electrode, the piezoelectric layer, and
       Embodiments of the present invention relate to a method         the upper electrode is arranged. In order to keep the acoustic
   for manufacturing a device on a substrate.                          waves in the active region in this design, a so-called acoustic
       Embodiments of the present invention relate also to the minor is needed. It is located between the active layers, i.e.,
   manufacturing of a device with a highly planar Surface. In 15 the        two electrodes and the piezoelectric layer, and the sub
                                                                       Strate.
   addition, embodiments relate to a method of manufacturing a
   patterned highly planar bottom electrode exhibiting an excel           In both concepts for BAW resonators, the deposition of a
   lent uniformity in layer deposition and a planar Surface of the     piezoelectric  layer on a patterned bottom electrode is needed,
   entire bottom electrode.                                            the bottom electrode being exemplarily made of a metal. A
                                                                       uniformed deposition is thus of crucial importance for the
                 SUMMARY OF THE INVENTION                              quality of the resonator. To allow a uniformed deposition, it is
                                                                       desired to have a highly planar wafer Surface and, in particu
       Embodiments of the present invention relate to a method lar, a bottom electrode comprising a highly planar Surface
   for manufacturing a device on a Substrate. The method com before depositing the piezoelectric layer. Thus, growth edges
   prises the steps of forming a layer structure on the Substrate, 25 in the piezoelectric layer are avoided and a high quality of the
   forming an auxiliary layer on the layer structure, forming a piezo material is made possible. This results in a high electro
   planarization layer on the auxiliary layer and on the Substrate, mechanical coupling and a high acoustic quality. In addition,
   exposing the auxiliary layer by a chemical mechanical pol Subsequent process steps are made easier by a planar Surface.
   ishing process and removing at least partly the auxiliary layer This particularly applies to patterning the upper electrode.
   to form a planar Surface of the remaining auxiliary layer or of 30 The conventional methods are problematic in that an oxide
   the layer structure and the planarization layer. The chemical CMP (Chemical Mechanical Polishing) step affects the sur
   mechanical polishing process comprises a first removal rate face of the bottom electrode. This results in a so-called "dish
   with respect to the planarization layer and a second removal ing effect, a local variation of the electrode thickness. This
   rate with respect to the auxiliary layer and the first removal also results in local variations of the piezo layer thickness
                                                                    35 deposited on the bottom electrode. Since the resonant fre
   rate is greater than the second removal rate.
                                                                       quency of the BAW resonator, except for the material of the
           BRIEF DESCRIPTION OF THE DRAWINGS                           piezo layer, is basically given by the layer thickness of the
                                                                       piezo layer, the local variation of the electrode thickness
       Embodiments of the present invention will be explained in results in a widening of the series resonance of the BAW
   the following with reference to the accompanying drawings, 40 resonator, resulting in a considerable decrease in the series
   in which:                                                           quality of the BAW resonator.
       FIG. 1 shows a cross-sectional view of a device during             Therefore, there is a need to provide an improved method
   manufacturing according to an embodiment of the present for manufacturing, for example, a patterned bottom electrode
   invention;                                                          in a piezoelectric device.
       FIGS. 2a to 2e show conventional processing steps in 45 Hence, in the case of a BAW filter, this applies to the
   manufacturing;                                                      planarization of the lower electrode. The resonance frequen
       FIGS.3a to 3f show processing steps for a method accord cies are determined here by the Substrate stack, and a topol
   ing to a first embodiment of the present invention;                 ogy in the active area should thus be as planar as possible. It
       FIGS. 4a to 4f show process steps for a method according is of great significance that the planarization of the lower
   to a second embodiment;                                          50 electrode beas defined as possible, since it is important for the
       FIGS. 5a to 5h show processing steps for manufacturing a performance of the component that this layer is as planar as
   piezoelectric device; and                                           possible. In addition, no additional layers may exist between
       FIG. 6 shows an embodiment comprising a layer structure electrodes and piezo material. A slight variation of the Sub
   with a seed layer according to a further embodiment.                strate thickness results in a shift in the resonance frequency
       Before embodiments of the present invention are explained 55 leading to a reduced resonator quality, and to the excitation of
   on the basis of the drawings in greater detail in the following,    spurious modes.
   it is pointed out that like elements in the figures are provided       There are various technical approaches to leveling, for
   with the same or similar reference numerals, and that a             example, simple CMP. BPSG melt (BPSG=borophospho
   repeated description of these elements is omitted.                  silicate-glass), etc. These frequently fail to achieve the
                                                                    60 desired quality. In the case of simple CMP for example, said
         DETAILED DESCRIPTION OF ILLUSTRATIVE                          dishing occurs, and structures are attacked.
                           EMBODIMENTS                                    Embodiments of the present invention suggest protecting
                                                                       important layers by an extra layer or a substrate stack. The
       For many technologies, a defined planarization comprises structure to be created is hence protected with an auxiliary
   a critical influence on the quality of the component. It is thus 65 layer, which exhibits a high selectivity vis-a-vis the CMP
   important, for example, to achieve a defined end Substrate process employed. A layer or a Substrate stack is also possible
   thickness and/or the most planar Surface possible.                  here. Two fundamental principles are conceivable here:
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     (a) the auxiliary layers are again removed after planariza            This conventional procedure comprises a number of dis
   tion, or                                                             advantages, which result in an inhomogeneous layer. Open
      (b) the auxiliary layers remain at least partly on the struc ing of the planarization oxide causes the Surface of the elec
   ture.                                                                trode to be attacked during the etching process and oxidized
      Embodiments of the present invention therefore rely on a upon Subsequent removal of the resist. Depending on the
   selectivity of the auxiliary layer, vis-a-vis, with respect to the etching process, this leads to a smaller step in the area of the
   CMP process.                                                         oxide studs, and an oxidized electrode surface exhibits higher
      FIG. 1 shows a cross-section of a device manufactured             erosion during the subsequent CMP. Furthermore, the surface
   according to an embodiment. A layer structure 133 is is not evenly polished during the polishing process. This is
   arranged on a Substrate 100 over a region R. In addition, a 10 generally known as dishing 153. In the case of the BAW
   planarization layer 150 is arranged on the substrate 100 resonators, especially the center of the electrode Surface is
   essentially flush with the layer structure 133. On top of the more intensively polished here, and longer polishing does not
   layer structure 133, an auxiliary layer 140 is arranged to result in rounding-off of the edges. This leads to inhomoge
   protect the layer structure 133. According to embodiments of neous layers and thus to a deterioration in the quality of the
   the present invention, the auxiliary layer 140 comprises a 15 component. In addition, the process window here is relatively
   lower removal rate than the removal rate of planarization Small.
   layer 150 under a mechanical process to remove material. As             FIGS. 3a to 3fshow a first embodiment for processing a
   a consequence, in the process of mechanically removing, planarized surface for a device.
   more material is removed from the planarization layer 150               FIG.3a shows the layer structure 133 being arranged on the
   than is removed from the auxiliary layer 140. Thus, the aux substrate 100. In this first embodiment the auxiliary layer 140
   iliary layer 140 protects the layer structure 133 under the is arranged on the layer structure 133 prior to the structuring
   mechanical removing process, which may, for example, com of the layer structure 133.
   prise a CMP process. The removal rate can be defined as the             FIG. 3b shows as the next step the structuring of the layer
   amount of removed material per time unit (e.g., the decreased structure 133 together with the auxiliary layer 140. As result,
   layer thickness per second). The layer structure 133 may also 25 the layer structure 133 and the auxiliary layer 140 extend over
   be a layer sequence comprising different layers.                     the region R and are removed outside the region R exposing
      FIGS. 2a to 2e show a conventional process for planariza the substrate 100. The layer structure 133 together with the
   tion of a layer structure 133.                                       auxiliary layer 140, comprise a layer thickness 144. The
      FIG.2a shows a first step in which a layer structure 133 is region R may comprise, for example, later on the active area
   formed on the substrate 100.                                      30 of the resonator or the active region is inside the region R.
      FIG. 2b shows as next step, a structuring of the layer               FIG.3c shows the following step in which the planarization
   structure 133, so that the layer structure 133 covers a region R layer 150 is formed on the substrate 100 and the auxiliary
   on the substrate 100.                                                layer 140. The planarization layer 150 is arranged with an
      FIG.2c shows the following step, in which a planarization approximate thickness 144 and extends on both sides of the
   layer 150 is arranged on the substrate 100 and on the layer 35 region R along the substrate 100.
   structure 133. The planarization layer 150 comprises a layer            FIG. 3d shows the next step in which the auxiliary layer
   thickness, which corresponds approximately with the layer 140 is exposed along a region 170. The region 170 may, for
   thickness of the layer structure 133.                                example, again be smaller than the region R, so that a first and
      In a next step (FIG. 2d) the planarization layer 150 is a second stud 150a, 150b remains on top of the auxiliary layer
   removed over a further region 170, which is smaller, or inside 40 140. This removal can, for example, be performed by an
   the region R, so that the layer structure 133 is exposed over the etching step, in which the auxiliary layer 140 acts as an etch
   region 170. Since the further region 170 is smaller than the stop layer. As a result, a surface 180 of the auxiliary layer 140
   region R, the planarization layer 150 leaves a first stud 150a is exposed.
   and a second stud 150b on top of the layer structure 133. Both          FIG.3e shows the next step in which the studs 150a, 150b
   studs 150a and 150b may of course be connected along the 45 are removed and, in addition, also part of the planarization
   direction perpendicular to the drawing plane (not shown in layer 150 is removed on both sides of the region R. As a
   the figure).                                                         consequence, the planarization layer 150 comprises a layer
      In a last step (FIG. 2e) the studs 150a and 150b are thickness, which is by an amount 146 Smaller than thickness
   removed, which is performed by a mechanical polishing, Such 144 of the layer structure 133 together with the auxiliary layer
   as, for example, a CMP process. As a result of the CMP 50 140. The amount 146 is adjusted such that the thickness of the
   process, the studs 150a and 150b are removed leaving, on the auxiliary layer 140. As a result, a surface 185 of the planariza
   one hand a first and a second rounding-off 151a, 151b, at the tion layer 150 is exposed. The removal of the planarization
   edges of the layer structure 133, and on the other hand yield a layer 150 may comprise a mechanical process such as, for
   dishing 153 in the middle of the layer structure 133. The example, a CMP step and it is needed that the auxiliary layer
   dishing 153 may comprise, for example, a continuous recess 55 140 comprises a lower removal rate than the removal rate of
   such that the thickness of the layer structure 133 is smaller in the planarization layer 150 under the mechanical process.
   the middle than towards its edges. As a consequence, the layer          FIG. 3f shows as final step the removal of the auxiliary
   structure 133 does not exhibit a planar surface resulting in the layer 140. The result is a planar surface 190, along which the
   aforementioned disadvantages.                                        layer structure 133 is flush with the planarization layer 150 on
      In the context of the exemplarily BAW filter, this conven 60 both sides providing a highly planar surface 190. The removal
   tional planarization of the lower electrode can be rephrased as of the auxiliary layer 140 may differ from the mechanical
   follows. The layer structure 133 comprises electrode layers, process used in removing the planarization layer 150 so that
   which are deposited, structured, and the oxide (planarization the material of the auxiliary layer 140 is selectively removed.
   layer 150) is deposited (FIGS. 2a to 2c). This is opened in the         FIGS. 4a to 4f show another embodiment of the present
   area R of the electrodes (e.g., by an etching process) and the 65 invention.
   remaining oxide studs 150a, 150b at the edges of the elec               FIG. 4a shows again the starting point, wherein the layer
   trodes are then polished away (FIGS. 2d and 2e).                     structure 133 is arranged on the substrate 100.
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      As a next step, FIG. 4b shows a structuring of the layer               FIG.5e   shows  as next step the opening of the planarization
   structure 133, so that the layer structure 133 extends over a layer 150 along the region 170 so that the surface 180 of the
   region Rover the substrate 100.                                        auxiliary layer 140 is exposed. In case the opening region 170
      FIG. 4c shows the deposition of the auxiliary layer 140 on is Smaller than the region R, again a first stud 150a and a
   the layer structure 133 and the substrate 100. As a result, the 5 second stud 150b remain on top of the auxiliary layer 140.
   auxiliary layer 140 comprises a first part 14.0a extending over           FIG. 5fshows the step in which the studs 150a, 150b are
   the layer structure 133, and a second part 140b extending over removed. This process of removing may, for example, com
   the substrate 100. As a consequence, in this embodiment the prise a mechanical polishing, such that the surface 180 is flush
   layer structure 133 is between the substrate 100 and the first with a surface 185 of the planarization layer 150.
   part of the auxiliary layer 140a, and the second part of the 10 FIG.5g shows the next step, in which the auxiliary layer
   auxiliary layer 140b extends laterally on both sides of the 140 and part of the planarization layer 150 are removed such
   layer structure 133.                                                   that the second conductive layer 130 is exposed and forms
      FIG. 4d shows the next step in which the planarization together with the remaining planarization layer 150c a highly
   layer 150 is arranged on the first part 14.0a of the auxiliary planar surface 190.
   layer 140 and on the second part 140b of the auxiliary layer 15 FIG.5h shows as final step the deposition of a piezoelectric
   140. Again, the thickness of the planarization layer 150 may layer 200 on the highly planar surface 190. The layer structure
   be arranged such that the thickness of the layer structure 133         133 can be electrically connected to a controlling device (not
   corresponds approximately to the thickness of the planariza shown) so that it becomes a lower electrode for a piezoelectric
   tion layer 150.                                                        device. On top of the piezoelectric layer 200, a top electrode
      FIG. 4e shows as the next step the removal of the planariza- 20 may be arranged along the region Rin order to define a BAW
   tion layer 150 on top of the first part of the auxiliary layer device (not shown in FIG. 5h).
   140a and partly above the second part of auxiliary layer 140b             FIG. 6 shows a further embodiment, in which a remaining
   so that a remaining part of the planarization layer 150c part 140c of the auxiliary layer 140 is still present on the layer
   remains partly on the second part of the auxiliary layer 140b.         structure 133 arranged on the substrate 100. In this embodi
   As a result, a surface 180 of the first part of the auxiliary layer 25 ment, the auxiliary layer 140 may not be removed completely
   140a and a surface 185 of the planarization layer 150 is from the layer structure 133, but the remaining part 140c is
   exposed. The removal of the planarization layer 150 may left, which may act as a seed layer for the Subsequent layer
   again comprise a mechanical removing as, for example, a (e.g., the piezoelectric layer) to be deposited on it. Alterna
   CMP process and may be arranged in a manner that the tively, the seed layer 140c can also be an additional layer of
   remaining part of the planarization layer, together with the 30 different material formed between the auxiliary layer 140 and
   second part of the auxiliary part 140b, comprises a thickness the layer structure 133.
   157 which corresponds approximately with the thickness of                 According to this embodiment, on both sides of the seed
   the layer structure 133.                                               layer 140c, as well as the layer structure 133, remaining parts
      FIG. 4f shows as a final step the selective removal of the of the planarization layer 150c are flush with the seed layer
   first part of the auxiliary layer 140a, so that the remaining 35 140c. The seed layer 140c may, for example, comprise a
   parts 150c of the planarization layer 150 is flush with the layer material on which the remaining layers can be grown upon.
   structure 133 providing a highly planar surface 190. The For example, on amorphous Silicon a piezoelectric layer can
   second part of the auxiliary layer 140b remains between the be grown and hence may provide a possible choice for the
   substrate 100 and the remaining part of the planarization layer seed layer 140c. In order to obtain the layer structure 133 as
   15Oc.                                                               40 shown in FIG. 6, the process steps as shown in FIGS.3a to 3d
      The first embodiment as shown in FIG. 3 and the second              may be repeated with the difference that the planarization
   embodiment as shown in FIG. 4 may be applied to any layer layer 150 remains present laterally on both sides of the seed
   structure 133, which should be planarized or flush to a pla layer 140c. Alternatively, the process steps as shown in FIGS.
   narization layer 150. As a specific example, the layer structure 4a to 4d may also be repeated to obtain the structure as shown
   133 may comprise a lower electrode of a piezoelectric device 45 in FIG. 6, in which case, between the remaining parts 150c of
   and, in addition, may comprise a plurality of layers.                  the planarization layer 150 and the substrate 100, the second
      FIGS.5a to 5h show the example of a lower electrode or the part 140b of the auxiliary layer would be present.
   planarization of a lower electrode in more detail.                        The embodiments with (shown in FIG. 6) or without seed
      FIG. 5a shows a starting layer arrangement. The substrate layer 140c (shown in FIG. 4f or 3f) rely on the removal
   100 is arranged between a ground layer 102 and the layer 50 process of the protective layer 140. In case it can be optimized
   structure 133, wherein the layer structure 133 comprises two with respect to the electrode surface (the layer structure 133)
   layers, a first conductive layer 120, and a second conductive so that no attack occurs, the variant without the seed layer
   layer 130.                                                             140c may be preferred, especially as the seed layer 140c may
      FIG. 5b shows the next step in which the auxiliary layer have drawbacks with respect to the characteristics of the
   140 is arranged on top of the layer structure 133.                  55 resulting device. It cannot be completely ruled out that as a
      FIG. 5c once again shows the step in which the layer result of this process sequence the seed layer will change in its
   structure 133 together with the auxiliary layer 140, is struc structure and the growth of the piezoelectric layer may not be
   tured so that a region R, which again may comprise the active optimal.
   region of the resonator, is defined. This step may comprise a             If part of the auxiliary layer 140 remains at the seed layer
   lithographic process by using a mask layer.                         60 140c on the layer structure 133, the layer thickness should be
      As the next step (FIG. 5d) the planarization layer 150 is adjusted in a manner that the filter property, when, for
   arranged on the substrate 100 and on the auxiliary layer 140 example, being used within a BAW filter, is not significantly
   together with the layer structure 133. The substrate 100 and altered.
   the planarization layer 150 may comprise a same or similar                To summarize, the planarization described in the different
   material, in which case the layer structure 133 together with 65 embodiments make use of the auxiliary layer 140.
   the auxiliary layer 140 are embedded in the resulting com                 In the first embodiment, as shown in FIG. 3, the protective
   bined structure 150, 100.                                              layer 140 was applied to the electrode 133, which is still in an
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   unstructured form and structured in conjunction with the               If the layer sequence 133 becomes the bottom electrode the
   electrode 133. The planarization layer 150 (may comprise an         following materials may be arranged as layers. A first layer
   oxide) is then deposited, opened over the electrode surface         comprises, for example, aluminum, an intermediate layer
   180, and planarized with the aid of, for example, the CMP           comprising for example of titanium nitride, and a last layer
   process. The protective layer 140 is once again removed as          comprising, for example, of tungsten, which are arranged
   shown in FIG. 3, or a layer of protective layer is left on the      Such that the tungsten layer and the aluminum layer are
   electrode 133.                                                      arranged on both sides of the titanium nitride layer. The
      In the second embodiment (see FIG. 4) the protective layer tungsten layer is then the upper layer on which the auxiliary
   140 is deposited after structuring of the electrodes. Here, the layer 140 is arranged.
   planarization oxide 150 is subsequently deposited at a suit 10
   able thickness and planarized without opening the oxide 150           What is claimed is:
   over the region R. This variant provides the advantage of
   saving one photo technology step.                                      1. A method for manufacturing a device on a Substrate, the
      In order to achieve the desired result (highly planar surface method comprising:
   190), it is important to choose the material for the auxiliary 15 forming a layer structure on the Substrate;
   layer 140 appropriately. In conventional methods, the mate            forming an auxiliary layer on the layer structure;
   rial of the auxiliary layer 140 comprises silicon-nitrate, which      forming a planarization layer on the auxiliary layer and on
   however does not comprise the desired selectivity with                    the substrate;
   respect to the CMP process.                                           exposing the auxiliary layer and the planarization layer to
      Abetter material for the auxiliary layer 140 is, for example,          a chemical mechanical polishing process, wherein a top
   carbon. The use of carbon comprises the advantage that this               Surface of the planarization layer around the auxiliary
   material is very hard, and is scarcely attacked during the                layer is coplanar with a top surface of the layer structure
   planarization, i.e., it may serve as a CMP stop layer. In addi            after the chemical mechanical polishing process,
   tion, carbon is also very easy to remove. The amount of                   wherein the chemical mechanical polishing process
   carbon may, for example, be such that 10% to 60% or about 25              comprises a first removal rate with respect to the pla
   20% or about 50% or at least 90% of the auxiliary layer 140               narization layer and a second removal rate with respect
   is carbon. A possible means for removing the carbon should                to the auxiliary layer, and wherein the first removal rate
   not involve an oxygen environment, as the Surface of the                  is greater than the second removal rate; and
   electrode is oxidized when exposed to oxygen. This is impor            selectively removing the auxiliary layer to form a Substan
   tant especially for the embodiments, in which the protective 30           tially planar Surface of remaining auxiliary layer or of
   layer 140 is fully removed.                                               the layer structure and the planarization layer.
      In general, the materials are selected taking into account         2. The method of claim 1, wherein the first removal rate is
   the selectivity with respect to a CMP process. The ratio greater than 20 times the second removal rate.
   between the removal rates of the planarization layer 150 (first       3. The method of claim 2, wherein the first removal rate is
   removal rate) compared to the removal rate of the auxiliary 35 greater than 50 times the second removal rate.
   layer 140 (second removal rate) may comprise a value greater          4. The method of claim3, wherein the first removal rate is
   than 100:1, or greater than 50:1, or greater than 20:1. This greater than 100 times the second removal rate.
   means that the first removal rate is, for example, greater than       5. The method of claim 1, wherein the auxiliary layer
   100 times than the second removal rate, or the first removal        comprises carbon.
   rate is greater than 50 times the second removal rate, or the 40 6. The method of claim 1, wherein exposing the auxiliary
   first removal rate is greater than 20 times the second removal layer comprises exposing the auxiliary layer within a non
   rate. Such selectivity may be reached if the planarization oxidizing environment.
   layer 150 comprises, for example, silicon-Oxide, and the aux          7. The method of claim 6, wherein the non-oxidizing envi
   iliary layer 140 comprises said carbon.                             ronment comprises hydrogen or nitrogen-hydrogen.
      In addition, as said above, the auxiliary layer 140 should be 45 8. The method of claim 1, wherein exposing the auxiliary
   selectively removable from the layer structure 133, meaning layer comprises performing an etching step to expose a
   that the structure 133 to be protected will not be damaged by region, the chemical mechanical polishing process being per
   the removal of the auxiliary layer 140. For example, in order formed after the etching step.
   to remove the auxiliary layer 140, a non-oxidizable material          9. The method of claim 8, wherein at least partly removing
   may be used, and may for instance be performed within a 50 the planarization layer leaves Studs on the auxiliary layer and
   hydrogen Surrounding. If, for instance, the upper layer of wherein the chemical mechanical polishing process is per
   electrode material (second conductive layer 130) comprises formed such that the studs are removed.
   tungsten, nitrogen-hydrogen (NH2) may be used and if the               10. A method for manufacturing a lower electrode of a
   upper layer of the electrode comprises, for example, alumi piezoelectric device on a Substrate, the method comprising:
   num, also oxygen or hydrogen can be used.                        55   forming a layer structure on the Substrate, wherein the layer
      On the other hand, if the seed layer 140c is used (shown in            structure comprises a conductive material;
   FIG. 6) the seed layer 140c provides already a protection for         forming an auxiliary layer on the layer structure;
   the layer structure 133. For the seed layer 140c, an amorphous        forming a planarization layer on the auxiliary layer and on
   silicon layer may be used and may be deposited under a                    the substrate;
   carbon CMP stop layer (as auxiliary layer 140), and the 60 exposing a portion of the auxiliary layer,
   process carried out is as described above. After the removal of       applying a chemical-mechanical-polishing Such that the
   the carbon layer 140, the amorphous silicon layer 140c                    planarization layer comprises a smaller thickness than a
   remains behind. In a standard process this layer is likewise              layer thickness of both the auxiliary layer and the layer
   deposited on the electrode 133, and serves as a seed layer for            Structure,
   the piezoelectric layer. This variant would have the advantage 65 wherein, after the chemical-mechanical-polishing, the thick
   that the tungsten layer is already protected directly after the ness of the planarization layer is the same as a thickness of the
   deposition.                                                         layer structure; and
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                                                       US 8,999,187 B2
                                   9                                                                 10
     Selectively removing the auxiliary layer to form a Substan-         exposing the first part of the auxiliary layer by performing
        tially planar Surface of the auxiliary layer and the pla-          chemical-mechanical-polishing, wherein the chemical
        narization layer.                                                  mechanical-polishing comprises a first removal rate
     11. The method of claim 10, wherein the auxiliary layer               with respect to the planarization layer and a second
   comprises a material comprising a lower removal rate than a 5           removal rate with respect to the auxiliary layer and
   removal rate of the planarization layer with respect to the             wherein the first removal rate is greater than the second
                                                                           removal rate, wherein a thickness of the layer sequence
   chemical-mechanical-polishing                                           is about equal to a combined thickness of the remaining
     12. A method for manufacturing a device on a Substrate, the           planarization layer and the second part of the auxiliary
   method comprising:                                                      layer; and
     forming a layer sequence on the Substrate;                    10 removing the first part of the auxiliary layer from the layer
     structuring the layer sequence by exposing part of the                 sequence to form a Substantially planar Surface of the
        Substrate to define a region;                                      layer structure with the planarization layer.
     forming a first part of an auxiliary layer on the structured        13. The method of claim 12, wherein the first part of the
        layer sequence and a second part of the auxiliary layer on is auxiliary layer comprises carbon.
        the part of the substrate;                                       14. The method of claim 12, further comprising depositing
     forming a planarization layer on the first and second part of a layer on the Substantially planar Surface.
        the auxiliary layer,                                                                 k    .   .   .   .
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                         Exhibit A10
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                                                                                                      US009 1971.85B2


   (12) United States Patent                                                        (10) Patent No.:                  US 9,197,185 B2
          ZOu et al.                                                                (45) Date of Patent:                        Nov. 24, 2015

   (54) RESONATOR DEVICE INCLUDING                                                     USPC .......................... 3.10/346,363, 364, 365,366
          ELECTRODES WITH BURED                                                        See application file for complete search history.
          TEMPERATURE COMPENSATING LAYERS
                                                                               (56)                    References Cited
   (75) Inventors: Qiang Zou, Fort Collins, CO (US);
                   Zhiqiang Bi. Fort Collins, CO (US);                                         U.S. PATENT DOCUMENTS
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                  (US); Richard C. Ruby, Menlo Park,                                  4,456,850 A       6, 1984 Inoue et al.
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   (73) Assignee: Avago Technologies General IP                                       5,873,153 A       2/1999 Ruby et al.
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                  (Singapore) Pte. Ltd., Singapore (SG)
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   (*)    Notice:      Subject to any disclaimer, the term of this
                       patent is extended or adjusted under 35                              FOREIGN PATENT DOCUMENTS
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                                                                               JP               58156220             9, 1983
   (21) Appl. No.: 13/601,384
                                                                                                          (Continued)
   (22) Filed:     Aug. 31, 2012                                                                 OTHER PUBLICATIONS
   (65)                   Prior Publication Data
                                                                               Co-pending U.S. Appl. No. 13/168,101, filed Jun. 24, 2011.
          US 2013/OO49545A1           Feb. 28, 2013                                                       (Continued)
                Related U.S. Application Data
   (63) Continuation-in-part of application No. 12/769,791,                    Primary Examiner — ShawkiS Ismail
        filed on Apr. 29, 2010.                                                Assistant Examiner — Bryan Gordon
   (51)   Int. C.                                                              (57)                      ABSTRACT
          HO3H 9/17                (2006.01)                                   An acoustic resonator includes a substrate and a first compos
          HO3H3/04                 (2006.01)                                   ite electrode disposed over the substrate. The first composite
          HO3H 9/02                (2006.01)                                   electrode includes first and second electrically conductive
          HO3H 9/3                 (2006.01)                                   layers and a first temperature compensating layer disposed
   (52)   U.S. C.                                                              between the first and second electrically conductive layers.
          CPC ............. H03H3/04 (2013.01); H03H 9/02102                   The second electrically conductive layer forms a first electri
               (2013.01); H03H 9/131 (2013.01); H03H 9/173                     cal contact with the first electrically conductive layer on at
                            (2013.01); H03H 9/175 (2013.01)                    least one side of the first temperature compensating layer, and
   (58)   Field of Classification Search                                       the first electrical contact electrically shorts a first capacitive
          CPC ........ H03H3/04; H03H 9/131; H01L 41/053;                      component of the first temperature compensating layer.
                    H01L 41/047; H01L 41/0926; H01L 41/083:
                                                        HO1 L 41/39                            49 Claims, 11 Drawing Sheets




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                                         Fig. 2
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Case 1:21-cv-01417-JPM Document 101-1 Filed 08/30/22 Page 585 of 598 PageID #: 1512
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                                                       US 9, 197,185 B2
                                 1.                                                                 2
          RESONATORDEVICE INCLUDING                                   point even closer. This sets up a potential runaway situation,
            ELECTRODES WITH BURED                                     which is avoided only by the fact that the reflected power
       TEMPERATURE COMPENSATING LAYERS                                becomes large and the filter eventually settles at Some high
                                                                      temperature.
              CROSS-REFERENCE TO RELATED                                PAs are designed specifically to handle the worst case
                     APPLICATIONS                                    power handling of the filter at the corner of the pass band.
                                                                     Currents of a typical PA can run from a few mA at the center
      The present application is a continuation-in-part applica of the filter passband to about 380 mA-450 mA at the edges.
   tion under 37 C.F.R. S1.53(b) of commonly owned U.S. This is a huge power draw on the PA, as well as the battery that
   patent application Ser. No. 12/769,791 to Richard C. Ruby, et 10 drives the cellular phone. This is one reason that a cellular
   al., entitled “RESONATOR DEVICE INCLUDING ELEC                    phone operating more in the transmit mode (i.e., talk time)
   TRODE WITH BURIED TEMPERATURE COMPENSAT                           than in the receive mode (i.e., listening time) drains battery
   ING LAYER,” filed on Apr. 29, 2010. Applicants claim pri power more quickly.
   ority under 35 U.S.C. S 120 from U.S. patent application Ser.        In order to prevent or reduce rising temperatures, a known
   No. 12/769,791, and the entire disclosure of U.S. patent appli 15 filter may include a layer of oxide material within the piezo
   cation Ser. No. 12/769,791 is hereby incorporated by refer electric layer of the acoustic stack. The oxide material has a
   CCC.                                                              positive temperature coefficient, which at least partially off
                                                                     sets the negative temperature coefficients of the metal elec
                          BACKGROUND                                 trodes and the piezoelectric material, respectively. For
                                                                     example, the oxide material may be placed in the center of the
       Electrical resonators are widely incorporated in modern piezoelectric layer or at either end of the piezoelectric layer
   electronic devices. For example, in wireless communications between the electrodes. However, that the acoustic coupling
   devices, radio frequency (RF) and microwave frequency reso coefficient (kt) of the resonator is greatly compromised by
   nators are used as filters, such as ladder filters having electri the addition of oxide material to the piezoelectric layer. This
   cally connected series and shunt resonators formed in a ladder 25 is because the oxide material appears as a "dead capacitor in
   structure. The filters may be included in a duplexer, for series with the active piezoelectric material dielectric. Fur
   example, connected between a single antenna and a receiver ther, the oxide material may contaminate the piezoelectric
   and a transmitter for respectively filtering received and trans material. For example, when the piezoelectric material is
   mitted signals.                                                   aluminum nitride (AIN), the oxide material causes the AlN to
      Various types offilters use mechanical resonators, such as 30 become a chemical compound that includes oxygen (e.g.,
   bulk acoustic wave (BAW) resonators and surface acoustic AINO), which is a non-piezoelectric material, thus fur
   wave (SAW) resonators. The resonators generally convert ther degrading the acoustic coupling coefficient.
   electrical signals to mechanical signals or vibrations, and/or       What is needed, therefore, is a mechanical resonator that
   mechanical signals or vibrations to electrical signals. ABAW overcomes at least the deficiencies of known mechanical
   resonator, for example, is an acoustic stack that generally 35 resonators described above.
   includes a layer of piezoelectric material between two elec
   trodes. Acoustic waves achieve resonance across the acoustic                                SUMMARY
   stack, with the resonant frequency of the waves being deter
   mined by the materials in the acoustic stack and the thickness        In a representative embodiment, an acoustic resonator
   of each layer (e.g., piezoelectric layer and electrode layers). 40 includes a Substrate and a first composite electrode disposed
   One type of BAW resonator includes a piezoelectric film as over the substrate. The first composite electrode includes first
   the piezoelectric material, which may be referred to as a film and second electrically conductive layers and a first tempera
   bulk acoustic resonator (FBAR). FBARs resonate at GHz ture compensating layer disposed between the first and sec
   frequencies, and are thus relatively compact, having thick ond electrically conductive layers. The second electrically
   nesses on the order of microns, and length and width dimen 45 conductive layer forms a first electrical contact with the first
   sions of hundreds of microns.                                      electrically conductive layer on at least one side of the first
      Resonators may be used as band-pass filters with associ temperature compensating layer, and the first electrical con
   ated passbands providing ranges of frequencies permitted to tact electrically shorts a first capacitive component of the first
   pass through the filters. The passbands of the resonator filters temperature compensating layer. The acoustic resonator also
   tend to shift in response to environmental and operational 50 includes a piezoelectric layer disposed over the first compos
   factors, such as changes in temperature and/or incident ite electrode, and a second composite electrode disposed over
   power. For example, the passband of a resonator filter moves the piezoelectric layer. The second composite electrode
   lower in frequency in response to rising temperature and includes third and fourth electrically conductive layers and a
   higher incident power.                                             second temperature compensating layer disposed between
      Cellular phones, in particular, are negatively affected by 55 the third and fourth electrically conductive layers. The fourth
   shifts in passband due to fluctuations in temperature and electrically conductive layer forms a second electrical contact
   power. For example, a cellular phone includes power ampli with the third electrically conductive layer on at least one side
   fiers (PAs) that must be able to deal with larger than expected of the second temperature compensating layer, and the sec
   insertion losses at the edges of the filter (duplexer). As the ond electrical contact electrically shorts a second capacitive
   filter passband shifts down in frequency, e.g., due to rising 60 component of the second temperature compensating layer.
   temperature, the point of maximum absorption of power in The acoustic resonator also includes an acoustic reflector
   the filter, which is designed to be above the passband, moves disposed beneath the first composite electrode.
   down into the frequency range of the FCC or government                In another representative embodiment, an acoustic resona
   designated passband. At this point, the filter begins to absorb tor device includes an acoustic resonator including a Sub
   more power from the PA and heats up, causing the tempera 65 strate, and a first composite electrode disposed over the Sub
   ture to increase further. Thus, the filter passband shifts down strate. The first composite electrode includes first and second
   in frequency more, bringing the maximum filter absorbing electrically conductive layers and a first temperature compen
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                                                       US 9, 197,185 B2
                                   3                                                                  4
   sating layer disposed between the first and second electrically the view in the drawings, an element described as “vertical.”
   conductive layers. The acoustic resonator also includes a for example, would now be “horizontal.”
   piezoelectric layer disposed over the first composite elec            Aspects of the present teachings are relevant to compo
   trode, the piezoelectric layer having a thickness, and a second nents of BAW and FBAR devices and filters, their materials
   composite electrode disposed over the piezoelectric layer. 5 and their methods of fabrication. Various details of such
   The second composite electrode includes third and fourth devices and corresponding methods of fabrication may be
   electrically conductive layers and a second temperature com found, for example, in one or more of the following U.S.
   pensating layer disposed between the third and fourth elec patent publications: U.S. Pat. No. 6,107,721, to Lakin; U.S.
   trically conductive layers. The acoustic resonator also Pat. Nos. 5,587,620, 5,873,153, 6,507,983, 7,388,454 and
   includes an acoustic reflector disposed beneath the first com 10 7,629,865 to Ruby et al.: U.S. Pat. No. 7,280,007 to Hongjun
   posite electrode. The first and second composite electrodes Fenget al.; U.S. Pat. No. 8,248,185 to Choy, et al.; U.S. Patent
   are symmetrically disposed about an axis of symmetry pass Application Pub. No. 20070205850 to Jamneala et al.; and
   ing Substantially along a center of the thickness of the piezo U.S. Patent Application Pub. No. 20100327994 to Choy, et al.
   electric layer.                                                    The disclosures of these patents and published patent appli
                                                                   15 cations are hereby incorporated by reference. It is emphasized
          BRIEF DESCRIPTION OF THE DRAWINGS                           that the components, materials and method of fabrication
                                                                      described in these patents and patent applications are repre
      The example embodiments are best understood from the sentative and other methods of fabrication and materials
   following detailed description when read with the accompa within the purview of one of ordinary skill in the art are
   nying drawing figures. It is emphasized that the various fea contemplated.
   tures are not necessarily drawn to Scale. In fact, the dimen          According to various embodiments, a resonator device has
   sions may be arbitrarily increased or decreased for clarity of an acoustic stack with a piezoelectric layer between top and
   discussion. Wherever applicable and practical, like reference bottom composite electrodes, both of which have a tempera
   numerals refer to like elements.                                   ture compensating layer deposited between electrically con
      FIG. 1 is a cross-sectional diagram illustrating an acoustic 25 ductive layers, which may be referred to as a base electrode
   resonator device according to a representative embodiment.         layer and a conductive interposer layer. Each of the tempera
      FIG. 2 shows a graph comparing frequency response of a ture compensating layers may be formed of polycrystalline
   known acoustic resonator and an acoustic resonator in accor        silicon or an oxide material. Such as boron silicate glass
   dance with a representative embodiment.                            (BSG), for example, having a positive temperature coefficient
      FIGS. 3A-3G are cross-sectional diagrams depicting an 30 which offsets at least a portion of the negative temperature
   illustrative fabrication sequence of an acoustic resonator coefficients of the piezoelectric layer and the conductive
   device according to a representative embodiment.                   material in the top and bottom composite electrodes. The
      FIG. 4 is a cross-sectional diagram illustrating an acoustic conductive interposer layer thus makes a DC electrical con
   resonator device according to another representative embodi nection with the electrode layer in each of the top and bottom
   ment.                                                           35 composite electrodes, effectively shorting out capacitive
      FIGS. 5A-5E are cross-sectional diagrams depicting an components of the respective temperature compensating lay
   illustrative fabrication sequence of an acoustic resonator ers and increasing coupling coefficient kt of the resonator
   device according to a representative embodiment.                   device. Also, the conductive interposers, which are posi
                                                                      tioned between the temperature compensating layers and the
                    DETAILED DESCRIPTION                           40 piezoelectric layer, present barriers preventing oxygen, for
                                                                      example, from diffusing into the piezoelectric material of the
      In the following detailed description, for purposes of piezoelectric layer.
   explanation and not limitation, representative embodiments            FIG. 1 is a cross-sectional view of a BAW resonator device,
   disclosing specific details are set forth in order to provide a and more particularly, an FBAR in the depicted illustrative
   thorough understanding of the present teachings. However, it 45 configuration, which includes composite electrodes having
   will be apparent to one having ordinary skill in the art having buried temperature compensating layers, according to a rep
   had the benefit of the present disclosure that other embodi resentative embodiment.
   ments according to the present teachings that depart from the         Referring to FIG. 1, acoustic resonator device 100 includes
   specific details disclosed herein remain within the scope of acoustic stack 105 formed on substrate 110. The substrate 110
   the appended claims. Moreover, descriptions of well-known 50 may be formed of various types of semiconductor materials
   apparatuses and methods may be omitted so as to not obscure compatible with semiconductor processes, such as silicon
   the description of the representative embodiments. Such (Si), gallium arsenide (GaAs), indium phosphide (InP), or the
   methods and apparatuses are clearly within the scope of the like, which is useful for integrating connections and electron
   present teachings.                                                 ics, thus reducing size and cost. In the depicted embodiment,
      Generally, it is understood that the drawings and the vari 55 the substrate 110 includes an acoustic reflector, indicated by
   ous elements depicted therein are not drawn to scale. Further, representative cavity 115 in the depicted embodiment,
   relative terms, such as “above,” “below,” “top,” “bottom.” formed beneath the acoustic stack 105 to provide acoustic
   “upper,” “lower,” “left,” “right,” “vertical” and “horizontal.” isolation. The acoustic stack 105 is suspended over an air
   are used to describe the various elements relationships to one space formed by the cavity 115 to enable mechanical move
   another, as illustrated in the accompanying drawings. It is 60 ment. In alternative embodiments, the substrate 110 may be
   understood that these relative terms are intended to encom         formed with no cavity 115, for example, using surface
   pass different orientations of the device and/or elements in mounted resonator (SMR) technology. For example, the
   addition to the orientation depicted in the drawings. For acoustic stack 105 may be formed over an acoustic mirror or
   example, if the device were inverted with respect to the view a Bragg Reflector (not shown) formed on or in the substrate
   in the drawings, an element described as “above' another 65 110. The acoustic mirror or Bragg Reflector may have alter
   element, for example, would now be “below” that element. nating layers of high and low acoustic impedance materials.
   Likewise, if the device were rotated 90 degrees with respect to An acoustic mirror may be fabricated according to various
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                                                       US 9, 197,185 B2
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   techniques, an example of which is described in U.S. Pat. No. “shorts' out a capacitive component of the buried first tem
   7.358,831 to Larson, III, et al., which is hereby incorporated perature compensating layer 124, thus increasing a coupling
   by reference.                                                      coefficient (kt) of the acoustic resonator device 100. In addi
      The acoustic stack 105 includes piezoelectric layer 130 tion, the second electrically conductive layer 126 provides a
   formed between first composite electrode 120 and second barrier between the buried first temperature compensating
   composite electrode 140. The first composite electrode 120 layer 124 and the piezoelectric layer 130, e.g., preventing
   includes a first base electrode layer or first electrically con oxygen from diffusing into the piezoelectric layer 130 when
   ductive layer 122, a buried first temperature compensating the buried first temperature compensating layer 124 contains
   layer 124, and a second conductive interposer layer or second OXygen.
   electrically conductive layer 126, stacked sequentially on the 10 Also, in the depicted embodiment, the buried first tempera
   substrate 110 over the cavity 115. The first and second elec ture compensating layer 124 has tapered edges 124a, which
   trically conductive layers 122 and 126 are formed of electri enhance the DC electrical connection between the second
   cally conductive materials, such as various metals compatible electrically conductive layer 126 and the first electrically
   with semiconductor processes, including tungsten (W), conductive layer 122. In addition, the tapered edges 124a
   molybdenum (Mo), aluminum (Al), platinum (Pt), ruthenium 15 enhance the mechanical connection between the second elec
   (Ru), niobium (Nb), or hafnium (Hf), for example.                  trically conductive layer 126 and the first electrically conduc
      In various embodiments, the first electrically conductive tive layer 122, which improves the sealing quality, e.g., for
   layer 122 and the second electrically conductive layer 126 are preventing oxygen in the buried first temperature compensat
   formed of different conductive materials, where the first elec     ing layer 124 from diffusing into the piezoelectric layer 130.
   trically conductive layer 122 is formed of a material having In alternative embodiments, the edges of the buried first tem
   relatively lower conductivity and relatively higher acoustic perature compensating layer 124 are not tapered, but may be
   impedance, and the second electrically conductive layer 126 Substantially perpendicular to the top and bottom Surfaces of
   is formed of a material having relatively higher conductivity the buried first temperature compensating layer 124, for
   and relatively lower acoustic impedance. For example, the example, without departing from the scope of the present
   first electrically conductive layer 122 may be formed of W 25 teachings.
   and the second electrically conductive layer 126 may be               The piezoelectric layer 130 is formed on the top surface of
   formed of Mo, although other materials and/or combinations the second electrically conductive layer 126. The piezoelec
   of materials may be used without departing from the scope of tric layer 130 may be formed of a thin film piezoelectric
   the present teachings. Further, in various embodiments, the compatible with semiconductor processes, such as aluminum
   first electrically conductive layer 122 and the second electri 30 nitride (AIN), Zinc oxide (ZnO), lead zirconium titanate
   cally conductive layer 126 may be formed of the same con (PZT), or the like. The thickness of the piezoelectric layer 130
   ductive material, without departing from the scope of the may range from about 1000 A to about 100,000 A, for
   present teachings.                                                 example, although the thickness may vary to provide unique
      The buried first temperature compensating layer 124 is benefits for any particular situation or to meet application
   formed between the first electrically conductive layer 122 and 35 specific design requirements of various implementations, as
   the second electrically conductive layer 126. The buried first would be apparent to one of ordinary skill in the art. In an
   temperature compensating layer 124 is therefore separated or embodiment, the piezoelectric layer 130 may be formed on a
   isolated from the piezoelectric layer 130 by the second elec seed layer (not shown) disposed overan upper Surface the first
   trically conductive layer 126, and is otherwise sealed in by the composite electrode 120. For example, the seed layer may be
   connection between the second electrically conductive layer 40 formed of Al to foster growth of an AlN piezoelectric layer
   126 and the first electrically conductive layer 122. Accord        130. The seed layer may have a thickness in the range of about
   ingly, the buried first temperature compensating layer 124 is 50 A to about 5000 A, for example.
   effectively buried within the first composite electrode 120.          The second composite electrode 140 is formed on the top
   The buried first temperature compensating layer 124 may be surface of the piezoelectric layer 130. The second composite
   formed of various materials compatible with semiconductor 45 electrode 140 includes a second conductive interposer layer
   processes, including polycrystalline silicon, boron silicate or third electrically conductive layer 142, a buried second
   glass (BSG), silicon dioxide (SiO), chromium (Cr) or tellu temperature compensating layer 144, and a second base elec
   rium oxide (Te0), for example, which have positive tem trode layer or fourth electrically conductive layer 146,
   perature coefficients. The positive temperature coefficient of stacked sequentially on the piezoelectric layer 130. The third
   the buried first temperature compensating layer 124 offsets 50 and fourth electrically conductive layers 142 and 146 are
   negative temperature coefficients of other materials in the formed of electrically conductive materials. Such as various
   acoustic stack 105, including the piezoelectric layer 130, the metals compatible with semiconductor processes, including
   second composite electrode 140, the first electrically conduc W. Mo, Al, Pt, Ru, Nb, or Hf, for example. In various embodi
   tive layer 122 and the second electrically conductive layer ments, the third electrically conductive layer 142 and the
   126 of the first composite electrode 120.                       55 fourth electrically conductive layer 146 are formed of differ
      As shown in the embodiment of FIG. 1, the buried first          ent conductive materials, where the fourth electrically con
   temperature compensating layer 124 does not extend the full ductive layer 146 is formed of a material having relatively
   width of the acoustic stack 105. Thus, the second electrically lower conductivity and relatively higher acoustic impedance,
   conductive layer 126, which is formed on the top and side and the third electrically conductive layer 142 is formed of a
   Surfaces of the buried first temperature compensating layer 60 material having relatively higher conductivity relatively
   124, contacts the top surface of the first electrically conduc lower acoustic impedance. For example, the fourth electri
   tive layer 122, as indicated for example by reference numerals cally conductive layer 146 may be formed of W and the third
   128 and 129. Therefore, DC electrical connections are              electrically conductive layer 142 may be formed of Mo,
   formed between the second electrically conductive layer 126 although other materials and/or combinations of materials
   and the first electrically conductive layer 122. By DC electri 65 may be used without departing from the scope of the present
   cally connecting with the first electrically conductive layer teachings. Further, in various embodiments, the third electri
   122, the second electrically conductive layer 126 effectively cally conductive layer 142 and the fourth electrically conduc
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                                                       US 9, 197,185 B2
                                   7                                                               8
   tive layer 146 may beformed of the same conductive material,         For example,  FIG.  2 shows a graph comparing frequency
   without departing from the scope of the present teachings. response of a known acoustic resonator and an acoustic reso
   The third and fourth electrically conductive layers 142 and nator inaccordance with a representative embodiment. Refer
   146 may beformed of the same or different materials than the ring to FIG. 2, the horizontal axis depicts frequency in MHz
   first and second electrically conductive layers 122 and 126 of 5 and the vertical axis depicts impedance in Ohms.
   the first composite electrode 120, without departing from the        Trace 210 shows the frequency response of an acoustic
   Scope of the present teachings.                                   resonator having one composite electrode. Trace 210 includes
      The buried second temperature compensating layer 144 is a first mode 211 at about 1500 MHz (corresponding to reso
   formed between the third electrically conductive layer 142 nate frequency) and a second overtone spurious mode 212 at
   and the fourth electrically conductive layer 146. The buried 10 about 3500 MHz. In comparison, trace 220 shows the fre
   second temperature compensating layer 144 is therefore quency response of an acoustic resonator having two com
   separated or isolated from the piezoelectric layer 130 by the posite electrodes, such as acoustic resonator device 100,
   third electrically conductive layer 142. Accordingly, the bur according to a representative embodiment. Like trace 210,
   ied second temperature compensating layer 144 is effectively trace 220 includes a first mode at about 1500 MHz (corre
   buried within the second composite electrode 140, with the 15 sponding to resonate frequency) and a second overtone spu
   exception of an exposed outer edge, discussed below. The rious mode 222 at about 3500 MHz. However, the second
   buried second temperature compensating layer 144 may be overtone spurious mode 222 has been significantly Sup
   formed of various materials compatible with semiconductor pressed (minimized). The trace 220 also includes higher order
   processes, including polycrystalline silicon, BSG, SiO, Cror spurious mode 223 that occurs at about 5600 MHz, not seen
   TeO for example, which have positive temperature coeffi in the trace 210. However, this frequency is well outside the
   cients. The positive temperature coefficient of the buried sec frequency band of interest, and therefore does not negatively
   ond temperature compensating layer 144 further offsets nega impact operation of the acoustic resonator device 100.
   tive temperature coefficients of other materials in the acoustic     Generally, the more precisely symmetrical the acoustic
   stack 105, including the piezoelectric layer 130, the first stack 105 is about the horizontal axis 109, the better the
   composite electrode 120, and the third and fourth electrically 25 Suppression of the second overtone spurious mode 222, and
   conductive layers 142 and 146 of the second composite elec ultimately, the better the performance of the acoustic resona
   trode 140.                                                        tor device 100 of the representative embodiment.
      As shown in the embodiment of FIG. 1, the second com              Referring again to FIG. 1, the fourth electrically conduc
   posite electrode 140 has a connection edge 141 and a non tive layer 146, which is formed on the top surface of the buried
   connection edge 143. The connection edge 141 is on a side of 30 second temperature compensating layer 144, contacts the top
   the second composite electrode 140 configured to electrically surface of the third electrically conductive layer 142, as indi
   connect to circuitry (not shown) to provide electrical signals cated for example by reference numeral 148. Therefore, a DC
   to and/or from the acoustic resonator device 100. Also, a         electrical connection is formed between the third electrically
   portion of the second composite electrode 140 extending conductive layer 142 and the fourth electrically conductive
   toward the connection edge 141 includes bridge 150 over air 35 layer 146. By DC electrically connecting with the third elec
   gap 155. The bridge 150 is formed between the top surface of trically conductive layer 142, the fourth electrically conduc
   the piezoelectric layer 130 and the bottom surface of the tive layer 146 effectively “shorts out a capacitive component
   second composite electrode 140 (more particularly, the bot of the buried second temperature compensating layer 144,
   tom surface of the third electrically conductive layer 142). thus further increasing the coupling coefficient (kt) of the
   The acoustic stack 105 includes an active area 108, indicated 40 acoustic resonator device 100. In addition, the third electri
   by dashed lines. The active area 108 is terminated at the          cally conductive layer 142 provides a barrier between the
   beginning of the bridge 150 and at the non-connection edge         buried second temperature compensating layer 144 and the
   143 of the second composite electrode 140. The bridge 150          piezoelectric layer 130, e.g., preventing oxygen from diffus
   effectively separates a dead resonator area of the acoustic        ing into the piezoelectric layer 130 when the buried second
   resonator device 100 from the active area 108. It is noted that 45 temperature compensating layer 144 contains oxygen. In the
   although the bridge 150 provides improved performance to depicted embodiment, the fourth electrically conductive layer
   the acoustic resonator device 100 (see for example the above       146 does not connect with the third electrically conductive
   referenced patent and patent application to Choy, et al.), the layer 142 at the non-connection edge 143 of the second com
   bridge 150 is not essential to the acoustic resonator device posite electrode 140. Accordingly, an edge portion of the
   100, and the present teachings contemplate acoustic resona 50 buried second temperature compensating layer 144 is
   tors that do not include the bridge 150.                           exposed.
      The acoustic stack 105 within the active area 108 is sub           Also, in the depicted embodiment, the buried second tem
   stantially symmetrical about horizontal axis 109, which perature compensating layer 144 has tapered edge 144a.
   passes Substantially along the center of a thickness of the which enhances the DC electrical connection between the
   piezoelectric layer 130. Notably, various factors such as 55 third and fourth electrically conductive layers 142 and 146. In
   manufacturing processes and application of seeding, mass addition, the tapered edge 144a enhances the mechanical
   loading and/or passivation layers (discussed below) may connection between the fourth electrically conductive layer
   cause slight differences in structure on either side of the 146 and the third electrically conductive layer 142. In alter
   horizontal axis 109, such that the acoustic stack 105 may not native embodiments, the edges of the buried second tempera
   be precisely symmetrical about the horizontal axis 109. Gen 60 ture compensating layer 144 are not tapered, but may be
   erally, though, the acoustic stack 105 within the active area Substantially perpendicular to the top and bottom Surfaces of
   108 is more symmetrical than in a resonator device having the buried second temperature compensating layer 144, for
   only one composite electrode. As a result of the improved example, without departing from the scope of the present
   symmetry, negative effects of the second overtone are teachings.
   reduced or minimized in acoustic resonators according to the 65 The second composite electrode 140 may further include a
   present teachings (e.g., acoustic resonator device 100) com passivation layer (not shown) on a top Surface, which may be
   pared to a known acoustic resonator.                               formed of various types of materials, including AlN, silicon
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                                                        US 9, 197,185 B2
                                    9                                                              10
   carbide (SiC), BSG, Si, SiN. polysilicon, and the like. The        Generally, the thickness and location of each of the buried
   thickness of the passivation layer must be sufficient to insu   first and second temperature compensating layers 124 and
   late all layers of the acoustic stack 105 from the environment, 144 inside the first and second composite electrodes 120 and
   including protection from moisture, corrosives, contami         140 should be optimized, in order to maximize the coupling
   nants, debris and the like. The first and second composite      coefficient for an allowable linear temperature coefficient.
   electrodes 120 and 140 may be electrically connected to         This optimization may be accomplished, for example, by
   external circuitry via contact pads (not shown), which may be   modeling an equivalent circuit of the acoustic stack 105 using
   formed of a conductive material. Such as gold, gold-tin alloy   a Mason model and adjusting the buried first and second
   or the like.                                                    temperature compensating layers 124 and 144, and adding
                                                                10 more material to the second and third electrically conductive
      In an embodiment, an overall first thickness of the first
   composite electrode 120 is substantially the same as an over layers     126 and 142 and removing material from the first and
   all second thickness of the second composite electrode 140, fourth
                                                                   overall
                                                                           electrically conductive layers 122 and 146, so the
                                                                            thicknesses of the first and second composite elec
   as shown in FIG. 1. For example, the thickness of each of the trodes 120    and 140 remain constant, as would be apparent to
   first and second composite electrodes 120 and 140 may range 15 one of ordinary    skill in the art. An algorithm may be devel
   from about 600 A to about 30000 A, although the thicknesses oped to optimize the depth of the buried first and second
   may vary to provide unique benefits for any particular situa temperature compensating layers 124 and 144 in light of the
   tion or to meet application specific design requirements of trade-off between the temperature coefficient and the cou
   various implementations, as would be apparent to one of pling coefficient, for example, using a multivariate optimiza
   ordinary skill in the art.                                      tion technique, Such as a Simplex method, as would be appar
      The multiple layers of each of the first and second com ent to one of ordinary skill in the art. In addition, the depth of
   posite electrodes 120 and 140 also have corresponding thick the buried first and second temperature compensating layers
   nesses. For example, the thickness of the first and fourth 124 and 144 may be limited by various constraints, such as
   electrically conductive layers 122 and 146 may range from minimum necessary coupling coefficient and maximum
   about 400 A to about 29,900 A, the thickness of the buried 25 allowable temperature coefficient. Likewise, the thicknesses
   first and second temperature compensating layers 124 and of the buried first and second temperature compensating lay
   144 may range from about 100 A to about 5000 A, and the ers 124 and 144 may adjusted to provide the optimal coupling
   thickness of second and third electrically conductive layers coefficient and a minimum overall temperature coefficient of
   126 and 142 may range from about 100 A to about 10000 A.            the acoustic resonator device 100.
   Each of the layers of the first and second composite electrodes 30 According to various embodiments, the resonator device
   120 and 140 may be varied to produce different characteris may be fabricated using various techniques compatible with
   tics with respect to temperature coefficients and coupling semiconductor processes. A non-limiting example of a fabri
   coefficients, while the overall thicknesses of the first and         cation process directed to representative acoustic resonator
   second composite electrodes 120 and 140 remain substan device 100 is discussed below with reference to FIGS.
   tially the same. For example, the thicknesses of the buried first 35 3A-3G, which are cross-sectional views of a BAW resonator
   and second temperature compensating layers 124 and 144 device in various stages of the fabrication process, according
   may be varied to affect the overall temperature coefficient of to a representative embodiment.
   the acoustic stack 105, and the relative thicknesses of the first       FIG.3A shows substrate 110 defining cavity 115, and first
   through fourth electrically conductive layers 122, 126, 142 electrically conductive layer 122 is applied to a top surface of
   and 146 may be varied to affect the overall coupling coeffi 40 the substrate 110. In the depicted embodiment, the cavity 115
   cient of the acoustic resonator device 100.                          is formed in the substrate 110 and is initially filled with a
      For example, thicknesses of the first through fourth elec sacrificial material 117, such as phosphosilicate glass (PSG)
   trically conductive layers 122, 126, 142 and 146 may be or polysilicon, which is released using a suitable etchant later
   varied in order to “sink’ the respective buried first and second in the fabrication process, e.g., after application of the layers
   temperature compensating layers 124 and 144 deeper into the 45 of the acoustic stack 105, as would be apparent to one of
   corresponding first and second composite electrodes 120 and ordinary skill in the art. In alternative configurations, the
   140 (i.e., moved further away from the piezoelectric layer cavity 115 may pass through the substrate 110 to form a
   130). That is, while the overall thicknesses of the first and backside opening, which may beformed by back side etching
   second composite electrodes 120 and 140 remain substan a bottom surface of the substrate 110. The back side etching
   tially the same, the thicknesses of the second and third elec 50 may include a dry etch process, such as a Bosch process, for
   trically conductive layers 126 and 142 (the conductive inter example, although various alternative techniques may be
   poser layers) may be increased and the first and fourth incorporated. The cavities may be formed by a number of
   electrically conductive layers 122 and 146 (the base electrode known methods, examples of which are described in U.S. Pat.
   interposer layers) may be decreased, such that the buried first No. 6,384,697 to Ruby et al., which is hereby incorporated by
   and second temperature compensating layers 124 and 144 55 reference.
   become buried more deeply within the first and second com               Alternatively, an acoustic isolator, Such as an acoustic mir
   posite electrodes 120 and 140, respectively. Also, the thick ror or Bragg Reflector, may be included in or formed on a top
   nesses of the buried first and second temperature compensat surface of the substrate 110, rather than the cavity 115. Such
   ing layers 124 and 144 can be targeted to be thicker (as they acoustic isolator may beformed using any technique compat
   are buried more deeply) to help maintain, or minimize, the 60 ible with semiconductor processes before forming the acous
   linear temperature coefficient. For example, burying the bur tic stack 105, as would be apparent to one of ordinary skill in
   ied first and second temperature compensating layers 124 and the art. Examples of fabricating acoustic mirrors for a reso
   144 more deeply causes the coupling coefficient of the acous nator device are described in U.S. Patent App. Pub. No. 2011/
   tic resonator device 100 to be relatively greater (at the 012 1916 to Barber et al., which is hereby incorporated by
   expense of worsening temperature coefficient), while thick 65 reference.
   ening the buried first and second temperature compensating              In an embodiment, the substrate 110 is formed of Siand the
   layers 124 and 144 improves the temperature coefficient.             first electrically conductive layer 122 is formed of W, for
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                                                        US 9, 197,185 B2
                                   11                                                                   12
   example, although different materials may be used, as dis left side to form the desired shape and size as depicted in FIG.
   cussed above, without departing from the scope of the present 3C. The mask is then removed. As discussed above, any
   teachings. The first electrically conductive layer 122 may be masking and etching technique compatible with semiconduc
   applied using spin-on, Sputtering, evaporation, physical tor processes may be incorporated, as would be apparent to
   vapor deposition (PVD) or chemical vapor disposition (CVD) one of ordinary skill in the art.
   techniques, for example, although other application methods              In an alternative embodiment, an interim seed layer (not
   may be incorporated.                                                  shown) is formed on the top surface of the buried first tem
      Referring to FIG. 3B, buried first temperature compensat perature compensating layer 124 before the buried first tem
   ing layer 124 is formed on a top surface of the first electrically perature compensating layer 124 is etched. The interim seed
   conductive layer 122. In an embodiment, the buried first 10 layer may be formed of the same piezoelectric material as the
   temperature compensating layer 124 is formed of polycrys piezoelectric layer 130, such as AlN, for example. The interim
   talline silicon, for example, although different materials may seed layer may be formed to a thickness of about 300 A, for
   be used, as discussed above, without departing from the scope example, and reduces or minimizes oxide diffusion from the
   of the present teachings. The buried first temperature com buried first temperature compensating layer 124 into the
   pensating layer 124 may be applied using spin-on, Sputtering, 15 piezoelectric layer 130. Outer portions of the interim seed
   evaporation, PVD or CVD techniques, for example, although layer are removed by etching, along with the etched portions
   other application methods may be incorporated. Various illus of the buried first temperature compensating layer 124, to
   trative techniques for forming temperature compensating lay expose portions of the top surface of the first electrically
   ers are described, for example, in U.S. Pat. No. 7,561,009 to conductive layer 122, so that the first electrically conductive
   Larson, III, et al., which is hereby incorporated by reference. layer 122 is able to make an electrical connection between
      A mask pattern (not shown) is then applied to the buried with the second electrically conductive layer 126. In other
   first temperature compensating layer 124, which is then words, after etching, the interim seed layer covers only the top
   etched to the desired size as depicted in FIG. 3B. This Surface of the buried first temperature compensating layer
   includes formation of the tapered edges 124a, discussed 124, so that it is positioned between the buried first tempera
   above. For example, a photoresist layer (not shown) may be 25 ture compensating layer 124 and the second electrically con
   applied to the top surface of the buried first temperature ductive layer 126.
   compensating layer 124 and patterned to form a mask or                   Referring to FIG. 3D, the piezoelectric layer 130 is formed
   photoresist pattern, using any phostoresist patterning tech on a top Surface of the second electrically conductive layer
   nique compatible with semiconductor processes, as would be 126, which is also the top surface of the first composite
   apparent to one of ordinary skill in the art. The photoresist 30 electrode 120. The piezoelectric layer 130 is formed of AlN,
   pattern may be formed by machining or chemically etching for example, although different materials may be used, as
   the photoresist layer using photolithography, although vari discussed above, without departing from the scope of the
   ous alternative techniques may be incorporated. Following present teachings. The piezoelectric layer 130 may be applied
   etching of the buried first temperature compensating layer using a sputtering technique, for example, although other
   124, the photoresist pattern is removed, for example, by 35 application methods may be incorporated. For example, the
   chemically releasing or etching using a wet etch process piezoelectric layer 130 may be grown from a seed layer, as
   including HF etch solution, although the photoresist pattern discussed above, according to various techniques compatible
   may be removed by various other techniques, without depart with semiconductor processes.
   ing from the scope of the present teachings.                             The second composite electrode 140 is formed on a top
      In various embodiments, to obtain the tapered edges 124a, 40 surface of the piezoelectric layer 130, as described below.
   oxygen is leaked into the etcher used to etch the buried first However, as mentioned above, a portion of the second com
   temperature compensating layer 124. The oxide (and/or tem posite electrode forms bridge 150, which terminates an edge
   perature chuck) causes the photoresist to erode more quickly of the active area 108. In order to form the bridge 150, a bridge
   at the edges of the patterned photo resist and to pull back layer 152 of sacrificial material 157 is formed on a top surface
   slightly. This “thinning of the resist forms a wedge shaped 45 of the piezoelectric layer 130, as shown in FIG. 3E. The
   profile that is then imprinted into the oxide underneath as the sacrificial material 157 may be PSG, polysilicon or sputtered
   photoresist goes away. Generally, the wedge is created by amorphous silicon, for example, which is released using a
   adjusting the etch rate of resist relative to the etched material,    suitable etchant later in the fabrication process, as would be
   as would be apparent to one of ordinary skill in the art. apparent to one of ordinary skill in the art. A mask pattern (not
   Meanwhile, further from the edges of the buried first tem 50 shown) is then applied to the bridge layer 152, which is then
   perature compensating layer 124, there is sufficient photore etched to the desired size. For example, a photoresist layer
   sist coverage throughout the etch that the underlying oxide (not shown) may be applied to the top Surface of the piezo
   material is not touched. Of course, other methods of obtaining electric layer 130 and patterned to form a mask or photoresist
   tapered edges may be incorporated without departing form pattern, using any phoStoresist patterning technique compat
   the scope of the present teachings.                                55 ible with semiconductor processes, as would be apparent to
      The second electrically conductive layer 126 is applied to one of ordinary skill in the art. Following etching of the bridge
   a top Surface of the buried first temperature compensating layer 152, the photoresist pattern is removed, for example, by
   layer 124, as shown in FIG. 3C. The second electrically chemically releasing or etching using a wet etch process,
   conductive layer 126 is formed of Mo, for example, although although the photoresist pattern may be removed by various
   different materials may be used, as discussed above, without 60 other techniques without departing from the scope of the
   departing from the scope of the present teachings. The second present teachings.
   electrically conductive layer 126 may be applied using spin              Referring to FIG.3F, the second composite electrode 140 is
   on, sputtering, evaporation, PVD or CVD techniques, for formed by first forming third electrically conductive layer
   example, although other application methods may be incor              142 on a top surface of the piezoelectric layer 130 and the
   porated. A mask pattern (not shown) is then applied to the 65 bridge layer 152. The third electrically conductive layer 142
   structure, which is then etched to remove portions of the first is formed of Mo, for example, although different materials
   and second electrically conductive layers 122 and 126 on the may be used, as discussed above, without departing from the
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                                                        US 9, 197,185 B2
                                  13                                                                   14
   Scope of the present teachings. The third electrically conduc Publication No. 20120218055 to Dariusz Burak, et al.; U.S.
   tive layer 142 may be applied using spin-on, Sputtering, Patent Application Publication No. 2012016.1902 to Chris
   evaporation, PVD or CVD techniques, for example, although Feng, et al.; U.S. Patent Application Publication No.
   other application methods may be incorporated. A mask pat 20120218059 to Dariusz Burak, et al.; U.S. Patent Applica
   tern (not shown) is then applied to the third electrically con tion Publication No. 20120218058 to Dariusz Burak, et al.:
   ductive layer 142, which is then etched to form the desired U.S. Patent Application No. 20120218060 to Dariusz Burak,
   shape as depicted in FIG. 3G. The mask is then removed. As et al.; and U.S. patent application Ser. No. 13/168,101 to
   discussed above, any masking and etching technique compat Alexandre Shirakawa, et al. The entire disclosures of the U.S.
   ible with semiconductor processes may be incorporated, as patent applications and U.S. patent application Publication
   would be apparent to one of ordinary skill in the art.            10 listed above are specifically incorporated by reference.
      Referring again to FIG. 3G, the buried second temperature            In various embodiments, the acoustic resonator device 100
   compensating layer 144 and the fourth electrically conductive may be fabricated as part of a wafer. Thus, after completion,
   layer 146 are formed in Substantially the same manner as the acoustic resonator device 100 may be cut or separated
   discussed above with regard to the buried first temperature from the wafer, to the extent necessary, in order to form a
   compensating layer 124 and the second electrically conduc 15 singulated die, e.g., as shown in FIGS. 1 and 3G. The acoustic
   tive layer 126. The fourth electrically conductive layer 146 is resonator device 100 may be separated using various tech
   formed of W and the buried second temperature compensat niques compatible with semiconductor fabrication processes,
   ing layer 144 is formed of polycrystalline silicon, for Such as scribe and break, for example.
   example, although different materials may be used, as dis               FIG. 4 is a cross-sectional view of a BAW resonator device,
   cussed above, without departing from the scope of the present and more particularly, an FBAR in the depicted illustrative
   teachings. Also, the buried second temperature compensating configuration, which includes composite electrodes having
   layer 144 may be etched to include tapered edge 144a, as buried temperature compensating layers, according to
   discussed above with regard to the tapered edge 124a of the another representative embodiment.
   buried first temperature compensating layer 124. Notably,               Referring to FIG. 4, illustrative acoustic resonator device
   because the buried second temperature compensating layer 25 400 includes acoustic stack 405 formed on substrate 110. The
   144 is on top of the piezoelectric layer 130 (as opposed to acoustic stack 405 includes piezoelectric layer 130 formed
   being buried in the first composite electrode 120), in line ion between a first composite electrode 120 and a second com
   milling may be performed in order to fine tune the second posite electrode 440. Generally, the structure of the second
   composite electrode 140 and the frequency of the acoustic composite electrode 440 is different from the structure of the
   stack 105, simultaneously.                                        30 second composite electrode 140 in FIG. 1. Like reference
      After application of the third and fourth electrically con        numerals in FIGS. 1 and 4 refer to like elements, and therefore
   ductive layers 142 and 146 and the buried second temperature corresponding descriptions of like elements will not be
   compensating layer 144, a vertical etch is performed to form repeated.
   the edge (e.g., the non-connection edge 143) of the second              In the depicted embodiment, the acoustic stack 405
   composite electrode 140, which also terminates an edge of the 35 includes piezoelectric layer 130 formed between a first com
   active area 108 (opposite the edge of the active area 108 posite electrode 120 and a second composite electrode 440. In
   terminated by the bridge 150). For example, a photoresist the depicted embodiment, the substrate 110 includes an
   layer (not shown) may be applied to the top surface of the acoustic reflector, indicated by representative cavity 115 in
   fourth electrically conductive layer 146 and patterned to form the depicted embodiment, formed beneath the acoustic stack
   a mask or photoresist pattern, using any phoStoresist pattern 40 405 to provide acoustic isolation. The acoustic stack 405 is
   ing technique compatible with semiconductor processes, as suspended over an air space formed by the cavity 115 to
   would be apparent to one of ordinary skill in the art. The enable mechanical movement. In alternative embodiments,
   photoresist pattern may beformed by machining or by chemi the substrate 110 may be formed with no cavity 115, for
   cally etching the photoresist layer using photolithography, example, using SMR technology. For example, the acoustic
   although various alternative techniques may be incorporated. 45 stack 405 may be formed over an acoustic mirror or a Bragg
   Following etching of the third and fourth electrically conduc Reflector (not shown) formed on or in the substrate 110, as
   tive layers 142 and 146 and the buried second temperature discussed above.
   compensating layer 144, the photoresist pattern is removed,             The first composite electrode 120 includes first base elec
   for example, by chemically releasing or etching using a wet trode layer or first electrically conductive layer 122, buried
   etch process, although the photoresist pattern may be 50 first temperature compensating layer 124, and second con
   removed by various other techniques without departing from ductive interposer layer or second electrically conductive
   the scope of the present teachings. In various embodiments, layer 126, stacked sequentially on the substrate 110. The first
   the second composite electrode 140 may further include a and second electrically conductive layers 122 and 126 are
   passivation layer (not shown) formed of BSG, SiO, SiN. formed of electrically conductive materials. Such as various
   polysilicon, or the like.                                         55 metals compatible with semiconductor processes, including
      Also as shown in FIG.3G, the sacrificial material 117 in the      W. Mo, Al, Pt, Ru, Nb, or Hf, for example. The buried first
   cavity 115 and the sacrificial material 157 of the bridge layer temperature compensating layer 124 may be formed of Vari
   152 are released to form the cavity 115 and the bridge 150 ous materials compatible with semiconductor processes,
   (over air gap 155), respectively. For example, when the sac including polycrystalline silicon, BSG, SiO, Cror Te0,
   rificial material 117 is polysilicon and the sacrificial material 60 for example, which have positive temperature coefficients.
   157 is polysilicon or sputtered amorphous silicon, they each The piezoelectric layer 130 is formed on the top surface of the
   may be released using Xenon difluoride (XeF) in a dry second electrically conductive layer 126, and may be formed
   release process. Various illustrative techniques for forming of a thin film piezoelectric compatible with semiconductor
   bridges are described, for example, in the referenced U.S. processes, such as AlN, ZnO, PZT, or the like. As discussed
   patent and Published patent application to Choy, et al., refer 65 above, the second electrically conductive layer 126 contacts
   enced above, as well as: U.S. Patent Application Publication the top surface of the first electrically conductive layer 122, as
   No. 20120218056 to Dariusz Burak; U.S. Patent Application indicated for example by reference numerals 128 and 129,
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                                                       US 9, 197,185 B2
                               15                                                                 16
   forming a DC electrical connection and thereby shorting out      Similarly, another portion of the second composite electrode
   a capacitive component of the buried first temperature com       440 extending toward the non-connection edge 443 includes
   pensating layer 124 and increasing a coupling coefficient        cantilever 460 over air gap 465. The cantilever 460 is also
   (kt) of the acoustic resonator device 400.                       formed between the top surface of the piezoelectric layer 130
      The second composite electrode 440 is formed on the top and the bottom surface of the second composite electrode 440
   surface of the piezoelectric layer 130. The second composite (more particularly, the bottom surface of the third electrically
   electrode 440 includes a second conductive interposer layer conductive layer 442). Notably, unlike the air gap 455 formed
   or third electrically conductive layer 442, a buried second by the bridge 450, the air gap 465 is open ended, such that the
   temperature compensating layer 444, and a second base elec portion of the second composite electrode 440 extending
   trode layer or fourth electrically conductive layer 446, 10 toward the non-connection edge 443 is not connected (i.e., is
   stacked sequentially on the piezoelectric layer 130. The third cantilevered) to the end portion of the piezoelectric layer 130.
   electrically conductive layer 442 and the fourth electrically       It is noted that although the bridge 450 and the cantilever
   conductive layer 446 are formed of electrically conductive 460 each provide improved performance to the acoustic reso
   materials, such as various metals compatible with semicon nator device 400 (see for example the above-referenced
   ductor processes, including W. Mo, AI, Pt, Ru, Nb, or Hf, for 15 patent and patent application to Choy, et al.), the bridge 450
   example. In various embodiments, the third electrically con and the cantilever 460 are not essential to the acoustic reso
   ductive layer 442 and the fourth electrically conductive layer nator device 400, and the present teachings contemplate
   446 are formed of different conductive materials, where the      acoustic resonators that do not include the bridge 150, or the
   fourth electrically conductive layer 446 is formed of a mate cantilever 460, or both.
   rial having relatively lower conductivity and relatively higher     The acoustic stack 405 includes an active area 408, indi
   acoustic impedance, and the third electrically conductive cated by dashed lines. The active area 408 is terminated at the
   layer 442 is formed of a material having relatively higher beginning of the bridge 450 and at the beginning of the
   conductivity and relatively lower acoustic impedance. For cantilever 460 of the second composite electrode 440. The
   example, the fourth electrically conductive layer 446 may be bridge 450 and the cantilever 460 effectively separate dead
   formed of W and the third electrically conductive layer 442 25 resonator areas of the acoustic resonator device 400 from the
   may be formed of Mo, although other materials and/or com active area 408. The acoustic stack 405 within the active area
   binations of materials may be used without departing from 408 is substantially symmetrical about horizontal axis 409, as
   the scope of the present teachings. Further, in various embodi discussed above with respect to active area 108 in FIG.1. The
   ments, the third electrically conductive layer 442 and the horizontal axis 409 passes substantially along the center of a
   fourth electrically conductive layer 446 may be formed of the 30 thickness of the piezoelectric layer 130. Notably, various
   same conductive material, without departing from the scope factors such as manufacturing processes and application of
   of the present teachings. The third and fourth electrically Seeding, mass loading and/or passivation layers may cause
   conductive layers 442 and 446 may be formed of the same or slight differences in structure on either side of the horizontal
   different materials than the first and second electrically con axis 409, such that the acoustic stack 405 may not be precisely
   ductive layers 122 and 126 of the first composite electrode, 35 symmetrical about the horizontal axis 409. Generally,
   without departing from the scope of the present teachings.       though, the acoustic stack 405 within the active area 408 is
      The buried second temperature compensating layer 444 is more symmetrical than in a resonator device having only one
   formed between the third electrically conductive layer 442 composite electrode. As a result of the improved symmetry,
   and the fourth electrically conductive layer 446. The buried negative effects of second overtone and higher order spurious
   second temperature compensating layer 444 is therefore 40 modes are minimized.
   separated or isolated from the piezoelectric layer 130 by the       The fourth electrically conductive layer 446, which is
   third electrically conductive layer 442. Accordingly, the bur formed on the top surface of the buried second temperature
   ied second temperature compensating layer 444 is effectively compensating layer 444, contacts the top Surface of the third
   buried within the second composite electrode 440, including electrically conductive layer 442, as indicated for example by
   both edges, as discussed below. The buried second tempera 45 reference numerals 448 and 449. Therefore, DC electrical
   ture compensating layer 444 may be formed of various mate connections are formed between the third and fourth electri
   rials compatible with semiconductor processes, including cally conductive layers 442 and 446, which effectively
   polycrystalline silicon, BSG, SiO2, Cror Te0, for example, “shorts' out a capacitive component of the buried second
   which have positive temperature coefficients. The positive temperature compensating layer 444, thus further increasing
   temperature coefficient of the buried second temperature 50 a coupling coefficient (kt) of the acoustic resonator device
   compensating layer 444 further offsets negative temperature 400. In addition, the third electrically conductive layer 442
   coefficients of other materials in the acoustic stack 405,       provides a barrier between the buried second temperature
   including the piezoelectric layer 130, the first composite elec compensating layer 444 and the piezoelectric layer 130.
   trode 120, and the third and fourth electrically conductive         In the depicted embodiment, the buried second tempera
   layers 442 and 446 of the second composite electrode 440. 55 ture compensating layer 444 has tapered edges 444a, which
     As shown in the embodiment of FIG. 4, the second com            enhance the DC electrical and mechanical connections
   posite electrode 440 has a connection edge 441 and a non between the third and fourth electrically conductive layers
   connection edge 443. The connection edge 441 is on a side of 442 and 446. In alternative embodiments, the edges of the
   the second composite electrode 440 configured to electrically buried second temperature compensating layer 444 are not
   connect to circuitry (not shown) to provide electrical signals 60 tapered, but may be substantially perpendicular to the top and
   to and/or from the acoustic resonator device 400. Also, a         bottom surfaces of the buried second temperature compen
   portion of the second composite electrode 440 extending sating layer 444, for example, without departing from the
   toward the connection edge 441 includes bridge 450 over air Scope of the present teachings.
   gap 455. The bridge 450 is formed between the top surface of         The second composite electrode 440 may further include a
   the piezoelectric layer 130 and the bottom surface of the 65 passivation layer (not shown) on a top Surface, which may be
   second composite electrode 440 (more particularly, the bot formed of various types of materials, including AIN. SiC.
   tom surface of the third electrically conductive layer 442).      BSG, SiO2, SiN. polysilicon, and the like. The thickness of
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                                                          US 9, 197,185 B2
                                 17                                                                   18
   the passivation layer must be sufficient to insulate all layers of   by chemically releasing or etching using a wet etch process
   the acoustic stack 405 from the environment, including pro           including HF etch solution, although the photoresist pattern
   tection from moisture, corrosives, contaminants, debris and          may be removed by various other techniques, without depart
   the like. The first and second composite electrodes 120 and ing from the scope of the present teachings.
   440 may be electrically connected to external circuitry via             Referring to FIG. 5C, the second composite electrode 440
   contact pads (not shown), which may be formed of a conduc is formed by first forming third electrically conductive layer
   tive material. Such as gold, gold-tin alloy or the like.             442 on a top surface of the piezoelectric layer 130 and the
      In an embodiment, an overall first thickness of the first         bridge layer 452 and the cantilever layer 462. The third elec
   composite electrode 120 is substantially the same as an over trically conductive layer 442 is formed of Mo, for example,
   all second thickness of the second composite electrode 440, 10 although different materials may be used, as discussed above,
   as shown in FIG. 4. Also, the thicknesses of the first through without departing from the scope of the present teachings.
   fourth electrically conductive layers 122,126,442 and 446, as The third electrically conductive layer 442 may be applied
   well as the thicknesses of the buried first and second tempera using
   ture compensating layers 124 and 444, may vary in relation to niques,spin-on,        sputtering, evaporation, PVD or CVD tech
                                                                                for example, although other application methods may
   one another, in order to optimize the coupling coefficient and 15 be incorporated.
   overall temperature coefficient of the acoustic resonator
   device 400, as discussed above with reference to the acoustic           Referring again to FIG. 5D, the buried second temperature
   resonator device 100. Likewise, the illustrative thicknesses         compensating layer 444 is formed in Substantially the same
   discussed above may also apply to the acoustic resonator manner as discussed above with regard to the buried first
   device 400 to provide unique benefits for any particular situ temperature compensating layer 124. The buried second tem
   ation or to meet application specific design requirements of perature compensating layer 444 is formed of polycrystalline
   various implementations, as would be apparent to one of silicon, for example, although different materials may be used
   ordinary skill in the art.                                           without departing from the scope of the present teachings.
      According to various embodiments, the resonator device Also, the buried second temperature compensating layer 444
   may be fabricated using various techniques compatible with 25 may be etched to include tapered edges 444a, as discussed
   semiconductor processes. A non-limiting example of a fabri above with regard to the tapered edge 124a of the buried first
   cation process directed to representative acoustic resonator temperature compensating layer 124. A mask pattern (not
   device 400 is discussed below with reference to FIGS.5A-5E,          shown) is applied to the buried second temperature compen
   which are cross-sectional views of a BAW resonator device in         sating layer 444, which is then etched to form the desired
   various stages of the fabrication process, according to a rep 30 shape as depicted in FIG. 5D. The mask is then removed. As
   resentative embodiment.                                              discussed above, any masking and etching technique compat
      FIG. 5A is substantially the same as FIG. 3D, discussed ible with semiconductor processes may be incorporated, as
   above. Thus, it is understood that the fabrication process steps would be apparent to one of ordinary skill in the art.
   leading to the structure shown in FIG.5A are substantially the          Referring to FIG. 5E, fourth electrically conductive layer
   same as discussed above with reference to FIGS. 3A-3D, and 35 446 is formed on a top surface of the buried second tempera
   therefore this description will not be repeated. Referring to ture compensation layer 444. The fourth electrically conduc
   FIG. 5A, substrate 110 includes cavity 115, which has been tive layer 446 is formed of W, for example, although different
   initially filled with sacrificial material 117, such as PSG or materials may be used, as discussed above, without departing
   polysilicon, which is released using a suitable etchant later in from the scope of the present teachings. The fourth electri
   the fabrication process, e.g., after application of the layers of 40 cally conductive layer 446 may be applied using spin-on,
   the acoustic stack 405, as would be apparent to one of ordi sputtering, evaporation, PVD or CVD techniques, for
   nary skill in the art. The first composite electrode 120 has example, although other application methods may be incor
   been formed, including the first electrically conductive layer porated. After application of the third and fourth electrically
   122, the buried first temperature compensating layer 124, and conductive layers 442 and 446 and the buried second tem
   the second electrically conductive layer 126, stacked sequen 45 perature compensating layer 444, a vertical etch is performed
   tially on the substrate 110 over the cavity 115. The piezoelec to form the edge (e.g., the non-connection edge 143) of the
   tric layer 130 has been formed on the top surface of the first second composite electrode 440. Unlike the embodiment
   composite electrode 120 (and a portion of the substrate 110). depicted in FIG. 3G, for example, the vertical etch in FIG.5E
      Referring to FIG. 5B, a portion of the second composite does not terminate an edge of the active area 408. Rather, the
   electrode 440 forms bridge 450 and cantilever 460, which 50 beginning of the cantilever 460 terminates the edge of the
   terminates edges of the active area 408, as mentioned above. active area 408, opposite the edge of the active area 4.08
   In order to form the bridge 450 and the cantilever 460, a terminated by the bridge 450. For example, a photoresist layer
   sacrificial layer (not shown) of sacrificial material 457 is (not shown) may be applied to the top surface of the fourth
   formed on a top surface of the piezoelectric layer 130. The electrically conductive layer 446 and patterned to form a
   sacrificial material 457 may be PSG, polysilicon or sputtered 55 mask or photoresist pattern, using any phostoresist patterning
   amorphous silicon, for example, which is released using a technique compatible with semiconductor processes, as
   suitable etchant later in the fabrication process, as would be would be apparent to one of ordinary skill in the art. The
   apparent to one of ordinary skill in the art. A mask pattern (not photoresist pattern may beformed by machining or by chemi
   shown) is then applied to the sacrificial material 457, which is cally etching the photoresist layer using photolithography,
   then etched to the desired size, forming bridge layer 452 and 60 although various alternative techniques may be incorporated.
   cantilever layer 462. For example, a photoresist layer (not Following etching of the third and fourth electrically conduc
   shown) may be applied to the top surface of the piezoelectric tive layers 442 and 446 and the buried second temperature
   layer 130 and patterned to form a mask or photoresist pattern, compensating layer 444, the photoresist pattern is removed,
   using any phoStoresist patterning technique compatible with for example, by chemically releasing or etching using a
   semiconductor processes, as would be apparent to one of 65 known wet etch process, although the photoresist pattern may
   ordinary skill in the art. Following etching of the sacrificial be removed by various other techniques without departing
   material 457, the photoresist pattern is removed, for example, from the scope of the present teachings. In various embodi
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   ments, the second composite electrode 440 may further                     wherein the fourth electrically conductive layer forms a
   include a passivation layer (not shown) formed of BSG, SiO2,              second electrical contact with the third electrically con
   SiN. polysilicon, or the like.                                            ductive layer on at least one side of the second tempera
     Also as shown in FIG.5E, the sacrificial material 117 in the            ture compensating layer, the second electrical contact
   cavity 115 is released to form the cavity 115, and the sacrifi            electrically shorting a second capacitive component of
   cial material 457 of the bridge layer 452 and the cantilever              the second temperature compensating layer, and
   layer 462 are released to form the bridge 450 (over air gap             an acoustic reflector disposed beneath the first composite
   455) and the cantilever 460 (over air gap 465), respectively.         electrode.
   For example, when the sacrificial material 117 is polysilicon      2. The acoustic resonator device as claimed in claim 1,
   or amorphous silicon and the sacrificial material 457 is sput 10 wherein the acoustic reflector comprises a cavity disposed in
   tered amorphous silicon, they each may be released using the substrate.
   XeF in a dry release process. Alternatively, the sacrificial       3. The acoustic resonator device as claimed in claim 1,
   material 457 and 117 may be PSG, in which case it may be wherein the acoustic reflector comprises an acoustic minor
   released using HF in a wet release process.                      disposed in or over the substrate.
     In various embodiments, the acoustic resonator device 400 15          4. The acoustic resonator device as claimed in claim 1.
   may be fabricated as part of a wafer. Thus, after completion, wherein the first electrically conductive layer comprises a
   the acoustic resonator device 400 may be cut or separated first metal layer formed on the substrate, and the second
   from the wafer, to the extent necessary, in order to form a electrically conductive layer comprises a second metal layer
   singulated die, e.g., as shown in FIGS. 4 and 5E. The acoustic disposed on the first temperature compensating layer.
   resonator device 400 may be separated using various tech                  5. The acoustic resonator as claimed in claim wherein the
   niques compatible with semiconductor fabrication processes, third electrically conductive layer comprises a third metal
   Such as scribe and break, for example.                                 layer disposed on the piezoelectric layer, and the fourth elec
      According to various embodiments, an acoustic stack of a trically conductive layer comprises a fourth metal layer dis
   resonator device has at least one composite electrode that posed on the second temperature compensating layer.
   includes a buried temperature compensating layer separated 25 6. The acoustic resonator as claimed in claim 1, wherein the
   from a piezoelectric layer by a conductive interposer layer. first and second temperature compensating layers each com
   The temperature compensating layer has a temperature coef prise polycrystalline silicon.
   ficient that has an opposite sign from a temperature coeffi               7. The acoustic resonator as claimed in claim 4, wherein the
   cient of at least one other element in the acoustic stack, thus        first metal layer comprises tungsten and the second metal
   offsetting the effects of that temperature coefficient. Further, 30 layer comprises molybdenum.
   the conductive interposer layer effectively shorts out a capaci           8. The acoustic resonator as claimed in claims, wherein the
   tive component of the temperature compensating layer, which third metal layer comprises molybdenum and the fourth metal
   effectively increases a coupling coefficient of the resonator layer comprises tungsten.
   device. Accordingly, this enables more stable operation of the            9. The acoustic resonator as claimed in claim 1. wherein the
   resonator, for example, by preventing shifts in passband due 35 second composite electrode comprises a side configured to
   to increases in temperature, while preventing contamination form an electrical connection, and at least one other side that
   of the piezoelectric material by the material in the tempera forms a cantilever.
   ture compensating layer.                                                  10. The acoustic. resonator as claimed in claim 9, wherein
      The various components, materials, structures and param the side that forms the electrical connection comprises a
   eters are included by way of illustration and example only and 40 bridge.
   not in any limiting sense. In view of this disclosure, those              11. The acoustic resonator as claimed in claim 10, wherein
   skilled in the art can implement the present teachings in an active area of the acoustic resonator is terminated at the
   determining their own applications and needed components, bridge and at the cantilever.
   materials, structures and equipment to implement these appli              12. An acoustic resonator device, comprising:
   cations, while remaining within the scope of the appended 45 a Substrate;
   claims.                                                                   a first composite electrode disposed over the substrate, the
      The invention claimed is:                                                 first composite electrode comprising first and second
      1. An acoustic resonator device, comprising:                              electrically conductive layers and a first temperature
      a Substrate:                                                              compensating layer disposed between the first and Sec
      a first composite electrode disposed over the substrate, the 50           ond electrically conductive layers;
         first composite electrode comprising first and second               a piezoelectric layer disposed over the first composite elec
         electrically conductive layers and a first temperature                 trode, the piezoelectric layer having as thickness;
         compensating layer disposed between the first and sec               a second composite electrode disposed over the piezoelec
         ond electrically conductive layers, wherein the second                 tric layer, the second composite electrode comprising
         electrically conductive layer forms a first electrical con 55          third and fourth electrically conductive layers and a sec
         tact with the first electrically conductive layer on at least          ond temperature compensating layer disposed between
         one side of the first temperature compensating layer, the              the third and fourth electrically conductive layers, the
         first electrical contact electrically shorting a first capaci          second composite electrode comprising a side config
         tive component of the first temperature compensating                   ured to form an electrical connection, and at least one
         layer;                                                        60       other side that forms a cantilever; and
      a piezoelectric layer disposed over the first composite elec           an acoustic reflector disposed beneath the first composite
         trode:                                                                 electrode, wherein the first and second composite elec
      a second composite electrode disposed over the piezoelec                  trodes are symmetrically disposed about an axis of sym
         tric layer, the second composite electrode comprising                  metry passing Substantially along a center of the thick
         third and fourth electrically conductive layers and a sec 65           ness of the piezoelectric layer.
         ond temperature compensating layer disposed between                 13. The acoustic resonator device, as claimed in claim 12.
         the third and fourth electrically conductive layers, wherein the first electrically conductive layer comprises a
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                                                        US 9, 197,185 B2
                                21                                                                22
   first metal layer formed on the substrate, and the second           27. The acoustic resonator as claimed in claim 26, wherein
   electrically conductive layer comprises a second metal layer      the side that forms the electrical connection comprises a
   disposed on the first temperature compensating layer.             bridge.
     14. The acoustic resonator as claimed in claim 12, wherein        28. The acoustic resonator as claimed in claim 27, wherein
   the third electrically conductive layer comprises a third metal 5 an active area of the acoustic resonator is terminated at the
   layer disposed on the piezoelectric layer, and the fourth elec bridge and at the cantilever.
   trically conductive layer comprises a fourth metal layer dis        29. An acoustic resonator device, comprising:
   posed on the second temperature compensating layer.                 a Substrate;
     15. The acoustic resonator as claimed in claim 12, wherein        a first composite electrode disposed over the substrate, the
   the side that forms the electrical connection comprises a 10           first composite electrode comprising first and second
   bridge.                                                                electrically conductive layers and a first temperature
     16. The acoustic resonator as claimed in claim 15, wherein           compensating layer disposed between the first and Sec
   an active area of the acoustic resonator is terminated at the
   bridge and at the cantilever.                                          ond electrically conductive layers;
     17. The acoustic resonator as claimed in claim 12, wherein 15     a piezoelectric layer disposed over the first composite elec
   the first temperature compensating layer, or the second tem            trode, the piezoelectric layer having a thickness;
   perature compensating layer, or both has tapered edges.             a second composite electrode disposed over the piezoelec
      18. An acoustic resonator device, comprising:                       tric layer, the second composite electrode comprising
     a Substrate;                                                         third and fourth electrically conductive layers and a sec
     a first composite electrode disposed over the substrate, the         ond temperature compensating layer disposed between
        first composite electrode comprising, first and second            the third and fourth electrically conductive layers,
        electrically conductive layers and a first temperature            wherein no acoustic decoupler layer is disposed between
        compensating layer disposed between the first and sec             the first and second composite electrodes; and
        ond electrically conductive layers;                            an acoustic reflector disposed beneath the first composite
     a piezoelectric layer disposed over the first composite elec 25      electrode, the first and second composite electrodes
        trode, the piezoelectric layer having a thickness;                being symmetrically disposed about an axis of symme
     a second composite electrode disposed over the piezoelec             try passing Substantially along a center of the thickness
        tric layer, the second composite electrode comprising             of the piezoelectric layer, wherein the first temperature
        third and fourth electrically conductive layers and a sec         compensating layer, or the second temperature compen
        ond temperature compensating layer disposed between 30            Sating layer, or both, has tapered edges.
        the third and fourth electrically conductive layers; and        30. The acoustic resonator device as claimed in claim 29,
     an acoustic reflector disposed beneath the first composite wherein the acoustic reflector comprises a cavity disposed in
        electrode, the first and second composite electrodes the substrate.
        being symmetrically disposed about an axis of symme             31. The acoustic resonator device as claimed in claim 29,
        try passing Substantially along a center of the thickness 35 wherein the acoustic reflector comprises an acoustic mirror
        of the piezoelectric layer, wherein no acoustic decoupler disposed in or over the substrate.
        layer is disposed between the first and second composite        32. The acoustic resonator device as claimed in claim 29,
        electrodes.                                                  wherein the first electrically conductive layer comprises a
      19. The acoustic resonator device as claimed in claim 18,      first metal layer formed on the substrate, and the second
   wherein the acoustic reflector comprises a cavity disposed in 40 electrically conductive layer comprises a second metal layer
   the substrate.                                                    disposed on the first temperature compensating layer.
     20. The acoustic resonator device as claimed in claim 18,         33. The acoustic resonator as claimed in claim 29, wherein
   wherein the acoustic reflector comprises an acoustic mirror     the third electrically conductive layer comprises a third metal
   disposed in or over the substrate.                              layer disposed on the piezoelectric layer, and the fourth elec
      21. The acoustic resonator device as claimed in claim 18, 45 trically conductive layer comprises a fourth metal layer dis
   wherein the first electrically conductive layer comprises a posed on the second temperature compensating layer.
   first metal layer formed on the substrate, and the second          34. The acoustic resonator as claimed in claim 29, wherein
   electrically conductive layer comprises a second metal layer the first and second temperature compensating layers each
   disposed on the first temperature compensating, layer.          comprise polycrystalline silicon.
     22. The acoustic resonator as claimed in claim 18, wherein 50     35. The acoustic.resonator as claimed in claim32, wherein
   the third electrically conductive layer comprises a third metal   the first metal layer comprises tungsten and the second metal,
   layer disposed on the piezoelectric layer, and the fourth elec    layer comprises molybdenum.
   trically conductive layer comprises a fourth metal layer dis        36. The acoustic resonator as claimed in claim 35, wherein
   posed on the second temperature compensating layer.             the third metal layer comprises molybdenum and the fourth
     23. The acoustic resonator as claimed in claim 18, wherein 55 metal layer comprises tungsten.
   the first and second temperature compensating layers each         37. The acoustic resonator as claimed in claim 29, wherein
   comprise polycrystalline silicon.                               the second composite electrode comprises a side configured
     24. The acoustic resonator as claimed in claim 21, wherein      to form an electrical connection, and at least one other side
   the first metal layer comprises tungsten and the second metal that forms a cantilever.
   layer comprises molybdenum.                                   60   38. The acoustic resonator as claimed in claim 37, wherein
      25. The acoustic resonator as claimed in claim 22, wherein    the side that forms the electrical connection comprises a
   the third metal layer comprises molybdenum and the fourth bridge.
   metal layer comprises tungsten.                                    39. The acoustic resonator as claimed in claim 38, wherein
     26. The acoustic resonator as claimed in claim 18, wherein      an active area of the acoustic resonator is terminated at the
   the second composite electrode comprises a side configured 65 bridge and at the cantilever.
   to form an electrical connection, and at least one other side   40. An acoustic resonator device, comprising:
   that forms a cantilever.                                            a Substrate;
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     a first composite electrode disposed over the substrate, the       43. The acoustic resonator device as claimed in claim 40,
        first composite electrode comprising first and second wherein the first electrically conductive layer comprises a
        electrically conductive layers and a first temperature first metal layer formed on the substrate, and the second
        compensating layer disposed between the first and sec electrically conductive layer comprises a. second metal layer
        ond electrically conductive layers;
     a piezoelectric layer disposed over the first composite elec disposed
                                                                        44. The
                                                                                on the first temperature compensating layer.
                                                                                 acoustic resonator as claimed in claim 40, wherein
        trode, the piezoelectric layer having a thickness;
     a second composite electrode disposed over the piezoelec the third electrically conductive layer comprises a third metal
        tric layer, the second composite electrode comprising layer disposed on the piezoelectric layer, and the fourth elec
        third and fourth electrically conductive layers and a sec 10 trically conductive layer comprises a fourth metal layer dis
        ond temperature compensating layer disposed between posed on the second temperature compensating layer.
        the third and fourth electrically conductive layers,            45. The acoustic resonator as claimed in claim 40, wherein
        wherein the second composite electrode comprises a the first and second temperature compensating layers each
        side configured to form an electrical connection, and at comprise polycrystalline silicon.
        least one other side that forms a cantilever, and               46. The acoustic resonator as claimed in claim 45, wherein
     an acoustic reflector disposed beneath the first composite 15 the first metal layer comprises tungsten and the second metal
        electrode, the first and second composite electrodes layer comprises molybdenum.
        being symmetrically disposed about an axis of symme
        try passing Substantially along a center of the thickness the47.    The acoustic resonator as claimed in claim 46, wherein
                                                                         third metal layer comprises molybdenum and the fourth
        of the piezoelectric layer, wherein the first temperature metal layer     comprises tungsten.
        compensating layer, or the second temperature compen
        Sating layer, or both, has tapered edges.                       48. The  acoustic  resonator as claimed in claim 29, wherein
     41. The acoustic resonator device as claimed in claim 40,       the  side that  forms   the electrical connection comprises a
   wherein the acoustic reflector comprises a cavity disposed in bridge.
   the substrate.                                                   49. The acoustic resonator as claimed in claim 48, wherein
     42. The acoustic resonator device as claimed in claim 40, 25 an active area of the acoustic resonator is terminated at the
   wherein the acoustic reflector comprises an acoustic mirror        bridge and at the cantilever.
   disposed in or over the substrate.                                                        k   k    k   k   k
